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                                EXHIBIT B (contd.)

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                                                                             D-1-GN-18-001835
                                D-1-GN-18-001835                                 Lisa Guerrero

  NEIL HESLIN                            §                IN DISTRICT COURT OF
    Plaintiff                            §
                                         §
  VS.                                    §                TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
  OWEN SHROYER,                          §
    Defendants                           §

                                D-1-GN-18-001842

  LEONARD POZNER AND                     §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                   §
    Plaintiffs                           §
                                         §                TRAVIS COUNTY, TEXAS
  VS.                                    §
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,          §
    Defendants                           §

                                D-1-GN-18-006623

  SCARLETT LEWIS                         §                IN DISTRICT COURT OF
    Plaintiff                            §
                                         §
  VS.                                    §                TRAVIS COUNTY, TEXAS
                                         §
  ALEX E. JONES, INFOWARS, LLC,          §
  AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
    Defendants                           §



        PLAINTIFFS’ MOTION FOR LEAVE TO SERVE NET WORTH DISCOVERY
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       Plaintiffs bring this Motion for Leave to Serve Net Worth Discovery. Net worth

 discovery is available to any plaintiff who shows a substantial likelihood of success

 on a claim for punitive damages. Plaintiff can make such a showing here. In fact, it is

 difficult to conceive of a defamation case involving a major national media

 organization more deserving of punitive damages than this one.

                                     LEGAL STANDARDS

 I.    Legal Standard for Net Worth Discovery

       “On the motion of a party and after notice and a hearing, a trial court may

 authorize discovery of evidence of a defendant's net worth if the court finds in a

 written order that the claimant has demonstrated a substantial likelihood of success

 on the merits of a claim for exemplary damages.” Tex. Civ. Prac. & Rem. Code §

 41.0115. “Evidence submitted by a party to the court in support of or in opposition to

 a motion made under this subsection may be in the form of an affidavit or a response

 to discovery.” Id. “Accordingly, the statute's plain language makes clear that the

 movant seeking net worth discovery need only show a substantial likelihood of

 success on the merits, not clear and convincing evidence, to be entitled to net worth

 discovery.” In re Bella Corp., 12-21-00090-CV, 2021 WL 3671334, at *2 (Tex. App.—

 Tyler Aug. 18, 2021, no pet. h.).

 II.   Legal Standard for Punitive Damages in Defamation and IIED.

       When a private plaintiff's defamation action against a media defendant arises

 out of a matter of public concern, the plaintiff must establish actual malice to recover



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 punitive damages. Klentzman v. Brady, 456 S.W.3d 239, 264 (Tex. App.—Houston [1st

 Dist.] 2014), aff'd, 515 S.W.3d 878 (Tex. 2017). An IIED plaintiff must meet this same

 constitutional hurdle of proving malice to recover punitive damages when the IIED

 lawsuit alleges damage from speech on a matter of public concern.

       Malice exists when a publisher shows a “reckless disregard for the falsity of a

 statement.” Bentley v. Bunton, 94 S.W.3d 561, 591 (Tex. 2002). A showing of actual

 malice can be satisfied when there is prima facie circumstantial evidence that a

 defendant would have “entertained serious doubts as to the truth of his publication.”

 Warner Bros. Entm't, Inc. v. Jones, 538 S.W.3d 781, 805 (Tex. App.—Austin 2017), aff'd,

 611 S.W.3d 1 (Tex. 2020). A plaintiff may offer circumstantial evidence suggesting

 that a defendant made statements which he “knew or strongly suspected could

 present, as a whole, a false and defamatory impression of events.” Turner v. KTRK TV,

 Inc., 38 S.W.3d 103, 120-121 (Tex. 2000).

           SUMMARY OF PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

       As this Court is well-aware, InfoWars creator Alex Jones waged a non-stop

 obsessive campaign from 2013 to 2018 to convince his viewers that the Sandy Hook

 school shooting was “a giant hoax,” “synthetic,” and “completely fake with actors.”

 Two families in particular – the parents of Noah Pozner and Jesse Lewis – found

 themselves as special targets for Mr. Jones’ cruel attacks.




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 I.      The Pozner Defamation Claim

         Leonard Pozner and Veronique De La Rosa are the parents of Noah Pozner. In

 their lawsuit, the plaintiffs allege that a 2017 video published by InfoWars, entitled

 “Sandy Hook Vampires Exposed,” defamed them. In the video, Mr. Jones discusses an

 interview Ms. De La Rosa gave to Anderson Cooper in front of the Edmond Town Hall

 in Newtown, Connecticut. Mr. Jones asserted that the interview was faked on a green-

 screen and was not actually conducted in Newtown. 1 Jones alleged the interview was

 staged by “known liars” that “have blood on their hands.” 2 Mr. Jones mocked those

 who believe the shooting was real, stating, “How could you believe any of it if you

 have a memory?” 3 Mr. Jones also asserted that “the school was closed until that year,

 in the videos it’s all rotting and falling apart and nobody is even in it.” 4 Mr. Jones

 claimed there was video in which “the kids are going in circles, in and out of the

 building with their hands up.” 5 He next claimed “they had Port-A-Potties being

 delivered an hour after it happened, for the big media event.” 6 He also claimed that

 law enforcement authorities were “finding people in the back woods who are dressed

 up in SWAT gear.” 7 Plaintiffs allege that Mr. Jones made these statements knowing

 they were false or with reckless disregard for the truth. Plaintiffs allege that the




 1 Exhibit 1, Fred Zipp Affidavit in Pozner, p. 3.
 2 Id.
 3 Id.
 4 Id., p. 4.
 5 Id., p. 7.
 6 Id, p. 9.
 7 Id., p. 11.




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 logical implication of Mr. Jones’ statements is that Ms. De La Rosa and Mr. Pozner are

 not real parents, but instead participants in a massive crime.

 II.     The Heslin Defamation Claim

         As far back as 2013, Neil Heslin had been alarmed over InfoWars and its

 maniacal fabrications about Sandy Hook, but he was determined not to dignify the

 allegations by acknowledging their existence. 8 But as Mr. Jones’ inflammatory

 statements reached a wider audience, they were met by a growing tide of public

 indignation, and in June 2017, Megyn Kelly produced a feature story on the fallout

 from InfoWars’ various accusations. Ms. Kelly convinced Mr. Heslin to appear for an

 interview to discuss the pain caused by InfoWars’ lies about the death of his son, Jesse

 Lewis. 9 During the interview, Mr. Heslin stated, “I lost my son. I buried my son. I held

 my son with a bullet hole through his head.” 10

         One week later, InfoWars retaliated with a cruel and false accusation against

 Mr. Heslin, delivered by InfoWars host Owen Shroyer. The premise of Mr. Shroyer’s

 video was that Mr. Heslin was lying about having held his son’s body and having seen

 his injury. Mr. Shroyer stated:

                 He's claiming that he held his son and saw the bullet hole
                 in his head. That is his claim. Now, according to a timeline
                 of events and a coroner's testimony, that is not possible. 11




 8 Exhibit 3, Affidavit of Neil Heslin, para 4.
 9 Id., para 12.
 10 Id., para 25.
 11 Exhibit 2, Fred Zipp Affidavit in Heslin, Attached Transcript (Ex. A-1).




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        During the video, Mr. Shroyer showed a portion of an interview with medical

 examiner Dr. Wayne Carver describing the initial identification of the victims, which

 was performed by photograph. 12 Mr. Shroyer misrepresented this portion of Dr.

 Carver’s interview, along with a deceptively edited clip of Sandy Hook parent Lynn

 McDonnel, to falsely claim that the victims’ parents were not allowed access to their

 children’s bodies before burial. 13 With arrogant mockery, Mr. Shroyer stated, “You

 would remember if you held your dead kid in your hands with a bullet hole. That's

 not something that you would just misspeak on.” 14 When Mr. Heslin learned about

 these statements, he brought his lawsuit.

 III.   The Pozner, Heslin, and Lewis IIED Claims

        All of the above Plaintiffs, in addition to Plaintiff Scarlett Lewis, have brought

 claims against Mr. Jones and his companies for intentional infliction of emotional

 distress (IIED). As stated in their petitions, the IIED claims arise from “InfoWars’

 recklessly false statements concerning the circumstances of the death of [their]

 child[ren], as well as InfoWars’ coordination and encouragement of a fringe

 community of dangerous fanatics who have stalked and endangered the Sandy Hook

 parents.” 15 Plaintiffs allege that Defendants committed “a continuous pattern of five

 years of intentional and reckless harassment accomplished through dozens of

 disturbing videos, a relentless stream of recklessly false articles published on


 12 Id.
 13 Id.
 14 Id.
 15 Exhibit 4, Lewis First Amended Petition, para 10.




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 InfoWars.com, harassing social media content, as well as the encouragement, aid, and

 financial support to third-parties in furthering this harassment.” 16 InfoWars

 maliciously coordinated and supported this community of unhinged “hoaxers” to

 inflame the situation, all to profit from building a reprehensible five-year sideshow

 around the children’s death. Most of this conduct was not defamatory to the Plaintiffs.

 Indeed, not all of it was even speech. What happened here was unique, and IIED exists

 for this situation. As a gap-filler tort, IIED can encompass the appalling acts of

 harassment, the malicious support of dangerous third parties, the outrageously cruel

 mockery, the intentional false statements about the tragedy, and the endless national

 shaming that put these families’ lives in danger.

                                      ARGUMENT

            Throughout its Sandy Hook coverage and its attacks on these Plaintiffs,

 InfoWars acted with reckless disregard. Defendants either knew that they were

 publishing false claims or purposefully hid themselves from the obvious falsity of the

 claims. Defendants also knew their actions would cause emotional distress to the

 Plaintiffs, and Defendants intended that result due to their animosity against these

 parents. The facts below show a substantial likelihood of success on Plaintiffs’ claims

 for punitive damages.




 16   Id., para 87.


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 I.     InfoWars Relied on Inherently Improbable Assertions.

        As a starting point, malice is shown when the circumstances of the publication

 were “so improbable that only a reckless publisher would have made the mistake.”

 Freedom Newspapers of Tex. v. Cantu, 168 S.W.3d 847, 855 (Tex. 2005). “Inherently

 improbable assertions and statements made on information that is obviously dubious

 may show actual malice.” See 50 Tex. Jur. 3d Libel and Slander § 133. In this case,

 InfoWars’ allegations were wildly outlandish. From 2013 to 2018, InfoWars made the

 following improbable assertions about the Sandy Hook shooting:

           • Mr. Heslin lied about holding his son’s body. 17

           • Anderson Cooper faked a blue-screen interview with Ms. De La Rosa. 18

           • The Internet Wayback Machine proves there was a cover-up. 19

           • Michael Bloomberg sent an email with foreknowledge of the attack. 20

           • The FBI accidentally admitted no one was killed at Sandy Hook. 21

           • Paramedics were not allowed inside the building. 22

           • Ambulances came an hour and a half later, or not at all. 23

           • The death certificates are sealed under felony penalty. 24



 17 Exhibit 2, Fred Zipp Affidavit in Heslin, Attached Transcript (Ex. A1)
 18 Exhibit 1, Fred Zipp Affidavit in Pozner, Attached Transcripts (Ex. A4, A6, A7, A9, A11, A12, A22,
 A24, A26, A30).
 19 Id. (Ex. A24 and A28)
 20 Id. (Ex. A12, A22, A24)
 21 Id. (Ex. A28)
 22 Id.
 23 Id. (Ex. A21, A22)
 24 Id. (Ex. A17, A24)




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           • Sandy Hook Elementary had been closed for years. 25

           • There is a video of children with their hands up being led in circles. 26

           • There were mystery men detained in the woods in SWAT gear. 27

           • Port-a-Potties were placed at Sandy Hook within an hour. 28

           • The same actors were caught playing the parts of different people. 29

           • There are photos of alleged victims that are still alive. 30

        The sheer volume of these false allegations shows InfoWars took no steps to

 verify its information, and their ceaseless repetition over the years was especially

 egregious. It one thing to make a false assertion on a single occasion. It is quite

 another to make a dozen false assertions. But it is simply outrageous to make the

 same dozen false assertions on a continuous basis for over five years in the face of

 massive public controversy. It is clear InfoWars “ignored elementary precautions.”

 Warner Bros., 538 S.W.3d at 806.

 II.    The Affidavits of Fred Zipp Support Reckless Disregard.

        Evidence of actual malice is found in the affidavits of Fred Zipp. Now a

 journalism professor at the University of Texas, Mr. Zipp is the former editor of the

 Austin American Statesman with 39 years of expertise in the responsible delivery of

 news to a mass media audience. Mr. Zipp wrote affidavits in the Pozner and Heslin


 25 Id. (Ex. A11, A12, A21, A22, A24, A27)
 26 Id. (Ex. A7, A9, A12, A24, A27, A29)
 27 Id. (Ex. A3, A6, A9, A22, A24, A27, A28)
 28 Id. (Ex. A 22, A27, A28).
 29 Exhibit 5, March 4, 2019 Deposition of Alex Jones, p. 77.
 30 Id., p. 65-66.




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 cases in 2018 during the TCPA proceedings. 31 Those affidavits are attached are

 “Exhibit 1” and “Exhibit 2.” In those affidavits, Mr. Zipp meticulously debunked

 InfoWars outrageous assertions. Mr. Zipp’s exhaustive affidavits detail the reckless

 nature of InfoWars’ 2017 statements, as well as the history of InfoWars’ false

 statements about Sandy Hook. Mr. Zipp’s affidavits also include partial transcripts of

 relevant InfoWars videos.

         A.      Mr. Zipp’s analysis of InfoWars’ false claims about a blue-screen
                 interview supports reckless disregard.

         In his Pozner affidavit, Mr. Zipp notes that during InfoWars’ five years of false

 Sandy Hook coverage, “the accusation that Ms. De La Rosa’s interview was conducted

 in front of a blue-screen became a central element of InfoWars’ claim that the official

 story of Sandy Hook was a lie.” 32 To evaluate this claim, Mr. Zipp first reviewed an

 affidavit from FBI forensic video analyst Grant Fredericks. Mr. Fredericks examined

 the video and concluded that “to a reasonable degree of engineering certainty, the

 visual anomaly in the video was caused by post-production compression.” 33 Mr.

 Fredericks stated that “it does not require a high level of technical expertise to

 understand that Mrs. De La Rosa’s interview was not conducted in front of a blue-

 screen.” 34 The compression artifact in the video “is a basic concept in the field of TV




 31 Exhibit 1, Fred Zipp Affidavit in Pozner; Exhibit 2, Fred Zipp Affidavit in Heslin.
 32 Exhibit 1, Affidavit of Fred Zipp in Pozner, p. 23.
 33 Exhibit 6, Affidavit of Grant Fredericks, p. 8.
 34 Id.




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 production and web-based video broadcasting.” 35 Mr. Fredericks explained that

 InfoWars would have known their allegation was false:

                 Anyone with experience in analog or digital video
                 production, or in web-based broadcasting, should have
                 arrived at the same conclusions. No credible video
                 professional, editor, or web-content specialist would
                 conclude that the visual anomaly is evidence of a chroma
                 key process, such as a blue-screen or green-screen. 36

         As a result of these circumstances and the evidence he reviewed, Mr.

 Fredericks concluded that “InfoWars either had knowledge of the falsity of its

 statements, or made those statements while having serious doubts about the truth of

 those statements.” 37 Mr. Zipp noted that in addition to Mr. Frederick’s analysis, the

 assertion made by InfoWars was obviously implausible:

                 Mr. Jones’ assertion about the blue-screen was farfetched
                 to the say the least. It required an extraordinary level of
                 verification before being repeatedly stated as fact. Yet it is
                 clear that InfoWars performed no verification because any
                 genuine inquiry would have shown the accusation was
                 bogus…Mr. Jones ignored basic precautions taken by
                 journalists. Rather than meaningfully investigate his claim
                 or produce corroborating evidence, Mr. Jones made these
                 statements with reckless disregard for whether they were
                 true or not. 38

         As Mr. Zipp noted, a major problem with Mr. Jones’ allegation “is that it makes

 no sense to use a blue-screen to simulate an interview in a location that is a short




 35 Id.
 36 Id.
 37 Id. at p. 9.
 38 Exhibit 1, Fred Zipp Affidavit in Pozner, at p. 22-23.




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 drive from Anderson Cooper’s office in New York City.” 39 Mr. Zipp’s affidavit also

 discusses the fact that “there is copious third-party evidence that Mr. Cooper was in

 Newtown.” 40 Mr. Zipp concluded that “there was no reasonable basis to believe that

 Veronique De La Rosa participated in a faked interview, and any publisher would

 entertain serious doubts about the truth of such a claim.” 41 The allegations made in

 the broadcast, including the allegation about the blue-screen interview, were “so

 improbable that only a reckless publisher would have made the mistake.” Freedom

 Newspapers of Tex., 168 S.W.3d at 855.

         B.      Mr. Zipp’s analysis shows how InfoWars’ false claims about Neil
                 Heslin were made with reckless disregard.

         In his Heslin affidavit, Mr. Zipp evaluated the June 26, 2017 video in which

 InfoWars’ anchor Owen Shroyer alleged that Mr. Heslin was lying about having held

 his child’s body. Mr. Zipp explained how “InfoWars used a deceptively edited clip of

 Lynn McDonnel to convince its viewers that she was not allowed to see her child’s

 body.” 42 InfoWars “also used an out-of-context clip of [coroner] Dr. Carver to convince

 viewers that parents were only allowed to see photographs of their dead children.” 43

 Mr. Zipp concluded that “[t]hese actions were aimed at manufacturing a controversy

 where none existed.” 44 As Mr. Zipp explained:



 39 Id. at p. 22.
 40 Id.
 41 Id. at p. 4.
 42 Exhibit 2, Fred Zipp Affidavit in Pozner, p. 14
 43 Id.
 44 Id.




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                 Dr. Carver clearly stated that at the time of his interview,
                 the bodies had been released to private funeral homes on
                 behalf of the families. Mr. Shroyer used the same dishonest
                 tactic to edit a portion of an interview with Sandy Hook
                 parents Chris and Lynn McDonnel. Mr. Shroyer cut off the
                 end of Ms. McDonnel’s answer to make it appear that she
                 was not allowed to see her daughter’s body. A full copy of
                 the transcript shows that Ms. McDonnel had the
                 opportunity to see her daughter’s body. 45

         Mr. Zipp concluded that “Mr. Shroyer used sham evidence,” and that InfoWars

 “ignore[d] basic precautions taken by journalists” and “intentionally distorted the

 evidence in a malicious way to attack and retaliate against Mr. Heslin.” 46 These

 deceptive claims were used to support Mr. Jones’ continuing crusade to demonize the

 Plaintiffs for participating in an allegedly staged event. When Mr. Heslin had the

 courage to defend himself and his community against these lies, InfoWars maliciously

 targeted him with a cruel and dishonest accusation, all to promote their insane

 fantasy.

         For Mr. Zipp, demonstrating the falsity of InfoWars’ absurd claims was not a

 difficult enterprise, as he stated in his affidavit:

                 It was not necessary to obtain a subpoena to secure the
                 materials needed to fact-check these claims. All these
                 materials exist in the public domain, and they have been
                 discussed by Sandy Hook researchers online. A variety of
                 individuals have debunked these claims over the years
                 while providing verifiable information from the public
                 record. Any responsible publisher would have known Mr.
                 Jones’ claims were false, or otherwise entertained serious
                 doubts about their accuracy. 47
 45 Id., p. 15-16.
 46 Id., p. 16.
 47 Exhibit 1, Fred Zipp Affidavit in Pozner, at p. 13.




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        When assessing actual malice, the court should “begin by noting the gravity of

 the accusations made against [plaintiff].” Warner Bros. Entm't, Inc., 538 S.W.3d at 806.

 Here, Mr. Zipp noted that “Mr. Jones’ accusation proves the adage that serious claims

 require serious evidence.” 48 The Austin Court of Appeals recently echoed that

 sentiment in a case involving allegations that professional athlete hired a hitman,

 noting “[c]harges as serious as the ones leveled against [plaintiff] in this article

 deserve a correspondingly high standard of investigation.” Id. at 806. Yet like the

 defendant in Warner Bros., InfoWars “ignored elementary precautions.” Id.

 III.   Alex Jones’ Testimony Shows Reckless Disregard.

        Evidence of reckless conduct is also shown in Mr. Jones’ deposition testimony

 in the Lewis case, which was a three-hour admission of actual malice. During his

 deposition, Mr. Jones candidly admitted he performed no corroboration of the

 conspiracy claims being given to InfoWars by self-styled investigators Wolfgang

 Halbig and Jim Fetzer. Mr. Jones claimed he relied on “other people that were

 investigating.” 49 Mr. Jones admitted, “We did not ourselves investigate Sandy Hook.” 50

 These actions show actual malice because InfoWars “failed to meaningfully seek

 corroboration … from any other sources.” Warner Bros. Entm't, Inc., 538 S.W.3d at

 808. In one exchange concerning Wolfgang Halbig, Mr. Jones testified about his

 reliance on this dubious source:


 48 Id. at p. 22.
 49 Exhibit 5, March 4, 2019 Deposition of Alex Jones, at 58:25.
 50 Id. at 58:25-59:1.




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                    Q.         You didn't know one way or the other, right, whether
                               the school was open? You had some doubts. You
                               didn't know one way or another; you couldn't
                               confirm it one way or another?

                    A.         I know that some investigators who were
                               accreditated school safety folks who thought were
                               credible experts were the ones -- professors and
                               others that were in good standing -- were the ones
                               that were really doing these investigations; and that
                               I was in some cases taking what they said
                               incorrectly. And I've admitted to that.

                    Q.         And with no corroboration? You just take what they
                               said, and you trusted these guys, right?

                    A.         I mean, I'd seen one of the guys, like, on national
                               television before on the Columbine stuff as a
                               national safety expert; and he sounded pretty
                               credible.

                    Q.         Mr. Halbig, right?

                    A.         Yes.

                    Q.         And he had sent you something in the neighborhood
                               of 4,000 e-mails?

                    A.         It's a lot, yeah.

                    Q.         And looking at those e-mails, taking a look at them,
                               you wouldn't agree with me that that man is a raving
                               lunatic?

                    A.         He seemed very credible and put together earlier on,
                               but -- I can't remember the exact number -- he
                               seemed to get agitated about four years ago, three
                               years ago. 51




 51   Id. at 42:17 to 43:19.


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           Though Mr. Jones claimed Mr. Halbig became “agitated” in 2015 or 2016, Mr.

 Jones was still repeating Mr. Halbig’s claims until he was sued in 2018. When

 discussing one of those claims -- the “Port-a-Potty” allegation -- Mr. Jones claimed “I

 was going off what Halbig was saying.” 52 Mr. Jones then admitted InfoWars did not

 perform any confirmation, even though the dashcam video necessary to fact-check

 the claim was publicly available and had been discussed on Mr. Jones’ show:

                    Q.    You did no confirmation whatsoever of Mr. Halbig's
                          statements about the Port-A-Potties, did you?

                    A.    I don't believe these videos were released for a long
                          time.

                    Q.    If they were, if those videos were released in 2013, it
                          certainly would have been reckless to say the Port-
                          A-Potties arrived in an hour in 2017, wouldn't it, Mr.
                          Jones?

                    A.    I just don't know how to respond to the fact that --
                          that how do we know more weren't arriving later
                          and that there's other Port-A-Potties or whatever?
                          I'm not saying that's what happened. You just
                          showed me one still off something and tell me to
                          answer questions.

                    Q.    Yeah. So one thing you could do is go back into the
                          dashcam video and scroll through and find out if
                          something did arrive earlier? That's something you
                          could do, right? It's not hidden information, right?
                          Correct?

                    A.    I guess correct. 53




 52   Id. at 62:2.
 53   Id. at 62:3-63:3.


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           Similarly, when discussing his claim that paramedics were not allowed inside

 of Sandy Hook, Mr. Jones confirmed that he merely repeated dubious information

 with no fact checking:

                   Q.      You've said repeatedly on your web show
                           paramedics weren't allowed inside of Sandy Hook?
                           You've said that; you're not going to deny that?

                   A.      I've read other people’s reports saying.

                   Q.      Okay. And you did nothing to confirm those reports,
                           literally nothing?

                   A.      I went out and I covered news that was being
                           covered. 54

           Mr. Jones also admitted InfoWars had been provided information from various

 people who had been debunking the claims made on Mr. Jones’ show. In particular,

 InfoWars News Director Rob Dew had been receiving information with the correct

 facts regarding Mr. Jones’ claims:

                   Q.      Mr. Dew, in addition to those debates, has been
                           provided written information from a lot of these
                           debunking people seeking to stop the allegation that
                           it's a hoax. You would agree with that?

                   A.      Yes. There was a big Internet fight going on, and we
                           were showing both sides. 55

           In truth, Mr. Jones had not been “showing both sides.” Instead, his videos

 uncritically repeated the absurd claims of Wolfgang Halbig and Jim Fetzer. Mr. Jones




 54   Id. at 54:2 to 54:16.
 55   Id. at 146:14 to 146:19.


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 admitted that he accepted Halbig and Fetzer’s conspiracy claims at face value because

 he had a form of psychosis:

                 And I, myself, have almost had like a form of psychosis back
                 in the past where I basically thought everything was
                 staged, even though I'm now learning a lot of times things
                 aren't staged. 56

         Mr. Jones said, “I would kind of get into that mass group-think of the

 communities that were out there saying that.” 57 This mass group-think caused Mr.

 Jones to act recklessly when covering Sandy Hook, publishing the most absurd and

 easily debunked allegations. During his deposition, Mr. Jones was repeatedly

 confronted with video clips of the bizarre claims he made on his show, and he was

 completely unable to provide a coherent explanation as to how those allegations ever

 made it to air. In sum, Mr. Jones admitted he published inherently improbable and

 dubious claims with no corroboration.

 IV.     Paul Watson’s Testimony Shows Reckless Disregard.

         Paul Watson has served as InfoWars’ Chief Reporter since 2014. 58 From the

 beginning, Mr. Watson had expressed strong reservations about the accuracy of

 InfoWars’ coverage of Sandy Hook. Mr. Jones admitted that Mr. Watson frequently

 warned him about InfoWars’ coverage of Sandy Hook:

                 Q.      And he frequently warned you about what you were
                         saying about Sandy Hook?



 56 Id. at 184:9-12.
 57 Id. at 185:10 to 185:12.
 58 Id. at 72:17.




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               A.      Well, I mean, we had discussions about it, yes. We're
                       not running a cult. We have different views. 59

        Mr. Jones testified that Paul Watson “was saying that some of the people that

 were out there putting stuff out, like Fetzer and others in that, were not good.” 60 This

 is quite an understatement. On December 17, 2015, Paul Watson wrote to two of his

 co-workers to let them know he had sent Alex Jones the following message:

               This Sandy Hook stuff is killing us. It's promoted by the
               most batshit crazy people like Rense and Fetzer who all
               hate us anyway. Plus it makes us look really bad to align
               with people who harass the parents of dead kids. It's gonna
               hurt us with Drudge and bringing bigger names into the
               show. Plus the event happened 3 years ago, why even risk
               our reputation for it? 61

        Despite Mr. Watson’s warning in 2015 that the conspiracy theorists InfoWars

 was relying on were “batshit crazy,” Mr. Jones continued to spread their absurd claims

 until he was sued in 2018. It is a rare and outrageous case where a media outlet’s

 Chief Reporter acknowledges their sources are mentally disturbed. Mr. Watson also

 testified that by 2013, he was “aware at this time that the parents were being

 harassed by believers in a Sandy Hook hoax conspiracy.” 62 Mr. Watson knew the

 harassment against the parents went on for years:

               Q.      You knew and understood that that harassment
                       went on for years, correct?




 59 Id. at 71:2 to 71:6.
 60 Id. at 77:19-21.
 61 Exhibit 7, December 17, 2015 email - FSSTX-027752
 62 Exhibit 8, Deposition of Paul Watson, at 11:15-17.




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                 A.    That it went on for years afterwards, I don't know an
                       exact time period as to when it went on, but I do
                       know that it occurred, yes. 63

         Mr. Watson testified that InfoWars willfully disregarded the sensitivity of the

 victims during its reporting for five years:

                 Q.    When we talk about maintaining that respect, that
                       dignity, that sensitivity for the victims that you
                       mentioned in that video in 2013, for the next five
                       years, Infowars frequently did not do that, not saying
                       you, but other people at InfoWars. You'd agree with
                       that?

                 A.    I would say generally speaking, that's probably
                       correct in terms of the trajectory of how InfoWars
                       covered these events... 64

         Mr. Watson testified that he thought it looked “really bad to align with people

 who harass the parents of dead children.” 65 He testified that he found InfoWars’

 coverage indecent and wrong:

                 Q.    In terms of what you think is decent and right, in
                       terms of covering this story, do you think Infowars
                       always adhered to what is decent and right in
                       covering this story?

                 A.    Well, it's a subjective term, but, from my –

                 Q.    In your opinion, Mr. Watson.

                 A.    From my personal perspective, decent and right, I
                       would not have covered it in that way, no. 66



 63 Id. at 22:5-9.
 64 Id. at 20:4-14.
 65 Id. at 29:15-23.
 66 Id. at 17:16-22.




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           Mr. Watson strongly disagreed with assertions made on InfoWars that Sandy

 Hook was staged or that “crisis actors” were used. Mr. Watson testified he disagreed

 with these assertions because “[he] saw at the time the people who were pushing that

 narrative were not credible people.” 67

           As noted above, Mr. Watson was the author of an email informing two InfoWars

 colleagues that he warned Mr. Jones in writing about InfoWars’ Sandy Hook coverage.

 In his warning, Mr. Watson told Mr. Jones the sources he was relying on were “bat shit

 crazy.” Mr. Watson testified he also had similar personal conversations with Jones. 68

 When Mr. Watson was asked why the sources were “bat shit crazy,” he admitted the

 same characteristics applied to Mr. Jones:

                   Q.      Tell me how you came to the conclusion that these
                           two gentlemen that InfoWars was relying on were
                           bat shit crazy?

                   A.      Because they were pushing the notion that nobody
                           died at Sandy Hook, which I thought was not credible
                           and was supported by no evidence, so therefore, was
                           a crazy conclusion to make.

                   Q.      So by that same logic, Alex Jones, equally, bat shit
                           crazy?

                   A.      I wouldn't describe him as bat shit crazy.

                   Q.      What kind of crazy?

                   A.      I would describe it as him commenting on the
                           controversy of the conspiracy theories that were
                           swirling about Sandy Hook at the time.

 67   Id. at 12:22-13:2.
 68   Id. at 40:8-14.


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                   Q.       Okay. So if Jeff Rense or Jim Fetzer starts pushing
                            allegations that the children aren't real and that the
                            parents are fake and that the crying is all fake and
                            it's all an act, they're bat shit crazy. But if Jones says
                            literally the exact same words on his web broadcast,
                            he's just doing a good job as a journalist?

                   A.       Well, to kind of combine this with your previous
                            question, I would say the description of them as "bat
                            shit crazy" would also involve things that they've
                            said in the past unrelated to Sandy Hook, maybe
                            about UFOs or alien abduction or holograms on 911,
                            which I think was Fetzer's big thing for a while. So,
                            you know, they had -- they has a previous of
                            engaging in very obscure conspiracy theories, which
                            would contribute to that description of bat shit
                            crazy.

                   Q.       Do you think that their history of doing that is any
                            different than Alex Jones?

                   A.       No. But again, they have the right to engage in that
                            speech under the First Amendment. 69

           Mr. Watson defended InfoWars by claiming it had no duty to report events

 accurately. As editor, Mr. Watson believes “a commentary opinion outlet, one that

 may be partisan in nature,” ultimately “has no obligation to ensure that the things that

 it's saying are accurate or true.” 70 Mr. Watson flatly admitted InfoWars does not

 believe it has any duty to abide by journalistic ethics, and it therefore does not abide

 by those ethics:

                   Q.       If you have somebody with a track regard of being
                            bat shit crazy and unreliable, it would violate the

 69   Id. at 26:24-28:9.
 70   Id. at 50:24-51:12.


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                        sense of journalistic integrity to promote what they
                        are saying as fact, correct?

                A.      Yes. If you were a journalistic, middle-of-the-road,
                        nonpartisan, non-commentary outlet –

                Q.      So Alex Jones is allowed to do that? Other people
                        who claim to be journalists can't, but Alex Jones can
                        do that? That's fine?

                A.      Under their -- under their own journalistic ethics,
                        they wouldn't. Alex Jones would because he's an
                        opinion commentator.

                Q.      And he has no journalistic ethics, correct?

                A.      He's not a journalist. So no, he's not. He doesn't abide
                        by those ethics because he's not a journalist. 71

         Mr. Watson testified InfoWars believes it “should be held to a lower standard

 than perhaps other media organizations.” 72 Mr. Watson’s deposition shows the

 organization operates with a willful disregard for journalistic ethics. Moreover, Texas

 courts have noted that “rarely will a defendant admit knowing of a substantial

 certainty that emotional harm would befall the victim.” Clayton v. Wisener, 190 S.W.3d

 685, 695 (Tex. App.—Tyler 2005, pet. denied). Yet Mr. Watson made such admissions

 here.

 V.      Robert Jacobson’s Testimony Shows Reckless Disregard.

         Robert Jacobson worked at InfoWars writing and producing videos for thirteen

 years, from 2004 to 2017. 73 Mr. Jacobson contacted Plaintiff’s counsel because he


 71 Id. at 52:7-52:24.
 72 Id. at 56:5-6.
 73 Exhibit 9, Deposition of Robert Jacobson, at 22:4-16




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 “was concerned” and “felt terrible about what happened,” and he “[felt he had] to right

 a wrong that [he] was involved in.” 74 Mr. Jacobson was deposed in the Lewis case, and

 he testified about his interactions with InfoWars writers on the subject of Sandy

 Hook. Mr. Jacobson testified he was bothered by the flagrant violations of ethics:

                 Q.     What did you hear that bothered you?

                 A.     I heard them making accusations based on
                        extremely narrow cross-sections of information,
                        that I did my best to make the writers and the staff
                        aware that what they were doing was speculation
                        based on not enough information. It bothered me.
                        That bothered me that I felt they had no concept of
                        journalist ethics.

                 Q.     Did you tell anyone at InfoWars your feelings about
                        the Sandy Hook coverage?

                 A.     I attempted to make it as clear as possible to the
                        writers that there is something called journalist
                        ethics and how what they were doing was in a direct
                        violation of that anytime I caught wind of the Sandy
                        Hook story on InfoWars. 75

         Mr. Jacobson testified about his repeated visits to the writers’ room in which

 he explained the ethical problem and the consequences of those actions:

                 I would make it my business to go into the writers and
                 explain to them as clearly as possible that there is
                 journalist ethics; and I tried to demonstrate what those
                 ethics are and why they are violating them and what the
                 damage could possibly be. In fact, I remember -- I must
                 have been in that room four to five times, at least, and only
                 to be received with laughter and jokes. 76


 74 Id. at 32:16-22.
 75 Id. at 33:13-34:1
 76 Id. at 34:6-12




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        Mr. Jacobson testified that InfoWars News Director Rob Dew was acting

 recklessly, stating that “Mr. Dew was overzealous to receive any type of hint that

 perhaps this might have been a phony act, a staged act. Any type of whisper that came

 through to him, he would celebrate.” 77 Whenever he raised the issue, Mr. Jacobson

 testified that the writers “mocked [his] concerns about Sandy Hook coverage.” 78

        Mr. Jacobson also testified about Adan Salazar, one of the writers working on

 Sandy Hook. Mr. Salazar showed a willingness to publish any allegation, no matter

 how absurd. For example, Mr. Salazar wrote to the author of the horror movie website

 “A Slash Above” because in the months before the Newtown shooting, the website

 author had written a review of the 2000 slasher film “Sandy Hook Lingerie Party

 Massacre.” Mr. Salazar sought comment on a rumor that “your review of ‘Sandy Hook

 Lingerie Party Massacre on your site aslashabove.com shows foreknowledge or prior

 planning of the events that have taken place as of late.” 79 Mr. Salazar stated, “we

 thought this was surely ridiculous, however, we’re (Infowars.com) going to point it

 out in an article anyway.” 80 In other words, Mr. Salazar was admitting that InfoWars

 intended on publishing information it knew was ridiculous. The author of the blog

 replied, “You are seriously ill to send me something like that – Don’t contact me

 anymore or I will report you for harassment you bunch of weirdos.” 81



 77 Id. at 36:13-16
 78 Id. at 38:5
 79 Exhibit 10, December 21, 2012 Email by Adan Salazar, FSSTX-077825.
 80 Id.
 81 Id.




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           In addition to Mr. Salazar, Mr. Jacobson further testified regarding his concerns

 with Wolfgang Halbig’s reliability and mental state:

                   And every time I saw [Halbig], I saw somebody that if he
                   was amongst a group, a large group of people, okay; but a
                   one and only person, I felt that this person may have mental
                   problems. This person may have a lot of emotional
                   problems. He could be a lonely man. He could be somebody
                   looking for attention. There could be a lot of questions to
                   be asked before we present forward as a news organization
                   such a heavy accusation as accusing the parents of
                   slaughtered children of being liars. 82

           Mr. Jacobson testified that the reliance on Wolfgang Halbig was caused by a

 total lack of journalistic ethics at InfoWars:

                   I think that perhaps we should have asked the question
                   "what is Wolfgang Halbig’s story" before we put this story
                   to the public. This story should never have been put
                   forward to the public at all without -- and if they knew
                   ethics in journalism, they would have known that
                   immediately; but they have absolutely no ethics
                   experience, in my opinion. Therefore, the story went
                   forward; and the damage was caused. 83

           Mr. Jacobson also testified about InfoWars’ allegation that there exist

 photographs of Sandy Hook children who are actually still alive:

                   Q.      Have you ever heard the allegation that there are
                           photographs of children who are supposedly dead
                           who are actually alive?

                   A.      Yes, I’ve heard that allegation.




 82   Exhibit 9, Deposition of Rob Jacobson, at 38:23-39:6.
 83   Id. at 39:7-14


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                   Q.    From what you have seen inside of InfoWars, have
                         you seen anything that has caused you to form an
                         opinion about that allegation?

                   A.    I mean, you know, my opinion is it’s so distasteful --
                         and it happened a while ago, that – you know, it
                         happened a while ago. So it was just all these things
                         seem to -- all of the little allegations that Halbig and
                         all these other people set forward, I sort of see it as
                         individual cross-sections of information that each
                         one was improperly handled. 84

           Mr. Jacobson testified that he was shocked at the lack of fact-checking

 considering the serious nature of the allegations being made:

                   The weight of the accusation in this particular case, it was
                   shocking that they didn’t do more research. They didn’t go
                   further into it. They didn’t -- I mean, what I constantly tried
                   to clarify is a story of this level should not be brought
                   forward unless they are -- I tried to make it clear that they
                   need as much evidence in this story as if they were going to
                   court to prove their case; and if they didn’t have that, they
                   didn’t have a story. 85

           The InfoWars writers for Sandy Hook ignored the warnings of Robert Jacobson,

 just as Mr. Jones had ignored the warnings of Paul Watson. This testimony provides

 clear and specific prima facie evidence that InfoWars recklessly published false facts.

 VI.       InfoWars Intentionally Harmed the Plaintiffs.

           InfoWars’ conduct is especially outrageous because Mr. Jones understood and

 intended the suffering he was causing to the Sandy Hook parents – especially these

 particular plaintiffs – and he responded with increasing hostility. InfoWars knew as



 84   Id. at 42:8-22
 85   Id. at 52:9-17


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 early as 2013 that the Sandy Hook parents were being harassed by Sandy Hook

 deniers. In the month after the shooting, InfoWars had already received a direct

 complaint from Plaintiff Leonard Pozner. In a January 29, 2013 email to InfoWars,

 Plaintiff Leonard Pozner wrote:

                  I am very disappointed to see how many people are
                  directing more anger at families that lost their children in
                  Newtown. Accusing us of being actors.......

                  Haven’t we had our share of pain and suffering? All these
                  accusations of government involvement, false flag terror,
                  new world order etc..

                  I used to enjoy listening to your shows prior to 12-14-12.

                  Now I feel that your type of show created these hateful
                  people and they need to be reeled in!

                  Lenny Pozner 86

           Mr. Watson responded to Mr. Pozner by writing:

                  Sir,

                  We have not promoted the "actors" thing. In fact, we have
                  actively distanced ourselves from it.

                  We have said on numerous occasions that it was a very real
                  tragedy with very real victims.

                  I hope we can continue to count you as a listener, and I am
                  deeply sorry for your loss.

                  Best Regards, Paul Joseph Watson 87




 86   Exhibit 11, January 29, 2013 Email between Pozner and Infowars - FSSTX-072489
 87   Id.


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         Despite Mr. Pozner’s email, InfoWars showed a complete lack of caution and a

 total indifference to the suffering of the Sandy Hook parents. Mr. Jones promoted “the

 actors thing” and repeatedly made false claims in support of his allegation that the

 event was staged. In 2015, Mr. Pozner started a parent support organization called

 HONR Network to help remove harassment from YouTube, Facebook, and other

 major platforms. Mr. Jones reacted with open hostility. In a February 2015 episode of

 InfoWars, Mr. Jones was particularly upset when one of his videos containing a photo

 of Noah Pozner was removed. Discussing Mr. Pozner’s support group “HONR

 Network,” Mr. Jones said:

                 We just are saying something is going on here. And we’re
                 sorry that, you know, the First Amendment is so upsetting,
                 but we're going to be investigating this. We’re going to be
                 looking into this. We’re going to be countering this, and
                 we're going to be dealing with this. 88

         Referencing the distressed parents, Mr. Jones also stated, “we need to stop

 cowing down to these people and let them know we're not putting up with their

 bullying anymore.” 89 In his affidavit, Mr. Zipp noted that:

                 Mr. Jones later took a live phone call from a fellow Sandy
                 Hook denier who was also upset with Mr. Pozner. The
                 caller stated, “Lenny, if you're listening, your day is coming,
                 my friend. It is coming.” Mr. Jones responded, “This sounds
                 like a war is going on. I think they made a major mistake
                 involving us.” The caller then stated, “Oh, I totally agree.
                 They don't know what they bit off. Go after them, Alex.
                 Crush them.” Mr. Jones responded, “I'm not somebody to
                 mess with.” 90
 88 Exhibit 1, Fred Zipp Affidavit in Pozner, p. 96 (Ex. A-14).
 89 Id., p. 100 (Ex. A-15).
 90 Id., p. 25-26.




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         Mr. Zipp noted that in the same episode, “InfoWars reporter Rob Dew showed

 personal addresses of Mr. Pozner and displayed maps of these locations. Mr. Jones

 stated that, ‘I guess I'm going to have to probably go on up to Newtown. I'm going to

 have to probably go investigate Florida as well.’” 91

         Mr. Jones testified he was aware of the harassment he was causing. For

 example, Mr. Jones testified he was aware of the 2013 arrest of Jonathan Reich, one

 of the conspiracy fanatics being accompanied by an InfoWars reporter in Newtown,

 Connecticut. 92 Mr. Reich was arrested for harassing a Sandy Hook parent. 93 Mr. Jones

 testified he was also aware of an incident in Newtown in 2015 in which the same

 InfoWars reporter, Dan Bidondi, followed and verbally abused people who were

 involved in Sandy Hook.        94   Mr. Jones also testified he understood the allegations on

 his show were distressing to the parents. 95

         Despite this knowledge, Mr. Jones continued his reckless obsession with Sandy

 Hook. On November 16, 2016, Erica Lafferty wrote an open letter on behalf of the

 victims’ families to President Trump, asking him to disavow Mr. Jones. Ms. Lafferty’s

 letter received extensive media coverage, and two days later, on November 18, 2016,

 Mr. Jones published another video defending his false claims about Sandy Hook.

 During this response video, Mr. Jones specifically discussed the negative reaction of


 91 Id., p. 26.
 92 Exhibit 5, March 4, 2019 Deposition of Alex Jones, at 160:13 to 160:17.
 93 Id.
 94 Id. at 84:3-22; 89:23 (“I saw that stuff; and I was like -- I remember seeing it in the paper.”)
 95 Id. at 55:17 to 55:22.




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 the families, claiming they had something to hide. Mr. Jones directly addressed the

 Sandy Hook families in his cruel message:

              MR. JONES: And why should anybody fear an investigation
              if they have nothing to hide. In fact, isn't that in
              Shakespeare's Hamlet, “me thinks you protest too much."…

              But this particular case, they are so scared of an
              investigation. So everything they do basically ends up
              blowing up in their face. So you guys are going to get what
              you want now. I'm going to start reinvestigating Sandy
              Hook and everything else that happened with it…

              And so if children were lost in Sandy Hook, my heart goes
              out to each and every one of those parents and the people
              that say they're parents that I see on the news. The only
              problem is I've watched a lot of soap operas, and I've seen
              actors before. And I know when I'm watching a movie and
              when I'm watching something real. 96

        Soon thereafter, in February 2017, the Newtown Board of Education wrote a

 letter to President Trump asking him to speak out against Alex Jones. On April 18,

 2017, news stories about the letter and Trump’s silence appeared in major national

 media. 97 In response, on April 22, 2017, Mr. Jones published a response video entitled

 “Sandy Hook Vampires Exposed,” again defending his false allegations about Sandy

 Hook. This video is the subject of the Pozner defamation claim.

        On June 18, 2017, Megyn Kelly’s profile and interview of Mr. Jones aired on

 NBC. During that profile, Mr. Jones again showed his indifference to the distress of the

 parents. The following exchange took place:


 96Exhibit 1, Fred Zipp Affidavit in Pozner, p. 158-159 (Ex. A-25 to the affidavit).
 97https://www.cbsnews.com/news/newtown-leaders-call-on-trump-to-denounce-sandy-hook-
 conspiracies/


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                   MEGYN KELLY: But Alex, the parents, one after the other,
                   devastated. The dead bodies that the coroner autopsied --

                   ALEX JONES: And they blocked all that. And they won't
                   release any of it. That's unprecedented. 98

           Mr. Jones and Ms. Kelly also had the following exchange:

                   MEGYN KELLY: When you say, “parents faked their
                   children’s death,” people get very angry.

                   ALEX JONES: Yeah, well, that's - oh, I know. But they don't
                   get angry about the half million dead Iraqis from the
                   sanctions. Or they don't get angry about all the illegals
                   pouring in. 99

           During Ms. Kelly’s profile of Mr. Jones, Plaintiff Neil Heslin was interviewed

 about the distress caused by InfoWars’ false statements about his son’s death. An

 obviously distraught Mr. Heslin asked Mr. Jones to stop his lies about his son’s death.

 Yet Mr. Heslin’s public plea did nothing to help the situation. Instead, InfoWars

 retaliated against him by defaming him. In response to Mr. Heslin’s interview,

 InfoWars published the June 26, 2017 video “Zero Hedge Discovers Anomaly In Alex

 Jones Hit Piece,” during which InfoWars host Owen Shroyer accused Mr. Heslin of

 lying about holding his dead son’s body. On July 20, 2017, Mr. Jones repeated these

 accusations. Those two videos are the subject of Mr. Heslin’s defamation claim.

           Well after Mr. Heslin made his public plea for Mr. Jones to stop, InfoWars

 continued to spread false Sandy Hook conspiracy stories. On October 26, 2017, Mr.




 98   Exhibit 12, Megyn Kelly Interview Transcript, June 18, 2017.
 99   Id.


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 Jones published a video in which he discussed an InfoWars article promoting new

 theories about a cover-up of Sandy Hook, and he again told his audience “it’s as phony

 as a $3 bill, with CNN doing fake newscasts, with blue screens.” 100 In sum, Mr. Jones

 has known about the distress he was causing the Sandy Hook parents for years, and

 he responded to that distress with increasing animosity, especially towards these

 Plaintiffs. During Robert Jacobson’s deposition, when asked to assess the level of

 outrageousness he saw, he described the InfoWars writing staff laughing about the

 pain they were causing to the Sandy Hook parents:

                    Q.      Can you describe to me on a scale of one, being not
                            outrageous at all, and ten, being extremely
                            outrageous, on that one-to-ten scale, what is the
                            level of outrageousness of this conduct that you
                            were trying to impart?

                    A.      It was a ten.

                    Q.      Tell me why you thought that.

                    A.      I mean, it’s one thing to make a mistake. It’s another
                            thing to have somebody come in – and I don’t even –
                            I’m not aware if I was the only person or not, but I
                            know I was doing it – to come in and say, “Hey, this
                            is wrong. You’re making a mistake.” It’s one thing,
                            you know, to actually have a mistake and something
                            else to have it pointed out to you, not just once but
                            over and over and over again, and to not only hear
                            the damage that you’re doing to people outside of
                            your zone but to actually laugh about it, I thought
                            that’s a ten. 101




 100   Exhibit 1, Affidavit of Fred Zipp, p. 186 (Ex. A-30 to the affidavit)
 101   Exhibit 9, Deposition of Robert Jacobson, at p. 65:24-66:19.


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 VII.   InfoWars Used Dubious Third Party Sources.

        In a case involving allegations originating with a third-party source,

 “recklessness may be found where there are obvious reasons to doubt the veracity of

 the informant or the accuracy of his reports.” Warner Bros., 538 S.W.3d at 806, citing

 Harte-Hanks, 491 U.S. at 688. Here, both sources routinely relied on by InfoWars are

 extraordinarily unreliable.

        A.    Relying on Jim Fetzer shows reckless disregard.

        InfoWars frequently relied on the outrageous claims by conspiracy fanatic Jim

 Fetzer. As noted above, Chief Editor Paul Watson warned Mr. Jones that Jim Fetzer

 was “batshit crazy.” Jim Fetzer was the person cited in the anonymous blog post

 featured in Mr. Shroyer’s video defaming Mr. Heslin. Mr. Fetzer is also the source for

 many of the claims in the “Sandy Hook Vampires Exposed” video. Mr. Zipp’s affidavit

 provides context on Mr. Fetzer’s background:

              In its Motion to Dismiss, InfoWars described Mr. Fetzer
              with an air of respectability, referring to him as “Professor
              Emeritus of the University of Minnesota.” In truth, the
              retired professor has long been understood to be an
              unhinged crank. I do not use these terms lightly. Mr. Fetzer,
              author of the disturbingly titled self-published book
              “Nobody Died at Sandy Hook” has spent years spreading
              ridiculous and bizarre claims about the event. For example,
              Mr. Fetzer is convinced that Sandy Hook parent Leonard
              Pozner is actually a different man named Reuben
              Vabner…Mr. Fetzer’s bizarre writings feature notably anti-
              Semitic rants about Mr. Pozner, who he insists is part of
              some international Jewish conspiracy…Mr. Fetzer is
              obsessed with the notion of faked identifies, and he makes
              similar accusations about the shooting victims, posting



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                    photo comparisons which he claims prove that the photos
                    of children are actually adults. 102

            Mr. Zipp notes that Mr. Fetzer even told his readers “that he has located a

 photograph containing the female shooting victims, who are now allegedly

 adolescents.” Shown below is Mr. Fetzer’s purported photo of the “crisis actors”

 reunion:




            According to Mr. Zipp, “Mr. Fetzer has claimed, with no evidence, that the death

 certificates for shooting victims have been faked and that a shooting victim’s

 gravestone was actually a computer-generated graphic.” 103 In short, Mr. Fetzer is well

 known for being an outrageous grifter, selling books and collecting donations from

 confused outcasts, all of which he has based on either malicious lies or his own



 102   Exhibit 2, Fred Zipp Affidavit in Heslin, p. 16-17.
 103   Id. at p. 19.


                                                       34
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 preposterous delusions. Mr. Zipp concluded that “no rational journalist would ever

 rely on Mr. Fetzer as a source for anything, especially an allegation as improbable and

 serious as accusing a parent of lying about holding their dead child. InfoWars’

 uncritical endorsement of accusations being promoted by Mr. Fetzer demonstrates

 its reckless and deceptive conduct.” 104

             B.    Relying on Wolfgang Halbig shows reckless disregard.

             Wolfgang Halbig is a self-styled “school safety expert” that Mr. Jones frequently

 featured as a guest on his show. As discussed above, Mr. Jones testified that he did

 nothing to corroborate the wild tales told to him by Mr. Halbig. Mr. Jones also testified

 that signs of Halbig’s mental distress were apparent by at least 2016.

             Likewise, former video editor Rob Jacobson testified about InfoWars’ reckless

 reliance on Mr. Halbig. Mr. Jacobson testified that he attempted to explain the

 problems with relying on Mr. Halbig, but he was met with derision:

                   What I’ve pointed out to [writer] Adan [Salazar]
                   specifically is that you’re taking the word of one witness
                   primarily and a couple of speculative other facts and calling
                   it the truth without actually going down and investigating
                   it ourselves or actually going with our own reporters and
                   corroborating what these people are saying. I made it
                   aware to Adan that Wolfgang Halbig could have a lot of
                   issues that we’re not considering, that by taking the word
                   of this one man so heavily with such a great accusation that
                   he’s accusing people of is so irresponsible, so damaging. I
                   asked him to consider the size of the audience. And Adan
                   Salazar responded with – and I’m going to quote him
                   because he said it to me many times – “I want to print up a


 104   Id.


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               T-shirt that says, ‘Halbig was right.’ I want bumper stickers
               that say, ‘Halbig was right,’” to a laughing room. 105

        Keith Johnson, a freelance journalist and former contributor to InfoWars,

 wrote to news director Rob Dew warning about Mr. Halbig in 2014:

               You are promoting Wolfgang Halbig, a man with less than a
               year of law enforcement as a ticket-writing Florida
               highway patrolman in 1974 and a 3.3 hour online
               certificate with NIMS. He claims to have been a homicide
               detective and a consultant on Columbine. Both claims are
               false and I can prove it. I have documented multiple lies this
               man told. In addition, I have exposed the intentional
               manufacturing of evidence by Sandy Hook conspiracy
               theorists and have indisputable and documented proof of
               their frauds. 106

        Mr. Johnson noted that Mr. Halbig was basically a “child predator,” and he

 warned Mr. Dew not to rely on a person “seeking to hunt down children who sang at

 the 2013 Super Bowl and stalks children at playgrounds in Newtown and plots ways

 to exhume the bodies of dead children.” 107

        On June 23, 2017, three days before InfoWars defamed Mr. Heslin, Wolfgang

 Halbig sent one of his hundreds of harassing emails to Leonard Pozner, copying a

 variety of media organizations including InfoWars. Online debunker C.W. Wade

 responded to Mr. Halbig and Mr. Dew, stating:

               In all seriousness Wolfgang, it is the targeting of these little
               children that should cause you to be arrested. The 4th
               grade choir is not the murdered children, you filthy
               creature. Why does Rob Dew, Nico and Alex Jones of
               Infowars love this stuff? Wolfgang, your right hand man,
 105 Exhibit 9, Deposition of Rob Jacobson, 37:9-25.
 106 Exhibit 13, Keith Johnson email on December 14, 2014 (FSSTX-037204).
 107 Id.




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                  Jonathan, went to jail and was convicted because you
                  convinced him of this nonsense stuff and he harassed the
                  family of a Super Bowl singer. You ruined your friend's life
                  over this lie of yours. 108

           Despite Mr. Halbig’s deranged behavior, and despite warnings from people

 inside and outside InfoWars, Mr. Jones continued to publish the outrageous lies given

 to him by this obsessed, delusional crank.

 VIII. The Long Duration of the Offending Conduct Shows Reckless Disregard.

           Defendants’ five-year campaign of lies and harassment against these Plaintiffs

 supports a finding of actual malice because “evidence of extraneous conduct is

 admissible, as prior bad act evidence, to show malice, in a defamation suit.” See 1 Tex.

 Prac. Guide Civil Trial § 6:131, Character evidence—Evidence of other wrongs or

 acts—Intent/Malice. “[A]ctual malice may be inferred from the relation of the parties,

 the circumstances attending the publication, the terms of the publication itself, and

 from the defendant's words or acts before, at, or after the time of the communication.”

 Warner Bros., 538 S.W.3d at 805, citing Dolcefino v. Turner, 987 S.W.2d 100, 111-12

 (Tex. App.—Houston [14th Dist.] 1998), aff'd sub nom. Turner v. KTRK Television, Inc.,

 38 S.W.3d 103, 120 (Tex. 2000). Here, Mr. Jones’ five-year campaign of lies against the

 Sandy Hook families in the face of irrefutable affirmative evidence is relevant to

 establishing the malicious nature of his 2017 defamatory statements. See, e.g.,




 108   Exhibit 14, C.W. Wade email on June 23, 2017 (FSSTX-052975).


                                                  37
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 Beaumont v. Basham, 205 S.W.3d 608, 624 (Tex.App. Waco. 2006) (Finding prior

 statements are “admissible under Rule 404(b) to show malice in a defamation suit.”).

         For Mr. Jones, carrying on his reckless obsession year after year was extreme,

 outrageous, and malicious. In the IIED claims, “it is the cumulative effect of the

 conduct that, inflicted over a sufficiently lengthy period of time, caused injury over a

 period of years.” Moyer v. Moyer, 03-03-00751-CV, 2005 WL 2043823, at *6 (Tex.

 App.—Austin Aug. 26, 2005, no pet.). Mr. Zipp’s affidavit provides a lengthy yet only

 partial history of InfoWars’ constant harassment of these parents. 109 As Mr. Zipp

 noted, “InfoWars has made wild claims about the Sandy Hook massacre from the

 beginning,” and it has “continually repeated these falsehoods over the course of five

 years.” 110 Mr. Zipp explained how the five-year history demonstrates malice:

                 InfoWars had ample opportunity to investigate the
                 accuracy of its assertions. It has devoted an enormous
                 amount of airtime to the tragedy, with broadcasts making
                 extreme assertions years after the event. Given the
                 enormous public attention and outcry over Jones’
                 allegations, I find it unlikely that InfoWars researchers
                 could have avoided the widespread debunking efforts
                 unless they were doing so intentionally. It is my opinion
                 that any reasonable journalist who continued to publish
                 these claims in 2017 would entertain serious doubts about
                 the truth of their statements, and that they would be acting
                 with a desire to mislead their audience.111

         In Carr, it weighed towards outrageousness when a publisher made no

 “reasonable effort to ascertain the truth of the report before the [second] broadcast.”


 109 Exhibit 1, Affidavit of Fred Zipp in Pozner, p. 7-13.
 110 Id., p. 19.
 111 Id.




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 Carr v. Mobile Video Tapes, Inc., 893 S.W.2d 613, 621 (Tex. App.—Corpus Christi 1994,

 no writ). The Carr court noted:

                   Although we do not consider the initial error outrageous,
                   we cannot say that all reasonable persons would
                   necessarily agree that rebroadcast of the same erroneous
                   statement is equally tolerable. Because of this uncertainty,
                   the jury must determine whether KRGV–TV5 acted
                   outrageously in failing to correct the inaccuracy in the
                   report before rebroadcasting the story over one month
                   later.

 Id. InfoWars’ years of false claims are even more outrageous because Mr. Jones’

 assertions had long been known to be ridiculously bogus. According to Mr. Zipp,

 “[c]ountless individuals and media organizations have thoroughly debunked each of

 InfoWars’ claims over the years. Nonetheless, InfoWars has persisted in this malicious

 campaign.” 112 Not only were InfoWars’ claims debunked by sources which are readily

 available and dominate the relevant Google searches, but many of these debunkers

 contacted InfoWars directly.

             One of these explicit warnings came from former InfoWars contributor Keith

 Johnson, who did not mince words in a 2014 email:

                   I know Lenny Pozner personally. Mr. Pozner's son was
                   brutally murdered on 12/14/2012. I have met with this
                   man and have seen and verified documents that are
                   indisputable proof that his son was murdered. I have also
                   seen the email exchanges between himself and your staff.
                   You told Mr. Pozner that Alex Jones acknowledged that
                   children died and dismissed the idea of a hoax.




 112   Id.


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                  Now you are promoting the hoax mythology and
                  entertaining individuals I can prove are frauds and child
                  predators. I must warn you that you are travelling down a
                  road that will ultimately lead to serious lawful
                  consequences. Those you have placed your faith in are
                  providing you with information that is verifiably false and
                  your ignorance to this fact is no excuse against your
                  complicity. Think about what you are doing. You are willing
                  participating and facilitating in the defamation and libel of
                  a man whose young child was brutally murdered and doing
                  so at a time when we are approaching the 2nd anniversary
                  of this horrendous act. 113

           Despite Mr. Johnson’s warning, Mr. Jones persisted in his conduct for another

 four years. Here, the cruelty of the campaign of lies waged by Mr. Jones is beyond

 measure. In making these groundless claims for years, Mr. Jones did not care about

 the truth. He wanted to deliver a sensational and paranoid spectacle to his audience

 so that he could sell them various products tailored towards the apocalyptic fears he

 fosters. As shown below, it is the very nature of his business model.

 IX.       InfoWars Drives Profits by Recklessly Stating that National Tragedies are
           Fake.

           In his affidavit, Mr. Zipp points out that InfoWars has built a strong brand

 identity around news stories claiming that national tragedies are actually “false flags”

 conducted by a shadowy cabal for sinister political purposes. Mr. Zipp notes that “Mr.

 Jones’ rise to notoriety coincided with his assertions that the 9/11 terror attacks were

 orchestrated by the U.S. government,” and “[h]is current promotional materials boast

 that ‘Alex Jones is considered by many to be the grandfather of what has come to be


 113   Exhibit 13, Keith Johnson email on December 14, 2014 (FSSTX-037204).


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 known as the 9/11 Truth Movement.’” 114 Mr. Zipp described InfoWars’ reckless

 history of telling its audience that national tragedies are fake:

                    Regarding the shooting at Columbine High School, Jones
                    told his audience, “Columbine, we know was a false flag. I’d
                    say 100% false flag.” Jones claimed that Columbine “had
                    globalist operations written all over it.” Regarding the
                    Oklahoma City bombing, Jones said the bombing was a
                    “false flag” and that “we’ve never had one so open and
                    shut.” He added that convicted bomber Timothy McVeigh
                    “was a patsy, that was a staged event.”

                    Mere hours after James Holmes killed twelve people in a
                    movie theater in Aurora, CO, Jones told his audience that
                    there was a “100 percent chance” the shooting was a “false
                    flag, mind-control event.” After the shooting of Rep.
                    Gabrielle Giffords, Jones stated: “The whole thing stinks to
                    high heaven.” Mr. Jones asserted that the Giffords shooting
                    was “a staged mind-control operation.”

                    An April 18, 2013 headline on the InfoWars website read
                    “Proof Boston Marathon Bombing Is False Flag Cover-
                    Up.” A week later, Mr. Jones stated on his broadcast, “I have
                    never seen a false flag, provocateured, staged event by a
                    government come apart faster than it is right now.” Jones
                    said that “patsies were set up” after being recruited by
                    “globalist intelligence agencies.” Jones claimed that
                    Dzhokhar Tsarnaev, who was convicted of the Boston
                    Marathon bombing, “was totally set up, ladies and
                    gentlemen, to sell the police state,” and that his brother
                    worked for the CIA.

                    Mr. Jones made similar accusations about the Douglas High
                    School shooting in Parkland, Florida, claiming a 90%
                    probability that it was a false flag. 115




 114   Exhibit 1, Fred Zipp Affidavit in Pozner, p. 19.
 115   Id. at p. 20


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           Mr. Zipp concluded that “a major element of the InfoWars brand is built on his

 allegations that major national tragedies are actually the result of orchestrated

 government actions.” 116 In his deposition, InfoWars’ Chief Editor Paul Watson

 testified that Mr. Jones only stopped calling these events fake in the year after he was

 sued:

                   Q.·     Can you give me an example of a US mass casualty
                           event, like a mass shooting, a bombing, or the like
                           that Mr. Jones didn't say was a false flag?

                   A.·     I would say that the most recent ones post-Las Vegas
                           massacre, maybe the debates in Ohio shooting, the El
                           Paso shooting. Again, I don't know for sure, but I
                           think after the Las Vegas one, he was more reticent
                           to call them false flags.

                   Q.·     After I sued him, right?

                   A.·     I don't know when you sued him.

                   Q.·     April of 2018. So in the past year, Mr. Jones has
                           stopped saying some of these things, correct?

                   A.·     I wouldn't say he's stopped saying them. I would say
                           that there's a tendency to not directly say that after
                           the event.

                   Q.·     Because in the past, he would say it within hours of
                           an event, correct, that it was a false flag?

                   A.·     Well, yeah. That happened, yeah. 117




 116   Id. at p. 21.
 117   Exhibit 8, Deposition of Paul Watson, p. 60.


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            In light of this history, Mr. Zipp found “that InfoWars’ pattern of predictably

 asserting that events are ‘false flags,’ sometimes within hours of the event, is

 circumstantial evidence that InfoWars recklessly disregarded whether his broadcast

 was true in this case.” 118

                                                CONCLUSION

            “A movant seeking net worth discovery need only show a substantial likelihood

 of success on the merits, not clear and convincing evidence, to be entitled to net worth

 discovery.” In re Bella Corp., 2021 WL 3671334 at *2. Because that standard is met by

 the facts set forth above, Plaintiffs prays this Court grants their Motion for Leave to

 Serve Net Worth Discovery.

                                                    Respectfully submitted,

                                                    KASTER LYNCH FARRAR & BALL, LLP


                                                    ____________________________________
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 118   Exhibit 1, Fred Zipp Affidavit in Pozner, p. 21.


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                         CERTIFICATE OF CONFERENCE

      I hereby certify that I have twice conferred with opposing counsel about this
 Motion, but they have not indicated if they are opposed.




                                       ____________________________________
                                       MARK D. BANKSTON




                            CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2021, the forgoing document was served
 upon all counsel of record via electronic service.




                                       ____________________________________
                                       MARK D. BANKSTON




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                               D-1-GN-18-001835
  NEIL HESLIN                             §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  FREE SPEECH SYSTEMS, LLC, and           §                459th DISTRICT COURT
  OWEN SHROYER,                           §
    Defendants                            §

                               D-1-GN-18-001842
  LEONARD POZNER AND                      §                IN DISTRICT COURT OF
  VERONIQUE DE LA ROSA                    §
    Plaintiffs                            §
                                          §               TRAVIS COUNTY, TEXAS
  VS.                                     §
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §                459th DISTRICT COURT
  AND FREE SPEECH SYSTEMS, LLC,           §
    Defendants                            §

                               D-1-GN-18-006623
  SCARLETT LEWIS                          §                IN DISTRICT COURT OF
    Plaintiff                             §
                                          §
  VS.                                     §               TRAVIS COUNTY, TEXAS
                                          §
  ALEX E. JONES, INFOWARS, LLC,           §
  AND FREE SPEECH SYSTEMS, LLC,           §                459th DISTRICT COURT
    Defendants                            §



                 ORDER ON PLAINTIFFS’ MOTION FOR LEAVE
                    TO SERVE NET WORTH DISCOVERY



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        On this day, the Court considered Plaintiffs’ Motion for Leave to Serve Net

 Worth Discovery. The Court finds there is good cause to grant the Motion because

 Plaintiffs have a substantial likelihood of success on the merits of each of their claims

 for exemplary damages.

        It is hereby ORDERED that Alex Jones, Owen Shroyer, Free Speech Systems,

 LLC, and InfoWars, LLC are all ordered to answer the following discovery requests:

              Interrogatory No. 1: Provide a statement of your net worth. The
              term “net worth” means the amount by which total assets
              (including income) exceed total liabilities. Assets shall include
              items such as cash on hand, cash in accounts, checking, savings,
              brokerage, securities, cryptocurrency, tradeable commodities,
              precious metals, vehicles, business equipment, real estate,
              personal items, and negotiable instruments. Liabilities shall
              include such items as loans, notes, accounts payable, credit card
              balances, and mortgages. The statement of net worth should
              include:

              a.     All income and assets of whatsoever kind and nature and
                     wherever situated.

              b.     A list of all assets transferred in any manner since April 16,
                     2018. Transfers in the routine course of business which
                     resulted in an exchange of assets or services of
                     substantially equivalent value need not be specifically
                     disclosed.

              Request for Production No. 1: Produce any balance sheets or
              financial statements reflecting your net worth since April 16,
              2018.

              Request for Production No. 2: Produce any account statements for
              2021 for any bank accounts or brokerage accounts you own.

              Request for Production No. 3: Produce any Federal or State
              income tax returns with W-2 statement(s) you have filed in the
              past five years.

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        Furthermore, it is hereby ORDERED that Plaintiffs are permitted to inquire

 about Defendants’ net worth at any future depositions.



        Dated ___________________________, 2021.



                                                   _____________________________________
                                                   Hon. Maya Guerra Gamble




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                                  AFFIDAVIT OF FRED ZIPP

 STATE OF TEXAS §
                §
 TRAVIS COUNTY §


        Before me, the undersigned notary, on this day personally appeared FRED ZIPP, a person
 whose identity has been established to me. Upon being duly sworn, Affiant states:

                                 PERSONAL BACKGROUND

          I have spent 39 years in daily newspaper journalism and journalism education.

         From 1979 to 1984, I was a reporter and assistant city editor at the Beaumont Enterprise in
 Beaumont, Texas. From 1984 to 1987, I was a sports copy editor, assistant sports editor and
 assistant city editor at the Austin American-Statesman in Austin, Texas. From 1987 to 1998, I was
 assistant metro editor, deputy metro editor, news editor and metro editor the Palm Beach Post in
 West Palm Beach, Florida. In 1998, I returned to the American-Statesman as assistant managing
 editor, managing editor, and retired as editor. Over the course of my career, I gained extensive
 experience and expertise in the responsible delivery of news content to a mass media audience.

         In 2012, I began teaching at the University of Texas at Austin. At the University of
 Texas, I supervise a digital media initiative known as Reporting Texas which functions similarly
 to a newsroom; students are the reporters, and I am their editor. I help them conceive, report and
 write stories that are posted on the reportingtexas.com website.

        I have been a director and officer of the Freedom of Information Foundation of Texas and
 the Headliners Foundation of Texas, an organization that promotes journalism excellence in the
 state.

                                      SCOPE OF REVIEW

        In arriving at my opinions in this case, I have used the same principles and analysis as I
 have used throughout my journalism career to determine whether particular assertions could be
 responsibly published. This review included an examination of the disputed statements as well as
 a variety of relevant background materials. I have reviewed numerous background items,
 including:

                   Public domain materials relating to the Sandy Hook shooting.

                   Materials from the final report published by the Connecticut
                    Department of Emergency Services and Public Protection,
                    available at: http://cspsandyhookreport.ct.gov/



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                         Various articles and social media content from InfoWars.

                         Various articles and reference materials concerning InfoWars

                         My own personal reference materials and texts.

                         Video clips containing statements by InfoWars about Sandy
                          Hook, along with transcripts of those video clips created by a
                          court reporter. Those transcripts are attached to my affidavit.

        It is my belief that discovery will likely to produce further relevant evidence, but I am
 confident that enough material exists in the public domain to reach reliable opinions for the
 purposes of these initial findings.

                             BACKGROUND KNOWLEDGE OF INFOWARS

        Having been involved in media in Austin for 23 years, I am aware of Alex Jones and
 InfoWars, although I felt no need to pay close attention to either one before agreeing to review
 the materials in this lawsuit. Nonetheless, I was aware of InfoWars’ extremely poor reputation in
 the media industry with respect to the reliability of the information it publishes, and I also knew
 Mr. Jones had alleged the Sandy Hook Elementary School shooting was a government hoax
 involving actors.

         After I asked to review the events of this lawsuit, I have spent a significant amount of
 time reading articles on InfoWars.com and reviewing audio and video recordings posted to the
 website. While the site purports to be a news and information operation, it is clear that it is
 actually a propaganda outlet for Mr. Jones’ theories about a global conspiracy to control and
 enslave the world’s population.

          Alex Jones and InfoWars generally have a signature style: rapid-fire assertion of various
 data points with little or, more often, no attribution. The assertions are presented to the viewer as
 facts. Underlying the presentation is the premise that Jones is at war with “the globalists” and that
 he wins the war by marshaling his assertions more effectively than they do. In traditional
 journalism, by contrast, attributing assertions to sources is an essential element of the work, and
 the attribution becomes more important in proportion to the seriousness of the facts asserted.

          According to the American Press Institute, “Journalism is the activity of gathering,
 assessing, creating, and presenting news and information. It is also the product of these
 activities...These elements not only separate journalism from other forms of communication, they
 are what make it indispensable to democratic societies.”1 The process of journalism is dependent
 on responsible verification in which information is gathered and its accuracy is evaluated. In



 1
     https://www.americanpressinstitute.org/journalism-essentials/what-is-journalism/

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 coming to my opinions, I have analyzed InfoWars’ conduct against the well-established standards
 of the journalism profession.

                                    INFOWARS’ 2017 BROADCASTS

 1.         InfoWars’ April 22, 2017 broadcast falsely stated that Plaintiff Veronique De La
            Rosa participated in a fake blue-screen interview with Anderson Cooper to cover up
            the truth about Sandy Hook.

        A central element of Mr. Jones’ years of allegations that Sandy Hook was staged fake
 focuses an interview between Sandy Hook parent Veronique De La Rosa and Anderson Cooper.
 Mr. Jones insists this interview was fake, and that it was conducted in front of blue-screen. On
 the April 22, 2017 InfoWar’s broadcast entitled “Sandy Hook Vampires Exposed,” Alex Jones
 made the following statements:

                    So here are these holier than thou people, when we question CNN,
                    who is supposedly at the site of Sandy Hook, and they got in one
                    shot leaves blowing, and the flowers that are around it, and you see
                    the leaves blowing, and they go [gestures]. They glitch. They’re
                    recycling a green-screen behind them...

                    [Shows video footage of interview between Veronique De La Rosa
                    and Anderson Cooper]

                    And then we’ve got Anderson Cooper, famously, not just with the
                    flowers blowing and a fake, but when he turns, his nose disappears
                    repeatedly because the green-screen isn’t set right. And they don’t
                    like to do live feeds because somebody might run up. CNN did that
                    in the Gulf War and admitted it. They just got caught two weeks ago
                    doing it in supposedly Syria. And all we’re saying is, if these are
                    known liars that lied about WMDs, and lied to get us in all these
                    wars, and backed the Arab Spring, and Libya, and Syria, and Egypt,
                    and everywhere else to overthrow governments, and put in radical
                    Islamicists (sic), if they do that and have blood on their hands, and
                    lied about the Iraq War, and were for the sanctions that killed half a
                    million kids, and let the Islamicists (sic) attack Serbia, and lied
                    about Serbia launching the attack, when it all came out later that
                    Serbia didn’t do it, how could you believe any of it if you have a
                    memory? If you’re not Dory from ‘Finding Dory,’ you know, the
                    Disney movie. Thank god you’re so stupid, thank god you have no
                    memory. It all goes back to that.2

        My review suggests this statement is false, both in their explicit text and in their
 implications. The available public evidence suggests that Anderson Cooper interviewed Veronique

 2
     Ex. A26 - 2017-04-22 - Sandy Hook Vampires Exposed (Clip at 29m)

                                                        3
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 De La Rosa in Newtown. An expert review by video analyst Grant Fredericks concluded that
 there is no reasonable basis to believe the interview used a blue-screen and that the compression
 artifact would be understand by anyone with a basic understanding of digital video.3 For this
 reason and other discussed more fully below, is clear to me that any broadcaster would have
 serious doubts about stating a blue-screen was used. In sum, there was no reasonable basis to
 believe that Veronique De La Rosa participated in a faked interview, and any publisher would
 entertain serious doubts about the truth of such a claim.

 2.         InfoWars’ April 22, 2017 broadcast made additional false statements about the
            Sandy Hook shooting and investigation meant to imply that Mrs. De La Rosa’s
            interview is covering up a terrible secret truth.

        In order to justify the implication that the Sandy Hook shooting was a hoax, Mr. Jones has
 repeatedly provided his viewers with false assertions which he claims are evidence of a cover-up.
 In the April 22, 2017 broadcast, Mr. Jones followed this pattern by making several statements of
 fact which are contradicted by the publicly available evidence. These statements have been made
 by Mr. Jones on numerous prior occasions, and they are used as part of his efforts to convince his
 audience that a terrible secret truth about Sandy Hook is being covered up by the Plaintiffs and
 many others.

            A.       In the April 22, 2017 broadcast, InfoWars falsely asserted that “the school
                     was closed until that year, in the videos it’s all rotting and falling apart and
                     nobody is even in it.”

        In the April 22, 2017 broadcast, Mr. Jones asserted that Sandy Hook Elementary School
 had not been open for years, and the incident was staged in a decaying school which had not been
 in operation. Mr. Jones has repeated this argument many times over the years.

         I have reviewed the affidavit Dr. H. Wayne Carver, the chief medical examiner who
 attended to the dead at Sandy Hook. Dr. Carver stated that the school was operational and not
 rotting or falling apart. I have also viewed publicly available photos of the school’s interior taken
 by law enforcement, as well as video taken by law enforcement, both of which were included in
 the official Sandy Hook report. The school appears perfectly normal, bearing all the signs of an
 operational school. The school is not rotting or falling apart, just as Dr. Carver stated.

         In order to believe Mr. Jones’ statements, one must believe that all photos taken inside
 Sandy Hook are actually older photos, since Jones alleged that the school was shut down for
 several years. However, the most well-known and widely publicized photo of Sandy Hook victim
 N.P. was taken inside Sandy Hook Elementary School. N.P. is wearing a t-shirt made to promote
 the movie The Amazing Spiderman, which he is also seen wearing other photos.4



 3
     Affidavit of Grant Fredericks
 4
     Photos provided and used with permission of the Pozner family.

                                                            4
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         Given the production date of the film, the t-shirt worn by N.P. establishes that the photos
 could not have been taken before 2012, indicating that the school was open and in operation
 during that year.




        Similarly, there is a photograph of N.P. taken on the same day in which he is holding a
 copy of a LEGO Star Wars book entitled “Anakin to the Rescue.” The book was published on
 September 1, 2012.




                                                 5
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         Finally, N.P. and his sisters are present in a photo taken inside Sandy Hook Elementary
 School for a Veteran’s Day celebration, which matches footage recorded in the school on the day
 of the shooting.




         Researchers have catalogued at least 180 news articles appearing in the Newtown Bee, the
 Danbury Newstimes, and the Newtown Patch between 2008-2012 which discuss activities at
 Sandy Hook Elementary.5 The Newtown Bee hosts a photo archive which contains pictures from
 stories on Sandy Hook, along with viewable metadata. For example, a photo taken in 2011 shows
 choir practice in Sandy Hook.6




 5
  http://www.crisisactorsguild.com/2016/08/25/sandy-hook-elementary-was-open-part-eleven-180-articles-
 referencing-sandy-hook-school-written-between-2008-2012/
 6
  https://photos.newtownbee.com/Journalism/Photos-from-the-issue-59/i-p8G52Rv

                                                       6
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         There are countless examples of the school’s operation between 2008-2012 in the form of
 social media posts, photographs, and school publications. The evidence I have reviewed shows
 that the school was not shut down in the years leading up to the shooting. Rather, all evidence
 indicates that N.P. was a student attending Sandy Hook Elementary School and that it was
 operational through 2012.

            B.      In the April 22, 2017 broadcast, InfoWars falsely asserted that “the kids are
                    going in circles, in and out of the building with their hands up.”

        In the April 22, 2017 broadcast, Mr. Jones repeated a false statement he has made many
 times about kids walking in circles back into Sandy Hook Elementary School with their hands up.
 In an earlier broadcast on November 18, 2016, Mr. Jones discussed this claim, stating “We
 watched footage of kids going in circles, in and out of the building. You’d be running them away
 from the building.”7 Mr. Jones showed news helicopter footage taken on the afternoon of the
 incident showing a line of people exiting the rear of a building and walking in a line to the
 building’s front entrance.




 7
     Ex. A24 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)

                                                          7
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         Mr. Jones lead his audience to believe this building is Sandy Hook Elementary School.
 The building is actually a Newtown fire station. The fire station was used as a staging location
 near the school. This fact is obvious from the same news helicopter footage.




         As can be seen in the footage, the shooting has long since ended, and there was no danger
 to any of the individuals in the staging area. Moreover, none of these individuals walking in line
 are elementary-aged children. Rather, they are adults with some late adolescent children. None of
 the individuals have their hands up.


                                                 8
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         The footage shows people were calmly walking to the front of the firehouse. The
 reasonable inference is that this group of parents had been ordered by authorities to walk to the
 front of the building, and they could not travel through the building without disrupting official
 operations occurring inside.8 Whatever the reason for these individuals walking in a line to the
 front of the building, it did not involve kids with their hands up, nor did it reasonably suggest any
 cover-up or manipulation. In short, there is no truth to the claim on the April 22, 2017 broadcast
 that “the kids are going in circles, in and out of the building with their hands up.” Furthermore,
 any reasonable publisher would have known the claim was not true.

            C.      In the April 22, 2017 broadcast, InfoWars asserted that “they had Port-A-
                    Potties being delivered an hour after it happened, for the big media event.”

         To reinforce the idea that the event was staged, Mr. Jones claimed that port-a-potties were
 delivered to Sandy Hook Elementary School within an hour. However, the arrival of port-a-
 potties was recorded by an officer’s dashboard camera, which was part of the publicly available
 report. The dashboard camera shows the port-a-potties arrived around 1:30 p.m., nearly four
 hours after the shooting.




 8
     Sandy Hook Official Report - Book 6, Document 40345.

                              9
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             D.       In the April 22, 2017 broadcast, InfoWars asserted that law enforcement was
                      “pulling guns out of cars.”

         During the April 22, 2017 broadcast, InfoWars reporter Rob Dew alleged that authorities
 found multiple guns in Adam Lanza’s car. On prior occasions, Mr. Jones has stated that the
 shooter’s semi-automatic rifle was found inside his car. On January 4, 2013, Mr. Jones stated:
 “They said he had an AR-15...M4 inside, and it was in the car.”9 The implication is that Lanza
 could not have used his semi-automatic rifle to commit the crime because he did not take it into
 the building.

        However, there was only one weapon found in Lanza’s vehicle. That weapon was a
 shotgun, not his semi-automatic rifle. Lanza took his rifle and pistols into the building. Newtown
 Police Officer Leonard Pena found a shotgun in Lanza’s vehicle and secured it in the trunk in the
 early moments of the response.10 A police photo11 shows the Saiga 12 shotgun in the truck of
 Lanza’s car.




 9
      Ex. A2 - 2013-01-04 - Callers React to Foreign Media Pushing Total Gun Confiscation (Clip at 20m25s)
 10
      Sandy Hook Official Report - Book 6 Doc 258036
 11
      Sandy Hook Official Report - Meehan Parking Lot Photo 37

                                                           10
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         There is no evidence that police found any other weapon in Lanza’s vehicle. Likewise,
 there is no evidence that police were “pulling guns out of cars.” The statements in the April
 22, 2017 broadcast were false.

            E.      In the April 22, 2017 broadcast, InfoWars asserted that law enforcement
                    authorities were “finding people in the back woods who are dressed up
                    in SWAT gear.”

         In the April 22, 2017 broadcast, InfoWars reporter Rob Dew claimed that men wearing
 SWAT gear were detained in the woods behind Sandy Hook Elementary School. Mr. Jones
 responded: “And that’s on helicopter footage, and then they say it never existed, and later admit
 it does.”

         The helicopter footage referenced by Mr. Jones depicts police detaining two reporters who
 were walking through the woods carrying cameras. The helicopter footage of this encounter has
 been available online through the Associated Press’ YouTube channel since the day of the
 shooting.12 Multiple police reports also described this encounter and identified the individuals as
 reporters. Newtown Police Officer Jason Flynn discussed the encounter in his post-incident
 interview.13 He described running into the woods and detaining the reporters with fellow officers:




 12
      https://www.youtube.com/watch?v=-uor8MnOTM8
 13
      Sandy Hook Official Report - Book 6, Document 28227

                                                            11
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         Newtown Police Officer Liam Seabrook also discussed the encounter with the
 reporters in his post-incident interview.14




         Two other individuals were known to be detained in the aftermath of the shooting, but
 neither were in the woods wearing SWAT gear. First, a parent of a child attending Sandy Hook,
 Chris Manfredoni, was briefly detained. His detention was described in contemporary press
 accounts.15 His detention was also discussed in a post-incident report.16 This parent was not in the
 woods, and he was certainly not in SWAT gear. Second, an unarmed man was detained for
 getting too close to the school. Police reports indicate he had an app on his phone that alerted him
 to police emergencies.17 There was also a news interview with a witness who saw this man
 detained.18 Finally, there was a report in the Newtown Bee that a man in civilian clothes seen by
 residents in the woods with a gun was an off-duty police officer responding to the emergency.19
 There were no reports of anybody wearing SWAT gear, and there is no report that this off-duty
 officer was detained. In sum, there is no reasonable basis for an assertion that police found men in
 the woods wearing SWAT gear.

         It was not necessary to obtain a subpoena to secure the materials needed to fact-check these
 claims. All these materials exist in the public domain, and they have been discussed by Sandy

 14
   Sandy Hook Official Report - Book 6, Document 29085
 15
   http://articles.latimes.com/2012/dec/14/nation/la-na-1215-newtown-school-shooting-20121215
 16
   Sandy Hook Official Report - Book 5, Document 14498
 17
   Sandy Hook Official Report - Book 6, Document 2060; Book 6, Document 40345
 18
   https://www.youtube.com/watch?v=PqY9Xvr0Ts8 https://www.snopes.com/fact-check/sandy-hook-
                                                 19


 exposed/ ;
 https://www.salon.com/2013/01/18/your_comprehensive_answer_to_every_sandy_hook_conspiracy_theory/ ;
 https://www.huffingtonpost.com/2013/02/11/sandy-hook-hoax-theories-explained-debunking-newtown-
 truther n 2627233.html


                                                      12
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 Hook researchers online. A variety of individuals have debunked these claims over the years while
 providing verifiable information from the public record. Any responsible publisher would have
 known Mr. Jones’ claims were false, or otherwise entertained serious doubts about their accuracy.

                                                   OPINIONS

 1.        InfoWars’ False Statements in 2017 Impugned the Reputation of the Plaintiffs.

       It is my opinion that the statements made in the April 22, 2017 broadcast entitled “Sandy
 Hook Vampires Exposed” were capable of defaming Veronique De La Rosa and Leonard Pozner
 by impugning their reputation with false information about their honesty or integrity.

           A.       Background

        InfoWars’ April 22, 2017 statements were not made in isolation. The 2017 statements
 repeated and elaborated on allegations that InfoWars had been making for over four years. Mr.
 Jones used these false statements as evidence for his contention that the Sandy Hook shooting
 was faked or staged, and that the participants are engaged in a sinister cover-up.

        In a January 27, 2013 broadcast entitled “Why People Think Sandy Hook is a Hoax,” Mr.
 Jones first alleged that Veronique De La Rosa’s interview was evidence of a cover-up:

                     In the last month and a half, I have not come out and said that this
                     was clearly a staged event. Unfortunately, evidence is beginning to
                     come out that points more and more in that direction...Something
                     serious is going on here, and CNN over and over again is at the
                     heart of the fishy things that are happening...

                     We've got Anderson Cooper supposedly at Sandy Hook, and it's
                     clearly blue screen. I've worked with blue screen for 17 years. We've
                     got it right in there. We know what it looks like. We know what the
                     anomalies look like, and we know what happens when you don't tune
                     it properly. It's clearly blue screen, and you can draw from that what
                     you want...20

                     Now, ladies and gentlemen, the finale. I saw this footage where
                     Anderson Cooper turns. He's supposedly there at Sandy Hook in
                     front of the memorial, and his whole forehead and nose blurs out.
                     I've been working with blue screen, again, for 17 years. I know
                     what it looks like. It's clearly blue screen, clearly.21

        In an April 16, 2013 broadcast entitled “Shadow Govt Strikes Again,” Mr. Jones was
 discussing was various plots behind various national tragedies. During his remarks, he stated:

 20
      Ex. A3 - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 1m12s)
 21
      Ex. A4 - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 12m58)

                                                        13
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 “They staged Sandy Hook. The evidence is just overwhelming, and that’s why I’m so desperate
 and freaked out.”22

        In a March 14, 2014 broadcast entitled “Sandy Hook, False Narratives Vs. The Reality,”
 Mr. Jones again repeated his false claim about Mrs. De La Rosa’s interview with Anderson
 Cooper, along with several other irresponsible claims. Mr. Jones then asserted that the event was
 pre-planned and featured actors as a part of a cover-up:

                 Folks, we’ve got video of Anderson Cooper with clear blue-screen
                 out there. [Shaking head]. He’s not there in the town square. We
                 got people clearly coming up and laughing and then doing the fake
                 crying. We’ve clearly got people where it’s actors playing different
                 parts for different people, the building bulldozed, covering up
                 everything. Adam Lanza trying to get guns five times we’re told.
                 The witnesses not saying it was him...I’ve looked at it and
                 undoubtedly, there’s a cover-up, there’s actors, they’re
                 manipulating, they’ve been caught lying, and they were pre-
                 planning before it and rolled out with it.23

         In a May 13, 2014 broadcast entitled “Bombshell Sandy Hook Massacre Was A DHS
 Illusion Says School Safety Expert,” Mr. Jones again repeated his false statements,

                 They don't even hide this stuff, ladies and gentlemen. Anderson
                 Cooper, CIA, up there, who cares if it's blue screen. Just like CNN - -
                 I'm going back to our guest -- Just like CNN back there in the first
                 Gulf War was at the broadcast center in Atlanta on top of a roof with
                 a blue screen behind them saying they were in Riyadh, Saudi Arabia,
                 and Israel different days being hit by nerve gas. And then they went
                 on air for parts of it with the blue screen not even turned on with blue
                 behind them...

                 You're looking at how they don't any of the standard stuff, the
                 paperwork, the police reports, no helicopter sent, no rescue, kids
                 going in circles totally staged, men with guns in the woods getting
                 grabbed, no names released. They deny it went on. Later have to
                 admit it went on but say we're not answering questions. I mean,
                 clearly it's a drill, just like the Boston bombing. I don't know
                 exactly what's going on, but it just -- the official story isn't true.24

         In a September 25, 2014 broadcast entitled “Connecticut PD Has FBI Falsify Crime
 Statistics,” Mr. Jones stated


  Ex. A5 - 2013-04-16 - Shadow Govt Strikes Again (Clip at 13m20s)
 22


  Ex. A6 - 2014-03-14 - Sandy Hook, False Narratives Vs. The Reality (Clip at 26s)
 23


  Ex. A7 - 2014-05-13 - Bombshell Sandy Hook Massacre Was A DHS Illusion Says School Safety Expert (Clip at
 24


 17m)

                                                    14
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                     This is not a game. They are hopping mad we're covering this. CNN
                     admits they did fake scud attacks on themselves back in 1991, 1990.
                     Would they stage this? I don't know. Do penguins live in Antarctica?
                     Wolfgang W. Halbig's our guest, former state police officer, then
                     worked for the customs department, and then over the last decade's
                     created one of the biggest, most successful school safety training
                     grips. And he just has gone and investigated, and it's just phony as a
                     three-dollar bill...25

                     If you've got a school of 100 kids and then nobody can find them,
                     and you've got parents laughing going “Ha, Ha, Ha,” and then they
                     walk over to the camera and go (crying), and I mean, not just one,
                     but a bunch of parents doing this and then photos of kids that are
                     still alive they said die. I mean, they think we're so dumb that it's
                     really hidden in plain view, and so the preponderance -- I mean, I
                     thought they had some scripting early on to exacerbate and milk
                     the crisis as Rahm Emmanuel said, but when you really look at it,
                     where are the lawsuits? There would be incredible lawsuits and
                     payouts, but there haven't been any filed, nothing. I've never seen
                     this. This is incredible.26

       In a December 27, 2014 broadcast entitled “Lawsuit Could Reveal Truth About Sandy
 Hook Massacre,” Mr. Jones stated:

                     All I know is I saw Cooper with blue screen out there, green screen.
                     I know I saw the kids doing fake, you know, rotations in and out of
                     the building. They tore it down, all the unprecedented gag orders,
                     you know, the police in anti-terror outfits in the woods. Then they
                     denied that, that had been in the news. I mean, something is being
                     hidden there... 27

                     I said they may have killed real kids, but they're practicing how to
                     propagandize, and how to control the press, and how to put out a
                     product that's a fraud when I just saw the heavy, heavy, heavy
                     scripting. That was what was so clear. And then the parents
                     laughing and then one second later doing the actor breathing to
                     cry. I mean, it just -- it's just over the top. Over the top sick. 28

        In a December 29, 2014 broadcast entitled “America the False Democracy,” Mr. Jones
 continued to insist that Sandy Hook was fake:



 25
      Ex. A8 - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
 26
      Ex. A8 - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
 27
      Ex. A9 - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 3m08s)
 28
      Ex. A10 - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 4m34s)

                                                         15
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                      I've had investigators on. I've had the state police have gone
                      public, you name it. The whole thing is a giant hoax. And the
                      problem is how do you deal with a total hoax? I mean it's just --
                      how do you even convince the public something is a total hoax?

                      The general public doesn't know the school was actually closed the
                      year before. They don't know. They've shielded it all, demolished
                      the building. They don't know that they had their kids going in
                      circles in and out of the building as a photo op. Blue screen, green
                      screens, they got caught using. I mean the whole thing.

                      But remember, this is the same White House that's been caught
                      running the fake Bin Laden raid that's come out and been faked. It's
                      the same White House that got caught running all these other fake
                      events over and over again, and it's the same White House that says
                      I never said that you could keep your doctor when he did say you
                      could keep doctor. People just instinctively know that there's a lot
                      of fraud going on, but it took me about a year with Sandy Hook to
                      come to grips with the fact that the whole thing was fake. I mean,
                      even I couldn't believe it. I knew they jumped on it, used the crisis,
                      hyped it up, but then I did deep research; and my gosh, it just
                      pretty much didn't happen. 29

         In a January 13, 2015 broadcast entitled “Why We Accept Gov't Lies,” Mr. Jones
 continued his allegations about Sandy Hook, including his allegation about Mrs. De La Rosa’s
 interview, as well allegations about her son. He asserted that the event was “completely fake” and
 “manufactured”:

                      You learn the school had been closed and re-opened. And you’ve
                      got video of the kids going in circles, in and out of the building,
                      and they don’t call the rescue choppers for two hours, and then
                      they tear the building down, and seal it. And they get caught using
                      blue-screens, and an email by Bloomberg comes out in a lawsuit,
                      where he’s telling his people get ready in the next 24 hours to
                      capitalize on a shooting.

                      Yeah, so Sandy Hook is a synthetic, completely fake with actors,
                      in my view, manufactured. I couldn’t believe it at first. I knew they
                      had actors there, clearly, but I thought they killed some real kids.
                      And it just shows how bold they are that they clearly used actors. I
                      mean they even ended up using photos of kids killed in mass
                      shootings here in a fake mass shooting in Turkey, or Pakistan. The
                      sky is now the limit.30


 29
      Ex. A11 - 2014-12-29 - America the False Democracy (Clip at 11m53s)
 30
      Ex. A12 - 2015-01-13 - Why We Accept Gov't Lies (Clip at 10m36s)

                                                          16
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         In a February 12, 2015 broadcast with an unknown title, Mr. Jones continued to repeat his
 false claims. Mr. Jones stated, “I know they're using blue screens...There are literally hundreds of
 smoking guns here that this thing doesn't add up.”31

       In a March 4, 2015 broadcast entitled “New Bombshell Sandy Hook Information In-
 Bound,” Mr. Jones stated, “We know it stinks. I mean, it's phony. The question is what is going
 on. We don't know. We just know it's fake. How fake we don't know. It's sick.”32

        In a July 7, 2015 broadcast entitled “Government Is Manufacturing Crises,” Mr. Jones
 again asserted that Sandy Hook was staged:

                     If they did kill kids, they knew it was coming, stocked the school
                     with kids, killed them, and then had the media there, and that
                     probably didn't even happen. I mean, no wonder we get so many
                     death threats and so much heat and so much other stuff I'm not
                     going to get into, behinds the scenes, when we touch Sandy Hook
                     because, folks, it's as phony as a three-dollar bill.33

       In a July 7, 2015 broadcast entitled “Retired FBI Agent Investigates Sandy Hook Mega
 Massive Cover Up,” Mr. Jones repeated a large selection of his prior false claims about Sandy
 Hook:

                     No emergency helicopters were sent. The ambulances came an hour
                     and a half later and parked down the road. DHS an hour and a half
                     later with the time stamp put up signs saying sign in here. They had
                     porta-potties being delivered within an hour and a half. It looked
                     like a carnival. It looked like a big PR stunt.

                     Came out that Bloomberg a day before sent an email out to his gun
                     control groups in all 50 states saying, "Prepare to roll, maybe
                     operation coming up." That came out in the news.

                     We have the emails from city council back and forth and the school
                     talking about it being down a year before. We have the school then
                     being demolished, and the records being sealed. We have videos
                     that look just incredibly suspicious where people are laughing and
                     everything, and then they start huffing and puffing and start crying
                     on TV, which is pure acting method...

                     But I mean, this is just so big. And the more we look at Sandy Hook,
                     I don't want to believe it's a false flag. I don't know if kids really got
                     killed. But you got green screen with Anderson Cooper where I was
                     watching the video and the flowers and plants are blowing in some

 31
      Ex. A13 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 0m26s)
 32
      Ex. A20 - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 32m30s)
 33
      Ex. A21 - 2015-07-07 - Government Is Manufacturing Crises (Clip at 32m)

                                                           17
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                     of them, and then they blow again the same way. It's looped, and
                     then his nose disappears. I mean, it's fake.

                     The whole thing is just -- I don't know what happened. It's kind of
                     like if you see a hologram at Disney World in the Haunted House,
                     you know. I don't know how they do it, but it's not real. When you
                     take your kids to see, you know, the Haunted House and ghosts are
                     flying around, they're not real, folks. It's staged.34

         Mr. Jones also stated, “It’s 101, they’re covering up...This is mega-massive cover-up. My
  God.” Mr. Jones stated that the tragedy was “totally made up with green screens, everything.
  And we've got them on green screens.” Mr. Jones stated, “That's how evil these people are is that
  they can have CNN involved, all these people.”35

         In a November 18, 2016 broadcast entitled “Alex Jones Final Statement on Sandy Hook,”
  Mr. Jones directly addressed the growing public controversy caused by his statements. In doing
  so, he began by repeating the numerous false claims he has made over the years.

                     Number one, the day before this tragic event happened an email
                     was sent out by Bloomberg's anti-gun group saying prepare for a
                     big event. But the biggest piece of evidence, the smoking gun, if
                     you would, of a cover-up, of whatever really happened is the
                     Wayback Machine, the internet archive. We see Sandy Hook's
                     Newtown website K through 12 having zero traffic 2008, '09, '10,
                     '11, '12, and then all of a sudden it just explodes. It's impossible to
                     have zero traffic to a K through 12 entire school system. And the
                     word is that school system was shut down for those years. That's
                     what the records show. They tell us it was open...

                     And early on, that day we watched footage of kids going in circles
                     in and out of the building. You'd be running them away from the
                     building. Emergency helicopters weren't called. Instead port-
                     potties were prepared for the press within hours of the event. I saw
                     the helicopters that did respond, the police helicopters saying that
                     there were men or a man in the woods in camouflage...

                     And then I saw Anderson Cooper -- I've been in TV for 20-
                     something years; I know a blue screen or a green screen -- turn, and
                     his nose disappears. Then I saw clearly that they were using footage
                     on the green screen looped because it would show flowers and other
                     things during other broadcasts that were moving and then basically
                     cutting to the same piece of footage...



 34
      Ex. A22 - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip 0-5m)
 35
      Ex. A23 - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip at 9m40s)

                                                          18
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                     Then we see footage of one of the reported fathers of the victims,
                     Robby Parker, doing classic acting training where he's laughing and
                     joking. And they say, hey, we're live, and he goes, oh. And maybe
                     that's real. I'm sure it is.

                     But you add it to all the other things that were happening and all the
                     other fake news the media has been caught in, and CNN back in
                     1991 openly faking scud missile attacks on Saudi Arabia and Israel
                     when they were back in Atlanta; and the satellite feeds caught them
                     admitting that it was all fake. We'd be crazy not to question this
                     because bare minimum they were faking some of the shots and
                     some of the coverage.

                     So to be clear, we point out clear chroma key, also known as blue
                     screen or green screen being used, and we're demonized. We point
                     out they're clearly doing fake interviews.36

        In other words, Mr. Jones used Mrs. De La Rosa’s “fake” interview as proof that the truth
 about Sandy Hook was being artificially manipulated. In a chilling finale, Mr. Jones told his
 audience that the parents were actors:

                     And why should anybody fear an investigation if they have nothing
                     to hide. In fact, isn't that in Shakespeare's Hamlet, “me thinks you
                     protest too much."

                     But this particular case they are so scared of an investigation. So
                     everything they do basically ends up blowing up in their face. So
                     you guys are going to get what you want now. I'm going to start
                     reinvestigating Sandy Hook and everything else that happened with
                     it...

                     And so if children were lost in Sandy Hook, my heart goes out to
                     each and every one of those parents and the people that say they're
                     parents that I see on the news. The only problem is I've watched a
                     lot of soap operas, and I've seen actors before. And I know when
                     I'm watching a movie and when I'm watching something real.37

          On April 22, 2017, InfoWars aired the “Sandy Hook Vampires Exposed” broadcast. During
 that broadcast, InfoWars once again made the false accusation that Ms. De La Rosa conducted a fake
 interview with Anderson Cooper as evidence of a conspiracy to cover up the truth about Sandy Hook.
 This broadcast was not an isolated statement, and it was clearly meant to reinforce years of claims
 about Sandy Hook. InfoWars should have known these claims were not true.



 36
      Ex. A24 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)
 37
      Ex. A25 - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 15m22s)

                                                          19
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          The statements made in the April 22, 2017 broadcast were further reinforced by comments
 Mr. Jones and InfoWars made later in 2017. On June 13, 2017, Mr. Jones stated in a Facebook video
 that “there's been a cover-up, and Anderson Cooper got caught faking where his location was with
 blue screen.”38 On June 19, 2017, Mr. Jones appeared for an interview with Megyn Kelly. During
 this interview, Mr. Jones continued to insist there had been a cover-up. While he waffled on whether
 he now believed children were killed, he did not abandon his accusations about a cover-up. Mr.
 Jones claimed it was suspicious that the children’s autopsy records were not released to the public,
 and he again claimed to see video of kids going in circles in and out of Sandy Hook elementary. Mr.
 Jones stated, “I do think there's some cover-up and some manipulation.”39

        In an October 26, 2017 broadcast entitled “JFK Assassination Documents To DROP
 Tonight,” Mr. Jones again returned to the subject of Sandy Hook. In this broadcast, he repeated
 his accusation that “it's as phony as a three-dollar bill with CNN doing fake newscasts, with blue
 screens.”40

            B.      The reasonable meaning of InfoWars’ 2017 broadcasts

         Before publishing, journalists must evaluate how their story will be received by the public.
 The editorial process includes an analysis of how ordinary readers of average intelligence will
 understand and interpret the story. During my years in newspaper journalism, I gained extensive
 expertise in assessing the reasonable meanings of a text. As editor, I routinely applied this
 expertise in order to avoid creating a misimpression among our readership. In this case, I likewise
 analyzed the publication to determine what meaning could be reasonably understood by a person
 of average intelligence.

         It is my opinion that a person of ordinary intelligence could reasonably understand
 InfoWars’ 2017 statements to accuse Ms. De La Rosa in colluding in an act of technical trickery
 to simulate her presence in Newtown when she was not actually there. A person of ordinary
 intelligence could reasonably understand that Mr. Jones was claiming this trickery was consistent
 with a series of deceptions perpetrated by CNN to facilitate violence and abuses of power.
 Unquestionably, the gist of the broadcast is that Ms. De La Rosa’s fake interview is evidence of
 an evil conspiracy underlying Sandy Hook. Given the circumstances, it is my opinion that a
 person of ordinary intelligence could reasonably draw the implication that InfoWars was alleging
 Mrs. De La Rosa’s interview is evidence that Sandy Hook was staged and that the alleged parents
 are participating in a cover-up. A person of ordinary intelligence could also reasonably draw the
 implication that InfoWars was alleging that Ms. De La Rosa is not a parent, but rather an actor
 participating in CNN’s insidious scheme.

        While the statements do not feature him specifically, a person of ordinary intelligence
 acquainted with Leonard Pozner, who was Ms. De La Rosa’s husband, could reasonably have
 understood that the allegations also implicated him. Given the nature of the allegations about Ms.
 De La Rosa’s conduct, and given the allegations that Sandy Hook was a staged event, a person of


 38
      Ex. A28 - 2017-06-13 - What Alex Jones Really Believes About Sandy Hook (Clip at 14m)
 39
      Ex. A29 - 2017-06-19 - Megyn Kelly Profile (Clip at 7m55s)
 40
      Ex. A30 - 2017-10-26 - JFK Assassination Documents To DROP Tonight (Clip at 1h13m30s)

                                                        20
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 ordinary intelligence could reasonably draw the implication that Leonard Pozner must also have
 been participating in a cover-up of the event.

         Not only is it my opinion that these statements could be understood in this manner, but
 there is ample evidence that Mr. Jones’ statements were indeed understood in this manner by the
 public at large. The nature of Mr. Jones’ statements about Sandy Hook have been widely reported
 in the media. The national outrage created by the unmistakable meaning of Mr. Jones’ statements
 about Sandy Hook is well documented. In an April 19, 2018 editorial entitled “Thank You for
 Suing Alex Jones,” the Hartford Courant editorial board wrote:

                 Alex Jones and his website Infowars offer the worst kind of free
                 speech — incendiary malice, based in falsehood, with no social
                 value...They claim the Sandy Hook parents are actors. They claim
                 the children never existed. They weave wild conspiracies from thin
                 air. They have no regard for human suffering.41

        The New York Daily News Editorial Board wrote about Jones’ statements in an editorial
 on April 17, 2018 entitled “Defamed by the devil: Sandy Hook parents take on Alex Jones’ lies.”
 The Board wrote:

                 All decent people should cheer on Leonard Pozner, Veronique De
                 La Rosa and Neil Heslin...for filing a defamation lawsuit in Texas
                 court against Alex Jones. As a radio show host and the grand
                 poobah of Infowars.com, Jones has peddled wretched whole-cloth
                 lies about the 2012 Newtown massacre: that it was all a hoax, that
                 the victims and their mourning mothers and fathers are actors.42

        In short, nobody who has been paying attention to Mr. Jones has any ambiguity about the
 meaning of his claims. His statements about Mrs. De La Rosa’s interview form a central part of
 his years-long campaign to convince his viewers that the events of Sandy Hook should not be
 believed. Given the persistence of the Sandy Hook hoax conspiracy online, it is clear that many of
 Mr. Jones’ followers have accepted his allegations as true. A 2016 poll conducted by Fairleigh
 Dickinson University found that 24% of Americans believe Sandy Hook was either “definitely”
 or “possibly” faked.43

         Additionally, it is clear from my review that Mr. Jones’ statements would be reasonably
 understood as assertions of fact, not opinions. Mr. Jones did not equivocate in his statements about
 a blue-screen or his other false statements about Sandy Hook. Mr. Jones has frequently claimed
 special expertise and assured his audience that the interview “clearly” used a blue screen. In the
 April 22, 2017 broadcast, Mr. Jones confidently stated that “the green-screen isn’t set right.”44


 41
   http://www.courant.com/g00/opinion/editorials/hc-ed-alex-jones-sandy-hook-hoax-lawsuit-20180417-
 story.html?i10c.encReferrer=&i10c.ua=1&i10c.dv=14
 42
   http://www.nydailynews.com/opinion/defamed-devil-sandy-hook-parents-alex-jones-lies-article-1.3939094
 43
   https://view2.fdu.edu/publicmind/2016/161011/
 44
   Ex. A26 - 2017-04-22 - Sandy Hook Vampires Exposed (Clip at 29m)

                                                       21
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         It is my opinion that that InfoWars’ 2017 statements would tend to injure a person’s
 reputation and impeach their honesty and integrity. It is also clear these statements could expose a
 person to contempt or ridicule.

 2.         InfoWars’ accusations about Sandy Hook and Ms. De La Rosa’s interview were
            made with reckless disregard for truth.

        I have reviewed materials which lead me to believe that InfoWars demonstrated a reckless
 disregard for truth. It is my opinion that InfoWars had serious doubts about the truth of their 2017
 broadcasts and were motivated by a desire to mislead.

            A.       InfoWars’s accusations were inherently improbable.

        Mr. Jones’ assertion about the blue-screen was farfetched to the say the least. It required
 an extraordinary level of verification before being repeatedly stated as fact. Yet it is clear that
 InfoWars performed no verification because any genuine inquiry would have shown the
 accusation was bogus. As demonstrated by video analyst Grant Fredericks, any minimal
 competent video professional would have understood that the blue-screen was not used.

        Another problem with InfoWars’ allegation is that it makes no sense to use a blue screen
 to simulate an interview in a location that is a short drive from Anderson Cooper’s office in New
 York City. In addition, there is copious third-party evidence that Mr. Cooper was in Newtown.
 For example, on December 15, 2012, an Anderson Cooper fan blog, “All Things Anderson,”
 posted photographs of Mr. Cooper in Newtown.45




          Mr. Jones’ accusation proves the adage that serious claims require serious evidence. Yet it
 does not appear that Mr. Jones had any evidence to make his assertions, relying instead on his own
 self-professed expertise in video technology. As such, Mr. Jones ignored basic precautions taken

 45
      http://www.allthingsandersoncooper.com/2012/12/anderson-cooper-live-in-newtown-ct.html

                                                          22
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 by journalists. Rather than meaningfully investigate his claim or produce corroborating evidence,
 Mr. Jones made these statements with reckless disregard for whether they were true or not.

         B.       InfoWars has a long history of making false statements about Sandy Hook.

         InfoWars has made wild claims about the Sandy Hook massacre from the beginning. Mr.
 Jones suggested the event was a “false flag” on the day on the shooting46, and InfoWars explicitly
 made that claim over the next five years. The accusation that Ms. De La Rosa’s interview was
 conducted in front of a blue-screen became a central element of InfoWars’ claim that the official
 story of Sandy Hook was a lie. In a 2013 broadcast entitled “Why People Think Sandy Hook is
 Hoax,” Mr. Jones called Ms. De La Rosa’s interview footage “the finale” in his parade of evidence
 that the event was staged. He continued to repeat this falsehood on numerous broadcasts over the
 new five years, along with other false assertions about Sandy Hook.

        As part of my evaluation in this case, I reviewed video clips from over twenty InfoWars’
 broadcasts between 2013-2016, all of which discuss the alleged conspiracy behind Sandy Hook.
 In the videos I reviewed, InfoWars made a variety of factual allegations which are readily
 disproved by basic journalistic efforts. The various claims made by Jones have been debunked
 from numerous groups and individuals using a wide variety of sources in the public record.

         InfoWars had ample opportunity to investigate the accuracy of its assertions. It has devoted
 an enormous amount of airtime to the tragedy, with broadcasts making extreme assertions years
 after the event. Given the enormous public attention and outcry over Jones’ allegations, I find it
 unlikely that InfoWars researchers could have avoided the widespread debunking efforts unless
 they were doing so intentionally. It is my opinion that any reasonable journalist who continued to
 publish these claims in 2017 would entertain serious doubts about the truth of their statements, and
 that they would be acting with a desire to mislead their audience.

         C.       InfoWars has a long history of recklessly claiming that national tragedies
                  were staged by the government.

         Mr. Jones’ rise to notoriety coincided with his assertions that the 9/11 terror attacks were
 orchestrated by the U.S. government. His current promotional materials boast that “Alex Jones is
 considered by many to be the grandfather of what has come to be known as the 9/11 Truth
 Movement.”47 Regarding the shooting at Columbine High School, Jones told his audience,
 “Columbine, we know was a false flag. I’d say 100% false flag.”48 Jones claimed that Columbine
 “had globalist operations written all over it.”49 Regarding the Oklahoma City bombing, Jones said



 46
   Ex. A1 - 2012-12-14 - Connecticut School Massacre Looks Like False Flag Says Witnesses (Clip at 9m30)
 47
   Free Speech Systems, LLC Media Kit, p. 1.
 48
   The Alex Jones Show, July 20, 2012, video available at:
 https://www.mediamatters.org/embed/clips/2016/11/23/51244/gcn-alexjones-20120720-columbinefalseflag
 49
   The Alex Jones Show, July 20, 2012, video available at:
 https://www.mediamatters.org/embed/clips/2016/11/23/51241/gcn-alexjones-20120720-columbine

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 the bombing was a “false flag” and that “we’ve never had one so open and shut.” He added that
 convicted bomber Timothy McVeigh “was a patsy, that was a staged event.”50

       Mere hours after James Holmes killed twelve people in a movie theater in Aurora, CO,
 Jones told his audience that there was a “100 percent chance” the shooting was a “false flag,
 mind control event.”51

       After the shooting of Rep. Gabrielle Giffords, Jones stated: “The whole thing stinks to high
 heaven.”52 Mr. Jones asserted that the Giffords shooting was “a staged mind-control operation.”

       An April 18, 2013 headline on the InfoWars website read “Proof Boston Marathon
 Bombing Is False Flag Cover-Up.”53 A week later, Mr. Jones stated on his broadcast, “I have never
 seen a false flag, provocateured, staged event by a government come apart faster than it is right
 now.”54 Jones said that “patsies were set up” after being recruited by “globalist intelligence
 agencies.”55 Jones claimed that Dzhokhar Tsarnaev, who was convicted of the Boston Marathon
 bombing, “was totally set up, ladies and gentlemen, to sell the police state,” and that his brother
 worked for the CIA. 56

        Mr. Jones made similar accusations about the Douglas High School shooting in Parkland,
 Florida, claiming a 90% probability that it was a false flag:




 50
   The Alex Jones Show, April 19, 2015, video available at:
 https://www.mediamatters.org/embed/clips/2016/11/21/51199/youtube-jones-20150419-okc
 51
   The Alex Jones Show, July 20, 2012, video available at:
 https://www.mediamatters.org/embed/clips/2016/11/23/51243/gcn-alexjones-20120720-100
 52
   Interview with Rolling Stone, March 2, 2011, available at:
 http://www.rollingstone.com/politics/news/talk-radios-alex-jones-the-most-paranoid-man-in-america-20110302
 53
   http://www.infowars.com/proof-boston-marathon-bombing-is-staged-terror-attack/
 54
   The Alex Jones Show, April 26, 2013, available at:
 https://www.mediamatters.org/embed/clips/2016/11/29/51269/youtube-alexjones-20130426-staged
 55
   The Alex Jones Show, April 26, 2013, available at:
 https://www.mediamatters.org/embed/clips/2016/11/29/51271/youtube-alexjones-20130426-boston
 56
   The Alex Jones Show, April 8, 2015. Available at:
 http://mediamatters.org/video/2015/04/08/rand-pauls-ally-alex-jones-boston-marathon-bomb/203215


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         In short, a major element of Mr. Jones’ brand is built on his allegations that major national
 tragedies are actually the result of orchestrated government actions. Given this background, I find
 that Mr. Jones’ pattern of predictably asserting that events are “false flags,” sometimes within
 hours of the event, is circumstantial evidence that Mr. Jones recklessly disregarded whether his
 broadcast was true in this case.

            D.       There is evidence of personal animus to the Pozner family.

        According to his affidavit, Plaintiff Leonard Pozner has spent significant effort online
 attempting to stop the spread of Mr. Jones’ hoax fantasies. Mr. Pozner started a non-profit known
 as the HONR Network that seeks to have false statements about victims of mass shooting events
 removed from the internet.

        In 2015, HONR lodged a complaint with YouTube over an InfoWars video that featured
 photographs of Mr. Pozner’s son. When these complaints caused the video to be deleted, a visibly
 angry Jones discussed the issue on his February 12, 2015 broadcast. Mr. Jones stated, “We're
 going to be countering this, and we're going to be dealing with this.”57 Mr. Jones then stated, “We
 need to stop cowing down to these people, and let them know we're not putting up with their
 bullying anymore.”58

         Mr. Jones later took a live phone call from a fellow Sandy Hook denier who was also upset
 with Mr. Pozner. The caller stated, “Lenny, if you're listening, your day is coming, my friend. It is
 coming.” Mr. Jones responded, “This sounds like a war is going on. I think they made a major
 mistake involving us.” The caller then stated, “Oh, I totally agree. They don't know what they bit
 off. Go after them, Alex. Crush them.” Mr. Jones responded, “I'm not somebody to mess with.”59



 57
      Ex. A14 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 23m34s)
 58
      Ex. A15 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 31m14s)
 59
      Ex. A16 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 34m10s)

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 60 Ex. A17 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 38m59s)
 61 Ex. A18 - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 42m23s)
 62 Ex. A19 - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 16m53s)



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                                      Exhibit A1
 2012-12-14 - Connecticut School Massacre Looks Like False Flag Says Witnesses (Clip at 9m30)
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                                 Discovery Resource
                                   713-223-3300



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     4      CONNECTICUT MASSACRE SHOOTING

     5

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     8    TRANSCRIPT OF INFOWARS BROADCAST

     9 LOOKS LIKE FALSE FLAG SAYS WITNESSES

    10              DECEMBER 14, 2012

    11               CLIP AT 9M 30S

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                                 Discovery Resource
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                                      Discovery Resource
                                        713-223-3300
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     1                MR. JONES:     ... with all sorts of information on
     2   this subject.        But get ahold of your cousin when she settles
     3   down and get her to talk to us for any other information.                   We
     4   need to know: were there any drills that day or the day
     5   before?     Does she have anything about other shooters, or was
     6   it that she never saw the shooters?
     7                UNIDENTIFIED CALLER:         Well, I had asked them if it
     8   was supposedly too -- because they have a lot of security at
     9   that school.     You have to ring a doorbell in order to get
    10   into the school.
    11               MR. JONES:      Yeah, of course.          Which is another side
    12   of that.     Yeah.     It's one of these federal model schools.
    13                UNIDENTIFIED CALLER:         The thing that just scared
    14   the daylights out of me -- I had to call right away -- is I
    15   asked them, "Did they ever train for this?"                And my uncle
    16   said, "Yes."     Within this school year, since September, they
    17   have trained for incidents like this.
    18                MR. JONES:     Well, that in and of itself isn't proof
    19   of it, but they could use a drill to then bring in a patsy.
    20   It could just be a Prozac head.            We'll find out.      God bless
    21   you, sir.     I appreciate your call.             Stay in contact.
    22                We're going to go to Rob who says email --
    23                (END OF AUDIO FILE)
    24

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                                 Discovery Resource
                                   713-223-3300
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     1                  CERTIFICATE OF TRANSCRIPTIONIST
     2   I certify that the foregoing is a true and accurate
     3   transcript of the digital recording provided to me in this
     4   matter.
     5        I do further certify that I am neither a relative, nor
     6   employee, nor attorney of any of the parties to this
     7   action, and that I am not financially interested in the
     8   action.
     9

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    11                                  ____________________________
    12                                      Julie Thompson, CET-1036
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                                        Exhibit A2
  2013-01-04 - Callers React to Foreign Media Pushing Total Gun Confiscation. January 04, 2013.
                                         Clip at 20m 25s
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                                 Discovery Resource
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     4                  CONNECTICUT MASSACRE SHOOTING

     5

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     8                TRANSCRIPT OF INFOWARS BROADCAST

     9 CALLERS REACT TO FOREIGN MEDIA PUSHING TOTAL GUN CONFISCATION

    10                         JANUARY 04, 2013

    11                          CLIP AT 20M 25S

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                                   Discovery Resource
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     1               MR. JONES:   ...but right on time Sandy Hook
     2   happened.    And I saw some more of the foreign media going
     3   conspiracy theorists say that, you know, there were multiple
     4   shooters.    Well, the media always reports multiple shooters
     5   because little kids were seeing, you know, people and making
     6   the reports.
     7               No.   We've aired the newscast.    It was helicopters
     8   and footage and surveillance cameras of multiple guys in camo
     9   arrested out in the woods.       It wasn't little kids filing
    10   these reports.     There's video of it, and they said he had an
    11   AR-15 M4 inside.     It was in the car.
    12               (END OF AUDIO FILE)
    13

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                                   Discovery Resource
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                                     of 1271
                                 Discovery Resource
                                   713-223-3300
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     1                  CERTIFICATE OF TRANSCRIPTIONIST
     2   I certify that the foregoing is a true and accurate
     3   transcript of the digital recording provided to me in this
     4   matter.
     5        I do further certify that I am neither a relative, nor
     6   employee, nor attorney of any of the parties to this
     7   action, and that I am not financially interested in the
     8   action.
     9

    10

    11                                   ____________________________
    12                                      Julie Thompson, CET-1036
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                                     Exhibit A3
            2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 1m12s)
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     4      CONNECTICUT MASSACRE SHOOTING

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     8    TRANSCRIPT OF INFOWARS BROADCAST

     9 WHY PEOPLE THINK SANDY HOOK IS A HOAX

    10              JANUARY 27, 2013

    11               CLIP AT 1M 12S

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     1                MR. JONES:   Now again, in the last month and a half
     2   I have not come out and said that this was clearly a staged
     3   event.    Unfortunately, evidence is beginning to come out that
     4   points more and more in that direction, and we're going to
     5   show you that information in a moment.
     6                Now, a lot of the tens of millions of video views
     7   on YouTube concerning the Sandy Hook hoax surrounds CNN and
     8   what appears to be people who have been coached, people who
     9   have been given cue cards, people who are behaving like
    10   actors.    And we see CNN criticizing all the witnesses from
    11   the helicopter, and the news crews, and witnesses, adults,
    12   that saw multiple people being detained who were in camo.
    13   We're told, oh, those are five-year-olds saying that.        It's a
    14   conspiracy theory, when it's not five-year-olds saying that.
    15   It's adults.     It's police admitting that "police officers"
    16   were arrested from other jurisdictions creeping around in the
    17   woods.
    18                Something serious is going on here, and CNN over
    19   and over again is at the heart of the fishy things that are
    20   happening.
    21                Now, remember, in 1990-1991 when the Gulf War
    22   started, CNN would send out their raw feeds to their news
    23   affiliates, and on it there was clear blue screens on top of
    24   the roof of CNN Center in Atlanta with their top reporters
    25   claiming they were in Israel under sarin nerve gas attack




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     1   from scuds.   And later they had to admit, quietly -- this is
     2   on record; we're going to show you some clips -- that indeed
     3   they were in Atlanta, Georgia, and that they were not being
     4   attacked by scud missiles with sarin gas.
     5             CBS News got caught scripting videos as well, and
     6   there's a lot of examples of this.
     7             (END OF AUDIO FILE)
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    12                                      Julie Thompson, CET-1036
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                                     Exhibit A4
            2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 12m58)
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     4      CONNECTICUT MASSACRE SHOOTING

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     8    TRANSCRIPT OF INFOWARS BROADCAST

     9 WHY PEOPLE THINK SANDY HOOK IS A HOAX

    10              JANUARY 27, 2013

    11               CLIP AT 12M 58S

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     1                MR. JONES:     ...that their people were supposedly
     2   under with a blue screen.         Now, ladies and gentlemen, the
     3   finale.     I saw this footage where Anderson Cooper turns.
     4   He's supposedly there at Sandy Hook in front of the memorial,
     5   and his whole forehead and nose blurs out.
     6                I've been working with blue screen, again, for 17
     7   years.     I know what it looks like.             It's clearly blue screen,
     8   clearly.     And I thought that's got to be somebody's doctored
     9   YouTube.     There's no way.
    10                We went to CNN, found a link where the whole
    11   interview had been posted.          It's been removed.        Oh, by the
    12   way, just like some of the earlier clips, like Robby Parker,
    13   have been removed.        I forgot that.
    14                So I'm thinking, okay, they took it down.             Let me
    15   go to Archive.org, which is, you know, respected, you know,
    16   puts the archives up, and I found it all unedited right
    17   there, exact same footage in high def.                And we're going to
    18   show you a clip of that right now, full size, and then we'll
    19   enhance it and blow it up.
    20                (Video played - not transcribed)
    21                And Anderson Cooper has got some explaining to do
    22   because I know blue screen when I see it.
    23                I believe children died at Sandy Hook, and there
    24   are a lot of parents going through serious grief.                So that
    25   can account for some of the strange behavior.                Nothing can




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     1   account for what happens to his nose, and this is CNN,
     2   admittedly run by the Pentagon and psyops, Washington Post.
     3   WorldNetDaily.
     4             This needs to be investigated.       They're clearly
     5   using this to go after our guns.       The government knows
     6   overall violent crime is down 49 percent.
     7             (END OF AUDIO FILE)
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    12                                      Julie Thompson, CET-1036
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                                    Exhibit A5
                 2013-04-16 - Shadow Govt Strikes Again (Clip at 13m20s)
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     4    CONNECTICUT MASSACRE SHOOTING

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     8 TRANSCRIPT OF INFOWARS BROADCAST

     9   SHADOW GOVERNMENT STRIKES AGAIN

    10             APRIL 16, 2013

    11             CLIP AT 13M 20S

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     1                MR. JONES:    Let's -- and again, there's maybe a 5
     2   percent chance out of 100 that this could be real Muslim
     3   terrorists, or I guess there could be some domestic group
     4   freaked out that would go stage this.
     5                To be clear, I've never seen an Easter Bunny, but
     6   some say it's real.       To be clear, I've never seen Santa
     7   Claus.     Some say it's real.      Never seen a unicorn.     Some say
     8   it's real.     Now, I don't think it exists, but it may.
     9                Same thing with domestic terror groups.         I mean,
    10   I've interviewed the cops and the people that saw the feds
    11   plant the bombs in Oklahoma City.            You saw them stage Fast
    12   and Furious.     Folks, they staged Aurora.         They staged Sandy
    13   Hook.     The evidence is just overwhelming, and that's why I'm
    14   so desperate and freaked out.          This is not fun, you know,
    15   getting up here telling you this.            Somebody has got to tell
    16   you the truth.     Somebody has got to stand against these
    17   people.     Somebody has got to do it.
    18                And I just hope everybody that is watching out
    19   there that serves the system, who thinks they're going to get
    20   away with all this, I hope you understand that you're not
    21   going to get away with this.          You get rid of our checks and
    22   balances, our protections, you're going to lose yours as
    23   well.
    24                And you want to throw your children out in the
    25   cold.     You think you're cold-blooded.         You think you're a




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     1   winner doing stuff like this.                   You're not.
     2                  (END OF AUDIO FILE)
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  12                                      Julie Thompson, CET-1036
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                                     Exhibit A6
          2014-03-14 - Sandy Hook, False Narratives Vs. The Reality (Clip at 26s)
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   4             CONNECTICUT MASSACRE SHOOTING

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   8           TRANSCRIPT OF INFOWARS BROADCAST

   9 SANDY HOOK, FALSE NARRATIVES VERSUS THE REALITY

  10                      MARCH 14, 2014

  11                        CLIP AT 26S

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   1                MR. JONES:     ...major universities he's consulted
   2   for.     I mean, he's a top consultant, long career as a state
   3   police officer in Miami, Florida.             If you're just joining us,
   4   he's been in customs, and then he got into being an educator
   5   and then security.        And he's looking at it and dissecting it
   6   like everybody else did.
   7                I mean, folks, we've got video of Anderson Cooper
   8   with clear blue screen out there.             He's not there in the town
   9   square.     We've got people clearly coming up and laughing and
  10   then doing the fake crying.          We've clearly got people where
  11   it's actors playing different parts of different people, the
  12   building bulldozed, covering up everything.             Adam Lanza
  13   trying to get guns five times we're told.             The witnesses, you
  14   know, not saying it was him.           People out in the woods.
  15                But we've got the investigator here, Wolfgang W.
  16   Halbig.     I'm going to give you the floor, sir.          Go over your
  17   16 points, the problems, the issues, and break down what you
  18   believe is a total hoax.
  19                I've looked at it, and undoubtedly there's a cover-
  20   up.    There's actors.      They're manipulating.       They've been
  21   caught lying, and they were preplanning before it and rolled
  22   out with it.     So clearly I agree with you that something is
  23   rotten under the floorboard.           But is it a possum, or is it a
  24   human?
  25                Well, regardless, they're not letting a good crisis




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   1   go to waste.   But you're the expert.        Break it down for us.
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  12                                      Julie Thompson, CET-1036
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                                   Exhibit A7
2014-05-13 - Bombshell Sandy Hook Massacre Was A DHS Illusion Says School Safety Expert
                                    (Clip at 17m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9           BOMBSHELL SANDY HOOK MASSACRE WAS A DHS ILLUSION

  10                          SAYS SCHOOL SAFETY EXPERT

  11                                   MAY 13, 2014

  12                                   CLIP AT 17M

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    1               MR. JONES:     They don't even hide this stuff,

    2   ladies and gentlemen.       Anderson Cooper, CIA, up there, who

    3   cares if it's blue screen.        Just like CNN -- I'm going back

    4   to our guest. Just like CNN back there in the first Gulf

    5   War was at the broadcast center in Atlanta on top of a roof

    6   with a blue screen behind them saying they were in Riyadh,

    7   Saudi Arabia, and Israel different days being hit by nerve

    8   gas.   And then they went on air for parts of it with the

    9   blue screen not even turned on with blue behind them.

  10                And then there were live feeds back in that day.

  11    Remember the whole thing where David Letterman was getting

  12    mad that people could tape his show as it was being taped

  13    and sent over, same thing with Jay Leno.            Same thing was

  14    happening with Johnny Carson before he retired because they

  15    would tape it during the day and then beam it back to New

  16    York to be edited.      Well, it's the same deal.

  17                CNN was sending that raw feed out all over the

  18    world, and people knew how to descramble them and get them.

  19    And it's on record that CNN did fake scud missile attack

  20    videos.    So they've done it over and over again.

  21                We've got Wolfgang here with us.          Sir, I'm going

  22    to give you about three minutes to make any other points

  23    that you didn't make to the school board.            Then we're going

  24    to play a special report that aired actually last Friday of

  25    you in there talking to them.         I didn't know the video was
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    1   actually out or had been on the nightly news.             I missed

    2   Friday's show.     I usually watch it almost every night, but

    3   I missed that one.      I was with family.

    4               But, look, let's say you got three minutes in a

    5   nutshell of what's going on here to the layperson out there

    6   as a school safety expert, renowned nationally, Mr. Halbig,

    7   of what really happened here.         And then what you would say

    8   to that school board?

    9               MR. HALBIG:     Well, the first thing I got to say

  10    before I get into that is that thank God I've had 67 great

  11    years of great life.       I got a beautiful family.         You know,

  12    I mean, I'm getting threats all the time.            I got some crazy

  13    people out there, you know.         They're attacking my wife.

  14    They're attacking me and everything else.

  15                But you know what, all they have to do is answer

  16    16 simple questions.       You and I wouldn't even be talking

  17    today.    It's just -- it's unheard of, okay.           And I think

  18    the school board members and the superintendent, they have

  19    a responsibility of telling the truth.

  20                Alex, there's no -- I cannot believe that a

  21    public school system -- and you know, when you look at the

  22    school itself, when you look at Sandy Hook, it is a filthy

  23    school.    That's what I wanted to talk to the school board

  24    members about.     It is a toxic waste dump.         When you look at

  25    the data -- and here's what they didn't realize.              They put
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    1   it in their own newspaper before they demolished it.               Sandy

    2   Hook had the highest level of lead paint throughout the

    3   entire school.     Sandy Hook had the highest level of

    4   asbestos in the ceiling tiles and the ceiling floors.               It

    5   had the highest level of PCP, and the ground water is

    6   contaminated.

    7               Now, here's the question: Connecticut law

    8   requires that every parent must be notified of those

    9   hazardous chemicals because they have serious health

  10    effects on children which may not be seen until five years

  11    later.   Now, why would any parent -- why would those 18 of

  12    the 20 parents that moved into Newtown in 2009 enroll their

  13    child in a school with all those hazardous chemicals?

  14    Parents just don't that.        They don't expose their little

  15    children to chemical hazards.

  16                MR. JONES:     Well, let me just stop you.         As an

  17    investigator, kind of like they got Al Capone for tax

  18    evasion, not for all the murders or money laundering.

  19    You're looking at how they don't any of the standard stuff,

  20    the paperwork, the police reports, no helicopter sent, no

  21    rescue, kids going in circles totally staged, men with guns

  22    in the woods getting grabbed, no names released.              They deny

  23    it went on.     Later have to admit it went on but say we're

  24    not answering questions.        I mean, clearly it's a drill,

  25    just like the Boston bombing.
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    1               I don't know exactly what's going on, but it just

    2   -- the official story isn't true.          And again, I've read a

    3   lot of criminology.       I'm not -- you know, I'm not a cop,

    4   but I've studied a lot of it.         And just from a lay media

    5   investigative journalist perspective, something is rotten

    6   here, and then you see it duplicated over and over again.

    7               What's your bottom line?        What do you think

    8   really happened at Sandy Hook?         People could see your 16

    9   questions at Sandyhookjustice.com.          And we just salute your

  10    will to go up there and have eight police car blocks you at

  11    the United Way and have them shut you down at the school

  12    board, at the commission.        But bottom line, what do you, as

  13    an almost 40-year, you know, investigator, police officer,

  14    you name it -- what do you think is happening here?

  15                MR. HALBIG:     Well, until they answer those

  16    questions, I can tell you children did not die.              Teachers

  17    did not die on December 14, 2012.          It just could not have

  18    happened, and it's in their words.          It's not what Wolfgang

  19    thinks, or it's just my opinion.          It's what they say.

  20                I mean, their own words actually show that it

  21    could not have happened.        Who declares 27 people legally

  22    dead within 8 minutes?       Nobody does that.       Who has a 99.9

  23    percent kill rate shooting children in a school within 8

  24    minutes?    There isn't an FBI agent, there isn't a Navy Seal

  25    that's, that good of a shot within eight minutes and then
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    1   kill himself.     I mean, that's reasonable doubt.           I mean,

    2   that in itself is reasonable doubt to show that --

    3                MR. JONES:    That's right.

    4                MR. HALBIG:    -- Adam Lanza could not have done

    5   that.   I mean, he's an autistic child.          He's got

    6   Asperger's.     Alex, nobody has a 99.9 percent kill rate, not

    7   even the New York Police Department.

    8                MR. JONES:    But he's a perfect cutout.         And for

    9   those that don't know, the reason that is, even if you're

  10    shooting people point blank in the head, the bullets change

  11    direction.    They go different directions, and I mean, a lot

  12    of times I've shot a wild hog, a deer, you name it, and the

  13    bullet deflects off, even if you hit them broad side.

  14    Sometimes it just deflects through.           You don't get 99.99

  15    kill rates.     It's just incredibly hard to do.

  16                 MR. HALBIG:    It is.    And you know -- and the

  17    thing that -- people, they haven't had time to read that

  18    7000 page report that was put out by Steven Sedensky, who

  19    is the state attorney in Danbury, Connecticut.

  20                 Even the Governor's own commission -- Alex, the

  21    Governor's own handpicked Sandy Hook Advisory Commission

  22    calls this 7000-page report the biggest data dump that

  23    they've ever seen.      Now, this is his handpicked commission,

  24    and it's redacted.      This is a commission who is supposed to

  25    read it, study it, and come up with recommendations, and
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    1   they get a redacted report.         Now, what does that tell us?

    2               MR. JONES:     Well, everybody's compartmentalized,

    3   and everybody is just playing along with the peer pressure.

    4               MR. HALBIG:     Yes, there are.

    5               MR. JONES:     Just like the police officers on

    6   9/11, you know, were told get back.           They're going to blow

    7   up building 7.

    8               MR. HALBIG:     Yeah.

    9               MR. JONES:     It's on video.      I heard it on CNN.

  10    Heard it on CBS News.       Have the video.      The cops saying,

  11    "Get back; they're blowing it up."

  12                I'm not saying the cops blew it up.           I've

  13    interviewed the police officers on this show that are on

  14    CNN saying, "Get back.       They're going to blow it up."          And

  15    they said, "No.      We were told on the radio they're going to

  16    blow up Building 7.       Get back."

  17                And there was a countdown on the Red Cross radio.

  18    They were running it, and again, they used United Way Red

  19    Cross as the CIA cutouts.        If you look that up, that's

  20    mainstream news.      And they were there telling the cops what

  21    to do that afternoon.       Incredible.     And they're there,

  22    hearing the countdown.

  23                I've interviewed not one but two.           One of them

  24    was an EMT, the other a cop.         And, boy, did they get

  25    threatened over it.       They wouldn't even do more interviews
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    1   after it.    And they go, "No.       We heard the countdown."        And

    2   the Red Cross guy said, "You know, morally I got to just

    3   tell all you cops, get back.         They're going to blow it up

    4   in a couple of minutes."        He goes, I'm not supposed to tell

    5   you this, and then the countdown.          And the cops were like,

    6   "Countdown."     So the cops are like, "Get back, get back."

    7                And then the media spins it.        You're saying the

    8   cops blew up the World Trade Centers.           All I know is it's

    9   on CNN, cops going, "Get back.         They're going to blow that

  10    building up."     They weren't even brought in on it.           They

  11    got told by people warning them who were compartmentalized,

  12    and it's just so incredible.         I don't mean to get off in

  13    another subject, Wolfgang.        It's just that I've seen this

  14    over and over again how the compartmentalization works.

  15                 MR. HALBIG:    I agree, but I think the same --

  16    Alex, we've never had a time in our history where Sandy

  17    Hook, a school massacre, the biggest illusion ever

  18    portrayed by Homeland Security and FEMA.            It can bring down

  19    the house.    I think America -- I cannot tell America.             This

  20    is probably our only chance to unite and come together and

  21    look for the truth, and this house needs to fall because

  22    Sandy Hook is taking away our guns across the country.

  23    Sandy Hook is messing with our freedom of speech.              That's

  24    not the America that we -- you and I know, Alex.

  25                 MR. JONES:    And they raised hundreds of millions
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    1   of dollars, billions in the case of 9/11, collecting money

    2   off of people's goodwill and then giving it to anti-gun

    3   groups.    The United Way is an anti-gun cesspit.

    4               MR. HALBIG:     It is, and I hope nobody ever

    5   donates another dime to United Way until they answer every

    6   question.

    7               (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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                                     Exhibit A8
     Ex. A8 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9            CONNECTICUT PD HAS FBI FALSIFY CRIME STATISTICS

  10                               SEPTEMBER 25, 2014

  11                                   CLIP AT 22M

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    1               MR. JONES:     We're fearless, folks.        Support us.

    2   Support Wolfgang.      This is not a game.       They are hopping mad

    3   we're covering this.       CNN admits they did fake scud attacks

    4   on themselves back in 1991, 1990.          Would they stage this?         I

    5   don't know.     Do penguins live in Antarctica?          Wolfgang W.

    6   Halbig's our guest, former state police officer, then worked

    7   for the customs department, and then over the last decade's

    8   created one of the biggest, most successful school safety

    9   training grips.      And he just has gone and investigated, and

  10    it's just phony as a $3 bill.         And they've been --

  11                But man, Wolfgang, you dropped a bombshell of yours

  12    scores of points, your 16 questions.           If you've got a school

  13    of 100 kids and then nobody can find them, and you've got

  14    parents laughing going ha, ha, ha; and then they walk over to

  15    the camera and go (crying), and I mean, not just one, but a

  16    bunch of parents doing this and then photos of kids that are

  17    still alive they said die.        I mean, they think we're so dumb

  18    that it's really hidden in plain view, and so the

  19    preponderance -- I mean, I thought they had some scripting

  20    early on to exacerbate and milk the crisis as Rahm Emmanuel

  21    said, but when you really look at it, where are the lawsuits?

  22    There would be incredible lawsuits and payouts, but there

  23    haven't been any filed, nothing.          I've never seen this.        This

  24    is incredible.

  25                (END OF AUDIO FILE)
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  12                                            Julie Thompson, CET-1036

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                                    Exhibit A9
    2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 3m08s)
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                               Discovery Resource
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   4                 CONNECTICUT MASSACRE SHOOTING

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   8              TRANSCRIPT OF INFOWARS BROADCAST

   9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

  10                        DECEMBER 27, 2014

  11                           CLIP AT 3M 8S

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   1                MR. JONES:   What do you guys think of Halbig?           I
   2   mean, he was a big, you know, successful, famous school
   3   safety guy, wrote the book on a lot of it.
   4                All I know is I saw Cooper with blue screen out
   5   there, green screen.      I know I saw the kids doing fake, you
   6   know, rotations in and out of the building.            They tore it
   7   down, all the unprecedented gag orders, you know, the police
   8   in anti-terror outfits in the woods.            Then they denied that,
   9   that had been in the news.        I mean, something is being hidden
  10   there.     You guys are on the East Coast.         You have a lot of
  11   sources.     What do you really think happened?
  12                (END OF AUDIO FILE)
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                               Discovery Resource
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  12                                      Julie Thompson, CET-1036
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                                   Exhibit A10
    2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 4m34s)
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   4                 CONNECTICUT MASSACRE SHOOTING

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   8              TRANSCRIPT OF INFOWARS BROADCAST

   9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

  10                        DECEMBER 27, 2014

  11                          CLIP AT 4M 34S

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   1             MR. JONES:    Very astute.          That's what I said a few
   2   weeks into it.    I said they may have killed real kids, but
   3   they're practicing how to propagandize, and how to control
   4   the press, and how to put out a product that's a fraud when I
   5   just saw the heavy, heavy, heavy scripting.           That was what
   6   was so clear.    And then the parents laughing and then one
   7   second later doing the actor breathing to cry.           I mean, it
   8   just -- it's just over the top.
   9             UNIDENTIFIED MALE:       Agreed, yep.
  10             MR. JONES:    Over the top sick.          And we know they've
  11   staged other stuff before.
  12             (END OF AUDIO FILE)
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  12                                      Julie Thompson, CET-1036
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                                  Exhibit A11
               2014-12-29 - America the False Democracy (Clip at 11m53s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                        AMERICA THE FALSE DEMOCRACY

  10                               DECEMBER 29, 2014

  11                                 CLIP AT 11M 53S

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                                                                             Ex. A11
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    1               MR. JONES:     Let's talk to, Kevin.        Kevin, go ahead.

    2   You're on the air.

    3               KEVIN:    Hi, Alex.     Calling about Sandy Hook.

    4   Basically my take on it is I live about 50 miles from

    5   Newtown, and the whole thing is pretty much the next step in

    6   reality TV because with other false flags like 9/11, or

    7   Oklahoma City, or the Boston bombing, at least something

    8   happened.    With Sandy Hook, there's no there, there.             You've

    9   got a bunch of people walking around a parking lot is pretty

  10    much what it comes down to and none of the --

  11                MR. JONES:     No, no.    I've had investigators on.

  12    I've had the state police have gone public, you name it.                  The

  13    whole thing is a giant hoax.         And the problem is how do you

  14    deal with a total hoax?        I mean it's just -- how do you even

  15    convince the public something is a total hoax?

  16                KEVIN:    Very hard because, you know, anytime I talk

  17    about this issue with people, you know, they -- you get

  18    criticized, black balled, ridiculed, called every name in the

  19    book, or they respond with the magic words they were saying

  20    on TV.   There's no statement more proof positive of somebody

  21    that's been brainwashed by that stuff, mainstream media, than

  22    those words.     They were saying it on TV.

  23                Well, I always tell people the same thing.             Go out

  24    and prove the official story.         And there's been -- I knew the

  25    millisecond this happened with that now fake picture of the
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    1   kids being lead out of the school that this -- there's

    2   nothing that's going to sell this agenda like dead elementary

    3   school kids.     Nothing --

    4               MR. JONES:     Well, that's right.       The general public

    5   doesn't know the school was actually closed the year before.

    6   They don't know.      They've shielded it all, demolished the

    7   building.    They don't know that they had their kids going in

    8   circles in and out of the building as a photo op.              Blue

    9   screen, green screens, they got caught using.             I mean the

  10    whole thing.

  11                But remember, this is the same White House that's

  12    been caught running the fake Bin Laden raid that's come out

  13    and been faked.      It's the same White House that got caught

  14    running all these other fake events over and over again, and

  15    it's the same White House that says I never said that you

  16    could keep your doctor when he did say you could keep doctor.

  17    People just instinctively know that there's a lot of fraud

  18    going on, but it took me about a year with Sandy Hook to come

  19    to grips with the fact that the whole thing was fake.               I

  20    mean, even I couldn't believe it.          I knew they jumped on it,

  21    used the crisis, hyped it up, but then I did deep research;

  22    and my gosh, it just pretty much didn't happen.

  23                UNIDENTIFIED MALE:       Everything we said came true.

  24    Everything we've done been's --

  25                (END OF AUDIO FILE)
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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A12
                2015-01-13 - Why We Accept Gov't Lies (Clip at 10m36s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                       WHY WE ACCEPT GOVERNMENT LIES

  10                                JANUARY 13, 2015

  11                                 CLIP AT 10M 36S

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    1               MR. JONES:     Yeah.    When you're trying to, I mean,

    2   decipher cloak and dagger, dirty tricks, it's pretty hard to

    3   do.   It's just that when you -- then you learn that they were

    4   funded by western funding.         Then you learn that it was the

    5   same Amerall-Locky (phonetic) connection underwear bomber.

    6   Then those are big red flags that they were patchy

    7   provocateurs.     The classic MO has been followed.

    8               And then, yeah, it kind of becomes a red herring,

    9   you know, to say the whole thing was staged because they have

  10    staged events before, but then you learn the school had been

  11    closed and reopened.       And you got video of the kids going in

  12    circles in and out of the building, and they don't call the

  13    rescue choppers for two hours.         Then they tear the building

  14    down and seal it.      And they get caught using blue screens,

  15    and an email by Bloomberg comes out in the lawsuit where he's

  16    telling people get ready in the next 24 hours to capitalize

  17    on a shooting.

  18                Yeah.    So Sandy Hook is a synthetic, completely

  19    fake with actors, in my view, manufactured.             I couldn't

  20    believe it at first.       I knew they had actors there clearly,

  21    but I thought they killed some real kids; and it just shows

  22    how bold they are that they clearly used actors.              I mean,

  23    they even ended up using photos of kids killed in mass

  24    shootings here in a fake mass shooting in Turkey.              So, yeah -

  25    - or Pakistan.      The sky is now the limit.        I appreciate your
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    1   call.

    2               Shirley in Louisiana.        You're on the air, welcome.

    3               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                   Exhibit A13
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 0m26s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 0M 26S

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     And again, if they can do this to us,

    2   they can do it to anybody.        And we're going to give you the

    3   name of the video as well that they are trying to sensor.

    4   Mystery Sandy Hook victim dies again in Pakistan, and I'm

    5   going to show you some of these photos from the BBC of people

    6   in Pakistan holding up photos of children they say were

    7   killed by terrorists; and it is one of the Sandy Hook

    8   victims.    So we just said, man, what's going on in Pakistan?

    9   What are they faking?

  10                Well, the answer to that was the HONR or HONR

  11    network, Lenny Pozner reportedly lost his son there came in

  12    and filed a copyright claim on us showing a BBC news article.

  13    You can't do that.      For those that don't know how copyright

  14    works, I could show a clip off the news if I was analyzing it

  15    in commentary, but I could certainly show newspapers all day

  16    long.

  17                I've been doing this for 20 years.           I took RTF.

  18    That was the first thing they taught us.            I've had to sit in

  19    on lawyer meetings.       I've been involved in lawsuits that

  20    we've won dealing with this, and I've countersued people.

  21    It's all on record.       I know what I'm talking about.          I know

  22    what I'm talking about on defamation.           Knock on wood, we've

  23    never had that problem.        Other people have and have settled

  24    with us out of court twice.         So I know of what I speak.

  25                And you can't go to somebody's YouTube channel and
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    1   say they showed a news article from the BBC, and then say

    2   that you can't show that because someone in Pakistan was

    3   holding up a photo of your son, who reportedly died at Sandy

    4   Hook, and they're saying the same person died in a terror

    5   attack in Pakistan.       Obviously, we've got to investigate

    6   this, just like we investigated Brian Williams and his

    7   claims.

    8               So, you know, we're sorry for everybody's losses,

    9   whatever.    We're investigating this though because we live in

  10    a system where the media exploits things and twists things.

  11                Paul Watson thinks the official story of Sandy Hook

  12    is true.    He's my chief reporter, and we get major heat from

  13    the folks that think Sandy Hook was totally staged, saying

  14    why aren't you on the same page.          Because we're

  15    investigating.

  16                I think there's some cover-ups there.            I know

  17    they're using blue screens.         I've seen the footage of people

  18    going in and out in circles in the building.             It doesn't look

  19    right.    It doesn't pass the smell test.          There are literally

  20    hundreds of smoking guns here that this thing doesn't add up.

  21                (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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    8    action.

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  12                                            Julie Thompson, CET-1036

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                                    Exhibit A14
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 23m34s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 23M 34S

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    1                MR. JONES:    And these families that have been used

    2   to push gun control, you name it, is now not just going after

    3   the Second Amendment, they're now going after the First

    4   Amendment.    What do you make of that?

    5                I mean, I guess -- should I just shut up forever

    6   and never -- just quit my show?          I mean, is that what you're

    7   saying?    Or if I want to do a report on Wells Fargo Bank

    8   laundering drug money -- that was in Bloomberg.              If I go

    9   stand across the street from Wells Fargo, will they claim

  10    it's -- oh, I had the Federal Reserve of San Antonio three

  11    years ago when we had an End the Fed rally out in front of

  12    it.   I forgot.    I had them claim a copyright claiming that

  13    their building was their copyrighted material, and I couldn't

  14    show it.    Of course that was overturned.          You people are out

  15    of your minds.

  16                 If you go to this HONR Network that reportedly has

  17    filed this claim trying to take down our YouTube channel, and

  18    they have taken down the video and suspended some of our

  19    rights while we're "under investigation," they say on their

  20    website they will use every means necessary to shut down, to

  21    bring awareness to hoaxers activity and to criminally and/or

  22    civilly prosecute those who willingly and publicly defame,

  23    harass, and emotionally abuse the victims of high profile

  24    tragedies.    That means questioning any tragedy is abuse, and

  25    that's what they're pushing in the EU.           You can't criticize
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    1   anything, no more free speech.         Of high profile tragedies

    2   and/or family members.       "We intend to hold such abusers

    3   personally accountable for their actions in whatever capacity

    4   the law allows."

    5               Well, you better look into what happened to Rite

    6   Haven and other groups that have gone down this road.               I

    7   mean, I'm sorry that you don't want us to show BBC showing

    8   your son at rallies of dead children in Pakistan.              We just

    9   are saying something is going on here.

  10                And we're sorry that, you know, the First Amendment

  11    is so upsetting, but we're going to be investigating this.

  12    We're going to be looking into this.           We're going to be

  13    countering this, and we're going to be dealing with this.

  14                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                    Exhibit A15
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 31m14s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 31M 14S

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     And I've been massively criticized for,

    2   you know, not going with the whole thing being staged the

    3   first year or so.      Wolfgang Halbig, former state police

    4   officer, former customs officer, he then over the next 20

    5   years became the biggest school safety trainer in the county

    6   to major colleges, you name it.          I mean, he's the guy.       And

    7   he just said, "Where are the helicopters being launched for

    8   the kids?    Where is the ambulances?"         The whole thing was

    9   disregarded, and then they wouldn't let him in to anything

  10    and acted very suspicious.        Then they came to his house and

  11    threatened him.

  12                You know, the answer to the censorship is we're

  13    just going to redouble our efforts investigating Sandy Hook.

  14    We need to stop cowling down to these people, and let them

  15    know we're not putting up with their bullying anymore.               And

  16    this is part of the attack on free speech worldwide, ladies

  17    and gentlemen.

  18                We're taking your phone calls on this subject.

  19    I'll shift gears into some others coming up after we talk to

  20    more of the callers and have some of the folks in here, David

  21    Knight and, of course, Rob Dew of InfoWars Nightly News, who

  22    have hosted Sandy Hook debates with so called debunkers of

  23    the official story and debunkers of the debunkers.              So for

  24    holding a debate in America and showing both sides, we now

  25    need to be taken off the air for the children.             Isn't that
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    1   just precious?     This is how totalitarianism comes, always

    2   packaged for the children.

    3               Brian in Alabama, you're on the air.           Go ahead.

    4               (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                    Exhibit A16
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 34m10s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 34M 10S

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    1               MR. JONES:     Before we could even investigate it,

    2   there were videos with tens of millions of views bringing up

    3   the anomalies.     There's been a real move to shut those folks

    4   down.    What do you think of us being censored?           What's been

    5   happening to you?

    6               UNIDENTIFIED MALE:       I can tell you lots about

    7   Lenny.    This man is something that you've never seen before.

    8   He's got a group of trolls, and if you don't mind, I'll just

    9   go ahead and call them out.         These people would be Keith --

  10                MR. JONES:     Well, listen, hold on.        I don't want to

  11    give these people any attention.          I'm going to have to get

  12    with lawyers on this and deal with this.            But I understand

  13    that -- I mean, if they're trying to shut us down when we're

  14    just investigating it and looking at all sides, it must be

  15    horrible for folks out there that vehemently think this is

  16    staged.    So just specifically, what have you gone through?

  17                UNIDENTIFIED MALE:       I can't even put up a video

  18    showing that he has put up a copyright strike against me

  19    without him copyrighting striking that.            They have taken my

  20    information, and they had -- they gave it to one of his

  21    trolls in his network.       And they went and they looked up all

  22    my information and put up a whole blog post about me and my

  23    daughter is what this troll network has done.             These people

  24    are vial.    And, Lenny, if you're listening, your day is

  25    coming, my friend.      It is coming.
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    1               MR. JONES:     Wow.    I mean, this sounds like a war is

    2   going on.    I think they made a major mistake involving us

    3   because we were basically showing both sides and getting

    4   criticized by both groups for it.

    5               UNIDENTIFIED MALE:       Oh, I totally agree.       They

    6   don't know what they bit off.         Go after them, Alex.        Crush

    7   them.

    8               MR. JONES:     Well, I mean, I just want them to leave

    9   the First Amendment alone.        But I mean, it does show that --

  10    how would they claim it's a Fox News copyright violation.

  11    There's no Fox News on there.         It's a news article.        I mean,

  12    how do you do that?       It's just -- it's amazing.

  13                UNIDENTIFIED MALE:       They have two different email

  14    addresses they use.       I noticed you said that for this claim

  15    they used the HONR@gmail.         The other one that they use -- I

  16    won't say it, but I'll tell you off air if you want to know

  17    what that is off air.

  18                MR. JONES:     Well, I just -- I'm not somebody to

  19    mess with, and I understand that they can, you know, use

  20    children or whatever and then say, you know, the First

  21    Amendment is bad.      But I mean, I got to defend the First

  22    Amendment, and it's just wild to get into this subject when

  23    you got all this stuff happening worldwide, all these moves

  24    against the First Amendment going on.           It's pretty hardcore.

  25                So we're going to have our news director in here
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    1   with our news anchor and talk about this because they're

    2   trying to shut us down.

    3               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                    Exhibit A17
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 38m59s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 38M 59S

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    1               MR. DEW:    And so --

    2               MR. JONES:     So, see, we're not even supposed to

    3   have a debate --

    4               MR. DEW:    Right.

    5               MR. JONES:     -- in America.

    6               MR. DEW:    You're not even allowed to talk about it.

    7               MR. KNIGHT:     And if you look at that debate, the

    8   guy who was opposing Halbig never offered any -- never

    9   responded to anything that --

  10                MR. DEW:    He just attacked Halbig.

  11                MR. KNIGHT:     Halbig had some very specific

  12    questions, and the guy always just attacked him.

  13                MR. JONES:     Why didn't they call rescue

  14    helicopters?

  15                MR. KNIGHT:     Exactly, yeah.

  16                MR. JONES:     On and on and on.

  17                MR. DEW:    Why were the ambulances not even at the

  18    school?    They were stuck at the firehouse.

  19                MR. KNIGHT:     Why did they destroy -- why did they

  20    classify the investigation?         They've never done that with any

  21    previous shootings.

  22                MR. DEW:    Right.

  23                MR. KNIGHT:     Why did they knock down the school and

  24    destroy it?

  25                MR. JONES:     Why did Mayor Bloomberg alert his
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    1   people to get ready the day before for a big push?

    2               MR. KNIGHT:     Yeah.

    3               MR. DEW:    They made it a felony to release a birth

    4   certificates or death certificate information.             What kind of

    5   country is that where you can't release birth certificate and

    6   death certificate information?         I mean, if there's, you know

    7   -- what have you got to hide, as they like to say to us?                  You

    8   know, why are you so concerned about privacy?             What have you

    9   got to hide?     But it's only if you're going after one of

  10    their -- I think it looks like an operation.             It looks like

  11    something went on there, and it stinks to high heaven.

  12                MR. JONES:     A drill.

  13                MR. DEW:    Stinks to high heaven.        You got the actor

  14    father who comes out, gets into character.            I was a theater

  15    major.    I worked with actors.       I used to watch them get ready

  16    before they would go out and cry like that.             I remember --

  17                MR. JONES:     You have a degree in theater.

  18                MR. DEW:    I was in the play Our Town, and I'm

  19    sitting there watching these other people about to go out and

  20    do the funeral scene; and they're pumping themselves up,

  21    doing exactly what he did (breathing).

  22                MR. JONES:     First he's laughing and smiling, and

  23    then --

  24                MR. DEW:    And then he walks out, and then he's

  25    totally sad, crying.       He was cracking jokes right before.
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    1   That's an actor.      That's an actor.      I'm sorry.

    2                MR. JONES:    You're not allowed to say that.           I

    3   mean, Brian Williams was shot down in that helicopter.

    4                MR. DEW:   There it is right there.         He's smiling.

    5   I mean, he's just --

    6                MR. JONES:    Then he huffs and puffs and gets --

    7                MR. DEW:   Yeah.    And that's what -- that is a tale-

    8   tale sign of somebody acting right there.            Now, I don't know

    9   for a fact that this guy is an actor.           That looks like acting

  10    all the way.     It's just amazing that they continue to really

  11    go after people.      I've got an article here from a guy, I

  12    think was our last caller, Michael.           He's been -- he's been

  13    getting all kinds of grief from Mr. Pozner, anything that

  14    comes out.    Social media shut down due to Sandy Hook false

  15    copyrights.

  16                 What's interesting is they list the address for the

  17    HONR Network in Boca Raton, Florida.           You look up the address

  18    on that, which says 908 North Dixie Highway.             It is the

  19    address for a women's clothing store and a UPS -- U-Haul

  20    rental place, U-Haul Neighborhood Dealer.            So here's the 908

  21    North Dixie Highway.       There is no suite, but it's got two

  22    different buildings listed at that address.             One is JJ Shop

  23    women's clothing store, and you go to the other one, same

  24    address, U-Haul Neighborhood Dealer.

  25                 Now, you go to their About HONR Network -- I'll go
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    1   to this one right here, guys.         You can leave the camera right

    2   there, HONR Network right there.          It lists their --

    3               MR. JONES:     They say they're in Connecticut.

    4               MR. DEW:    It says they're in Newtown, Connecticut.

    5   But you go to that address, it's a U-Haul UPS -- I'm sorry.

    6   It's a UPS store, same address, Main Street, Newtown,

    7   Connecticut.     It's a UPS store.

    8               (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                    Exhibit A18
     2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 42m23s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 42M 23S

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. DEW:    You'd think, you know, if they had this

    2   organization, they would have some sort of headquarters where

    3   they would be setting up a memorial.

    4               MR. JONES:     Well, we'll just start investigating

    5   that, and I guess I'm going to have to probably go on up to

    6   Newtown.    I'm going to have to probably go investigate

    7   Florida as well.

    8               (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A19
      2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 16m53s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9             NEW BOMBSHELL SANDY HOOK INFORMATION IN-BOUND

  10                                 MARCH 04, 2015

  11                                 CLIP AT 16M 53S

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    1                MR. JONES:    I've seen this over and over again.

    2   False flags don't just happen at the start of The Running Man

    3   in fiction movies.      They are the bread and butter of

    4   totalitarian elements within governments, and who can deny

    5   we're going in a totalitarian direction that ends up hurting

    6   all Americans but a tiny group.          It hurts them as well in the

    7   end, but they are of their -- their feather.             Birds of a

    8   feather flock together, of their father the devil I guess you

    9   could say.

  10                 Before we go back to Wolfgang W. Halbig, I want to

  11    open the phones up specifically for your questions or

  12    comments.    We don't have time for diatribes or not a bunch of

  13    name-calling against people that say Sandy Hook happened or

  14    people that say it didn't, serious questions.             I'd love to

  15    hear from you.     I'm not admonishing the general audience, but

  16    you know, some of the trolls out there.            I don't want to

  17    attack some of the supposed parents of the victims because

  18    that opens some dangerous doors.

  19                 I don't want to attack Halbig, but you can bring up

  20    any questions or comments.        You can disagree with him, or

  21    agree with him, or add points.

  22                 Here's the toll-free number - (800) 259-9231, (800)

  23    259-9231.

  24                 If we've seen false flags over and over again and

  25    then you've got all these anomalies and clear loop tapes and
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    1   clear blue screen/green screens -- I mean, they really

    2   screwed up.     CNN screwed up during the Gulf War with fake

    3   green screen stuff.       It was blue screen in that case, chroma

    4   key.   You can have pink screen if you wanted to.             It's just

    5   the color is going to be blue and mint green.             And you know,

    6   fake scud attacks that are admitted.

    7               So I just -- it had all the signs too.            How they

    8   were so ready that day, how they capitalized them, how they

    9   rolled out all these groups.

  10                (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A20
      2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 32m30s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9             NEW BOMBSHELL SANDY HOOK INFORMATION IN-BOUND

  10                                 MARCH 04, 2015

  11                                 CLIP AT 32M 30S

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    1               MR. JONES:     Wolfgang --

    2               MR. HALBIG:     You know, I agree with you.          And I'll

    3   say this to you:      I'm begging that I'm wrong.         And if they

    4   answer my questions to my satisfaction and to Alex's

    5   satisfaction, if they answer it to the people of America to

    6   their satisfaction, I will run to the nearest mental health

    7   facility -- and I've said it before -- I'll voluntarily

    8   enroll myself because if I dare upset these parents or

    9   children or school, I need mental health.

  10                But I tell you what, I have spent my life doing

  11    this, and when people refuse to answer simple, logical

  12    questions, it raises the red flag.          And I am telling you I'm

  13    not going to stop until we get the answers.

  14                MR. JONES:     We know it stinks.       I mean, it's phony.

  15    The question is what is going on.          We don't know.      We just

  16    know it's fake.      How fake we don't know.        It's sick.

  17                Thank you, John.

  18                Kyle, Jay, Jimmy, Erik, your calls are straight

  19    ahead.

  20                (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A21
                2015-07-07 - Govt Is Manufacturing Crises (Clip at 32m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                    GOVERNMENT IS MANUFACTURING CRISES

  10                                   JULY 7, 2015

  11                                   CLIP AT 32M

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     I didn't watch the nightly news one

    2   night last week.      I tend to watch it in the morning on my

    3   iPad while I get on the elliptical, and I've got, you know,

    4   televisions in there that I monitor as well in the gym, in

    5   the public gym I go to.

    6               And I heard them back there talking yesterday

    7   afternoon about a show they did last week, and I knew that we

    8   had sent our East Coast reporter, Dan Bidondi, up there to

    9   cover it.    And I heard Dew talking about his uncle, who I

  10    know was a Navy Seal and a decorated FBI agent, who retired a

  11    few years ago, and is part of a big security firm.

  12                And I heard Dew talking, and I was like, "Are you

  13    kidding me?"     His uncle talking to other FBI people, who I

  14    guess are still in, was told, "You ought to go check out

  15    Sandy Hook.     We're not allowed to.       It doesn't add up."        And

  16    his uncle went to the hearings, and I didn't even realize, we

  17    have video of him at the hearings and Bidondi interviewing

  18    him and what he said on air, and what he said off air.               And

  19    he told Dew, "Yeah.       You can repeat what I said."

  20                He's been in the John Gotti trial.           He's a well-

  21    known FBI agent.      He's been in a whole bunch of stuff, a

  22    bunch of big cases.       And he told Dew, "I have never seen

  23    people acting so weird and so suspicious and saying no one

  24    knows anything and no paperwork on anything."             He's a former

  25    Navy Seal, retired FBI agent, and I'm --
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    1                And I know what will happen.        These guys are

    2   compartmentalized.      They're like Mr. America most of them.

    3   They really think they're the good guys, and overall they are

    4   good guys.    But they're compartmentalized.          Right next to

    5   them is the devil and above them people like Eric Holder, as

    6   bad as it gets.

    7                They'll go investigate something, find out it's

    8   true, and then be shut down.         And I would imagine after we

    9   talk about this, he's going to -- he's going to get a visit

  10    because he's now investigating Sandy Hook.            Rob Dew's uncle

  11    is now investigating Sandy Hook, former FBI agent, retired.

  12    That's got to really freak them out.           And I'm not going to

  13    put words in his mouth, but he said he's never seen something

  14    that looks this fake.       It's because it is, folks.

  15                 I don't know if they really killed kids.           I don't

  16    know, but they -- we got emails and memos that school was

  17    shut down a year before.        They tore it down.       They covered it

  18    up.   No rescue helicopters, no ambulances.           Within an hour

  19    and a half they had a sign saying, "Check in here."               It was a

  20    media event.

  21                 If they did kill kids, they knew it was coming,

  22    stocked the school with kids, killed them, and then had the

  23    media there, and that probably didn't even happen.              I mean,

  24    no wonder we get so many death threats and so much heat and

  25    so much other stuff I'm not going to get into, behinds the
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    1   scenes, when we touch Sandy Hook because, folks, it's as

    2   phony as a $3 bill.

    3               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                   Exhibit A22
2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip 0-5m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9               RETIRED FBI AGENT INVESTIGATES SANDY HOOK

  10                             MEGA MASSIVE COVER-UP

  11                                  JULY 07, 2015

  12                                   CLIP AT 0-5M

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                                                                           Ex. A22
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     We have been warned.       We have been

    2   warned.    We have been threatened.        We have been told through

    3   official channels, unofficial channels, threats, you name it,

    4   stop investigating Sandy Hook.

    5               Now, when this first happened a few years ago, I

    6   didn't come out of the gate saying it was a false flag, and I

    7   got criticized by a lot of our listeners who were smart folks

    8   and who went and really investigated that, hey, Alex, you

    9   need to look at this again.

  10                All I know is that the official story doesn't add

  11    up, and that when retired state police officers, and school

  12    investigation experts, and school safety experts, and others

  13    began to investigate it, they were threatened.

  14                No emergency helicopters were sent.           The ambulances

  15    came an hour and a half later and parked down the road.                DHS

  16    an hour and a half later with the time stamp put up signs

  17    saying sign in here.       They had porta-potties being delivered

  18    within an hour and a half.        It looked like a carnival.         It

  19    looked like a big PR stunt.

  20                Came out that Bloomberg a day before sent an email

  21    out to his gun control groups in all 50 states saying,

  22    "Prepare to roll, maybe operation coming up."             That came out

  23    in the news.

  24                We have the emails from city council back and forth

  25    and the school talking about it being down a year before.                 We
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    1   have the school then being demolished, and the records being

    2   sealed.

    3               We have videos that look just incredibly suspicious

    4   where people are laughing and everything, and then they start

    5   huffing and puffing and start crying on TV, which is pure

    6   acting method.     You've got a degree, Rob, in theater.            I

    7   mean, this is -- this is something that even laypeople

    8   notice.    So I began to investigate.

    9               They had a weird anti-terrorism unit from the state

  10    nearby with men in the woods, which were on video from

  11    helicopter.     Then they said that didn't exist.          And so we'll

  12    recap some of the history of this.

  13                But now, your uncle, John Dew, Navy Seal, retired

  14    FBI agent, works for a successful security company, I had

  15    missed this episode of the nightly news back on June 4th and

  16    then again last week when you did an update.             And then I

  17    heard you talking about it yesterday.           I knew that we'd sent

  18    our reporter down, Dan Bidondi, there for days to cover the

  19    city council hearings about it and the fact that they're

  20    sealing everything.

  21                And then you just said, "Oh, yes, and that's why

  22    I'm trying to get my uncle to tell me more."             Because he's

  23    been in John Gotti hearings and been involved in huge cases,

  24    pretty prominent FBI agent before he retired, and in his

  25    words he said he seen the most secretive mafia stuff ever,
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    1   and he's never seen people more closed-lipped.             He's never

    2   seen something where it basically stinks.            And we'll use his

    3   words, but the headline here is retired FBI agent

    4   investigating Sandy Hook.        I mean, that was just amazing to

    5   me that so much goes on around here that I miss some of

    6   what's happening.

    7               Next time a former Navy Seal FBI agent -- I don't

    8   care if it's your uncle --

    9               MR. DEW:    Yeah.

  10                MR. JONES:     -- you know, is investigating something

  11    like this, we want to hear about it.           I want to try to get

  12    him on.    I know he's going to get heat probably, and they'll

  13    probably try to threaten him.         But really kudos to him.

  14                I mean, you told me that he went and investigated

  15    it because other insiders said you need to go look at this.

  16    I guess people currently in the FBI aren’t allowed to, but,

  17    man, the fix is in.

  18                So, Rob Dew, tell us about your uncle, tell us

  19    about all this.      I wish we would have gotten more than a two-

  20    minute interview with him with Bidondi.            Bidondi did a great

  21    job.   I just wish I would have known about this.             I would

  22    have gone up there.       Halbig tried to get me to go.         I just am

  23    trying to launch the TV network, and the new website, and

  24    everything else.

  25                But I mean, this is just so big.          And the more we
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    1   look at Sandy Hook, I don't want to believe it's a false

    2   flag.   I don't know if kids really got killed.            But you got

    3   green screen with Anderson Cooper where I was watching the

    4   video and the flowers and plants are blowing in some of them,

    5   and then they blow again the same way.           It's looped, and then

    6   his nose disappears.

    7               MR. DEW:    Uh-huh (affirmative).

    8               MR. JONES:     I mean, it's fake.       The whole thing is

    9   just -- I don't know what happened.           It's kind of like if you

  10    see a hologram at Disney World in the Haunted House, you

  11    know.   I don't know how they do it, but it's not real.              When

  12    you take your kids to see, you know, the Haunted House and

  13    ghosts are flying around, they're not real, folks.              It's

  14    staged.    I mean, a magician grabs a rabbit out of his hat.                 I

  15    know he's got a box under the table that he reaches in and

  16    gets the rabbit.

  17                I don't know what the trick is here.           I got a good

  18    suspicion, but when you've got Wolfgang Halbig, who was the

  19    top -- I mean, 20/20, CNN, I mean, ran the most successful

  20    school safety course in the country, got the contracts at

  21    Columbine, making millions of dollars a year, he believed it

  22    was real.    People called him.       He went and investigated.            No

  23    paperwork, no nothing.       It's bull.     And now an FBI retired

  24    agent who retired, you know, with decorations --

  25                I mean, Dew, this is just unprecedented.            I can't
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    1   believe I missed this.       Recap what happened, and then we've

    2   got some of the questions from Bidondi.            He told you a lot

    3   more.   Well, just tell us what he said.

    4               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                   Exhibit A23
   2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up (Clip
                                          9M40S)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9               RETIRED FBI AGENT INVESTIGATES SANDY HOOK

  10                             MEGA MASSIVE COVER-UP

  11                                  JULY 07, 2015

  12                                 CLIP AT 9M 40S

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    1               MR. DEW:    So they were already on the scene right

    2   after it happened.      That using u

    3               MR. JONES:     Let's remember, they ran fast and

    4   furious killing thousands of Mexicans, hundreds of Americans,

    5   including six law enforcement to blame the Second Amendment.

    6   CBS News got the memo.

    7               MR. DEW:    Yeah.

    8               MR. JONES:     That was a false flag killing thousands

    9   to blame the Second Amendment and martyr Mexicans and say

  10    you're racist if you don’t turn your guns in.             So they've

  11    done it before, and, my gosh, they've done it again.

  12                MR. DEW:    Yeah.

  13                MR. JONES:     Keep going.

  14                MR. DEW:    Well, guys, actually, let's play the clip

  15    from my uncle.     It's actually clip number two.          We'll play

  16    that one first.      It's really short.

  17                MR. JONES:     I want to play it, but tell us more of

  18    what he said because you told me more than that.

  19                MR. DEW:    Okay.    Well, he was concerned that there

  20    -- because he had believed in the initial story, the official

  21    story.   He said, well, now this doesn't add up.             If you have

  22    all these people, they should just be giving the paperwork

  23    and going on with their lives, if they don't want, you know

  24    -- because right now it's all being --

  25                MR. JONES:     It's 101 they're covering up.
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    1                MR. DEW:   He goes nobody acts like that if they're

    2   on the up and up.

    3                MR. JONES:    It's like if a cop pulls you over and

    4   you're busy cramming stuff under the -- under the seat.

    5                MR. DEW:   Right.     Saying, don't worry.       Hold on.

    6   I'm looking for my license or whatever.

    7                MR. JONES:    Yeah.

    8                MR. DEW:   You know, nobody has the proper

    9   paperwork.    Nobody can deliver it.        They deliver videos

  10    without time stamps from police squad cars.             There's videos

  11    without time stamps that they give to them and say these are

  12    the copies from the squad car.         Yet you go online and you

  13    could see squad car video from the same squad car, and it's

  14    got time code on it.       So how did they give him video without

  15    time code, and he's viewing it at the police station?

  16                 MR. JONES:    This is mega-massive cover-up.

  17                 MR. DEW:   It's crazy.      So you know --

  18                 MR. JONES:    My God.

  19                 MR. DEW:   -- he just basically -- my uncle doesn't

  20    say much.    He's the kind of guy that doesn't say a lot.              He

  21    just -- he kind of, you know -- so Dan -- I don't know how

  22    Dan figured out he was my uncle.          But he went over and talked

  23    to --

  24                 MR. JONES:    Oh, your uncle is not telling you he's

  25    up there?
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    1               MR. DEW:    No, no, no.      He never told me he was

    2   going up there.      I got the text from Dan.        That's how I found

    3   out he was there, and then I texted him; and the I called him

    4   the next day because he couldn't talk at the time.              It was

    5   probably 11:30 at night that night.           It was June --

    6               MR. JONES:     Well, I suggest you call him and see

    7   what he thinks now, see if he's been threatened or anything.

    8   But please continue with what else he told you.              So former

    9   Navy Seal, retired FBI agent.         Sandy Hook doesn't add up.            He

  10    said -- that's the quote, "Doesn't add up"?

  11                MR. DEW:    Well, we can take the quote from him.               He

  12    said he's never seen anything like this before.

  13                MR. JONES:     But to you what did he say?

  14                MR. DEW:    That -- and then that's what -- to me

  15    what he's saying is that from all of his experience in the

  16    years that he has worked as an FBI agent.            He's retired.         He

  17    went into the FBI pretty much out of -- out of the Navy.                   He

  18    was a -- he went to the Naval Academy.           He was a Navy Seal.

  19    This guy is on the up and up.         I've known him all my life,

  20    you know.    Very --

  21                He doesn't tell you what he does in terms of -- you

  22    know, we used to go up there and visit him when he was

  23    working, and he would just leave and come back.              And you

  24    know, he was doing his -- doing casework or whatever.

  25                But from what he told me, he said that this thing
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    1   doesn't add up, and it's the weirdest court proceeding he's

    2   ever been in, in his entire life.          And he's been in a lot of

    3   court proceedings.      He was in New York City, stationed in New

    4   York City.

    5                MR. JONES:    Well, let me tell you, we get more

    6   threats over this than anything.          I mean, they --

    7                MR. DEW:   Yeah.

    8                MR. JONES:    They're hiding something.

    9                MR. DEW:   They definitely are.

  10                 MR. JONES:    Let's ask your opinion, your gut level,

  11    without getting into the personalities involved.              You can

  12    clearly see they're scared.         The wagons are circled.        They

  13    could just release all this.         There is no paperwork.

  14                 MR. DEW:   Oh, there is none.

  15                 MR. JONES:    I mean, that's what they -- it's all --

  16    so, I mean, I guess totally made up with green screens,

  17    everything.     And we've got them on green screens.

  18                 MR. DEW:   Yeah.

  19                 MR. JONES:    I mean, what is going on here?

  20                 MR. DEW:   On top of that --

  21                 MR. JONES:    That's how evil these people are is

  22    that they can have CNN involved, all these people.              It's like

  23    a Manhattan project of the gun grabbers.

  24                 (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                   Exhibit A24
          2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                ALEX JONES FINAL STATEMENT ON SANDY HOOK

  10                               NOVEMBER 18, 2016

  11                                 CLIP AT 4M 59S

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    1               MR. JONES:     Number one, the day before this tragic

    2   event happened an email was sent out by Bloomberg's anti-gun

    3   group saying prepare for a big event.           But the biggest piece

    4   of evidence, the smoking gun, if you would, of a cover-up, of

    5   whatever really happened is the Wayback Machine, the internet

    6   archive.    We see Sandy Hook's Newtown website K through 12

    7   having zero traffic 2008, '09, '10, '11, '12, and then all of

    8   a sudden it just explodes.        It's impossible to have zero

    9   traffic to a K through 12 entire school system.              And the word

  10    is that school system was shut down for those years.               That's

  11    what the records show.       They tell us it was open.

  12                I don't know if the moon landings were faked, but I

  13    don't put anything past these anti-gunners.             And early on,

  14    that day we watched footage of kids going in circles in and

  15    out of the building.       You'd be running them away from the

  16    building.    Emergency helicopters weren't called.            Instead

  17    port-potties were prepared for the press within hours of the

  18    event.

  19                I saw the helicopters that did respond, the police

  20    helicopters saying that there were men or a man in the woods

  21    in camouflage.     The media later said that was a conspiracy

  22    theory.    So early on I'm like, well, I saw local news of the

  23    guy in the woods, and they took him in custody.              Now they're

  24    saying it never happened.        So that shows there some kind of

  25    cover-up happening.
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    1               And then I saw Anderson Cooper -- I've been in TV

    2   for 20-something years; I know a blue screen or a green

    3   screen -- turn, and his nose disappear.            Then I saw clearly

    4   that they were using footage on the green screen looped

    5   because it would show flowers and other things during other

    6   broadcasts that were moving and then basically cutting to the

    7   same piece of footage.

    8               Then I saw CNN do faked satellite interviews with

    9   reporters clearly with the same traffic and the same cars

  10    right behind them conducting the interview face to face.

  11                Then we see footage of one of the reported fathers

  12    of the victims, Robby Parker, doing classic acting training

  13    where he's laughing and joking.          And they say, hey, we're

  14    live, and he goes, oh.       And maybe that's real.        I'm sure it

  15    is.

  16                (Video played - not transcribed)

  17                But you add it to all the other things that were

  18    happening and all the other fake news the media has been

  19    caught in, and CNN back in 1991 openly faking scud missile

  20    attacks on Saudi Arabia and Israel when they were back in

  21    Atlanta; and the satellite feeds caught them admitting that

  22    it was all fake.      We'd be crazy not to question this because

  23    bare minimum they were faking some of the shots and some of

  24    the coverage.

  25                (Video played - not transcribed)So to be clear, we
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1   point out clear chroma key, also known as blue screen or

    2   green screen being used, and we're demonized.             We point out

    3   they're clearly doing fake interviews.           We point out that

    4   normal emergency procedures weren't followed, and their

    5   answer is to say that we said nothing died.

    6               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                   Exhibit A25
         2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 15m22s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                ALEX JONES FINAL STATEMENT ON SANDY HOOK

  10                               NOVEMBER 18, 2016

  11                                 CLIP AT 15M 22S

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    1                MR. JONES:    And why should anybody fear an

    2   investigation if they have nothing to hide.             In fact, isn't

    3   that in Shakespeare's Hamlet, me thinks you protest too

    4   much."

    5                So here is my statement for the media when they

    6   call up saying where do you stand on this: where I've always

    7   stood.   When there were other mass shootings, I would simply

    8   point out that they're very rare statically, and why should

    9   we all give up our rights because some other bad person does

  10    something.    A guy with a car runs over 50 people.            Do we ban

  11    driving cars?     It's the same thing.

  12                 And there have been other instances of shootings

  13    that are very suspicious.        Aurora is one, just look into

  14    that.

  15                 But this particular case they are so scared of an

  16    investigation.     So everything they do basically ends up

  17    blowing up in their face.        So you guys are going to get what

  18    you want now.     I'm going to start reinvestigating Sandy Hook

  19    and everything else that happened with it.

  20                 I'm Alex Jones signing off for InfoWars.com.            If

  21    you're watching this transmission, think for yourself.               I

  22    know it's a thought a crime (sic).          And then ask yourself:

  23    what is so strange about Sandy Hook and that tragedy?

  24                 But I will say this finally.        My heart does goes

  25    out to all parents that lose children, whether it's to
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1   stabbings, or whether it's to car wrecks, or whether it's to

    2   stranglings, or whether it's to blunt force trauma, or

    3   murder, firearms, whatever the case is.            I'm a parent, and my

    4   heart goes out to all parents that have lost children in

    5   these tragic events.

    6               And so if children were lost in Sandy Hook, my

    7   heart goes out to each and every one of those parents and the

    8   people that say they're parents that I see on the news.                The

    9   only problem is I've watched a lot of soap operas, and I've

  10    seen actors before.       And I know when I'm watching a movie and

  11    when I'm watching something real.          Let's look into Sandy

  12    Hook.

  13                (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A26
                2017-04-22 - Sandy Hook Vampires Exposed (Clip at 29m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                        SANDY HOOK VAMPIRES EXPOSED

  10                                 APRIL 22, 2017

  11                                   CLIP AT 29M

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                                                                            Ex. A26
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    1               MR. JONES:     So here are these holier than though

    2   people.    When we questioned CNN, who supposedly is at the

    3   sight of Sandy Hook, and they've got in one shot leaves

    4   blowing and flowers that are out.          And you see the leaves

    5   blowing, and they go -- they glitch.           They're recycling a

    6   green screen behind them.        You've got -- who's the female

    7   lawyer who used to be on CNN, fake southern accent, whatever?

    8   She's on there with cars driving in a cul-de-sac in circles,

    9   and you see it's the same cars going in circles.              And then

  10    we've got Anderson Cooper famously, not just with the flowers

  11    blowing in a fake, but when he turns, his nose disappears

  12    repeatedly because the green screen isn't set right.

  13                And they don't like to do live feeds because

  14    somebody might run up.       CNN did that in the Gulf War and

  15    admitted it.     They just got caught two weeks ago doing it in

  16    supposedly Syria.      Then the green screen cuts out, and they

  17    got, you know, phones ringing.         And all we're saying is if

  18    these are known liars that lied about WMDs, and lied to get

  19    us into all these wars, and back the Arab spring, and Libya,

  20    and Syria, and Egypt, and everywhere else to overthrow

  21    governments and put in radical Islamicists.

  22                If they do that and have blood on their hands and

  23    lied about the Iraq war, and were for the sanctions that

  24    killed a half million kids, and let the Islamicists attack

  25    Serbia, and lied about Serbia launching the attack when it
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    1   all came out later that Serbia didn't do it, how could you

    2   believe any of it, if you have a memory and you're not Dory

    3   from Finding Dory, you know, the Disney movie?             Thank God

    4   you're so stupid.      Thank God you have no memory.          It all goes

    5   back to that.

    6               Now, I could go on and on about the wars, the lies,

    7   the racial attacks they cover up that are on white people.

    8   And I'm not black/white, but just this weekend they have

    9   Science is Real marches everywhere.           And here in Austin they

  10    have signs officially saying white men run science; that's

  11    why they don't believe in global warming.            No.

  12                (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A27
                2017-04-22 - Sandy Hook Vampires Exposed (Clip at 59m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                        SANDY HOOK VAMPIRES EXPOSED

  10                                 APRIL 22, 2017

  11                                   CLIP AT 59M

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. DEW:    Yeah.    Hey, Alex, the whole Sandy Hook

    2   think is a quagmire because of the way the media and the

    3   officials up there were so secret about everything, and

    4   that's where people started questioning.            That's the big

    5   thing.   They were saying anybody who says anything on the

    6   internet and gets caught with it, we're going to go after

    7   them.

    8               They come out, first day, they have the wrong name

    9   of the supposed shooter.        They have his older brother.         And

  10    they have guns that they're calling out.            Then they're

  11    pulling guns out of cars.        They're finding people in the back

  12    woods that are dressed up in SWAT gear.

  13                MR. JONES:     And that's on helicopter footage, and

  14    they say it never existed; and then they later admit it does.

  15    And then the school was closed until that year, and in the

  16    videos it's all rotting and falling apart.            And nobody is

  17    even in it, and the kids are going in circles in and out of

  18    the buildings with their hands up.          And then they never

  19    called rescue choppers.        I mean, exactly.

  20                MR. DEW:    Yeah.    There's a lot of weirdness.

  21    There's some supposed dash-camera footage where the people

  22    are smiling and getting their lunches ready, the police

  23    officers.    You think you're going to have smiling police

  24    officers at a time when, you know, they're supposedly

  25    bringing out 20 dead kids, and they're smiling and getting
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                                                                              3


    1   their lunches ready on top of a police car.

    2               MR. JONES:     And they had porta-potties being

    3   delivered an hour after it happened for the big media event.

    4               MR. DEW:    Yeah.    Yeah.    It's -- I'm amazed that --

    5   and then, you know, we've never seen -- there's never been

    6   any even blurred photos of any bodies or anything.              We've

    7   seen every other incident where there's dead bodies.

    8               MR. JONES:     They sure showed us the nerve-gassed

    9   kids in Syria, didn't they?

  10                MR. DEW:    Yeah.    Oh, yeah.     Well, we didn't even

  11    get blurred images with the dead kids in Syria.              We got -- we

  12    got crisp photos.      We got --

  13                MR. JONES:     Video.

  14                MR. DEW:    -- you know, UN photos being held up.

  15                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                   Exhibit A28
       2017-06-13 - What Alex Jones Really Believes About Sandy Hook (Clip at 14m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9           WHAT ALEX JONES REALLY BELIEVES ABOUT SANDY HOOK

  10                                  JUNE 13, 2017

  11                                   CLIP AT 14M

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     And how they're all colluding and the

    2   fake polls.     You guys are the globalists.         You're the

    3   enemies.    You're the people that have hijacked America.

    4   You're the threat to our children.          You're the people that

    5   are cold and heartless and don’t care, not us.

    6               But again, I want to encourage people to read the

    7   Zero Hedge article that breaks it all down because they

    8   absolutely are on target with this report where they ask the

    9   questions that the media seems so scared that I might even

  10    actually talk about if the Megyn Kelly interview aired.

  11                Why does the Sandy Hook Elementary School website

  12    have zero traffic for four years before the event and show it

  13    was closed?

  14                Why were there several reports of other shooters

  15    dressed in camouflage in the woods that fled, whom the police

  16    allegedly detained?

  17                Why were porta-potties, sandwiches, and fruit

  18    drinks, and chips brought up and set up for the crime scene

  19    in just an hour or so?

  20                Sandy Hook -- it just goes on and one.            An FBI

  21    crime stat which shows no murders occurred in Newtown in

  22    2012.

  23                Why didn't they let paramedics and EMTs in the

  24    building if 27 children were declared dead in 8 minutes?

  25                Why was Adam Lanza's home burned to the ground by
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    1   the bank?

    2               Why have they declared all the records totally

    3   secret?

    4               These are questions the public has.           They're the

    5   ones asking it.      They're the ones demanding it.          I've said I

    6   believe children did die there, but PR firms were involved,

    7   admittedly, hyping it up as much as possible.             But there's

    8   been a cover-up, and Anderson Cooper got caught faking where

    9   his location was with blue screen.

  10                I mean, it's all there.        We don't know what

  11    happened.    I believe kids died.        But the same media that's

  12    faking a bunch of other stuff and faking war propaganda is

  13    saying that I have said things that I never said that have

  14    been taken out of context, and now won't report when I'm

  15    saying don't air the interview on Father's Day to hurt

  16    fathers, and demonize men, and that you edited me out of

  17    context; and that I don't want it aired.            Why won't they

  18    actually report on what I'm saying?

  19                I'm Alex Jones.      This is the InfoWars.        Coming up,

  20    Owen Shroyer in the studio for the next 30 minutes.               Then

  21    I'll be back in the studio coming up live.            Please spread the

  22    word because the truth lives at InfoWars.com.

  23                (Cut to different clip)

  24                MR. JONES:     Let's go to Devin in Florida.          Devin in

  25    Florida, you're on the air.
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    1               UNIDENTIFIED MALE:       Great.    Hey, thank you so much.

    2   Listen, I --

    3               (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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    7    action, and that I am not financially interested in the

    8    action.

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  12                                            Julie Thompson, CET-1036

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                                 Exhibit A29
                   2017-06-19 - Megyn Kelly Profile (Clip at 7m55s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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                                  MEGYN KELLY PROFILE
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                                      JUNE 19, 2017
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                                     CLIP AT 7M 55S
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    1               MS. KELLY:     At the top of that list is Jones'

    2   outrageous statement that the slaughter of innocent children

    3   and teachers at Sandy Hook Elementary School, one of the

    4   darkest chapters in American history, was a hoax.

    5               MR. HESLIN:     I watched my son.       I buried my son.         I

    6   held my son with a bullet hole through his head.

    7               MS. KELLY:     Neil Heslin's son Jessie, just six

    8   years old, was murdered along with 19 of this classmates and

    9   6 adults on December 14, 2012, in Newtown, Connecticut.

  10                MR. HESLIN:     I dropped him off at 9:04.         That's

  11    when we dropped him off at school with his book bag.               Hours

  12    later I was picking him up in a body bag.

  13                MS. KELLY:     Alex Jones repeatedly claimed that the

  14    shooting never happened.        Here he is on InfoWars in December

  15    2014.

  16                MR. JONES:     But it took me about a year with Sandy

  17    Hook to come to grips with the fact that the whole thing was

  18    fake.

  19                MS. KELLY:     You said the whole thing is a giant

  20    hoax.   How do you deal with a total hoax?           It took me about a

  21    year with Sandy Hook to come to grips with the fact that the

  22    whole thing was fake.       I did deep research, and, my gosh, it

  23    just pretty much didn't happen.

  24                MR. JONES:     At that point -- and I do think there's

  25    some cover-up and some manipulation -- that is pretty much
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    1   what I believed.      But then I was also going in devil's

    2   advocate.    But then we know there's mass shootings and these

    3   things happen.     So again --

    4                MS. KELLY:    You're trying to have it all ways,

    5   right?

    6                MR. JONES:    No, I'm not.

    7                MS. KELLY:    If you wrongly went out there and said

    8   it was a hoax, that's wrong.

    9                MR. JONES:    But what I already answered your

  10    question was listeners and other people are covering this.                   I

  11    didn't create that story.

  12                 MS. KELLY:    But, Alex, the parents, one after the

  13    other, devastated, the dead bodies that the coroner

  14    autopsied.

  15                 MR. JONES:    And they blocked all that, and they

  16    won't release any of it.        That's unprecedented, even --

  17                 MS. KELLY:    All of the parents --

  18                 MR. JONES:    -- the reports.

  19                 MS. KELLY:    -- decided to come out and lie about

  20    their dead children.

  21                 MR. JONES:    I didn't say that.

  22                 MS. KELLY:    What happened to the children?

  23                 MR. JONES:    I will sit there on the air and look at

  24    every position and play devil's advocate.

  25                 MS. KELLY:    Was that devil's advocate; the whole
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1   thing is a giant hoax; the whole thing was fake?

    2               MR. JONES:     Yes.    Because I remember in -- even

    3   that day I go back from memory, them saying but then some of

    4   it looks like it's real.        But then what do you do when

    5   they've got the kids going in circles in and out of the

    6   building with their hands up?         I've watched the footage, and

    7   it looks like a drill.

    8               MS. KELLY:     When you say parents faked their

    9   children's death, people get very angry.

  10                MR. JONES:     Yeah.    Well, let's -- oh, I know.         But

  11    they don't get angry about the half million dead Iraqis from

  12    the sanctions, or they don't get angry about --

  13                MS. KELLY:     That's a dodge.

  14                MR. JONES:     No, no.    It's not a dodge.       The media

  15    never covers all the evil wars it has promoted, all the big

  16    things.

  17                MS. KELLY:     That doesn't excuse what you did and

  18    said about Newtown.       You know it.

  19                MR. JONES:     But I -- here's the difference.          Here's

  20    the difference.      I looked at all the angles of Newtown, and I

  21    made my statements long before the media even picked up on

  22    it.

  23                MS. KELLY:     In our interview we asked Jones

  24    numerous times what he now believes, and he never completely

  25    disavowed his previous statements.
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    1               MR. JONES:     I tend to believe that children

    2   probably did die there, but then you look at all the other

    3   evidence on the other side.         I can see how other people

    4   believe that nobody died there.

    5               MS. KELLY:     Of course, there --

    6               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A30
      2017-10-26 - JFK Assassination Documents To DROP Tonight (Clip at 1h13m30s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9              JFK ASSASSINATION DOCUMENTS TO DROP TONIGHT

  10                                OCTOBER 26, 2017

  11                              CLIP AT 1HR 13M 30S

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    1               MR. JONES:     ...top trend forecaster.        But look at

    2   this article that was on Infowars.com a few days ago that I

    3   read.    I meant to cover, and then I heard Lee Ann McAdoo

    4   during the break.      A lot of our radio ads aren't radio ads.

    5   They're just one minute little information news pieces,

    6   something we do.      We just change things up.         And I'd

    7   forgotten in the documents the CIA visited Lanza and

    8   reportedly recruited him about a year before the shooting.                   I

    9   mean, they bulldozed the house to get rid of it.

  10                I don't know what really happened with Sandy Hook,

  11    folks.   We've looked at all sides.         We played devil's

  12    advocate from both sides, but I mean, it's as phony as a $3

  13    bill with CNN doing fake newscasts, with blue screens.               I

  14    mean, Nancy Grace got caught doing it, Anderson Cooper.                I

  15    mean, that is just a crazy -- that's the kind of stuff that I

  16    read on InfoWars.com that I don’t even get to.

  17                Speaking of that --

  18                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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                                  Exhibit A31
             2017-03-08 - Hunt For Wikileaks Source Begins (Clip at 1h11m)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                     HUNT FOR WIKILEAKS SOURCE BEGINS

  10                                 MARCH 08, 2017

  11                               CLIP AT 1HR 1H 11M

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    1               UNIDENTIFIED MALE:       Now, Dr. Steve Pieczenik,

    2   totally legit, right?

    3               MR. JONES:     Oh, yeah.

    4               UNIDENTIFIED MALE:       High level?

    5               MR. JONES:     I mean, when he comes on the show, it's

    6   in like Italian newspapers, and then they send like, you

    7   know, FBI to his house; and he's called before federal

    8   courts.    When he releases stuff, they threaten him with him

    9   national security arrest.

  10                UNIDENTIFIED MALE:       Doctor --

  11                MR. JONES:     That's how real he is.

  12                UNIDENTIFIED MALE:       Dr. Steve Pieczenik, and you

  13    got some heat for this.        This is kind of changing the subject

  14    a little.    Dr. Steve Pieczenik on your show said that no kids

  15    died at Sandy Hook.       That it was a Homeland Security drill

  16    that they passed off as a real event.

  17                MR. JONES:     He says that.

  18                UNIDENTIFIED MALE:       That's what he says.

  19                MR. JONES:     And I've been hit really hard with it.

  20    I can't prove it one way or the other.           I know Anderson

  21    Cooper is standing up there and turns, and his whole nose

  22    disappears.     I work in TV.     I know what a blue screen is,

  23    bro.

  24                UNIDENTIFIED MALE:       Yeah.    And I have one question

  25    about Sandy Hook, the one question, the Tower 7 question is:
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    1   why weren't the medivac helicopters called?

    2               MR. JONES:     Pieczenik ran the operation to

    3   overthrow at least seven countries.

    4               UNIDENTIFIED MALE:       Yeah.

    5               MR. JONES:     I mean, that's on record.

    6               UNIDENTIFIED MALE:       Yeah.

    7               MR. JONES:     He co-wrote Tom Clancy's books.          He's

    8   the Jack Ryan character.

    9               UNIDENTIFIED MALE:       Yeah.

  10                MR. JONES:     That's because he used to be in covert

  11    action himself.

  12                UNIDENTIFIED MALE:       Uh-huh (affirmative).

  13                MR. JONES:     That's how he got into the CIA was --

  14    here's a big secret about the CIA.           Like they've got hit men

  15    that are like former Special Forces and stuff that are Army,

  16    Navy, Marine Corps, you know, because you like graduate out

  17    of the Seals and out of things into squads that are put in

  18    strategic locations around the country, sleeper cells.

  19                And so that's basically what goes on, but who they

  20    really have for assassins are doctors and psychiatrists.                  And

  21    so a lot of these people you see that are doctors and

  22    psychiatrists and things that head up things that, oh, were

  23    in the Navy or in the Army, they were all put through secret

  24    programs and a bunch of other stuff, and they're the real hit

  25    men.   And there's some weird thing in the government where
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    1   it's a medical procedure we're doing, like torture is all a

    2   medical procedure.

    3               UNIDENTIFIED MALE:       Yeah.

    4               MR. JONES:     It's this thing with doctors.          So if

    5   they send real hit men after you, it's guys with medical

    6   degrees.    Isn't that crazy?

    7               UNIDENTIFIED MALE:       Uh-huh (affirmative).        Anderson

    8   --

    9               MR. JONES:     It's all very professional done though,

  10    you understand.

  11                UNIDENTIFIED MALE:       You mentioned Anderson Cooper.

  12    What -- people think he's -- he was in the CIA, right?

  13                MR. JONES:     Yes.

  14                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                  Exhibit A32
            2017-04-28 - Alex Jones Austin Press Conference (Clip at 30m29s)
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                    ALEX JONES AUSTIN PRESS CONFERENCE

  10                                 APRIL 28, 2017

  11                                 CLIP AT 30M 29S

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    1               MR. JONES:     That's a joke too.       You what?

    2               UNIDENTIFIED MALE:       You seriously believe Sandy

    3   Hook is a false flagstone?

    4               MR. JONES:     I think -- I think we should

    5   investigate everything because the government staged so much

    6   stuff.    Then they lie and say that I said the whole thing was

    7   totally fake when I was playing devil's advocate in debate.

    8   I said, "Maybe the whole thing is real.            Maybe the whole

    9   thing is fake."      They were using blue screens out there.

  10                UNIDENTIFIED MALE:       So you're serious?

  11                MR. JONES:     Why won't the media -- I know that's

  12    the anointed thing your editors tell you to go out --

  13                UNIDENTIFIED MALE:       I'm not the media.

  14                MR. JONES:     -- and like -- well, that's what the

  15    media talks about.      Screw this.      You're just regurgitating

  16    that.    They ask about -- they ask about Sandy Hook.             They ask

  17    about Sandy Hook, and I say, yes, government stage things.

  18                UNIDENTIFIED MALE:       Yeah.

  19                MR. JONES:     So it's not bad to question them.

  20    Anyways, you guys have fun.

  21                UNIDENTIFIED MALE:       Thanks.

  22                UNIDENTIFIED MALE:       Why don't you just make your

  23    apology?

  24                (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                             EXHIBIT A


                Affidavit of Fred Zipp
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                                  AFFIDAVIT OF FRED ZIPP

STATE OF TEXAS                §
                              §
COUNTY OF HARRIS              §


       Before me, the undersigned notary, on this day personally appeared FRED ZIPP, a person
whose identity has been established to me. Upon being duly sworn, Affiant states:

                                  PERSONAL BACKGROUND

       I have spent 39 years in daily newspaper journalism and journalism education.

        From 1979 to 1984, I was a reporter and assistant city editor at the Beaumont Enterprise in
Beaumont, Texas. From 1984 to 1987, I was a sports copy editor, assistant sports editor and
assistant city editor at the Austin American-Statesman in Austin, Texas. From 1987 to 1998, I was
assistant metro editor, deputy metro editor, news editor and metro editor the Palm Beach Post in
West Palm Beach, Florida. In 1998, I returned to the American-Statesman as assistant managing
editor, managing editor, and editor. Over the course of my career, I gained extensive experience
and expertise in the responsible delivery of news content to a mass media audience.

         In 2012, I began teaching at the University of Texas at Austin. At the University of Texas,
I supervise a digital media initiative known as Reporting Texas which functions similarly to a
newsroom; students are the reporters, and I am their editor. I help them conceive, report and write
stories that are posted on the reportingtexas.com website.

       I have been a director and officer of the Freedom of Information Foundation of Texas and
the Headliners Foundation of Texas, an organization that promotes journalism excellence in the
state.

                                     SCOPE OF REVIEW

       In arriving at my opinions in this case, I have used the same principles and analysis as I
have used throughout my journalism career to determine whether particular assertions could be
responsibly published. This review included an examination of the disputed statements as well as
a variety of relevant background materials. I have reviewed numerous background items,
including:

               •   Public domain materials relating to the Sandy Hook shooting.

               •   Materials from the final report published by the Connecticut
                   Department of Emergency Services and Public Protection,
                   available at: http://cspsandyhookreport.ct.gov/



                                                 1
                                                                                                  Exhibit A
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               •   Various articles and social media content from InfoWars.

               •   Various articles and reference materials concerning InfoWars

               •   My own personal reference materials and texts.

               •   Video clips containing statements by InfoWars about Sandy
                   Hook, along with transcripts of those video clips created by a
                   court reporter. Those transcripts are attached to my affidavit.

               •   A July 26, 2017, YouTube video from InfoWars entitled “Zero
                   Hedge Discovers Anomaly in Alex Jones Hit Piece.” A digital
                   copy is attached to this affidavit.

               •   A July 20, 2017, segment of the Alex Jones show in which the
                   July 26, 2017, video was republished.

       It is my belief that discovery will likely produce further relevant evidence, but I am
confident that enough material exists in the public domain to reach reliable opinions for the
purposes of these initial findings.

                      BACKGROUND KNOWLEDGE OF INFOWARS

        Having been involved in media in Austin for 23 years, I was aware of Alex Jones and
InfoWars but felt no need to pay close attention to either one before agreeing to review the
materials in this lawsuit. Nonetheless, I was aware of InfoWars’ extremely poor reputation in the
media industry with respect to the reliability of the information it publishes, and I also knew Mr.
Jones had alleged the Sandy Hook Elementary School shooting was a government hoax involving
actors.

       After I asked to review the events of this lawsuit, I have spent a significant amount of time
reading articles on InfoWars.com and reviewing audio and video recordings posted to the website.
While the site purports to be a news and information operation, it is clear that it is actually a
propaganda outlet for Mr. Jones’ theories about a global conspiracy to control and enslave the
world’s population.

        Alex Jones and InfoWars generally have a signature style: rapid-fire assertion of various
data points with little or, more often, no attribution. The assertions are presented to the viewer as
facts. Underlying the presentation is the premise that Jones is at war with “the globalists” – or their
various stand-ins, including the Illuminati, Jews and Communists -- and that he wins the war
by marshaling his assertions more effectively than they do. In traditional journalism, by contrast,
attributing assertions to sources is an essential element of the work, and the attribution becomes
more important in proportion to the seriousness of the facts asserted.


                                                  2
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        According to the American Press Institute, “Journalism is the activity of gathering,
assessing, creating, and presenting news and information. It is also the product of these
activities…These elements not only separate journalism from other forms of communication, they
are what make it indispensable to democratic societies.” 1 The process of journalism is dependent
on responsible verification in which information is gathered and its accuracy is evaluated. In
coming to my opinions, I have analyzed InfoWars’ conduct against the well-established standards
of the journalism profession.

                                    INFOWARS’ 2017 BROADCASTS

1.         InfoWars’ June 26 and July 20 Videos.

        After Mr. Heslin condemned InfoWars’ false statements about Sandy Hook during an
interview with Megyn Kelly on NBC TV, InfoWars produced a video in which it claimed that Mr.
Heslin’s statements about his last moments with his child were a lie. InfoWars host Owen Shroyer
began the video by citing an article from an anonymous blog called “Zero Hedge.” The video
shows that the anonymous blog post had been “shared” only three times before it was featured on
InfoWars’ video. InfoWars took this obscure blog post that almost nobody in the world had seen
and used it to smear Mr. Heslin.

        In the interview, Mr. Heslin told Ms. Kelly that he buried his son, held his body, and saw
his fatal injury. Concerning Mr. Heslin’s claim, Mr. Shroyer stated the following:

                   The statement he made, fact checkers on this have said cannot be
                   accurate. He’s claiming that he held his son and saw the bullet hole
                   in his head. That is his claim. Now, according to a timeline of events
                   and a coroner’s testimony, that is not possible. And so one must look
                   at Megyn Kelly and say, Megyn, I think it's time for you to explain
                   this contradiction in the narrative because this is only going to fuel
                   the conspiracy theory that you're trying to put out, in fact.

                   So -- and here's the thing too, you would remember -- let me see
                   how long these clips are. You would remember if you held your dead
                   kid in your hands with a bullet hole. That’s not something that you
                   would just misspeak on. So let's role the clip first, Neil Heslin telling
                   Megyn Kelly of his experience with his kid. 2

        Mr. Shroyer then played a clip from the interview in which Mr. Heslin stated, “I lost my
son. I buried my son. I held my son with a bullet hole through his head.” After playing the clip,
Mr. Shroyer stated:




1
    https://www.americanpressinstitute.org/journalism-essentials/what-is-journalism/
2
    Exhibit A-1, 2017-06-26 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)

                                                        3
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                  So making a pretty extreme claim that would be a very thing, vivid
                  in your memory, holding his dead child. Now, here is an account
                  from the coroner that does not corroborate with that narrative. 3

        Mr. Shroyer then played a short clip from a news conference with Dr. Wayne Carver, the
medical examiner at Sandy Hook. In the clip, Dr. Carver stated that “we did not bring the bodies
and the families into contact. We took pictures of them.” Dr. Carver stated in the clip that “we felt
it would be best to do it this way.” Mr. Shroyer also showed an edited clip of an interview with
Chris and Lynn McConnel in which Anderson Cooper states, “It’s got to be hard not to have been
able to actually see her.”

        At the end of the video, Mr. Shroyer stated, “Will there be a clarification from Heslin or
Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now they’re fueling the conspiracy theory
claims. Unbelievable.” 4

        On July 20, 2017, during an episode of The Alex Jones Show, Mr. Jones republished the
entire segment with Mr. Shroyer.

         My review shows that the InfoWars video creates a false impression, both in its explicit
text and in its implications. The video creates the false impression by incorporating, contrary to
widely accepted journalistic standards, 5 an edited, incomplete account of Dr. Carver’s and an
edited, incomplete account of the McDonnel interview. It is clear to me that any publisher would
have serious doubt about stating that Mr. Heslin could not have held his child nor seen his wound
and that any publisher would entertain serious doubt about the truth of such a claim. In fact, the
evidence I reviewed makes it clear that InfoWars was being purposely deceptive in an act of
retaliation.

                                                   OPINIONS

1.       InfoWars’ False Statements in 2017 Impugned the Reputation of the Plaintiffs.

        It is my opinion that the Shroyer video defamed Neil Heslin by impugning his reputation
with false statements about his honesty or integrity. Mr. Shroyer arranged edited footage in a
misleading and dishonest way to attack Mr. Heslin. At best, the InfoWars video is a mishmash of
out-of-context statements that creates a dishonest portrait of Mr. Heslin, his statements and the
events of Sandy Hook. At worst, it was a calculated and unconscionably cruel hit-job intended to
smear and injure a parent who had the courage to speak up about InfoWars’ falsehoods. In either
case, InfoWars recklessly disregarded journalistic standards in approaching this story because
disregarding those standards was necessary to carry out its distortion of events.



3
  Id.
4
  Id.
5
  See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Provide
context…” and “Never deliberately distort…”

                                                          4
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         Mr. Shroyer attributes the defamatory statements about Mr. Heslin to the anonymous Zero
Hedge website. Republishing material by an anonymous author as if it were fact is inconsistent
with journalistic standards. 6 Clearly, the point of Mr. Shroyer’s video was that the allegations are
true. It was not a neutral report about the Zero Hedge allegation. Rather, InfoWars adopted the
allegations and attempted to persuade its audience that Mr. Heslin’s description of his actions was
not possible. Mr. Shroyer’s callous statements about the “dead kid” throughout the video are
intended to support and bolster an allegation that Mr. Heslin is lying. Mr. Shroyer also made it
clear that he was not accusing Mr. Heslin of an innocent mistake. Mr. Shroyer asserts the event is
“not something that you would just misspeak on” because “you would remember if you held your
dead kid in your hands with a bullet hole.” 7

       After the accusations appeared on InfoWars, Mr. Heslin was featured on numerous
conspiracy websites and social media networks as internet users made wild speculations about
him. Mr. Heslin had now become fodder for the Sandy Hook conspiracy fanatics. For example, he
appeared in an internet meme accusing him of being an actor who also “played” a fireman killed
on 9/11:




                                                                                              8




6
  Id., esp., “Identify sources clearly…”
7
  Exhibit A-1, 2017-06-26 - Zero Hedge Discovers Anomaly In Alex Jones Hit Piece (Full Segment)
8
  https://busy.org/@barrysoetoro/neil-heslin-is-dead-9-11-fireman

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       Once a person’s name enters conspiracy culture, there is no limit for how bizarre the
accusations can become. One conspiracy website alleged that Mr. Heslin’s name was actually an
anagram hiding his secret purpose with the Illuminati:




                                                                                            9



      Anti-Semitism appears to be common among conspiracy fanatics, who believe the
“Globalists” are controlled by Jewish interests. In the weeks after the InfoWars video appeared,
Mr. Heslin became the target of these bigots:




                                                                                                     10




9
 http://theconspiracyzone.podcastpeople.com/posts/68433
10
  https://www.johndenugent.com/how-the-whole-anti-confederate-hysteria-began-the-fake-charleston-church-
shooting-using-crisis-actor-john-graas/

                                                      6
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       The InfoWars video was not only false and disparaging, but also influential; after it
appeared, a group of irrational and dangerous conspiracy fanatics turned their attention to Mr.
Heslin. The InfoWars video exposes Mr. Heslin to ridicule and contempt, and it is reasonable to
believe that it could encourage bad actors who could become a threat to his safety.

           A.      Background Context of the 2017 Statements.

        InfoWars’ 2017 statements were not made in isolation. The 2017 statements were the latest
allegation in a series of reckless falsehoods InfoWars has been making about Sandy Hook for five
years. Mr. Jones used these false statements as evidence for his contention that the Sandy Hook
shooting was faked or staged, and that the participants are engaged in a sinister cover-up.

        In a January 27, 2013, broadcast entitled “Why People Think Sandy Hook is a Hoax,” Mr.
Jones first alleged that the event had been faked:

                   In the last month and a half, I have not come out and said that this
                   was clearly a staged event. Unfortunately, evidence is beginning to
                   come out that points more and more in that direction…Something
                   serious is going on here, and CNN over and over again is at the heart
                   of the fishy things that are happening…

                   Now, ladies and gentlemen, the finale. I saw this footage where
                   Anderson Cooper turns. He's supposedly there at Sandy Hook in
                   front of the memorial, and his whole forehead and nose blurs out.
                   I've been working with blue screen, again, for 17 years. I know what
                   it looks like. It's clearly blue screen, clearly. 11

       In an April 16, 2013, broadcast entitled “Shadow Govt Strikes Again,” Mr. Jones was
discussing was various plots behind various national tragedies. During his remarks, he stated:
“They staged Sandy Hook. The evidence is just overwhelming, and that’s why I’m so desperate
and freaked out.” 12

       In a March 14, 2014, broadcast entitled “Sandy Hook, False Narratives Vs. The Reality,”
Mr. Jones again repeated numerous false and irresponsible claims. Mr. Jones then asserted that the
event was pre-planned and featured actors as a part of a cover-up:

                   Folks, we’ve got video of Anderson Cooper with clear blue-screen
                   out there. [Shaking head]. He’s not there in the town square. We got
                   people clearly coming up and laughing and then doing the fake
                   crying. We’ve clearly got people where it’s actors playing different
                   parts for different people, the building bulldozed, covering up
                   everything. Adam Lanza trying to get guns five times we’re told.
                   The witnesses not saying it was him…I’ve looked at it and
                   undoubtedly, there’s a cover-up, there’s actors, they’re
11
     Exhibit A3 - Transcript - 2013-01-27 - Why People Think Sandy Hook is a Hoax (Clip at 12m58)
12
     Exhibit A4 - Transcript - 2013-04-16 - Shadow Govt Strikes Again (Clip at 13m20s)

                                                         7
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                manipulating, they’ve been caught lying, and they were pre-
                planning before it and rolled out with it. 13

        In a May 13, 2014, broadcast entitled “Bombshell Sandy Hook Massacre Was A DHS
Illusion Says School Safety Expert,” Mr. Jones again repeated his false statements:

                They don't even hide this stuff, ladies and gentlemen. Anderson
                Cooper, CIA, up there, who cares if it's blue screen…You're looking
                at how they don't any of the standard stuff, the paperwork, the police
                reports, no helicopter sent, no rescue, kids going in circles totally
                staged, men with guns in the woods getting grabbed, no names
                released. They deny it went on. Later have to admit it went on but
                say we're not answering questions. I mean, clearly it's a drill, just
                like the Boston bombing. I don't know exactly what's going on, but
                it just -- the official story isn't true. 14

        In a September 25, 2014, broadcast entitled “Connecticut PD Has FBI Falsify Crime
Statistics,” Mr. Jones stated:

                This is not a game. They are hopping mad we're covering this. CNN
                admits they did fake scud attacks on themselves back in 1991, 1990.
                Would they stage this? I don't know. Do penguins live in Antarctica?
                Wolfgang W. Halbig's our guest, former state police officer, then
                worked for the customs department, and then over the last decade's
                created one of the biggest, most successful school safety training
                grips. And he just has gone and investigated, and it's just phony as a
                three-dollar bill… 15

                If you've got a school of 100 kids and then nobody can find them,
                and you've got parents laughing going “Ha, Ha, Ha,” and then they
                walk over to the camera and go (crying), and I mean, not just one,
                but a bunch of parents doing this and then photos of kids that are
                still alive they said die. I mean, they think we're so dumb that it's
                really hidden in plain view, and so the preponderance -- I mean, I
                thought they had some scripting early on to exacerbate and milk the
                crisis as Rahm Emmanuel said, but when you really look at it, where
                are the lawsuits? There would be incredible lawsuits and payouts,
                but there haven't been any filed, nothing. I've never seen this. This
                is incredible. 16




13
   Exhibit A5 - Transcript - 2014-03-14 - Sandy Hook, False Narratives Vs. The Reality (Clip at 26s)
14
   Exhibit A6 - Transcript - 2014-05-13 - Bombshell Sandy Hook Massacre Was A DHS Illusion Says School Safety
Expert (Clip at 17m)
15
   Exhibit A7 - Transcript - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)
16
   Exhibit A8 - Transcript - 2014-09-25 - Connecticut PD Has FBI Falsify Crime Statistics (Clip at 22m)

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      In a December 27, 2014, broadcast entitled “Lawsuit Could Reveal Truth About Sandy
Hook Massacre,” Mr. Jones stated:

                 All I know is I saw Cooper with blue screen out there, green screen.
                 I know I saw the kids doing fake, you know, rotations in and out of
                 the building. They tore it down, all the unprecedented gag orders,
                 you know, the police in anti-terror outfits in the woods. Then they
                 denied that, that had been in the news. I mean, something is being
                 hidden there… 17

                 I said they may have killed real kids, but they're practicing how to
                 propagandize, and how to control the press, and how to put out a
                 product that's a fraud when I just saw the heavy, heavy, heavy
                 scripting. That was what was so clear. And then the parents laughing
                 and then one second later doing the actor breathing to cry. I mean,
                 it just -- it's just over the top. Over the top sick. 18

       In a December 29, 2014, broadcast entitled “America the False Democracy,” Mr. Jones
continued to insist that Sandy Hook was fake:

                 I've had investigators on. I've had the state police have gone public,
                 you name it. The whole thing is a giant hoax. And the problem is
                 how do you deal with a total hoax? I mean it's just -- how do you
                 even convince the public something is a total hoax?

                 The general public doesn't know the school was actually closed the
                 year before. They don't know. They've shielded it all, demolished
                 the building. They don't know that they had their kids going in
                 circles in and out of the building as a photo op. Blue screen, green
                 screens, they got caught using. I mean the whole thing.

                 But remember, this is the same White House that's been caught
                 running the fake Bin Laden raid that's come out and been faked. It's
                 the same White House that got caught running all these other fake
                 events over and over again, and it's the same White House that says
                 I never said that you could keep your doctor when he did say you
                 could keep doctor. People just instinctively know that there's a lot
                 of fraud going on, but it took me about a year with Sandy Hook to
                 come to grips with the fact that the whole thing was fake. I mean,
                 even I couldn't believe it. I knew they jumped on it, used the crisis,
                 hyped it up, but then I did deep research; and my gosh, it just pretty
                 much didn't happen. 19

17
   Exhibit A9 - Transcript - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at 3m08s)
18
   Exhibit A10 - Transcript - 2014-12-27 - Lawsuit Could Reveal Truth About Sandy Hook Massacre (Clip at
4m34s)
19
   Exhibit A11 - Transcript - 2014-12-29 - America the False Democracy (Clip at 11m53s)

                                                      9
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       In a January 13, 2015, broadcast entitled “Why We Accept Gov't Lies,” Mr. Jones
continued his allegations about Sandy Hook. He asserted that the event was “completely fake” and
“manufactured”:

                 You learn the school had been closed and re-opened. And you’ve
                 got video of the kids going in circles, in and out of the building, and
                 they don’t call the rescue choppers for two hours, and then they tear
                 the building down, and seal it. And they get caught using blue-
                 screens, and an email by Bloomberg comes out in a lawsuit, where
                 he’s telling his people get ready in the next 24 hours to capitalize on
                 a shooting.

                 Yeah, so Sandy Hook is a synthetic, completely fake with actors, in
                 my view, manufactured. I couldn’t believe it at first. I knew they had
                 actors there, clearly, but I thought they killed some real kids. And it
                 just shows how bold they are that they clearly used actors. I mean
                 they even ended up using photos of kids killed in mass shootings
                 here in a fake mass shooting in Turkey, or Pakistan. The sky is now
                 the limit. 20

        In a February 12, 2015, broadcast with an unknown title, Mr. Jones continued to repeat his
false claims. Mr. Jones stated, “I know they're using blue screens…There are literally hundreds of
smoking guns here that this thing doesn't add up.” 21

      In a March 4, 2015, broadcast entitled “New Bombshell Sandy Hook Information In-
Bound,” Mr. Jones stated, “We know it stinks. I mean, it's phony. The question is what is going
on. We don't know. We just know it's fake. How fake we don't know. It's sick.” 22

       In a July 7, 2015, broadcast entitled “Government Is Manufacturing Crises,” Mr. Jones
again asserted that Sandy Hook was staged:

                 If they did kill kids, they knew it was coming, stocked the school
                 with kids, killed them, and then had the media there, and that
                 probably didn't even happen. I mean, no wonder we get so many
                 death threats and so much heat and so much other stuff I'm not going
                 to get into, behind the scenes, when we touch Sandy Hook because,
                 folks, it's as phony as a three-dollar bill. 23

      In a July 7, 2015, broadcast entitled “Retired FBI Agent Investigates Sandy Hook Mega
Massive Cover Up,” Mr. Jones repeated a large selection of his prior false claims about Sandy
Hook:

20
   Exhibit A12 - Transcript - 2015-01-13 - Why We Accept Gov't Lies (Clip at 10m36s)
21
   Exhibit A13 - Transcript - 2015-02-12 - InfoWars broadcast relating to HONR copyright claim (Clip at 0m26s)
22
   Exhibit A14 - Transcript - 2015-03-04 - New Bombshell Sandy Hook Information In-Bound (Clip at 32m30s)
23
   Exhibit A15 - Transcript - 2015-07-07 - Government Is Manufacturing Crises (Clip at 32m)

                                                       10
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                No emergency helicopters were sent. The ambulances came an hour
                and a half later and parked down the road. DHS an hour and a half
                later with the time stamp put up signs saying sign in here. They had
                porta-potties being delivered within an hour and a half. It looked like
                a carnival. It looked like a big PR stunt.

                Came out that Bloomberg a day before sent an email out to his gun
                control groups in all 50 states saying, "Prepare to roll, maybe
                operation coming up." That came out in the news.

                We have the emails from city council back and forth and the school
                talking about it being down a year before. We have the school then
                being demolished, and the records being sealed. We have videos that
                look just incredibly suspicious where people are laughing and
                everything, and then they start huffing and puffing and start crying
                on TV, which is pure acting method…

                But I mean, this is just so big. And the more we look at Sandy Hook,
                I don't want to believe it's a false flag. I don't know if kids really got
                killed. But you got green screen with Anderson Cooper where I was
                watching the video and the flowers and plants are blowing in some
                of them, and then they blow again the same way. It's looped, and
                then his nose disappears. I mean, it's fake.

                The whole thing is just -- I don't know what happened. It's kind of
                like if you see a hologram at Disney World in the Haunted House,
                you know. I don't know how they do it, but it's not real. When you
                take your kids to see, you know, the Haunted House and ghosts are
                flying around, they're not real, folks. It's staged. 24

       Mr. Jones also stated, “It’s 101, they’re covering up…This is mega-massive cover-up. My
God.” Mr. Jones stated that the tragedy was “totally made up with green screens, everything. And
we've got them on green screens.” Mr. Jones stated, “That's how evil these people are is that they
can have CNN involved, all these people.” 25

        In a November 18, 2016, broadcast entitled “Alex Jones Final Statement on Sandy Hook,”
Mr. Jones directly addressed the growing public controversy caused by his statements. In doing
so, he began by repeating the numerous false claims he has made over the years.

                Number one, the day before this tragic event happened an email was
                sent out by Bloomberg's anti-gun group saying prepare for a big

24
   Exhibit A16 - Transcript - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up
(Clip 0-5m)
25
   Exhibit A17 - Transcript - 2015-07-07 - Retired FBI Agent Investigates Sandy Hook Mega Massive Cover Up
(Clip at 9m40s)

                                                     11
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                    event. But the biggest piece of evidence, the smoking gun, if you
                    would, of a cover-up, of whatever really happened is the Wayback
                    Machine, the internet archive. We see Sandy Hook's Newtown
                    website K through 12 having zero traffic 2008, '09, '10, '11, '12, and
                    then all of a sudden it just explodes. It's impossible to have zero
                    traffic to a K through 12 entire school system. And the word is that
                    school system was shut down for those years. That's what the
                    records show. They tell us it was open…

                    And early on, that day we watched footage of kids going in circles
                    in and out of the building. You'd be running them away from the
                    building. Emergency helicopters weren't called. Instead port-potties
                    were prepared for the press within hours of the event. I saw the
                    helicopters that did respond, the police helicopters saying that there
                    were men or a man in the woods in camouflage…

                    And then I saw Anderson Cooper -- I've been in TV for 20-
                    something years; I know a blue screen or a green screen -- turn, and
                    his nose disappears. Then I saw clearly that they were using footage
                    on the green screen looped because it would show flowers and other
                    things during other broadcasts that were moving and then basically
                    cutting to the same piece of footage…

                    Then we see footage of one of the reported fathers of the victims,
                    Robby Parker, doing classic acting training where he's laughing and
                    joking. And they say, hey, we're live, and he goes, oh. [Jones mock
                    cries]. And maybe that's real. I'm sure it is.

                    But you add it to all the other things that were happening and all the
                    other fake news the media has been caught in, and CNN back in
                    1991 openly faking scud missile attacks on Saudi Arabia and Israel
                    when they were back in Atlanta; and the satellite feeds caught them
                    admitting that it was all fake. We'd be crazy not to question this
                    because bare minimum they were faking some of the shots and some
                    of the coverage.

                    So to be clear, we point out clear chroma key, also known as blue
                    screen or green screen being used, and we're demonized. We point
                    out they're clearly doing fake interviews. 26

        In other words, Mr. Jones used his false claims as proof that the truth about Sandy Hook
was being artificially manipulated. In a chilling finale, Mr. Jones told his audience that the parents
were actors:



26
     Exhibit A18 - Transcript - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 4m59s)

                                                         12
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                And why should anybody fear an investigation if they have nothing
                to hide. In fact, isn't that in Shakespeare's Hamlet, “me thinks you
                protest too much."

                But this particular case they are so scared of an investigation. So
                everything they do basically ends up blowing up in their face. So
                you guys are going to get what you want now. I'm going to start
                reinvestigating Sandy Hook and everything else that happened with
                it…

                And so if children were lost in Sandy Hook, my heart goes out to
                each and every one of those parents and the people that say they're
                parents that I see on the news. The only problem is I've watched a
                lot of soap operas, and I've seen actors before. And I know when I'm
                watching a movie and when I'm watching something real. 27

         On April 22, 2017, InfoWars aired the “Sandy Hook Vampires Exposed” broadcast, which
is the subject of a separate lawsuit brought by Leonard Pozner and Veronique De La Rosa. During
that video, InfoWars once again made the false accusation that Ms. De La Rosa conducted a fake
interview with Anderson Cooper as evidence of a conspiracy to cover up the truth about Sandy
Hook.

        On June 13, 2017, Mr. Jones stated in a Facebook video that “there's been a cover-up, and
Anderson Cooper got caught faking where his location was with blue screen.” 28 On June 19, 2017,
Mr. Jones appeared for an interview with Megyn Kelly. During this interview, Mr. Jones continued
to insist there had been a cover-up. While he waffled on whether he now believed children were
killed, he did not abandon his accusations about a cover-up. Mr. Jones claimed it was suspicious
that the children’s autopsy records were not released to the public, and he again claimed to have
seen video of kids going in circles in and out of Sandy Hook Elementary. Mr. Jones stated, “I do
think there's some cover-up and some manipulation.” 29

       In an October 26, 2017, broadcast entitled “JFK Assassination Documents To DROP
Tonight,” Mr. Jones again returned to the subject of Sandy Hook. In this broadcast, he repeated
his accusation that “it's as phony as a three-dollar bill with CNN doing fake newscasts, with blue
screens.” 30

        B.      The reasonable meaning of InfoWars’ June 26, 2017 Video.

       Before publishing, journalists must evaluate how their story will be received by the public.
The editorial process includes an analysis of how ordinary readers of average intelligence will
understand and interpret the story. During my years in newspaper journalism, I gained extensive

27
   Exhibit A19 - Transcript - 2016-11-18 - Alex Jones Final Statement on Sandy Hook (Clip at 15m22s)
28
   Exhibit A20 - Transcript - 2017-06-13 - Media Refuses To Report Alex Jones’ Real Statements On Sandy Hook
(Clip at 14m)
29
   Exhibit A21 - Transcript - 2017-06-19 - Megyn Kelly Profile (Clip at 7m55s)
30
   Exhibit A22 - Transcript - 2017-10-26 - JFK Assassination Documents To DROP Tonight (Clip at 1h13m30s)

                                                     13
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expertise in assessing the reasonable meanings of a text. As editor, I routinely applied this expertise
in an effort to avoid creating a misimpression among our readership. In this case, I likewise
analyzed the publication to determine what meaning could be reasonably understood by a person
of average intelligence.

        It is my opinion that a person of ordinary intelligence would understand the June 26, 2017,
video as an accusation that Mr. Heslin was lying about the circumstances of his son’s death.
Unquestionably, the gist of the video is that Mr. Heslin’s claim of holding his son was not possible.
InfoWars used a deceptively edited clip of Lynn McDonnel to convince it viewers that she was
not allowed to see her child’s body. It also used an out-of-context clip of Dr. Carver to convince
viewers that parents were only allowed to see photographs of their dead children. These actions
were aimed at manufacturing a controversy where none existed.

        Moreover, the allegation against Mr. Heslin was merely the latest part of a calculated five-
year campaign to convince InfoWars’ viewers that the Sandy Hook massacre was staged and that
the parents were actors in a “false flag” event. In the context of this five-year course of harassment
and deception, it is clear that a reasonable person could understand InfoWars to be implying that
Mr. Heslin’s “impossible” claim about holding his alleged son is evidence that he was an actor in
the “false flag” and not a real parent. As such, a reasonable viewer could understand that the video
ultimately accuses Mr. Heslin of criminal conduct, such as falsifying a police report or fraud.

        Not only is it my opinion that these statements could be understood in this manner, but
there is ample evidence that InfoWars’ statements were indeed understood in this manner by the
public at large. The nature of InfoWars’ statements about Sandy Hook have been widely reported
in the media. The national outrage created by the unmistakable meaning of Mr. Jones’ statements
about Sandy Hook is well documented. In an April 19, 2018, editorial entitled “Thank You for
Suing Alex Jones,” the Hartford Courant editorial board wrote:

                Alex Jones and his website Infowars offer the worst kind of free
                speech — incendiary malice, based in falsehood, with no social
                value…They claim the Sandy Hook parents are actors. They claim
                the children never existed. They weave wild conspiracies from thin
                air. They have no regard for human suffering. 31

       The New York Daily News Editorial Board wrote about Jones’ statements in an editorial
on April 17, 2018, entitled “Defamed by the devil: Sandy Hook parents take on Alex Jones’ lies.”
The Board wrote:

                All decent people should cheer on Leonard Pozner, Veronique De
                La Rosa and Neil Heslin…for filing a defamation lawsuit in Texas
                court against Alex Jones. As a radio show host and the grand poobah
                of Infowars.com, Jones has peddled wretched whole-cloth lies about



31
  http://www.courant.com/g00/opinion/editorials/hc-ed-alex-jones-sandy-hook-hoax-lawsuit-20180417-
story.html?i10c.encReferrer=&i10c.ua=1&i10c.dv=14

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                 the 2012 Newtown massacre: that it was all a hoax, that the victims
                 and their mourning mothers and fathers are actors. 32

       In short, nobody who has been paying attention to InfoWars has any doubt about the
meaning of its claims. InfoWars’ statements about Mr. Heslin are the latest part of its years-long
campaign to convince Mr. Jones’ viewers that the events of Sandy Hook should not be believed.
Given the persistence of the Sandy Hook hoax conspiracy online, it is clear that many of Mr. Jones’
followers have accepted his allegations as true. A 2016 poll conducted by Fairleigh Dickinson
University found that 24 percent of Americans believe Sandy Hook was either “definitely” or
“possibly” faked. 33

        Additionally, it is clear from my review that InfoWars’ statements would be reasonably
understood as assertions of fact, not opinions. Mr. Shroyer did not equivocate in his statements
about Mr. Heslin. Mr. Shroyer claimed Mr. Heslin’s statement about holding his son was “not
possible.” He also referenced the involvement of unspecified “fact-checkers,” which obviously
signals an assertion of fact, not an opinion. It is my conclusion that that InfoWars’ 2017 statements
about Mr. Heslin would tend to injure his reputation, impeach his honesty and integrity and expose
him to contempt or ridicule.

2.      InfoWars’ accusations about Mr. Heslin were made with reckless disregard for truth.

        I have reviewed materials which lead me to believe that InfoWars demonstrated a reckless
disregard for truth. It is my opinion that InfoWars not only had serious doubts about the truth of
their 2017 statements about Mr. Heslin, but that they were motivated by a desire to mislead and
deceive.

        A.       InfoWars’ accusations were inherently improbable and manufactured using
                 edited out-of-context footage.

        Mr. Shroyer’s statements about Mr. Heslin were farfetched and shocking on their face. It
required an extraordinary level of verification before being repeatedly stated as fact. Yet it is clear
that InfoWars not only performed no verification, but also used edited source material in a
misleading way. Both are serious departures from standard journalism practice. 34 For example,
there is a full copy of Dr. Carver’s interview posted on YouTube, 35 and portions of the interview
show that Mr. Shroyer has edited out a small part to create the impression that the parents were
not allowed access to their children. Dr. Carver clearly stated that at the time of his interview, the
bodies had been released to private funeral homes on behalf of the families. Mr. Shroyer used the
same dishonest tactic to edit a portion of an interview with Sandy Hook parents Chris and Lynn
McDonnel. Mr. Shroyer cut off the end of Ms. McDonnel’s answer to make it appear that she was
not allowed to see her daughter’s body. A full copy of the transcript shows that Ms. McDonnel

32
   http://www.nydailynews.com/opinion/defamed-devil-sandy-hook-parents-alex-jones-lies-article-1.3939094
33
   https://view2.fdu.edu/publicmind/2016/161011/
34
   See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Take
responsibility…”, Provide context…” and “Never deliberately distort…”
35
   https://www.youtube.com/watch?v=k3NS1lLo6As

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had the opportunity to see her daughter’s body. 36 Mr. Shroyer was only able to support his bogus
accusations by using deceptively edited footage.

       Serious claims require serious evidence. Here, Mr. Shroyer used sham evidence. Not only
did InfoWars ignore basic precautions taken by journalists, but it intentionally distorted the
evidence in a malicious way to attack and retaliate against Mr. Heslin.

        B.      InfoWars relied upon dubious and unhinged sources.

        As noted above, Mr. Shroyer began the video by referencing a post on an anonymous blog
known as “Zero Hedge.” It appears that Mr. Shroyer aired his segment within hours of seeing the
Zero Hedge blog post. It does not appear that Mr. Shroyer did anything to investigate the author
behind the anonymous post. Given the seriousness of the accusations, Mr. Shroyer acted recklessly
and in a manner contrary to standard journalism practice 37 by hastily endorsing the accusations of
this anonymous author.

        In addition, the Zero Hedge article cites accusations made by an individual named Jim
Fetzer. In its Motion to Dismiss, InfoWars described Mr. Fetzer with an air of respectability,
referring to him as “Professor Emeritus of the University of Minnesota.” In truth, the retired
professor has long been understood to be an unhinged crank. I do not use these terms lightly. Mr.
Fetzer, author of the disturbingly titled self-published book “Nobody Died at Sandy Hook” 38 has
spent years spreading ridiculous and bizarre claims about the event. For example, Mr. Fetzer is
convinced that Sandy Hook parent Leonard Pozner is actually a different man named Reuben
Vabner. Mr. Fetzer wrote:

                Do not let the difference in Reuben and Lenny’s ears fool you: they
                are still lopsided in the same direction even though the tops are
                bigger on Lenny, which we take to be one of the means they faked
                to deny they are the same. Fotoforensics demonstrates to anyone
                interested that Lenny’s ears were extended at the tips. His chin was
                fattened up as well, which you can also see in photo forensics. Take
                away the ear tips and the double chin and you have Reuben
                Vabner. 39

       Mr. Fetzer also posts his purported “photo forensics” which he claims prove that Mr.
Pozner is actually Mr. Vabner:




36
    http://transcripts.cnn.com/TRANSCRIPTS/1212/18/acd.02.html
37
    See Society of Professional Journalists Code of Ethics, at https://www.spj.org/ethicscode.asp; esp. “Take
responsibility….” and “Identify sources…”
38
   https://books.google.com/books/about/Nobody_Died_at_Sandy_Hook.html?id=DH8cjwEACAAJ&source=kp_bo
ok_description
39
    http://jamesfetzer.blogspot.com/2018/06/philip-kraske-sandy-hook-alex-jones.html

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         Mr. Fetzer’s bizarre writings feature notably anti-Semitic rants about Mr. Pozner, who he
insists is part of some international Jewish conspiracy:

               Pozner is the true picture of a traitor that has sold out his fellow man.
               He is a banker/financial consultant and an NWO shill that seems to
               have no remorse for lying and stealing everyone’s donations. Not to
               mention the trauma our people in the U.S. have endured since 9/11.

               Oh I know it’s nothing like the Zionists say they went through
               during their years in the wilderness. Especially, since they are so
               much better than us and why Leonard Pozner thinks this is all ok to
               do. 41

       Mr. Fetzer is obsessed with the notion of faked identifies, and he makes similar accusations
about the shooting victims, posting photo comparisons which he claims prove that the photos of
children are actually adults:




40
     Id.
41
     Id.

                                                  17
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       Mr. Fetzer tells his readers that he has located a photograph containing the female shooting
victims, who are now allegedly adolescents:




                                                                                          43




42
     Id.
43
     Id.

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       Mr. Fetzer has claimed, with no evidence, that the death certificates for shooting victims
have been faked and that a shooting victim’s gravestone was actually a computer-generated
graphic. 44 In short, no rational journalist would ever rely on Mr. Fetzer as a source for anything,
especially an allegation as improbable and serious as accusing a parent of lying about holding their
dead child. InfoWars’ uncritical endorsement of accusations being promoted by Mr. Fetzer
demonstrates its reckless and deceptive conduct.

        C.       InfoWars has a long history of making false statements about Sandy Hook.

        InfoWars has made wild claims about the Sandy Hook massacre from the beginning.
InfoWars suggested the event was a “false flag” on the day on the shooting 45, and InfoWars
explicitly made that claim over the next five years. The accusation about Mr. Heslin is simply the
latest element of InfoWars’ claim that the official story of Sandy Hook was a lie. He has
continually repeated these falsehoods over the course of five years. Countless individuals and
media organizations have thoroughly debunked each of InfoWars’ claims over the years.
Nonetheless, InfoWars has persisted in this malicious campaign.

       As part of my evaluation in this case, I reviewed video clips from over twenty InfoWars’
broadcasts between 2013-2016, all of which discuss the alleged conspiracy behind Sandy Hook.
In the videos I reviewed, InfoWars made a variety of factual allegations which are readily
disproved by basic journalistic efforts. The various claims made by Jones have been debunked
from numerous groups and individuals using a wide variety of sources in the public record.

         InfoWars had ample opportunity to investigate the accuracy of its assertions. It has devoted
an enormous amount of airtime to the tragedy, with videos and articles making extreme assertions
years after the event. Given the enormous public attention and outcry over InfoWars’ allegations,
I find it unlikely that InfoWars researchers could have avoided the widespread debunking efforts
unless they were doing so intentionally. It is my opinion that any reasonable journalist who
continued to publish these claims in 2017 would entertain serious doubts about the truth of their
statements and that they would be acting with a desire to mislead their audience.

        D.       InfoWars has a long history of recklessly claiming that national tragedies were
                 staged by the government.

        Mr. Jones’ rise to notoriety coincided with his assertions that the 9/11 terror attacks were
orchestrated by the U.S. government. InfoWars’ current promotional materials boast that “Alex
Jones is considered by many to be the grandfather of what has come to be known as the 9/11 Truth
Movement.” 46 Regarding the shooting at Columbine High School, Jones told his audience,
“Columbine, we know was a false flag. I’d say 100 percent false flag.” 47 Jones claimed that

44
   Id.
45
   Exhibit A23 - Transcript - 2012-12-14 - Connecticut School Massacre Looks Like False Flag Says Witnesses
(Clip at 9m30)
46
   Free Speech Systems, LLC Media Kit, p. 1.
47
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51244/gcn-alexjones-20120720-columbinefalseflag

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Columbine “had globalist operations written all over it.” 48 Regarding the Oklahoma City bombing,
Jones said the bombing was a “false flag” and that “we’ve never had one so open and shut.” He
added that convicted bomber Timothy McVeigh “was a patsy, that was a staged event.” 49

        Mere hours after James Holmes killed twelve people in a movie theater in Aurora,
Colorado, Jones told his audience that there was a “100 percent chance” the shooting was a “false
flag, mind control event.” 50

       After the shooting of Rep. Gabrielle Giffords, Jones stated: “The whole thing stinks to high
heaven.” 51 Mr. Jones asserted that the Giffords shooting was “a staged mind-control operation.”

        An April 18, 2013, headline on the InfoWars website read “Proof Boston Marathon
Bombing Is False Flag Cover-Up.” 52 A week later, Mr. Jones stated on his broadcast, “I have never
seen a false flag, provocateured, staged event by a government come apart faster than it is right
now.” 53 Jones said that “patsies were set up” after being recruited by “globalist intelligence
agencies.” 54 Jones claimed that Dzhokhar Tsarnaev, who was convicted of the Boston Marathon
bombing, “was totally set up, ladies and gentlemen, to sell the police state,” and that his brother
worked for the CIA. 55

       Mr. Jones made similar accusations about the Douglas High School shooting in Parkland,
Florida, claiming a 90 percent probability that it was a false flag:




48
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51241/gcn-alexjones-20120720-columbine
49
   The Alex Jones Show, April 19, 2015, video available at:
https://www.mediamatters.org/embed/clips/2016/11/21/51199/youtube-jones-20150419-okc
50
   The Alex Jones Show, July 20, 2012, video available at:
https://www.mediamatters.org/embed/clips/2016/11/23/51243/gcn-alexjones-20120720-100
51
   Interview with Rolling Stone, March 2, 2011, available at:
http://www.rollingstone.com/politics/news/talk-radios-alex-jones-the-most-paranoid-man-in-america-20110302
52
   http://www.infowars.com/proof-boston-marathon-bombing-is-staged-terror-attack/
53
   The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51269/youtube-alexjones-20130426-staged
54
   The Alex Jones Show, April 26, 2013, available at:
https://www.mediamatters.org/embed/clips/2016/11/29/51271/youtube-alexjones-20130426-boston
55
   The Alex Jones Show, April 8, 2015. Available at:
http://mediamatters.org/video/2015/04/08/rand-pauls-ally-alex-jones-boston-marathon-bomb/203215


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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         ZERO HEDGE DISCOVERS ANOMALY IN ALEX JONES HIT PIECE

  10                                  JUNE 26, 2017

  11                                   FULL SEGMENT

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    1               MR. SHROYER:     So, folks, now here's another story.

    2   You know, I don't even know if Alex knows about this, to be

    3   honest with you.      Alex if you're listening and you want to --

    4   or if you just want to know what's going on, Zero Hedge has

    5   just published a story, "Megyn Kelly fails to fact-check

    6   Sandy Hook's -- Sandy Hook father's contradictory claim in

    7   Alex Jones Hit Piece."

    8               Now, again, this broke -- I think it broke today.

    9   I don't know what time.        But featured in Megyn Kelly's

  10    expose, Neil Heslin, a father of one of the victims, during

  11    the interview described what happened the day of the

  12    shooting, and basically what he said -- the statement he

  13    made, fact checkers on this have said cannot be accurate.

  14    He's claiming that he held his son and saw the bullet hole in

  15    his head.    That is his claim.

  16                Now, according to a timeline of events and a

  17    coroner's testimony, that is not possible.            And so one must

  18    look at Megyn Kelly and say, Megyn, I think it's time for you

  19    to explain this contradiction in the narrative because this

  20    is only going to fuel the conspiracy theory that you're

  21    trying to put out, in fact.

  22                So -- and here's the thing too, you would remember

  23    -- let me see how long these clips are.            You would remember

  24    if you held your dead kid in your hands with a bullet hole.

  25    That's not something that you would just misspeak on.
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    1               So let's role the clip first, Neil Heslin telling

    2   Megyn Kelly of his experience with his kid.

    3               (Video played - not transcribed)

    4               Okay.    So making a pretty extreme claim that would

    5   be a very thing, vivid in your memory, holding his dead

    6   child.

    7               Now, here is an account from the coroner that does

    8   not corroborate with that narrative.

    9               (Video played - not transcribed)

  10                Okay.    So just another question that people are now

  11    going to be asking about Sandy Hook.           The conspiracy

  12    theorists on the internet out there that have a lot of

  13    questions that are yet to get answered.            I mean, you can say

  14    whatever you want about the event.          That's just a fact.        So

  15    there's another one.       Will there be a clarification from

  16    Heslin or Megyn Kelly?       I wouldn't hold your breath.          So now

  17    they're fueling the conspiracy theory claims.             Unbelievable.

  18                We'll be back with more.

  19                (Segment ended)

  20                (Commercial - not transcribed)

  21                (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

    2    I certify that the foregoing is a true and accurate

    3    transcript of the digital recording provided to me in this

    4    matter.

    5          I do further certify that I am neither a relative, nor

    6    employee, nor attorney of any of the parties to this

    7    action, and that I am not financially interested in the

    8    action.

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  11                                          ____________________________

  12                                            Julie Thompson, CET-1036

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   4       CONNECTICUT MASSACRE SHOOTING

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   8    TRANSCRIPT OF INFOWARS BROADCAST

   9 LOOKS LIKE FALSE FLAG SAYS WITNESSES

  10              DECEMBER 14, 2012

  11                CLIP AT 9M 30S

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   1                MR. JONES:     ... with all sorts of information on
   2   this subject.        But get ahold of your cousin when she settles
   3   down and get her to talk to us for any other information.                   We
   4   need to know: were there any drills that day or the day
   5   before?     Does she have anything about other shooters, or was
   6   it that she never saw the shooters?
   7                UNIDENTIFIED CALLER:         Well, I had asked them if it
   8   was supposedly too -- because they have a lot of security at
   9   that school.     You have to ring a doorbell in order to get
  10   into the school.
  11                MR. JONES:     Yeah, of course.          Which is another side
  12   of that.     Yeah.     It's one of these federal model schools.
  13                UNIDENTIFIED CALLER:         The thing that just scared
  14   the daylights out of me -- I had to call right away -- is I
  15   asked them, "Did they ever train for this?"                And my uncle
  16   said, "Yes."     Within this school year, since September, they
  17   have trained for incidents like this.
  18                MR. JONES:     Well, that in and of itself isn't proof
  19   of it, but they could use a drill to then bring in a patsy.
  20   It could just be a Prozac head.            We'll find out.      God bless
  21   you, sir.     I appreciate your call.             Stay in contact.
  22                We're going to go to Rob who says email --
  23                (END OF AUDIO FILE)
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   1                   CERTIFICATE OF TRANSCRIPTIONIST
   2   I certify that the foregoing is a true and accurate
   3   transcript of the digital recording provided to me in this
   4   matter.
   5        I do further certify that I am neither a relative, nor
   6   employee, nor attorney of any of the parties to this
   7   action, and that I am not financially interested in the
   8   action.
   9

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  12                                      Julie Thompson, CET-1036
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   4       CONNECTICUT MASSACRE SHOOTING

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   8    TRANSCRIPT OF INFOWARS BROADCAST

   9 WHY PEOPLE THINK SANDY HOOK IS A HOAX

  10              JANUARY 27, 2013

  11                CLIP AT 1M 12S

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   1                MR. JONES:   Now again, in the last month and a half
   2   I have not come out and said that this was clearly a staged
   3   event.    Unfortunately, evidence is beginning to come out that
   4   points more and more in that direction, and we're going to
   5   show you that information in a moment.
   6                Now, a lot of the tens of millions of video views
   7   on YouTube concerning the Sandy Hook hoax surrounds CNN and
   8   what appears to be people who have been coached, people who
   9   have been given cue cards, people who are behaving like
  10   actors.    And we see CNN criticizing all the witnesses from
  11   the helicopter, and the news crews, and witnesses, adults,
  12   that saw multiple people being detained who were in camo.
  13   We're told, oh, those are five-year-olds saying that.        It's a
  14   conspiracy theory, when it's not five-year-olds saying that.
  15   It's adults.     It's police admitting that "police officers"
  16   were arrested from other jurisdictions creeping around in the
  17   woods.
  18                Something serious is going on here, and CNN over
  19   and over again is at the heart of the fishy things that are
  20   happening.
  21                Now, remember, in 1990-1991 when the Gulf War
  22   started, CNN would send out their raw feeds to their news
  23   affiliates, and on it there was clear blue screens on top of
  24   the roof of CNN Center in Atlanta with their top reporters
  25   claiming they were in Israel under sarin nerve gas attack




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   1   from scuds.   And later they had to admit, quietly -- this is
   2   on record; we're going to show you some clips -- that indeed
   3   they were in Atlanta, Georgia, and that they were not being
   4   attacked by scud missiles with sarin gas.
   5             CBS News got caught scripting videos as well, and
   6   there's a lot of examples of this.
   7             (END OF AUDIO FILE)
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   1                   CERTIFICATE OF TRANSCRIPTIONIST
   2   I certify that the foregoing is a true and accurate
   3   transcript of the digital recording provided to me in this
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  12                                      Julie Thompson, CET-1036
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   4    CONNECTICUT MASSACRE SHOOTING

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   8 TRANSCRIPT OF INFOWARS BROADCAST

   9   SHADOW GOVERNMENT STRIKES AGAIN

  10             APRIL 16, 2013

  11             CLIP AT 13M 20S

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   1                MR. JONES:    Let's -- and again, there's maybe a 5
   2   percent chance out of 100 that this could be real Muslim
   3   terrorists, or I guess there could be some domestic group
   4   freaked out that would go stage this.
   5                To be clear, I've never seen an Easter Bunny, but
   6   some say it's real.       To be clear, I've never seen Santa
   7   Claus.    Some say it's real.       Never seen a unicorn.     Some say
   8   it's real.     Now, I don't think it exists, but it may.
   9                Same thing with domestic terror groups.         I mean,
  10   I've interviewed the cops and the people that saw the feds
  11   plant the bombs in Oklahoma City.            You saw them stage Fast
  12   and Furious.     Folks, they staged Aurora.         They staged Sandy
  13   Hook.     The evidence is just overwhelming, and that's why I'm
  14   so desperate and freaked out.          This is not fun, you know,
  15   getting up here telling you this.            Somebody has got to tell
  16   you the truth.     Somebody has got to stand against these
  17   people.     Somebody has got to do it.
  18                And I just hope everybody that is watching out
  19   there that serves the system, who thinks they're going to get
  20   away with all this, I hope you understand that you're not
  21   going to get away with this.          You get rid of our checks and
  22   balances, our protections, you're going to lose yours as
  23   well.
  24                And you want to throw your children out in the
  25   cold.     You think you're cold-blooded.         You think you're a




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    1   winner doing stuff like this.                   You're not.
    2                 (END OF AUDIO FILE)
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  12                                      Julie Thompson, CET-1036
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   4             CONNECTICUT MASSACRE SHOOTING

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   8           TRANSCRIPT OF INFOWARS BROADCAST

   9 SANDY HOOK, FALSE NARRATIVES VERSUS THE REALITY

  10                      MARCH 14, 2014

  11                        CLIP AT 26S

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   1                MR. JONES:     ...major universities he's consulted
   2   for.     I mean, he's a top consultant, long career as a state
   3   police officer in Miami, Florida.             If you're just joining us,
   4   he's been in customs, and then he got into being an educator
   5   and then security.        And he's looking at it and dissecting it
   6   like everybody else did.
   7                I mean, folks, we've got video of Anderson Cooper
   8   with clear blue screen out there.             He's not there in the town
   9   square.     We've got people clearly coming up and laughing and
  10   then doing the fake crying.          We've clearly got people where
  11   it's actors playing different parts of different people, the
  12   building bulldozed, covering up everything.             Adam Lanza
  13   trying to get guns five times we're told.             The witnesses, you
  14   know, not saying it was him.           People out in the woods.
  15                But we've got the investigator here, Wolfgang W.
  16   Halbig.     I'm going to give you the floor, sir.          Go over your
  17   16 points, the problems, the issues, and break down what you
  18   believe is a total hoax.
  19                I've looked at it, and undoubtedly there's a cover-
  20   up.    There's actors.      They're manipulating.       They've been
  21   caught lying, and they were preplanning before it and rolled
  22   out with it.     So clearly I agree with you that something is
  23   rotten under the floorboard.           But is it a possum, or is it a
  24   human?
  25                Well, regardless, they're not letting a good crisis




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   1   go to waste.   But you're the expert.        Break it down for us.
   2              (END OF AUDIO FILE)
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  12                                      Julie Thompson, CET-1036
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9           BOMBSHELL SANDY HOOK MASSACRE WAS A DHS ILLUSION

  10                          SAYS SCHOOL SAFETY EXPERT

  11                                   MAY 13, 2014

  12                                   CLIP AT 17M

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    1               MR. JONES:     They don't even hide this stuff,

    2   ladies and gentlemen.       Anderson Cooper, CIA, up there, who

    3   cares if it's blue screen.        Just like CNN -- I'm going back

    4   to our guest. Just like CNN back there in the first Gulf

    5   War was at the broadcast center in Atlanta on top of a roof

    6   with a blue screen behind them saying they were in Riyadh,

    7   Saudi Arabia, and Israel different days being hit by nerve

    8   gas.   And then they went on air for parts of it with the

    9   blue screen not even turned on with blue behind them.

  10                And then there were live feeds back in that day.

  11    Remember the whole thing where David Letterman was getting

  12    mad that people could tape his show as it was being taped

  13    and sent over, same thing with Jay Leno.            Same thing was

  14    happening with Johnny Carson before he retired because they

  15    would tape it during the day and then beam it back to New

  16    York to be edited.      Well, it's the same deal.

  17                CNN was sending that raw feed out all over the

  18    world, and people knew how to descramble them and get them.

  19    And it's on record that CNN did fake scud missile attack

  20    videos.    So they've done it over and over again.

  21                We've got Wolfgang here with us.          Sir, I'm going

  22    to give you about three minutes to make any other points

  23    that you didn't make to the school board.            Then we're going

  24    to play a special report that aired actually last Friday of

  25    you in there talking to them.         I didn't know the video was
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    1   actually out or had been on the nightly news.             I missed

    2   Friday's show.     I usually watch it almost every night, but

    3   I missed that one.      I was with family.

    4               But, look, let's say you got three minutes in a

    5   nutshell of what's going on here to the layperson out there

    6   as a school safety expert, renowned nationally, Mr. Halbig,

    7   of what really happened here.         And then what you would say

    8   to that school board?

    9               MR. HALBIG:     Well, the first thing I got to say

  10    before I get into that is that thank God I've had 67 great

  11    years of great life.       I got a beautiful family.         You know,

  12    I mean, I'm getting threats all the time.            I got some crazy

  13    people out there, you know.         They're attacking my wife.

  14    They're attacking me and everything else.

  15                But you know what, all they have to do is answer

  16    16 simple questions.       You and I wouldn't even be talking

  17    today.    It's just -- it's unheard of, okay.           And I think

  18    the school board members and the superintendent, they have

  19    a responsibility of telling the truth.

  20                Alex, there's no -- I cannot believe that a

  21    public school system -- and you know, when you look at the

  22    school itself, when you look at Sandy Hook, it is a filthy

  23    school.    That's what I wanted to talk to the school board

  24    members about.     It is a toxic waste dump.         When you look at

  25    the data -- and here's what they didn't realize.              They put
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    1   it in their own newspaper before they demolished it.               Sandy

    2   Hook had the highest level of lead paint throughout the

    3   entire school.     Sandy Hook had the highest level of

    4   asbestos in the ceiling tiles and the ceiling floors.               It

    5   had the highest level of PCP, and the ground water is

    6   contaminated.

    7               Now, here's the question: Connecticut law

    8   requires that every parent must be notified of those

    9   hazardous chemicals because they have serious health

  10    effects on children which may not be seen until five years

  11    later.   Now, why would any parent -- why would those 18 of

  12    the 20 parents that moved into Newtown in 2009 enroll their

  13    child in a school with all those hazardous chemicals?

  14    Parents just don't that.        They don't expose their little

  15    children to chemical hazards.

  16                MR. JONES:     Well, let me just stop you.         As an

  17    investigator, kind of like they got Al Capone for tax

  18    evasion, not for all the murders or money laundering.

  19    You're looking at how they don't any of the standard stuff,

  20    the paperwork, the police reports, no helicopter sent, no

  21    rescue, kids going in circles totally staged, men with guns

  22    in the woods getting grabbed, no names released.              They deny

  23    it went on.     Later have to admit it went on but say we're

  24    not answering questions.        I mean, clearly it's a drill,

  25    just like the Boston bombing.
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    1               I don't know exactly what's going on, but it just

    2   -- the official story isn't true.          And again, I've read a

    3   lot of criminology.       I'm not -- you know, I'm not a cop,

    4   but I've studied a lot of it.         And just from a lay media

    5   investigative journalist perspective, something is rotten

    6   here, and then you see it duplicated over and over again.

    7               What's your bottom line?        What do you think

    8   really happened at Sandy Hook?         People could see your 16

    9   questions at Sandyhookjustice.com.          And we just salute your

  10    will to go up there and have eight police car blocks you at

  11    the United Way and have them shut you down at the school

  12    board, at the commission.        But bottom line, what do you, as

  13    an almost 40-year, you know, investigator, police officer,

  14    you name it -- what do you think is happening here?

  15                MR. HALBIG:     Well, until they answer those

  16    questions, I can tell you children did not die.              Teachers

  17    did not die on December 14, 2012.          It just could not have

  18    happened, and it's in their words.          It's not what Wolfgang

  19    thinks, or it's just my opinion.          It's what they say.

  20                I mean, their own words actually show that it

  21    could not have happened.        Who declares 27 people legally

  22    dead within 8 minutes?       Nobody does that.       Who has a 99.9

  23    percent kill rate shooting children in a school within 8

  24    minutes?    There isn't an FBI agent, there isn't a Navy Seal

  25    that's, that good of a shot within eight minutes and then
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    1   kill himself.     I mean, that's reasonable doubt.           I mean,

    2   that in itself is reasonable doubt to show that --

    3                MR. JONES:    That's right.

    4                MR. HALBIG:    -- Adam Lanza could not have done

    5   that.   I mean, he's an autistic child.          He's got

    6   Asperger's.     Alex, nobody has a 99.9 percent kill rate, not

    7   even the New York Police Department.

    8                MR. JONES:    But he's a perfect cutout.         And for

    9   those that don't know, the reason that is, even if you're

  10    shooting people point blank in the head, the bullets change

  11    direction.    They go different directions, and I mean, a lot

  12    of times I've shot a wild hog, a deer, you name it, and the

  13    bullet deflects off, even if you hit them broad side.

  14    Sometimes it just deflects through.           You don't get 99.99

  15    kill rates.     It's just incredibly hard to do.

  16                 MR. HALBIG:    It is.    And you know -- and the

  17    thing that -- people, they haven't had time to read that

  18    7000 page report that was put out by Steven Sedensky, who

  19    is the state attorney in Danbury, Connecticut.

  20                 Even the Governor's own commission -- Alex, the

  21    Governor's own handpicked Sandy Hook Advisory Commission

  22    calls this 7000-page report the biggest data dump that

  23    they've ever seen.      Now, this is his handpicked commission,

  24    and it's redacted.      This is a commission who is supposed to

  25    read it, study it, and come up with recommendations, and
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    1   they get a redacted report.         Now, what does that tell us?

    2               MR. JONES:     Well, everybody's compartmentalized,

    3   and everybody is just playing along with the peer pressure.

    4               MR. HALBIG:     Yes, there are.

    5               MR. JONES:     Just like the police officers on

    6   9/11, you know, were told get back.           They're going to blow

    7   up building 7.

    8               MR. HALBIG:     Yeah.

    9               MR. JONES:     It's on video.      I heard it on CNN.

  10    Heard it on CBS News.       Have the video.      The cops saying,

  11    "Get back; they're blowing it up."

  12                I'm not saying the cops blew it up.           I've

  13    interviewed the police officers on this show that are on

  14    CNN saying, "Get back.       They're going to blow it up."          And

  15    they said, "No.      We were told on the radio they're going to

  16    blow up Building 7.       Get back."

  17                And there was a countdown on the Red Cross radio.

  18    They were running it, and again, they used United Way Red

  19    Cross as the CIA cutouts.        If you look that up, that's

  20    mainstream news.      And they were there telling the cops what

  21    to do that afternoon.       Incredible.     And they're there,

  22    hearing the countdown.

  23                I've interviewed not one but two.           One of them

  24    was an EMT, the other a cop.         And, boy, did they get

  25    threatened over it.       They wouldn't even do more interviews
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    1   after it.    And they go, "No.       We heard the countdown."        And

    2   the Red Cross guy said, "You know, morally I got to just

    3   tell all you cops, get back.         They're going to blow it up

    4   in a couple of minutes."        He goes, I'm not supposed to tell

    5   you this, and then the countdown.          And the cops were like,

    6   "Countdown."     So the cops are like, "Get back, get back."

    7                And then the media spins it.        You're saying the

    8   cops blew up the World Trade Centers.           All I know is it's

    9   on CNN, cops going, "Get back.         They're going to blow that

  10    building up."     They weren't even brought in on it.           They

  11    got told by people warning them who were compartmentalized,

  12    and it's just so incredible.         I don't mean to get off in

  13    another subject, Wolfgang.        It's just that I've seen this

  14    over and over again how the compartmentalization works.

  15                 MR. HALBIG:    I agree, but I think the same --

  16    Alex, we've never had a time in our history where Sandy

  17    Hook, a school massacre, the biggest illusion ever

  18    portrayed by Homeland Security and FEMA.            It can bring down

  19    the house.    I think America -- I cannot tell America.             This

  20    is probably our only chance to unite and come together and

  21    look for the truth, and this house needs to fall because

  22    Sandy Hook is taking away our guns across the country.

  23    Sandy Hook is messing with our freedom of speech.              That's

  24    not the America that we -- you and I know, Alex.

  25                 MR. JONES:    And they raised hundreds of millions
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    1   of dollars, billions in the case of 9/11, collecting money

    2   off of people's goodwill and then giving it to anti-gun

    3   groups.    The United Way is an anti-gun cesspit.

    4               MR. HALBIG:     It is, and I hope nobody ever

    5   donates another dime to United Way until they answer every

    6   question.

    7               (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9            CONNECTICUT PD HAS FBI FALSIFY CRIME STATISTICS

  10                               SEPTEMBER 25, 2014

  11                                   CLIP AT 22M

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    1               MR. JONES:     We're fearless, folks.        Support us.

    2   Support Wolfgang.      This is not a game.       They are hopping mad

    3   we're covering this.       CNN admits they did fake scud attacks

    4   on themselves back in 1991, 1990.          Would they stage this?         I

    5   don't know.     Do penguins live in Antarctica?          Wolfgang W.

    6   Halbig's our guest, former state police officer, then worked

    7   for the customs department, and then over the last decade's

    8   created one of the biggest, most successful school safety

    9   training grips.      And he just has gone and investigated, and

  10    it's just phony as a $3 bill.         And they've been --

  11                But man, Wolfgang, you dropped a bombshell of yours

  12    scores of points, your 16 questions.           If you've got a school

  13    of 100 kids and then nobody can find them, and you've got

  14    parents laughing going ha, ha, ha; and then they walk over to

  15    the camera and go (crying), and I mean, not just one, but a

  16    bunch of parents doing this and then photos of kids that are

  17    still alive they said die.        I mean, they think we're so dumb

  18    that it's really hidden in plain view, and so the

  19    preponderance -- I mean, I thought they had some scripting

  20    early on to exacerbate and milk the crisis as Rahm Emmanuel

  21    said, but when you really look at it, where are the lawsuits?

  22    There would be incredible lawsuits and payouts, but there

  23    haven't been any filed, nothing.          I've never seen this.        This

  24    is incredible.

  25                (END OF AUDIO FILE)
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  12                                            Julie Thompson, CET-1036

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                                EXHIBIT A-8
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9            CONNECTICUT PD HAS FBI FALSIFY CRIME STATISTICS

  10                               SEPTEMBER 25, 2014

  11                                   CLIP AT 22M

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    1               MR. JONES:     We're fearless, folks.        Support us.

    2   Support Wolfgang.      This is not a game.       They are hopping mad

    3   we're covering this.       CNN admits they did fake scud attacks

    4   on themselves back in 1991, 1990.          Would they stage this?         I

    5   don't know.     Do penguins live in Antarctica?          Wolfgang W.

    6   Halbig's our guest, former state police officer, then worked

    7   for the customs department, and then over the last decade's

    8   created one of the biggest, most successful school safety

    9   training grips.      And he just has gone and investigated, and

  10    it's just phony as a $3 bill.         And they've been --

  11                But man, Wolfgang, you dropped a bombshell of yours

  12    scores of points, your 16 questions.           If you've got a school

  13    of 100 kids and then nobody can find them, and you've got

  14    parents laughing going ha, ha, ha; and then they walk over to

  15    the camera and go (crying), and I mean, not just one, but a

  16    bunch of parents doing this and then photos of kids that are

  17    still alive they said die.        I mean, they think we're so dumb

  18    that it's really hidden in plain view, and so the

  19    preponderance -- I mean, I thought they had some scripting

  20    early on to exacerbate and milk the crisis as Rahm Emmanuel

  21    said, but when you really look at it, where are the lawsuits?

  22    There would be incredible lawsuits and payouts, but there

  23    haven't been any filed, nothing.          I've never seen this.        This

  24    is incredible.

  25                (END OF AUDIO FILE)
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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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   4                 CONNECTICUT MASSACRE SHOOTING

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   8              TRANSCRIPT OF INFOWARS BROADCAST

   9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

  10                        DECEMBER 27, 2014

  11                           CLIP AT 3M 8S

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                               Discovery Resource
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                                  Discovery Resource
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                                                                                 2

   1                MR. JONES:   What do you guys think of Halbig?           I
   2   mean, he was a big, you know, successful, famous school
   3   safety guy, wrote the book on a lot of it.
   4                All I know is I saw Cooper with blue screen out
   5   there, green screen.      I know I saw the kids doing fake, you
   6   know, rotations in and out of the building.            They tore it
   7   down, all the unprecedented gag orders, you know, the police
   8   in anti-terror outfits in the woods.            Then they denied that,
   9   that had been in the news.        I mean, something is being hidden
  10   there.     You guys are on the East Coast.         You have a lot of
  11   sources.     What do you really think happened?
  12                (END OF AUDIO FILE)
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                                  Discovery Resource
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                               Discovery Resource
                                 713-223-3300
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  12                                      Julie Thompson, CET-1036
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   4                 CONNECTICUT MASSACRE SHOOTING

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   8              TRANSCRIPT OF INFOWARS BROADCAST

   9 LAWSUIT COULD REVEAL TRUTH ABOUT SANDY HOOK MASSACRE

  10                        DECEMBER 27, 2014

  11                          CLIP AT 4M 34S

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                                Discovery Resource
                                  713-223-3300
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   1             MR. JONES:    Very astute.          That's what I said a few
   2   weeks into it.    I said they may have killed real kids, but
   3   they're practicing how to propagandize, and how to control
   4   the press, and how to put out a product that's a fraud when I
   5   just saw the heavy, heavy, heavy scripting.           That was what
   6   was so clear.    And then the parents laughing and then one
   7   second later doing the actor breathing to cry.           I mean, it
   8   just -- it's just over the top.
   9             UNIDENTIFIED MALE:       Agreed, yep.
  10             MR. JONES:    Over the top sick.          And we know they've
  11   staged other stuff before.
  12             (END OF AUDIO FILE)
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                                  312 of 1271
                               Discovery Resource
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  12                                      Julie Thompson, CET-1036
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                        AMERICA THE FALSE DEMOCRACY

  10                               DECEMBER 29, 2014

  11                                 CLIP AT 11M 53S

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    1               MR. JONES:     Let's talk to, Kevin.        Kevin, go ahead.

    2   You're on the air.

    3               KEVIN:    Hi, Alex.     Calling about Sandy Hook.

    4   Basically my take on it is I live about 50 miles from

    5   Newtown, and the whole thing is pretty much the next step in

    6   reality TV because with other false flags like 9/11, or

    7   Oklahoma City, or the Boston bombing, at least something

    8   happened.    With Sandy Hook, there's no there, there.             You've

    9   got a bunch of people walking around a parking lot is pretty

  10    much what it comes down to and none of the --

  11                MR. JONES:     No, no.    I've had investigators on.

  12    I've had the state police have gone public, you name it.                  The

  13    whole thing is a giant hoax.         And the problem is how do you

  14    deal with a total hoax?        I mean it's just -- how do you even

  15    convince the public something is a total hoax?

  16                KEVIN:    Very hard because, you know, anytime I talk

  17    about this issue with people, you know, they -- you get

  18    criticized, black balled, ridiculed, called every name in the

  19    book, or they respond with the magic words they were saying

  20    on TV.   There's no statement more proof positive of somebody

  21    that's been brainwashed by that stuff, mainstream media, than

  22    those words.     They were saying it on TV.

  23                Well, I always tell people the same thing.             Go out

  24    and prove the official story.         And there's been -- I knew the

  25    millisecond this happened with that now fake picture of the
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    1   kids being lead out of the school that this -- there's

    2   nothing that's going to sell this agenda like dead elementary

    3   school kids.     Nothing --

    4               MR. JONES:     Well, that's right.       The general public

    5   doesn't know the school was actually closed the year before.

    6   They don't know.      They've shielded it all, demolished the

    7   building.    They don't know that they had their kids going in

    8   circles in and out of the building as a photo op.              Blue

    9   screen, green screens, they got caught using.             I mean the

  10    whole thing.

  11                But remember, this is the same White House that's

  12    been caught running the fake Bin Laden raid that's come out

  13    and been faked.      It's the same White House that got caught

  14    running all these other fake events over and over again, and

  15    it's the same White House that says I never said that you

  16    could keep your doctor when he did say you could keep doctor.

  17    People just instinctively know that there's a lot of fraud

  18    going on, but it took me about a year with Sandy Hook to come

  19    to grips with the fact that the whole thing was fake.               I

  20    mean, even I couldn't believe it.          I knew they jumped on it,

  21    used the crisis, hyped it up, but then I did deep research;

  22    and my gosh, it just pretty much didn't happen.

  23                UNIDENTIFIED MALE:       Everything we said came true.

  24    Everything we've done been's --

  25                (END OF AUDIO FILE)
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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                       WHY WE ACCEPT GOVERNMENT LIES

  10                                JANUARY 13, 2015

  11                                 CLIP AT 10M 36S

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    1               MR. JONES:     Yeah.    When you're trying to, I mean,

    2   decipher cloak and dagger, dirty tricks, it's pretty hard to

    3   do.   It's just that when you -- then you learn that they were

    4   funded by western funding.         Then you learn that it was the

    5   same Amerall-Locky (phonetic) connection underwear bomber.

    6   Then those are big red flags that they were patchy

    7   provocateurs.     The classic MO has been followed.

    8               And then, yeah, it kind of becomes a red herring,

    9   you know, to say the whole thing was staged because they have

  10    staged events before, but then you learn the school had been

  11    closed and reopened.       And you got video of the kids going in

  12    circles in and out of the building, and they don't call the

  13    rescue choppers for two hours.         Then they tear the building

  14    down and seal it.      And they get caught using blue screens,

  15    and an email by Bloomberg comes out in the lawsuit where he's

  16    telling people get ready in the next 24 hours to capitalize

  17    on a shooting.

  18                Yeah.    So Sandy Hook is a synthetic, completely

  19    fake with actors, in my view, manufactured.             I couldn't

  20    believe it at first.       I knew they had actors there clearly,

  21    but I thought they killed some real kids; and it just shows

  22    how bold they are that they clearly used actors.              I mean,

  23    they even ended up using photos of kids killed in mass

  24    shootings here in a fake mass shooting in Turkey.              So, yeah -

  25    - or Pakistan.      The sky is now the limit.        I appreciate your
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    1   call.

    2               Shirley in Louisiana.        You're on the air, welcome.

    3               (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9         INFOWARS BROADCAST RELATING TO HONR COPYRIGHT CLAIM

  10                               FEBRUARY 12, 2015

  11                                 CLIP AT 0M 26S

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    1               MR. JONES:     And again, if they can do this to us,

    2   they can do it to anybody.        And we're going to give you the

    3   name of the video as well that they are trying to sensor.

    4   Mystery Sandy Hook victim dies again in Pakistan, and I'm

    5   going to show you some of these photos from the BBC of people

    6   in Pakistan holding up photos of children they say were

    7   killed by terrorists; and it is one of the Sandy Hook

    8   victims.    So we just said, man, what's going on in Pakistan?

    9   What are they faking?

  10                Well, the answer to that was the HONR or HONR

  11    network, Lenny Pozner reportedly lost his son there came in

  12    and filed a copyright claim on us showing a BBC news article.

  13    You can't do that.      For those that don't know how copyright

  14    works, I could show a clip off the news if I was analyzing it

  15    in commentary, but I could certainly show newspapers all day

  16    long.

  17                I've been doing this for 20 years.           I took RTF.

  18    That was the first thing they taught us.            I've had to sit in

  19    on lawyer meetings.       I've been involved in lawsuits that

  20    we've won dealing with this, and I've countersued people.

  21    It's all on record.       I know what I'm talking about.          I know

  22    what I'm talking about on defamation.           Knock on wood, we've

  23    never had that problem.        Other people have and have settled

  24    with us out of court twice.         So I know of what I speak.

  25                And you can't go to somebody's YouTube channel and
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                                                                              3


    1   say they showed a news article from the BBC, and then say

    2   that you can't show that because someone in Pakistan was

    3   holding up a photo of your son, who reportedly died at Sandy

    4   Hook, and they're saying the same person died in a terror

    5   attack in Pakistan.       Obviously, we've got to investigate

    6   this, just like we investigated Brian Williams and his

    7   claims.

    8               So, you know, we're sorry for everybody's losses,

    9   whatever.    We're investigating this though because we live in

  10    a system where the media exploits things and twists things.

  11                Paul Watson thinks the official story of Sandy Hook

  12    is true.    He's my chief reporter, and we get major heat from

  13    the folks that think Sandy Hook was totally staged, saying

  14    why aren't you on the same page.          Because we're

  15    investigating.

  16                I think there's some cover-ups there.            I know

  17    they're using blue screens.         I've seen the footage of people

  18    going in and out in circles in the building.             It doesn't look

  19    right.    It doesn't pass the smell test.          There are literally

  20    hundreds of smoking guns here that this thing doesn't add up.

  21                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9             NEW BOMBSHELL SANDY HOOK INFORMATION IN-BOUND

  10                                 MARCH 04, 2015

  11                                 CLIP AT 32M 30S

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1               MR. JONES:     Wolfgang --

    2               MR. HALBIG:     You know, I agree with you.          And I'll

    3   say this to you:      I'm begging that I'm wrong.         And if they

    4   answer my questions to my satisfaction and to Alex's

    5   satisfaction, if they answer it to the people of America to

    6   their satisfaction, I will run to the nearest mental health

    7   facility -- and I've said it before -- I'll voluntarily

    8   enroll myself because if I dare upset these parents or

    9   children or school, I need mental health.

  10                But I tell you what, I have spent my life doing

  11    this, and when people refuse to answer simple, logical

  12    questions, it raises the red flag.          And I am telling you I'm

  13    not going to stop until we get the answers.

  14                MR. JONES:     We know it stinks.       I mean, it's phony.

  15    The question is what is going on.          We don't know.      We just

  16    know it's fake.      How fake we don't know.        It's sick.

  17                Thank you, John.

  18                Kyle, Jay, Jimmy, Erik, your calls are straight

  19    ahead.

  20                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                    GOVERNMENT IS MANUFACTURING CRISES

  10                                   JULY 7, 2015

  11                                   CLIP AT 32M

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    1               MR. JONES:     I didn't watch the nightly news one

    2   night last week.      I tend to watch it in the morning on my

    3   iPad while I get on the elliptical, and I've got, you know,

    4   televisions in there that I monitor as well in the gym, in

    5   the public gym I go to.

    6               And I heard them back there talking yesterday

    7   afternoon about a show they did last week, and I knew that we

    8   had sent our East Coast reporter, Dan Bidondi, up there to

    9   cover it.    And I heard Dew talking about his uncle, who I

  10    know was a Navy Seal and a decorated FBI agent, who retired a

  11    few years ago, and is part of a big security firm.

  12                And I heard Dew talking, and I was like, "Are you

  13    kidding me?"     His uncle talking to other FBI people, who I

  14    guess are still in, was told, "You ought to go check out

  15    Sandy Hook.     We're not allowed to.       It doesn't add up."        And

  16    his uncle went to the hearings, and I didn't even realize, we

  17    have video of him at the hearings and Bidondi interviewing

  18    him and what he said on air, and what he said off air.               And

  19    he told Dew, "Yeah.       You can repeat what I said."

  20                He's been in the John Gotti trial.           He's a well-

  21    known FBI agent.      He's been in a whole bunch of stuff, a

  22    bunch of big cases.       And he told Dew, "I have never seen

  23    people acting so weird and so suspicious and saying no one

  24    knows anything and no paperwork on anything."             He's a former

  25    Navy Seal, retired FBI agent, and I'm --
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    1                And I know what will happen.        These guys are

    2   compartmentalized.      They're like Mr. America most of them.

    3   They really think they're the good guys, and overall they are

    4   good guys.    But they're compartmentalized.          Right next to

    5   them is the devil and above them people like Eric Holder, as

    6   bad as it gets.

    7                They'll go investigate something, find out it's

    8   true, and then be shut down.         And I would imagine after we

    9   talk about this, he's going to -- he's going to get a visit

  10    because he's now investigating Sandy Hook.            Rob Dew's uncle

  11    is now investigating Sandy Hook, former FBI agent, retired.

  12    That's got to really freak them out.           And I'm not going to

  13    put words in his mouth, but he said he's never seen something

  14    that looks this fake.       It's because it is, folks.

  15                 I don't know if they really killed kids.           I don't

  16    know, but they -- we got emails and memos that school was

  17    shut down a year before.        They tore it down.       They covered it

  18    up.   No rescue helicopters, no ambulances.           Within an hour

  19    and a half they had a sign saying, "Check in here."               It was a

  20    media event.

  21                 If they did kill kids, they knew it was coming,

  22    stocked the school with kids, killed them, and then had the

  23    media there, and that probably didn't even happen.              I mean,

  24    no wonder we get so many death threats and so much heat and

  25    so much other stuff I'm not going to get into, behinds the
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    1   scenes, when we touch Sandy Hook because, folks, it's as

    2   phony as a $3 bill.

    3               (END OF AUDIO FILE)

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    1                      CERTIFICATE OF TRANSCRIPTIONIST

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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9               RETIRED FBI AGENT INVESTIGATES SANDY HOOK

  10                             MEGA MASSIVE COVER-UP

  11                                  JULY 07, 2015

  12                                   CLIP AT 0-5M

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    1               MR. JONES:     We have been warned.       We have been

    2   warned.    We have been threatened.        We have been told through

    3   official channels, unofficial channels, threats, you name it,

    4   stop investigating Sandy Hook.

    5               Now, when this first happened a few years ago, I

    6   didn't come out of the gate saying it was a false flag, and I

    7   got criticized by a lot of our listeners who were smart folks

    8   and who went and really investigated that, hey, Alex, you

    9   need to look at this again.

  10                All I know is that the official story doesn't add

  11    up, and that when retired state police officers, and school

  12    investigation experts, and school safety experts, and others

  13    began to investigate it, they were threatened.

  14                No emergency helicopters were sent.           The ambulances

  15    came an hour and a half later and parked down the road.                DHS

  16    an hour and a half later with the time stamp put up signs

  17    saying sign in here.       They had porta-potties being delivered

  18    within an hour and a half.        It looked like a carnival.         It

  19    looked like a big PR stunt.

  20                Came out that Bloomberg a day before sent an email

  21    out to his gun control groups in all 50 states saying,

  22    "Prepare to roll, maybe operation coming up."             That came out

  23    in the news.

  24                We have the emails from city council back and forth

  25    and the school talking about it being down a year before.                 We
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    1   have the school then being demolished, and the records being

    2   sealed.

    3               We have videos that look just incredibly suspicious

    4   where people are laughing and everything, and then they start

    5   huffing and puffing and start crying on TV, which is pure

    6   acting method.     You've got a degree, Rob, in theater.            I

    7   mean, this is -- this is something that even laypeople

    8   notice.    So I began to investigate.

    9               They had a weird anti-terrorism unit from the state

  10    nearby with men in the woods, which were on video from

  11    helicopter.     Then they said that didn't exist.          And so we'll

  12    recap some of the history of this.

  13                But now, your uncle, John Dew, Navy Seal, retired

  14    FBI agent, works for a successful security company, I had

  15    missed this episode of the nightly news back on June 4th and

  16    then again last week when you did an update.             And then I

  17    heard you talking about it yesterday.           I knew that we'd sent

  18    our reporter down, Dan Bidondi, there for days to cover the

  19    city council hearings about it and the fact that they're

  20    sealing everything.

  21                And then you just said, "Oh, yes, and that's why

  22    I'm trying to get my uncle to tell me more."             Because he's

  23    been in John Gotti hearings and been involved in huge cases,

  24    pretty prominent FBI agent before he retired, and in his

  25    words he said he seen the most secretive mafia stuff ever,
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    1   and he's never seen people more closed-lipped.             He's never

    2   seen something where it basically stinks.            And we'll use his

    3   words, but the headline here is retired FBI agent

    4   investigating Sandy Hook.        I mean, that was just amazing to

    5   me that so much goes on around here that I miss some of

    6   what's happening.

    7               Next time a former Navy Seal FBI agent -- I don't

    8   care if it's your uncle --

    9               MR. DEW:    Yeah.

  10                MR. JONES:     -- you know, is investigating something

  11    like this, we want to hear about it.           I want to try to get

  12    him on.    I know he's going to get heat probably, and they'll

  13    probably try to threaten him.         But really kudos to him.

  14                I mean, you told me that he went and investigated

  15    it because other insiders said you need to go look at this.

  16    I guess people currently in the FBI aren’t allowed to, but,

  17    man, the fix is in.

  18                So, Rob Dew, tell us about your uncle, tell us

  19    about all this.      I wish we would have gotten more than a two-

  20    minute interview with him with Bidondi.            Bidondi did a great

  21    job.   I just wish I would have known about this.             I would

  22    have gone up there.       Halbig tried to get me to go.         I just am

  23    trying to launch the TV network, and the new website, and

  24    everything else.

  25                But I mean, this is just so big.          And the more we
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    1   look at Sandy Hook, I don't want to believe it's a false

    2   flag.   I don't know if kids really got killed.            But you got

    3   green screen with Anderson Cooper where I was watching the

    4   video and the flowers and plants are blowing in some of them,

    5   and then they blow again the same way.           It's looped, and then

    6   his nose disappears.

    7               MR. DEW:    Uh-huh (affirmative).

    8               MR. JONES:     I mean, it's fake.       The whole thing is

    9   just -- I don't know what happened.           It's kind of like if you

  10    see a hologram at Disney World in the Haunted House, you

  11    know.   I don't know how they do it, but it's not real.              When

  12    you take your kids to see, you know, the Haunted House and

  13    ghosts are flying around, they're not real, folks.              It's

  14    staged.    I mean, a magician grabs a rabbit out of his hat.                 I

  15    know he's got a box under the table that he reaches in and

  16    gets the rabbit.

  17                I don't know what the trick is here.           I got a good

  18    suspicion, but when you've got Wolfgang Halbig, who was the

  19    top -- I mean, 20/20, CNN, I mean, ran the most successful

  20    school safety course in the country, got the contracts at

  21    Columbine, making millions of dollars a year, he believed it

  22    was real.    People called him.       He went and investigated.            No

  23    paperwork, no nothing.       It's bull.     And now an FBI retired

  24    agent who retired, you know, with decorations --

  25                I mean, Dew, this is just unprecedented.            I can't
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    1   believe I missed this.       Recap what happened, and then we've

    2   got some of the questions from Bidondi.            He told you a lot

    3   more.   Well, just tell us what he said.

    4               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9               RETIRED FBI AGENT INVESTIGATES SANDY HOOK

  10                             MEGA MASSIVE COVER-UP

  11                                  JULY 07, 2015

  12                                 CLIP AT 9M 40S

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    1               MR. DEW:    So they were already on the scene right

    2   after it happened.      That using u

    3               MR. JONES:     Let's remember, they ran fast and

    4   furious killing thousands of Mexicans, hundreds of Americans,

    5   including six law enforcement to blame the Second Amendment.

    6   CBS News got the memo.

    7               MR. DEW:    Yeah.

    8               MR. JONES:     That was a false flag killing thousands

    9   to blame the Second Amendment and martyr Mexicans and say

  10    you're racist if you don’t turn your guns in.             So they've

  11    done it before, and, my gosh, they've done it again.

  12                MR. DEW:    Yeah.

  13                MR. JONES:     Keep going.

  14                MR. DEW:    Well, guys, actually, let's play the clip

  15    from my uncle.     It's actually clip number two.          We'll play

  16    that one first.      It's really short.

  17                MR. JONES:     I want to play it, but tell us more of

  18    what he said because you told me more than that.

  19                MR. DEW:    Okay.    Well, he was concerned that there

  20    -- because he had believed in the initial story, the official

  21    story.   He said, well, now this doesn't add up.             If you have

  22    all these people, they should just be giving the paperwork

  23    and going on with their lives, if they don't want, you know

  24    -- because right now it's all being --

  25                MR. JONES:     It's 101 they're covering up.
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    1                MR. DEW:   He goes nobody acts like that if they're

    2   on the up and up.

    3                MR. JONES:    It's like if a cop pulls you over and

    4   you're busy cramming stuff under the -- under the seat.

    5                MR. DEW:   Right.     Saying, don't worry.       Hold on.

    6   I'm looking for my license or whatever.

    7                MR. JONES:    Yeah.

    8                MR. DEW:   You know, nobody has the proper

    9   paperwork.    Nobody can deliver it.        They deliver videos

  10    without time stamps from police squad cars.             There's videos

  11    without time stamps that they give to them and say these are

  12    the copies from the squad car.         Yet you go online and you

  13    could see squad car video from the same squad car, and it's

  14    got time code on it.       So how did they give him video without

  15    time code, and he's viewing it at the police station?

  16                 MR. JONES:    This is mega-massive cover-up.

  17                 MR. DEW:   It's crazy.      So you know --

  18                 MR. JONES:    My God.

  19                 MR. DEW:   -- he just basically -- my uncle doesn't

  20    say much.    He's the kind of guy that doesn't say a lot.              He

  21    just -- he kind of, you know -- so Dan -- I don't know how

  22    Dan figured out he was my uncle.          But he went over and talked

  23    to --

  24                 MR. JONES:    Oh, your uncle is not telling you he's

  25    up there?
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    1               MR. DEW:    No, no, no.      He never told me he was

    2   going up there.      I got the text from Dan.        That's how I found

    3   out he was there, and then I texted him; and the I called him

    4   the next day because he couldn't talk at the time.              It was

    5   probably 11:30 at night that night.           It was June --

    6               MR. JONES:     Well, I suggest you call him and see

    7   what he thinks now, see if he's been threatened or anything.

    8   But please continue with what else he told you.              So former

    9   Navy Seal, retired FBI agent.         Sandy Hook doesn't add up.            He

  10    said -- that's the quote, "Doesn't add up"?

  11                MR. DEW:    Well, we can take the quote from him.               He

  12    said he's never seen anything like this before.

  13                MR. JONES:     But to you what did he say?

  14                MR. DEW:    That -- and then that's what -- to me

  15    what he's saying is that from all of his experience in the

  16    years that he has worked as an FBI agent.            He's retired.         He

  17    went into the FBI pretty much out of -- out of the Navy.                   He

  18    was a -- he went to the Naval Academy.           He was a Navy Seal.

  19    This guy is on the up and up.         I've known him all my life,

  20    you know.    Very --

  21                He doesn't tell you what he does in terms of -- you

  22    know, we used to go up there and visit him when he was

  23    working, and he would just leave and come back.              And you

  24    know, he was doing his -- doing casework or whatever.

  25                But from what he told me, he said that this thing
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    1   doesn't add up, and it's the weirdest court proceeding he's

    2   ever been in, in his entire life.          And he's been in a lot of

    3   court proceedings.      He was in New York City, stationed in New

    4   York City.

    5                MR. JONES:    Well, let me tell you, we get more

    6   threats over this than anything.          I mean, they --

    7                MR. DEW:   Yeah.

    8                MR. JONES:    They're hiding something.

    9                MR. DEW:   They definitely are.

  10                 MR. JONES:    Let's ask your opinion, your gut level,

  11    without getting into the personalities involved.              You can

  12    clearly see they're scared.         The wagons are circled.        They

  13    could just release all this.         There is no paperwork.

  14                 MR. DEW:   Oh, there is none.

  15                 MR. JONES:    I mean, that's what they -- it's all --

  16    so, I mean, I guess totally made up with green screens,

  17    everything.     And we've got them on green screens.

  18                 MR. DEW:   Yeah.

  19                 MR. JONES:    I mean, what is going on here?

  20                 MR. DEW:   On top of that --

  21                 MR. JONES:    That's how evil these people are is

  22    that they can have CNN involved, all these people.              It's like

  23    a Manhattan project of the gun grabbers.

  24                 (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                ALEX JONES FINAL STATEMENT ON SANDY HOOK

  10                               NOVEMBER 18, 2016

  11                                 CLIP AT 4M 59S

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    1               MR. JONES:     Number one, the day before this tragic

    2   event happened an email was sent out by Bloomberg's anti-gun

    3   group saying prepare for a big event.           But the biggest piece

    4   of evidence, the smoking gun, if you would, of a cover-up, of

    5   whatever really happened is the Wayback Machine, the internet

    6   archive.    We see Sandy Hook's Newtown website K through 12

    7   having zero traffic 2008, '09, '10, '11, '12, and then all of

    8   a sudden it just explodes.        It's impossible to have zero

    9   traffic to a K through 12 entire school system.              And the word

  10    is that school system was shut down for those years.               That's

  11    what the records show.       They tell us it was open.

  12                I don't know if the moon landings were faked, but I

  13    don't put anything past these anti-gunners.             And early on,

  14    that day we watched footage of kids going in circles in and

  15    out of the building.       You'd be running them away from the

  16    building.    Emergency helicopters weren't called.            Instead

  17    port-potties were prepared for the press within hours of the

  18    event.

  19                I saw the helicopters that did respond, the police

  20    helicopters saying that there were men or a man in the woods

  21    in camouflage.     The media later said that was a conspiracy

  22    theory.    So early on I'm like, well, I saw local news of the

  23    guy in the woods, and they took him in custody.              Now they're

  24    saying it never happened.        So that shows there some kind of

  25    cover-up happening.
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    1               And then I saw Anderson Cooper -- I've been in TV

    2   for 20-something years; I know a blue screen or a green

    3   screen -- turn, and his nose disappear.            Then I saw clearly

    4   that they were using footage on the green screen looped

    5   because it would show flowers and other things during other

    6   broadcasts that were moving and then basically cutting to the

    7   same piece of footage.

    8               Then I saw CNN do faked satellite interviews with

    9   reporters clearly with the same traffic and the same cars

  10    right behind them conducting the interview face to face.

  11                Then we see footage of one of the reported fathers

  12    of the victims, Robby Parker, doing classic acting training

  13    where he's laughing and joking.          And they say, hey, we're

  14    live, and he goes, oh.       And maybe that's real.        I'm sure it

  15    is.

  16                (Video played - not transcribed)

  17                But you add it to all the other things that were

  18    happening and all the other fake news the media has been

  19    caught in, and CNN back in 1991 openly faking scud missile

  20    attacks on Saudi Arabia and Israel when they were back in

  21    Atlanta; and the satellite feeds caught them admitting that

  22    it was all fake.      We'd be crazy not to question this because

  23    bare minimum they were faking some of the shots and some of

  24    the coverage.

  25                (Video played - not transcribed)So to be clear, we
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    1   point out clear chroma key, also known as blue screen or

    2   green screen being used, and we're demonized.             We point out

    3   they're clearly doing fake interviews.           We point out that

    4   normal emergency procedures weren't followed, and their

    5   answer is to say that we said nothing died.

    6               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9                ALEX JONES FINAL STATEMENT ON SANDY HOOK

  10                               NOVEMBER 18, 2016

  11                                 CLIP AT 15M 22S

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    1                MR. JONES:    And why should anybody fear an

    2   investigation if they have nothing to hide.             In fact, isn't

    3   that in Shakespeare's Hamlet, me thinks you protest too

    4   much."

    5                So here is my statement for the media when they

    6   call up saying where do you stand on this: where I've always

    7   stood.   When there were other mass shootings, I would simply

    8   point out that they're very rare statically, and why should

    9   we all give up our rights because some other bad person does

  10    something.    A guy with a car runs over 50 people.            Do we ban

  11    driving cars?     It's the same thing.

  12                 And there have been other instances of shootings

  13    that are very suspicious.        Aurora is one, just look into

  14    that.

  15                 But this particular case they are so scared of an

  16    investigation.     So everything they do basically ends up

  17    blowing up in their face.        So you guys are going to get what

  18    you want now.     I'm going to start reinvestigating Sandy Hook

  19    and everything else that happened with it.

  20                 I'm Alex Jones signing off for InfoWars.com.            If

  21    you're watching this transmission, think for yourself.               I

  22    know it's a thought a crime (sic).          And then ask yourself:

  23    what is so strange about Sandy Hook and that tragedy?

  24                 But I will say this finally.        My heart does goes

  25    out to all parents that lose children, whether it's to
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    1   stabbings, or whether it's to car wrecks, or whether it's to

    2   stranglings, or whether it's to blunt force trauma, or

    3   murder, firearms, whatever the case is.            I'm a parent, and my

    4   heart goes out to all parents that have lost children in

    5   these tragic events.

    6               And so if children were lost in Sandy Hook, my

    7   heart goes out to each and every one of those parents and the

    8   people that say they're parents that I see on the news.                The

    9   only problem is I've watched a lot of soap operas, and I've

  10    seen actors before.       And I know when I'm watching a movie and

  11    when I'm watching something real.          Let's look into Sandy

  12    Hook.

  13                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    1                      CERTIFICATE OF TRANSCRIPTIONIST

    2    I certify that the foregoing is a true and accurate

    3    transcript of the digital recording provided to me in this

    4    matter.

    5          I do further certify that I am neither a relative, nor

    6    employee, nor attorney of any of the parties to this

    7    action, and that I am not financially interested in the

    8    action.

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  12                                            Julie Thompson, CET-1036

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                                EXHIBIT A-20
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9           WHAT ALEX JONES REALLY BELIEVES ABOUT SANDY HOOK

  10                                  JUNE 13, 2017

  11                                   CLIP AT 14M

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    1               MR. JONES:     And how they're all colluding and the

    2   fake polls.     You guys are the globalists.         You're the

    3   enemies.    You're the people that have hijacked America.

    4   You're the threat to our children.          You're the people that

    5   are cold and heartless and don’t care, not us.

    6               But again, I want to encourage people to read the

    7   Zero Hedge article that breaks it all down because they

    8   absolutely are on target with this report where they ask the

    9   questions that the media seems so scared that I might even

  10    actually talk about if the Megyn Kelly interview aired.

  11                Why does the Sandy Hook Elementary School website

  12    have zero traffic for four years before the event and show it

  13    was closed?

  14                Why were there several reports of other shooters

  15    dressed in camouflage in the woods that fled, whom the police

  16    allegedly detained?

  17                Why were porta-potties, sandwiches, and fruit

  18    drinks, and chips brought up and set up for the crime scene

  19    in just an hour or so?

  20                Sandy Hook -- it just goes on and one.            An FBI

  21    crime stat which shows no murders occurred in Newtown in

  22    2012.

  23                Why didn't they let paramedics and EMTs in the

  24    building if 27 children were declared dead in 8 minutes?

  25                Why was Adam Lanza's home burned to the ground by
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    1   the bank?

    2               Why have they declared all the records totally

    3   secret?

    4               These are questions the public has.           They're the

    5   ones asking it.      They're the ones demanding it.          I've said I

    6   believe children did die there, but PR firms were involved,

    7   admittedly, hyping it up as much as possible.             But there's

    8   been a cover-up, and Anderson Cooper got caught faking where

    9   his location was with blue screen.

  10                I mean, it's all there.        We don't know what

  11    happened.    I believe kids died.        But the same media that's

  12    faking a bunch of other stuff and faking war propaganda is

  13    saying that I have said things that I never said that have

  14    been taken out of context, and now won't report when I'm

  15    saying don't air the interview on Father's Day to hurt

  16    fathers, and demonize men, and that you edited me out of

  17    context; and that I don't want it aired.            Why won't they

  18    actually report on what I'm saying?

  19                I'm Alex Jones.      This is the InfoWars.        Coming up,

  20    Owen Shroyer in the studio for the next 30 minutes.               Then

  21    I'll be back in the studio coming up live.            Please spread the

  22    word because the truth lives at InfoWars.com.

  23                (Cut to different clip)

  24                MR. JONES:     Let's go to Devin in Florida.          Devin in

  25    Florida, you're on the air.
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    1               UNIDENTIFIED MALE:       Great.    Hey, thank you so much.

    2   Listen, I --

    3               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                EXHIBIT A-21
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    4                       CONNECTICUT MASSACRE SHOOTING

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                                  MEGYN KELLY PROFILE
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                                      JUNE 19, 2017
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                                     CLIP AT 7M 55S
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    1               MS. KELLY:     At the top of that list is Jones'

    2   outrageous statement that the slaughter of innocent children

    3   and teachers at Sandy Hook Elementary School, one of the

    4   darkest chapters in American history, was a hoax.

    5               MR. HESLIN:     I watched my son.       I buried my son.         I

    6   held my son with a bullet hole through his head.

    7               MS. KELLY:     Neil Heslin's son Jessie, just six

    8   years old, was murdered along with 19 of this classmates and

    9   6 adults on December 14, 2012, in Newtown, Connecticut.

  10                MR. HESLIN:     I dropped him off at 9:04.         That's

  11    when we dropped him off at school with his book bag.               Hours

  12    later I was picking him up in a body bag.

  13                MS. KELLY:     Alex Jones repeatedly claimed that the

  14    shooting never happened.        Here he is on InfoWars in December

  15    2014.

  16                MR. JONES:     But it took me about a year with Sandy

  17    Hook to come to grips with the fact that the whole thing was

  18    fake.

  19                MS. KELLY:     You said the whole thing is a giant

  20    hoax.   How do you deal with a total hoax?           It took me about a

  21    year with Sandy Hook to come to grips with the fact that the

  22    whole thing was fake.       I did deep research, and, my gosh, it

  23    just pretty much didn't happen.

  24                MR. JONES:     At that point -- and I do think there's

  25    some cover-up and some manipulation -- that is pretty much
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    1   what I believed.      But then I was also going in devil's

    2   advocate.    But then we know there's mass shootings and these

    3   things happen.     So again --

    4                MS. KELLY:    You're trying to have it all ways,

    5   right?

    6                MR. JONES:    No, I'm not.

    7                MS. KELLY:    If you wrongly went out there and said

    8   it was a hoax, that's wrong.

    9                MR. JONES:    But what I already answered your

  10    question was listeners and other people are covering this.                   I

  11    didn't create that story.

  12                 MS. KELLY:    But, Alex, the parents, one after the

  13    other, devastated, the dead bodies that the coroner

  14    autopsied.

  15                 MR. JONES:    And they blocked all that, and they

  16    won't release any of it.        That's unprecedented, even --

  17                 MS. KELLY:    All of the parents --

  18                 MR. JONES:    -- the reports.

  19                 MS. KELLY:    -- decided to come out and lie about

  20    their dead children.

  21                 MR. JONES:    I didn't say that.

  22                 MS. KELLY:    What happened to the children?

  23                 MR. JONES:    I will sit there on the air and look at

  24    every position and play devil's advocate.

  25                 MS. KELLY:    Was that devil's advocate; the whole
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    1   thing is a giant hoax; the whole thing was fake?

    2               MR. JONES:     Yes.    Because I remember in -- even

    3   that day I go back from memory, them saying but then some of

    4   it looks like it's real.        But then what do you do when

    5   they've got the kids going in circles in and out of the

    6   building with their hands up?         I've watched the footage, and

    7   it looks like a drill.

    8               MS. KELLY:     When you say parents faked their

    9   children's death, people get very angry.

  10                MR. JONES:     Yeah.    Well, let's -- oh, I know.         But

  11    they don't get angry about the half million dead Iraqis from

  12    the sanctions, or they don't get angry about --

  13                MS. KELLY:     That's a dodge.

  14                MR. JONES:     No, no.    It's not a dodge.       The media

  15    never covers all the evil wars it has promoted, all the big

  16    things.

  17                MS. KELLY:     That doesn't excuse what you did and

  18    said about Newtown.       You know it.

  19                MR. JONES:     But I -- here's the difference.          Here's

  20    the difference.      I looked at all the angles of Newtown, and I

  21    made my statements long before the media even picked up on

  22    it.

  23                MS. KELLY:     In our interview we asked Jones

  24    numerous times what he now believes, and he never completely

  25    disavowed his previous statements.
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    1               MR. JONES:     I tend to believe that children

    2   probably did die there, but then you look at all the other

    3   evidence on the other side.         I can see how other people

    4   believe that nobody died there.

    5               MS. KELLY:     Of course, there --

    6               (END OF AUDIO FILE)

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  12                                            Julie Thompson, CET-1036

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                                EXHIBIT A-22
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    4                       CONNECTICUT MASSACRE SHOOTING

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    8                     TRANSCRIPT OF INFOWARS BROADCAST

    9              JFK ASSASSINATION DOCUMENTS TO DROP TONIGHT

  10                                OCTOBER 26, 2017

  11                              CLIP AT 1HR 13M 30S

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    1               MR. JONES:     ...top trend forecaster.        But look at

    2   this article that was on Infowars.com a few days ago that I

    3   read.    I meant to cover, and then I heard Lee Ann McAdoo

    4   during the break.      A lot of our radio ads aren't radio ads.

    5   They're just one minute little information news pieces,

    6   something we do.      We just change things up.         And I'd

    7   forgotten in the documents the CIA visited Lanza and

    8   reportedly recruited him about a year before the shooting.                   I

    9   mean, they bulldozed the house to get rid of it.

  10                I don't know what really happened with Sandy Hook,

  11    folks.   We've looked at all sides.         We played devil's

  12    advocate from both sides, but I mean, it's as phony as a $3

  13    bill with CNN doing fake newscasts, with blue screens.               I

  14    mean, Nancy Grace got caught doing it, Anderson Cooper.                I

  15    mean, that is just a crazy -- that's the kind of stuff that I

  16    read on InfoWars.com that I don’t even get to.

  17                Speaking of that --

  18                (END OF AUDIO FILE)

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22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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  12                                            Julie Thompson, CET-1036

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   4       CONNECTICUT MASSACRE SHOOTING

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   8    TRANSCRIPT OF INFOWARS BROADCAST

   9 LOOKS LIKE FALSE FLAG SAYS WITNESSES

  10              DECEMBER 14, 2012

  11                CLIP AT 9M 30S

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                               Discovery Resource
                                 713-223-3300
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                    Discovery Resource
                                      713-223-3300
                                                                                    2

   1                MR. JONES:     ... with all sorts of information on
   2   this subject.        But get ahold of your cousin when she settles
   3   down and get her to talk to us for any other information.                   We
   4   need to know: were there any drills that day or the day
   5   before?     Does she have anything about other shooters, or was
   6   it that she never saw the shooters?
   7                UNIDENTIFIED CALLER:         Well, I had asked them if it
   8   was supposedly too -- because they have a lot of security at
   9   that school.     You have to ring a doorbell in order to get
  10   into the school.
  11                MR. JONES:     Yeah, of course.          Which is another side
  12   of that.     Yeah.     It's one of these federal model schools.
  13                UNIDENTIFIED CALLER:         The thing that just scared
  14   the daylights out of me -- I had to call right away -- is I
  15   asked them, "Did they ever train for this?"                And my uncle
  16   said, "Yes."     Within this school year, since September, they
  17   have trained for incidents like this.
  18                MR. JONES:     Well, that in and of itself isn't proof
  19   of it, but they could use a drill to then bring in a patsy.
  20   It could just be a Prozac head.            We'll find out.      God bless
  21   you, sir.     I appreciate your call.             Stay in contact.
  22                We're going to go to Rob who says email --
  23                (END OF AUDIO FILE)
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                                    Discovery Resource
                                      713-223-3300
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                               Discovery Resource
                                 713-223-3300
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  12                                      Julie Thompson, CET-1036
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                               Discovery Resource
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                                                                                 Exhibit C
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                                 CAUSE NO. D-1-GN-18-006623


 SCARLETT LEWIS,                                  §                    IN DISTRICT COURT OF
   Plaintiff                                      §
                                                  §
 VS.                                              §                  TRAVIS COUNTY, TEXAS
                                                  §
 ALEX E. JONES, INFOWARS, LLC,                    §
 FREE SPEECH SYSTEMS, LLC,                        §                      53rd DISTRICT COURT
   Defendants                                     §
                                                  §


                        PLAINTIFF’S FIRST AMENDED PETITION


       Plaintiff SCARLETT LEWIS files this First Amended Petition against Defendants, ALEX

JONES, INFOWARS, LLC, and FREE SPEECH SYSTEMS, LLC, and alleges as follows:

                                 DISCOVERY CONTROL PLAN

       1.      Plaintiff intends to seek a customized discovery control plan under Level 3 of Texas

Rule of Civil Procedure 190.4.

                                            PARTIES

       2.      Plaintiff Scarlett Lewis is an individual residing in the State of Connecticut.

       3.      Defendant Alex E. Jones is a resident of Austin, Texas. He is the host of radio and

web-based news programing, including “The Alex Jones Show,” and he owns and operates the

website InfoWars.com. Mr. Jones can be served at his place of business, InfoWars, 3019 Alvin

Devane Blvd., Suite 300-350, Austin, TX 78741.

       4.      Defendant InfoWars, LLC is a Texas limited liability company with principal

offices located in Austin, Texas. It may be served at the address of its attorney, Eric Taube, at 100

Congress Avenue, 18th Floor, Austin, TX 78701.




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        5.      Defendant Free Speech Systems, LLC is a Texas limited liability company with

principal offices located in Austin, Texas. It may be served at the address of its registered agent,

Eric Taube, at 100 Congress Avenue, 18th Floor, Austin, TX 78701.

        6.      At all times relevant to this Petition, Defendants Alex Jones, InfoWars, LLC, and

Free Speech Systems, LLC operated as a joint-venture, joint-enterprise, single business enterprise,

or alter ego.

                                  JURISDICTION & VENUE

        7.      The damages sought in this case exceed the minimum jurisdictional limits of Travis

County District Courts.

        8.      Venue is proper in Travis County under Tex. Civ. Prac. & Rem. Code §15.002

because it is the county of Defendants’ residence at the time the cause of action accrued.

                                  FACTUAL BACKGROUND

        9.      Plaintiff Scarlett Lewis is the parent of deceased minor J.L., a victim of the

December 14, 2012 Sandy Hook Elementary School shooting.

        10.     This case arises out of the intentional infliction of emotional distress committed

against Plaintiff for the past five years through InfoWars’ recklessly false statements concerning

the circumstances of the death of her child, as well as InfoWars’ coordination and encouragement

of a fringe community of dangerous fanatics who have stalked and endangered the Sandy Hook

parents.

        11.     In addition, InfoWars has repeatedly promoted a dreadful and despicable false

narrative about Sandy Hook in which it mocks the families as liars and accuses them of a sinister

conspiracy. Plaintiff’s family has been specifically targeted in this campaign of harassment.




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          12.   In addition to the mockery of the families, InfoWars has spent years advancing a

vast collection of grotesque and outrageous falsehoods about the circumstances of the shooting

and the subsequent law enforcement investigation and media coverage.

          13.   All of these baseless and vile accusations, which have been pushed by InfoWars

and Mr. Jones on a continuous basis since the shooting, advance the idea that the Sandy Hook

massacre did not happen, or that it was staged by the government and concealed using carefully

placed actors, or that the families of the victims are also participants in a horrifying cover-up.

InfoWars knew its assertions were false or made these statements with reckless and outrageous

disregard for their truth.

          A PARTIAL HISTORY OF INFOWARS’ COVERAGE OF SANDY HOOK

          14.   Beginning in the month of the shooting, in December 2012, InfoWars published

multiple videos with false information while claiming the incident was a “false flag” or otherwise

staged.

          15.   InfoWars continued with a video on January 27, 2013 entitled “Why People Think

Sandy Hook is a Hoax,” Mr. Jones introduced a variety of completely baseless claims which he

would continually repeat with malicious obsession for the next five years.

          16.   On March 28, 2013, InfoWars published an article advancing its hoax claim,

entitled “Cover-Up of Adam Lanza Link to Psychotropic Drugs.”

          17.   In an April 9, 2013 video entitled “Obama Gun Grabbing Psyop Speech of Evil,”

Mr. Jones warned his viewers that recent mass shootings were actually “a government operation,”

and that Sandy Hook was an “inside job.”

          18.   In an April 16, 2013 video entitled “Shadow Govt Strikes Again,” Mr. Jones

discussed his allegation that the government was staging various national tragedies. He told his



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audience: “They staged Sandy Hook. The evidence is just overwhelming, and that’s why I’m so

desperate and freaked out.”

       19.     On January 27, 2014, InfoWars published an article advancing its hoax claim,

entitled “Exposed: Sandy Hook Shooter’s Biggest Threat Still Lives.”

       20.     On February 18, 2014, InfoWars published an article advancing its hoax claim,

entitled “School Shooting Expert Threatened Over Sandy Hook Investigation.”

       21.     In a March 14, 2014 video entitled “Sandy Hook, False Narratives Vs. The Reality,”

Mr. Jones said, “Folks, we’ve got video of Anderson Cooper with clear blue-screen out there.

[Shaking head]. He’s not there in the town square. We got people clearly coming up and laughing

and then doing the fake crying. We’ve clearly got people where it’s actors playing different parts

for different people, the building bulldozed, covering up everything. Adam Lanza trying to get

guns five times we’re told. The witnesses not saying it was him…I’ve looked at it and undoubtedly,

there’s a cover-up, there’s actors, they’re manipulating, they’ve been caught lying, and they were

pre-planning before it and rolled out with it.”

       22.     On May 9, 2014, InfoWars published an article advancing its hoax claim, entitled

“Revealed: Sandy Hook Truth Exposed.”

       23.     On May 13, 2014, InfoWars published an article advancing its hoax claim, entitled

“Connecticut Tries to Hide Sandy Hook Truth.”

       24.     On May 13, 2014, InfoWars published a video entitled “Bombshell Sandy Hook

Massacre Was A DHS Illusion Says School Safety Expert.” Mr. Jones hosted a notorious crank,

Wolfgang Halbig, who solicits donations to support his “investigation” into Sandy Hook. Mr.

Halbig maintains that the event was staged and that the parents are actors. Mr. Jones agreed with

Mr. Halbig during the video, and he asked his viewers to support Halbig. Over the coming years,



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Mr. Halbig was a frequent guest, and InfoWars continued to provide support and encouragement

to Mr. Halbig to carry out his campaign of harassment against the Sandy Hook parents.

       25.     On September 24, 2014, InfoWars published an article advancing its hoax claim,

titled: “FBI Says No One Killed At Sandy Hook.”

       26.     InfoWars also published a video on September 25, 2014 entitled “Connecticut PD

Has FBI Falsify Crime Statistics.” Mr. Jones again hosted Mr. Halbig for a lengthy discussion in

which they accused Plaintiff and other parents of lying about the tragedy for a nefarious purpose.

Mr. Jones stated:

               This is not a game…If you've got a school of 100 kids and then
               nobody can find them, and you've got parents laughing going “Ha,
               Ha, Ha,” and then they walk over to the camera and go (crying), and
               I mean, not just one, but a bunch of parents doing this and then
               photos of kids that are still alive they said die. I mean, they think
               we’re so dumb that it's really hidden in plain view, and so the
               preponderance -- I mean, I thought they had some scripting early on
               to exacerbate and milk the crisis as Rahm Emmanuel said, but when
               you really look at it, where are the lawsuits? There would be
               incredible lawsuits and payouts, but there haven't been any filed,
               nothing. I've never seen this. This is incredible.

       27.     On September 26, 2014, InfoWars published an article advancing its hoax claim,

entitled: “Sandy Hook Investigator: Connecticut PD Had FBI Falsify Crime Statistics.”

       28.     On December 2, 2014, InfoWars published an article promoting the hoax video

entitled “We Need to Talk About Sandy Hook.”

       29.     On December 9, 2014 published an article advancing its hoax claim, entitled:

“Internet Censors Viral Sandy Hook Truth Documentary.”

       30.     In a December 27, 2014 broadcast entitled “Lawsuit Could Reveal Truth About

Sandy Hook Massacre,” Mr. Jones made numerous false claims about Sandy Hook, including his

false allegations about “rotations in and out of the building,” “blue-screen,” “police in anti-terror



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outfits in the woods,” and many others. Mr. Jones described the alleged “acting” by the parents as

“just over the top, over the top sick.” The video also featured claims that the event was undertaken

as a Satanic ritual by global elites.

        31.     In a December 29, 2014 broadcast entitled “America the False Democracy,” Jones

again discussed Sandy Hook, telling his audience, “The whole thing is a giant hoax. And the

problem is how do you deal with a total hoax? How do you even convince the public something is

a total hoax?” Mr. Jones stated, “It took me about a year, with Sandy Hook, to come to grips with

the fact that the whole thing was fake. I did deep research.”

        32.     In the same December 2014 broadcast, Jones continued with more false assertions:

“The general public doesn’t know the school was actually closed the year before. They don’t know

they’ve sealed it all, demolished the building. They don’t know that they had the kids going in

circles in and out of the building as a photo-op. Blue screen, green screens, they got caught using.”

        33.     On January 2, 2015, InfoWars published an article advancing its hoax claim,

entitled “Mystery: Sandy Hook Victim Dies (Again) in Pakistan.”

        34.     In a January 13, 2015 broadcast entitled “Why We Accept Gov't Lies,” Mr. Jones

continued his allegations about Sandy Hook. During his discussion, he stated:

                You learn the school had been closed and re-opened. And you’ve
                got video of the kids going in circles, in and out of the building, and
                they don’t call the rescue choppers for two hours, and then they tear
                the building down, and seal it. And they get caught using blue-
                screens, and an email by Bloomberg comes out in a lawsuit, where
                he’s telling his people get ready in the next 24 hours to capitalize on
                a shooting. Yeah, so Sandy Hook is a synthetic, completely fake
                with actors, in my view, manufactured. I couldn’t believe it at first.
                I knew they had actors there, clearly, but I thought they killed some
                real kids. And it just shows how bold they are that they clearly used
                actors. I mean they even ended up using photos of kids killed in mass
                shootings here in a fake mass shooting in Turkey, or Pakistan. The
                sky is now the limit.”



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       35.     Mr. Jones’ statement about Pakistan refers to a conspiracy theory Jones helped

spread involving a Sandy Hook victim whose photograph appeared at vigil for children slain a

school attack in Peshawar. InfoWars’ story was meant to reinforce Mr. Jones’ persistent lie that

the victims of the shooting, such as Plaintiff’s deceased son J.L., are not real, or that some sinister

conspiracy murdered her child.

       36.     In a February 12, 2015 video with an unknown title, Mr. Jones continued to repeat

his false claims. During his discussion, Mr. Jones stated, “I know they’re using blue

screens…There are literally hundreds of smoking guns here that this thing doesn’t add up.”

       37.     In a March 4, 2015 video entitled “New Bombshell Sandy Hook Information In-

Bound,” Mr. Jones continued to promote Mr. Halbig, hosting him for a wide-ranging discussion

accusing the parents of evil acts. Mr. Jones told Mr. Halbig, “We know it stinks. I mean, it's phony.

The question is what is going on. We don't know. We just know it's fake.”

       38.     In June of 2015, InfoWars sent its reporter Dan Bidondi to Newtown, Connecticut

to accompany Mr. Halbig. While in Newtown, Bidondi and Halbig confronted Newtown residents

and civil servants. Mr. Bidondi, a former cage-fighter, aggressively berated several individuals

with profanity, false claims, and outrageous threats to publicize their crimes. Their activities

created a climate of fear in the community.

       39.     In a July 7, 2015 broadcast entitled “Government Is Manufacturing Crises,” Mr.

Jones again asserted that Sandy Hook was staged:

               If they did kill kids, they knew it was coming, stocked the school
               with kids, killed them, and then had the media there, and that
               probably didn't even happen. I mean, no wonder we get so many
               death threats and so much heat and so much other stuff I'm not going
               to get into, behinds the scenes, when we touch Sandy Hook because,
               folks, it's as phony as a three-dollar bill.




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       40.     In a July 7, 2015 video entitled “Retired FBI Agent Investigates Sandy Hook Mega

Massive Cover Up,” Mr. Jones repeated a large selection of his false claims about Sandy Hook.

During his discussion, Mr. Jones stated:

               No emergency helicopters were sent. The ambulances came an hour
               and a half later and parked down the road. DHS an hour and a half
               later with the time stamp put up signs saying sign in here. They had
               porta-potties being delivered within an hour and a half. It looked like
               a carnival. It looked like a big PR stunt.

               Came out that Bloomberg a day before sent an email out to his gun
               control groups in all 50 states saying, "Prepare to roll, maybe
               operation coming up." That came out in the news.

               We have the emails from city council back and forth and the school
               talking about it being down a year before. We have the school then
               being demolished, and the records being sealed. We have videos that
               look just incredibly suspicious where people are laughing and
               everything, and then they start huffing and puffing and start crying
               on TV, which is pure acting method…

               You’ve got green-screen with Anderson Cooper, where I was
               watching the video, and the flower and plants were blowing in some
               of them, and then they blow again the same way. It’s looped. And
               then his nose disappears. I mean, it’s fake. The whole thing is…I
               don’t know what happened. It’s kind of like if you see a hologram
               at Disney World in the Haunted House. You know? I don’t know
               how they do it, but it’s not real. When you take your kids to see the
               Haunted House and ghosts are flying around, it’s not real, folks. It’s
               staged. I mean, a magician grabs a rabbit out of his hat. I know he’s
               got a box under the table that he reaches in and gets the rabbit. I
               don’t know what the trick is here. I’ve got a good suspicion. But
               when you’ve got Wolfgang Halbig…He believed it was real. People
               called him. He went and investigated. No paperwork, no nothing.
               It’s bull. And now an FBI retired agent, who retired, you know, with
               decorations. I mean, [InfoWars reporter Rob] Dew, this
               unprecedented.

       41.     On July 10, 2015, InfoWars published an article advancing its hoax claim, entitled

“Sandy Hook FOIA Killed by Commission.”




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       42.     On January 5, 2016, InfoWars published an article advancing its hoax claim,

entitled “Obama’s Crying Fuels Speculation It Was Faked.”

       43.     In January of 2016, InfoWars follower Lucy Richards began stalking and making

death threats to Leonard Pozner, a fellow Sandy Hook parent and personal friend of Plaintiff

Scarlett Lewis. The threats included messages stating: “Death is coming to you real soon” and

“LOOK BEHIND YOU IT IS DEATH.” 1 When Richards was later sentenced, Senior U.S. District

Judge James Cohn stated: “I'm sure [Leonard Pozner] wishes this was false, and he could embrace

[N.P.], hear [N.P.’s] heartbeat and hear [N.P.] say ‘I love you, Dad’…Your words were cruel and

insensitive. This is reality and there is no fiction. There are no alternative facts.” 2 As part of her

sentence, Ms. Richards will not be permitted to access a list of conspiracy-based websites upon

her release, including InfoWars. 3 Ms. Richard’s arrest and sentencing are an ominous reminder to

the Plaintiff of the danger posed by InfoWars’ continuing lies about Sandy Hook.

       44.     Mr. Jones and InfoWars were well-aware of the unhinged community of “Sandy

Hook Investigators” they had fostered. Mr. Jones knew that a large collection of Sandy Hook

deniers were coordinating their harassment. Plaintiff and her family have suffered harassment and

threats from this community. Mr. Jones and InfoWars have frequently communicated with the

hoax community and have interviewed or promoted members of this dangerous community on

their programming. During a February 2015 video, one prominent member of the Sandy Hook

denier community issued a threat to a Sandy Hook parent on the air. During the same video, Mr.

Jones showed maps and addresses used by the parent. This parent was the leader of a Sandy Hook




1 https://www.nbcnews.com/news/us-news/conspiracy-theorist-arrested-death-threats-against-sandy-
hook-parent-n693396
2 http://www.nydailynews.com/news/crime/judge-hands-sandy-hook-truther-prison-sentence-article-

1.3229754
3 https://www.buzzfeed.com/claudiakoerner/a-conspiracy-theorist-will-serve-time-for-threatening-a


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non-profit who had complained to YouTube about the emotional distress caused by Jones. Since

that time, Mr. Jones’ open animosity towards the Sandy Hook parents has been on full display.

       45.     By November 2016, a growing tide of public outrage caused Mr. Jones to appear

on InfoWars and rant about his false Sandy Hook claims for twenty minutes in what he called his

“Final Statement on Sandy Hook,” published on November 18, 2016.

       46.     During the outrageous video, Mr. Jones directly addressed the public outcry over

his statements by doubling down on his accusations. For example, Mr. Jones stated: “That shows

some kind of cover-up happening. And then I saw Anderson Cooper -- I’ve been in TV for twenty-

something years, I know a blue-screen or a green-screen -- turn and his nose disappeared. Then I

saw clearly that they were using footage on the green-screen looped, because it would show

flowers and other things during other broadcasts that were moving, and then basically cutting to

the same piece of footage…Then we see footage of one of the reported fathers of the victims,

Robbie Parker, doing classic acting training.”

       47.     The gist of these statements was that the Sandy Hook parents, including Plaintiff

Scarlett Lewis, are participating in a sinister manipulation plan to fool the public, or that a shadowy

cabal of elites pre-planned the murder of their children and controlled the coverage of the event

through the media manipulation.

       48.     During the November 2016 broadcast, Mr. Jones played video footage of Anderson

Cooper interviewing Sandy Hook parent Veronique De La Rosa, at which point Jones stated: “We

point out clear chromakey, also known as blue-screen or greenscreen being used, and we’re

demonized. We point out that they’re clearly doing fake interviews…and their answer is to say

that we said nobody died.” In other words, Mr. Jones admitted that Plaintiff’s son actually died




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and that Plaintiff may not be lying, but Jones still maintained the event was a pre-planned

government operation. Mr. Jones’ statements in support of this conclusion were recklessly false.

        49.    Towards the end of the November 2016 broadcast, Mr. Jones stated: “Why should

anybody fear an investigation? If they have nothing to hide? In fact, isn’t that in Shakespeare’s

Hamlet? Methinks you protest too much…This particular case, they are so scared of investigation.”

        50.    Mr. Jones concluded the video by accusing certain parents seen on television of

being actors. Mr. Jones stated, “So, if children were lost at Sandy Hook, my heart goes out to each

and every one of those parents. And the people who say they’re parents that I see on the news. The

only problem is, I’ve watched a lot of soap operas. And I’ve seen actors before. And I know when

I’m watching a movie and when I’m watching something real.”

        51.    The November 2016 video broadcast was entitled, “Alex Jones Final Statement on

Sandy Hook.” It was Plaintiff’s hope that the title was accurate, and that Mr. Jones would finally

end his reckless torment of the Sandy Hook parents as well as his assertions that they were liars

and actors engaged in a fraud on the American people.

        52.    As horrifying as the November 2016 broadcast was, its promise of being the “Final

Statement” gave some hope to Plaintiff that Mr. Jones’ harassment might be coming to an end

after four long years.

        53.    Those hopes were soon dashed. Instead, InfoWars continued its cruel campaign in

2017.

        54.    In a March 8, 2017 video, Mr. Jones praised the credibility of Steve Pieczenik, who

had     previously   claimed    on    InfoWars        programming   that    Sandy    Hook      was

“a Homeland Security drill that they passed off as a real event.” Mr. Jones admitted that despite

his years of prior statements, “I can't prove it one way or the other.” Nonetheless, Mr. Jones



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repeated his accusation that Veronique De La Rosa’s interview with Anderson Cooper was faked

in front of a blue-screen. He also told his audience that Anderson Cooper was in the CIA, hoping

to convince them that the agency was part of the plot.

       55.     On April 22, 2017, InfoWars published a video entitled “Sandy Hook Vampires

Exposed.” This video again repeated the large collection of false accusations which Mr. Jones had

been using for years to support his ceaseless attacks on the Sandy Hook families, including the

false claims that Sandy Hook parent Veronique De La Rosa participated in a fake blue-screen

interview with Anderson Cooper, that the school was closed until that year and was rotting and

falling apart in videos, that the children were “going in circles, in and out of the building with their

hands up,” that port-a-potties had been delivered “an hour after it happened, for the big media

event,” and that police were “pulling guns out of cars” and “finding people in the back woods who

are dressed up in SWAT gear.” Not only did this video continue to advance these hideous and

reckless lies about the tragedy, but Mr. Jones and his employee Rob Dew mocked the families as

actors and discussed their desire to see photographs of the children’s dead bodies.

       56.     On June 13, 2017, in a video entitled “Media Refuses to Report Alex Jones’ Real

Statements on Sandy Hook,” Mr. Jones addressed what he knew would be a highly embarrassing

interview with Megyn Kelly that was scheduled to air several days later. During this video, Mr.

Jones pointed his viewers to a list of questions published by Zero Hedge, a notorious anonymous

website that spreads misinformation. These questions were all based on Mr. Jones’ baseless lies,

including his allegation that school’s website received no internet traffic in the years before the

attack, that there had been reports of other shooters in the woods who fled, that port-a-potties had

been delivered within an hour, that FBI crime statistics show no murders in Newtown in 2012, that




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EMTs were not allowed in the building, and that Mrs. De La Rosa’s interview was faked using a

blue-screen.

       57.     On June 18, 2017, NBC aired Ms. Kelly’s profile of Jones. During his interview,

Mr. Jones stated that there had been a “cover-up” and “manipulation.” He also falsely claimed that

children were filmed going in circles in and out of the school.

       58.     The following exchange took place:

                       MEGYN KELLY: But Alex, the parents, one after the
                       other, devastated. The dead bodies that the coroner
                       autopsied…

                       ALEX JONES: And they blocked all that. And they won't
                       release any of it. That's unprecedented.

       59.     Mr. Jones and Ms. Kelly also had the following exchange:

                       JONES: But then what do you do, when they've got the kids
                       going in circles, in and out of the building with their hands
                       up? I've watched the footage. And it looks like a drill.

                       MEGYN KELLY: When you say, "parents faked their
                       children's death," people get very angry.

                       ALEX JONES: Yeah, well, that's - oh, I know. But they don't
                       get angry about the half million dead Iraqis from the
                       sanctions. Or they don't get angry about all the illegals
                       pouring in.

       60.     During her profile of Mr. Jones, Ms. Kelly interviewed Neil Heslin about the claims

made by Mr. Jones. Mr. Heslin is the father of Plaintiff’s deceased son J.L. Addressing Mr. Jones’

hateful lies, Mr. Heslin told Ms. Kelly, “I lost my son. I buried my son. I held my son with a bullet

hole through his head.”

       61.     On June 25-26, 2017, InfoWars published a video segment hosted by reporter Owen

Shroyer in which Mr. Shroyer claimed to have reviewed evidence -- again, from notorious website

Zero Hedge -- showing it was impossible for Mr. Heslin to have held his son and see his injury.

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        62.     During the broadcast, Shroyer said, “The statement [Mr. Heslin] made, fact-

checkers on this have said cannot be accurate. He’s claiming that he held his son and saw the bullet

hole in his head. That is his claim. Now, according to a timeline of events and a coroner’s

testimony, that is not possible.”

        63.     As support for these malicious statements, Mr. Shroyer played deceptively edited

video footage in which the local medical examiner informed reporters that the slain students were

initially identified using photographs rather than in person. Mr. Shroyer also used a video clip of

Sandy Hook parent Lynn McDonnel which had been deceptively edited to suggest that she was

never allowed access to her child’s body. In truth, Mrs. McDonnel stated in her interview that she

was in possession of her child’s body.

        64.     Mr. Shroyer also stated, “You would remember if you held your dead kid in your

hands with a bullet hole. That’s not something you would just misspeak on.”

        65.     Mr. Shroyer continued by stating that Mr. Heslin was “making a pretty extreme

claim that would be a very thing vivid in your memory, holding his dead child.”

        66.     Mr. Shroyer also stated, “The conspiracy theorists on the internet out there have a

lot of questions are that are yet to be answered. You say whatever you want about the event, that’s

just a fact.”

        67.     At the conclusion of his report, Mr. Shroyer stated, “Will there be a clarification

from Heslin or Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now they’re fueling the

conspiracy theory claims. Unbelievable.”

        68.     Mr. Shroyer’s report was recklessly false and outrageous. A minimal amount of

research would have caused any competent journalist not to publish the defamatory accusation.

According to contemporary news accounts, the bodies of the victims were released from the



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medical examiner into the custody of the families. 4 Funerals where the children’s bodies were in

the custody of their parents were widely reported on by the press. 5 More importantly, the full

versions of the deceptively edited interviews used by Mr. Shroyer explicitly contradict his

allegations.

       69.     On July 20, 2017, InfoWars programming featured a segment hosted by Mr. Jones

in which Mr. Shroyer’s report was re-broadcast in full. When introducing the segment, Mr. Jones

demanded that Mr. Heslin “clarify” what actually happened.

       70.     Mr. Jones said he told Mr. Shroyer, “I could never find out. The stuff I found was

they never let them see their bodies. That’s kind of what’s weird about this.” Dripping with

sarcasm, Mr. Jones stated, “But maybe they did. So I’m sure it’s all real. But for some reason they

don’t want you to see [Shroyer’s segment].”

       71.     After five years of torment by Mr. Jones, the harassment had become directly and

aggressively focused on Plaintiff’s family. Mr. Jones had cast the attention of his dangerous

followers specifically towards J.L.’s’ death and Plaintiff’s family.

       72.     Even to this day, Mr. Jones continues to gaslight the Lewis family and other victims

by insisting that he admitted for years that Sandy Hook was real. He even claims to have

apologized in a video released on the day of Megyn Kelly profile, on June 18, 2017. Yet his video

did not actually contain any apology, and soon thereafter, Mr. Jones continued to tell his viewers

that the shooting was staged. Ultimately Jones waffles and back forth on whether Ms. Lewis’ son

and the other children actually died, but he consistently maintains the event is “phony,” and repeats

his dozens of recklessly false assertions to support his conclusion.


4https://patch.com/connecticut/newtown/police-no-motive-emerging-in-newtown-school-shooting
5http://abcnews.go.com/US/photos/sandy-hook-moment-silence-18026580/image-18045101;
https://www.washingtonpost.com/politics/funerals-for-newtown-massacre-victims-
begin/2012/12/17/ffd0a130-486d-11e2-820e-17eefac2f939_story.html?utm_term=.0ccbbb4af100

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       73.     For example, in an October 26, 2017 video entitled “JFK Assassination Documents

To DROP Tonight,” Mr. Jones claimed that the CIA visited Sandy Hook shooter Adam Lanza and

recruited him. He claimed that the truth about Lanza is not known because “they bulldozed the

house to get rid of it.” Mr. Jones told his audience that Sandy Hook was “as phony as a three-dollar

bill, with CNN doing fake newscasts, with blue screens.”

       74.     Despite his well-documented conduct, Mr. Jones decided to cast the families as

dishonest not only about Sandy Hook, but about their own torment at his hands. In a video on April

20, 2018 entitled, “MSM Continues to Demonize Alex Jones,” Mr. Jones once again proved

himself to be an emotionally manipulative liar while mocking the parents with a cruel and juvenile

imitation:

               I think they almost do this to mess with us or something. I'm serious,
               man…They go, "Oh, my gosh, why are you doing that? You hurt
               me." And we’re like, "No, no. We're sorry." "You’ve hurt me." And
               like five years later, "You hurt me. Stop hurting me." And we're like,
               "But we're not bringing you up.”

       75.     In truth, Mr. Jones has continuously leveled his accusations against the parents,

repeated a collection of false claims about the shooting, and even claimed the incident was phony

a few months before the first lawsuits were filed against him.

       76.     In the same video on April 20, 2018, Mr. Jones continued to accuse the parents of

lying about his conduct, and he falsely claimed that he had not discussed Sandy Hook in many

years. In a mocking imitation, he stated, “‘Oh, my gosh. Alex has no heart. He is -- nothing is

sacred. He brought it up again.’ No. You did and lied about it.”

       77.     In the April 20, 2018 video, Mr. Jones also falsely claimed he had never attacked

the victims, stating, “I have never gone after the Sandy Hook parents…Who in the hell would try

to go after people's parents who have dead children?”



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       78.     In the April 20, 2018 video, Mr. Jones also continued to make recklessly false

claims about Sandy Hook. For example, Mr. Jones stated, “You can look it up. They stood down

in Sandy Hook. They stood down in Parkland. That's a fact.” Later in the video, he repeated his

claim that there was a police “stand down” at Sandy Hook.

       79.     In the April 20, 2018 video, Mr. Jones also continued his bizarre allegations about

Veronique De La Rosa’s interview with Anderson Cooper, stating, “It's just a background with the

flowers of the town hall and her and Anderson Cooper. And then he turns and his head is shimmery,

and his nose disappears, which everybody knows is a chroma key.” Mr. Jones also repeated his

claim that Anderson Cooper was working for the CIA, and he continued to assert that the interview

was shot in front of a blue-screen rather than the result of digital compression.

       80.     Finally, it must be noted that the above descriptions of InfoWars’ conduct are not

exhaustive. InfoWars has published an enormous amount of video and written content regarding

its Sandy Hook hoax claim. Much of that material has been removed from the public domain over

the last few months and cannot be identified by date and title. It is impossible for the Plaintiff to

present the full scope of InfoWars’ actions over the past five years without testimony and

documents from the participants.

       81.     Nonetheless, it is clear that InfoWars did not merely “cover” the Sandy Hook

conspiracy. Instead, its malicious allegations about Sandy Hook quickly become a core element of

its programming and soon turned into an outrageous five-year obsession.

                                      CAUSE OF ACTION

I.     Intentional Infliction of Emotional Distress.

       82.     All previous allegations are incorporated by reference.




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       83.     Defendants knew or should have known that their videos on November 18, 2016,

March 8, 2017, April 22, 2017, June 13, 2017, June 19, 2017, June 26, 2017, July 20, 2017, October

26, 2017, and April 20, 2018 would cause Plaintiff severe emotional distress and cause her family

to be the subject of harassment, ridicule, and threats to their safety.

       84.     Defendants made the statements in these videos in bad faith and with malicious

motives, knowing the statements were false or in reckless disregard for the truth, and knowing they

would cause severe emotional distress.

       85.     Defendants consistently published false assertions about the circumstances of the

death of Plaintiff’s child in scores of videos and articles for years, long after it should have known

its allegations were false and causing emotional distress and danger.

       86.     In addition, Defendants have been acting in a continuing course of conduct against

Plaintiff since at least January 27, 2013, when Mr. Jones first made his outrageous and false Sandy

Hook hoax allegation. Since that time, Defendants have been engaged in a continuous campaign

of cruel and dishonest harassment.

       87.     Defendants’ latest malicious statements in 2017 were part of a continuous pattern

of five years of intentional and reckless harassment accomplished through dozens of disturbing

videos, a relentless stream of recklessly false articles published on InfoWars.com, harassing social

media content, as well as the encouragement, aid, and financial support to third-parties in

furthering this harassment. The cumulative quality and quantity of the harassment has been

extreme and has shocked the nation.

       88.     Defendants recognized the existence and distress of the Sandy Hook parents and

often addressed the parents directly in their outrageous videos.




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       89.        In light of their prior experience with these kind of reckless statements, Defendants

knew or should have known that their conduct could cause Plaintiff and her family to suffer

harassment and violence. Defendants knew or should have known their reckless conduct was likely

to prompt its audience to contact or communicate with Sandy Hook victims in a hostile or harassing

manner.

       90.        Severe emotional distress was the primary risk created by Defendants’ reckless

conduct.

       91.        Defendants’ conduct, as a whole, was outrageous and intolerable, going beyond all

possible bounds of decency.

       92.        Defendants’ five-year campaign of willful lies and malicious harassment was

utterly intolerable in a civilized community.

       93.        No reasonable person could be expected to endure the emotional distress inflicted

upon Plaintiff.

       94.        Plaintiff is a private individual and is neither a public official nor a public figure.

       95.        Defendants’ actions were not conducted in a public space. Rather, Defendants’

actions were conducted on its own private property for the purpose of profit.

                                               DAMAGES

       96.        Defendants’ actions have and will continue to cause harm to Plaintiff. Due to

Defendants’ conduct, Plaintiff has suffered and continue to suffer substantial damages in an

amount to be proven at trial.

       97.        Plaintiff has suffered general and special damages, including a severe degree of

mental stress and anguish which disrupted her daily routine and caused a high degree of

psychological pain.



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        98.    Plaintiff is also entitled to exemplary damages because the Defendants acted with

gross negligence, ill-will, and malice.

        99.    Plaintiff is entitled to pre-judgment and post-judgment interest, costs of court, and

attorney’s fees.

        100.   Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff is seeking an

amount in relief which exceeds $1,000,000.

                                          JURY DEMAND

        101.   Plaintiff demands a jury trial and tendered the appropriate fee with her Original

Petition.

                                             PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiff Scarlett Lewis ask that the Court

issue citation for each Defendant to appear and answer, and that Plaintiff be awarded all the

damages set forth above, and to grant whatever further relief to which Plaintiff is justly entitled.



                                              Respectfully submitted,

                                              KASTER LYNCH FARRAR & BALL, LLP




                                              _________________________________________
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                                                 20
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                          CAUSE NO. D-1-GN-18-006623

         SCARLETT LEWIS                    *   IN THE DISTRICT COURT OF
            Plaintiff                      *
                                           *
                                           *
         VS.                               *   TRAVIS COUNTY, TEXAS
                                           *
         ALEX E. JONES, INFOWARS,          *
         LLC, AND FREE SPEECH              *
         SYSTEMS, LLC,                     *
            Defendants                     *   53RD JUDICIAL DISTRICT


                        ORAL/VIDEOTAPED DEPOSITION

                                         OF

                                 ALEX E. JONES

                           Thursday, March 14, 2019



                   ORAL/VIDEOTAPED DEPOSITION OF ALEX E. JONES,

      produced as a witness at the instance of the Plaintiff,

      and duly sworn, was taken in the above-styled and

      numbered cause on Thursday, March 14, 2019, from

      12:02 p.m. to 4:33 p.m., before Debbie D. Cunningham,

      CSR, reported via Machine Shorthand at the offices of

      Waller Lansden Dortch & Davis, LLP, 100 Congress Avenue,

      Suite 1800, Austin, Texas, pursuant to the Texas Rules

      of Civil Procedure and/or any provisions stated on the

      record or attached hereto.
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 1              APPEARANCES                                                1               EXHIBIT INDEX
 2                                                                         2 Exhibit Number Description                 Page
 3 COUNSEL FOR PLAINTIFF:                                                  3 Exhibit 1 7/27/18 First Supplemental         8
 4       KASTER LYNCH FARRAR & BALL, LLP                                              Affidavit of Alex E. Jones
         1010 Lamar, Suite 1600                                            4
 5       Houston, Texas                                                      Exhibit 2 Trooper Jeremy Combes State of 47
         (T) 713.221.8300                                                  5          Connecticut Department of Public
 6         By: Mark D. Bankston, Esq.                                                 Safety Investigation Report
              mark@fbtrial.com                                             6
 7                  AND                                                      Exhibit 3 Sgt. William F. Cario State of 51
              William Ogden, Esq.                                          7          Connecticut Department of Public
 8                                                                                    Safety Investigation Report
 9 COUNSEL FOR DEFENDANTS:                                                 8
                                                                             Exhibit 4 Photograph date and time stamped 60
10      GLAST, PHILLIPS & MURRAY, P.C.
                                                                           9          12-14-12 13:28:11
        14801 Quorom Drive, Suite 500
                                                                          10 Exhibit 5 Photograph of man wearing            83
11      Dallas, Texas
                                                                                      INFOWARS.COM T-shirt, with
        (T) 972.419.8300
                                                                          11          background caption of:
12         By: Mark Enoch, Esq.
                                                                                      TRUTHRADIOSHOW.COM Declaring War
              mkenoch@gpm-law.com
                                                                          12          on the -New World Order-
13
                                                                          13 Exhibit 6 Affidavit of Fred Zipp          110
                AND
                                                                          14 Exhibit 7 Affidavit of Alex E. Jones       118
14
                                                                          15 Exhibit 8 Photograph of two men with the 125
        BARNES LAW, LLP               (PRO HAC VICE)
                                                                                      caption of Carl Rochelle, Saudi
15      601 South Figueroa St., Suite 4050
                                                                          16          Arabia, CNN Live, with a
        Los Angeles, California
                                                                                      background caption of InfoWars
16      (T) 213.294.3006                                                  17          Nightly News with Alex Jones and
           By: Robert E. Barnes, Esq.                                                 a caption under the photo of
17            barneslaw@barneslawllp                                      18          INFOWARS.com
18                                                                        19 Exhibit 9 Photograph of two men dressed in 127
19                                                                                    military type desert camouflage
   VIDEOGRAPHER:                                                          20          clothing standing in front of a
20      Joe Bazan                                                                     white building with palm trees
21                                                                        21
   ALSO PRESENT:                                                             Exhibit 10 Photograph of a man in a green 127
22      Fred Zipp                                                         22          fatigue jacket standing front of
        Rob Dew                                                                       palm trees, with the caption of
23                                                                        23          Forrest Sawyer ABC News
24                                                                        24
25                                                                        25

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 1                          INDEX                                          1 Exhibit 11 Photograph of satellite       128
 2    APPEARANCES                                      2                              communication dishes and other
                                                                           2          equipment next to a blue and
 3
                                                                                      white building
 4 EXAMINATION OF ALEX E. JONES:
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 5    BY MR. BANKSTON                                      7
                                                                             Exhibit 12 Flash drive               188
 6                                                                         4
 7                                                                         5
 8    CHANGES AND SIGNATURE                                     189        6
 9    REPORTER’S CERTIFICATION                                  191        7
10    FURTHER CERTIFICATION                                    194         8
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 1         (Thursday, March 14, 2019, 12:02 p.m.)                  1           (Exhibit 1 marked.)
 2                PROCEEDINGS                                      2     Q. (BY MR. BANKSTON) I’m going to be showing you
 3            THE VIDEOGRAPHER: We’re on the record for            3 what I’m now marking as Exhibit 1. It’s a double-sided
 4 the videotaped deposition of Alex Jones, taken on               4 document. Mr. Jones, that is a July 27th, 2018
 5 Thursday, March 14, 2019. The time is approximately             5 Affidavit which you executed, correct?
 6 12:02 p.m.                                                      6     A. Yes, sir.
 7            Will the court reporter please swear in              7     Q. I want to go through this affidavit with you
 8 the witness.                                                    8 and the highlighted part sentence by sentence. Do you
 9                ALEX E. JONES,                                   9 see the pale orange part which I’m now going to read to
10 having taken an oath to tell the truth, the whole truth,       10 you? "Plaintiffs claim that I started the controversy
11 and nothing but the truth, was examined and testified as       11 and/or conspiracy about Sandy Hook being a hoax. This
12 follows:                                                       12 is not true." I read that correctly?
13                 EXAMINATION                                    13     A. I need to read the full page.
14 BY MR. BANKSTON:                                               14     Q. Please take a moment to read it.
15     Q. Mr. Jones --                                            15     A. (Witness silently reading document.)
16            MR. BARNES: When do you want me to go on            16           It’s just the orange part you want me to
17 the record?                                                    17 read?
18            MR. BANKSTON: Oh, yeah, let’s do that               18     Q. I actually just read it to you and wanted to
19 now, actually, Mr. Barnes. Why don’t you do that for           19 know if I had read it correctly. Allow me to read it
20 me?                                                            20 for you again, Mr. Jones. "Plaintiffs claim that I
21            MR. BARNES: Thank you.                              21 started the controversy and/or conspiracy theory about
22            This is Robert Barnes. I’m General                  22 Sandy Hook being a hoax. This is not true." I read
23 Counsel for InfoWars and Mr. Jones and in this context         23 that correctly?
24 Free Speech Systems, LLC, here representing him. I have        24     A. Yes, uh-huh.
25 a motion for pro hac pending; and the agreement is I can       25     Q. Okay. The next sentence says, "Before I ever
                                                              7                                                                 9
 1 represent the Defendant, Mr. Jones, here with the               1 publicly commented on any issues relating to Sandy Hook,
 2 acknowledgment that I am bound by the Texas Rules of            2 I learned that others with whom I have no affiliation or
 3 Civil Procedure, the Texas Ethical and Professional             3 relationship had already posted articles" -- excuse me,
 4 Rules, and the Texas Sanctions Rules and will be bound          4 Mr. Jones, if you would like to flip the page --
 5 by them accordingly.                                            5 "relationship had already posted articles online making
 6            MR. BANKSTON: Thank you, Mr. Barnes.                 6 this claim and questioning the events as reported." I
 7            MR. BARNES: Oh, you do want the mic on?              7 read that sentence correctly?
 8 No problem.                                                     8     A. Yes, sir.
 9                 EXAMINATION                                     9     Q. So there were a variety of articles and
10 BY MR. BANKSTON:                                               10 YouTube videos questioning the events that started
11     Q. Mr. Jones?                                              11 getting popular in the time period after the shooting.
12     A. (No audible response.)                                  12 I assume you saw some of those?
13     Q. Mr. Jones?                                              13     A. Yes, sir.
14     A. Uh-huh.                                                 14     Q. How long is this are we talking? Are we
15     Q. I want to go back to when this all started.             15 talking days, weeks, months?
16 And in fairness to you, one of the things that you’ve          16     A. I don’t know. I don’t want to answer
17 tried to make clear is that you’re not the one who             17 incorrectly. I don’t remember the exact times. So I
18 started the theory that Sandy Hook was a false flag,           18 really can’t state that time, but I think a month or
19 correct?                                                       19 longer.
20     A. Yes, sir.                                               20     Q. Sure. Okay. I remember there was -- about a
21     Q. And that’s something that was borne out by              21 month after the shooting, there was a relatively popular
22 InfoWars archives and that you’ve been able to rely on         22 YouTube video that went viral. Do you recall this
23 in court, correct?                                             23 video?
24     A. I don’t exactly understand what you’re saying.          24     A. There were a lot of -- 2 million, 10 million.
25     Q. Okay. Let me help you with that.                        25 It was a bunch of videos. It was a firestorm of -- on

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 1   the Internet about it.                                         1   President Trump questioned right after he got elected
 2       Q. Okay. And it was then, when you saw that,               2   and was first in office whether the attacks on the
 3   that you started covering it and started commenting on         3   Jewish cemeteries were being staged, and it turned out
 4   Sandy Hook?                                                    4   they were.
 5             MR. BARNES: Objection as to define Sandy             5              So, I mean, again, going from memory, I
 6   Hook. Object as to form.                                       6   remember looking at it as your standard horrible tragedy
 7       Q. (BY MR. BANKSTON) You can go ahead and                  7   of psychotropic drugs, a kid in a cult, you know, type
 8   answer, Mr. Jones.                                             8   stuff, like Columbine, shoot-’em-up video games. I
 9       A. No, I started commenting on Sandy Hook that             9   remember that’s where I was going because that’s where
10   they would use it to go after our guns and that the           10   all the other shootings basically came from.
11   media always hyped up school shootings and was causing        11       Q. Sure.
12   copycat events, that the mainstream media were basically      12       A. And so I can’t specifically -- I mean, I’m
13   psychic vampires promoting mass shootings so they could       13   going from the best of my memory.
14   blame gun owners and try to take the Second Amendment         14       Q. Okay. Well, Mr. Jones, I want to show you
15   away, which they pushed to repeal the Second Amendment.       15   some video clips of some things you were saying as the
16             So for the first month or so -- and,                16   news broke of Sandy Hook and in a video that day that
17   again, this was almost seven years ago -- but we’ve gone      17   you titled Connecticut School Massacre Looks Like False
                                                                   18   Flag, Says Witnesses.
18   back and looked at some of it in trying to find -- at
                                                                   19              MR. BANKSTON: Can you play the clip Day
19   least three weeks, four weeks or so. And then it was
                                                                   20   of Sandy Hook?
20   such a firestorm on the Internet, it’s like, no, this
                                                                   21                (Video playing.)
21   isn’t Prozac; this isn’t video games, like I was saying,
                                                                   22       Q (BY MR. BANKSTON) Mr. Jones, this is a video
22   I thought, like other shootings that happened. This
                                                                   23   where you made comments on issues relating to Sandy Hook
23   was, you know, some type of staged event or multiple
                                                                   24   and you put forward a theory that it could be staged by
24   shooters or people in the woods, things like that. It
                                                                   25   the Government to take away our guns, correct?
25   was a whole range of theories in a big Internet debate
                                                              11                                                                13
 1 going on that I then reported on and gave analysis to my         1           MR. BARNES: Objection. It seems like
 2 opinions.                                                        2 this is a video, from watching it, that’s different
 3     Q. Correct. Okay.                                            3 pieces put together.
 4     A. And I think that’s what was weeks after. I                4           MR. BANKSTON: Correct.
 5 can’t remember the exact number. I immediately when it           5           MR. BARNES: Okay. So it’s not from --
 6 happened, you know, said, "Oh, look another person in a          6 so different things are out of context. Is there any
 7 black trench coat, you know, a loner on psychotropics            7 way to get, like, the whole --
 8 that came out, shoot-’em-up video games." And I                  8           MR. BANKSTON: You own the whole video,
 9 remember being criticized by the video game industry             9 and it’s been produced with Mr. Zipp’s affidavit.
10 saying, "Don’t you blame video games."                          10           MR. BARNES: But for his purposes --
11     Q. What I’m curious about, Mr. Jones, can you               11           MR. BANKSTON: If he wants to go watch an
12 flip the page back over again and look at the beginning         12 entire four-hour video, I’m not going to have time --
13 of the yellow sentence? So when you say, "Before I ever         13           MR. ENOCH: Mark, it has not been
14 publicly commented on any issues relating to Sandy              14 produced with Zipp’s --
15 Hook," you saw other stuff going on, right, you mean            15           MR. BANKSTON: Actually, Connecticut
16 whether it was staged or not? In other words, you made          16 False Claim full video has been produced; and it’s been
17 some comments about Sandy Hook when it first happened;          17 in a court. If you want to argue about that and object,
18 but in terms about it being a false flag or staged or           18 you can object at that time when it’s offered. That
19 some sort of hoaxed event, right, that came later?              19 objection’s preserved. You don’t have to object to form
20 You’re not the one who started that?                            20 on that one.
21           MR. BARNES: Objection as to form.                     21      Q. (BY MR. BANKSTON) Mr. Jones, that was a video
22     A. I know that I didn’t start it. And I think               22 in which you made statements about Sandy Hook in which
23 it’s a boilerplate. Anytime there’s a big public event,         23 you said -- put forth the theory it could be staged to
24 like Jussie Smollett or babies in incubators in Iraq, a         24 take away our guns?
25 lot of people question, you know, whether it’s real.            25      A. That’s a Media Matters edited -- that’s Media

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 1 Matters edited derivative.                                      1     A. I saw a Media Matters video of that before.
 2     Q. Is that you on that tape?                                2 You’re saying you edited that?
 3     A. It’s edited.                                             3     Q. It’s not an important deal.
 4     Q. And that’s you talking about: Don’t think                4     A. But you did edit it?
 5 this couldn’t be staged. Our Government kills little            5     Q. I did, yes. I’m not here to answer questions.
 6 kids all the time. That’s you saying those words?               6     A. Three-second clips together.
 7     A. With SMART moms and things, yeah. It’s edited            7     Q. Those clips were edited together by me two
 8 out of context.                                                 8 weeks ago.
 9     Q. The truth is, Mr. Jones, you were the first              9     A. Why didn’t you just play them unedited?
10 person in the world to make the false flag theory about        10     Q. That’s -- Mr. Jones, I’m not here to answer
11 Sandy Hook and you did it before the bodies were even          11 your questions. You understand you’re here because
12 cold; that’s the truth?                                        12 people have sued you and you have four hours in which
13           MR. BARNES: Objection as to form and to              13 they’re to ask you questions. Are you going to do that
14 the defin- -- are we going to have, like, set                  14 for me today?
15 definitions of the words, like --                              15     A. Yes, I’m answering your questions.
16           MR. BANKSTON: No, you can object to                  16     Q. So in that video, "yes" or "no," you were
17 form. Yeah, that’s Rule 199. Just object to form.              17 commenting about Sandy Hook?
18           MR. BARNES: That’s fine.                             18     A. In the edited video I was commenting on Sandy
19     Q. (BY MR. BANKSTON) Mr. Jones, you said in your           19 Hook.
20 affidavit that before you commented on any issues              20     Q. You’ll agree over the years you’ve seen
21 relating to Sandy Hook, you saw other things that other        21 various anomalies relating to Sandy Hook?
22 people were doing. That affidavit has false statements,        22     A. I’ve seen reported anomalies.
23 doesn’t it?                                                    23     Q. A lot of those anomalies are in videos, things
24     A. No.                                                     24 like the helicopter video of people being detained in
25     Q. So we didn’t just see you commenting on issues          25 the woods. Do you know what I’m talking about?
                                                             15                                                               17
 1 relating to Sandy Hook?                                         1     A. Yes.
 2     A. That was callers calling up.                             2     Q. Okay. There’s the Anderson Cooper interview
 3     Q. You’re going to tell me you watched that video           3 with Ms. De La Rosa. Do you know what I’m talking about
 4 and you weren’t commenting on Sandy Hook?                       4 there?
 5     A. I told you five minutes ago before you played            5     A. I know who Anderson Cooper is.
 6 it that as a boilerplate of any big public event,               6     Q. You know what the blue screen video is --
 7 whether it’s Jussie Smollett or whether it’s babies             7     A. Yes.
 8 having their brains bashed out in incubators or WMDs,           8     Q. -- where his nose disappears?
 9 that I upfront questioned it because of things from             9     A. Yes.
10 Operation Northwoods and hundreds of declassified real         10     Q. Okay. You know that there’s some videos of
11 staged events where our Government admits that it staged       11 some interviews that were just kind of strange, right?
12 events. Now, I always boilerplate say that we need to          12 Those are something you’ve seen?
13 investigate the news reportage of this and see what’s          13     A. Yes.
14 true. There’s such a long history of governments and           14     Q. There’s been discussion on InfoWars about the
15 corporations and legal groups engaging in fraud. And I         15 interior videos taken of the school itself, right?
16 said that before you played the clip.                          16     A. Yes.
17           MR. BANKSTON: Objection, nonresponsive.              17     Q. There’s been discussion on InfoWars about dash
18     Q. (BY MR. BANKSTON) Mr. Jones, I have a very              18 cam video footage at Sandy Hook? Remember Mr. Dew
19 simple question for you: That video you just saw of you        19 talking about videos of the officers eating their
20 talking, were you talking about Sandy Hook?                    20 lunches on top of their cars?
21     A. The edited pieces were.                                 21     A. I don’t remember that.
22     Q. The pieces that I edited and put together of            22     Q. Okay. But if there was -- if Mr. Dew talks
23 you speaking, I edited them. When I edited those pieces        23 about dash cam footage, you have no reason to believe
24 together and put them in front of you, was that you on         24 he’s lying, do you?
25 the camera?                                                    25     A. I’m still not familiar with what you’re

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 1 talking about.                                                  1 to waste. Sometimes things are completely made up, like
 2      Q. Okay. And InfoWars has also discussed                   2 the babies in the incubators, which is admitted. You
 3 questioning the official story from time to time,               3 know, they’ve got the PR firm that said the babies
 4 correct?                                                        4 brains were all bashed out and we lost all those wars.
 5      A. Uh-huh.                                                 5     Q. I’ve heard you say that.
 6      Q. Including the official report about Sandy Hook          6     A. And so it’s just been -- and the WMDs. The
 7 that was released? There’s some weird things in there           7 WMDs were a lie, too, and then watched -- that have
 8 that have been questioned on InfoWars?                          8 killed millions of people.
 9      A. The one that came out, like, five or six years          9           MR. BANKSTON: Objection, nonresponsive.
10 later.                                                         10     A. Well, I’m trying to answer the question.
11      Q. I think in December of 2013, so about a year           11     Q. (BY MR. BANKSTON) Oh, do you know what
12 later.                                                         12 question you’re answering?
13      A. The state police report?                               13     A. Well, you were asking a question of, like --
14      Q. The state police report. Are you familiar              14 I’m not sure. You said you’ve always questioned; and
15 with what I’m talking?                                         15 I’m saying, no, I questioned it up front. The public
16      A. That’s so long ago, six years ago, I just...           16 questioned it. And then, as I had time to go over it, a
17      Q. Well, I mean, there’s anomalies all over the           17 lot of the anomalies turned out to not be accurate; and
18 place is what I’m saying. You’ve seen --                       18 I believe school shootings happen.
19      A. There have been a lot of people asking a lot           19     Q. All right. So I think a shorter way is you
20 of questions that isn’t legal yet in this country.             20 had doubts; you had questions until you didn’t. At some
21      Q. Right. Recently your lawyer said in a legal            21 point -- I mean, things change; I understand that. But
22 document, "There is no dispute that the Sandy Hook             22 there have been points in which you’ve questioned the
23 tragedy was real with tragic loss of life." Do you             23 official narrative. You’ve had serious doubts about
24 stand by that?                                                 24 some of these things?
25      A. I’m sorry. You’re talking so fast.                     25     A. Yes.
                                                             19                                                                 21
 1      Q. Sure, sure. Let me slow down a little bit for           1     Q. And these anomalies that have come up, these
 2 you, Mr. Jones. Recently your lawyer said in a legal            2 things have raised serious doubts. You’ve had serious
 3 document, "There is no dispute that the Sandy Hook              3 doubts about the anomalies, too?
 4 tragedy was real with tragic loss of life." You stand           4     A. Yes.
 5 by that; that’s what you admit is true now?                     5     Q. Okay. By the spring of 2013 or so, let’s say
 6      A. Yes.                                                    6 just a few months after the shooting, by that point, you
 7      Q. Okay. But in the past -- before you had all             7 had gone from theory to just straight up telling your
 8 the information, in the past, you didn’t know exactly           8 audience, "Sandy Hook was staged, and the evidence is
 9 what happened at Sandy Hook? You’ve questioned it?              9 overwhelming"?
10      A. Oh, certainly in the past. You mean in the             10           MR. BARNES: Objection as to form.
11 last seven years?                                              11     Q. (BY MR. BANKSTON) Correct?
12      Q. Sure.                                                  12     A. Well, what does "staged" mean?
13      A. Yes.                                                   13     Q. I’m just asking what you were telling your
14      Q. And, in fact, over the course of covering              14 audience.
15 Sandy Hook over the past six or so years, you’ve always        15     A. No, no --
16 entertained serious doubts about what really happened          16     Q. I’m not answering your questions, Mr. Jones.
17 that day?                                                      17 You’re going to tell me what "staged" means when you
18      A. I’m sorry. I don’t understand.                         18 said it. So what I’m asking you is: A few months after
19      Q. Sure. Over the course of Sandy Hook, you’ve            19 the shooting, you had gone from theory to straight up
20 questioned the official story. You’ve had serious              20 telling your audience, "Sandy Hook was staged, and the
21 doubts that the official story was true?                       21 evidence was overwhelming." True or false?
22      A. I’ve always, from the beginning, had questions         22     A. But I’m asking you to define what you mean by
23 about any big public event that’s hyped up because so          23 "staged."
24 many times parts of it are being covered up or things          24     Q. I’m not asking -- I’m not asking for a
25 are being staged or they’re not letting a new crisis go        25 definition of "staged." I don’t care what "staged"

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 1 means. I’m asking: Did you say it?                               1            MR. BARNES: The same objection as to
 2      A. I don’t have it in front of me; but, I mean, I           2 form and that these are highly edited excerpts from --
 3 did say that I saw a lot of anomalies that I thought             3            (Simultaneous speakers.)
 4 that certainly large parts of the way it was being               4            MR. BANKSTON: Can you stop with speaking
 5 handled, you know, the Supreme Court came out saying             5 objections.
 6 they covered up some of the reports on what happened             6            MR. BARNES: Obviously --
 7 with the incident. I think a lot of that’s been borne            7            MR. BANKSTON: Yeah, I know exactly what
 8 out that when you see a cover-up going on, you’re not            8 you’re doing; and you need to say: Objection, form;
 9 sure what’s happening inside of it.                              9 objection, leading; assert a privilege or stay quiet.
10            And later we just learned it was a                   10 You do not need to be making suggestive objections about
11 cover-up of, I think, some of the negligence there in           11 the content of the evidence and what its form is. You
12 the town and with the school. I don’t know the teacher          12 don’t need to be doing that, Mr. Barnes.
13 that tried to save the kids was negligent -- that               13            MR. BARNES: I’m not trying to do that.
14 person’s a hero -- and sadly got sued. But I do, you            14 I’m just saying that these are videos that are highly --
15 know, clearly think there was some cover-up, but it             15            MR. BANKSTON: That’s a great opinion. I
16 wasn’t in that it was all, the whole thing, staged, but         16 don’t understand why your opinion is relevant to these
17 that the way the media handled it was synthetic. They           17 questions right now. You wouldn’t be doing this in a
18 way it was used against gun owners was synthetic.               18 courtroom. Don’t do it in my deposition right now.
19            MR. BANKSTON: All right, Mr. Jones.                  19            MR. BARNES: Oh, yeah, in a courtroom it
20 Objection, nonresponsive.                                       20 wouldn’t come in because it wouldn’t be admissible
21            Can you play the clip Overwhelming for               21 because of the rule of completeness.
22 me, please?                                                     22            MR. BANKSTON: Mr. Barnes, that’s why
23      Q. (BY MR. BANKSTON) Mr. Jones, I want to show             23 your objection’s preserved as to the form of that
24 you clip from April 16th, 2013.                                 24 evidence. You don’t have to raise an objection. The
25               (Video playing.)                                  25 only reason you would be doing it is to possibly
                                                              23                                                                 25
 1      Q. (BY MR. BANKSTON) That’s you on the video,               1 influence the witness.
 2 right?                                                           2            MR. BARNES: So can we have a standing
 3      A. Yes, that’s me on the short video.                       3 stipulation that when I object to form, that includes an
 4      Q. Yeah, it’s a short video. I understand.                  4 objection to the rule of completeness?
 5            By the end of 2014 you had personally                 5            MR. BANKSTON: Absolutely.
 6 done intensive research, and you concluded Sandy Hook            6            MR. BARNES: Thank you. Then we’re good.
 7 was all fake?                                                    7            MR. BANKSTON: And for the record every
 8            MR. BARNES: Objection as to form. And                 8 objection to every piece of evidence is preserved under
 9 are you asking him to repeat a quote?                            9 the Texas Rules, which --
10            MR. BANKSTON: No. I’m asking him --                  10            MR. BARNES: I was objecting in a way
11      Q. (BY MR. BANKSTON) By the end of 2014 you had            11 that --
12 personally done intensive research; and you concluded it        12            MR. BANKSTON: Mr. Barnes --
13 was all fake, correct?                                          13            (Simultaneous speakers.)
14            MR. BARNES: Still objection as to form.              14            THE REPORTER: Excuse me, Counsel. You
15      A. The specific areas I was talking about being            15 are speaking over one another. You’re making the record
16 fact, not in a totality.                                        16 very muddled.
17            MR. BANKSTON: Okay. Can you play the                 17            MR. BARNES: I’m sorry.
18 clip for me?                                                    18            So we have a standing stipulation that
19      Q. (BY MR. BANKSTON) Mr. Jones, I’m going to               19 when I object to form, that includes an objection on
20 play you a clip from December 29th, 2014.                       20 rule of completeness grounds to any evidence that -- or
21            MR. BANKSTON: Go ahead and play that for             21 a document or exhibit would otherwise include other
22 me, please.                                                     22 excerpts.
23               (Video playing.)                                  23            MR. BANKSTON: Thank you, Mr. Barnes.
24      Q    (BY MR. BANKSTON) That’s you saying you did           24            MR. BARNES: Perfect.
25 deep research, correct?                                         25     Q     (BY MR. BANKSTON) Over the next few years,

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 1 Mr. Jones, you did dozens and dozens of videos with that         1 Mr. Enoch; and one was already chosen. And, no,
 2 same message about Sandy Hook being staged, correct?             2 Mr. Enoch, there will be one lawyer speaking on the
 3           MR. BARNES: Objection as to form.                      3 record. There is one lawyer defending the deposition.
 4     A. No.                                                       4 I am not being tag-teamed by the two of you. And so I
 5     Q. (BY MR. BANKSTON) Okay. Well, I want to talk              5 would appreciate it if you kept your mouth shut for this
 6 about some of the claims you’ve made over the years.             6 deposition and let Mr. Barnes defend the deposition.
 7 The first thing I want to talk to you about is circles           7            For the record in the bottom corner of
 8 and I want to show you a video clip of something you             8 this screen is a large InfoWars logo. This was
 9 said on November 18, 2016; April 22nd, 2017; and                 9 broadcast on InfoWars.
10 June 13, 2017.                                                  10     Q. (BY MR. BANKSTON) So, Mr. Jones, my question
11           MR. BANKSTON: Can you play me the video               11 to you is: When you broadcast this to your audience and
12 clip Going in Circles?                                          12 told them this, you knew that wasn’t the school,
13                (Video playing.)                                 13 correct?
14           MR. BANKSTON: Can you give me the last                14            MR. ENOCH: Mark, would you please answer
15 frame, please?                                                  15 my question? And it’s a simple question: If you
16     Q    (BY MR. BANKSTON) Mr. Jones, when you said             16 represent that the video of the school that you’re
17 you’d be running them away from the building, what did          17 showing, the firehouse, was part of the same broadcast
18 you mean by that?                                               18 in which he made his statements --
19     A. The police should be getting the children away           19            MR. BANKSTON: Yes. Mr. Enoch, we just
20 from the building.                                              20 watched it. Do you really think I edited his words over
21     Q. Right. Okay. So the police should be --                  21 a different video?
22 scratch that.                                                   22            MR. ENOCH: Well, what I think doesn’t
23           No doubt there’s a dangerous situation, a             23 matter. Thank you for answering the question.
24 shooter on campus? Is it dangerous when there’s                 24            MR. BANKSTON: Mr. Enoch, I would
25 somebody shooting up a school?                                  25 appreciate it if you kept quiet the remainder of this
                                                              27                                                                 29
 1     A. Yes.                                                      1 deposition and let Mr. Barnes defend the deposition.
 2     Q. Okay. And so you would think if proper                    2     Q. (BY MR. BANKSTON) Mr. Jones, you knew that
 3 procedures were being followed in keeping them safe,             3 wasn’t the school?
 4 this looks pretty weird, doesn’t it, if they’re not              4            MR. BARNES: Object to the form.
 5 being run away from the building, right?                         5     Q. (BY MR. BANKSTON) Correct?
 6     A. Yes.                                                      6     A. I did not know that. This is so edited it
 7     Q. But, Mr. Jones, when you said this to your                7 looks like two different shows together. Can you play
 8 audience, you knew that wasn’t the school. You knew              8 it again? It’s so edited. I’ve never...
 9 that, right?                                                     9            MR. BANKSTON: Can you play at least the
10           MR. ENOCH: Are you saying that’s part of              10 last part there where he’s doing the video?
11 his broadcast?                                                  11            THE WITNESS: Just play the whole thing.
12           MR. BANKSTON: Yes. It says InfoWars                   12            MR. BANKSTON: Play the whole video again
13 right there on the bottom.                                      13 for him.
14           MR. ENOCH: Is that part of the same                   14     Q. (BY MR. BANKSTON) These are three different
15 broadcast?                                                      15 clips. And I’ll remind you, Mr. Jones, these are from
16           MR. BANKSTON: Yes. Do you see where it                16 November 18, 2016; April 22nd, 2017; and June 13, 2017.
17 says InfoWars?                                                  17     A. You just told him it was the same broadcast.
18           MR. ENOCH: As long as you’re                          18     Q. And this one right here is the same broadcast,
19 representing that the video that you’re showing him now         19 Mr. Jones.
20 with the people walking across was part of the same             20            MR. ENOCH: Is this the --
21 broadcast --                                                    21            MR. BANKSTON: This is November 18th,
22           MR. BANKSTON: Okay. First of all --                   22 2016.
23           MR. ENOCH: -- statements.                             23              (Video playing.)
24           MR. BANKSTON: First of all, there’s                   24     Q    (BY MR. BANKSTON) Let’s see if we can help
25 only going to be one lawyer defending this deposition,          25 you understand this. Hold on, Mr. Jones. Let’s see if

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 1 we can help you understand this. You understand this            1 about this one. This is the Sandy Hook Vampires
 2 first video where it says Sandy Hook Vampires Exposed,          2 Exposed. And we’ve talked about the second clip being
 3 you see that?                                                   3 from the Megyn Kelly interview, right? Correct?
 4     A. Yes. That’s about the media.                             4        A. Yes.
 5     Q. Correct. That’s April 22nd, 2017. That’s an              5        Q. Okay. Now then, the third clip that starts at
 6 InfoWars video.                                                 6 the end where it shows the video that we were talking
 7     A. It’s blurred. I can’t see that.                          7 about and you remember there was something you did
 8     Q. In other words, you know that there was an               8 called Final Statement on Sandy Hook in November of
 9 InfoWars video with that title, correct?                        9 2016?
10     A. I believe so.                                           10             MR. ENOCH: Mark --
11     Q. Okay. And then we saw a second clip from your           11             MR. BANKSTON: Mr. Enoch --
12 Megyn Kelly interview, right?                                  12             MR. ENOCH: -- you are -- maybe you don’t
13     A. Which was highly edited.                                13 intend to do it, Mark; but you’re stating something
14     Q. Sure. And I edited a piece of it in here,               14 that’s not correct. You just said one is from the Megyn
15 correct? That was from the Megyn Kelly --                      15 Kelly interview and you gave us three dates and none of
16           MR. ENOCH: Wait. Time out. Time out.                 16 them are the Megyn Kelly date.
17 We need to take a break. You just told me that                 17             MR. BANKSTON: I’m sorry if I’ve given
18 everything you showed him was from one video.                  18 you a wrong date. It was June 13th, 2017.
19           MR. BANKSTON: No, Mr. Enoch. I told you              19             MR. ENOCH: That is not the Megyn Kelly
20 what was on the screen and the audio were from the same        20 broadcast.
21 video.                                                         21             MR. BANKSTON: Okay. If I’ve misstated
22           MR. ENOCH: If you want to take a fair                22 the date, that’s my -- and you can object to that or you
23 deposition, you’re entitled to do that. You are not            23 can do whatever you want.
24 entitled to misrepresent to the witness three different        24        Q. (BY MR. BANKSTON) Do you agree that’s the
25 dates in deposition and say -- three different dates of        25 Megyn Kelly broadcast we were watching? That interview
                                                             31                                                                 33
 1 video and say this was the same video. Were these, all          1 in the middle was from the Megyn Kelly interview?
 2 the clips that you showed him the same video, "yes" or          2        A. I saw part of that. I mean, it was so fast,
 3 "no"?                                                           3 I...
 4           MR. BANKSTON: No. And we’ve said that                 4        Q. We’ll keep it slow. We’ll keep going --
 5 repeatedly from the moment I asked him. They were three         5        A. I watch Court TV and stuff. Nobody plays
 6 different dates. I read the three different dates to            6 edited tapes.
 7 you, Mr. Enoch. So your indignation can calm down, and          7        Q. Okay. This video here that we’re looking at
 8 I’d like you to be quiet in this deposition.                    8 is something from Final Statement on Sandy Hook. Do you
 9           MR. ENOCH: In what video --                           9 remember doing a video from Final Statement on Sandy
10           MR. BANKSTON: Mr. Barnes, can you please             10 Hook?
11 instruct your counsel to be quiet? You are defending           11        A. I do remember that.
12 this deposition.                                               12        Q. Okay. And this video here is where you showed
13           MR. ENOCH: Let’s take a break.                       13 this footage, and you made some comments about kids
14           MR. BANKSTON: Actually, I’ve got a                   14 going in circles, right?
15 question on the floor. We’re not taking a break.               15             MR. BARNES: Objection as to form.
16           MR. BARNES: You’re entitled to do                    16        A. If that’s from it, I remember making comments.
17 depositions the way you want, but I’m just saying it’s         17        Q. (BY MR. BANKSTON) Okay. Mr. Jones, do you
18 creating a lot of unnecessary confusion.                       18 see that ambulance right there?
19           MR. BANKSTON: And, hey, I’m walking                  19        A. Yes.
20 through it with him right now.                                 20        Q. Okay. I want to play you a couple of clips.
21           MR. BARNES: Okay.                                    21             MR. BANKSTON: Can you play me --
22           MR. BANKSTON: We’re going to clear up                22        Q. (BY MR. BANKSTON) I want to play you
23 all that confusion. All right? That’s what we’re going         23 something from July 5th, 2015.
24 to do. Okay?                                                   24             MR. BANKSTON: Can you play me the clip
25     Q. (BY MR. BANKSTON) Mr. Jones, we’ve talked               25 called Ambulance?

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 1     Q. (BY MR. BANKSTON) These are two things that              1               (Video playing.)
 2 you and Mr. Dew --                                              2     Q. (BY MR. BANKSTON) Mr. Jones, there are no
 3              (Video playing.)                                   3 elementary aged children in this line of people walking,
 4     Q. (BY MR. BANKSTON) Mr. Jones, if you saw                  4 is there?
 5 ambulances parked next to that building, you knew it            5     A. No. It’s another clip we’re talking about.
 6 wasn’t the school, didn’t you?                                  6     Q. Yeah. Do you see here is where they’re
 7           MR. BARNES: Objection as to form.                     7 walking in the circles? None of those people have their
 8     A. No, I didn’t. And later I corrected, before I            8 hands up, do they?
 9 was ever sued that that was one of the things that had          9     A. But there is footage I’ve seen that shows
10 been said that wasn’t true was that they were at the           10 that. So you’re conflating two different things.
11 firehouse. There was other footage, too, from the              11     Q. Really? Because you were talking about the
12 school. So it’s all edited. So it’s hard to respond to         12 footage on your show. You’re saying there’s actually a
13 this. I want to respond to your questions. It’s so             13 different piece of video footage with children with
14 edited, like, two- or three-second clips sandwiched in         14 their hands up being led in circles in and out of --
15 with others. It looks like more than three broadcasts.         15     A. From my memory it’s a live show, so the people
16     Q. (BY MR. BANKSTON) Well, let’s look right                16 in there was throwing stuff up. Many times it’s not
17 there. That was just two things, something you said,           17 accurate, sure.
18 something Mr. Dew said.                                        18     Q. So the video clip you were showing wasn’t even
19     A. Yeah, I --                                              19 of the school?
20     Q. Hold on. Ambulances are parked down the road;           20             MR. BARNES: Objection as to form.
21 they didn’t even go to the school. Then a year later,          21     Q. (BY MR. BANKSTON) Correct?
22 you showed your audience a video of a building with an         22     A. I’m not sure about what video this is it’s so
23 ambulance to it; and you told them it was the school?          23 edited, but I wrongly have said in the past, off of news
24     A. I talk four hours a day, and I can’t remember           24 reports that I was relying on, that the children were
25 what I talked about sometimes a week ago. Sandy Hook           25 going around with their hands up at the school when it
                                                             35                                                                 37
 1 has been, in the aggregate, less than one-tenth of              1 was the firehouse. And that’s one of the main anomalies
 2 1 percent of what I cover. And I understand that you’ve         2 that ended up to not be true and the reason I changed my
 3 been living this and pouring over it constantly. I have         3 mind about a lot of things.
 4 done almost no preparation for this. It’s very -- it            4     Q. Sure. After 2017, right?
 5 gives me a headache, and I just -- you’re just showing          5     A. Well, I’ve gone back when I’ve been asked
 6 me a bunch of edited tapes.                                     6 about anomalies and I’ve repeated those anomalies and
 7     Q. What question are you answering?                         7 those tapes have been edited and that’s why I do not do
 8     A. You’re asking me about a bunch of edited --              8 interviews now and talk about the anomalies, because
 9 how does someone answer...                                      9 those are edited.
10     Q. Mr. Jones, what question were you answering?            10     Q. Right. Let’s talk about the school itself. I
11     A. If you put a bunch of pages in a blender with           11 want to show you two comments that you made on July 7th,
12 writing on it and blended it all up and you asked me           12 2015 and April 22nd, 2017.
13 what’s in the blender, I can’t answer you a question           13             MR. BANKSTON: Can you play The School
14 with a bunch of blended words.                                 14 was Closed?
15     Q. Mr. Jones, I’m asking you: If there’s                   15               (Video playing.)
16 ambulances next to the building, you know it’s not the         16     Q    (BY MR. BANKSTON) The first thing, you admit
17 school?                                                        17 now there are no e-mails between City Council and the
18           MR. BARNES: Objection as to form.                    18 School in which Sandy Hook was being shut down; that’s
19     Q. (BY MR. BANKSTON) Correct?                              19 not a real thing?
20     A. No, that’s not what I meant.                            20             MR. BARNES: Objection as to form.
21     Q. Okay. I want to play you a piece of video               21     A. This is almost seven years old, but I do
22 footage from the helicopter footage. Let’s take a look         22 believe that we wouldn’t -- I mean, sometimes we’re
23 at that really quick.                                          23 wrong about things; but there’s always some news we’re
24           MR. BANKSTON: Can you play the                       24 covering or a witness or something. So I can’t answer
25 December 14th, 2012 Helicopter Firehouse Footage?              25 that because of just memory.

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 1      Q. (BY MR. BANKSTON) Mr. Jones, you said it was             1 video of Sandy Hook that was taken that day. I want to
 2 seven years ago?                                                 2 show you a clip from that, and I want you to note that
 3      A. Six years ago, whatever it was.                          3 every time they’re going to go -- there’s a couple of
 4      Q. You just -- that stuff we just played you was            4 times they’re going to go in the hallway; and there’s
 5 April 22nd, 2017. That was a year before you were sued,          5 part of the hallway they go in that has to be redacted
 6 right?                                                           6 because that’s where Ms. Hochsprung and Ms. Sherlach’s
 7      A. It was 3 seconds long.                                   7 blood is all over that hallway. But I want you to take
 8      Q. Right. But it’s not seven years ago, is it,              8 a look at the hallways and the classrooms for me as you
 9 Mr. Jones? You were saying that a year before you were           9 watch this video.
10 sued.                                                           10            MR. BANKSTON: Can you play Interior of
11            MR. BARNES: Objection as to form.                    11 Sandy Hook?
12      A. I can’t answer. It’s out of context. I don’t            12                (Video playing.)
13 know what you’re showing me.                                    13       Q   (BY MR. BANKSTON) Mr. Jones, that school is
14            MR. BANKSTON: Of course. Objection,                  14 not rotting, falling apart, or abandoned, is it?
15 nonresponsive.                                                  15            MR. BARNES: Objection as to form. I
16      Q. (BY MR. BANKSTON) When you said in the video            16 assume that includes any authentication disputes that I
17 it’s all rotting and falling apart, we’d talked earlier,        17 have about whether something is --
18 you’d seen the interior video of Sandy Hook; that’s             18            MR. BANKSTON: Under the Texas Rules
19 something you’d seen before?                                    19 every bit of evidence that is offered in deposition is
20      A. The photos of the mold and the rotting doors.           20 not -- there’s no waiver of any objections.
21      Q. And you said on the video it was falling                21       Q. (BY MR. BANKSTON) That video’s not rotting --
22 apart. You just said that on the video?                         22 that school’s not rotting and falling apart and it’s not
23            MR. BARNES: Objection as to form.                    23 abandoned, is it, Mr. Jones?
24      Q. (BY MR. BANKSTON) Right?                                24       A. I’ve never seen that video.
25      A. I saw the edited video. I don’t know where              25       Q. I’m perfectly confident you haven’t.
                                                              39                                                                 41
 1 it’s from. I don’t know the context.                             1 Absolutely, I know that. But what I’m asking you --
 2      Q. Sure. But you said in this video, in the                 2       A. I don’t even know --
 3 video, the school’s rotting and all falling apart and            3       Q. -- is seeing it right now, what I just showed
 4 nobody’s even in it.                                             4 you, regardless of what school it was or if I just went
 5            MR. BARNES: Objection --                              5 and took it over at Eastside Elementary, that school
 6      Q. (BY MR. BANKSTON) Right? That’s what you                 6 that you just saw on the screen is not rotting, is not
 7 said?                                                            7 falling apart, and does not look to be abandoned, does
 8            MR. BARNES: Objection as to form.                     8 it?
 9      A. I have no idea what the context of this is.              9       A. It looks dilapidated.
10      Q   (BY MR. BANKSTON) So wait. There’s a context           10       Q. Okay, Mr. Jones. You’ve seen Mr. Zipp’s
11 in which saying in the video that the school was all            11 affidavit, correct?
12 rotting and falling apart and nobody’s even in it --            12       A. Mr. Zipp?
13      A. Why are these videos all 3 seconds long?                13       Q. Mr. Zipp, Fred Zipp, Plaintiff’s expert who’s
14      Q. Because I’m focusing in on specific issues,             14 sitting with us in the room today, you’ve seen his
15 Mr. Jones. And I want to know: This claim you made              15 affidavit in this case?
16 that there is a video of the school where’s it’s                16       A. No.
17 rotting and falling apart -- that’s all I care about            17       Q. Okay. So you didn’t know that there were 180
18 right now -- you saw such a video?                              18 news articles from 2009 to 2011 about the Sandy Hook
19            MR. BARNES: Objection as to form.                    19 school with photos of the children doing things from
20      A. I have seen, from memory, news reports showing          20 multiple sources; that’s not something you’ve ever
21 photos and images. And my memory fails, but I do                21 known?
22 remember seeing photos put to video of the school being         22       A. I didn’t know that number. I mean, I’ve seen
23 in disrepair in the reports.                                    23 photos and things showing mold and the place dirty and
24      Q. (BY MR. BANKSTON) Let’s play for you really             24 messed up if that’s what you’re talking about.
25 quick -- I want to show you this video, the interior            25       Q. No. I asking you that the school was open

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 1 during those years, right? During 2009 to 2011 there’s          1 interview’s coming up; and let’s just be upfront about
 2 plenty of evidence the school was open, right?                  2 it. It was edited, and you didn’t think that was fair,
 3     A. There’s been controversy, like, on Google,               3 right? I mean, it was pretty heavily edited?
 4 showing their deliveries and things like that. I mean,          4     A. I think they call it deceptively jump titles.
 5 that was controversy we covered.                                5 I mean, your videos are worse; but sure. Sure.
 6     Q. Okay. So based on what you knew at the time,             6     Q. Yeah, I get that. I get that.
 7 you entertained serious doubts about whether the school         7             Let’s take a look at something you said
 8 was open?                                                       8 right before the Megyn Kelly interview. Okay? And this
 9           MR. BARNES: Objection as to form.                     9 is on June 13th, 2017.
10     Q. (BY MR. BANKSTON) In other words -- let me              10             MR. BANKSTON: Will you play the clip
11 pull that back, Mr. Jones.                                     11 called EMTs?
12     A. I had said stuff about Jussie Smollett.                 12               (Video playing.)
13     Q. Sure. Okay.                                             13     Q. (BY MR. BANKSTON) How did you determine that?
14     A. I was the first person to question it.                  14             MR. BARNES: Objection as to form.
15     Q. Sure. And I’m not going to try to pin you               15     A. I was reading someone else’s report.
16 down on here. Let’s just be straight up and upfront            16             MR. BANKSTON: Okay. Hold on.
17 about it. You didn’t know one way or the other, right,         17             Bring up the last frame again.
18 whether the school was open? You had some doubts. You          18     Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
19 didn’t know one way or another; you couldn’t confirm it        19 lean up here so I can kind of point a little bit. Do
20 one way or another?                                            20 you see here where it says, "What Alex Jones really
21     A. I know that some investigators who were                 21 believes about Sandy Hook?"
22 accreditated school safety folks who thought were              22     A. Yes, I do.
23 credible experts were the ones -- professors and others        23     Q. Do you see where it says, "Among his
24 that were in good standing -- were the ones that were          24 questions?" Do you see that?
25 really doing these investigations; and that I was in           25     A. Yes.
                                                             43                                                                45
 1 some cases taking what they said incorrectly. And I’ve          1     Q. Do you see it says, "In closing Jones
 2 admitted to that.                                               2 says..."?
 3     Q. And with no corroboration? You just take what            3     A. I believe that’s where I’m saying I think
 4 they said and you trusted these guys, right?                    4 Sandy Hook happened.
 5     A. I mean, I’d seen one of the guys, like, on               5     Q. Right. What I’m asking you is: When it’s
 6 national television before on the Columbine stuff as a          6 talking "his questions," that’s Zero Hedge reporting on
 7 national safety expert; and he sounded pretty credible.         7 your questions. And when it says, "In closing Jones
 8     Q. Mr. Halbig, right?                                       8 says," that’s Zero Hedge reporting on what you said.
 9     A. Yes.                                                     9             And now, in some sort of inception, this
10     Q. And he had sent you something in the                    10 is you reporting on Zero Hedge reporting on what you
11 neighborhood of -- ten fours -- 4,000 e-mails?                 11 said?
12     A. It’s a lot, yeah.                                       12     A. Can you make it bigger? I can’t read that.
13     Q. And looking at those e-mails, taking a look at          13     Q. I cannot make that bigger, Mr. Jones; but I’m
14 them, you wouldn’t agree with me that that man is a            14 asking --
15 raving lunatic?                                                15             THE WITNESS: May I approach it, your
16     A. He seemed very credible and put together                16 Honor?
17 earlier on, but -- I can’t remember the exact number --        17             MR. BANKSTON: You may approach it.
18 he seemed to get agitated about four years ago, three          18 Yeah, go ahead.
19 years ago.                                                     19             THE WITNESS: I can’t even see it. My
20     Q. Let’s talk a little bit about EMTs, emergency           20 god. There’s no way to blow it up maybe?
21 medical technicians; and I want to show you a clip of          21             MR. BANKSTON: I don’t think I can blow
22 something that you said. And this, to address                  22 that up.
23 Mr. Enoch, is I think where this got messed up. There’s        23     A. "My heart goes out to the" -- I can’t read it.
24 a clip, again, on June 13, ’27 [sic.] right before the         24 "My heart goes out to the parents of lost children."
25 Megyn Kelly interview. In other words, the Megyn Kelly         25     Q. (BY MR. BANKSTON) Okay. That’s great. What

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 1 I’m asking you, Mr. Jones, is: Do you see the word               1           MR. BANKSTON: You can sit there and read
 2 "his"?                                                           2 that. Does that sound good?
 3      A. Yes.                                                     3           THE WITNESS: Well, I may need to -- if
 4      Q. Who does "his" refer to?                                 4 we’re taking a break, I’m going to go to the bathroom
 5      A. I believe it refers to me.                               5 and stuff.
 6      Q. Okay.                                                    6           MR. BANKSTON: Sure, you can go to the
 7            MR. BANKSTON: You can take a seat,                    7 bathroom. I’m not going to stop you from that,
 8 Mr. Jones.                                                       8 Mr. Jones. I’m not -- your bodily functions are your
 9      Q. (BY MR. BANKSTON) So how did you come to the             9 own.
10 conclusion that they never let paramedics or EMTs in the        10           Let’s go ahead and go off the record.
11 building?                                                       11           THE VIDEOGRAPHER: We’re off the record
12            MR. BARNES: Objection as to form.                    12 at 12:44 p.m.
13      A. I went off of the professors and all the                13           (Off the record from 12:44 to 12:58 p.m.)
14 so-called experts.                                              14           THE VIDEOGRAPHER: We are back on the
15      Q. (BY MR. BANKSTON) Okay.                                 15 record at 12:58 p.m.
16      A. And they wouldn’t release a bunch of the                16     Q    (BY MR. BANKSTON) Mr. Jones, before we went
17 reports. There were a bunch of lawsuits about the               17 on a break we were talking about the issue of whether
18 secrecy, which added to all of the -- and as more of the        18 there were EMTs allowed into the building, and I
19 stuff got released, then it proved the official story.          19 provided you with a couple of findings of some police
20      Q. When do you think that the police reports on            20 reports. I have put in front of you Exhibit 2, the
21 Sandy Hook were released? When do you think that                21 statement of Lieutenant Vanghele, correct? You’ve had a
22 happened?                                                       22 chance to read that?
23      A. I know there was one report -- you know, I              23     A. Vanghele. I did read most of it, but I didn’t
24 don’t know the date, so I don’t want to be inaccurate.          24 get to the second one.
25      Q. Okay.                                                   25     Q. Oh, okay. Well, let’s look at Exhibit 2. You
                                                              47                                                                 49
 1      A. I believe one took over five years.                      1 have Exhibit 2 in your hand?
 2      Q. Okay. Well, let me show you one that didn’t              2     A. I’m on 2.
 3 take five years. Okay? We’re going to talk about one             3     Q. Let’s go to page 5. Do you see the
 4 of those, and I’m going to mark it for you right now as          4 highlighted portion?
 5 Exhibit 2.                                                       5     A. Yes.
 6            MR. BANKSTON: We’re actually going to                 6     Q. I’m going to read that, and you’re going to
 7 the videos after the sequence. I think that’s going to           7 follow along with me. Okay? "I then walked into a room
 8 be lot easier.                                                   8 with Sergeant Carrio. At first glance it did not appear
 9            (Exhibit 2 marked.)                                   9 there were any casualties. To the left of the room as
10      Q. (BY MR. BANKSTON) Mr. Jones, I have handed              10 you walk in, there was a bathroom in the corner. There
11 you a State of Connecticut Department of Public Safety          11 was a massive pileup of bodies in this room. At this
12 Investigation Report. Do you see that at the top?               12 time I did not know it was a bathroom and I wondered how
13      A. Uh-huh.                                                 13 the suspect had the time to kill that many people and
14      Q. Okay. And you see kind of in the middle                 14 stack them in the corner of the room. Sergeant Carrio
15 there, "Place of Interview: Newtown Police Department,"         15 stated he was an EMT or maybe a paramedic and that he
16 right in the middle of the interview report?                    16 had to check to see if anyone in the pile might have
17      A. I need to read this.                                    17 survived -- may have survived. I agreed as the bodies
18      Q. In fact, you know what, just to be fair to you          18 were stacked two and three high and that some of the
19 about this, it’s a long report, right? I mean, it’s             19 children at the bottom, who were able to cram in first,
20 five, six pages? Let’s let you read the whole thing.            20 may have escaped bullets.
21 Don’t you think that’d be fair?                                 21           "He began to check for life signs,
22      A. Sure.                                                   22 wounds, and attempts to find a pulse. The victims on
23            MR. BANKSTON: In fact, let’s go off the              23 the top of the pile" -- redacted -- "and many of the
24 record. We’ll take a little break.                              24 bodies had injuries that were obviously fatal. It
25            THE WITNESS: Well, I mean --                         25 appeared as if the teachers in the room immediately upon

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 1 hearing gunshots began to pack children into the                 1   that all the injured were out, and that numerous dead
 2 bathroom. The children that were sitting on the floor            2   persons remained in the school. Cassavechia said, ’You
 3 of the bathroom were packed in like sardines. One                3   know I’ve got to get into that building.’ I realized at
 4 little girl was sitting, crouched in between the toilet          4   some point those victims presumed dead would have to be
 5 seat and the back corner of the room. I thought that             5   officially pronounced dead. We also needed to impact
 6 she might have the best chance for survival. As                  6   the fewest number of EMS personnel that we needed
 7 Sergeant Carrio got to the last bodies, it was clear             7   preserve the integrity of the scene. Looking around I
 8 that no one had survived."                                       8   recognized two other senior paramedics that I believed
 9            You’ve never heard of Sergeant Carrio,                9   had the experience and training to handle the situation
10 have you?                                                       10   tactically. I told Cassavechia I would bring myself
11      A. I haven’t.                                              11   [sic], Paramedic Bernie Meehan, and Paramedic John Reed
12      Q. And you didn’t know what he did in the                  12   into the front of the school, which was secured by that
13 building that day?                                              13   point. They were told to bring minimal equipment. As
14            MR. BARNES: Objection as to form for the             14   we walked to the school, I tried to prepare them for
15 time.                                                           15   what they were about to see. I told them the number of
16      Q. (BY MR. BANKSTON) You can answer. You didn’t            16   the victims and the nature of the wounds. I told
17 know what he did in the building?                               17   Cassavechia, ’This will be the worst day of your life?’"
18      A. (No audible response.)                                  18              You have never heard of Matt Cassavechia,
19      Q. Correct, Mr. Jones?                                     19   Bernie Meehan, or John Reed, have you, Mr. Jones?
20      A. It’s, again, over seven years. I don’t                  20       A. I mean, I just read their names.
21 remember a lot of this stuff.                                   21       Q. Prior to me putting that sheet of paper in
22      Q. Okay. So either you didn’t know what he did             22   front of you, you’ve never heard of those gentlemen,
23 in the building, or you did know what he did in the             23   have you?
24 building. One of those two things has to be true,               24       A. I can’t say that. It’s too much -- too much
25 right?                                                          25   information.
                                                              51                                                                 53
 1      A. I think I do know now.                                   1     Q. In fact, it’s possible when you said that
 2      Q. Sure.                                                    2 paramedics weren’t let into the building, you knew those
 3      A. It’s just there’s so much. It all becomes a              3 three gentlemen and you knew they had been in the
 4 big paste.                                                       4 building; that’s possible, true?
 5      Q. So we can agree that in 2017, when you raised            5     A. I wouldn’t consciously do that.
 6 the question, "Why were no paramedics let in the                 6     Q. If -- those reports sitting right there, if
 7 building," you either did know what Sergeant Carrio did          7 those reports were available and online and had been
 8 or you didn’t know what Sergeant Carrio did. One of              8 discussed by InfoWars as early as 2013, if that’s
 9 those two things has to be true, obviously, right?               9 something that was public, you would agree with me that
10            MR. BARNES: Objection as to form.                    10 saying no paramedics went into the building is reckless,
11      A. The tape was so edited, I don’t remember.               11 correct?
12            (Exhibit 3 marked.)                                  12            MR. BARNES: Objection as to form.
13      Q   (BY MR. BANKSTON) Okay. Let’s look at                  13     A. I just don’t know what you’re talking about
14 Exhibit 3. Do you want to pull Exhibit 3 for me? Can            14 off a 3-second video and this.
15 you go to the final page, just flip it on its back, onto        15     Q. (BY MR. BANKSTON) You’re not going to dispute
16 the back. Do you see at the very bottom of the page,            16 with me that you’ve repeatedly said on your television
17 the very bottom of the left corner it says                      17 show -- or your web broadcast that paramedics weren’t
18 Sergeant William F. Carrio?                                     18 allowed in the building; you’ve said that over and over
19      A. Yes.                                                    19 and over, right, Mr. Jones?
20      Q. Okay. I’m going to read the highlighted part            20            MR. BARNES: Objection as to the form.
21 to you. "Paramedic Matt Cassavechia approached me. I            21     Q. (BY MR. BANKSTON) Right?
22 had known Cassavechia for many years and recognized him         22     A. It’s edited the way you -- what you’ve shown
23 as the head of EMS for Danbury Hospital. Cassavechia            23 me, so I can’t comment.
24 asked how long it would be until he could get into the          24     Q. I’m not talking about what I -- what was on
25 building. I told him the building was not yet secured,          25 the video. I’m not talking about that. Ignore what you

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 1 just saw on the video. I’m asking you -- me and you              1     A. Those -- I mean, this is over -- that was
 2 right now -- you’ve said repeatedly on your web show             2 seven years ago.
 3 paramedics weren’t allowed inside of Sandy Hook? You’ve          3     Q. You know this is the one day you were to come
 4 said that; you’re not going to deny that?                        4 down here and testify about Sandy Hook, and are you
 5      A. I’ve read other people’s reports saying.                 5 going to tell me you haven’t done anything to try to
 6      Q. Okay. And you did nothing to confirm those               6 figure out what happened in those seven years?
 7 reports, literally nothing?                                      7           MR. BARNES: Objection as to form.
 8      A. I went out and I covered news that was being             8     Q. (BY MR. BANKSTON) Is that what you’re saying,
 9 covered.                                                         9 you walked in here totally unprepared, just winging it
10      Q. How did you confirm the reports that you were           10 today?
11 given that paramedics weren’t allowed in the building?          11           MR. BARNES: Objection as to form.
12 How did you confirm --                                          12     A. I don’t know how to respond to that.
13      A. We generally go through the reports, and then           13     Q. (BY MR. BANKSTON) Do you have the respect
14 we look at what they link to. And I don’t have all the          14 enough for these parents in this lawsuit to actually go
15 dates, but one report took over five years; another,            15 back and try to find out what happened? Did you do
16 three years; another, a year. And so it’s all -- I              16 that?
17 mean, again, this has not been a large part of what I’ve        17           MR. BARNES: Objection as to form.
18 covered. Sandy Hook has been a very -- not even one-            18     A. I covered it when it first happened. And you
19 tenth of 1 percent of what we cover and I know that you         19 can look at six shows a week, three to four hours a day
20 think that that’s the case, but that’s not the case.            20 and find spots and edit them and things. It’s the
21            MR. BANKSTON: Objection to the                       21 media’s claim that my life is about Sandy Hook, and it’s
22 nonresponsive portion.                                          22 not even one of the major issues I’ve ever covered. And
23      Q. (BY MR. BANKSTON) Hearing that your murdered            23 so you’re asking me to do the impossible, to go back
24 child received no medical attention, that’s obviously           24 through a whole compendium and then give some
25 distressing?                                                    25 quantifiable statement to you off 3-second edited
                                                              55                                                                 57
 1            MR. BARNES: Objection as to the form.                 1 videos. It’s like -- it’s square pegs in round holes.
 2      Q. (BY MR. BANKSTON) Right, Mr. Jones?                      2           MR. BANKSTON: Objection to the
 3      A. (No audible response.)                                   3 nonresponsive portion.
 4      Q. Can you -- let’s do it this way --                       4     Q. (BY MR. BANKSTON) I want to talk to you about
 5            Withdraw the question.                                5 death certificates. I want to play you a clip of
 6            Can you imagine a universe where hearing              6 something you and Mr. Dew said February 12th, 2015 and
 7 that your murdered child received no medical attention           7 November 18, 2016.
 8 is not distressing?                                              8           MR. BANKSTON: Can you play School and
 9            MR. BARNES: Objection as to the form.                 9 Death Certificates for me?
10      A. I think there were even lawsuits by the                 10                 (Video playing.)
11 parents saying things weren’t done right sometimes, and         11     Q    (BY MR. BANKSTON) What did you do to confirm
12 that’s a terrible thing.                                        12 that?
13      Q. (BY MR. BANKSTON) That’s not my question,               13           MR. BARNES: Objection as to form.
14 though, is it, Mr. Jones?                                       14     A. Again, these are highly edited, spliced tapes.
15      A. Oh.                                                     15 The audio’s been altered. I don’t even know what
16      Q. Is it? That’s not my question.                          16 context this is in.
17            So my question is: If you heard your                 17     Q. (BY MR. BANKSTON) Sir, the context is Sandy
18 murdered child received no medical care, that’s                 18 Hook death certificates are sealed; and you said that.
19 distressing?                                                    19 What did you do to confirm it, Mr. Jones?
20            MR. BARNES: Objection as to form.                    20           MR. BARNES: Objection as to form. It
21      A. It is distressing. That’s why I was                     21 misstates the evidence.
22 distressed just in general hearing those reports.               22           MR. BANKSTON: You don’t have to do
23      Q. (BY MR. BANKSTON) Wait. When you say you                23 speaking objections, Mr. Barnes.
24 were distressed hearing those reports, what reports are         24           MR. BARNES: This is one of the worst
25 you talking about? What reports?                                25 depositions I’ve ever witnessed.

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 1           MR. BANKSTON: That’s fine. You can make              1     Q. (BY MR. BANKSTON) That’s consistent with what
 2 your objections. Go make all the objections you want,          2 we were just talking about, right --
 3 but make them in accordance with the Texas Rules which         3           MR. BARNES: Objection --
 4 you agreed to be bound with before you --                      4     Q. -- Port-A-Potties showing up an hour before a
 5           MR. BARNES: I am. Okay. Fine, fine.                  5 big media event?
 6     Q. (BY MR. BANKSTON) Mr. Jones, sealing the                6           MR. BARNES: Objection as to form.
 7 death certificates, the fact that they were sealed,            7     Q. (BY MR. BANKSTON) Correct, Mr. Jones?
 8 something you and Mr. Dew both said, how did you confirm       8     A. Yes. I mean, I did talk about that on some of
 9 that?                                                          9 your edited tape. I don’t know the context.
10           MR. BARNES: Objection as to form.                   10     Q. Sure.
11     A. I don’t want to answer these things                    11           (Exhibit 4 marked.)
12 incorrectly. So my memory is -- I remember that this          12     Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
13 thing was the most sealed case ever and that it was in        13 hand you a copy of what I have marked as Exhibit 4.
14 the news, that there were all these lawsuits about            14 Have you ever seen that before?
15 unsealing things and that the records and the redacted        15     A. I don’t remember.
16 police reports -- like what you gave me is almost all         16     Q. You’re not sure if you’ve seen this before?
17 blacked out -- this is what people were talking about.        17     A. No.
18 And so I can’t accurately answer off of edited tapes.         18     Q. Okay. You’ll see at the top it has a time
19 I’ve never seen anything like that. So I’m trying to          19 stamp 12-14-12?
20 answer your questions.                                        20     A. Yes.
21     Q. You never -- have you ever tried to order a            21     Q. You know that’s the date of Sandy Hook, right?
22 death certificate? They’re $20. Anybody can get any           22     A. I don’t know.
23 one of them. Did you ever try?                                23     Q. You don’t know that?
24     A. As I told you, we went off news reports and            24     A. Was that the day?
25 other people that were investigating. We did not              25     Q. It is.
                                                            59                                                                 61
 1 ourselves investigate Sandy Hook.                              1     A. Okay.
 2     Q. Thank you, Mr. Jones.                                   2     Q. It is, Mr. Jones.
 3           I want to talk to you about something you            3           We had talked earlier about the dash cam
 4 said about Port-A-Potties. You know what I’m talking           4 videos and the official report and if there’s police
 5 about when I talk about Port-A-Potties, right?                 5 cars sitting out in front of Sandy Hook with their dash
 6 Port-A-Potties showed up to Sandy Hook?                        6 cams on, it would be a pretty simple matter of just
 7     A. Port-A-Potties?                                         7 going to video and scrolling through to see when various
 8     Q. Yeah. Do you know what I’m talking about when           8 stuff arrives. That’s something you can do, right?
 9 I say that allegation, when you talked about on your           9     A. I would imagine, yeah.
10 show Port-A-Potties showing up to Sandy Hook? Do you          10     Q. Yeah. InfoWars didn’t do that, did they?
11 remember talking about Port-A-Potties?                        11     A. I can’t say that. I don’t know what we did.
12     A. I do remember talking about them.                      12     Q. Okay. Well, if InfoWars did do that, they
13     Q. Okay. And you remember how your point was              13 would have come across this picture of Port-A-Potties
14 they showed up within an hour for a big media event,          14 showing up at 1:30 p.m., right? That’s what that time
15 showed that it was clearly -- something’s going on            15 is right there? Are you familiar with military time?
16 because they showed up way too quick?                         16     A. Uh-huh.
17           MR. BARNES: Objection as to form.                   17     Q. Okay. And that’s 1:30, right?
18     Q. (BY MR. BANKSTON) Correct?                             18     A. Uh-huh.
19     A. I was reporting on what other people had               19     Q. Right. So that’s not an hour after the
20 reported.                                                     20 shooting, is it, Mr. Jones? Correct?
21     Q. Okay. Let me play you a clip of something              21     A. It’s pretty darn soon after.
22 that you said on July 7th, 2015 and April 22nd, 2017.         22     Q. Is it? Is it maybe more like four hours
23           MR. BANKSTON: Could you play                        23 after?
24 Port-A-Potties for me?                                        24     A. Again, I was going off of what I believed to
25                 (Video playing.)                              25 be -- and he was -- an accreditated national school

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 1 safety person who’d been on national television programs         1 and you said to your audience that there was an e-mail
 2 as an expert. I was going off what Halbig was saying.            2 that came out in the lawsuit where Bloomberg told his
 3       Q. You did no confirmation whatsoever of                   3 people: Get ready in the next 24 hours to capitalize on
 4 Mr. Halbig’s statements about the Port-A-Potties, did            4 a mass shooting.
 5 you?                                                             5            That didn’t happen; that’s not a real
 6       A. I don’t believe these videos --                         6 e-mail, is it?
 7            MR. BARNES: Objection as to form.                     7            MR. BARNES: Objection as to form.
 8       A. -- were released for a long time.                       8     A. I mean, I don’t think it’s exactly that; but
 9       Q. (BY MR. BANKSTON) If they were, if those                9 there’s one similar to that.
10 videos were released in 2013, it certainly would have           10     Q    (BY MR. BANKSTON) Yeah. I mean, what you
11 been reckless to say the Port-A-Potties arrived in an           11 said is not real?
12 hour in 2017, wouldn’t it, Mr. Jones?                           12            MR. BARNES: Objection as to form.
13            MR. BARNES: Objection as to form.                    13     Q. (BY MR. BANKSTON) Bloomberg never told his
14       A. I just don’t know how to respond to the fact           14 people: Get ready in the next 24 hours to capitalize on
15 that -- that how do we know more weren’t arriving later         15 a mass shooting; that did not happen?
16 and that there’s other Port-A-Potties or whatever? I’m          16            MR. BARNES: Objection as to form.
17 not saying that’s what happened. You just showed me one         17     A. What does his gun organization do?
18 still off something and tell me to answer questions.            18            MR. BANKSTON: Okay, Mr. Jones.
19       Q. (BY MR. BANKSTON) Yeah. So one thing you               19            THE REPORTER: I’m sorry. Could you
20 could do is go back into the dash cam video and scroll          20 repeat the answer?
21 through and find out if something did arrive earlier?           21            THE WITNESS: I believe his anti-gun
22 That’s something you could do, right?                           22 organization said: Get ready. Get ready to move quick,
23            MR. BARNES: Objection as to form.                    23 you know. I don’t have it in front of me. It’s from
24       Q. (BY MR. BANKSTON) It’s not hidden                      24 years ago.
25 information, right?                                             25     Q    (BY MR. BANKSTON) Let’s -- I want to ask you
                                                              63                                                                 65
 1            MR. BARNES: Objection as to form.                     1 about photos of the children, so I’m going to play you a
 2       Q. (BY MR. BANKSTON) Correct?                              2 video clip of something you said about the photos of the
 3       A. I guess correct.                                        3 children. This is something you said on September 25th,
 4       Q. Okay. Thank you, Mr. Jones.                             4 2014.
 5            Mr. Jones, I’ve noticed on a lot of these             5            MR. BANKSTON: Can you play Photos of
 6 answers you’ve said, "Well, I’m just going off what              6 Children?
 7 Mr. Halbig said." So what I want to know is: When you            7              (Video playing.)
 8 talked earlier about you did deep research, what was             8     Q. (BY MR. BANKSTON) Mr. Jones, you can admit
 9 that? What deep research did you do?                             9 that that statement was absolutely nonsense; there are
10       A. Well, I mean, I did look at the news articles          10 not photos of children who died who are actually still
11 saying they were being very secretive about the case,           11 alive?
12 that a lot of things were sealed, which is unusual.             12     A. That is and out-of-context clip. I can’t even
13 There were lawsuits involved with that, and I did do            13 respond to something like that.
14 research on Bloomberg putting out an e-mail the day             14     Q. You said it, though, didn’t you?
15 before saying, "Get ready. There’s going to be a big            15     A. I don’t know what it’s in context with.
16 event," you know, just straight up, people waiting              16     Q. Is there a good context to that, Mr. Jones,
17 around for mass shootings or whatever. And just the way         17 that people’s children who are dead, there’s actually
18 the media made a spectacle out of it right away is what         18 photos of them still alive? Can you give me the good
19 really made me question. That scene like with the WMDs          19 context?
20 or babies in the incubators, I just saw the media so on         20     A. There is no way --
21 it, so ready; and I thought that added credibility to           21            MR. BARNES: Objection as to form.
22 it.                                                             22     A. There’s no way to respond to -- I mean, I
23       Q. Okay. I mean, I’m glad you brought up the              23 don’t know what it is.
24 Bloomberg thing. I remember there was a couple of               24     Q. (BY MR. BANKSTON) I know what it is. It’s a
25 episodes where you talked about this Bloomberg e-mail           25 video of you saying that there are photos of children

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 1 who died who are still alive. And I’m asking you:                1      A. And so I wore a lizard mask. They also tried
 2 That’s absolute nonsense, isn’t it, Mr. Jones?                   2 to introduce that. And we explained that, "No, your
 3            MR. BARNES: Objection as to form.                     3 Honor" -- the judge agreed, yes, we understand satire
 4      A. No, it’s -- no, it’s not. I don’t know the               4 versus reality.
 5 context of that video.                                           5            So, no, I was -- I believe what I say on
 6      Q. (BY MR. BANKSTON) Okay.                                  6 air. Now, when I cover what somebody else is covering
 7      A. Okay? There have been cases where the                    7 or I have a war game, I look on both sides of something,
 8 Associated Press major groups ran pictures of Sandy              8 that doesn’t mean that I believe in both sides of what
 9 Hook children in Pakistan after a mass bombing; and in           9 I’m covering. It means I’m looking at the different
10 the lineup of dead kids -- or parents about their dead          10 angles, and then that’s taken out of context.
11 kids -- because I believe a bombing happened in                 11      Q. Well, what I’m getting at is: This stuff
12 Pakistan -- bizarrely, they’ve got a Sandy Hook kid in          12 we’re looking at today, kids going in circles, the
13 there, admitted. And then we’ve seen other cases. It’s          13 school was closed, e-mails, EMTs not in the building,
14 very bizarre and that’s where people call in and ask and        14 Port-A-Potties, these aren’t comedy skits; this is
15 then I respond to it. And I don’t know if that’s even           15 journalism?
16 that clip because it’s a couple of seconds long.                16      A. Yes -- well, this is punditry because I wear a
17      Q. Yeah, well, clearly, it’s not the kid in                17 journalist hat, a punditry hat, satire hat, you know,
18 Pakistan because that’s not a kid who’s still alive,            18 just reading news. I mean, just being a news reader, I
19 right? When Noah Pozner’s picture appeared in Pakistan,         19 mean, I do that as well. So I do a lot of things; but
20 that’s not Noah Pozner’s still alive, right?                    20 when I was covering Sandy Hook, I was genuinely trying
21            MR. BARNES: Objection as to form.                    21 to get to the truth of it.
22      Q. (BY MR. BANKSTON) Correct?                              22      Q. Okay. At InfoWars it was known from the very
23      A. I wasn’t saying Noah Pozner’s still alive.              23 start that parents were being harassed by believers in
24      Q. Okay. It was widely reported during your                24 the Sandy Hook Conspiracy? You would agree to that,
25 divorce that your attorney said to the judge that you’re        25 right?
                                                              67                                                                 69
 1 playing a character, that you’re a performance artist.           1       A. No.
 2 So I want to ask you -- I want to know: When you were            2              MR. BARNES: Objection as to form.
 3 making these claims about Sandy Hook, were you being a           3       Q. (BY MR. BANKSTON) Well, you would also at
 4 journalist; or was this all performance art?                     4   least agree that -- because of the potential for that
 5            MR. BARNES: Objection as to form.                     5   harassment, you would agree with me that InfoWars needed
 6      A. When I say things on air, I believe it. I                6   to treat Sandy Hook allegations with extreme caution,
 7 had -- when I made a radio talk show host. That was my           7   given it was a traumatic event; you’d agree with that?
 8 ex-wife trying to enter into evidence, like ten years            8              MR. BARNES: Objection as to form.
 9 ago, me in a Joker outfit doing a satire piece about             9       A. I mean, I think it’s the American birthright
10 chemicals in the water; and she was trying to say that I        10   and it’s important when you have big events, whether
11 was crazy and was really the Joker.                             11   they’re wars or WMDs or mass shootings, that -- I mean,
12            And we said, "No. When Jack Nicholson                12   I think the right to question is an absolute right.
13 plays the Joker, your Honor, he’s not really the Joker.         13              Just like the Jussie Smollett situation,
14 He’s playing a part."                                           14   I took a risk saying I thought that was fake and I was
15            And then the media ran with it, saying               15   the first person to question it and I was proven right.
16 that I said that what I regularly do on air is                  16   So I just really -- I questioned Jussie Smollett from a
17 entertainment.                                                  17   position of looking at the facts; and if I had been
18            So it’s very clear when I’m being serious            18   proven wrong, then I would have, you know, apologized
19 on air; and it’s very clear if I’m wearing a Gorn mask,         19   for it. I mean, that’s what I do.
20 you know, and reenacting Star Trek as a joke, that I’m          20       Q. (BY MR. BANKSTON) Okay. But with Sandy Hook,
21 not literally believing that the Gorn’s a real lizard           21   not with Jussie Smollett, with Sandy Hook, you would
22 creature. I was making fun of the media in that case            22   agree with me you were under an obligation, InfoWars,
23 for saying that -- you know, saying that I believe the          23   you needed to treat this with extreme caution --
24 Government’s talking about lizards. That’s on me.               24              MR. BARNES: Objection --
25      Q. Sure.                                                   25       Q. (BY MR. BANKSTON) -- agreed or not agreed?

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 1            MR. BARNES: Objection as to form.                     1      A. It’s not in context. I can’t answer that.
 2      A. Well, I mean, we always covered things from              2      Q   (BY MR. BANKSTON) Okay. I want to play you
 3 the perspective of caution. We were covering other               3 some comments you made about Mr. Watson. I want to
 4 people’s reports and also questioning the historical             4 show you something you said about Mr. Watson on
 5 fact that, you know, things like Operation Northwoods,           5 February 12th, 2015 and on April 20th, 2018, the day
 6 the Government planned to stage mass shootings in the            6 after you were sued.
 7 U.S.; but Kennedy said no to the plan. But the Chairman          7            MR. BANKSTON: Can you play the clip for
 8 of the Joint Chiefs had green-lighted it. And so                 8 me Jones Comments on Mr. Watson?
 9 because of things like that, we are forced to then               9               (Video playing.)
10 question these events. And I think that’s -- you know,          10      Q   (BY MR. BANKSTON) So your chief reporter was
11 it’s just part of the process in this country.                  11 right when he was warning you not to say it was phony or
12      Q. (BY MR. BANKSTON) Okay. So that’s part of               12 there were crisis actors?
13 the process; and to be fair to you, InfoWars didn’t know        13            MR. BARNES: Objection as to form.
14 from the very start that Sandy Hook parents were being          14      A. He was not the chief reporter then.
15 harassed?                                                       15      Q. (BY MR. BANKSTON) When did he become chief
16      A. No, we didn’t know, not from the very start.            16 reporter?
17            MR. BANKSTON: Can you --                             17      A. About five years ago -- well, about six --
18      Q. (BY MR. BANKSTON) I want to play something --           18 well, about five years ago.
19 I want to play a clip from the InfoWars episode on              19      Q. Five years ago, 2014?
20 January 18, 2013. Okay?                                         20      A. I’d have to look it up.
21            MR. BANKSTON: Can you play the clip                  21      Q. Okay. So at the time you were saying that
22 Extreme Caution?                                                22 clip in 2015, when you said, "He’s my chief reporter,"
23              (Video playing.)                                   23 that’s when he became your chief reporter?
24      Q   (BY MR. BANKSTON) That clip is Mr. Paul                24      A. And I said his instincts are right. So you
25 Watson, who is your chief reporter at InfoWars, right?          25 played, finally, one clip where I’m saying it happened
                                                              71                                                                 73
 1      A. He is now.                                               1 instead of editing clips.
 2      Q. And he frequently warned you about what you              2      Q. Well, no, I was actually talking about the one
 3 were saying about Sandy Hook?                                    3 before, on February 12th, 2015, you called him your
 4      A. Well, I mean, we had discussions about it,               4 chief reporter.
 5 yes. We’re not running a cult. We have different                 5      A. I think I said by then he was.
 6 views.                                                           6      Q. Okay. Over the years there’s been some
 7      Q. Right. For instance, one of the gentlemen in             7 tension between you and the parents after they started
 8 the room with us right now, Rob Dew, Mr. Watson                  8 complaining about what you were doing, correct?
 9 disagreed with Mr. Dew and said, "Mr. Dew’s wrong, and           9            MR. BARNES: Objection as to form.
10 you need to stop this, Mr. Jones"? That’s what                  10            MR. BANKSTON: What’s your basis on that
11 Mr. Watson told you?                                            11 one?
12            MR. BARNES: Objection as to form.                    12            MR. BARNES: It’s --
13      Q. (BY MR. BANKSTON) Correct?                              13            MR. BANKSTON: A legal objection, not a
14      A. That there were external and internal debates,          14 speaking objection, a legal. What’s your legal basis
15 as you just saw. We’ve looked it up. It’s 90-something          15 for that one?
16 percent of my reporting saying that it happened, even           16            MR. BARNES: Okay. Well, explain the
17 going back with -- I don’t do this anymore because              17 legal -- it’s time, date, context, definitions.
18 people can edit stuff -- but we would go on air and say:        18            MR. BANKSTON: Those aren’t legal
19 Real shootings happen, you know, the black trench coat,         19 objections, Mr. Barnes.
20 on the drugs, all the regular things we see in mass             20            MR. BARNES: Yes, they are because if the
21 shootings. And then we would have the other side of             21 form of the objection [sic] is misleading or leading in
22 that because the Internet didn’t believe it happened.           22 the nature in which it --
23      Q. Let me put it this way: Mr. Watson was right;           23            MR. BANKSTON: I’m allowed to lead the
24 Mr. Dew was wrong, correct?                                     24 witness; he’s adverse to me.
25            MR. BARNES: Objection as to form.                    25            MR. BARNES: You are; but if I say -- if

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 1 I don’t give you context of time and date...                    1 from March 14th, 2014.
 2            MR. BANKSTON: No, that’s fine. It’s not              2            MR. BANKSTON: Can you play me the clip
 3 an objection. It’s baseless.                                    3 called Actors?
 4            MR. BARNES: Oh, yes, it is. It’s a                   4               (Video playing.)
 5 basic objection. It’s Lawyering 101 on how to ask               5      Q   (BY MR. BANKSTON) Who were the actors playing
 6 questions. I mean, come on.                                     6 the different -- what are the different people where the
 7            MR. BANKSTON: Okay.                                  7 same actor was playing different parts?
 8            MR. BARNES: It would be easier for you               8      A. I’d have to see the context.
 9 and for everybody if it was --                                  9      Q. But that was something you believed that was
10            MR. BANKSTON: Have you got a rule of                10 true?
11 evidence for me, maybe?                                        11      A. From an edited tape I don’t know what the
12            MR. BARNES: Oh, sure. It gives                      12 context is.
13 specificity as to both date and time so that the person        13      Q. Well, I mean, look, Mr. Jones, you can see
14 can answer the question meaningfully. When you say --          14 you say "actors" enough times that you and I can both
15            MR. BANKSTON: So is that 403?                       15 admit -- you can just admit right now there have been
16            MR. BARNES: That could be.                          16 multiple, repeated times where you have accused some of
17            MR. BANKSTON: That’s not to form.                   17 the parents of being actors?
18 That’s not -- you don’t have to object to that. It’s           18            MR. BARNES: Objection as to form.
19 preserved, Mr. Barnes.                                         19      Q. (BY MR. BANKSTON) Right?
20     Q    (BY MR. BANKSTON) Let’s talk about this               20      A. No, I never -- I covered the Internet, talking
21 question: Over the years there started to develop              21 about how people looked like actors. This is edited. I
22 tension between you and the Sandy Hook parents after           22 can’t comment on it.
23 they started complaining about what you were doing,            23      Q   Okay. So let me understand this, Mr. Jones:
24 correct?                                                       24 Unless we play you a full four-hour InfoWars clip, you
25     A. No.                                                     25 just can’t answer questions today, can you?
                                                             75                                                                 77
 1     Q. Okay. No tension.                                        1      A. It’s not a four-hour clip. It’s that these
 2            You will admit, I mean, you’ve done                  2 were maybe a-minute-long clips, not -- five seconds, two
 3 mocking imitations of Sandy Hook parents crying,                3 seconds.
 4 correct?                                                        4      Q. Well, you’re telling your audience there:
 5     A. No.                                                      5 We’ve clearly got people where it’s actors playing
 6     Q. I want to play you a video clip -- two, from             6 different parts of different people. So you were pretty
 7 September 24th, 2014 and November 11th, 2016.                   7 certain, weren’t you?
 8            MR. BANKSTON: Will you play the video                8      A. I have -- because of all the strange things
 9 clip called Crying?                                             9 we’ve seen, there have been points in my mind where I’ve
10              (Video playing.)                                  10 gone back and forth in the earlier years, you know,
11     Q    (BY MR. BANKSTON) You realize now you were            11 really thinking maybe the whole thing has been staged;
12 mocking the difficult emotional reactions of people who        12 and then later, I realized it was just mainly media
13 provably lost their children?                                  13 hyping it and then trying to choreograph, you know,
14     A. No, I was not mocking. I was showing what               14 turning it into a political situation after the case.
15 people were questioning. It was not to mock the                15      Q. Okay. Well, regardless of whatever that was,
16 parents. It was showing why people were questioning.           16 this thing we just saw you say about actors, the mocking
17 It’s you that is projecting mocking onto it. I was             17 imitations of crying, this is exactly the stuff that
18 showing what he did.                                           18 Paul Joseph Watson was warning you about, correct?
19     Q. When you did this stuff about the crying and            19      A. No. He was saying that some of the people
20 your imitations, this was all in service of an argument        20 that were out there putting stuff out, like Fetzer and
21 that some of these parents were actors, right?                 21 others in that, were not good.
22            MR. BARNES: Objection as to form.                   22      Q. Yeah. He was really opposed to the crisis
23     A. No.                                                     23 actor angle, correct?
24            MR. BANKSTON: Can you play me --                    24            MR. BARNES: Objection as to form.
25     Q    (BY MR. BANKSTON) I want to play you a clip           25      Q. (BY MR. BANKSTON) And If I get -- Mr. Jones,

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 1 if I get Paul Watson here to testify, he’s going to tell         1     Q. Correct, that Mr. Pozner was running, as an
 2 me he never believed in the crisis actor thing and               2 anonymous front, the HONR Network to help make
 3 thought it was a bad idea to talk about crisis actors.           3 complaints against various sites so that individual
 4 That’s what he’s going, isn’t he?                                4 parents wouldn’t be the subject of retribution. Yeah,
 5           MR. BARNES: Objection as to form.                      5 that’s what I’m asking you if you knew.
 6     A. Yeah, because, I mean, he legitimately is his             6     A. No, I was not aware of that. We were -- I
 7 own person; and we don’t tell people what to say or what         7 believe, from memory, Dew was covering a news article
 8 to do. I respect him, and we have different points of            8 about how the -- but then that’s been conflated by you
 9 view. We’ve had debates about Sandy Hook on air.                 9 guys, sneaking into people’s houses or putting out their
10     Q. (BY MR. BANKSTON) You have different views               10 addresses to go after them; and we never did that.
11 about journalistic ethics, too?                                 11     Q. So InfoWars -- well, if it happened that
12     A. Well, I mean, when there’s a big Internet                12 InfoWars went and searched and dug through records for
13 debate that’s going on and we cover that debate, I give         13 private business filings and used DMCA reports that it
14 my opinion on it. That’s what happens.                          14 had gotten to suss out that Mr. Pozner was the head of
15     Q. Okay. As time went on, starting into 2015,               15 HONR and then reported it to its audience, that wouldn’t
16 you learned that a Sandy Hook parent named Leonard              16 be a good thing if that happened, right?
17 Pozner was behind a group called HONR Network, correct,         17           MR. BARNES: Objection as to form.
18 that was fighting online abuse of Sandy Hook victims?           18     A. Well, I don’t have any knowledge of what
19     A. I did, I think.                                          19 you’re talking about there.
20     Q. And when you learned that and when HONR                  20     Q. (BY MR. BANKSTON) I’m just saying: If it
21 complained to YouTube in 2015, you told your viewers            21 happened hypothetically -- if, hypothetically, InfoWars
22 that HONR was run by Mr. Pozner. You showed addresses           22 went to some lengths to unmask a person who was running
23 being used by Mr. Pozner; and you said he needed to be          23 a charity that was trying to stop people from being
24 investigated, in Florida. Didn’t you say that?                  24 abused and then disclosed that to its audience with
25           MR. BARNES: Objection as to form.                     25 maps, that wouldn’t be a good thing?
                                                              79                                                                 81
 1     A. No.                                                       1     A. That’s, from my memory, not what happened. I
 2     Q. (BY MR. BANKSTON) Okay. Let’s play a clip                 2 can’t comment on hypotheticals.
 3 here. I’m going to show you something that you and               3     Q. So if I was to say to you if somebody was to
 4 Mr. Dew were talking about on February 12th, 2015.               4 come along and strike your hand with a hammer, would it
 5           MR. BANKSTON: Can you play Addresses for               5 hurt, you can’t answer that question?
 6 me?                                                              6           MR. BARNES: Objection as to --
 7               (Video playing.)                                   7     A. I’m not striking anybody with hammers.
 8     Q    (BY MR. BANKSTON) If a person were to stake             8     Q. (BY MR. BANKSTON) If I asked you: If I gave
 9 out those addresses, they could wait for Mr. Pozner to           9 you a big bowl of chili, might it affect your memory,
10 come pick up his mail, couldn’t they?                           10 you can’t answer that; that’s hypothetical? Correct?
11           MR. BARNES: Objection as to form.                     11 You’re just not going to answer those kind of questions?
12     Q. (BY MR. BANKSTON) True?                                  12     A. (No audible response.)
13     A. I mean, the guy’s running an anti-free speech            13     Q. I’ll take it that’s a no. Let’s move on.
14 foundation.                                                     14           MR. BARNES: I’ll take it that was a
15     Q. And you’re the one who outed him as doing                15 question? Is that a question? That’s a comment; that’s
16 that, right? There’s nothing on the HONR Network                16 not a question. This is becoming one of the most
17 website that said Mr. Pozner was running it; you outed          17 harassing -- this is for TV and for PR, not for a
18 him.                                                            18 legitimate suit. That’s what this is. That’s all this
19           MR. BARNES: Objection as to form.                     19 is. You want to put it on TV. That’s all -- and this
20     A. I believe he was public on that.                         20 is just a show, and it’s a bad show at that. It’s a
21     Q. (BY MR. BANKSTON) Do you? You don’t think                21 show of how-not-to-be-a-lawyer-in-deposition-of-a-case
22 that InfoWars was the first one to break that in an             22 show.
23 article? You don’t think that?                                  23           I mean, if you want to be fair and you
24     A. That he was running a site, trying to get                24 want to ask real questions, go ahead; but don’t make
25 people’s websites and things taken down?                        25 comments and then try to reinterpret those comments as a

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 1 question and then try to put words in the mouth of the           1     Q. Okay. That’s Mr. Bidondi?
 2 witness. I mean, a first year law student should know            2     A. Yes.
 3 that.                                                            3     Q. I want to play you a clip of Mr. Bidondi in
 4           MR. BANKSTON: What was your objection?                 4 Newtown. This is from June 8th, 2015.
 5           MR. BARNES: The objection was to your                  5             MR. BANKSTON: Can you play the clip of
 6 comment saying that there was an answer; and my point            6 Bidondi?
 7 was you didn’t ask a question so there couldn’t have             7               (Video playing.)
 8 been an answer. And I was objecting for the record               8     Q    (BY MR. BANKSTON) And, Mr. Jones, those are
 9 purposes that no answer had been given to a question             9 hardly the only people that Mr. Bidondi harassed on his
10 that had not been asked.                                        10 multiple trips to Newtown, correct?
11           MR. BANKSTON: Do you maybe want to take               11             MR. BARNES: Objection as to form.
12 a break so we can have a few breaths?                           12     Q. (BY MR. BANKSTON) Correct?
13           MR. BARNES: Yes.                                      13     A. I mean, almost everything you said is not
14           MR. BANKSTON: Yeah, you might need to do              14 true. So there’s no way to respond to it. No, not
15 that.                                                           15 correct.
16           MR. BARNES: Yeah, absolutely. And maybe               16     Q. Okay. That was Mr. Bidondi calling people who
17 you can go back and read how to ask people questions.           17 were involved in Sandy Hook crooked, corrupt, piece-
18           MR. BANKSTON: We’re off the record.                   18 of-shit motherfuckers, right? That’s what we just saw?
19           THE VIDEOGRAPHER: Off the record                      19             MR. BARNES: Objection as to form.
20 1:34 p.m.                                                       20     Q. (BY MR. BANKSTON) That’s what we saw on the
21           (Off the record from 1:34 to 1:48 p.m.)               21 video, Mr. Jones, correct?
22           THE VIDEOGRAPHER: We are back on the                  22     A. I didn’t quite hear all of it.
23 record at 1:48 p.m.                                             23     Q. Okay. I want to show you something you said
24     Q   (BY MR. BANKSTON) Mr. Jones, I want to talk a           24 after Mr. Bidondi went to Sandy Hook about the school
25 little bit more about that episode on February 12, 2015,        25 itself; and I’m going to show you a clip from July 7th,
                                                              83                                                                 85
 1 the one we had looked at with the maps; and I want to            1 2015.
 2 show you a clip of your message to the parents that were         2             MR. BANKSTON: Can you play Stocked the
 3 complaining and ask you some questions. This clip,               3 School?
 4 again, is from February 12th, 2015.                              4               (Video playing.)
 5           MR. BANKSTON: Can you play Hornets?                    5     Q    (BY MR. BANKSTON) First, Mr. Jones, you see
 6              (Video playing.)                                    6 the headline at the top of that screen, "The FBI says no
 7     Q   (BY MR. BANKSTON) So for complaining, you                7 one killed at Sandy Hook"?
 8 were going to bring InfoWars to their hometown?                  8     A. Yes.
 9           MR. BARNES: Objection as to form.                      9     Q. You’re familiar that’s an article that
10     A. I have no idea what that 3-second clip was.              10 InfoWars published at one time?
11     Q. (BY MR. BANKSTON) Well, forget the 3-second              11     A. Yes, the FBI said no deaths that year in Sandy
12 clip. For complaining, you were going to bring InfoWars         12 Hook on their website.
13 to their hometown?                                              13     Q. Is that what they say?
14     A. That is not what I said.                                 14     A. I’m going from memory. You can pull it up.
15     Q. Okay. Well, a couple months later -- hang on,            15     Q. So you say that headline’s true?
16 Mr. Jones. I’m going to hand you what I am now marking          16     A. The FBI later amended it and said that it was
17 as Exhibit 5.                                                   17 an error.
18           (Exhibit 5 marked.)                                   18     Q. Oh, they amended it? That happened?
19     Q. (BY MR. BANKSTON) A couple of months later,              19     A. Uh-huh.
20 in the spring of 2015, you sent this man, a cage                20     Q. Okay. Let’s move on to 2016. And in the 2016
21 fighter, to go badger and yell obscenities at Sandy Hook        21 election you found yourself having to discuss Sandy Hook
22 residents, right?                                               22 because Hillary Clinton actually brought you up
23     A. No.                                                      23 specifically in a campaign speech, didn’t she?
24     Q. No? You know who that is, right?                         24     A. Yes.
25     A. Yes.                                                     25     Q. And that she -- she wanted to put light on

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 1 you, in other words? That was part of her campaign               1 that from.
 2 strategy?                                                        2     A. All I’m saying it’s a -- Democrats use that.
 3      A. Yes.                                                     3     Q. Okay. Mr. Jones, we’ve talked a little bit
 4      Q. Now, after the campaign was over, in November            4 about the Sandy Hook investigators, one of them,
 5 2016, you directly addressed the parents in a video              5 Mr. Halbig and one of them, like, Mr. Fetzer. These are
 6 called your final statement and accused some of them             6 people who have been investigating Sandy Hook.
 7 being actors, right?                                             7 Mr. Halbig’s been a considerable source of information
 8      A. No.                                                      8 for you. You will admit that, correct?
 9      Q. Okay. I’m going to show you the very end of              9     A. Yes.
10 your clip, your message to the parents on November 11th,        10     Q. Now, these Sandy Hook investigators, these
11 2016 in the final statement on Sandy Hook.                      11 people were so crazy that you had to realize at some
12            MR. BANKSTON: Can you play the video                 12 point that what they’re saying isn’t true and that Sandy
13 clip titled Soap Opera?                                         13 Hook wasn’t a fake, right?
14               (Video playing.)                                  14           MR. BARNES: Objection as to form.
15      Q   (BY MR. BANKSTON) That was not the extreme             15     A. I found out some of what they were saying was
16 caution that your chief reporter, Mr. Watson, had been          16 not accurate.
17 urging, correct?                                                17     Q. (BY MR. BANKSTON) Okay. Let me play a clip
18            MR. BARNES: Objection as to form.                    18 for you that’s something you said just a little while
19      Q. (BY MR. BANKSTON) Correct?                              19 ago, on January 19th, 2019.
20      A. I mean, if people had been coached about                20           MR. BANKSTON: Can you play Kooky?
21 certain political anti-gun statements, I have a right to        21              (Video playing.)
22 say that they’re putting out political talking points.          22     Q    (BY MR. BANKSTON) When did you finally
23      Q. "I know when I’m watching a movie, and I know           23 realize that these crazy people were crazy?
24 when I’m watching something real. We have seen soap             24           MR. BARNES: Objection as to form.
25 operas before." I mean, this is an accusation about             25     A. I can’t answer exactly because it’s so many
                                                              87                                                                 89
 1 actors, correct?                                                 1 years; but about three years ago, I found that some of
 2      A. No, not specifically about that. I was saying            2 what they said was inaccurate.
 3 politically it turned into something synthetic to go             3     Q. (BY MR. BANKSTON) Okay. So, essentially,
 4 after guns, and I think that’s why you don’t play the            4 then, I think what you’re getting at is you haven’t been
 5 whole clip.                                                      5 saying Sandy Hook is fake for years?
 6      Q. And then at the end of the clip, you point               6     A. I have been more on the side, going back about
 7 into the camera and say, "Let’s look into Sandy Hook."           7 three or four years ago, that it did happen and then
 8 And then there’s a title card that says, "InfoWars you           8 started talking about some of the anomalies that were
 9 are the resistance." The "you" in the "You are the               9 not anomalies; and then that triggered more of the ire
10 resistance," that’s your audience, correct?                     10 of those folks as they got more, I think, extreme.
11      A. That’s a tagline on everything, so it wasn’t a          11 That’s what I’m saying: This is all cherry-picked here.
12 specific Sandy Hook message.                                    12     Q. Well, I’m just trying to understand,
13      Q. But I’m asking you the meaning of that                  13 Mr. Jones. At some point you learned that those people
14 tagline, "You are the resistance." "You" means your             14 were crazy; you couldn’t believe what they were saying.
15 audience?                                                       15 You couldn’t say it was synthetic or completely fake
16      A. It means -- yes, uh-huh, or it means -- it              16 anymore. When did you stop saying it was --
17 just means the American people.                                 17     A. I don’t know. It was probably four years ago
18      Q. Am I part of the resistance?                            18 I told Bidondi not to say he worked with the InfoWars,
19      A. Well, all the Democrats.                                19 because he didn’t. And he’s a professional wrestler,
20      Q. I’m sorry? Did I...                                     20 not a cage fighter. I mean, I remember that. That’s a
21      A. Well, that’s a Democratic tagline that they             21 date we could find when we sent him e-mails and said,
22 took from me: You are the resistance.                           22 "You don’t work here. Stop saying our name. Don’t do
23      Q. Okay.                                                   23 that in our name," because I saw that stuff; and I was
24      A. You’re not a Democrat?                                  24 like -- I remember seeing it in the paper. And I was
25      Q. I don’t know why you -- where you’re getting            25 like, "Bidondi doesn’t work here." I mean, he did stuff

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 1 for us years before that, you know.                              1 highway that, you know, Sandy Hook was staged. That’s a
 2             MR. BANKSTON: Objection, nonresponsive.              2 big thing on the Internet.
 3     A. I mean, I’m really answering your question.               3           And so the media made -- Hillary made it
 4     Q. (BY MR. BANKSTON) No, Mr. Jones. I’m asking               4 this huge thing on which she said Pepe the Frog was a
 5 you about Mr. Halbig, the sources that you had, not your         5 white supremacist; and made the frog a white
 6 employees.                                                       6 supremacist. She had a lot of power at that point in
 7     A. He’s not my employee.                                     7 the news.
 8     Q. I’m talking about these investigators, right?             8           And so I’ve been trying to say,
 9 These investigators, at some point -- we just saw a              9 particularly, you know, "Hey, it’s not my identity. And
10 clip -- you realized they were kooky, couldn’t say it           10 I believe it happened and I’m sorry for your -- you
11 was synthetic anymore. When do you think is the last            11 know, any pain you’ve had." But I’m not going to be
12 time you -- like, that ended? When did you stop calling         12 Sandy Hook man and then take what everybody else did as
13 it fake?                                                        13 if what people have said and done is all me and then I’m
14             MR. BARNES: Objection as to form.                   14 kind of like the sin eater and it’s all put on me when
15     A. I mean, I can’t accurately say that.                     15 that’s not my identity.
16     Q      (BY MR. BANKSTON) Okay. Let’s try to -- hold         16           I mean, this idea -- I know they have
17 on for a second. Let me take you back to April 20th,            17 shows, like Homeland, and things where there’s
18 2018. I want to play you a clip on April 20th, 2018. I          18 supposedly Alex Jones and he does all these things.
19 believe it was a day or two after you were first sued.          19 That’s not a real person. That’s an actor. And then
20             MR. BANKSTON: Can you play the clip Not             20 kind of the media fantasizes that they’re fighting, you
21 Doing It?                                                       21 know, this big boogyman that’s on Homeland; and that’s
22               (Video playing.)                                  22 not who I am.
23     Q      (BY MR. BANKSTON) When you say you’re not            23     Q. Do you remember what my question was? What
24 doing it, is this meaning that you haven’t been saying          24 was my question?
25 Sandy Hook was fake for several years?                          25     A. But I just answered your question. I mean,
                                                              91                                                                 93
 1     A. No. What it means is the media currently and              1 ask your question again. There’s no yes-or-no answer to
 2 then says, "Jones is saying it. Jones is sending                 2 something like that.
 3 people."                                                         3     Q. Well, I mean, you don’t even know what the
 4             And then never showing me saying, "Don’t             4 question was because you were just talking. You were
 5 go investigate it. I believe mass shootings have                 5 just ranting, like you do on your show, right?
 6 happened. And I’m sorry and some of the anomalies we             6     A. No, I was being honest with you about the
 7 were told were wrong." And I’ve said it -- I’ve                  7 situation.
 8 probably been saying that for four years.                        8     Q. All right. Well, let’s walk through it,
 9     Q. Okay.                                                     9 Mr. Jones. We know you started making videos calling it
10     A. And then the media, the corporate media, wants           10 fake in 2013, right? No doubt there?
11 to use it to, I guess, to bring back gun control or             11           MR. BARNES: Objection as to form.
12 anti-free speech stuff, whatever it is; and so it               12     Q. (BY MR. BANKSTON) Right?
13 continues to do that over and over again.                       13           MR. BARNES: Objection as to form.
14     Q. Right. You kind of -- you end up in the                  14     A. I can’t comment on edited videos you’ve got
15 crosshairs because they want to generate clips, right?          15 here.
16     A. Well, I’m not sure how all that works; but I             16     Q. (BY MR. BANKSTON) I’m not asking you about
17 can tell you: Sandy Hook is not my identity. I covered          17 edited video, Mr. Jones. I’m asking you: In 2013 you
18 it less than one-tenth of 1 percent until Hillary gave          18 made videos calling it fake, correct?
19 her All Right Speech; and then there were thousands of          19           MR. BARNES: Objection as to form.
20 articles, you know, saying, "Jones is doing this. Jones         20     A. I think I was asking if it was fake, yes.
21 is sending people there." And it kind of restarted. A           21     Q. (BY MR. BANKSTON) Admittedly, you weren’t
22 big resurgence happened on the street saying, "How dare         22 asking; you were saying it was fake, and the evidence is
23 you not -- you not say it happened; you don’t think it          23 overwhelming, right?
24 happened?" It’s a big thing. It was, like, spray                24     A. I mean, we have a right in this country to
25 painted on the walls here in Austin on the side of the          25 question things.

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 1      Q. I’m not saying what you did and didn’t have a           1 October 26th, 2017. That’s just a couple of months
 2 right to do. I’m just asking you what you did. You              2 before you were sued, wasn’t it?
 3 made videos in 2013 saying it was fake, right?                  3      A. I would guess if the date’s right.
 4      A. I think saying -- I remember making statements          4      Q. And that was almost five years after the
 5 that it looks fake to me, but we’re not a hundred               5 parents had told you how distressing what you were doing
 6 percent.                                                        6 was to them, right?
 7      Q. Okay. And then in 2014 and 2015 you were                7      A. I say right there I don’t know what happened
 8 making videos, calling it synthetic, completely fake,           8 at Sandy Hook.
 9 manufactured, phony as a three-dollar bill. That was            9      Q. It says it’s as phony as a 3-dollar bill.
10 happening all through 2014 and 2015, right?                    10            MR. BARNES: Objection as to form.
11            MR. BARNES: Objection as to form.                   11      A. Talking about Nancy Grace where she says she’s
12      Q. (BY MR. BANKSTON) And there’s transcripts of           12 on location and they’ve got trucks and you see the same
13 that, right?                                                   13 trucks driving behind her and the guest, that’s what I
14      A. I’m not denying that I’ve questioned Sandy             14 mean. It’s the media creating a synthetic thing around
15 Hook.                                                          15 it to script the outcome of what they want. You’re
16      Q. Okay. That’s all I’m asking.                           16 taking it out of context.
17            Then in 2016 we know it became an issue             17      Q. (BY MR. BANKSTON) Oh, really? That’s what
18 because of the campaign. We saw a video called your            18 "phony as a 3-dollar bill" means? That’s how you’ve
19 final statement. We’ve looked at that. And we’ve seen          19 used that term over the years?
20 you saying really false things about Sandy Hook all            20      A. Talking about Nancy. That clip is long enough
21 through 2017 in these videos, too, right?                      21 where I can tell what I’m talking about. I mean,
22            MR. BARNES: Objection as to form.                   22 Nancy’s sitting there, where she’s sitting there in a
23      A. Edited videos. I can’t respond to it.                  23 roundabout; and she says the other person is...
24      Q. (BY MR. BANKSTON) Okay. If you just say --             24      Q. I’m familiar, Mr. Jones. Ashleigh Banfield
25 for instance, if you say that there are Port-A-Potties         25 sitting in a chair. They’re both in the same parking
                                                             95                                                                 97
 1 showing up within an hour in 2017, that’s not true,             1 lot. As a result of the satellite feed, you see the
 2 right?                                                          2 same cars going behind them; and it shows they’re
 3      A. We don’t know that.                                     3 actually in the same location, even though they’re
 4      Q. Exactly, right? You don’t know that, but you            4 trying to do it like a satellite feed, right?
 5 said they did?                                                  5      A. Yeah.
 6      A. That’s what the reports were from people we             6      Q. Right. And then, obviously, they didn’t have
 7 believed were credible.                                         7 a guest to put on. They put those two people together.
 8      Q. Okay. But in 2017 you’re still calling it               8 To you, that’s an anomaly, right? That’s one of the
 9 fake?                                                           9 anomalies that caused you to have doubts?
10            MR. BARNES: Objection as to form.                   10      A. They lied and said they were on location.
11      A. No. I was -- the media would get me to                 11      Q. Yeah, sure, they lied. Yeah, they said, "Hey,
12 respond and say, "Well, what were the anomalies?" And          12 she’s over here; and I’m over here." And they’re
13 then I would -- like Megyn Kelly, I said, "I believe it        13 actually in the same place?
14 happened."                                                     14      A. Yeah.
15            She goes, "But what are the anomalies?"             15      Q. They were pulling a -- they pulled a trick?
16      Q. (BY MR. BANKSTON) Okay.                                16      A. She said she had just got a text from The
17      A. And then they edited it together to have me            17 Atlanta --
18 saying it didn’t happen. That’s just incredibly                18      Q. We’ll talk about that.
19 deceptive.                                                     19      A. -- rooftop.
20      Q. Okay. I want to show you something you said            20      Q. Put a pin in that, Mr. Jones. We’ll talk
21 on October 26th, 2017; and this is a video called $3           21 about that. I definitely want to get back and talk
22 Bill.                                                          22 about that; but in terms of what you were saying in that
23            MR. BANKSTON: Can you play that?                    23 video, you said, "We’ve looked at both sides. We’ve
24                (Video playing.)                                24 tried coming at it from all angles; but, folks, it’s as
25      Q   (BY MR. BANKSTON) That video, that was made           25 phony as a 3-dollar bill." That’s what you said?

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 1     A. Talking about the media coverage, yes, in                1 Sandy Hook was probably completely staged at different
 2 context.                                                        2 periods of my life. Like, I believed Jussie Smollett
 3     Q. Oh, in that you were talking about the media             3 was staged or the WMDs were staged. And I’m on record
 4 coverage?                                                       4 on hundreds of these events when I think they’re staged.
 5     A. Yeah, that’s what I’m talking about. That’s              5 I’ve learned sometimes I’m wrong.
 6 what I’m talking about, Nancy Grace.                            6            And so, no, I stand by the fact that I
 7     Q. And Anderson Cooper, right?                              7 genuinely believed that. And one of my best reporters,
 8     A. Yes.                                                     8 Paul, thought that was wrong; and so that shows that we
 9     Q. The blue screen, you said: It’s fake, wasn’t             9 have real debates, real discussions. And what people
10 there. It didn’t happen. They weren’t on location.             10 believe, as long as I think they really believe it, it’s
11             That’s what you said?                              11 what we debate and discuss. And that’s like most any
12             MR. BARNES: Objection as to form.                  12 talk radio show there is.
13     A. Now, generally when someone is on location, it          13      Q. Everything -- every last word of factual claim
14 doesn’t mean that the person being interviewed is even         14 in those statements are things that you repeated with no
15 part of it. It means that they’ll say, "Hey, you’re            15 confirmation from people you now admit are crazy, right?
16 going to be standing here, talking to Anderson Cooper."        16      A. Well, I don’t want to call people crazy and
17 And they’re not talking. At that level of television           17 get sued by somebody else. I have found that some of
18 they routinely do that.                                        18 what they said and then the reports they put out were
19             CNN is famous for it. They’ll even run             19 not accurate.
20 audio in the back of the video and, like, you’ll hear          20      Q. Well, you certainly have no problem calling
21 is -- another that happened a few months ago is CNN, you       21 them kooky, right? You’ve said it on the air to, like,
22 hear a bunch of crickets and the cars. All of sudden           22 millions of people?
23 the tape stops and they have to start it back up, and          23      A. Yeah. I mean, yeah, I mean, I think it’s --
24 they’re supposedly on location in Gaza.                        24      Q. These people are kooky, and everything you
25     Q. (BY MR. BANKSTON) I have no idea what you’re            25 said in that was based on what they told you and with no
                                                             99                                                                 101
 1 talking about, but it’s not important. What I’m asking          1 confirmation?
 2 you is --                                                       2      A. I wouldn’t say everything. There was a lot of
 3     A. Oh, okay. Okay.                                          3 different sources, a lot of different things; and then
 4     Q. -- in terms of Anderson Cooper, you said that            4 there was a cover-up on the files and the reports and
 5 Anderson Cooper wasn’t at Sandy Hook; he was not there?         5 Lanza and his background. And so you’ve got a cover-up,
 6             MR. BARNES: Objection as to form.                   6 and you’re not sure exactly what’s going on and the
 7     Q. (BY MR. BANKSTON) Right, you said that?                  7 extent of it.
 8             MR. BARNES: Objection as to form.                   8      Q. Let me make sure I have this really clear.
 9     A. I don’t know how to respond to that. Yes, I              9      A. Uh-huh.
10 believe that he used -- that he faked being on location        10      Q. You don’t believe the official story of Sandy
11 once. That doesn’t mean that the people involved aren’t        11 Hook. You think there was a cover-up. You think there
12 the parents or that it didn’t happen. It means CNN’s           12 was manipulation. You think there was some sinister
13 famous for faking locations.                                   13 thing going on.
14     Q    (BY MR. BANKSTON) Okay. I want to show you a          14      A. I still -- yes, I still think -- I think
15 clip of something you said in 2015, and this is a clip         15 children died. I believe mass shootings happen. They
16 that’s become kind of famous. And so I want to get your        16 just had one in Brazil, a tragedy. And I believe it’s a
17 input on something you said in 2015 on January 13th.           17 crisis. And I go back to the point of all gun owners
18 And let me show you a clip called Hoax.                        18 being collectively blamed. Then it’s traumatic and so
19               (Video playing.)                                 19 people go and they find anomalies. And then I’ve kind
20     Q    (BY MR. BANKSTON) Mr. Jones, can you now              20 of retrospectively gone back and seen how I did believe
21 admit that these statements were reckless?                     21 that stuff.
22     A. No. I think at that point in my life, in                22            And then I go back and I’m now, studying
23 whatever the context was that I was saying I think             23 more, actually, the real anomalies; and it’s just the
24 basically the whole thing was fake, I mean, that’s my          24 School System and Government trying to covering its rear
25 right to do that. I legitimately had believed that             25 end from liability. And so there definitely has been a

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 1 cover-up of the events.                                           1     Q. Now, by the same token, if the police didn’t
 2           And I think there’s a lot of evidence                   2 stand down but somebody was told -- a parent, a victim,
 3 showing there could have been a second shooter. There             3 was told that the police did stand down, falsely, that’s
 4 is the helicopter footage of the man in woods.                    4 also upsetting?
 5           I still have questions about Sandy Hook,                5     A. I believe there’s been lawsuits by the
 6 but I know people that know some of the Sandy Hook                6 families about a lack of response.
 7 families. They say, "No, it’s real," people I think are           7     Q. Was that my question? Is that in any way my
 8 credible. And so over the years, I’ve -- you know,                8 question, Mr. Jones?
 9 especially as it’s become a huge issue, had time to               9     A. Well, I don’t understand your question.
10 really retrospectively think about it. And as the whole          10     Q. My question is: If somebody was to lie to
11 thing matured, I’ve had a chance to believe that                 11 you -- your children were killed and then somebody came
12 children died and it’s a tragedy; but there are still            12 to you and lied to you and said the police stood down,
13 real anomalies in the attempt to basically keep it               13 that’d be distressing?
14 blacked out that generally, when you see that in                 14            MR. BARNES: Objection as to form.
15 government, something’s being covered up.                        15     A. I don’t know of anyone -- if people believed
16     Q. And after you were sued, you said there was a             16 there was a stand down, then it’s not a lie.
17 police stand down in Sandy Hook, right? You said that?           17     Q. (BY MR. BANKSTON) If somebody came to you
18     A. I said that about Parkland, too. I think                  18 about your murdered child and said, "Your murdered child
19 there was a very slow response on both.                          19 wasn’t actually murdered; he was stolen by aliens" and
20     Q. Now, you’re a parent. Just imagine with me                20 lied to you about that, that’s upsetting, right?
21 for a moment that you lost one of your children. One of          21     A. Yeah, uh-huh.
22 your children was murdered and you think you know who            22     Q. Can you now admit that you’ve done an
23 did it and there’s been a justice system that worked             23 outrageous wrong to these parents? Can you admit that?
24 that said this is who did it. And then someone who               24     A. You know, the mainstream media is who always
25 thinks that they have information comes to you and says,         25 takes it and makes it a huge issue and then says that
                                                              103                                                                 105
 1 "Mr. Jones, the person who killed your son, information           1 I’m saying it and gets me to respond. And it’s lawyers
 2 about him is being covered up. There’s a government               2 like you and people that glom onto this for fame that
 3 conspiracy. They’re manipulating. There’s a police                3 then try to get the fame and then say that I’m the
 4 stand down." Those things would be upsetting to you,              4 person that’s promoting it. And it’s obscene, in my
 5 wouldn’t they?                                                    5 view.
 6           MR. BARNES: Objection as to form.                       6     Q. So that’s "no"?
 7     A. I think the whole thing’s upsetting, and                   7     A. No. I genuinely questioned it. You know, I
 8 everybody’s upset by it. And people see anomalies, and            8 think the Government and the media that’s been caught
 9 citizens have rights to ask questions.                            9 lying so much has created an atmosphere where people
10     Q. (BY MR. BANKSTON) Right. So if there was a                10 don’t know what’s true.
11 police stand down, that’d be upsetting, right? I mean,           11     Q. So you do not believe that you’ve done an
12 come on, if the police chose not to react, that’s                12 outrageous wrong to these parents?
13 upsetting, isn’t it?                                             13     A. No, I’ve not done an outrageous wrong to the
14     A. Well, there was -- in Columbine, there was --             14 parents.
15 at Parkland that -- they’ve ruled in Florida there was a         15     Q. Okay. In that clip you said the state police
16 police stand down. I was the first to report that                16 have gone public. Have you ever argued anything about
17 because we had students call in.                                 17 the state police?
18     Q. I’m not asking --                                         18     A. Like I told you, most of this stuff I can’t
19     A. And CNN said they were actors.                            19 even remember.
20     Q. I’m not asking if there was a police stand                20     Q. Do you, sitting here today, remember anything
21 down in Parkland. I’m not asking if one happened at              21 about the state police going public? Is there anything
22 Sandy Hook. I’m saying that if children are being                22 that occurs to you today?
23 attacked and the police anywhere stand down, that’s              23     A. I can’t remember.
24 upsetting?                                                       24     Q. Okay. I want to talk to you about rescue
25     A. Yes.                                                      25 helicopters. You mentioned rescue helicopters a lot.

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 1 It was puzzling to you that rescue helicopters weren’t            1 him, "Stop doing it." Even the year before that I said,
 2 called, correct?                                                  2 "Don’t go in our capacity to any of these places." And
 3     A. Yes.                                                       3 I’m just going off memory about that because we told him
 4     Q. Okay. I take it you don’t know how long it                 4 we did not want him covering Sandy Hook, and the last
 5 takes for a LifeStar crew from Hartford Hospital to be            5 thing he covered for us was the Boston bombing.
 6 dispatched, travel to Sandy Hook, and for the engine to           6      Q. Who is "we" when you say, "We told him not to
 7 calm down to safely approach the vehicle? From                    7 cover Sandy Hook"?
 8 Hartford, you don’t know how long that takes?                     8      A. I mean, I told him.
 9     A. No, I don’t.                                               9      Q. Okay.
10     Q. And, by the same token, you don’t know how                10      A. He lives up there.
11 long it takes for an ambulance crew to be dispatched to          11      Q. How did you tell him?
12 loading of the patient from Danbury Hospital, 9 miles            12      A. Over the telephone, and I believe in e-mails.
13 down I-84? You don’t know that?                                  13      Q. Okay. You use e-mails to communicate with
14     A. No, I was going off Halbig’s and others, that             14 employees and people like Mr. Bidondi?
15 professor’s analysis of it.                                      15      A. I remember saying in a meeting around eight
16     Q. Okay. I think we’ve agreed before that Sandy              16 years ago -- I said, "Listen, it’s funny. He’s a
17 Hook was real. It was not staged. It was not phony.              17 professional wrestler. He likes to clown around. I
18 You were wrong about that and --                                 18 don’t want to be a bunch of clowns. We’re not the
19     A. Well, I want to be clear: I believe children              19 Howard Stern Show. So tell him to stop doing stuff in
20 died. I believe there was a mass shooting. I still               20 our name." And, basically, he just wouldn’t stop.
21 think that there was a man in the woods in camo. There           21      Q. You’ve repeatedly said the 9/11 Attacks were
22 were other reports. I saw the video. And I believe               22 orchestrated by the Government, right?
23 that, you know, normally after every person -- remember,         23      A. Well, I believe criminal elements of our
24 it’s happened before -- every person in a shooting died;         24 Government were involved in 9/11.
25 and just a lot of experts I’ve talked to, including              25      Q. Regarding Columbine, you said, "Columbine we
                                                              107                                                                 109
 1 retired FBI agents and other people and people high up            1 know was a false flag; I’d say 100 percent false flag, a
 2 in the Central Intelligence Agency, have told me that             2 globalist operation."
 3 there is a cover-up in Sandy Hook.                                3      A. By "false flag," they knew it was coming; and
 4     Q. Okay. Have there ever been any InfoWars                    4 they let it happen.
 5 employees who have been terminated or formally                    5      Q. Okay. The Oklahoma City bombing you said was
 6 disciplined for allowing false Sandy Hook information to          6 a false flag, "We’ve never had one so open and shut."
 7 reach the air?                                                    7      A. A hundred percent. I can name the names.
 8           MR. BARNES: Objection on two grounds:                   8      Q. And that Tim McVeigh was an innocent patsy?
 9 One is to form; and secondly, Mr. Jones is only here in           9      A. He was set up, yeah.
10 his personal capacity. He’s not here as a                        10      Q. Okay. Hours after James Holmes shot up the
11 representative of Free Speech.                                   11 Aurora movie theater, you said that was 100 percent a
12           MR. BANKSTON: I’m not asking to bind                   12 false flag, mind-control event?
13 him. If he has personal knowledge, he can tell me.               13      A. He told the jailers that he was in a mind
14     A. Bidondi was not working for us when he went to            14 control program, like Theodore Kaczynski, the Unabomber.
15 Sandy Hook. I told him not to. And then I told him to            15      Q. Okay. The shooting of Gabrielle Giffords you
16 stop using InfoWars, over and over, repeatedly, until I          16 called a staged mind-control operation?
17 had to tell him that I’m going to go public on air and           17      A. Say that again.
18 say that he’s a bad person if he didn’t stop using my            18      Q. The shooting of Gabrielle Giffords you called,
19 name.                                                            19 quote, "a staged mind-control operation"?
20     Q. (BY MR. BANKSTON) So you’re going to tell me              20      A. I believe we looked at those possibilities.
21 that after that episode in Newtown happened, Mr. Dew             21      Q. The Douglas High School shooting in Parkland,
22 didn’t communicate with Mr. Bidondi and ask him to cover         22 Florida, you told your audience you were nearly certain
23 Sandy Hook some more?                                            23 it was a false flag to start a civil war, right?
24     A. I haven’t reviewed all the things that went on            24      A. That’s out of context. What I said was I
25 with the other reporters and people. I know I said to            25 believe the shooting happened, but that the way it was

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 1 being hyped, that the police stood down. We talked to             1     Q. Okay. So it really wasn’t a surprise that you
 2 the students, and it was later confirmed.                         2 said the exact same thing about Sandy Hook that you’ve
 3            (Exhibit 6 marked.)                                    3 said about all of these other shootings, correct?
 4     Q. (BY MR. BANKSTON) I want to show you the                   4     A. Yeah, well, I talked to the FBI hostage rescue
 5 context so we can make sure we’re not taking it out of            5 team on the thing in Las Vegas.
 6 context. I’m going to hand you the Affidavit of Fred              6     Q. Okay. Let’s talk a little bit about
 7 Zipp. I would like you to turn the document onto its              7 Pizzagate. You told your audience -- first, let’s start
 8 back and flip one page to page 25. Do you see that                8 off, Pizzagate is the allegation that there was a
 9 tweet right there? There’s a tweet at the top of the              9 pedophile sex dungeon in a Washington D.C. pizzeria with
10 page, right?                                                     10 connections to Hillary Clinton and the DNC, right?
11     A. Uh-huh.                                                   11           MR. BARNES: Objection --
12     Q. A tweet is a message distributed to InfoWars’             12     Q. (BY MR. BANKSTON) That’s what Pizzagate is?
13 thousands -- hundreds of thousands of Twitter followers,         13           MR. BARNES: Objection as to form.
14 correct?                                                         14     A. Does that mean to ask it again?
15     A. Yes.                                                      15     Q. (BY MR. BANKSTON) No, you can answer,
16     Q. That tweet reads, "Probability Florida Attack             16 Mr. Jones.
17 False Flag For Civil War 90 percent," correct?                   17     A. Say it again.
18     A. Yes.                                                      18     Q. Pizzagate is the allegation that there was a
19     Q. The remainder of that tweet says, "Alex Jones             19 pedophile sex dungeon being operated out of the basement
20 calculates the probability of the Florida school                 20 of a pizzeria in Washington, D.C., with connection to
21 shooting being a false flag of the Deep State to create          21 Hillary Clinton and the DNC?
22 resentment towards conservatives, gun owners, and sew            22     A. No.
23 the seeds of civil war," correct?                                23     Q. Okay. Tell me what Pizzagate was.
24     A. That’s a tweet.                                           24     A. Pizzagate came out of the John Podesta
25     Q. That’s the context of that message, correct?              25 e-mails, head of Hillary’s campaign. I’m talking about
                                                              111                                                                 113
 1     A. I didn’t put this out, but they took a                     1 Aleister Crowley rituals. And then the media diverted
 2 derivative of what I said on air and put it out.                  2 onto 4chan and covered a pizza place that the DNC went
 3     Q. InfoWars published that?                                   3 to and that was going on and created the dis-info about
 4     A. Well, the video that it links to is in the                 4 these dungeons and basements and everything to then
 5 context.                                                          5 distract onto that away from the serious stuff in the
 6     Q. I’m asking you: That tweet --                              6 FBI manual that they use things, you know, things like
 7     A. Yes.                                                       7 cheese pizza means, you know, child pornography; and
 8     Q. -- InfoWars published that tweet?                          8 those are code words used for pedophilia. And so that
 9     A. I believe so.                                              9 was basically a diversion story, kind of a Karl Rove
10     Q. Thank you, Mr. Jones.                                     10 type trick, where we have a big story and they slip this
11            The November 2017 church shooting in                  11 info into it so that everybody then covers that.
12 Sutherland Springs, Texas, you put forth the theory that         12     Q. You told your audience, "Something’s going on
13 it was, quote, "Part of the Antifa Revolution against            13 in that pizzeria," right?
14 Christians and conservatives or an ISIS op," correct?            14           MR. BARNES: Objection as to form.
15     A. Well, I that’s out of -- I was giving, like,              15     A. I mean, I did point out there was a lot of
16 possible things; and then it turned out -- it turned out         16 really bizarre art and that Tony Podesta did not hide
17 that he -- you know.                                             17 the fact in the Washington Post 2007, a big write-up
18     Q. In November 2017, the same month, there was a             18 about his deviant art, that he likes art that most
19 horrific mass shooting at the Las Vegas music festival.          19 people would be arrested for, yeah.
20 You remember that, correct?                                      20     Q. (BY MR. BANKSTON) You said, "Something’s
21     A. Uh-huh.                                                   21 being covered up in that restaurant," right?
22     Q. And you said, quote, "Vegas is as phony as a              22     A. I don’t remember saying that specifically.
23 three-dollar bill or as Obama’s birth certificate,"              23     Q. You said, "You have to go investigate it for
24 correct?                                                         24 yourself." Didn’t you say that?
25     A. Yes.                                                      25     A. I don’t know if that’s the exact quote.

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 1       Q. So if Mr. Zipp reported that in that affidavit           1 right?
 2 in front of you, he would be wrong?                               2      A. I don’t know if I’ve made those allegations.
 3       A. I don’t know Zipp. I mean, I don’t know                  3      Q. You apologized for them, though, didn’t you?
 4 Mr. Zipp, so.                                                     4      A. I think a reporter went and pointed out the
 5       Q. Well, Mr. Zipp who’s sitting with us, who’s              5 same symbol or something.
 6 the former editor of the Austin-Statesman, he’s a UT              6      Q. Did you apologize?
 7 Journalism Professor. He prepared that affidavit. If              7      A. I don’t remember.
 8 he messed up and misquoted you, that’s a problem, isn’t           8           MR. BARNES: Objection as to form.
 9 it?                                                               9      Q. (BY MR. BANKSTON) You apologized to Chobani,
10       A. Where is it? I mean, I haven’t had a chance             10 though, right for publishing stories that they were
11 to read this.                                                    11 caught importing migrant rapists, right?
12       Q. Well, I’m just asking you --                            12      A. That was a technical thing versus there were
13       A. Well, let me read it. Let me read it then.              13 rapes in the town, but it wasn’t the company themselves
14            MR. BARNES: Which page are we supposed                14 that brought the rapists in. It was the policies of the
15 to be at, by the way?                                            15 Federal Reserve Board member who owns Chobani.
16            MR. BANKSTON: I’m not actually referring              16      Q. You apologized?
17 him to a specific page number, but I can. Let’s do               17      A. I did.
18 that.                                                            18      Q. You also just recently apologized for false
19            MR. BARNES: That would be helpful.                    19 reporting on the murder of DNC Staffer Seth Rich?
20       Q. (BY MR. BANKSTON) I believe that’s going to             20           MR. BARNES: Objection as to form.
21 be in the Heslin affidavit.                                      21      A. That was on reporting of another reporter.
22            Let’s talk about the Plaintiff’s Petition             22      Q. (BY MR. BANKSTON) And last year InfoWars had
23 then. Have you seen these statements in the Plaintiff’s          23 to apologize for misidentifying an innocent young man as
24 Petition about Pizzagate?                                        24 the Parkland High School shooter?
25       A. I’m confused.                                           25      A. I think we did.
                                                              115                                                                 117
 1       Q. I’m telling you right now that there’s a                 1            MR. BANKSTON: I’ll tell you what,
 2 different affidavit that I’m not going to ask you about,          2   Mr. Jones, let’s take a little break.
 3 about Pizzagate; but I am going to ask you about                  3            THE VIDEOGRAPHER: Off the record
 4 Plaintiff’s Petition, the lawsuit that was served on              4   2:28 p.m.
 5 you.                                                              5            (Off the record from 2:28 to 2:51 p.m.)
 6       A. Okay. Can I see it?                                      6            THE VIDEOGRAPHER: We are back on the
 7       Q. I’m not even interested in reading it right              7   record at 2:51 p.m.
 8 now. I’m just wanting to know: Do you remember                    8      Q (BY MR. BANKSTON) Mr. Jones, some of your
 9 Pizzagate being a subject that came up? Is that                   9   Sandy Hook reporting -- hold on. Excuse me, Mr. Jones.
10 something you’ve looked into in the past couple of               10   I need to grab a file.
11 months?                                                          11             Mr. Jones, some of your reporting on
12       A. I have been very clear the last two years that          12   Sandy Hook involved an anonymous website known as Zero
13 I believe that there was no illegal activity going on at         13   Hedge. Do you know what Zero Hedge is?
14 that pizza place, and I’ve told people that on record.           14       A. Yes.
15 So I don’t know if you’re looking for clips to put on            15       Q. Okay. You’ll remember that there was an
16 the news of me saying something about that, but...               16   affidavit submitted by one of the Plaintiff’s experts
17       Q. Well, what I’m really getting at, Mr. Jones,            17   that said InfoWars and Zero Hedge promoted and endorsed
18 is that after you told people to go and investigate it,          18   each other’s content. Do you remember that affidavit?
19 somebody did and then opened fire there, right? That             19       A. No.
20 happened?                                                        20       Q. Okay. You’ve taken issue with that statement,
21       A. No, there’s evidence that person did that from          21   though? You don’t believe -- that statements not true?
22 any directions I gave him.                                       22       A. I don’t know who runs Zero Hedge. I wouldn’t
23       Q. Okay. You made similar allegations on                   23   say we have a relationship with them.
24 InfoWars. There are videos about an Austin pizza place,          24       Q. Okay. I want to show you what I’m now marking
25 East Side Pies, similar allegations made on InfoWars,            25   as Exhibit 7.


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 1             (Exhibit 7 marked.)                                  1      A. That’s not an endorsement. I don’t know who
 2       Q. (BY MR. BANKSTON) If you want to take a                 2 they are.
 3   minute to read this, Mr. Jones, what I have handed you         3      Q. You’re going to tell us that that clip we just
 4   is the August 28th affidavit that you executed in the          4 saw was not you promoting and endorsing Zero Hedge’s
 5   Heslin case. Do you want a minute to read that?                5 content?
 6       A. Sure. Thank you.                                        6             MR. BARNES: Objection as to form.
 7             (Witness silently reading document.)                 7      A. I just told you I said I think they do good
 8             I’m finished.                                        8 reporting.
 9       Q. Okay. Mr. Jones, I’d like to direct your                9      Q. (BY MR. BANKSTON) You think that the
10   attention there at the end of page 1 and spilling onto        10 statements that you’ve made in that affidavit were
11   page 2. I’m going to read a sentence there for you            11 honest, forthright, and complete?
12   that’s highlighted. It states, "None of the defendants        12      A. Yes.
13   ever cooperated in any way with Zero Hedge nor have
                                                                   13      Q. Okay. Mr. Jones, you’ve said in testimony in
14   defendants and Zero Hedge ever promoted or endorsed each
                                                                   14 this case that you’ve used blue screens before, you have
15   other’s content." Did I read that correctly?
                                                                   15 experience with blue screens, and that there can be
16       A. Yes.
                                                                   16 anomalies if the blue screen is not properly aligned,
17       Q. Okay. Now, the next sentence there -- there’s
                                                                   17 correct?
18   been times where Zero Hedge has been cited?
                                                                   18      A. Yes.
19       A. Yes.
                                                                   19      Q. Tell me how to align a blue screen.
20       Q. And commented about?
                                                                   20      A. It depends if it’s an older Chromakey model or
21       A. Yes.
                                                                   21 it depends if it’s dozens and dozens of different
22       Q. Right. But to talk about you engage in the
                                                                   22 digital units; but if the lighting isn’t correctly
23   promotion or endorsement of Zero Hedge content, that was
                                                                   23 displayed against the green screen or blue screen --
24   wrong; that’s what this document states?
                                                                   24 it’s whatever color you really dial it to. TVs use blue
25       A. Yes, that’s wrong. I mean, I don’t know who
                                                                   25 screens; a lot of entertainment stuff, green. But it
                                                             119                                                                 121
 1 Zero Hedge is. I’ve reached out to them before and               1 doesn’t matter. It can be any color that’s not really
 2 said, "Hey, who are you? I would like you to come on."           2 common that’s not going to be on your shirt or on your
 3 And there’s been no response back.                               3 tie because it will make that disappear as well.
 4           I’ve said, "Wow, this is a good article                4             And, also, if there’s kind of a blue hue
 5 from Zero Hedge," like I’ve said The New York Times has          5 to your nose or in the event of a rising point, noses
 6 a good story; but I don’t have any relationship with             6 turning is generally the Number 1 thing that disappears;
 7 them.                                                            7 or any hairs that are amiss can create a blue shimmer
 8      Q. Right. Okay. Well, I want to show you a                  8 off of television lights and you’ll see areas that
 9 video of you talking about Zero Hedge that was taken on          9 disappear. And so that’s a telltale sign not of digital
10 June 13, 2017. This clip, unfortunately, is not                 10 breakup, but it’s squares.
11 available online anymore. What you’re about to see has          11      Q. How do you align it? What does that mean,
12 been downloaded from a website called                           12 aligning the blue screen?
13 sandyhookfacts.com. So I want to show you that video,           13      A. I mean, that’s not even really a technical
14 which is just a recording of yours.                             14 term. You have to turn the lights on, put people in a
15           MR. BANKSTON: Can you play the clip                   15 chair, and make sure the lights are properly set up to
16 called Zero Hedge?                                              16 then work in the blue screen system.
17              (Video playing.)                                   17      Q. Can you pull up Exhibit 1?
18      Q   (BY MR. BANKSTON) When you said in your                18      A. This is 7.
19 affidavit that InfoWars and you have never promoted or          19      Q. And can you look at Paragraph 3 of Exhibit 1?
20 endorsed Zero Hedge’s content, that was a false                 20 This not technical term, "aligned," that’s your term,
21 statement?                                                      21 right? You used it in this sworn affidavit, correct?
22           MR. BARNES: Objection as to form.                     22      A. Well, yeah. I mean, I would call -- when you
23      A. I just said before you played the clip that             23 dial just like two different dials, lights, and a thing
24 I’ve said they’ve done good reporting.                          24 to make them work together, I’d call that aligned. I
25      Q. (BY MR. BANKSTON) Sure. But, Mr. Jones --               25 mean, that’s a pretty good word. I guess you could call

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 1 it "sync" or --                                                   1      A. No, I said I have blue screens still. They’re
 2      Q. So the lights -- you’re talking about the                 2 on all your major video editing software now.
 3 lights need to be aligned, not a blue screen? You’ve              3      Q. Okay.
 4 got to dial something on a light?                                 4      A. And then we have -- somewhere we might
 5      A. Well, no, the lights and the computer program             5 actually have an old-fashioned tube-based one. And I
 6 have to be aligned. You have to look at a color scope.            6 say 50. Do we have 50 computers? I mean, we probably
 7 You have to make sure the colors are all lined up or it           7 have 50 computers, old and new.
 8 won’t work. You have to be perfectly aligned. And                 8      Q. Now, those blue screens -- in other words,
 9 that’s either on an old spectrum system or you align              9 what InfoWars uses to create blue screens, that still
10 them on a digital system. That’s called -- that’s                10 exists, is available for inspection, correct?
11 aligning on that. It’s on the scope. And now those               11      A. Well, it’s standard on Final Cut Pro. It’s
12 scopes are digital. So you align the scope,                      12 standard on all those editing systems. Just you can go
13 technically. After you align the scope, then you have            13 to the store and buy them.
14 to align the lights with the scope so that it hits the           14      Q. Okay. So whatever InfoWars has that it’s
15 settings of the Chromakey system.                                15 claiming gives it knowledge of how blue screens work,
16      Q. You would be able to, I think, through your              16 that still exists; you haven’t gotten rid of that stuff,
17 years of experience and exposure to these kinds of               17 right?
18 videos -- you’ve seen them before, the most common type          18      A. No. We’ve got a couple of green screens up on
19 of nose disappearing stuff -- you would be able to               19 the walls.
20 produce to us examples of blue screen videos with noses          20      Q. Perfect. Okay. One of the things that you
21 disappearing, just like Anderson Cooper’s, right?                21 talked about -- remember we said we were going to put a
22      A. I think I could probably find those.                     22 pin in it, about blue screens is one of the reasons that
23      Q. Yeah, that’s something that you could produce?           23 you were suspicious about this interview and blue
24      A. I can’t guarantee it, but that’s pretty --               24 screens is because CNN’s got caught using blue screens
25 like, have you ever seen, like, the weather person and           25 before, right?
                                                              123                                                                 125
 1 they’re, like, wearing the wrong colored tie and it does          1       A. Uh-huh.
 2 that? I mean...                                                   2       Q. And, in fact, one of the things you brought up
 3      Q. Absolutely. And so if they’re wearing a blue              3   was about CNN getting caught using blue screens in the
 4 shirt, all of a sudden it looks like their shirt’s                4   Gulf War?
 5 invisible, right, because it’s the same color as the              5       A. Uh-huh.
 6 blue screen, right?                                               6       Q. On the satellite feeds, right?
 7      A. Or it might be set to green and then somebody             7       A. Yes.
 8 sets it blue and, you know -- or somebody hits it; and            8       Q. Okay. I want to play you a video really quick
 9 it goes to brown and all of a sudden the rest of their            9   from something you said on May 13th, 2014 about these
10 clothes disappear.                                               10   blue screens.
11      Q. And the whole shirt disappears?                          11             MR. BANKSTON: Can you play CNN Blue
12      A. There is a dial. You can dial it to any color            12   Screen for me?
13 you want.                                                        13               (Video playing.)
14      Q. Okay.                                                    14       Q (BY MR. BANKSTON) Now, Mr. Jones, you’ve seen
15      A. At least on those units, older units.                    15   there was actually a satellite feed leak -- a leak of
16      Q. Okay. What kind do you have at InfoWars? You             16   this that you’ve seen, right?
17 said you have one in the back?                                   17       A. Uh-huh.
18      A. Oh, we have quite -- most of them that we                18       Q. Okay. Is that a "yes"?
19 have -- we probably have about ten of them.                      19       A. Yes.
20      Q. Okay.                                                    20       Q. Okay.
21      A. The average news computer system has them.               21             (Exhibit 8 marked.)
22      Q. You still have them, all ten of them?                    22       Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
23      A. That’s not an accurate statement. We probably            23   hand to you what I’ve marked as Exhibit 8. You
24 have 50.                                                         24   recognize this leak from the Charles Jaco CNN broadcast
25      Q. You have 50 blue screen mechanical devices?              25   where he’s got the blue screen behind him? You

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 1 recognize that?                                                   1 what I’ve marked as Exhibit 9. You’ve never seen the
 2      A. Yes.                                                      2 International Hotel in Riyadh, Saudi Arabia, have you?
 3      Q. Okay. And this was something that some people             3      A. No. I know that’s where they said they were
 4 recorded off of a satellite leak?                                 4 broadcasting from.
 5      A. I believe so, a long time ago.                            5      Q. I’m going to show you what I’m marking as
 6      Q. Okay. And you’ve done some reporting about                6 Exhibit Number 11.
 7 this on InfoWars. You’ve shown this video and what                7            (Exhibit 11 marked.)
 8 happened that day?                                                8      Q. (BY MR. BANKSTON) You’ve never seen the
 9      A. Yes.                                                      9 photographs for the satellite setups for the major
10      Q. Okay. And as we see from here, you can see               10 networks at the International Hotel in Riyadh, Saudi
11 kind of on the left-hand side and on the right-hand of           11 Arabia, have you?
12 the screen, there’s this big blue screen up behind them,         12      A. Nope. I just know Jaco says that they staged
13 right?                                                           13 a chemical attack that didn’t happen.
14      A. Uh-huh.                                                  14      Q. You know that Jaco admits is what you’re
15      Q. Right? Because they left it on. I mean, they             15 saying? You’ve seen clips of Charles Jaco saying it
16 didn’t put anything on it because they were on a                 16 was --
17 satellite kind of practice feed, I think, right?                 17      A. Yeah, it came out later that there wasn’t
18      A. I don’t remember all the particulars, but they           18 nerve gas in the air and all that and that they staged
19 admitted they weren’t on location.                               19 some of the shots on blue screen.
20      Q. Okay.                                                    20      Q. So you’re maintaining that that thing behind
21      A. And then, again, it’s not like the background            21 them in that shot is a blue screen used for compositing
22 turns on. It’s that the computer overlays it.                    22 and not just the walls of the International Hotel in
23      Q. Right. It’s not like actually on the --                  23 Riyadh that was on every broadcast during that time?
24 there’s something up on the screen. The computer takes           24            MR. BARNES: Objection --
25 care of that in postproduction?                                  25      Q. (BY MR. BANKSTON) That’s what you’re saying?
                                                              127                                                                129
 1      A. Or does it live.                                          1            MR. BARNES: Objection as to form.
 2      Q. Or does it live, right. Okay.                             2      A. Well, no. They were saying they were there.
 3            But that CNN studio, that setup -- what                3 They weren’t saying they were projecting that behind
 4 I’m going to hand you now is what’s been marked as                4 them. I get your confusion about the blue thing or my
 5 Exhibit 10.                                                       5 confusion. This was a long time ago. It’s not debated
 6            (Exhibit 10 marked.)                                   6 that CNN staged location shots.
 7      Q. (BY MR. BANKSTON) Do you think ABC News and               7      Q. (BY MR. BANKSTON) They didn’t stage that
 8 Forrest Sawyer was given access to Ted Turner’s secret            8 shot, did they? That shot was in front of the
 9 studio?                                                           9 International Hotel in Riyadh. That was not a staged
10            MR. BARNES: Objection as to form.                     10 shot.
11      A. I don’t even know anything about this. I                 11      A. Yeah, they put the gas masks on through the
12 mean, I know they were...                                        12 whole thing and then they stopped during the breaks and
13      Q. (BY MR. BANKSTON) You’ve never seen that                 13 it’s all a big joke.
14 picture?                                                         14      Q. I’m not really concerned with what they did on
15      A. No. I believe that CNN and others, especially            15 the broadcast. You said that they were in a secret
16 CBS partners with other groups routinely; but that’s             16 broadcast center in Atlanta when they said they were in
17 conjecture. I don’t know.                                        17 Riyadh. You were wrong. That was false. They were
18      Q. Okay. So I take it you’ve never done any sort            18 actually in Riyadh. You can admit that?
19 of research as to where these interviews were allegedly          19      A. I can’t say that.
20 done or CNN says they were done?                                 20      Q. In fact, you don’t know. When you were saying
21      A. You know, this was so long ago. I remember               21 that they were not in Riyadh, you had no idea?
22 seeing PBS documentaries about this.                             22      A. I think you’re mixing things together.
23      Q. Let me show you an exhibit about that.                   23      Q. Okay, Mr. Jones.
24            (Exhibit 9 marked.)                                   24      A. You’re right. Colin Powell, the anthrax was
25      Q. (BY MR. BANKSTON) I’m going to hand you now              25 real. You’re right. Nothing sticks.

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 1      Q. There was a lot of reporting during the Gulf              1     A. I got contacted in the morning with -- I got
 2 War, a lot of people doing really hard work to uncover            2 contacted by an individuals assigned to the SERF Teams
 3 the fact that those aluminum tubes were total bunk.               3 CIA Assassination squads who had people inside the
 4 That wasn’t WMDs, right?                                          4 hostage rescue team in Vegas and they said that he was
 5      A. Were they wrong to question that.                         5 selling weapons to the Gihadies and that they had
 6      Q. Absolutely. There was a lot of people                     6 paraphernalia for the Gihadies in the Middle East, that
 7 questioning that. They did some really good reporting.            7 he was an arms dealer. I mean, the Saudis were having a
 8 They found out, for instance, that some of the                    8 civil war.
 9 allegations of torture in Kuwait were total bunk; it was          9              They were having an event with the Saudi
10 total propaganda. Some good journalists found that --            10 military, over 10,000 of them in Las Vegas that weekend
11      A. The babies in the incubators?                            11 as part of a larger event, and that as basically inside
12      Q. I think that’s some of it, isn’t it? Not just            12 the Saudi Arabia civil war that they used the arms deal
13 the babies in the incubators, though. There was a lot            13 to get weapons inside of the United States and that they
14 of false things being told to the American public to get         14 then killed the patsy and then carried out the operation
15 them to go to war, wasn’t there?                                 15 and that the whole thing was basically a Saudi civil
16      A. Yeah.                                                    16 war. And a lot of that later came out.
17      Q. And a lot of reporters did really good work              17     Q. Came out where?
18 doing it and finding out what those things were. There           18     A. It came out in the news that he went to the
19 were some really good reports, right, an incubator               19 Middle East. It came out that he had been involved in
20 report, for instance?                                            20 arms dealing. And I also had to sign nondisclosures
21      A. Yeah. Yeah. I was pretty young then, but                 21 that I can’t get into subsequently with other
22 yeah.                                                            22 information.
23      Q. So those good journalists did good work                  23     Q. You’ve signed nondisclosures?
24 uncovering those facts; but your work on the blue screen         24     A. Uh-huh.
25 allegation in the Gulf War, that wasn’t good journalism,         25     Q. With whom?
                                                              131                                                                 133
 1 was it, Mr. Jones?                                                1     A. I can’t talk about it.
 2      A. No. They admitted they did blue screen shots              2     Q. Okay. Well, what about: What’s the general
 3 from Atlanta and a whole bunch of places.                         3 topic that you can’t disclose?
 4      Q. That’s where you’re doubling down; you’re                 4     A. I can’t talk about it.
 5 saying that that’s a fact?                                        5     Q. Okay. So apparently there’s some
 6      A. I’m saying you’re mixing things together, so I            6 nondisclosure agreement that you’ve signed with some
 7 can’t say anything further.                                       7 unnamed person that is relevant to the allegations that
 8      Q. Okay. I want to talk a little bit --                      8 you were making about Las Vegas?
 9 actually, I want to go back to something you said                 9     A. Yes.
10 earlier, which is that you have CIA sources who told you         10     Q. Okay. And you can’t -- for reasons of that
11 that something’s up in Vegas --                                  11 nondisclosure, you can’t disclose anything about that
12      A. Yep.                                                     12 today?
13      Q. -- something funny’s going on in Vegas. Who?             13     A. No, I can’t.
14            MR. BARNES: Objection, and we’ll                      14     Q. Was that a government person that you did the
15 instruct the witness not to answer on journalistic               15 nondisclosure with?
16 privilege.                                                       16              MR. BARNES: Objection, and we’ll
17            MR. BANKSTON: Gotcha.                                 17 instruct the witness not to answer to the degree it
18      Q. (BY MR. BANKSTON) Well, what did you hear?               18 could disclose his identity, which that question
19 What did this person tell you?                                   19 basically would.
20            MR. BARNES: The same instruction not to               20     Q. (BY MR. BANKSTON) Was it a corporate entity?
21 answer if it in any way will disclose their identity.            21              MR. BARNES: The same instruction not to
22            MR. BANKSTON: Yeah, I’m not asking for                22 answer on the grounds of the journalistic privilege
23 their identity.                                                  23 shield as something that may identify or lead to the
24            THE WITNESS: Go ahead.                                24 identification of the individual person.
25      Q. (BY MR. BANKSTON) What did they tell you?                25     Q. (BY MR. BANKSTON) Was it a real person or an

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 1 imaginary person?                                                 1 CNN takes the angle on Pizzagate and makes it huge --
 2     A. Oh, it’s real.                                             2 Washington Post, New York Times, CNN -- they make
 3     Q. It’s a real person. So there is a contract.                3 whatever they’re reporting on the huge thing; and then
 4 If we needed it, we could get it? It exists? Do you --            4 we go report on this huge thing that the media, the
 5     A. I already told you it exists.                              5 corporate media, actually went, like, a honey pot and
 6     Q. Do you own a copy?                                         6 set up. So more and more I try to not even report on
 7           THE WITNESS: We have a copy of that,                    7 whatever the big thing on 4chan or, you know, any of
 8 don’t we?                                                         8 these sites are talking about. I directly stay away
 9           MR. BARNES: Well, he’s just asking                      9 from them now.
10 whether you --                                                   10     Q. Okay. 4chan, let’s just pick that one up
11     A. Yes, we have a copy.                                      11 first.
12     Q. (BY MR. BANKSTON) Okay. Thank you,                        12     A. Yes.
13 Mr. Jones.                                                       13     Q. That’s an anonymous image board, right?
14           Let’s talk a little bit about sources.                 14     A. Yes.
15 What is InfoWars’ policy on using unnamed sources?               15     Q. The posters there are assigned a random
16     A. If they’ve been credible in the past and have             16 number, right?
17 been good sources, then we report from an unnamed                17     A. Yes.
18 source.                                                          18     Q. InfoWars has frequently used 4chan as a
19     Q. Who is in charge or makes the decision on if              19 source?
20 the source is credible?                                          20     A. We’ve reported on things being reported at
21     A. Paul Watson, myself, Rob Dew.                             21 4chan.
22     Q. Okay. You talked a lot about covering                     22     Q. As a source, right? That’s what a source is,
23 Internet --                                                      23 isn’t it?
24     A. Let me be clear: Paul does his own thing. So              24     A. Yes.
25 he does his reporting and then helps us out with other           25     Q. Okay.
                                                              135                                                                 137
 1 stuff.                                                            1     A. I mean, if somebody was e-mailing you, you
 2     Q. Okay. So it’s you and Rob who assign                       2 could say technically it was a source --
 3 credibility to sources?                                           3     Q. Sure.
 4     A. Yes.                                                       4     A. -- even if you never even open it.
 5     Q. Okay. You talked a bit about covering the                  5     Q. Any piece of information that you’re going to
 6 Internet and what’s being said on the Internet. On when           6 report secondhand is a source, right?
 7 you cover the Internet and the stuff that’s being said            7     A. Yeah.
 8 there, are there particular places that you consider              8     Q. It was the source of that information?
 9 important places to look on the Internet for what’s               9     A. Yeah. Like, if somebody draws on a bathroom
10 really being said and what’s happening?                          10 wall, it could be a source.
11     A. Yes.                                                      11     Q. Now, for instance, one of the things we’ve
12     Q. What are some of your primary sources on the              12 talked about is misidentifying the Parkland shooter. We
13 Internet to get Internet chatter?                                13 talked earlier about misidentifying the Parkland shooter
14     A. I mean, everything from the Intercept to the              14 last year. InfoWars’ source was 4chan, right?
15 New York Times to Drudge Report to CNN -- I mean, we             15     A. I don’t remember that, but we corrected it
16 just look at everything -- to the Congressional Record.          16 within a day.
17     Q. Well, I mean, I understand you look at media,             17     Q. Well, I mean, I didn’t ask you anything about
18 mass media and government reports; but I’m talking about         18 correction, right? What I’m asking is: Do you or do
19 Internet chatter, what the people are talking about              19 you not know if 4chan was your source?
20 online. How do you get a pulse of that?                          20     A. I believe it was one of the places that put it
21     A. It’s not even getting a pulse. In the past we             21 up.
22 would cover whatever the big chatter was if I thought it         22     Q. Okay.
23 was interesting and the crew did. We basically try not           23     A. That’s why I told --
24 to even do that anymore because it always gets assigned          24     Q. So that’s what I was kind of asking when I
25 on us when we cover even big stories because if, like,           25 say: Where do you get your chatter? 4chan is one. Do

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 1 you have any others for us?                                       1 want to know a question to. Do you even know what
 2     A. Yeah, e-mail, what people are talking about on             2 Mr. Heslin sued you for?
 3 the street.                                                       3           MR. BARNES: Objection as to this being
 4     Q. Well, I mean, specifically we’re talking about             4 outside of the scope.
 5 honing in on this idea that there were people on the              5           MR. BANKSTON: He’s an individual.
 6 Internet chattering about Sandy Hook. The Internet was            6           THE WITNESS: This is Scarlett Lewis,
 7 talking about it. You know --                                     7 right?
 8     A. I would say YouTube. The videos within the                 8           MR. BANKSTON: Right. There’s no
 9 first two weeks with, like, 5 million, 10 million views,          9 30(b)(6) Notice here. He don’t have a scope.
10 plus; and they were showing a lot of things that when            10           MR. BARNES: Sure there is.
11 you looked at it, looked pretty compelling.                      11           MR. BANKSTON: If he has personal
12     Q. Okay. So there were people making videos on               12 knowledge, he can answer it. Are you instructing him
13 YouTube. You had some of those people on your show,              13 not to answer?
14 right?                                                           14           MR. BARNES: It’s an objection.
15     A. I’m not -- I can’t remember.                              15     Q. (BY MR. BANKSTON) Okay. Then you can go
16     Q. Okay. You know who Q.K. Ultra is? Have you                16 ahead and answer, Mr. --
17 heard that name?                                                 17           MR. ENOCH: Well, don’t tell him there’s
18     A. (No audible response.)                                    18 no scope, Mark.
19     Q. Do you know who the Independent Media                     19           MR. BANKSTON: I have no idea, Mr. Enoch,
20 Solidarity Group is? Have you ever heard that name?              20 what you mean. Is there something in the Order that you
21     A. No.                                                       21 think there’s a scope? I don’t see a scope.
22     Q. Do you know Peter Klein and his film, Let’s               22           MR. ENOCH: The Court said you were
23 Talk About Sandy Hook?                                           23 allowed to ask things consistent with your RFPs.
24     A. No.                                                       24           MR. BANKSTON: Yeah, whether Mr. Heslin
25     Q. Do you know the book Nobody Died at Sandy                 25 was defamed is relevant to my case. You know that. The
                                                              139                                                                 141
 1 Hook?                                                             1 document request was all about Mr. Heslin.
 2     A. I’ve not read it.                                          2           MR. ENOCH: I --
 3     Q. Okay. All of these things have been sources                3           MR. BANKSTON: Don’t even start this with
 4 for you, though, right?                                           4 me.
 5     A. No, I don’t think Fetzer, by the time he wrote             5           MR. ENOCH: Let me finish, please.
 6 that book, was a source.                                          6           MR. BANKSTON: I would rather you not
 7     Q. There was a broadcast with Mr. -- discussing               7 because you’re not defending this deposition, Mr. Enoch.
 8 Mr. Heslin in 2017 about his statements on the Megyn              8 I’ve had an extraordinary amount of patience with you
 9 Kelly show. Do you know what I’m talking about?                   9 speaking during this deposition, but we’re not going to
10     A. Can you give me specifics?                                10 do this to you when we defend depositions.
11     Q. Yeah, you were sued over it by Mr. Heslin. Do             11           MR. ENOCH: Do not misrepresent to this
12 you know what broadcast I’m talking about now?                   12 lawyer that the Judge did not restrict the scope to the
13     A. Well, I mean, what specifically?                          13 limit -- limited to the RFPs. Do you agree that he
14     Q. Mr. Jones, do you understand that Neil Heslin             14 limited it to that?
15 sued you? Do you understand that?                                15           MR. BANKSTON: No, I don’t think so --
16     A. Well, you’re asking me about a specific                   16           MR. ENOCH: Okay.
17 broadcast; and I’m saying: What broadcast?                       17           MR. BANKSTON: -- not to an RFP, no, I
18     Q. Right. First, I’m asking you: Do you                      18 don’t think so.
19 understand Neil Heslin sued you?                                 19           MR. ENOCH: You don’t think so?
20     A. Yes.                                                      20           MR. BANKSTON: No, Mr. Enoch, I don’t
21     Q. Okay. Are you telling me that you don’t know,             21 think the scope of written discovery on a Request For
22 sitting here right now, what broadcast he sued you for?          22 Production was identical to the scope of deposition.
23     A. I mean, I’m asking you to give me the                     23 And many, many times, Mr. Enoch, the Judge said, "No,
24 specifics, like, so you can get me to comment.                   24 you can’t ask that question for a Request For
25     Q. No, I’m asking you right now. That’s what I               25 Production; but you can just ask it in deposition." So,

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 1 no, I don’t agree with you at all; and I would                    1 Current did. They said that they’d never seen stuff
 2 appreciate it if kept quiet for the remainder of the              2 covered up like this.
 3 deposition. You are not defending this deposition.                3      Q. Right.
 4             MR. ENOCH: Mr. Bankston, I will speak if              4      A. I mean, I knew FBI agents and people that
 5 it’s appropriate for to speak.                                    5 said there was something weird going on with it.
 6             MR. BANKSTON: It is not appropriate for               6      Q. One of them was his uncle, right?
 7 you to speak.                                                     7      A. Yes, Rob Dew’s uncle, right.
 8             MR. ENOCH: Please don’t interrupt me,                 8      Q. Yeah. He was up there with Mr. Halbig and
 9 sir. That’s not courteous.                                        9 Mr. Bidondi and Mr. Reich.
10             MR. BANKSTON: Sir, I’m going to ask you              10      A. We didn’t even know he was going.
11 to leave my deposition.                                          11      Q. Right. I’m not saying you did. I’m saying he
12             Go off the record for a second.                      12 was up there?
13             MR. ENOCH: No, I do not agree to go off              13      A. Yep.
14 the record.                                                      14      Q. Yeah.
15             MR. BANKSTON: All right. Don’t go off                15      A. Career, retired FBI, yep.
16 the record.                                                      16      Q. Right. With Mr. Halbig and Mrs. Kay Wilson,
17             Mr. Enoch, I’m asking you to leave my                17 Mr. Bidondi --
18 deposition. You are being obstructive. You are                   18      A. There was a big City Council meeting there.
19 talking. You are not appearing at this deposition. You           19      Q. Yeah. Mr. Reich was there?
20 are not defending it. If you do not agree to be quiet,           20      A. I don’t know who those folks are.
21 I’m asking you to leave the deposition. Are you going            21      Q. Okay. Now, Mr. Dew, he has been frequently
22 to stay and be quiet, or am I going to have to ask you           22 sent as the news director of InfoWars -- hold on. Let
23 to leave?                                                        23 me back that up because I’m making an assumption.
24             MR. ENOCH: Mr. Bankston, I am not                    24            Mr. Dew’s the news director of InfoWars?
25 leaving the deposition.                                          25      A. For some of the programs. We don’t do the
                                                              143                                                               145
 1             MR. BANKSTON: Then you’re going to stay               1 nightly news anymore; but he was directing those shows,
 2 quiet.                                                            2 yes.
 3             MR. ENOCH: Would you like to continue                 3      Q. Okay. So Mr. Dew had been, over the years,
 4 your deposition?                                                  4 sent e-mails and communications and tweets from Sandy
 5             MR. BANKSTON: I am. And if you leave                  5 Hook debunkers. Do you know what I mean when I say
 6 again -- if you keep speaking, I guarantee you I will             6 that?
 7 seek sanctions against you, Mr. Enoch.                            7      A. Yes.
 8     Q    (BY MR. BANKSTON) Mr. Jones, does --                     8      Q. Okay. And Mr. Dew had been told by these
 9 interactions with readers and viewers, that tends to              9 people, "What you’re saying is wrong. You need to stop
10 help drive what you do on the show, right?                       10 saying it. Here’s the real truth"? You understand --
11     A. Somewhat.                                                 11      A. Oh, I thought you meant debunkers debunking
12     Q. I mean, if viewers want you to cover                      12 the official story.
13 something, that’s a motivator for you to cover it?               13      Q. No, I mean those who were debunking what you
14     A. Sometimes. Not so much.                                   14 were saying about Sandy Hook.
15     Q. And, in fact, you’ve said about Sandy Hook,               15      A. Yes, and then we would offer for them to come
16 "This is what our viewers wanted us to cover. That’s             16 on air and cover what they said.
17 why we were covering it."                                        17      Q. And, in fact, you had been given information
18     A. Yes, it was an Internet sen -- a big deal                 18 by them; they had given you information?
19 early on.                                                        19      A. And we put it on air.
20     Q. And, in fact, when you weren’t covering it so             20      Q. And you had a debate with a guy named Keith
21 much, whenever you stopped covering it for a little bit,         21 Johnson, right?
22 your viewers would get upset. And they’d be like, "Why           22      A. I don’t think I did.
23 aren’t you covering Sandy Hook; it’s a hoax"?                    23      Q. Well, okay. So there was a debate hosted on
24     A. Yes, people, the public -- the public in                  24 InfoWars between Keith Johnson and Mr. Halbig?
25 general had major questions. I mean, even the Hartford           25      A. Was that the -- I forget the name of the

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 1 newspaper guy. I can’t remember the name.                       1 know, these debates in this; and I’m trying to state --
 2      Q. Well, Keith Johnson, he’s a former InfoWars             2 what I’m saying is we invited everybody on. We had
 3 contributor, right?                                             3 debates. And if I remember that debate correctly, isn’t
 4      A. Well, there’s a lot of articles that people             4 that when Halbig really got mad was because we pretty
 5 contribute, whether a letter to the editor or --                5 much, you know, disagreed with him?
 6      Q. That’s not what I’m not talking about,                  6            MR. BANKSTON: Can you scroll up?
 7 Mr. Jones. Keith Johnson was a paid contributor to              7            (The reporter complies.)
 8 InfoWars?                                                       8            THE WITNESS: I mean, I’m really trying
 9      A. Not to my memory.                                       9 to be helpful.
10      Q. Okay. So there was this debate that Mr. Dew            10      Q. (BY MR. BANKSTON) Mr. Jones, I asked you: Do
11 hosted, and would you agree with me that was sometime          11 you know C.W. Wade?
12 around 2015?                                                   12      A. I don’t know him, no.
13      A. I don’t remember.                                      13      Q. Thank you, sir.
14      Q. Okay. Mr. Dew, in addition to those debates,           14            I want to talk a little bit about
15 has been provided written information from a lot of            15 InfoWars, LLC. Have you ever taken money from InfoWars,
16 these debunking people seeking to stop the allegation          16 LLC?
17 that it’s a hoax. You would agree with that?                   17            MR. BARNES: Objection. And my
18      A. Yes. There was a big Internet fight going on,          18 instruction is to privacy. Unless it’s Sandy Hook
19 and we were showing both sides.                                19 specific or relevant, I’ll instruct the witness not to
20      Q. Right. And so in terms of information about            20 answer consistent with the constitutional right to
21 these anomalies, some of the things that I’ve been             21 privacy protected under both the Texas Constitution and
22 showing you today were in Mr. Dew’s possession, correct?       22 the United States Constitution.
23            MR. BARNES: Objection as to form.                   23            MR. BANKSTON: Wow. Okay. We’ll take
24      A. I don’t understand. There’s been an ongoing            24 that up another day, I guess. Wow.
25 debate back and forth on these issues.                         25            MR. BARNES: I mean, I can go to other
                                                            147                                                                149
 1      Q. (BY MR. BANKSTON) Okay. Do you know who a               1 cases if you want me to.
 2 person named C.W. Wade is?                                      2            MR. BANKSTON: I mean, I don’t at all,
 3      A. No.                                                     3 Mr. Barnes.
 4      Q. Okay. You’ve never heard of that person’s               4      Q. (BY MR. BANKSTON) InfoWars, LLC, has it ever
 5 debunking efforts about what you’ve been saying?                5 had any money?
 6      A. I’ve told you, like, I don’t live, eat,                 6            MR. BARNES: Objection, same instruction
 7 breathe, sleep, this stuff.                                     7 to the witness not to answer on the grounds of privacy.
 8      Q. I get you. I’m just asking questions.                   8      Q. (BY MR. BANKSTON) What is InfoWars, LLC?
 9      A. I’m just really -- if I had it all over to do,          9      A. I don’t believe it’s even an operating
10 I’d do a better job; but I didn’t do it on purpose be          10 company.
11 malicious. And everybody wanted to have debates about          11      Q. So it’s your allegation it’s not an active
12 it; and I said years ago -- probably, like, five years         12 corporation by the Secretary of State?
13 ago I said, "No more of this. I’m sick of it. It’s a           13      A. You know, I’m not the expert on this. So I
14 tar baby. I think it probably happened."                       14 probably shouldn’t answer it because I don’t want to
15            But then we’d see stuff in the cover-up             15 state it wrong, but I...
16 and them never releasing documents and the Hartford            16      Q. Okay. You made InfoWars, LLC; you created it?
17 Current saying, "It looks like a cover-up’s going on.          17      A. You know, I’m not one of the lawyers. So I
18 We don’t think it’s a hoax; but, you know..."                  18 don’t want to answer it wrong.
19            And so it’s just a tar baby. I’m sick of            19      Q. Nobody else is involved. It’s nobody else’s
20 it. And so that’s why there’s so many apologies and            20 company, right?
21 statements that I’m sorry, you know, that I was even           21            MR. BARNES: Objection and instruct the
22 ever covering it because I don’t want it to be my              22 witness not to answer on the grounds of privacy that
23 identity. I’m tired of it.                                     23 could also invade the privacy of third parties.
24      Q. What question are you answering?                       24            MR. BANKSTON: Okay.
25      A. I mean, I’m answering your question about, you         25      Q. (BY MR. BANKSTON) InfoWars, LLC, what does it

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 1 do? What has it ever done as a business?                         1            THE WITNESS: Can I have a water, please?
 2      A. I don’t know.                                            2 Thanks.
 3      Q. Okay. Do you have any job duties at InfoWars,            3            MR. ENOCH: Sure. There’s not an extra
 4 LLC?                                                             4 cup.
 5      A. I mean, as you heard, I’m not going to get               5            THE WITNESS: It’s fine.
 6 into structure of things. Plus, I’m not a CPA or a               6            MR. ENOCH: I’ll just give you a coffee
 7 lawyer. I don’t want to say it wrong.                            7 cup.
 8      Q. Okay. Have you ever had job duties at                    8            THE WITNESS: Thank you.
 9 InfoWars, LLC in the past?                                       9            Is it okay to break for ten minutes and
10      A. I don’t want to say -- I mean, I think I’m the          10 eat?
11 only -- it’s -- I’m the sole person.                            11            MR. BANKSTON: Yeah. You know what, this
12      Q. Has InfoWars, LLC ever had an office?                   12 is not a bad spot. We’re at 3:30 right now.
13      A. I really don’t understand. I don’t know what            13            THE WITNESS: Thanks. All I need is ten
14 you’re getting at.                                              14 minutes.
15      Q. Do you know what an office is?                          15            MR. BANKSTON: Ten or fifteen is fine. I
16      A. No, I don’t understand. Like, you’re asking             16 mean, if we can come back here by 3:50, I can get us out
17 me whether a corporation has an office.                         17 of here before 5:00.
18      Q. Uh-huh.                                                 18            THE VIDEOGRAPHER: Off the record at
19      A. The company has offices at Free Speech                  19 3:29 p.m.
20 Systems.                                                        20            (Off the record from 3:29 to 3:42 p.m.)
21      Q. Well, so if I was to ask you: Does Free                 21            THE VIDEOGRAPHER: We’re back on the
22 Speech Systems have an office, the answer’s "yes"?              22 record at 3:42 p.m.
23      A. I think, yeah, it’s on the letterhead, yeah,            23      Q   (BY MR. BANKSTON) When was the last time you
24 that’s what...                                                  24 did anything for InfoWars, LLC?
25      Q. Okay. Let’s try InfoWars. Does InfoWars, LLC            25      A. I’m sorry. I can’t accurately answer that.
                                                             151                                                                153
 1 have an office?                                                  1      Q. Was InfoWars, LLC in the news business?
 2      A. You know, I don’t want to inaccurately answer            2      A. I don’t think I can accurately answer that.
 3 that, so I can’t.                                                3      Q. We’ve talked a lot about Free Speech Systems
 4      Q. Okay. Who would be the person at InfoWars,               4 employees today, like Mr. Dew. Did Mr. Dew ever do
 5 LLC who could answer that?                                       5 anything for InfoWars, LLC?
 6      A. You know, the corporation got set up a long              6      A. InfoWars, LLC’s a real corporation. It’s
 7 time ago; and I’m not sure who you’d ask those                   7 inactive. And it was set up to deal with something like
 8 questions.                                                       8 intellectual properties or something, like, ten years
 9      Q. Okay. Now, when it comes to Free Speech                  9 ago; and that was just kind of like a basic corporate
10 Systems, LLC, you’re the boss?                                  10 structure. It’s pretty standard, I’m told; but I’m not
11      A. Uh-huh.                                                 11 a lawyer. And so -- but, I mean, it’s filed with the
12      Q. There’s nobody with more power at Free Speech           12 State. It’s up to date. It’s just not -- I think the
13 Systems, LLC than you?                                          13 things we were going to do with it we never did fully.
14      A. I make all the major decisions. I’m the --              14 I think that’s -- but I’m not a lawyer, but that’s the
15 the buck stops with me.                                         15 best of my understanding of that.
16      Q. You make final call on anything that goes to            16            MR. BANKSTON: Object as nonresponsive.
17 air?                                                            17      Q. (BY MR. BANKSTON) I asked you if Mr. Dew had
18      A. I mean, I don’t sit there and watch over                18 ever done anything for InfoWars, LLC. Is that "yes" or
19 everything. I try to have good people that are smart            19 "no"?
20 and are trying to tell the truth.                               20      A. I don’t believe so.
21      Q. But, I mean, you have the authority. If                 21      Q. Okay. What about -- help me with this name --
22 something’s going to air and you find out and you don’t         22 Tim Fruge?
23 want it on air, you can stop it?                                23      A. "Fruge."
24      A. Yes. I told you: The buck stops with me.                24      Q. "Fruge." Did Tim Fruge do anything for
25      Q. Okay.                                                   25 InfoWars, LLC?

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 1     A. No.                                                        1 nondisclosure agreement. You were asking sources on
 2     Q. Does InfoWars, LLC have anything to do with                2 Vegas, and we have particularly good ones on that.
 3 the InfoWars, LLC website?                                        3     Q. Okay.
 4     A. I don’t want to state it wrong, but I think                4     A. And then...
 5 so. Yeah, I think that’s the whole point is that                  5     Q. But in terms of your legal obligations, that’s
 6 different things had a different company.                         6 also something you’re not prepared to talk about today?
 7     Q. Okay. Regarding sourcing, would you put                    7     A. Yes. I had to sign a nondisclosure agreement
 8 information on the air from a source if nobody at                 8 before I was allowed to see something.
 9 InfoWars knew their identity?                                     9     Q. Okay. I want to ask you a little bit more
10     A. No, not generally.                                        10 about Wolfgang Halbig. Now, Wolfgang Halbig was a
11     Q. Okay. And that’s because if you can’t verify              11 former security officer at a school, correct?
12 their identity of who’s telling you the information, you         12     A. Yes.
13 can’t assess its credibility, can you?                           13     Q. He has sold security plans and security
14     A. Well, if we got an anonymous call that there              14 consulting services across the nation, correct?
15 had been a gas explosion in South Austin, we’d go see if         15     A. Yes.
16 that was the case or if we looked up and saw smoke, not          16     Q. He was one of the -- you would agree with me
17 that I’d normally cover something like that; but we’ve           17 he was one of the most aggressive people in trying to
18 actually got calls like that before.                             18 publicize the idea that Sandy Hook was a fake?
19           Like, the morning of 9/11 I got a call,                19     A. Yes.
20 "Hey, have you seen that something flew into The World           20     Q. How did you meet?
21 Trade Center?"                                                   21     A. I never met him -- well, no. I don’t know if
22     Q. Sure.                                                     22 he’s ever been in the studio. I’ve never met him. It
23     A. I mean, it was just -- so it’s not -- I’m                 23 all blurs, with Skype or audio; but I don’t remember.
24 trying to answer the question simply. But if somebody            24     Q. So your conversations with him generally
25 calls up and say somebody’s a bank robber and there’s no         25 aren’t face to face?
                                                              155                                                                 157
 1 evidence of that, we don’t cover it. 99 percent of the            1     A. They were on air.
 2 time we report on what is already in the news or                  2     Q. On your radio or web show, you mean? Those
 3 something that’s said in Congress or something that is            3 are the places you would typically talk to Wolfgang?
 4 already out there and we just give our comment on it.             4     A. Yes, uh-huh.
 5     Q. Let me go back to your example. Say you got                5     Q. Did you ever communicate in any other ways?
 6 an anonymous call that in South Austin there’d been an            6     A. I vaguely remember talking to him on the phone
 7 explosion, right? You would take steps to confirm that            7 a couple of times.
 8 that explosion had occurred? Send somebody over there?            8     Q. Okay. Do you think you’ve ever e-mailed
 9     A. Yes.                                                       9 Wolfgang Halbig?
10     Q. And in corroborating, once you were -- felt               10     A. I think we’ve responded back to his e-mails,
11 confident that there was an explosion, then at that              11 yes.
12 point you should notify the public because that could            12     Q. Okay. And he’s e-mailed people on your staff?
13 save lives, couldn’t it?                                         13     A. A lot.
14     A. Sure, yes.                                                14     Q. A lot. What did you do to vet him? How did
15     Q. Okay. Now, if an anonymous person called you              15 you assess his credibility?
16 and told you that there was an explosion and you didn’t          16     A. We looked him up and he’d been on national
17 send anybody out to go confirm the explosion, reporting          17 television as an expert and he’d been with the state
18 the explosion on the air could cause problems, correct?          18 police and then he’d been a security -- head of security
19     A. Yes.                                                      19 at a school. And at first a lot of what he said
20     Q. Okay. Let me just ask you really quick going              20 sounded -- he was more credible, and I think he
21 back to this nondisclosure agreement that we discussed           21 genuinely believed what he was saying. And then he had
22 earlier that you can’t tell me about the identity or the         22 that professor coming out from Florida -- I forget his
23 subject matter. Okay? I do want to know: What did you            23 name -- and just a bunch of other people. It was just a
24 agree to do?                                                     24 big firestorm on the Internet and we covered that
25     A. I can’t get into the specifics of the                     25 firestorm and I gave my opinions on it.

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 1     Q. So what I think I’m hearing from you is he’s               1 Way with Mr. Halbig?
 2 been on TV? He was --                                             2     A. I don’t remember some things I talked about
 3     A. Well, no. I mean, he was a state police                    3 two weeks ago on my show.
 4 officer and then he was the head of school security at a          4     Q. Definitely you don’t remember him almost
 5 school and then he was a nationally recognized -- as              5 getting in a brawl with a fireman at a firehouse in
 6 least according to the big national shows I saw, I guess          6 Newtown?
 7 that were mainstream; they must have vetted it -- that            7     A. No.
 8 he was this really big credible guy.                              8     Q. You certainly knew he was harassing parents up
 9     Q. So are you saying that he had a resume of such             9 there?
10 that you did not feel the need to fact-check or                  10     A. No. I remember hearing that there were some
11 corroborate his allegations?                                     11 fracases going on; and that’s when I said, "I don’t want
12           MR. BARNES: Objection as to form.                      12 to have him on the show anymore."
13     A. We did try to fact-check it; but because there            13     Q. And then e-mailed about his associate,
14 was such a wall of secrecy up around it, around Sandy            14 Jonathan Reich, who was up there with Mr. Bidondi and
15 Hook, that the Hartford Current and others noted,                15 Mr. Halbig, getting arrested for harassing a Sandy Hook
16 unprecedented, that allowed that darkness for, you know,         16 parent? You knew about that?
17 things not to be checked out.                                    17     A. Vaguely aback at the time.
18     Q. (BY MR. BANKSTON) Well, let’s take them one               18     Q. Yeah, you know who Jonathan Reich is, don’t
19 by one. Mr. Halbig said the thing about the                      19 you? That’s been told to you plenty of times.
20 Port-A-Potties, right? Do you know what I’m talking              20 Mr. Halbig tried to get you to support his case, right?
21 about, the Port-A-Potties?                                       21     A. He sent thousands of e-mails. I haven’t read
22     A. Yes.                                                      22 any of them, really.
23     Q. Okay. That wasn’t hidden behind a cloak of                23     Q. You know who Lucy Richards is, don’t you?
24 secrecy. That’s in a video that’s been public for six,           24     A. No.
25 seven years, right?                                              25     Q. Even today, you don’t -- sitting here today,
                                                              159                                                                 161
 1     A. Well, I don’t think that that piece of                     1 you don’t know who Lucy Richards is?
 2 information has been proven one way or the other. I               2     A. I don’t.
 3 think they did deliver Port-A-Potties pretty quick.               3     Q. Okay. You don’t know that there was a woman,
 4     Q. EMTs were in the building, right? And that’s               4 an InfoWars follower, who went to Federal prison for
 5 been public for six or seven years.                               5 stalking and threatening to kill Sandy Hook parents and
 6     A. Most of those reports were blacked out.                    6 that she’s now barred from ever seeing InfoWars again by
 7     Q. You know EMTs were in the building? That’s                 7 court order?
 8 borne out in multiple reports.                                    8     A. I read about a woman and the media alleging
 9     A. In the report itself, the police officer said              9 that.
10 it didn’t look normal; things didn’t look right. That            10     Q. And you know that happened in central Florida
11 was the kind of thing we were reading.                           11 very shortly after you disclosed Mr. Pozner’s personal
12     Q. Okay, Mr. Jones. You know about what                      12 e-mail address and maps to where he picks up his mail;
13 Mr. Halbig did up in Newtown, right? You know about his          13 you know that, right?
14 activities there?                                                14     A. No, I do not.
15     A. Earlier you played the Bidondi tape. That was             15     Q. Okay. You didn’t know where that occurred?
16 Bidondi saying those things, you notice. So I’m not              16     A. No, I did not do what you said I did.
17 sure what you’re going to ascribe to me that I’m not             17     Q. Okay. One of the things that you told me,
18 involved in. I don’t know what Bidondi did in Newtown            18 Mr. Jones, is that Sandy Hook has been one-tenth of
19 after a certain -- after about a year or so.                     19 1 percent of what InfoWars covered, correct?
20     Q. You know he almost got arrested at the United             20     A. Yes.
21 Way. You know about that, right?                                 21     Q. How did you determine that?
22     A. No.                                                       22     A. It’s a dead reckoning. I mean, if you look at
23     Q. You’ve talked about that on your show.                    23 four hours on average a day, five days a week, a couple
24     A. I don’t remember.                                         24 of hours on the weekend or more, probably three or four
25     Q. You don’t remember what happened at the United            25 every weekend, you add -- I mean, I’ve sat there and

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 1 added it up and talked to everybody around the office,            1 to us.
 2 it’s like we covered it. You know, somewhere it                   2     A. Videos from where?
 3 happened and we’re into it and then it was just all over          3     Q. From you.
 4 the Internet with debates back and we looked it up and            4     A. No, from after -- after you and other law
 5 went over the videos and maybe there were part of maybe           5 firms lobbied to have us taken off the Internet, which
 6 20 shows or so. And then you look at some were, like,             6 had the index of it on YouTube and other platforms, like
 7 usually 30 minutes to an hour; some were a little                 7 Roku, "Oh, he’s doing it right now. Get it off right
 8 longer. And then you add that to just the 300 and                 8 now. He’s coming after the kids right now," knowing
 9 something days a year we’re on air -- 340 or so, I’d              9 full well that’s not going on.
10 say -- and you look at all that and you add it into all          10           You’re lobbying against the First
11 the shows and everything and it’s just, like, tiny.              11 Amendment and you are then at the same time trying to
12           And then once Hillary announces that it’s              12 take down all of what I really said and then edit things
13 my identity, then the media kind of just took who I was          13 together and that’s the only record. And we went and
14 at InfoWars and applied it to everybody else; and then           14 looked. There’s maybe 20 shows, maybe another probably
15 just the whole thing became this big tornado. And, I             15 50 times callers calling up. That’s what we know of.
16 mean, I -- so in this instance it’s been somewhat more           16 I’m sure there’s more we don’t know about. And we added
17 of me responding to it and things.                               17 all that together with a calculator and we looked at the
18           And then when the media was editing what               18 number and it’s literally not even one -- maybe
19 I was saying to make it look like I was, you know,               19 one-tenth of 1 percent of all the air time we’ve done is
20 making statements that they wanted to be hearing so it           20 Sandy Hook.
21 could be an ongoing thing.                                       21     Q. So you found some shows, 20 something shows
22           And I really woke up when Parkland                     22 with Sandy Hook in it?
23 happened and they said that I was saying nobody died and         23     A. That’s a dead reckoning, but yes.
24 they were all actors. I was like, "Whoa," because I was          24     Q. Why haven’t you given them to me, Mr. Jones?
25 dead clear on that when that happened. I just said they          25           MR. BARNES: Objection and, in fact --
                                                              163                                                                 165
 1 picked the kids from the drama club that they                     1     A. We have given you everything we could find.
 2 interviewed, saying, "We’re in the drama club, and we’re          2     Q. (BY MR. BANKSTON) Because the truth is you
 3 anti-guns." And I said that they picked good-looking,             3 can’t even search by title, can you? You don’t have an
 4 well-spoken people out of 3,000 who wanted to be the              4 index. You have no idea, correct? You can’t search by
 5 spokespersons against guns. That didn’t mean that the             5 title?
 6 event didn’t happen.                                              6     A. No, but we have -- we -- well, actually, we do
 7           And I did -- we did break that the police               7 have it. It’s Prism planted on tv, and we can search.
 8 stood down, and that’s now come out. I don’t know why             8 And we searched all the names they had in the title, but
 9 they stood down. We did point that out.                           9 that doesn’t mean that a caller didn’t call in and it
10           So I really was like: Whoa. You’re not                 10 didn’t get said somewhere, but we’ve done the best we
11 going to say every mass shooting that happens that I’m           11 can to go through all that stuff.
12 saying it didn’t happen.                                         12     Q. Really? If you go to tvinfowars.com and you
13           MR. BANKSTON: Can you scroll back to my                13 search Sandy Hook Vampires Exposed, that’ll come up?
14 question?                                                        14     A. tv.infowars.com is a defunct URL that pointed
15           (Reporter complies.)                                   15 at Prism planted, not tv.
16           THE WITNESS: That was the scary point                  16     Q. Okay.
17 when every mainstream media was like -- I was like:              17     A. So -- and you know that. We’ve put -- there
18 Wow, these people really are crooks.                             18 was a big deal about that.
19           MR. BANKSTON: Thank you.                               19     Q. Yeah, I just got sent a link that said --
20     Q. (BY MR. BANKSTON) Here’s my question,                     20     A. Okay. Well, let me -- listen. We’ve never --
21 Mr. Jones: How in the world would you know how much              21 we don’t take our stuff down unless Twitter -- because
22 you’ve covered Sandy Hook, one-tenth of 1 per -- 10              22 the lawyers on your side complain and say, "He’s doing
23 percent [sic] when we, the Plaintiffs, have asked you to         23 this. Take it down." And then Twitter doesn’t take
24 produce us every video that has Sandy Hook in the title;         24 your stuff down; they order you to.
25 and you can’t even do that? You haven’t produced those           25     Q. Uh-huh.

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 1     A. Okay? But that’s the same thing as taking it               1     A. Yes, we did. It’s all -- I think that stuff’s
 2 down.                                                             2 saved on their site. The full service is to copy it.
 3     Q. And when that happened, Mr. Dew, when he tried             3 What you’re saying’s not true.
 4 to preserve that, when he deleted that stuff --                   4     Q. And Mr. Dew admits that in his affidavit, that
 5     A. No, we had it preserved when we did it.                    5 InfoWars didn’t save that in its local capture, it
 6     Q. Yeah, but he said in his affidavit he lost                 6 didn’t, right?
 7 user comments, didn’t he?                                         7            MR. BARNES: Objection, calls -- as to
 8     A. Those are us. Twitter’s us, not user                       8 form.
 9 comments.                                                         9     A. I’m not an IT person. I can’t accurately
10     Q. No, I know. There’s user comments on your                 10 answer all that.
11 Twitter threads, and they were lost when you deleted             11     Q. (BY MR. BANKSTON) Okay. So in terms of
12 them, weren’t they?                                              12 whether InfoWars failed to preserve evidence that might
13     A. You guys were the ones lobbying to have me                13 be relevant to this claim, you’re not the right person
14 taken off the Internet.                                          14 to ask?
15     Q. I’m not --- I don’t care about any of that.               15            MR. BARNES: Objection as to form.
16 I’m just asking you: Were those deleted?                         16     A. I mean, I think despite the -- according to
17     A. (No audible response.)                                    17 effort by the media and universally establishment to
18     Q. Those comments are lost and will never be                 18 take all our content offline, we’ve done a pretty good
19 recovered and Mr. Dew admits it.                                 19 job of saving almost all of it at infowars.com and at
20     A. Sandy Hook lobbied to have my Twitter taken               20 prismplay.com. So that’s really not an accurate
21 down. The whole thing was taken down.                            21 statement.
22     Q. I know. And you didn’t do anything to                     22     Q. (BY MR. BANKSTON) But you can’t even search
23 preserve it before that happened, did you?                       23 it by title? You have no idea how many videos have
24     A. Oh, so you get it taken down; and then it’s my            24 Sandy Hook in the title?
25 fault?                                                           25            MR. BARNES: Objection as to form.
                                                              167                                                                 169
 1     Q. No. I’m asking you: When did -- you                        1     Q. (BY MR. BANKSTON) We know there’s videos of
 2 reasonably anticipated litigation the moment you were             2 Sandy Hook in the title that don’t show up on these
 3 sued, right? When you were sued on April of 2018, you             3 planetinfowars searches, right? We know that.
 4 knew that all that information was relevant, right?               4            MR. BARNES: Objection as to form.
 5           MR. BARNES: Objection, calls -- as to                   5     A. There’s no planetinfowars.
 6 form. Also objection to the degree any of the questions           6     Q. (BY MR. BANKSTON) Whatever you want to call
 7 are asking about attorney-client communications, then             7 it, Mr. Jones, you have a video archive that’s up right
 8 you’re instructed not to answer to disclose any                   8 now, right? You have a video archive that’s searchable
 9 information that comes from attorney-client                       9 online. Do you agree or disagree?
10 communications.                                                  10            MR. BARNES: Objection as to form.
11     Q. (BY MR. BANKSTON) Let me ask it a different               11     A. Yes.
12 way, Mr. Jones --                                                12     Q. (BY MR. BANKSTON) Okay. On that archive
13     A. We sent letters to Twitter and to Google                  13 there are videos that have been produced in this lawsuit
14 requesting that they not take us down and that they save         14 with Sandy Hook in the title that are not in that
15 it. When they did, we said, "Please turn it back on or           15 archive?
16 give us the full records."                                       16     A. Well, that’s because you’re getting other
17     Q. Let me make it very clear. After you were                 17 people’s videos offline. Like, you get them from Media
18 sued, the information existed; it was available to you.          18 Matters and then you say that’s our video and then you
19 And then, later, it was deleted; and those comments are          19 want us to produce someone’s edited video.
20 gone. That’s true?                                               20     Q. Sorry, Mr. Jones. When you upload a video to
21           MR. BARNES: Objection as to form.                      21 YouTube, you choose the title, don’t you; or does
22     A. By Twitter. Twitter took the account down.                22 YouTube give you the title?
23     Q. (BY MR. BANKSTON) Right. I understand that.               23     A. I don’t think you understand.
24 So before Twitter took that account down, you took no            24     Q. No. So let’s take an example of a video.
25 efforts to preserve any of that information?                     25 Sandy Hook Narratives, False Narratives Versus the

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 1 Realty, a video that has that title should be showing up          1       Q. What being on the news?
 2 in your archives, right? That’s what you’re saying?               2       A. The helicopter and the man behind the school
 3     A. The vast majority of videos of us are not us.              3 and the report of the guy in the SWAT gear and the
 4 Other people get our videos and then put them together            4 police saying they arrested him, and later they said
 5 with other things. You understand that.                           5 they didn’t.
 6     Q. No, no, Mr. Jones, that’s not what I’m saying.             6       Q. Yeah, two reporters with cameras made reports
 7             Do you have Mr. Zipp’s affidavit in front             7 about that. There’s no man in SWAT gear in that video,
 8 of you? Hold on. No, in fact, Mr. Jones, I don’t need             8 is there? That’s just something you made up.
 9 to make you run back through that. Let’s not even worry           9       A. Nope, I didn’t make it up.
10 about it.                                                        10       Q. So you think you can produce to me a video of
11             I’ve just got a couple more questions for            11 a man in SWAT gear in the woods?
12 you, Mr. Jones. The year before you were sued, you said          12       A. I remember that’s what was being reported on
13 that, "Everything I’ve heard is that the parents weren’t         13 the news.
14 allowed to touch the children." Who did you hear it              14       Q. Okay. So now it’s not you saw it in a video.
15 from, and what did they say?                                     15 Now, it’s somebody else saying it?
16             MR. BARNES: Objection as to form.                    16       A. But I remember seeing a guy and it looked like
17     A. I don’t know the specifics of what you’re                 17 in the video that he was in camo and black.
18 talking about, so I don’t want to state something                18       Q. Okay. First of all, camo and black, what does
19 incorrectly.                                                     19 that mean? He had camo pants on?
20     Q. (BY MR. BANKSTON) Okay. So this statement,                20       A. I mean, I would tend to think that means kind
21 everything you’ve heard is that the parents weren’t              21 of a paramilitary outfit.
22 allowed to touch the children, you can’t comment on that         22       Q. Okay. So anybody you see who has camo pants
23 today?                                                           23 on when you’re walking down the street, you’re like:
24             MR. BARNES: Objection as to the form.                24 That guy’s paramilitary?
25     A. I don’t want to state it exactly -- I want it             25            MR. BARNES: Objection --
                                                              171                                                                173
 1 to be exactly right or I don’t want to state it. So               1       Q. (BY MR. BANKSTON) Is that your belief?
 2 that’s -- I mean, you say everything I’ve heard. I                2            MR. BARNES: Objection as to the form.
 3 don’t know the specifics, but I remember complaints and           3       A. I really -- I told you what my memory is.
 4 things that the parents couldn’t get to their kids until          4       Q. (BY MR. BANKSTON) Is it fair to describe any
 5 they’d been taken later to the morgue and things like             5 gentleman wearing camo pants as being dressed in SWAT
 6 that.                                                             6 gear? Do you think that’s an honest and accurate way to
 7     Q. (BY MR. BANKSTON) Can you show me any one                  7 describe that?
 8 human being in the world who told you the parents                 8            MR. BARNES: Objection as to the form.
 9 weren’t allowed to touch the children?                            9       A. Yeah, I think that’s a fair way to describe
10     A. I believe that was in the newspapers.                     10 it.
11     Q. Okay. What about, "They’re finding people in              11       Q. (BY MR. BANKSTON) Oh, so you -- what I’m
12 the back woods that are dressed up in SWAT gear"?                12 trying to get at, Mr. Jones, is: You don’t think saying
13 That’s not true, is it?                                          13 that a man who is dressed up in SWAT gear found behind
14     A. I saw it on the national news.                            14 the school when he’s not actually wearing any SWAT gear
15     Q. You saw somebody in SWAT gear in the woods?               15 is in any way alarmist or dangerous to say?
16     A. Yeah, black and camouflage. The police                    16            MR. BARNES: Objection as to the form.
17 arrested him and there was a SWAT drill in the area.             17       Q. (BY MR. BANKSTON) Oh, you can answer,
18     Q. No, Mr. Jones. I’m asking you: Did you see a              18 Mr. Jones.
19 video of a man in SWAT gear being arrested?                      19       A. I mean, this is like seven years ago, so I’m
20     A. I saw them -- the helicopter talking about                20 trying to remember. I mean, I remember seeing the guy
21 him, and they said they later arrested a man.                    21 in looked like what I’d call police gear, kind of
22     Q. So when you told your audience he was dressed             22 paramilitary gear. I remember, like, camo and black or
23 up in SWAT gear, that’s just something you made up,              23 something. I’m not -- again, I’m not living this every
24 isn’t it? There’s nobody dressed up in SWAT gear?                24 day. I’m not -- and I -- and I’m very sad for folks,
25     A. I do remember that being on the news.                     25 you know, who have had to go through it and I’m sorry

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 1 for tragedies. And I kind of feel sorry for you having            1 if you were wrong about them, that it would be
 2 to live through it all the time and knowing every detail          2 reasonable to understand that the parents would be very
 3 and every angle and everything else, but I just...                3 upset?
 4     Q. It’s hard.                                                 4            MR. BARNES: Objection as to the form.
 5           Mr. Jones, what we were just talking                    5      A. I am not the only person who questioned Sandy
 6 about, men being arrested in SWAT gear in the woods --            6 Hook, and I legitimately asked those questions because I
 7     A. I don’t think I said "men." If I said that, I              7 had concerns. And I resent the fact that the media and
 8 misspoke.                                                         8 the corporate lawyers and the establishment, the
 9     Q. Okay. Well, even if you said "man" in SWAT                 9 Democratic party, who are trying to make this my
10 gear in the woods, you said that just a year before you          10 identity, brought it up, constantly repeated it, tricked
11 were sued. That’s not seven years ago, is it?                    11 me into debating it with them so that they could say
12     A. I was going over why people had -- the                    12 that I was injuring people. And I see the parties that
13 anomalies -- some accurate, some not accurate -- why             13 continually bring this up and drag these families
14 people had questions.                                            14 through the mud as the real villains, the conscious
15     Q. Yeah, but it’s real recent, Mr. Jones. This               15 villains attempting to shore up the First Amendment in
16 thing about, "Oh, it was seven years ago, I can’t" --            16 the process. I do not consider myself to be that
17 that was just three --                                           17 villain.
18     A. I questioned Jussie Smollett just the day it              18            I could have done a better job, in
19 happened.                                                        19 hindsight, and I’ve apologized for that; but I’ve seen
20     Q. And now --                                                20 the very same corporate media and lawyers continue to
21     A. That was just like a month ago.                           21 say that I’m saying all these things and exaggerating
22     Q. Exactly. And you know about that. You have                22 and using it against the First Amendment and I think
23 no memory problems there.                                        23 that’s very dangerous and despicable.
24     A. I’m proud of it.                                          24      Q. Mr. Jones, do you think I’m a corporate
25     Q. You just have memory problems when it comes to            25 lawyer?
                                                              175                                                                 177
 1 Sandy Hook?                                                       1      A. Well, I know full well that when Hillary
 2     A. Well, seven years from now the specifics of,               2 Clinton lost the election is when all this started. And
 3 like, if I’ve done 20 broadcasts on it --                         3 I’m like, "Hey, I think Sandy Hook happened." And you
 4     Q. Mr. Jones, this isn’t seven years ago. I’m                 4 and others continually are in the news; and I remember
 5 asking you about 2017.                                            5 first in this lawsuit you were like, "All Jones needs to
 6     A. I know; but is it okay to question Jussie                  6 do is say he’s sorry to some parents." I’m like: I am
 7 Smollett, or was that act evil?                                   7 sorry that this has all been out of context and that
 8     Q. Mr. Jones, I’m asking you about 2017. Was                  8 your kids died, and that was all ignored. So I’ve seen
 9 2017 so long ago it’s hard for you to remember?                   9 the real disingenuousness and the fact that this is all
10           MR. BARNES: Objection as to the form.                  10 just a cold-blooded, you know, fit because Hillary lost
11     A. I have gone over the anomalies, and I remember            11 the election.
12 seeing that footage and I -- that’s why people                   12      Q. So do you think I work for Hillary Clinton or
13 questioned.                                                      13 something or George Soros gives me money or something
14     Q. (BY MR. BANKSTON) Who was involved in fact-               14 like that?
15 checking those anomalies? Tell me all the employees who          15      A. Well, I mean, I know this: When Hillary lost,
16 would be involved in that.                                       16 the light switch went on. I’d never been sued, and I
17     A. All right. I think myself and Rob Dew and a               17 got sued a bunch.
18 few others. Like I said, normally, we’re just reporting          18            And then you’ve got all the corporate
19 on news that’s already out there. I’d say 98, 99                 19 media --
20 percent, it’s just going: Hey, look this just happened.          20      Q. Wait, wait, wait.
21 Trump just said this. Hillary just said that. What do            21      A. -- working in tandem. And I know you’re
22 you think?                                                       22 working with a Connecticut case and doing all that and
23     Q. Okay, Mr. Jones. You will admit to me that of             23 triangulating all that stuff. So let’s not -- let’s
24 all these things that you have said, all the factual             24 not -- and there’s going to be some other things coming
25 claims you’ve made about Sandy Hook over the years, that         25 down the road where all that will come out.

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 1      Q. When were you sued?                                       1 vitality and fluoride-free toothpaste and everything
 2      A. I think it was early last year.                           2 else.
 3      Q. Yeah, like a year and a half after Hillary                3     A. Well, if we’re talking about WMDs --
 4 Clinton lost, right?                                              4     Q. Hold on, Mr. Jones. And then you put that
 5      A. But they hadn’t -- but they hadn’t ever put               5 back down and you pick up the news and you start talking
 6 the final report out. You needed the report because               6 about it in the same video, correct?
 7 they never would put the report out.                              7            MR. BARNES: Objection as to form.
 8      Q. What report?                                              8     A. Well, it’s like saying the Super Bowl goes
 9      A. The report came out a month before you sued               9 to -- and then the Super Bowl has Budweiser ads on the
10 me.                                                              10 walls.
11      Q. Okay, Mr. Jones. Wait. What report, who --               11     Q. (BY MR. BANKSTON) Yeah, NBC makes money off
12 what --                                                          12 of its broadcasting, doesn’t it?
13      A. The official Sandy Hook report.                          13     A. But, technically, that’s not how -- our
14      Q. What entity issued this report?                          14 advertising is separate from what is going on during the
15      A. It was put out by the local, state, and                  15 program. We don’t do product placement. And so, no,
16 federal government.                                              16 the answer is: Sandy Hook, before I was ever sued, lost
17      Q. So you are going to sit here today and deny              17 money.
18 that there has been an official Sandy Hook report, books         18            9/11 Truth lost me almost all my radio
19 of it, online since December of 2013?                            19 stations and lost money.
20      A. Oh, there have been some redacted reports put            20            Those type of really controversial
21 out; but it was a big deal in -- it went up to the               21 stands, people don’t like them; and they have crippled
22 Connecticut Supreme Court. It’s a hugely litigated               22 us before these lawsuits. And, I mean, in fact, we look
23 situation of this thing being so suppressed.                     23 back and you can see where we’re talking about Sandy
24      Q. Okay. So you and your attorney have appeared             24 Hook and the listeners and everything goes down.
25 on your show to talk about this entire lawsuit being a           25     Q. I mean, and really, if we look at this at the
                                                              179                                                                 181
 1 conspiracy against you to take you down?                          1 end of the day, I mean, really you’re the victim, aren’t
 2            MR. BARNES: Objection as to form.                      2 you?
 3      Q. (BY MR. BANKSTON) Correct?                                3     A. No, but I’ve certainly learned a lot in the
 4      A. It’s a conspiracy, as Clarence Thomas admits,             4 process.
 5 to get rid of New York Times versus Sullivan.                     5     Q. You’ve learned how not to be a reckless
 6      Q. And you’ve called me and members of my law                6 journalist, right?
 7 firm devil people, correct?                                       7            MR. BARNES: Objection as to form.
 8      A. Not specifically, no.                                     8     A. Well, I think certainly I have experienced
 9      Q. Okay. You’ve made money from every single one             9 real fake news, watching the corporate media lie in my
10 of these broadcasts we saw today, right?                         10 name and put things out that I never did, in a concerted
11      A. No. We actually lose money on really                     11 effort. So I’ve learned what I -- certainly the polar
12 controversial stuff. We can actually see it.                     12 opposite of what I want to be because I’ve never
13      Q. Oh, so you can produce that to me? You have              13 consciously tried to lie or hurt people.
14 data on that?                                                    14            And I did not make money off saying 9/11
15      A. Absolutely. We’d love to.                                15 was an event where we allowed Saudis to attack us.
16      Q. Okay. And you have supplements you sell, too,            16 That’s now come out. I lost 127 something stations. I
17 with these videos, correct?                                      17 went down to about 30.
18      A. No, no. The advertisement’s separate from the            18            A lot of stations dumped us when we were
19 news.                                                            19 talking about Sandy Hook. So if the statement is I say
20      Q. Well, I mean, in these news broadcasts, you              20 these things and do these things to make money, that is
21 advertise the sale of supplements, right?                        21 not what we are doing. Money coming in is to fund the
22      A. The two don’t go together.                               22 operation, to promote really questioning things, and to
23      Q. How do you mean they don’t go together?                  23 build an alternative system. And it doesn’t mean then
24 You’re talking about the news and you put the news down          24 when you’re being an alternative system that you’re
25 and all of a sudden you’re talking Bone Broth and male           25 perfect, but that’s basically where I stand on that.

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 1      Q. Okay. I just do want to make sure. It’s not               1 why has the mainstream media lied so much, why our
 2 a nonprofit situation; you’re not doing this for the              2 Government’s lied so much, the fact that the public
 3 charity of your own heart?                                        3 doesn’t believe what they’re told anymore, and are we
 4      A. No, I’m not like the nonprofits, the whole                4 going to criminalize questioning Jussie Smollett or WMDs
 5 conspiracy where they’re buying the college admissions            5 or babies in incubators. And it really is the fact that
 6 and they call that a charity or Hillary’s foundation,             6 we’ve allowed the Government and institutions to become
 7 no, I’m not running anything like that.                           7 so corrupt that people have lost any compass of what’s
 8      Q. I have no idea what you’re talking about,                 8 real.
 9 Mr. Jones.                                                        9            And I, myself, have almost had like a
10      A. Where these people make millions of dollars on           10 form of psychosis back in the past where I basically
11 their tax-free charities, I don’t do that.                       11 thought everything was staged, even though I’m now
12      Q. Okay. So --                                              12 learning a lot of times things aren’t staged. So I
13      A. You were asking me if I was running a                    13 think as a pundit, someone giving an opinion, that, you
14 nonprofit scam; and the answer is "no." What I do is I           14 know, my opinions have been wrong; but they were never
15 pay taxes.                                                       15 wrong consciously to hurt people.
16             MR. BANKSTON: Mr. Jones, I think we’re               16            And so I think it’s part of that process
17 about wrapped up today if you could give me just a small         17 of me growing up in Rockwall, Texas and watching the
18 break to make sure that we’re all wrapped up, I think            18 police deal drugs and then conduct anti-drug programs in
19 we’ve got about 45 minutes left in the day; but I’m not          19 the school, I think that shook my opinion of police in
20 going to use it for you. I’m going to let you get out            20 general. And I was very anti-law enforcement until I
21 of here.                                                         21 grew up and learned more things, and now I’m pretty much
22             THE WITNESS: I’m happy to.                           22 pro police. So it’s been a process.
23             MR. BANKSTON: I mean, hey, if you want               23      Q. (BY MR. BANKSTON) You said false things about
24 to stick around and talk, we can talk; but we might need         24 Sandy Hook because it was psychosis?
25 to do that off the record. We might not need to put              25      A. I --
                                                              183                                                                 185
 1 that on the testimony, but I’m happy to do that. But              1            MR. BARNES: Objection as to the form.
 2 let’s take just a quick break, and why don’t ya’ll give           2      Q. (BY MR. BANKSTON) Correct?
 3 us about five minutes?                                            3      A. Well, I’m just saying that the trauma of the
 4            MR. BARNES: Okay.                                      4 media and the corporations lying so much, then
 5            THE VIDEOGRAPHER: We’re off the record,
                                                                     5 everything begins -- you don’t trust anything anymore,
 6 4:14 p.m.
                                                                     6 kind of like a child whose parents lie to them over and
 7            (Off the record from 4:14 to 4:28 p.m.)
                                                                     7 over again, well, pretty soon they don’t know what
 8            THE VIDEOGRAPHER: We’re back on the
                                                                     8 reality is.
 9 record at 4:28 p.m.
10     Q    (BY MR. BANKSTON) There’s a couple of things
                                                                     9            So long before these lawsuits I said that
11 I was curious about, Mr. Jones. Do you think that                10 in the past I thought everything was a conspiracy and I
12 there’s a question that I should have asked you today in         11 would kind of get into that mass group think of the
13 deposition that I didn’t?                                        12 communities that were out there saying that. And so now
14     A. That’s a good question. What question you                 13 I see that it’s more in the middle. All right? So
15 should have asked me. I can’t think of any.                      14 that’s where I stand.
16     Q. Okay, Mr. Jones. You would agree with me that             15      Q. (BY MR. BANKSTON) And I’m little concerned
17 when some damage happens, when you break something, when         16 about something I heard in your answer, that it seemed
18 you cause something to be lost, when you hurt somebody,          17 to be you suggesting that you weren’t sure if these
19 whether it’s intentional or whether it’s a mistake,              18 parents have suffered pain from what you did.
20 there’s consequences for that, right? People should be
                                                                    19      A. Well, I was stating that I was reporting on
21 accountable for the people they hurt?
                                                                    20 the general questioning when others were questioning.
22            MR. BARNES: Objection as to form.
                                                                    21 And, you know, it’s painful that we have to question big
23     A. Well, sometimes people claim they’ve been hurt
                                                                    22 public events. I think that’s an essential part of the
24 when they haven’t been. So you have to look at the
25 agenda behind things. You have to balance things about           23 First Amendment in America. And I do not take
                                                                    24 responsibility for the entire train of things that
                                                                    25 lawyers and the media have said I’ve done. So I do not

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 1 take the responsibility. I do not take your indictment            1           THE VIDEOGRAPHER: We’re off the record
 2 or your presumed conviction of me as the villain or the           2 at 4:33 p.m.
 3 star of Homeland because that’s not who I am. And so I            3           (Exhibit 12 marked.)
 4 reject it.                                                        4           (Deposition adjourned at 4:33 p.m.)
 5     Q. Saying, "The school is closed and was closed               5
 6 for years," that’s not questioning. That’s a statement            6
 7 of fact, Mr. Jones, isn’t it?                                     7
 8              MR. BARNES: Objection as to the form.                8
 9     A. I was going off what other people were saying              9
10 and the fact that the records were not forthcoming and           10
11 the Hartford Current headlined: Why is There a                   11
12 Cover-up? Why Aren’t There Documents Being Released?             12
13 Why is it Taking so Long?                                        13
14     Q. (BY MR. BANKSTON) "The EMTs weren’t allowed               14
15 in the building," that’s not a question, Mr. Jones.              15
16 That’s a statement, correct?                                     16
17              MR. BARNES: Objection as to the form.               17
18     A. Again, that was my going off what someone else            18
19 who I believed to be a credible expert was saying.               19
20     Q. (BY MR. BANKSTON) Mr. Jones, are you finally              20
21 prepared to admit that you have, indeed, caused these            21
22 families a substantial amount of pain? Are you prepared          22
23 to admit that?                                                   23
24     A. I am not prepared to sign on to whatever you              24
25 and the mainstream media make up about me.                       25
                                                              187                                                             189
 1              MR. BANKSTON: All right, Mr. Jones.                  1            CHANGES AND SIGNATURE
 2 That will have to be it. I will see you next time.                2   WITNESS NAME:           DATE OF DEPOSITION:
                                                                     3   ALEX E. JONES           March 14, 2019
 3              MR. BARNES: One thing I was going to do
                                                                     4   PAGE/LINE CHANGE              REASON
 4 is just put this on record, just to make it -- the                5   ________________________________________________________
 5 confidentiality part. Is that okay?                               6   ________________________________________________________
 6              MR. BANKSTON: Oh, yeah, that’s stating               7   ________________________________________________________
 7 you’re designating on the trial court?                            8   ________________________________________________________
 8              MR. BARNES: Yes.                                     9   ________________________________________________________
                                                                    10   ________________________________________________________
 9              MR. BANKSTON: Please go ahead.
                                                                    11   ________________________________________________________
10              MR. BARNES: So what we have is a                    12   ________________________________________________________
11 Protective Order for the 30 days following any                   13   ________________________________________________________
12 deposition, that the parties must treat all of the               14   ________________________________________________________
13 deposition testimony and the exhibits and other                  15   ________________________________________________________
14 documents produced at any deposition as attorneys’ eyes          16   ________________________________________________________
                                                                    17   ________________________________________________________
15 only and so they’re marked confidential until that time.
                                                                    18   ________________________________________________________
16 Thank you.                                                       19   ________________________________________________________
17              MR. ENOCH: So no designation of                     20   ________________________________________________________
18 confidentiality is being made today. We’ll look at it.           21   ________________________________________________________
19              MR. BANKSTON: Absolutely. The whole                 22   ________________________________________________________
20 thing’s confidential right now.                                  23   ________________________________________________________
                                                                    24   ________________________________________________________
21              MR. ENOCH: That is the order, and we
                                                                    25   ________________________________________________________
22 have 30 days to designate confidential thereafter.
23              MR. BANKSTON: Absolutely.
24              MR. ENOCH: Very well.
25              MR. BANKSTON: Okay. I think we’re done.

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 1   ________________________________________________________          1         BY MR. BANKSTON:
                                                                       2         BY MR. ENOCH:
 2   ________________________________________________________
                                                                       3         BY MR. OGDEN:
 3            I, ALEX E. JONES, have read the foregoing                4         BY MR. BARNES:
 4   deposition and hereby affix my signature that same is             5           That pursuant to information given to the
 5   true and correct, except as noted herein.                         6 deposition officer at the time said testimony was taken,
                                                                       7 the following includes counsel for all parties of
 6
                                                                       8 record:
 7                   _______________________________                   9 COUNSEL FOR PLAINTIFF:
                     ALEX E. JONES                                    10         KASTER LYNCH FARRAR & BALL, LLP
 8                                                                               1010 Lamar, Suite 1600
                                                                      11         Houston, Texas
 9
                                                                                 (T) 713.221.8300
10   THE STATE OF __________ )                                        12           By: Mark D. Bankston, Esq.
11             BEFORE ME, _______________________, on                                 mark@fbtrial.com
12   this day personally appeared ALEX E. JONES, known to me          13                    AND
13   (or proved to me under oath or through ______________)                           William Ogden, Esq.
                                                                      14
14   (description of identity card or other document) to be
                                                                      15 COUNSEL FOR DEFENDANTS:
15   the person whose name is subscribed to the foregoing             16         GLAST, PHILLIPS & MURRAY, P.C.
16   instrument and acknowledged to me that they executed                        14801 Quorom Drive, Suite 500
17   same for the purposes and consideration therein                  17         Dallas, Texas
                                                                                 (T) 972.419.8300
18   expressed.
                                                                      18            By: Mark Enoch, Esq.
19             Given under my hand and seal of office on                               mkenoch@gpm-law.com
20   this, the ________ day of _________________, _________.          19
21                                                                                       AND
                                                                      20
22
                                                                                BARNES LAW, LLP                     (PRO HAC VICE)
23                   _______________________________                  21        601 South Figueroa St., Suite 4050
                     NOTARY PUBLIC IN AND FOR                                   Los Angeles, California
24                   THE STATE OF __________________                  22        (T) 213.294.3006
                                                                                    By: Robert E. Barnes, Esq.
                     My Commission Expires:_________
                                                                      23                barneslaw@barneslawllp
25                                                                    24            I further certify that I am neither
                                                                      25   counsel for, related to, nor employed by any of the

                                                                191                                                                  193
1              CAUSE NO. D-1-GN-18-006623                              1 parties or attorneys in the action in which this
2     SCARLETT LEWIS           * IN THE DISTRICT COURT OF              2 proceeding was taken, and further that I am not
        Plaintiff      *
                                                                       3 financially or otherwise interested in the outcome of
3                    *
                                                                       4 the action.
                     *
4     VS.              * TRAVIS COUNTY, TEXAS
                                                                       5              Further certification requirements
                     *                                                 6 pursuant to Rule 203 of TRCP will be certified to after
5     ALEX E. JONES, INFOWARS, *                                       7 they have occurred.
      LLC, AND FREE SPEECH        *                                    8              Certified to by me this day, March 25,
6     SYSTEMS, LLC,          *                                         9 2019.
        Defendants        * 53RD JUDICIAL DISTRICT                    10
7
                                                                      11
8
                                                                                          _________________________________
              REPORTER’S CERTIFICATION
9                                                                     12                  Debbie D. Cunningham, CSR
             ORAL/VIDEOTAPED DEPOSITION                                                   Texas CSR 2065
10                 OF                                                 13                  Expiration: June 30, 2021
               ALEX E. JONES,                                                             INTEGRITY LEGAL SUPPORT SOLUTIONS
11                                                                    14                  3100 West Slaughter Lane, Suite A-101
              Taken on March 14, 2019
                                                                                          Austin, Texas 78748
12
                                                                      15                  www.integrity-texas.com
13             I, Debbie D. Cunningham, Certified
14   Shorthand Reporter in and for the State of Texas, hereby
                                                                                          512-320-8690; FIRM # 528
15   certify to the following:                                        16
16             That the witness, ALEX E. JONES, was duly              17
17   sworn by me, and that the transcript of the oral                 18
18   deposition is a true record of the testimony given by            19
19   the witness;                                                     20
20             That the deposition transcript was
                                                                      21
21   submitted on __________________________ to the witness
                                                                      22
22   or to the attorney for the witness for examination,
23   signature, and return to me by ____________________;             23
24             That the amount of examination time used               24
25   by each party at the deposition is as follows:                   25


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                                              www.integrity-texas.com
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 1       FURTHER CERTIFICATION UNDER RULE 203, TRCP
 2     The original deposition/errata sheet was / was not
 3 returned to the deposition officer on _________________;
 4     If returned, the attached Changes and Signature
 5 page contains any changes and the reasons therefor;
 6     If returned, the original deposition was delivered
 7 to MR. BANKSTON, Esq., Custodial Attorney;
 8     That $___________ is the deposition officer’s
 9 charges to the Plaintiff for preparing the original
10 deposition transcript and copies of exhibits, if any;
11     That the deposition was delivered in accordance
12 with Rule 203.3, and that a copy of this certificate was
13 served on all parties shown herein on __________________
14 and filed with the Clerk.
15     Certified to by me on _______________________.
16
17
18
                _________________________
19              Debbie D. Cunningham, CSR
                Texas CSR 2065
20              Expiration: June 30, 2021
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   From: Paul Joseph Watson <watson-paul3@sky.com>
      To: Buckley <buckley@infowars.com>, "anthony@infowars.com" <anthony@infowars.com>
 Subject: Sandy Hook
    Date: 2015-12-17 21:15:38 +0000


Sent this to Alex.

This Sandy Hook stuff is killing us. It's promoted by the most batshit crazy people like Rense and Fetzer who all hate us anyway. Plus it
makes us look really bad to align with people who harass the parents of dead kids. It's gonna hurt us with Drudge and bringing bigger
names into the show. Plus the event happened 3 years ago, why even risk our reputation for it?

Sent from my iPhone




                                                                                                                            FSSTX-027752
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                  Transcript of the Testimony of
                               Paul Watson


                                     Date:
                            November 27, 2019



                                    Case:
                   NEIL HESLIN vs ALEX E. JONES
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                                                                                         ·


·1· · · · · · · · · CAUSE NO. D-1-GN-19-004651

·2·    NEIL HESLIN,· · · · · · · · ) IN THE DISTRICT COURT OF
· ·    · · · · · · · · · · · · · · )
·3·    · · · · · Plaintiff,· · · · )
· ·    · · · · · · · · · · · · · · ) TRAVIS COUNTY, TEXAS
·4·    VS.· · · · · · · · · · · · ·)
· ·    · · · · · · · · · · · · · · )
·5·    ALEX E. JONES, INFOWARS,· · )
· ·    LLC, and FREE SPEECH· · · · ) 261ST JUDICIAL DISTRICT
·6·    SYSTEMS, LLC,· · · · · · · ·)
· ·    · · · · · · · · · · · · · · )
·7·    · · · · · Defendants· · · · )

·8

·9· · · · ·ORAL AND VIDEOTAPED DEPOSITION OF PAUL WATSON
· · · · · · · · · · · · NOVEMBER 27, 2019
10· · · · · · · · · · · · ·VOLUME 1 OF 1

11

12· · · · · · ORAL AND VIDEOTAPED DEPOSITION OF PAUL WATSON,

13· produced as a witness at the instance of the Plaintiff and

14· duly sworn, was taken in the above styled and numbered

15· cause on Thursday, November 27, 2019, from 9:00 a.m. to

16· 11:06 a.m., before JANALYN ELKINS, CSR in and for the

17· State of Texas, reported by computerized stenotype

18· machine, at the offices of Kim Tindall & Associates, 2550

19· S. IH-35, Suite 110, Austin, Texas, pursuant to the Texas

20· Rules of Civil Procedure and the provisions stated on the

21· record herein.

22

23

24

25


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·1· · · · · · · · · · ·A P P E A R A N C E S

·2
· ·    FOR   THE PLAINTIFF:
·3·    · ·   ·MARK D. BANKSTON
· ·    · ·   ·BILL OGDEN
·4·    · ·   ·KASTER LYNCH FARRAR & BALL
· ·    · ·   ·1117 Herkimer Street
·5·    · ·   ·Houston, Texas· 77008
· ·    · ·   ·(713) 221-8300
·6·    · ·   ·Mark@fbtrial.com

·7
· ·    FOR   THE DEFENDANT:
·8·    · ·   ·T. WADE JEFFERIES
· ·    · ·   ·THE LAW OFFICE OF T. WADE JEFFERIES
·9·    · ·   ·1012 Rio Grande Street
· ·    · ·   ·Austin, Texas· 78701
10·    · ·   ·(512) 201-2727
· ·    · ·   ·Twadejefferies@gmail.com
11

12
· ·    Also Present:
13·    · · ·MR. LOUIS SOUCIE (videographer)
· ·    · · ·MS. ASHLEY CASON (student reporter)
14·    · · ·MS. BROOKE BINKOWSKI

15

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·1· · · · · · · · MR. JEFFERIES:· We've agreed to swear in
·2· the witness from Austin, not London, correct?
·3· · · · · · · · MR. BANKSTON:· Correct.· Plaintiffs have no
·4· objection to him being sworn in remotely.· Neither do
·5· defendants.
·6· · · · · · · · · · · · PAUL WATSON,
·7· having been duly sworn, testified as follows:
·8· · · · · · · · · · · · EXAMINATION
·9· · · ·Q.· (BY MR. BANKSTON)· Good morning, Mr. Watson.
10· My name is Mark Bankston.· I'm a plaintiff for the --
11· excuse me.· I'm counsel for the plaintiff in this case.
12· I'm going to be asking you some questions this morning.
13· · · ·A.· Okay.
14· · · ·Q.· I am currently sitting in Austin, Texas.· Where
15· are you today?
16· · · ·A.· I'm in London, England.
17· · · ·Q.· Okay.· You are Infowars chief reporter; is that
18· correct?
19· · · ·A.· I've never been designated that title so --
20· · · ·Q.· Okay.
21· · · ·A.· -- I wouldn't describe myself as that, no.
22· · · ·Q.· Okay.· You are Infowars editor at large,
23· correct?
24· · · ·A.· That was a title I adopted in 2016.· So, yeah,
25· that would be correct.

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·1· · · ·Q.· Okay.· You have also been the editor of the
·2· Infowars.com website from 2012 to the present, correct?
·3· · · ·A.· One of the editors, yes, correct.
·4· · · ·Q.· Okay.· Would you describe yourself as the chief
·5· editor of the Infowars website?
·6· · · ·A.· No.
·7· · · ·Q.· Who would you describe as the chief editor of
·8· the Infowars website?
·9· · · ·A.· Alex Jones.
10· · · ·Q.· Does Alex Jones day to day manage the website
11· in any way?
12· · · ·A.· When it comes to the content that's posted on
13· it and decisions based upon that content, I would say he
14· is the -- the highest authority.
15· · · ·Q.· Okay.· So when it -- when it comes down to,
16· say, articles that are being posted on the Infowars
17· website, do you have editorial control independent of
18· Alex Jones, or does he have to approve everything that
19· goes on the website?
20· · · ·A.· No.· I have independent control.
21· · · ·Q.· Okay.· Can you tell me -- well, first of all,
22· when did you -- when did you start working with Alex
23· Jones?
24· · · ·A.· I started working with him in Spring, 2003.
25· · · ·Q.· Okay.· From that period in 2003 to the present,

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·1· can you list for me every job position you have held
·2· with Alex Jones, Infowars, or Free Speech Systems, LLC?
·3· · · ·A.· I'm -- I'm not an employee and have never been
·4· an employee, so I haven't had an official job position.
·5· · · ·Q.· How would you describe your employment
·6· relationship or your working relationship with
·7· Mr. Jones?
·8· · · ·A.· Contractor.
·9· · · ·Q.· Okay.· You do -- you do the vast majority,
10· overwhelming majority of your work for Infowars located
11· in England --
12· · · ·A.· Correct.
13· · · ·Q.· -- not in Texas, correct?
14· · · ·A.· Correct.
15· · · ·Q.· You've been to Texas on a few occasions, I
16· assume, correct?
17· · · ·A.· Yes, correct.
18· · · ·Q.· But mostly, you work across the pond and do
19· your work remotely, correct?
20· · · ·A.· Yes.
21· · · ·Q.· Okay.· When you appear on Infowars, you
22· frequently appear like you're appearing right now in
23· front of a Skype camera with -- with headphones in,
24· correct?
25· · · ·A.· Correct.

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·1· · · ·Q.· Okay.· I want to take you back -- I want to
·2· take you back to 2013, and specifically, I want to draw
·3· your attention to the beginning of that year, which was
·4· about a month after the Sandy Hook tragedy happened.· Do
·5· you remember this time period?
·6· · · ·A.· Not in any specific detail, no.
·7· · · ·Q.· Okay.· Let's see -- let's -- I want to talk
·8· about a couple of events you might remember from that
·9· time period.
10· · · · · · · · Do you remember an interview that you did
11· with a professor named James Tracy in Florida?
12· · · ·A.· Yes.
13· · · ·Q.· Okay.· You and I both know that Mr. Tracy is an
14· advocate of the assertion that there were crisis actors
15· used in the Sandy Hook massacre.· Do you understand
16· that?
17· · · ·A.· Yes.
18· · · ·Q.· You'd agree with me that's his assertion?
19· · · ·A.· Yes.
20· · · ·Q.· That's not an assertion you agree with,
21· correct?
22· · · ·A.· No.
23· · · ·Q.· Okay.· You would agree with me that when it
24· came to Sandy Hook and covering Sandy Hook, Infowars
25· needed to treat it with extreme caution?

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·1· · · ·A.· In my own personal view, yes.
·2· · · ·Q.· Okay.· Mr. Watson, I'd like to show you right
·3· now a video clip which we will offer as Exhibit 1.
·4· · · · · · · · (Exhibit No. 1 was marked.)
·5· · · ·Q.· (BY MR. BANKSTON)· This is going to be a video
·6· clip from your interview with Professor Tracy on
·7· January 18, 2013.· I'm going to have the technology
·8· people here bring up the clip, Watson clip 1.
·9· · · · · · · · · · (Video playing.)
10· · · · · · · · "Obviously -- "
11· · · · · · · · VIDEOGRAPHER:· Give me a moment.· I need to
12· share screens with him.
13· · · · · · · · MR. BANKSTON:· Sure.
14· · · · · · · · (Video playing.)
15· · · · · · · · "Obviously, I believe that this was a
16· horrible tragedy for all the parents involved, and I
17· believe that some of the people who are asking questions
18· about this, not the professor, but a lot of people on
19· Youtube have handled it in a rather insensitive way.· Of
20· course, we've had reports about them harassing some of
21· the people who were involved.· And, basically, it
22· doesn't do us any favors.· So we need to treat it,
23· obviously, with extreme caution because it was a very
24· traumatic event.· And I think one of the aspects of
25· this, which a lot of people have claimed, Professor, is

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·1· this whole idea that there were, quote, 'crisis actors'
·2· who were working with the -- "
·3· · · · · · · · THE WITNESS:· Is this a clip playing?· I'm
·4· not getting anything.
·5· · · · · · · · (Video playing.)
·6· · · · · · · · " -- and this is where we probably differ,
·7· but -- "
·8· · · · · · · · MR. BANKSTON:· Give us one second,
·9· Mr. Watson.· We're going to try to resolve that
10· technical issue.
11· · · · · · · · THE WITNESS:· Okay.
12· · · · · · · · MR. BANKSTON:· Am I just going to need to
13· play it in front of the camera or?
14· · · · · · · · VIDEOGRAPHER:· That's probably the quickest
15· way to do it.
16· · · · · · · · MR. BANKSTON:· Yeah, I think it probably
17· is.
18· · · ·Q.· (BY MR. BANKSTON)· All right.· Mr. Watson, are
19· you still with us?
20· · · ·A.· Yeah.
21· · · ·Q.· Okay.· What we're going to try to do,
22· unfortunately, is we're going to use a laptop -- sure --
23· we're going to use a laptop and put it directly in front
24· of your camera so you can see the video and then have
25· the audio that you're hearing me over, just hear the --

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·1· the audio from the video, so we're hoping that's going
·2· to work.
·3
·4· · · ·A.· Good.
·5· · · ·Q.· All right.· So let's figure out a way we can do
·6· this.· Let's see if we can get that position.· That's
·7· not bad.
·8· · · · · · · · Mr. Watson, can you see that video screen?
·9· · · ·A.· I'm just seeing my own video at the moment.
10· Hang on a sec.· Let me try and get this.· Yeah, I can
11· see that.· Yeah.
12· · · ·Q.· Okay.· Mr. Watson, I'm going to play, again,
13· Exhibit 1 from your interview of Dr. -- with Professor
14· Tracy.
15· · · ·A.· Okay.
16· · · · · · · · (Video playing.)
17· · · · · · · · "Obviously, I believe that this was a
18· horrible tragedy for all the parents involved, and I
19· believe that some of the people who were asking
20· questions about this, not the professor, but a lot of
21· people on Youtube have handled it in a rather
22· insensitive way.· Of course, we've had reports about
23· them harassing some of the people who were involved.
24· And, basically, it doesn't do us any favors.· So we need
25· to treat it, obviously, with extreme caution because

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·1· it's a very traumatic event.· And I think one of the
·2· aspects of this, which a lot of people have claimed,
·3· Professor, is this whole idea that there were, quote,
·4· 'crisis actors' who were working with the media to
·5· create a fake narrative surrounding this event.· And
·6· this is where we probably differ but just give us your
·7· take on the whole 'crisis actors' angle, explain what
·8· that is."
·9· · · ·Q.· (BY MR. BANKSTON)· All right, Mr. Watson, give
10· me just one second so we can get set up and ask you some
11· questions about that.
12· · · ·A.· Okay.
13· · · ·Q.· Okay.· There's basically three things I want to
14· ask you about this video.· The first is that this being
15· a month after Sandy Hook, you were aware at this time
16· that the parents were being harassed by believers in a
17· Sandy Hook hoax conspiracy, correct?
18· · · ·A.· Correct.
19· · · ·Q.· Okay.· Second, as we talked about before, you
20· would agree with me that Infowars needed to treat it
21· with extreme caution, correct?
22· · · ·A.· Correct.
23· · · ·Q.· Okay.· What does that mean to you?
24· · · ·A.· To me, it means being able to analyze and
25· discuss the tragedy but not engaging in any activity

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·1· which would cause discomfort or harassment to the
·2· victims of the tragedy.
·3· · · ·Q.· Okay.· Third, regarding crisis actors, you said
·4· to Professor Tracy "this is where we differ."· Can you,
·5· first of all, describe what a crisis actor is and why
·6· you don't agree with that?
·7· · · ·A.· From my understanding, it's somebody who was
·8· involved in the event but was playing the role whereby
·9· they -- they may be on the scene of the event but not --
10· not actually engaged or responsible for perpetrating the
11· event.· That's my understanding of a crisis actor.
12· · · ·Q.· Okay.· In terms of the Sandy Hook tragedy and
13· the statements being made by certain people about crisis
14· actors, can you tell me why you disagreed and thought
15· that was not a thing that should be said?
16· · · ·A.· I know -- I just have to go back.· Yes, crisis
17· actor means somebody who is apparently according to
18· reports and statements involved as a victim of the
19· tragedy but actually is not involved in the tragedy and
20· is acting.· So can you repeat the question you just
21· asked again?
22· · · ·Q.· Sure.· Why in the context of the Sandy Hook
23· tragedy and of the people who were using the crisis
24· actors allegation, why did you disagree with that and
25· think it was a bad thing to say?

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·1· · · ·A.· Because I saw at the time the people who were
·2· pushing that narrative were not credible people.
·3· · · ·Q.· Thank you, Mr. Watson.
·4· · · · · · · · In January of 2013, another thing that I
·5· wanted to know if you remembered was when you had an
·6· e-mail exchange with a Sandy Hook parent.· Do you
·7· remember that?
·8· · · ·A.· I don't recall that, no.
·9· · · ·Q.· Okay.· I want to show you right now what we're
10· going to be marking as Exhibit 2.· And we're going to
11· show it to you remotely using the computer.
12· · · ·A.· Okay.
13· · · ·Q.· And that is going to be under Tab 1.· Are you
14· able to see a document in front of you right now?
15· · · ·A.· Yes.
16· · · · · · · · (Exhibit No. 2 was marked.)
17· · · ·Q.· (BY MR. BANKSTON)· Okay.· So what I would like
18· our technology person to do here is scroll down to the
19· bottom of the e-mail because we'll read it from the top
20· to the bottom.· And so let's start with the first
21· e-mail.· And do you see here an e-mail from a gentleman
22· named Len Pozner.
23· · · ·A.· Yeah.
24· · · ·Q.· Are you familiar with who that is?
25· · · ·A.· He's one of the Sandy Hook parents as far as I

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·1· know.
·2· · · ·Q.· Okay.· Mr. Watson, I'm just going to read this
·3· e-mail for the record and you can read along with me and
·4· then we'll talk a little bit about it.· And Mr. Pozner's
·5· e-mail states:· "I am very disappointed to see how many
·6· people are directing more anger at families that lost
·7· their children in Newtown accusing us of being actors.
·8· Haven't we had our share of pain and suffering?· All
·9· these acquisitions of government involvement, false flag
10· terror, new world order, et cetera, I used to enjoy
11· listening to your prior -- your shows prior to 12-14-12.
12· Now I feel like -- now I feel that your type of show
13· created these hateful people, and they need to be reeled
14· in.· Lenny Pozner."
15· · · · · · · · Did I read that correctly?
16· · · ·A.· Yes.
17· · · ·Q.· Okay.· And now, let's scroll up to your
18· response.· Do you -- do you remember writing this
19· response?· Does this bring back that memory?
20· · · ·A.· Now that it's presented to me, yes.· I didn't
21· recall it --
22· · · ·Q.· Okay.
23· · · ·A.· -- when you initially brought it up.· But yes.
24· · · ·Q.· Sure.· Now, do you know -- did you do this on
25· your own, or was this a collaborative effort among other

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·1· people at Infowars?· Do you remember that?
·2· · · ·A.· No.· This would have been me, personally.
·3· · · ·Q.· Okay.· So I want to read what you personally
·4· said to Mr. Pozner.· And what you had written was:
·5· "Sir, we have not promoted the, quote, 'actors',
·6· unquote, thing.· In fact, we have actively distanced
·7· ourselves from it.· We have said on numerous occasions
·8· that it was a very real tragedy with very real victims.
·9· I hope we can continue to count on you as a listener,
10· and I am deeply sorry for your loss."
11· · · · · · · · That's what you wrote to Mr. Pozner?
12· · · ·A.· Correct.
13· · · ·Q.· Now, it's -- it's true that you, being Paul
14· Watson, have over the course of the past several years
15· actively distanced yourself from the actors thing,
16· correct?
17· · · ·A.· I would say almost immediately, correct, yeah.
18· · · ·Q.· In other words, the opinions that you were
19· holding in January 2013 concerning crisis actors are
20· still the same opinions that you hold today and have
21· held continuously since, correct?
22· · · ·A.· Correct.· I would say yes.
23· · · ·Q.· Okay.· When you talk about "not promoting the
24· actors thing," over the next several years, that's
25· exactly what happened at Infowars, though, correct, that

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·1· Alex -- Alex Jones and Rob Dew promoted the actors thing
·2· over and over?
·3· · · ·A.· I would say that that happened, but I would say
·4· that the majority of coverage on Infowars.com was
·5· related to the fact that the tragedy happened and people
·6· died.
·7· · · ·Q.· Have you -- did you happen to watch Mr. Jones's
·8· March deposition that was taken in the Luis case?
·9· · · ·A.· I didn't watch the whole thing.· I did see
10· clips.· Not the whole thing, but clips.
11· · · ·Q.· Okay.· And we can both agree that in that
12· deposition there are multiple times when Mr. Jones says
13· that children did not die, that there were clearly
14· actors, and that there were different parents who were
15· faking their reactions and things like that.· Do you
16· recall seeing that?
17· · · ·A.· I don't recall the specific content of the
18· clip, but, generally, in that context, yes.
19· · · ·Q.· Okay.· Do you -- did you have anything to do
20· with the production of videos in this lawsuit, in other
21· words, the collection and identification of different in
22· videos which were then turned over to the plaintiff?
23· · · ·A.· No.
24· · · ·Q.· Okay.· Did you know that there is an Infowars
25· video that is titled "Crisis Actors Used At Sandy Hook!"

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·1· with an exclamation point?· Did you know that?
·2· · · ·A.· I didn't -- I didn't know specifically, but I
·3· accept that, you know, that's -- that's a possibility,
·4· yes.
·5· · · ·Q.· Okay.· You would agree with me that people like
·6· Mr. Jones, Mr. Dew, Mr. Shroyer, and others did not
·7· treat this issue with extreme caution?
·8· · · · · · · · MR. JEFFERIES:· Objection, form.· You can
·9· answer.
10· · · ·Q.· (BY MR. BANKSTON)· You can answer, Mr. Watson.
11· · · ·A.· Okay.· I would -- I would say, no, they didn't
12· treat it with extreme caution but such statements would
13· be protected under the First Amendment.
14· · · ·Q.· Okay.· We'll talk about the First Amendment
15· later.· But in terms of what you think is decent and
16· right, in terms of covering this story, do you think
17· Infowars always adhered to what is decent and right in
18· covering this story?
19· · · ·A.· Well, it's a subjective term, but, from my --
20· · · ·Q.· In your opinion, Mr. Watson.
21· · · ·A.· From my personal perspective, decent and right,
22· I would not have covered it in that way, no.
23· · · ·Q.· Okay.· Mr. Watson, we're going to show you one
24· more video clip.· This is also from Professor Tracy's
25· interview --

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·1· · · ·A.· Okay.
·2· · · ·Q.· -- and I'm going to set this up for you using
·3· the camera again.· This is going to be offered as
·4· Exhibit 3.
·5· · · · · · · · (Exhibit No. 3 was marked.)
·6· · · ·Q.· (BY MR. BANKSTON)· And this is Watson Clip 2 on
·7· January 18, 2013, and I'm going to show you that video.
·8· · · · · · · · All right.· There we go.· That should be
·9· good.· All right.· Mr. Watson, we're going to watch
10· this, and I'll ask you some questions.
11· · · ·A.· Okay.
12· · · · · · · · (Video playing.)
13· · · · · · · · "So asking questions about an event that is
14· been the fulcrum of the Obama Administration's agenda on
15· gun control, it's only sensible while, of course,
16· maintaining that respect, that dignity, that sensitivity
17· for the victims."
18· · · ·Q.· (BY MR. BANKSTON)· All right.· Mr. Watson,
19· while you were at Infowars and covering -- let me
20· start -- let me step back.
21· · · · · · · · Over the past, say, ten years at Infowars,
22· there have been a large amount of mass casualty events
23· both in the United States and abroad that have been
24· covered in Infowars programming, correct?
25· · · ·A.· Correct.

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·1· · · ·Q.· Okay.· When you've been at Infowars for the
·2· past, you know, ten years or so, would you say that in
·3· covering those mass casualty events, you have tried to
·4· maintain that respect, that dignity, that sensitivity
·5· for the victims that you were discussing in that video?
·6· · · ·A.· I would say after Sandy Hook, yes, I would say
·7· I tried to maintain that.
·8· · · ·Q.· Okay.
·9· · · ·A.· Whether I had beliefs before that that I now
10· completely disavow, that's possibly the case.· But I
11· would say certainly after 2014, I -- as far as I recall,
12· that would be the case.
13· · · ·Q.· Okay.· And you talked in that video about how
14· it's important to be able to ask questions about major
15· events.· You'd agree with that today?
16· · · ·A.· Yeah.
17· · · ·Q.· Okay.· And in your career, you've often asked
18· questions about events that look suspicious to you,
19· correct?
20· · · ·A.· Correct.
21· · · ·Q.· Okay.· On the other hand, if you weren't
22· questioning, if you were making certain factual claims,
23· for instance, that a parent wasn't real or that a
24· certain parent's crying wasn't -- was fake, those sorts
25· of things, do you consider that still questioning, or

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·1· are those making assertions of fact to you?
·2· · · ·A.· I would consider it offensive.· But I would
·3· also consider it still questioning of events or facts.
·4· · · ·Q.· When we talk about maintaining that respect,
·5· that dignity, that sensitivity for the victims that you
·6· mentioned in that video in 2013, for the next five
·7· years, Infowars frequently did not do that, not saying
·8· you, but other people at Infowars.· You'd agree with
·9· that?
10· · · · · · · · MR. JEFFERIES:· Objection, form.· You can
11· answer.
12· · · · · · · · THE WITNESS:· I would say generally
13· speaking, that's probably correct in terms of the
14· trajectory of how Infowars covered these events.                         I
15· would say we moved away from that kind of response
16· after, you know, 2014.
17· · · ·Q.· (BY MR. BANKSTON)· And when you say "that kind
18· of response," are you referring things like mocking the
19· parents crying or accusing them of being fake?· Is that
20· what you're talking about?
21· · · ·A.· No.· I'm talking about the nature of the event
22· and the immediate assumption that the official story of
23· everything that happened was completely true.
24· · · ·Q.· When do you think, in your mind, that Infowars
25· stopped calling Sandy Hook phony?

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·1· · · ·A.· I don't recall any specific time when that
·2· stopped.
·3· · · ·Q.· Okay.
·4· · · ·A.· And if -- if I was pinned down on it, I would
·5· probably say the Megyn Kelly interview, which I don't
·6· recall when that was, but I believe it was a couple
·7· years ago, so I would probably say that.
·8· · · ·Q.· Okay.· That Megyn Kelly interview -- I'll give
·9· you -- I'll kind of bring you up to speed.· That was in
10· June of 2017.
11· · · ·A.· Okay.
12· · · ·Q.· And do you know when Infowars was first sued
13· over Sandy Hook?
14· · · ·A.· No.
15· · · ·Q.· Okay.· That took place in April of 2018, less
16· than a year later.· Do you have any knowledge sitting
17· here today about what Infowars was saying about Sandy
18· Hook between the Megyn Kelly interview in 2017 and when
19· Alex Jones was sued in 2018?
20· · · ·A.· I don't have any specific recollection, no.
21· · · ·Q.· Okay.· If Mr. Jones -- if I was to tell you
22· that Mr. Jones in October of 2017 was calling Sandy Hook
23· phony as a three dollar bill, you wouldn't have any
24· reason to dispute that?
25· · · ·A.· I don't specifically recall him saying that,

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·1· but I wouldn't dispute that it happened.
·2· · · ·Q.· Okay.· I want to talk a little bit more about
·3· harassment and as we discussed that victims were being
·4· harassed and that you knew that as early as January in
·5· this video.· Did you -- you knew and understood that
·6· that harassment went on for years, correct?
·7· · · ·A.· That it went on for years afterwards, I don't
·8· know an exact time period as to when it went on, but I
·9· do know that it occurred, yes.
10· · · ·Q.· Okay.· You know who Wolfgang Halbig is, right?
11· · · ·A.· Vaguely.· He worked in school security.· That's
12· all I know about him.· And that, obviously, he appeared
13· on Infowars.
14· · · ·Q.· Okay.· And do you know about his trips to
15· Newtown with a gentleman named Dan Bedani?
16· · · ·A.· Not specifically, no.
17· · · ·Q.· Okay.· Have you ever seen footage of what Dan
18· Bedani did in Newtown to the Newtown residents?
19· · · ·A.· Not that I recall, no.
20· · · ·Q.· Okay.· You know who Jim Fetzer is, right?
21· · · ·A.· Yes.
22· · · ·Q.· Okay.· Do you know who Jonathan Reich is?
23· · · ·A.· No.
24· · · ·Q.· Okay.· You would know anything about
25· Mr. Reich's arrest for harassing the Sandy Hook parents?

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·1· · · ·A.· I'm aware that somebody was arrested for that,
·2· did not recall his name.· But, yes, I'm aware that
·3· somebody was arrested.
·4· · · ·Q.· Okay.· Do you know who Lucy Richards is?
·5· · · ·A.· Doesn't ring a bell, no.
·6· · · ·Q.· Okay.· Let me see if it refreshes, did you know
·7· that in 2016 a woman was sentenced to federal prison for
·8· threatening to kill some Sandy Hook parents?
·9· · · ·A.· I don't recollect that.· I recollect -- I
10· recollect the guy arrested for harassment but not this
11· individual.
12· · · ·Q.· Okay.· When it came to people who were
13· harassing these parents who had lost children that went
14· on, Infowars was aligning with these people, correct?
15· · · · · · · · MR. JEFFERIES:· Objection, form.· You can
16· answer.
17· · · · · · · · THE WITNESS:· I saw no evidence that we
18· were directly aligning with these people, no.
19· · · ·Q.· (BY MR. BANKSTON)· Okay.· Mr. Watson, I would
20· like to show you another document now.· And I would like
21· to show you an e-mail that you sent in 2015 on
22· December 17th.
23· · · ·A.· Okay.
24· · · ·Q.· This is Tab 2.· Do you see this e-mail in front
25· of you?

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·1· · · ·A.· Yeah.
·2· · · ·Q.· We're going to be offering this as Exhibit 4.
·3· · · · · · · · (Exhibit No. 4 was marked.)
·4· · · ·Q.· (BY MR. BANKSTON)· I'm going to read this
·5· e-mail that you -- well, actually, first, let's start at
·6· the top of the e-mail.· You have sent this to two
·7· different people, one of whom is named Buckley, correct?
·8· · · ·A.· Correct.
·9· · · ·Q.· Okay.· Buckley Hamman, is that his last name?
10· · · ·A.· Correct.
11· · · ·Q.· Okay.· Buckley Hamman is Alex Jones' cousin,
12· right?
13· · · ·A.· Right.· Yes.
14· · · ·Q.· Okay.· And then another Infowars personnel that
15· you sent this to is Anthony.· Who is Anthony?
16· · · ·A.· That's Anthony Gucciardi.
17· · · ·Q.· Okay.· What is his -- what is his job role at
18· Infowars?
19· · · ·A.· He's one of the managers at Infowars and I
20· believe still is.· But I'm not sure if he's still there,
21· but he was at the time.
22· · · ·Q.· When you say "manager," what does he manage?
23· · · ·A.· I don't -- I don't have any detailed
24· information.· Buckley was the manager.· Anthony was the
25· manager.· Basically, they would be, you know, in a

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·1· position which was above the writers and the
·2· contributors.· As to their exact roles, I was not in the
·3· office anywhere near enough to know specifically, but I
·4· would describe them as managers.
·5· · · ·Q.· Okay.· That's -- what I guess I'm trying to get
·6· at is:· These are people who manage the writing -- in
·7· other words, these are people who have management
·8· related to Infowars editorial output, not people who,
·9· say, manage the sales of the supplements and brain pills
10· and that kind of thing?
11· · · ·A.· With Gucciardi, he was mainly involved in the
12· supplements and the sale and logistics of that.· In
13· terms of directly -- I mean, they would give the writers
14· advice, I guess, but they would not be -- that wouldn't
15· be their sole job description.
16· · · ·Q.· Okay.
17· · · ·A.· So I would say it was a general manager role.
18· · · ·Q.· Let's take a look at this e-mail that you sent
19· on December 17th, 2015.· And at the top it says:· "Sent
20· this to Alex."· I'm going to make the assumption, you
21· can tell me if I'm wrong, when you say sent this to
22· Alex, that means you sent it in a text message?
23· · · ·A.· I would assume so because I didn't communicate
24· with Alex via e-mail, so I would assume either it would
25· be a direct phone conversation or a text message.

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·1· · · ·Q.· Okay.· And I want to read what you sent to
·2· Alex.
·3· · · · · · · · "This Sandy Hook stuff is killing us.· It's
·4· promoted by the most bat shit crazy people like Rense
·5· and Fetzer who all hate us anyway.· Plus it makes us
·6· look really bad to align with people who harass the
·7· parents of dead kids.· It's going to hurt us with Drudge
·8· and bringing bigger names into the show.· Plus the event
·9· happened three years ago.· Why even risk our reputation
10· for it?"
11· · · · · · · · My first question is -- let's first talk
12· about who Jeff Rense is.· You know who he is?
13· · · ·A.· Yes.
14· · · ·Q.· Okay.· Jeff Rense is a notoriously unreliable
15· conspiracy theorist and rabid anti-Semite, correct?
16· · · ·A.· I would -- I don't know enough about him to
17· call him a rabid anti-Semite, but I would say he was a
18· conspiracy theorist, yeah.
19· · · ·Q.· Okay.· Same question for Mr. Fetzer.
20· · · ·A.· Again, the anti-Semitism stuff, I don't -- I
21· don't recall anything related to that, but if you want
22· to say he engages in conspiracy theories, that would be
23· accurate.
24· · · ·Q.· All right.· Tell me what you mean -- well,
25· actually, tell me how you came to the conclusion that

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·1· these two gentlemen that Infowars was relying on were
·2· bat shit crazy?
·3· · · ·A.· Because they were pushing the notion that
·4· nobody died at Sandy Hook, which I thought was not
·5· credible and was supported by no evidence, so therefore,
·6· was a crazy conclusion to make.
·7· · · ·Q.· So by that same logic, Alex Jones, equally, bat
·8· shit crazy?
·9· · · ·A.· I wouldn't describe him as bat shit crazy.
10· · · ·Q.· What kind of crazy?
11· · · · · · · · MR. JEFFERIES:· Objection, form.
12· · · · · · · · THE WITNESS:· I would describe it as him
13· commenting on the controversy of the conspiracy theories
14· that were swirling about Sandy Hook at the time.
15· · · ·Q.· (BY MR. BANKSTON)· Okay.· So if Jeff Rense or
16· Jim Fetzer starts pushing allegations that the children
17· aren't real and that the parents are fake and that the
18· crying is all fake and it's all an act, they're bat shit
19· crazy.· But if Jones says literally the exact same words
20· on his telephone -- his web broadcast, he's just doing a
21· good job as a journalist?
22· · · ·A.· Well, to kind of combine this with your
23· previous question, I would say the description of them
24· as "bat shit crazy" would also involve things that
25· they've said in the past unrelated to Sandy Hook, maybe

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·1· about UFOs or alien abduction or holograms on 911, which
·2· I think was Fetz's [sic] big thing for a while.· So, you
·3· know, they had -- they has a previous of engaging in
·4· very obscure conspiracy theories, which would contribute
·5· to that description of bat shit crazy.
·6· · · ·Q.· Do you think that their history of doing that
·7· is any different than Alex Jones?
·8· · · ·A.· No.· But again, they have the right to engage
·9· in that speech under the First Amendment.
10· · · ·Q.· I'm not -- look, Mr. Watson, at this point I'm
11· not asking you who had the right to do what.· We'll all
12· figure that out.· What I'm asking you is:· Alex Jones
13· and his crazy conspiracies about Shadow inter
14· dimensional governments and alien/fish hybrids, things
15· like this, that's no different than Fetzer and Rense.
16· There's qualitatively no difference in how they covered
17· conspiracy theories, correct?
18· · · · · · · · MR. JEFFERIES:· Objection, form.· You can
19· answer.
20· · · · · · · · THE WITNESS:· Well, that's -- that's your
21· view.· I -- I wouldn't necessarily agree with it.
22· · · ·Q.· (BY MR. BANKSTON)· All right.· So in your view,
23· people like Rense and Fetzer are bad but Mr. Jones not
24· in the same way?
25· · · ·A.· I would say not in the same way because I would

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·1· say Alex was covering the controversy of Sandy Hook
·2· which is circulating before he engaged in the same kind
·3· of conspiracy theories.· In terms of Fetzer, as is shown
·4· in the e-mail, he's -- he was antagonistic towards me,
·5· personally, so I had a bias against him, which is a
·6· factor in -- in that e-mail.
·7· · · ·Q.· Tell me about the conflict you and Mr. Fetzer
·8· had.
·9· · · ·A.· I don't remember very specific details about
10· it, but it was -- it was a long time ago, and it was
11· something to do with me not agreeing with a conspiracy
12· that he had postulated, and he responded by attacking my
13· character.· I think that's what it was related to, but
14· it was a very long time ago.
15· · · ·Q.· Okay.· In this e-mail, you say, "It makes us
16· look really bad to align with people who harass the
17· parents of dead children."
18· · · · · · · · Can you explain to me what you mean by
19· that?
20· · · ·A.· To share their narrative of what happened,
21· given that I did not think they were credible
22· individuals that would harm us, that's what I meant by
23· that.
24· · · ·Q.· Okay.· When you talk about Drudge in this
25· e-mail, "it's going to hurt us with Drudge," that's Matt

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·1· Drudge you're talking about, correct?
·2· · · ·A.· Correct.
·3· · · ·Q.· Matt Drudge runs an internet website where he
·4· collects links from news around the web and collects it
·5· for people, correct?
·6· · · ·A.· Correct.
·7· · · ·Q.· Okay.· And it was Infowars' desire at this time
·8· to be featured on Drudge and to have some of the traffic
·9· that Drudge would create, correct?
10· · · ·A.· Partly, but partly also, Drudge is seen in
11· conservative new circles as a credible new source.· So
12· to be on Drudge was to give you an element of
13· credibility.
14· · · ·Q.· And it's true that if Alex Jones kept going on
15· Infowars and saying things like "the parents are fake"
16· and "the school was actually closed," things like that,
17· it was -- it was going to be difficult for people like
18· Drudge to promote him, correct?
19· · · ·A.· Well, you'd have to ask Matt Drudge on that
20· question.· I don't know what he would think.
21· · · ·Q.· Well, you say -- you say, "it's going to hurt
22· us with Drudge."· What did you mean by that?
23· · · ·A.· That being seen to associate with people who I
24· thought were pushing beliefs and viewpoints that were
25· not credible would have a backlash of making us less

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·1· credible amongst more credible new sources like Drudge.
·2· · · ·Q.· And that's exactly what happened, isn't it?
·3· There has been a considerable amount of backlash over
·4· Sandy Hook?
·5· · · ·A.· I wouldn't say with Drudge because he didn't
·6· stop linking to our articles on his website.
·7· · · ·Q.· Okay.· But in general, there have -- Infowars
·8· has faced significant backlash over its coverage of
·9· Sandy Hook?
10· · · ·A.· As a result of the lawsuit and the Megyn Kelly
11· interview, yes.
12· · · ·Q.· You don't think people were upset about this
13· before that?
14· · · ·A.· Not to the same degree.
15· · · ·Q.· Okay.· Now, it has bothered you, personally, to
16· be associated with the kind of tasteless things being
17· said about the parents on Infowars, correct?
18· · · · · · · · MR. JEFFERIES:· Objection, form.· You can
19· answer.
20· · · · · · · · THE WITNESS:· Well, it obviously bothered
21· me at the time because of the content of that e-mail.
22· · · ·Q.· (BY MR. BANKSTON)· Correct.· And it continued
23· to bother you, right?
24· · · ·A.· So long as the same narrative was being pushed,
25· yes.

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·1· · · ·Q.· Okay.· Because Mr. -- let's be honest about
·2· this e-mail in 2015.· Mr. Jones didn't listen to you,
·3· correct, on this topic?
·4· · · ·A.· Whether he toned it down, I couldn't say, but,
·5· I mean, if you want to say he didn't -- he didn't listen
·6· to me in that instance, you could convey that argument,
·7· yes.
·8· · · ·Q.· In fact, looking back retrospectively,
·9· Mr. Jones has said that you're right.· Did you know
10· that?
11· · · ·A.· I'm aware of his deposition where he brought up
12· the fact that we had disagreements about it, yeah.
13· · · ·Q.· Okay.· Mr. Jones, [sic] I want to show you
14· another document at this point.· I want to show you a
15· document from an e-mail exchange that you had on
16· November 18, 2016.· This is going to be Tab 3, and I
17· will be offering it as Exhibit 5.
18· · · · · · · · (Exhibit No. 5 was marked.)
19· · · · · · · · MR. BANKSTON:· Can we scroll to the very
20· bottom of that e-mail exchange?· That will do right
21· there at that paragraph.· Fantastic.· All right.· That's
22· great.
23· · · ·Q.· (BY MR. BANKSTON)· Mr. Watson, you see here
24· that there is a -- a e-mail from the communications
25· manager at a -- at a place called Quantcast.· Do you

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·1· know what Quantcast is?
·2· · · ·A.· Yeah.
·3· · · ·Q.· Okay.· Am I correct that Quantcast can
·4· basically place rankings on websites on how much traffic
·5· they received?
·6· · · ·A.· Yes.
·7· · · ·Q.· Okay.· And this e-mail here is telling you that
·8· there was a traffic surge at Infowars and so as for a
·9· routine measure, they're just going to place a temporary
10· hold on the ranking system.· Have you ever seen an
11· e-mail like this before?
12· · · ·A.· I mean, it's -- it's possible that I saw it at
13· the time.· I don't recall it specifically.
14· · · ·Q.· Okay.· If we can scroll up to the next couple
15· of sets of e-mails here, right there is fine.· And
16· you'll see the e-mail was sent to you and you said,
17· "Thanks, I will pass this on."· And sent it -- as we
18· scroll up -- keep scrolling up -- to a person that we
19· talked about before, Buckley.· Go ahead and scroll to
20· the top of this e-mail that we can see.
21· · · · · · · · All right.· Do you see here where it has
22· your e-mail address to Buckley@Infowars.com?
23· · · ·A.· Yeah.
24· · · · · · · · MR. BANKSTON:· Let's scroll onto the -- off
25· the header so we can actually see the full e-mail to

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·1· right about there is fine for right now.
·2· · · ·Q.· (BY MR. BANKSTON)· When you sent this e-mail,
·3· Buckley made a joke, and I want to read it to you.
·4· Okay?· Said, "But no, surely it's a conspiracy theory
·5· that they are trying to suppress our popularity so that
·6· the lizard people can return to the ascension pad at
·7· Sandy Hook and feast on sacrificed crisis actors."
·8· · · · · · · · Buckley here is making a joke about the
·9· craziness of those theories, isn't he?
10· · · · · · · · MR. JEFFERIES:· Objection, form.
11· · · · · · · · THE WITNESS:· You would have to -- you
12· would have to ask Buckley.· I don't want to speak for
13· him.
14· · · ·Q.· (BY MR. BANKSTON)· Well, when you get an e-mail
15· in your day-to-day business that's talking about lizard
16· people going to the ascension pad at Sandy Hook and
17· feasting on sacrificed crisis actors, what did you take
18· that to mean?
19· · · ·A.· Obviously, I would assume that it's dark humor.
20· · · ·Q.· Dark humor about what?· What he's joking about?
21· · · ·A.· About the notion that at the time we were being
22· widely suppressed in terms of censorship or blocking our
23· traffic, I guess.
24· · · ·Q.· Well, what's this stuff about lizard people?
25· What is that about?

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·1· · · ·A.· Well, I mean, lizard people is a David Icke
·2· conspiracy theory that the rule is that the world is
·3· actually shape-shifting lizards is the way I understand
·4· it.
·5· · · ·Q.· Okay.· What is an ascension pad?
·6· · · ·A.· I don't know what an ascension pad is.· I guess
·7· it's like a Star Trek beam-me-up kind of thing.· I don't
·8· know.
·9· · · ·Q.· Okay.· And sacrificed crisis actors, have you
10· ever heard of any -- I mean, we talked about crisis
11· actors.· Do you know anything about the sacrifice of
12· crisis actor?
13· · · ·A.· No.
14· · · ·Q.· Okay.· Below his e-mail is a little caricature
15· of a man who's wearing an undershirt and missing a lot
16· of teeth.· Do you have any idea what that's about?
17· · · ·A.· I have no idea what the -- what the image is
18· about, no.· I have some idea about the hand sign but not
19· the overall image.
20· · · ·Q.· All right.· Tell me what that hand sign is.
21· · · ·A.· During the 2016 presidential campaign, Donald
22· Trump would make the same hand sign while making a
23· point, so it became a thing amongst his supporters to do
24· the same hand sign.
25· · · ·Q.· See, I thought -- and maybe I'm wrong about

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·1· this.· You might be able to clear this up.· I thought
·2· there was some sort of thing going on 4chan where a
·3· bunch of weird neo-Nazis were saying, Hey, we can do the
·4· okay sign since it kind of has a plausibly benign
·5· explanation, you can use it as a crypto-fascist symbol
·6· for white supremacy.· Have you ever heard of that?
·7· · · ·A.· So currently, I've heard of that, but I would
·8· say that whole thing happened after 2016.· I think that
·9· started in 2017 when they began that meme.
10· · · ·Q.· Were you aware that this -- this caricature
11· here of this man that that's a popular meme on 4chan?
12· · · ·A.· I -- I have no recollection of this being a
13· meme at the time, no.
14· · · ·Q.· Right.
15· · · ·A.· I have a recollection of the hand sign being a
16· meme in 2017 but not this particular cartoon.
17· · · ·Q.· Okay.· Do you remember right around after the
18· time of the election there was -- there were some
19· articles about how Alex Jones had said on his show that
20· Trump had called him after the election to thank him?
21· Do you remember that?
22· · · ·A.· I remember him making such statements, yeah.
23· · · ·Q.· Okay.· And then do you remember a few days
24· after that a woman named Erica Lafferty writing an open
25· letter to the President asking him to disavow Trump -- I

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·1· mean asking him to disavow Mr. Jones?
·2· · · ·A.· I don't remember that, no.
·3· · · ·Q.· Okay.· Do you remember on the day of this
·4· e-mail that we just looked at, November 18, 2016, do you
·5· remember Alex Jones publishing a video that he recorded
·6· called "Alex Jones's Final Statement on Sandy Hook"?
·7· · · ·A.· Well, what -- what was the date of the e-mail?
·8· · · ·Q.· November 18, 2016.
·9· · · ·A.· I thought it was November 8.· Is it 18?
10· · · ·Q.· It's 18, yes, sir.
11· · · ·A.· Can you repeat the question?
12· · · ·Q.· Sure.· Do you remember on that date Mr. Jones
13· publishing a video, are you familiar with the video
14· "Alex Jones Final Statement on Sandy Hook"?
15· · · ·A.· I'm aware of the title of the video not the
16· content.· But the title, yes.
17· · · ·Q.· Do you remember during Mr. Jones's deposition a
18· clip being played from that broadcast in which Mr. Jones
19· said, "I've seen soap operas before and I've seen actors
20· and I know when I'm watching a soap opera and when I'm
21· watching something real."· Do you remember that
22· quotation?
23· · · ·A.· I don't remember the specific quotation.
24· · · ·Q.· Do you remember Mr. Jones doing a mocking
25· imitation of Robby Parker crying?

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·1· · · · · · · · MR. JEFFERIES:· Objection, form.
·2· · · · · · · · THE WITNESS:· I remember questions about
·3· whether his crying was genuine from Alex Jones.· I don't
·4· remember specifically an impersonation.
·5· · · ·Q.· (BY MR. BANKSTON)· Okay.· During that final
·6· statement on Sandy Hook -- let me scratch that and go
·7· back.
·8· · · · · · · · At the very time that you were writing
·9· these e-mails with Buckley on November 18, 2016 joking
10· about crisis actors, were you aware that Mr. Jones just
11· a few hours earlier had been on Infowars accusing the
12· parents of being actors?
13· · · ·A.· I don't think I joked about crisis actors in my
14· e-mail.· Wasn't that Buckley that used the term "crisis
15· actors"?
16· · · ·Q.· Okay.· Let's rephrase the question.
17· · · · · · · · Were you aware that in that e-mail exchange
18· you were having with Buckley where he joked to you about
19· crisis actors and the outlandish nature of crisis actors
20· that at that same time a few hours earlier, Mr. Jones
21· was on his show accusing the parents of being actors?
22· Were you aware of that?
23· · · ·A.· No --
24· · · ·Q.· How do you feel --
25· · · ·A.· -- I have no recollection of that.

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·1· · · ·Q.· How do you feel about that, Mr. Watson?
·2· · · ·A.· I feel that he was completely inaccurate in
·3· making that claim.
·4· · · ·Q.· Okay.· Not something you're proud of at
·5· Infowars, correct?
·6· · · ·A.· Well, it's not something that I said so...
·7· · · ·Q.· Well, it's something you're associated with,
·8· right?· I mean, I understand you're a media person who
·9· has seen a meteoric rise in the last years and you have
10· a brand.· Doesn't it bother you on some level that this
11· ridiculous behavior of Jones and others at Infowars has
12· somewhat tarnished your brand and made it more difficult
13· for you?
14· · · · · · · · MR. JEFFERIES:· Objection, form.
15· · · · · · · · THE WITNESS:· I would say that I had my
16· grievances at the time, and I think the whole culture of
17· the organization slowly started to change afterwards, so
18· I did what I could at the time.
19· · · ·Q.· (BY MR. BANKSTON)· Okay.· It wasn't enough,
20· though, right?· Mr. Jones didn't listen to you?
21· · · ·A.· Well, I think that he -- he listens more now.
22· · · ·Q.· You threatened to quit over Sandy Hook,
23· correct?
24· · · ·A.· I don't recall any specific conversation
25· threatening to quit.· I mean, it's possible, but I don't

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·1· recall it.
·2· · · ·Q.· Okay.· The reason I asked is Mr. Jones said you
·3· threatened to quit.· And I was wondering if you had any
·4· reason to dispute that.
·5· · · ·A.· Maybe in the -- in the heat of a private
·6· conversation.· But I don't specifically recall the exact
·7· details of the conversation.
·8· · · ·Q.· So you've had private conversations with
·9· Mr. Jones about Sandy Hook?
10· · · ·A.· Yes.
11· · · ·Q.· Okay.· So in addition to the written messages
12· you've sent him warning him of his conduct, you've had
13· private verbal conversations as well?
14· · · ·A.· At the time, yes.
15· · · ·Q.· Okay.· When you say "At the time," what do you
16· mean?
17· · · ·A.· For the period 2013 to 2014.
18· · · ·Q.· And then we saw a 2015 e-mail.· Do you believe
19· you were still talking to him about it in 2016, 2017?
20· · · ·A.· I have no recollection of talking to him about
21· it in those years.· It's possible, but I felt the
22· subject had died down by that point.
23· · · ·Q.· Do you recall having any conversations with him
24· about his Megyn Kelly interview in 2017?
25· · · ·A.· Yeah.

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·1· · · ·Q.· Okay.· Do you remember his Megyn Kelly
·2· interview?· Do you remember the things he said?
·3· · · ·A.· I remember that he was grilled by her.· I don't
·4· remember his specific response.
·5· · · ·Q.· Okay.· Would you have -- would you have any
·6· reason to disagree with me that during that interview,
·7· Mr. Jones, again, repeated several false claims about
·8· Sandy Hook?
·9· · · ·A.· I don't recall the specifics of the interview
10· so I couldn't say.
11· · · ·Q.· Okay.· Let's go back -- you know, we had talked
12· about the First Amendment for a second so let's put a
13· pin in it.· And we had talked about things like decency
14· and sensitivity.· And -- but I believe one of your
15· answers was no matter how indecent, no matter how
16· upsetting that this is all conduct protected by the
17· First Amendment, correct?
18· · · ·A.· Correct.
19· · · ·Q.· Okay.· And you've -- you've -- okay, you're a
20· foreign journalist, but you're involved in an American
21· media company, correct?
22· · · ·A.· I wouldn't consider myself a journalist.
23· · · ·Q.· You don't think you do any journalism?
24· · · ·A.· I have done journalism.· But the vast majority
25· of what it do I wouldn't consider journalism.

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·1· · · ·Q.· Can you tell me what -- what is journalism to
·2· you, what does that mean?
·3· · · ·A.· To me, it would be going out on the streets
·4· from a first-person perspective and either talking to
·5· people involved in news events or being on the scene of
·6· news events, I would consider that journalism --
·7· · · ·Q.· Okay.
·8· · · ·A.· -- which I have done -- which I have done.· But
·9· the vast majority of what I do is not that.
10· · · ·Q.· Okay.· As a person who has worked with an
11· American media company, even though you're foreign, you
12· have familiar -- you have familiarity with the First
13· Amendment, freedom of speech, those sorts of concepts?
14· · · ·A.· Yeah.
15· · · ·Q.· Okay.· You would agree with me the First
16· Amendment doesn't cover falsely accusing someone of a
17· crime that could severely damage their reputation; you
18· would agree with that?
19· · · ·A.· Well, I -- that would -- that would be a -- a
20· lawsuit process.· It depends -- it depends on the nature
21· of the accusation.· I don't -- I don't --
22· · · ·Q.· Well, I'm telling you the nature of the
23· accusation.
24· · · ·A.· That's why we have defamation and libel laws
25· for that to be pursued after the fact.

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·1· · · ·Q.· Correct.· So in other words, it may not be
·2· covered by the First Amendment if you falsely accuse
·3· someone of a crime that could severely damage their
·4· reputation?
·5· · · ·A.· Under my understanding, if that was the case,
·6· then, no, it wouldn't be covered under the First
·7· Amendment.
·8· · · ·Q.· Okay.· So if you accuse parents of being fake,
·9· if you say they're not real, they're crisis actors, that
10· means they're giving false statements to police.· It
11· means everything they're doing is a lie, a giant fraud,
12· maybe one of the massive -- most massive crimes
13· conceivable in American history, you would agree that
14· those people have suffered damage, they have been
15· falsely accused of something?
16· · · · · · · · MR. JEFFERIES:· Objection, form.
17· · · · · · · · THE WITNESS:· I'm not -- I'm not aware that
18· Alex Jones directly accused a parent of not existing.                            I
19· will not say it's not possible, but I'm not aware that
20· that happened.
21· · · ·Q.· (BY MR. BANKSTON)· So let's go ahead and make
22· an assumption for me, just for the purposes of this
23· question, that if Alex Jones said something like, "At
24· first, I thought they killed real children, but they
25· didn't kill any children, and everybody's clearly an

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·1· actor," if he said that, he crossed the line, didn't he,
·2· Mr. Watson?
·3· · · · · · · · MR. JEFFERIES:· Objection, form.
·4· · · · · · · · THE WITNESS:· I would -- I would compare it
·5· to other news organizations who have made claims about
·6· events such as the Iraq War where CNN and others
·7· reported that babies were being thrown out of incubators
·8· by Saddam Hussein's military and people questioned.
·9· That would be seen as being very offensive to claim that
10· babies were thrown out of incubators, but that was later
11· proven to not have happened.· So I mean, it's extremely
12· important to question the nature of major news events no
13· matter how offensive that may be.
14· · · ·Q.· (BY MR. BANKSTON)· Okay.· So let's go to this
15· babies and incubators thing.· This is an Infowars thing
16· I hear a lot.· Who -- if -- if there was a lie -- so my
17· understanding of this is there was a lie made by the
18· media -- certain parties of the media that babies were
19· being thrown out of incubators in Kuwaiti hospitals; is
20· that correct?
21· · · ·A.· As far as I understand it, yeah.
22· · · ·Q.· Okay.· Who is being accused of doing that?· Who
23· was being accused of throwing the babies out of the
24· incubators?
25· · · ·A.· As far as I know, it was Saddam Hussein's

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·1· military.
·2· · · ·Q.· Okay.· So I guess in that case, if individual
·3· military members who were assigned to that hospital
·4· wanted to sue those American media companies for
·5· defamation, that's something they could do, right?
·6· · · · · · · · MR. JEFFERIES:· Objection, form.
·7· · · · · · · · THE WITNESS:· Well, from your question, my
·8· understanding is that would it be covered under the
·9· First Amendment to question whether that event was
10· happening.· I would say it was covered because it was a
11· major news event.· No matter how offensive that may be
12· to question such as horrible tragedy, I believe that in
13· some cases it's viable to do so because of the wider
14· tragedy that could evolve from that is far greater.· As
15· to whether Iraqi military soldiers could sue
16· individuals, I don't know the law on that so I couldn't
17· say.
18· · · ·Q.· (BY MR. BANKSTON)· Okay.· Well, what about, for
19· instance -- you know who Tom Arnold is, right?
20· · · ·A.· The actor.
21· · · ·Q.· Yeah.· Tom Arnold.
22· · · ·A.· Yeah.
23· · · ·Q.· Yeah.· And you know who Jack Posobiec is?
24· · · ·A.· Yeah.
25· · · ·Q.· Okay.· You remember not too long ago Tom Arnold

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·1· made some comment once Twitter basically implying that
·2· Jack Posobiec was -- had some sexual proclivities that
·3· involved children?
·4· · · ·A.· Yeah.
·5· · · ·Q.· Okay.· And at that time you wrote that Jack
·6· Posobiec was perfectly entitled to sue Tom Arnold and
·7· that Tom Arnold is subject to a lawsuit because the
·8· First Amendment doesn't cover falsely accusing someone
·9· of a crime that could severely damage their reputation.
10· Do you agree with that?
11· · · ·A.· In that case, yes.
12· · · ·Q.· Okay.· And Mr. Arnold, he's a public figure,
13· right?
14· · · ·A.· Yeah.
15· · · ·Q.· People know who he is, right?
16· · · ·A.· Yeah.
17· · · ·Q.· In fact, you understand the distinction in
18· America that when you have a public figure, the media
19· might be more entitled to talk about that person or
20· speculate on that person than if they were a private
21· individual.· Are you familiar with that concept?
22· · · ·A.· Well, yes, you would hope.· It's not how the
23· media behaves now, but yes, in -- in principle, yes.
24· · · ·Q.· Okay.· So if Tom Arnold, a public figure, and
25· Jack Posobiec, another public figure, if there can be a

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·1· defamation suit there, then surely if a media
·2· organization accuses a parent of being fake in the
·3· context of the death of their child, that is equally
·4· actionable; wouldn't you agree?
·5· · · · · · · · MR. JEFFERIES:· Objection, form.
·6· · · · · · · · THE WITNESS:· As far as I understand it,
·7· the Sandy Hook parent were public figures given that
·8· they had given interviews and statements to the media.
·9· On whether they wanted to become public figures or not
10· is a different matter, but I would consider them public
11· figures.
12· · · ·Q.· (BY MR. BANKSTON)· Okay.· Well, let's -- let's
13· leave that for the Courts, and which I'm not sure if
14· you're familiar with any of that and whether that's
15· happened.· But assume for me more the moment that that
16· Sandy Hook parents are private individuals.· Do you
17· believe Infowars needed to exercise a certain level of
18· care to make sure that they weren't making false
19· acquisitions against them?
20· · · ·A.· Yes.· But I'm not aware of any direct, false
21· acquisitions that were made against any individual
22· person, not to say it's not possible, but I don't
23· recollect any.
24· · · · · · · · THE WITNESS:· Can we have a bathroom break?
25· · · · · · · · MR. BANKSTON:· We absolutely can,

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·1· Mr. Watson.
·2· · · · · · · · THE WITNESS:· Five, minutes?
·3· · · · · · · · MR. JEFFERIES:· Sure.
·4· · · · · · · · THE WITNESS:· Five minutes, okay.
·5· · · · · · · · (Brief recess.)
·6· · · ·Q.· (BY MR. BANKSTON)· Mr. Watson, can you tell me
·7· what you did to prepare for your deposition today?
·8· · · ·A.· I spoke to Robert Bonds and Wade Jefferies.
·9· · · ·Q.· Okay.· Did you review any documents?
10· · · ·A.· No.
11· · · ·Q.· When did you speak with your counsel?
12· · · · · · · · MR. JEFFERIES:· Objection, form.
13· · · · · · · · THE WITNESS:· Sunday evening my time and
14· this afternoon, today.
15· · · ·Q.· (BY MR. BANKSTON)· Okay.· How long did you
16· spend talking with counsel?
17· · · ·A.· Let's say total, both conversations, probably,
18· like, 30 to 40 minutes.
19· · · ·Q.· Okay.· When it comes to the Sandy Hook tragedy,
20· how did you determine it was a real event and not phony?
21· · · ·A.· I just didn't believe the notion that it was a
22· wider conspiracy.
23· · · ·Q.· Why is that?
24· · · ·A.· Personally because the -- the explanation that
25· it was a conspiracy to push for the gun control didn't

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·1· make sense to me because after the event, further gun
·2· control did not really happen under the Obama
·3· Administration from my perspective so I could not see a
·4· motive.
·5· · · ·Q.· Okay.· So you know -- you came to that
·6· realization during the Obama years that it was a real
·7· event?
·8· · · ·A.· Yeah, I would say so, yeah.
·9· · · ·Q.· Okay.· Let me ask you about the First Amendment
10· again.· One of the things that you have testified to is
11· whether certain things are or are not allowed under the
12· First Amendment.· First of all, can you tell me -- can
13· you first tell me what your educational background is?
14· · · ·A.· I -- I went to school, I went to college, and I
15· don't have a higher education degree, so that's my
16· background.
17· · · ·Q.· Okay.· So when you -- you went -- you attended
18· a college but have no degree?
19· · · ·A.· No.· In college -- in the UK, college is
20· different.· It means the period after high school.· So
21· it's A-level.· So I attended college to get A-levels,
22· and then I went to a university afterwards for a year,
23· and then dropped out.
24· · · ·Q.· Okay.· Do you have any education in journalism?
25· · · ·A.· No.

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·1· · · ·Q.· Do you have any education in United States law?
·2· · · ·A.· No.
·3· · · ·Q.· Okay.· When it comes to what is or is not
·4· allowed under the First Amendment, you really don't have
·5· any qualifications to say, do you?
·6· · · ·A.· No.· But a lot of what I do is related to free
·7· speech.· So although I don't have any academic
·8· qualifications, I would like to consider I have a
·9· reasonably good grasp of it.
10· · · ·Q.· Let's talk a little bit about journalism.· Have
11· you ever heard the phrase "journalistic integrity"?
12· · · ·A.· Yeah.
13· · · ·Q.· What does that phrase mean to you?
14· · · ·A.· It means reporting the facts as you see it in a
15· nonpartisan, neutral way.
16· · · ·Q.· Okay.· Do you think that a news organization, a
17· media organization owes any obligations to exercise any
18· measure of effort to ensure that its statements about
19· people are factual and true?
20· · · ·A.· I would say that's very much dependent on
21· whether the organization presents itself as a
22· middle-of-the-road, nonpartisan, journalistic outlet and
23· not a commentary, slash, opinion outlet.
24· · · ·Q.· So a commentary opinion outlet, one that may be
25· partisan in nature, you feel has no obligation --

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·1· · · ·A.· Correct.
·2· · · ·Q.· -- to ensure that the things that it's saying
·3· are accurate or true?
·4· · · ·A.· No.· Because it will always be skewed by a bias
·5· to one side or the other.· If you present yourself as a
·6· CNN or an ABC, I believe you have the duty to, you know,
·7· play it straight down the line and be -- be nonpartisan,
·8· not that that happens, I believe, in today's society.
·9· But in terms of wearing your bias on your sleeve, I
10· think people understand that an outlet that doesn't
11· present itself as being nonpartisan is always going to
12· be bias in one direction or another.
13· · · ·Q.· Okay.· Well, let's take a claim such as -- I'll
14· give you an example -- a claim being made that no
15· paramedics were allowed inside Sandy Hook Elementary
16· School.· Can you tell me how partisanship or commentary
17· would allow you to say that without regard to its
18· accuracy, but a journalist, a nonpartisan organization
19· has a different obligation?· Can you explain that to me?
20· · · · · · · · MR. JEFFERIES:· Objection, form.
21· · · · · · · · THE WITNESS:· I don't know.· If -- I would
22· say if you believe -- if you've seen information to
23· suggest that was the case and that's what you believe,
24· then you will present that as your opinion.· I'm not
25· sure as to the exact nature of where that came from

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·1· but...
·2· · · ·Q.· (BY MR. BANKSTON)· Well, what if it came from
·3· one of those bat shit crazy people like Fetzer or Rense?
·4· · · ·A.· Well, personally, I wouldn't amplify what they
·5· were saying.
·6· · · ·Q.· One of the reasons you wouldn't amplify what
·7· they're saying is because if you have somebody with a
·8· track regard of being bat shit crazy and unreliable, it
·9· would violate the sense of journalistic integrity to
10· promote what they are saying as fact, correct?
11· · · ·A.· Yes.· If you were a journalistic,
12· middle-of-the-road, nonpartisan, non-commentary
13· outlet --
14· · · ·Q.· But Alex Jones -- so Alex Jones is allowed to
15· do that.· Other people who claim to be journalists
16· can't, but Alex Jones can do that.· That's fine.
17· · · ·A.· Under their -- under their own journalistic
18· ethics, they wouldn't.· Alex Jones would because he's an
19· opinion commentator.
20· · · ·Q.· And he has no journalistic ethics, correct?
21· · · · · · · · MR. JEFFERIES:· Objection.
22· · · · · · · · THE WITNESS:· He's not a journalist.· So
23· no, he's not.· He doesn't abide by those ethics because
24· he's not a journalist.
25· · · ·Q.· (BY MR. BANKSTON)· Thank you, Mr. Watson.

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·1· · · · · · · · Do you know who Rob Dew is?
·2· · · ·A.· Yeah.
·3· · · ·Q.· He's been for many years producing the Infowars
·4· Nightly News, correct?
·5· · · ·A.· When -- when that was a show, yeah.
·6· · · ·Q.· He -- he has been sort of described -- I don't
·7· know if this is formal or informal, but he's been
·8· described as Infowars news director; were you aware of
·9· that?
10· · · ·A.· Yeah.
11· · · ·Q.· Did you know that Mr. Dew testified that the
12· majority of what Infowars does is journalism?
13· · · ·A.· No.· I haven't seen his testimony so I was not
14· aware of that.
15· · · ·Q.· Do you disagree with that assertion?
16· · · ·A.· In terms of on-the-ground reporting, there is a
17· journalistic aspect to it, yes.· I wouldn't -- I
18· wouldn't say what Alex Jones does is journalism, but we
19· do have people who do what you would call "reporting,"
20· yes.
21· · · ·Q.· Are you familiar with journalists like, say,
22· Chris Wallace on Fox News?
23· · · ·A.· Yeah.
24· · · ·Q.· Okay.· He doesn't go out in the street, does
25· he?

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·1· · · ·A.· I don't know.
·2· · · ·Q.· Right.· I mean, he sits behind an anchor desk.
·3· · · ·A.· Sorry?
·4· · · ·Q.· He sits behind an anchor desk just like Alex
·5· Jones, right?
·6· · · ·A.· Mainly, yeah.
·7· · · ·Q.· So if you don't have to go out in the street,
·8· if you're sitting behind an anchor desk reporting facts,
·9· you're doing journalism, aren't you?
10· · · · · · · · MR. JEFFERIES:· Objection, form.
11· · · · · · · · THE WITNESS:· No.· I would say people like
12· him and Sean Hannity on Fox are opinion commentators not
13· journalists.
14· · · ·Q.· (BY MR. BANKSTON)· Okay.· Can you tell me in
15· your mind -- because we've been talking today a little
16· bit about Infowars having opinions versus assertions of
17· fact.· What's the difference between a fact and an
18· opinion?
19· · · ·A.· An opinion is your viewpoint.· We live in a
20· world where facts are very subjective, unfortunately,
21· and one side has a set of facts which they agree on, and
22· the other side has its set of facts which they agree on.
23· So it's a very vague concept in 2019.· I mean, you --
24· you can have an opinion on fact that skews one way or
25· the other.· So it's a very difficult territory.· So

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·1· that's all I would say on that.
·2· · · ·Q.· Well, you'd would agree there's certain things,
·3· like, if I was to say this person is beautiful, right,
·4· that's subjective.· It can't be proven ascertainably
·5· true or false.· It's totally subjective.· You'd agree
·6· with that?
·7· · · ·A.· Yeah.
·8· · · ·Q.· Okay.· But something like the Sandy Hook school
·9· was not an operating school, that can be proven true or
10· false, correct?
11· · · ·A.· Well, it could be proven, but it's then based
12· on whether you believe the proof that's presented.                          I
13· mean, I believe that it was an operating school, but
14· it's based on the proof that's presented whether it was
15· or not.
16· · · ·Q.· Correct.· And there's -- you can find out.· If
17· you have the right evidence, you can find out, correct?
18· · · · · · · · MR. JEFFERIES:· Objection, form.
19· · · · · · · · THE WITNESS:· I mean, you could make a
20· judgment based on the evidence, yeah.
21· · · ·Q.· (BY MR. BANKSTON)· When Infowars does something
22· like that, takes evidence and makes a judgment, does it
23· have any responsibility to be accurate?
24· · · ·A.· In the context of opinion commentary, I mean,
25· you can say there's a -- you know, you should strive be

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·1· accurate.· But in terms of journalistic ethics, I think
·2· it's a different ball game in terms of the level at
·3· which people are held based on whether they are
·4· opinioned commentary or down-the-line journalism.
·5· · · ·Q.· Okay.· So you should be held to a lower
·6· standard than perhaps other media organizations; is that
·7· true?
·8· · · ·A.· Yeah.
·9· · · ·Q.· I want to go back to your e-mail with -- with
10· Buckley and Anthony.
11· · · ·A.· Okay.
12· · · ·Q.· Do you know how -- do you know how Buckley felt
13· about the Sandy Hook coverage?
14· · · ·A.· I don't have any recollection of any
15· conversation with Buckley besides, you know, from the
16· content of our e-mail which you showed me.
17· · · ·Q.· Was --
18· · · ·A.· I have no direct recollection of conversations
19· with Buckley about Sandy Hook.
20· · · ·Q.· Was there any particular reason you chose those
21· two people to send this message to as opposed to any of
22· the other employees at Infowars?
23· · · ·A.· Yes.· Because I had saw those two as the most
24· senior managers at Infowars.
25· · · ·Q.· Okay.· Do you know what Anthony thought about

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·1· the Sandy Hook coverage?
·2· · · ·A.· Not specifically, but I presume they each had
·3· the same feelings as I did.
·4· · · ·Q.· Can you identify for me everyone at Infowars
·5· who had the same feelings you did about the Sandy Hook
·6· coverage?
·7· · · ·A.· I can't identify everybody, no, because I
·8· didn't speak to everybody about it.
·9· · · ·Q.· Can you identify anybody at Infowars who had
10· the same views as you?
11· · · ·A.· I would presume Anthony and Buckley from the
12· content of that e-mail and my recollection of Anthony's
13· viewpoints.
14· · · ·Q.· Do you recall ever having any discussions of
15· anybody, say, in the past two years at Infowars where
16· you discussed with a fellow employee your opinions on
17· the Sandy Hook coverage?
18· · · ·A.· I don't have any recollections.· It's possible,
19· but I don't recollect any direct conversations.
20· · · ·Q.· Okay.· When you got that e-mail from Lenny
21· Pozner back in 2013, did you let Alex know that
22· happened?
23· · · ·A.· From what I recall, no.· It's possible that I
24· told him, but I don't recall a conversation where I told
25· him.

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·1· · · ·Q.· Well, what I'm trying to figure out is if you
·2· got a communication from a Sandy Hook parent letting you
·3· know they were very distressed about what was going on,
·4· would you have passed that on to the owner of the
·5· company?
·6· · · ·A.· Not necessarily, no.
·7· · · ·Q.· All right.
·8· · · ·A.· I mean, we had conversations about it and
·9· whether it was a part of those conversations, it's
10· possible, but I don't recall exactly if it was.
11· · · ·Q.· Okay.· I have heard you say in the past before,
12· and I don't know if you still believe this, but I'm
13· wondering if you believe the idea that libertarians who
14· claim false flags never happen are almost as stupid as
15· conspiracy theorists who claim every event is a false
16· flag.
17· · · · · · · · Is that something you still believe today?
18· · · ·A.· Yeah.· I would agree that there are some
19· conspiracies that do happen, but that doesn't mean
20· everything is a conspiracy, so yes.
21· · · ·Q.· Okay.· I want to talk a little bit about Alex
22· Jones and what he thinks is a false flag.· So you're
23· aware Alex Jones has said 911 is a false flag, right?
24· · · ·A.· I'm aware that he said that, yes.
25· · · ·Q.· You're aware that he said Columbine was a false

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·1· flag?
·2· · · ·A.· Yeah.
·3· · · ·Q.· You're aware that he said Oklahoma City was a
·4· false flag?
·5· · · ·A.· Yeah.
·6· · · ·Q.· You're aware he said the Aurora shooting was a
·7· false flag.
·8· · · ·A.· Yeah.
·9· · · ·Q.· You're aware that he said the shooting of
10· Gabrielle Giffords was a staged, mind-control operation,
11· correct?
12· · · ·A.· Yeah.
13· · · ·Q.· He said the Boston bombing was a false flag.
14· · · ·A.· Correct.
15· · · ·Q.· He said there were -- there were tweets on --
16· from Infowars on Twitter saying that the Douglas High
17· School shooting in Parkland, Florida was a false flag,
18· correct?
19· · · ·A.· I don't know about the specific term, but yes.
20· Generally speaking, yes.
21· · · ·Q.· The November 2017 church shooting in Sutherland
22· Springs, Texas, Mr. Jones said that was a false flag.
23· · · ·A.· I don't recall him saying that, but I presume
24· it's possible, yes.
25· · · ·Q.· The Las Vegas mass shooting, Mr. Jones said was

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·1· a false flag.
·2· · · ·A.· Yes.
·3· · · ·Q.· Can you give me an example of a US mass
·4· casualty event, like a mass shooting, a bombing, or the
·5· like that Mr. Jones didn't say was a false flag?
·6· · · ·A.· I would say that the most recent ones post Las
·7· Vegas massacre, maybe the debates in Ohio shooting, the
·8· El Paso shooting.· Again, I don't know for sure, but I
·9· think after the Las Vegas one, he was more reticent to
10· call them false flags.
11· · · ·Q.· After I sued him, right?
12· · · ·A.· I don't know when you sued him.
13· · · ·Q.· April of 2018.· So in the past year, Mr. Jones
14· has stopped saying some of these things, correct?
15· · · ·A.· I wouldn't say he's stopped saying them.                          I
16· would say that there's a tendency to not directly say
17· that after the event.
18· · · ·Q.· Because in the past, he would say it within
19· hours of an event, correct, that it was a false flag?
20· · · ·A.· Well, yeah.· That happened, yeah.
21· · · ·Q.· You know who a Don Salazar is, right?
22· · · ·A.· Yeah.
23· · · ·Q.· Okay.· He wrote articles claiming that Leonard
24· Pozner's son didn't die, right?
25· · · ·A.· I don't recall the specific article.

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·1· · · ·Q.· You certainly recall, though, that a Don
·2· Salazar was heavily in that camp of pushing Sandy Hook
·3· conspiracy theories on Infowars, correct?
·4· · · ·A.· I'm aware that he wrote articles to that
·5· effect, yes.
·6· · · ·Q.· Okay.· You know who Owen Shroyer is, right?
·7· · · ·A.· Yeah.
·8· · · ·Q.· Do you know about Owen Shroyer's video in 2017
·9· which he claimed on what Neil Heslin said on Megyn Kelly
10· was impossible?
11· · · ·A.· I don't recall that exact video, no.
12· · · ·Q.· Okay.· Are you proud of Infowars' coverage of
13· Sandy Hook?
14· · · ·A.· No.· I disagreed with it from the start so I
15· can't say I'm proud of it, no.
16· · · ·Q.· You didn't stop it, though, did you,
17· Mr. Watson?
18· · · ·A.· Well, I aired my grievances, but I don't
19· control Infowars, so...
20· · · ·Q.· Correct.· You aired your grievances in an
21· e-mail that we see, but then after that e-mail in 2015,
22· you just kept working for the company that was doing
23· this, didn't you?
24· · · ·A.· Correct.
25· · · ·Q.· You had no objection to taking a paycheck from

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·1· the man who was leading a five-year harassment campaign
·2· against these Sandy Hook parents; isn't that true?
·3· · · · · · · · MR. JEFFERIES:· Objection, form.
·4· · · · · · · · THE WITNESS:· I don't believe that he led a
·5· harassment campaign against Sandy Hook parents.
·6· · · ·Q.· (BY MR. BANKSTON)· Really.· That's not
·7· something you believe today?
·8· · · ·A.· No.
·9· · · ·Q.· Tell me what steps you took to stop it.
10· Because what I want to get at is that I see an e-mail, I
11· see one e-mail that was produced to us when we asked for
12· all documents relating to Sandy Hook, and I've got one
13· e-mail from you raising your complaints.· And you say
14· you've had -- you remember a personal conversation with
15· Mr. Jones.
16· · · ·A.· I don't remember --
17· · · ·Q.· What else --
18· · · ·A.· -- the details.· I remember some conversations,
19· yeah.
20· · · ·Q.· What else did you do to try to put a stop to
21· this?
22· · · ·A.· Nothing.· I just aired my grievances, and I
23· thought we shouldn't be covering it from that angle and
24· said my peace and that was it.
25· · · ·Q.· Mr. Watson, do you have any remorse over what

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·1· Infowars did to these parents?
·2· · · · · · · · MR. JEFFERIES:· Objection, form.
·3· · · · · · · · THE WITNESS:· I don't believe Infowars
·4· directly did anything to these parents.· I believe that
·5· the people responsible for that harassment, which was
·6· vile, were not influenced by Infowars because it was
·7· already happening before we heavily covered the subject.
·8· So I don't think that Infowars was responsible for
·9· telling anybody or instructing anybody to harass Sandy
10· Hook parents.
11· · · ·Q.· (BY MR. BANKSTON)· Well, Infowars published a
12· map to where Lenny Pozner picked up his mail, said he
13· was trying to destroy the First Amendment and that we
14· needed to fight back.
15· · · · · · · · You understand that?
16· · · ·A.· I don't recall that, but, I mean, it's possible
17· that it happened, yes.
18· · · ·Q.· That's not good, is it, Mr. Watson?
19· · · ·A.· It's not good, no.
20· · · ·Q.· And when Infowars found out that Mr. Pozner was
21· running a group, a charity, to try to help these Sandy
22· Hook parents get content removed from Youtube, Infowars
23· reacted by leading a campaign against these complaining
24· parents, correct?
25· · · ·A.· I don't recall that.

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·1· · · ·Q.· Okay.
·2· · · ·A.· I have no knowledge of that.
·3· · · ·Q.· You know Mr. Pozner has had to move seven
·4· times.· Do you know that?
·5· · · ·A.· I'm aware that he had to move, yeah.
·6· · · ·Q.· Yeah.· You know that some of these parents
·7· can't even go to the graves of their children anymore.
·8· Do you understand?
·9· · · ·A.· I understand that and that's horrible.
10· · · ·Q.· Do you understand that Infowars played a role
11· in that?
12· · · · · · · · MR. JEFFERIES:· Objection, form.
13· · · · · · · · THE WITNESS:· I don't -- I haven't seen any
14· evidence that Infowars played a role in that from my
15· recollection.
16· · · ·Q.· (BY MR. BANKSTON)· Okay.· So -- so sitting here
17· in 2019, looking back at the past seven years of what
18· Infowars has done, your testimony here today is you
19· don't have any remorse or feel bad about that?
20· · · ·A.· I think it was the wrong approach to take.                        I
21· think it was very offensive and wrong to do so, and I
22· aired my grievances at the time.
23· · · ·Q.· Do you think Mr. Jones --
24· · · ·A.· That's all I could do.
25· · · ·Q.· Do you think Mr. Jones has any responsibility

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·1· to these parents now?· Do you think he should stand
·2· behind what he said and be held responsible to them?
·3· · · ·A.· I think he's retracted what he said and
·4· apologized and that's -- that's -- that was the right
·5· thing to do that's what he did.
·6· · · ·Q.· So you think that's all he has to do is --
·7· that's just --
·8· · · ·A.· Yes.
·9· · · ·Q.· -- an apology now, seven years later, is all he
10· owes these parents?
11· · · ·A.· Yes.
12· · · · · · · · MR. BANKSTON:· Okay, Mr. Watson.· Thank you
13· for your time.
14· · · · · · · · THE WITNESS:· Thank you.
15· · · · · · · · MR. JEFFERIES:· We reserve.· Thank you.
16· · · · · · · · (Proceedings concluded at 2:52 a.m.)
17
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25

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·1· · · · · · · · · · · · CORRECTION PAGE
·2· WITNESS NAME:· PAUL WATSON· · · · · DATE:· 08/21/2003
·3· PAGE· LINE· CHANGE· · · · · · · ·REASON
·4· __________________________________________________________
·5· __________________________________________________________
·6· __________________________________________________________
·7· __________________________________________________________
·8· __________________________________________________________
·9· __________________________________________________________
10· __________________________________________________________
11· __________________________________________________________
12· __________________________________________________________
13· __________________________________________________________
14· __________________________________________________________
15· __________________________________________________________
16· __________________________________________________________
17· __________________________________________________________
18· __________________________________________________________
19· __________________________________________________________
20· __________________________________________________________
21· __________________________________________________________
22· __________________________________________________________
23· __________________________________________________________
24· __________________________________________________________
25· __________________________________________________________

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·1· · · · · · · · · · · · SIGNATURE PAGE

·2
· · · · ·I, PAUL WATSON, have read the foregoing deposition
·3· and hereby affix my signature that same is true and
· · correct, except as noted on the correction page.
·4

·5
· · · · · · · · · · · · · ·____________________________
·6· · · · · · · · · · · · ·PAUL WATSON

·7

·8

·9· THE STATE OF TEXAS· · · )
· · COUNTY OF _____________ )
10

11·    · · ·Before me ____________________ on this day personally
· ·    appeared _____________________ known to me [or proved to
12·    me on the oath of __________________ or through
· ·    _____________________ (description of identity card or
13·    other document)] to be the person whose name is subscribed
· ·    to the foregoing instrument and acknowledged to me that
14·    he/she executed the same for the purposes and
· ·    consideration therein expressed.
15·    · · ·Given under my hand and seal of office this ______
· ·    day of _______________, 2019.
16

17
· · · · · · · · · · · __________________________________
18· · · · · · · · · · NOTARY PUBLIC IN AND FOR
· · · · · · · · · · · THE STATE OF T E X A S
19

20· My Commission Expires:
· · _______________________
21

22

23

24

25


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·1· · · · · · · · · CAUSE NO. D-1-GN-19-004651

·2·    NEIL HESLIN,· · · · · · · · ) IN THE DISTRICT COURT OF
· ·    · · · · · · · · · · · · · · )
·3·    · · · · · Plaintiff· · · · ·)
· ·    · · · · · · · · · · · · · · )
·4·    VS.· · · · · · · · · · · · ·) TRAVIS COUNTY, TEXAS
· ·    · · · · · · · · · · · · · · )
·5·    ALEX E. JONES, INFOWARS,· · )
· ·    LLC, and FREE SPEECH· · · · )
·6·    SYSTEMS, LLC· · · · · · · · ) 261ST JUDICIAL DISTRICT
· ·    · · · · · · · · · · · · · · )
·7·    · · · · · Defendants· · · · )

·8· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · ·DEPOSITION OF PAUL WATSON
·9· · · · · · · · · ·TAKEN NOVEMBER 27, 2019

10· · · ·I, JANALYN ELKINS, Certified Shorthand Reporter in

11· and for the State of Texas, hereby certify to the

12· following:

13· · · ·That the witness, PAUL WATSON, was duly sworn by the

14· officer and that the transcript of the oral deposition is

15· a true record of the testimony given by the witness;

16· · · ·That the deposition transcript was submitted on

17· _________________ to the witness or to the attorney for

18· the witness for examination, signature and return to KIM

19· TINDALL & ASSOCIATES, by __________________;

20· · · ·That the amount of time used by each party at the

21· deposition is as follows:

22· · · ·MARK D. BANKSTON - 1 hour 31 minutes

23· · · ·That pursuant to information given to the deposition

24· officer at the time said testimony was taken, the

25· following includes counsel for all parties of record:


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·1

·2· · · ·MARK D. BANKSTON - ATTORNEY FOR PLAINTIFF

·3· · · ·T. WADE JEFFERIES - ATTORNEY FOR DEFENDANT

·4· · · ·I further certify that I am neither counsel for,

·5· related to, nor employed by any of the parties in the

·6· action in which this proceeding was taken, and further

·7· that I am not financially or otherwise interested in the

·8· outcome of the action.

·9· · · ·Further certification requirements pursuant to Rule

10· 203 of TRCP will be certified to after they have occurred.

11· · · ·Certified to by me this 3rd day of December 2019.

12

13

14· · · · · · · · · · _____________________________________

15·    ·   ·   ·   ·   ·   ·   ·   ·   ·   JANALYN ELKINS, CSR NO. 3631;
· ·    ·   ·   ·   ·   ·   ·   ·   ·   ·   Expiration Date: 1-31-2021
16·    ·   ·   ·   ·   ·   ·   ·   ·   ·   16414 San Pedro, Suite 900
· ·    ·   ·   ·   ·   ·   ·   ·   ·   ·   San Antonio, Texas· 78232
17·    ·   ·   ·   ·   ·   ·   ·   ·   ·   PH:· 866-672-7880
· ·    ·   ·   ·   ·   ·   ·   ·   ·   ·   Firm Registration 631
18

19

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                          CAUSE NO. D-1-GN-18-006623

         SCARLETT LEWIS                    *   IN THE DISTRICT COURT OF
            Plaintiff                      *
                                           *
                                           *
         VS.                               *   TRAVIS COUNTY, TEXAS
                                           *
         ALEX E. JONES, INFOWARS,          *
         LLC, AND FREE SPEECH              *
         SYSTEMS, LLC,                     *
            Defendants                     *   53RD JUDICIAL DISTRICT


                        ORAL/VIDEOTAPED DEPOSITION

                                         OF

                                ROBERT JACOBSON

                           Wednesday, March 20, 2019



                   ORAL/VIDEOTAPED DEPOSITION OF ROBERT JACOBSON,

      produced as a witness at the instance of the Plaintiff,

      and duly sworn, was taken in the above-styled and

      numbered cause on Wednesday, March 20, 2019, from

      12:01 p.m. to 1:55 p.m., before Debbie D. Cunningham,

      CSR, reported via Machine Shorthand at the offices of

      Kirker Davis, LLP, 8310-1 N. Capital of Texas Highway,

      #350, Austin, Texas 78731, pursuant to the Texas Rules

      of Civil Procedure and/or any provisions stated on the

      record or attached hereto.
        22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                                         2                                                               4
 1              APPEARANCES                                   1        (Wednesday, March 20, 2019, 12:01 p.m.)
 2
 3 COUNSEL FOR PLAINTIFF:
                                                              2              PROCEEDINGS
 4      KASTER LYNCH FARRAR & BALL, LLP                       3           THE VIDEOGRAPHER: We are on the record
        1010 Lamar, Suite 1600                                4 for the videotaped deposition of Robert Jacobson taken
 5      Houston, Texas
        (T) 713.221.8300
                                                              5 on Wednesday, March 20th, 2019. The time is
 6         By: Mark D. Bankston, Esq.                         6 approximately 12:01 p.m.
              mark@fbtrial.com                                7           Will the court reporter please swear in
 7                  AND
                                                              8 the witness?
              William Ogden, Esq. (VIA PHONE)
 8                                                            9                ROBERT JACOBSON,
 9 COUNSEL FOR DEFENDANTS:                                   10     having been duly sworn, testified as follows:
10      GLAST, PHILLIPS & MURRAY, P.C.
                                                             11                EXAMINATION
        14801 Quorom Drive, Suite 500
11      Dallas, Texas                                        12 BY MR. BANKSTON:
        (T) 972.419.8300                                     13     Q. Good afternoon, Mr. Jacobson. Can you
12         By: Mark Enoch, Esq.
                                                             14 introduce yourself for our record?
              mkenoch@gpm-law.com
13                                                           15     A. I am Robert Jacobson.
14                                                           16     Q. Okay.
15 VIDEOGRAPHER:
                                                             17           MR. ENOCH: Mark, I’d like to ask a
        Joe Bazan
16                                                           18 couple of questions and make a comment real quickly.
17                                                           19           MR. BANKSTON: I don’t think you’ve been
18
                                                             20 given any orders from the Court to do any discovery.
19
20                                                           21 So, no, Mr. Enoch, you’re not asking this witness any
21                                                           22 questions.
22
                                                             23           MR. ENOCH: Mr. Jacobson --
23
24                                                           24           MR. BANKSTON: Mr. Enoch --
25                                                           25           MR. ENOCH: -- were you served with a
                                                         3                                                               5
 1                INDEX                                       1 subpoena?
 2                                                            2           MR. BANKSTON: Mr. Enoch, please point me
 3 APPEARANCES                           2                    3 to the order in which you’ve been allowed to do any
 4                                                            4 discovery or take any questions of any witness. Point
 5 EXAMINATION OF ROBERT JACOBSON:
                                                              5 me to it, Mr. Enoch.
 6 BY MR. BANKSTON                         4
                                                              6           MR. ENOCH: Please do not --
 7
                                                              7           MR. BANKSTON: Right now, point me to it.
 8
                                                              8           MR. ENOCH: Please do not interrupt.
 9 REPORTER’S CERTIFICATE                     86
10                                                            9           MR. BANKSTON: Then you’re going to --
11                                                           10 Mr. Enoch, stop talking to the witness.
12                                                           11           MR. ENOCH: Mr. Jacobson --
13             EXHIBIT INDEX                                 12           MR. BANKSTON: Mr. Enoch, this deposition
14 Exhibit Number Description              Page              13 will be suspended; and I will seek sanctions if you
15 Exhibit 1 Non-Disclosure Agreement        10              14 speak one more time to this witness.
16 Exhibit 2 12/17/18 Mark Enoch letter to 23                15           MR. ENOCH: Mr. Jacobson, have you been
            Robert Jacobson                                  16 served with a deposition subpoena?
17
                                                             17           MR. BANKSTON: Mr. Enoch, we’re going off
   Exhibit 3 Video clip              55
                                                             18 the record. We’re done. The deposition’s done.
18
                                                             19           MR. ENOCH: We are not going off the
19
                                                             20 record.
20
21                                                           21           MR. BANKSTON: The deposition is
22                                                           22 suspended.
23                                                           23           MR. ENOCH: We are not going off the
24                                                           24 record.
25                                                           25           MR. BANKSTON: You have no ability to

                                                       Res Ipsa
                                                   www.res-ipsa.com
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                                                        Robert      Exhibit B contd.
                                                                  Jacobson           Pg
                                                                              - 3/20/2019
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 1 take any testimony, Mr. Enoch. None. Zero.                    1            MR. BANKSTON: You sent him a letter
 2           MR. ENOCH: Mr. Bankston, I suggest                  2 telling him what his confidentiality agreements are,
 3 instead of getting emotional about it, if you’d let me        3 telling him to observe them. You have already had these
 4 ask this question --                                          4 communications with this witness. You have no reason to
 5           MR. BANKSTON: No, we’re not going to                5 ask this witness any questions today. The Court has not
 6 allow you any questions, Mr. Enoch.                           6 granted your client any discovery whatsoever, and you
 7           MR. ENOCH: Please don’t interrupt me                7 will stop interfering with this deposition. You have no
 8 again.                                                        8 reason to be asking this client about confidentiality
 9           MR. BANKSTON: Mr. Enoch, you have no                9 when you have already informed him of his obligations.
10 right to ask your questions. Before you ask that             10            MR. ENOCH: Mr. Bankston, I’m going to
11 question -- a single question to that witness again,         11 ask the question; and if you instruct him not to
12 direct me to what authority you think you have to --         12 answer --
13           MR. ENOCH: Did you serve a subpoena on             13            MR. BANKSTON: I don’t represent this
14 this witness?                                                14 witness.
15           MR. BANKSTON: I don’t -- I served a                15            MR. ENOCH: Mr. Jacobson, did you receive
16 Notice of Deposition on this witness.                        16 a letter from me in December or so advising of my
17           MR. ENOCH: Sir, if you didn’t serve a              17 client’s insistence that you maintain confidentiality
18 subpoena, he’s under an NDA and a confidentiality            18 under your agreement which you reached with Alex Jones
19 agreement. He is not excused from that. You did not          19 and with Free Speech?
20 provide him with an order from this Court. He cannot         20            THE WITNESS: I don’t recall.
21 testify today. You should have served him with a             21            MR. ENOCH: Okay. Do you still have
22 subpoena, and you did not.                                   22 those confidentiality and non-disclosure agreements?
23           MR. BANKSTON: Do you want to take this             23            THE WITNESS: I don’t recall. I don’t --
24 up with the judge --                                         24 I have -- since traumatic -- since whatever happened to
25           MR. ENOCH: No, sir.                                25 me at work, my files have been scattered around. I’d
                                                            7                                                                9
 1           MR. BANKSTON: -- or are you going to let            1 also like to add that that non -- that NDA was forced
 2 him testify today?                                            2 upon me after employment with Alex for over eight
 3           MR. ENOCH: That’s what I want to talk               3 years --
 4 with this witness about.                                      4            MR. ENOCH: Sir --
 5           MR. BANKSTON: You’re not going to talk              5            THE WITNESS: -- on the record.
 6 to him about it.                                              6            MR. ENOCH: Sir, you can -- I’m not
 7           MR. ENOCH: Well --                                  7 arguing with you.
 8           MR. BANKSTON: You don’t have the ability            8            MR. BANKSTON: Mr. Enoch, you --
 9 to do discovery. I’m going to ask this witness                9 objection.
10 questions. If you --                                         10            You’ve already done what you said you
11           MR. ENOCH: Mr. Bankston --                         11 were going to do. Don’t start have conversations with
12           MR. BANKSTON: If you instruct him not to           12 the witness. Don’t do it. Don’t influence his
13 answer and try to prevent this deposition from               13 testimony, Mr. Enoch.
14 happening, I will take it up to the Court.                   14            MR. ENOCH: Mr. Bankston, please stop
15           MR. ENOCH: Mr. Bankston, you are the one           15 interrupting me.
16 preventing me from asking any questions.                     16            MR. BANKSTON: Well, then I will put --
17           MR. BANKSTON: I am.                                17 first, before you ask your question --
18           MR. ENOCH: Then do what you need to do,            18            MR. ENOCH: Rule 99 --
19 sir.                                                         19            MR. BANKSTON: I object to the record --
20           MR. BANKSTON: That’s what we’re gonna              20 I object; and my objection is to the form of your
21 do.                                                          21 question.
22           MR. ENOCH: I’m going to make sure this             22            MR. ENOCH: Very well.
23 witness knows of his obligations under the                   23            Mr. Jacobson, are you familiar with the
24 non-disclosure agreement and confidentiality agreement       24 requirements in the documents that you signed that you
25 that he signed. Are you going to --                          25 maintain confidentiality unless you are subpoenaed or

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 1 ordered by the Court?                                           1 started, sir? Sir, I don’t have any representation
 2           THE WITNESS: I’m familiar with the                    2 here. When was my employment started? When was the
 3 action that was forced upon me after being employed by          3 first day I started working?
 4 him, with language in that NDA which includes things            4           MR. BANKSTON: Mr. Jacobson, let’s stop
 5 like "the known universe" and stuff. It’s garbage, and          5 for a second.
 6 I --                                                            6           (Simultaneous speakers.)
 7           MR. ENOCH: So you’re not --                           7           MR. BANKSTON: Mr. Enoch, stop. We’re
 8           THE WITNESS: No, no, I am not aware                   8 going off the record right now. We’re calling the
 9 of -- I know that it was forced upon me. I was employed         9 Court.
10 by Alex for over eight years, and they forced it upon          10           MR. ENOCH: Very well.
11 me. I was a -- so I don’t know where it is. I don’t            11           THE VIDEOGRAPHER: Off the record at
12 know what the language is, and I don’t recall anything.        12 12:07 p.m.
13           MR. ENOCH: I’d like to mark as an                    13           (Off the record from 12:07´to 12:08´p.m.)
14 exhibit, please, madam --                                      14            (The following is only on the
15           (Exhibit 1 marked.)                                  15          stenographic record:
16           MR. BANKSTON: Object to any exhibits                 16           THE REPORTER: Do you want the telephone
17 being offered by you.                                          17 conversation on the record?
18           Mr. Enoch, what are you doing? Let’s                 18           MR. BANKSTON: No, ma’am, you can go off
19 just talk. What do you think you’re doing?                     19 the record.
20           MR. ENOCH: I want to make sure --                    20           MR. ENOCH: No, I do not agree to go off
21           MR. BANKSTON: You’re not questioning                 21 the record.
22 this witness anymore.                                          22           MR. BANKSTON: Apparently they’re
23           MR. ENOCH: Mr. Bankston --                           23 transcribing this phone call.
24           MR. BANKSTON: This is not your                       24           MR. OGDEN: The court administrator?
25 deposition. You have no ability to do discovery. I’ve          25           MR. BANKSTON: Excuse me. If that’s to
                                                             11                                                                 13
 1 had extraordinary patience with allowing you to ask             1 the court administrator, yeah, can you give me Elissa or
 2 questions of the witness to ascertain whether he knows          2 Tiffaney’s number?
 3 there’s a confidentiality agreement. I will also be             3           MR. OGDEN: Sure. Elissa is 512.854 --
 4 asking him about that same confidentiality agreement.           4           MR. BANKSTON: No, keep the video on and
 5           Now that that’s been done, you have no                5 put it on Mr. Enoch.
 6 reason to be questioning him. The only reason you’re            6           854 --
 7 doing it is to influence this witness. That’s literally         7           MR. OGDEN: 9366.
 8 the only reason you’re doing it. I consider what you’re         8           MR. BANKSTON: -- 66. Thank you.)
 9 doing highly improper; and I am asking you once again:          9           THE VIDEOGRAPHER: On the record at
10 Knock this off, Mr. Enoch. What are you do?                    10 12:08 p.m.
11           MR. ENOCH: Mr. Jacobson, do you                      11           (Phone ringing followed by a recording
12 recognize Exhibit Number 1?                                    12 stating: Please leave a message for Elissa Hogan.
13           THE WITNESS: I don’t have any recall of              13 After the tone, please record your message.)
14 this exhibit.                                                  14           MR. BANKSTON: Have you got a separate
15           MR. ENOCH: Would you look at your                    15 number for Tiffaney?
16 signature on the last page and please identify that?           16           MR. OGDEN: Yes. 512.854.7278.
17           MR. BANKSTON: We need to go off the                  17           (Phone ringing followed by a recording
18 record and call the Court right now, Mr. Enoch --              18 stating: Please leave a message for Tiffaney Gould.)
19           MR. ENOCH: Do you recognize your                     19           MR. BANKSTON: All right. For the
20 signature?                                                     20 record’s purposes, I have attempted to --
21           MR. BANKSTON: -- and Mr. Jacobson.                   21           MR. OGDEN: Mark -- sorry -- try the
22           THE WITNESS: I -- I want you to notice               22 court administration.
23 the date.                                                      23           MR. BANKSTON: All right. Well, no.
24           MR. ENOCH: Did you --                                24 That’s a totally different office, Bill. That’s Judge
25           THE WITNESS: When was my employment                  25 Livingston’s court administration office.

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 1           MR. OGDEN: Well, right now --                          1 about this document is to show his signature. Now that
 2           MR. BANKSTON: Okay. Go back on mute.                   2 I’ve shown it to him, you may go ahead and question him.
 3           For the record, I have attempted to call               3 Under Rule 199 I don’t know of anything that prevents me
 4 the Court on an emergency basis. I have been unable to           4 from asking questions out of order, sir. Are you aware
 5 get ahold of Staff Attorney Elissa Hogan or Court                5 of anything?
 6 Coordinator Tiffany Gould.                                       6            MR. BANKSTON: Yeah, I am, actually.
 7           I have properly Noticed this deposition.               7            MR. ENOCH: The parties may attend and
 8 I am entitled to question the witness first. I’m                 8 ask questions.
 9 entitled to question the witness about the topics that           9            MR. BANKSTON: I actually agreed -- I
10 the Court ordered that I am allowed to question him on.         10 actually am aware of it under Chapter 26 of the Remedy
11           Mr. Enoch did not Notice this deposition.             11 Code. You have no right to conduct the deposition; only
12 He is not entitled to question the witness first. While         12 I do.
13 I attempted to stop him from this highly improper               13            MR. ENOCH: I disagree with that; and
14 conduct, he completely ignored me and continued to              14 rather than talk about it now --
15   question the witness, agitating the witness, who is not       15            MR. BANKSTON: We’ll take it up with the
16   represented by counsel.                                       16 Court. I agree.
17             This witness has agreed to appear                   17            MR. ENOCH: I think that would be an
18   voluntarily with the understanding that Plaintiff was         18 appropriate --
19   conducting discovery today, has never made any agreement      19            MR. BANKSTON: I agree. So, Mr. Enoch --
20   to appear here unrepresented to be inquizited [sic] by        20            MR. ENOCH: Please continue your
21   his former employee’s [sic] counsel. He never made that       21 deposition.
22   agreement.                                                    22            MR. BANKSTON: Well, Mr. Enoch, before I
23             Mr. Enoch knows it is highly improper to            23 stopped my deposition and you said that you were going
24   interrupt my questioning, prevent me from questioning         24 to ask him one thing about one document and whether it
25   the witness first, and just start his own examination.        25 was his signature; and now you say you’re done, when I
                                                              15                                                                 17
 1 That would be true under even normal deposition                  1 asked --
 2 circumstances; but today we are here on expedited                2            MR. ENOCH: And he refused to answer the
 3 discovery under the Texas Civil Participation Act, which         3 question.
 4 grants my client the right to discovery, to respond to a         4            MR. BANKSTON: He sure did.
 5 Special Motion to Dismiss brought my Enoch’s client. It          5            And when I asked you, "Okay. You’ve
 6 gives him absolutely no right to conduct any discovery.          6 asked him. Are you done," you completely ignored me,
 7           This deposition has been highly improper,              7 continued to berate this client -- I mean, this person;
 8 and so this is the agreement I’m going to make: I have           8 and he expressed to you that he was very --
 9 not been able to contact the Court. I’ve not been able           9            MR. ENOCH: Mr. --
10 to do that. Mr. Enoch insists on questioning. He won’t          10            MR. BANKSTON: Hold on, Mr. Enoch. He
11 let me question and just ignores what I’m doing. Under          11 expressed to you that he was agitated. Are you now
12 those circumstances and given the level of agitation by         12 saying you have asked the totality of the questions you
13 Mr. Jacobson, who is here today without counsel, I am           13 intend to ask this witness?
14 suspending the deposition unless Mr. Enoch agrees to            14            MR. ENOCH: Of course not.
15 cease his improper efforts to question this witness and         15            MR. BANKSTON: Then we are suspending
16 continues to act appropriately in just defending the            16 this deposition.
17 deposition.                                                     17            MR. ENOCH: I don’t know what I’m going
18           Mr. Enoch, if you cannot agree to do                  18 to ask or if I’m going to ask anything until you’re done
19 that, this deposition is suspended; and it will be added        19 with your examination, Mr. Bankston.
20 to my Motion for Sanctions being filed with the Court           20            MR. BANKSTON: Well, apparently you did
21 today. What would you like to do?                               21 because you started asking questions before I even
22           MR. ENOCH: Well, I don’t agree with                   22 started my examination, Mr. Enoch; and you know that’s
23 anything you just said. It was all self-serving. It             23 highly improper.
24 doesn’t accurately reflect what was happening.                  24            I’m asking you right now: Do you intend
25           The only reason I asked him a question                25 to question this witness today?

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 1            MR. ENOCH: Mr. Bankston, I am alarmed                 1 obligated to do to obtain his testimony. Therefore, I
 2 that this witness is not represented by counsel. I am            2 wanted to make sure he was aware of Exhibit 1. It does
 3 concerned that he is not aware of his rights and                 3 not allow his voluntarily participation in your
 4 obligations under legally binding contracts with my              4 discovery without a court order or subpoena.
 5 client. I want to make sure he is aware of those to              5           Now, with respect to questions of this
 6 protect himself or to get counsel of his own choosing.           6 witness, I can’t answer that now because I haven’t heard
 7            MR. BANKSTON: You’ve been able to do                  7 your questions. I think I’m entitled to ask questions
 8 that --                                                          8 under the Rules; you think I’m not. So go ahead and ask
 9            MR. ENOCH: Excuse me. Do not interrupt                9 your questions. Let’s see if I have questions. If I
10 me, again. I did not interrupt you.                             10 do, the Rules allow me to make my record. You can
11            It appears that you have not counseled               11 object as you wish, and then we can take it up with the
12 him one bit about this. You’re interested in getting            12 judge. We’ve spent a lot of time haggling right now.
13 him to voluntarily disclose information that he’s               13 We’ve taken the witness’ time. Ask your questions.
14 obligated not to do without court order. You did not            14           MR. BANKSTON: You’ve taken the witness’
15 serve a subpoena. You did not tell him of the effect of         15 time.
16 that under his agreement. He now knows it. You may              16           MR. ENOCH: Ask your questions.
17 continue your deposition.                                       17           MR. BANKSTON: You’ve taken my time,
18            MR. BANKSTON: Mr. Enoch, let’s make this             18 Mr. Enoch. That’s what you’ve done.
19 clear for the record: I do not have his agreement.              19           MR. ENOCH: Ask your questions.
20 When you sent this letter that informed him of that             20           MR. BANKSTON: And I can tell you this:
21 agreement --                                                    21 I don’t represent this witness; and when I’m done asking
22            MR. ENOCH: You do now.                               22 my questions, if he wants to get up and walk out of this
23            MR. BANKSTON: -- I asked you at the                  23 room without saying another word to you, I’m not
24 time -- didn’t I, Mr. Enoch -- I sent you a letter and          24 stopping him.
25 said, "Your letter’s very unclear. It could, in fact,           25           MR. ENOCH: On what basis?
                                                              19                                                                 21
 1 cause this witness to think he’s not supposed to testify         1           MR. BANKSTON: I’m not stopping him. I
 2 today. Wouldn’t it be best if you disclosed to                   2 have no control over this man, Mr. Enoch. I have none.
 3 everybody what that agreement is?" You didn’t do that.           3 I don’t represent him.
 4 You waited until we walked into this room to put it down         4           MR. ENOCH: Well, you understand that
 5 on the table.                                                    5 your Notice says we’re here from day to day; and you
 6            You say you have every right to inform                6 understand cross-examination is allowed.
 7 this client -- or this person of his obligations and you         7           MR. BANKSTON: Yeah. And what do you
 8 were worried that he doesn’t understand what those were.         8 want me to do to stop him? What do you want me to do --
 9 I understand that, which is why you sent that letter,            9           MR. ENOCH: Why don’t you just ask your
10 which I think is a perfectly reasonable thing to do; and        10 questions?
11 if you wanted to call this witness, talk to him, or             11           MR. BANKSTON: Should I chain him to the
12 contact him, that’s perfectly appropriate. To ambush            12 chair, Mr. Enoch?
13 him at the moment of his testimony is not appropriate,          13           MR. ENOCH: Mark, please start asking
14 and it is not appropriate to start asking questions             14 your questions. Let’s get on with the deposition. Will
15 before I even ask questions.                                    15 you do that, please?
16            MR. ENOCH: Mr. --                                    16           MR. BANKSTON: Yeah, now we’ll do that,
17            MR. BANKSTON: If you intend to ask more              17 Mr. Enoch. We sure will.
18 questions today, let me know because we will suspend the        18           MR. ENOCH: Do.
19 deposition so that Mr. Jacobson can get counsel and so          19     Q. (BY MR. BANKSTON) Mr. Jacobson, I’m really
20 that we can take it up with the Court to see if your            20 sorry about all that.
21 actions today were proper. Do you want to ask questions         21     A. Yes, sir.
22 today or not, Mr. Enoch?                                        22     Q. I believe the only -- I’m not sure if we got
23            MR. ENOCH: Mr. Bankston, I did not know              23 this question out. Did you introduce yourself for the
24 until my first question of this witness that you had not        24 record?
25 served him with a subpoena, as I think you were                 25     A. Yes, sir. I am Robert Jacobson.

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 1     Q. Okay. Did you used to work at InfoWars?                   1     Q. Have you abided by those obligations?
 2     A. Yes, sir.                                                 2     A. Yes, sir. In fact, may I add something? My
 3     Q. When were you hired by InfoWars?                          3 understanding of the non-disclosure is not to reveal any
 4     A. I was hired in 2004 by Alex Jones.                        4 company secrets. I don’t think abuse or abusive
 5     Q. Do you know what corporate entity you were                5 behavior inside the company constitutes company secrets.
 6 hired by?                                                        6 I don’t think misbehavior inside the company by an adult
 7     A. At the time I felt I was hired by Alex Jones,             7 who runs the business constitutes company secrets. In
 8 and he was an independent proprietor.                            8 fact, I’m here to try to bring light to the truth of
 9              MR. ENOCH: Objection, nonresponsive.                9 abusive behavior inside the walls of InfoWars; and I
10     Q   (BY MR. BANKSTON) Do you know today what                10 don’t think anything I say today violates the NDA, which
11 entity your former employer claims you worked for?              11 would be constituting of company secrets, their formulas
12     A. Yes.                                                     12 in how they produce the news. Nothing like that is
13     Q. What entity is that?                                     13 going to be revealed today. What will be revealed is
14     A. Free Speech Systems, LLC.                                14 abusive behavior and the behavior of Mr. Jones and his
15     Q. Okay. When did your employment end?                      15 staff.
16     A. My employment ended on May 1st of 2017 -- or             16            MR. ENOCH: Objection, nonresponsive.
17 April 30th.                                                     17     Q    (BY MR. BANKSTON) Did you understand that
18     Q. So am I right that that’s over a decade that             18 there was a judge here in Travis County who issued an
19 you were at InfoWars?                                           19 order concerning this deposition today going forward?
20     A. I was there for around 13 years,                         20     A. No -- not sure, actually.
21 approximately.                                                  21     Q. Okay.
22     Q. As an employee, did you have a confidentiality           22     A. Fuzzy.
23 agreement of any kind?                                          23     Q. Sitting here today, do you recall seeing a
24     A. Not for the first six years or so.                       24 court order concerning your deposition?
25     Q. Okay. So does that mean around 2010 or so the            25     A. Yes.
                                                              23                                                                 25
 1 idea of confidentiality came up?                                 1     Q. Okay. Did you feel comfortable appearing for
 2     A. Confidentiality was passed around the office              2 deposition without a court order?
 3 but was never given to me until years after; and it was          3            MR. ENOCH: Objection to form. Assumes
 4 more of a -- you know, sort of an ultimatum, sort of             4 facts not in evidence. Leading.
 5 suggested, putting my livelihood at risk.                        5            You can go ahead and answer subject to
 6     Q. Apparently -- I wanted to show you something I            6 those objections.
 7 wanted to mark as Exhibit 1, but I believe Mr. Enoch has         7     A. Again, I’m not sure of that. I mean, with or
 8 already highjacked that exhibit. So I am going to mark           8 without a court order, I just feel it’s the right thing
 9 this as Exhibit 2.                                               9 to do.
10              MR. ENOCH: Object to the sidebar. Move             10     Q    (BY MR. BANKSTON) When you first joined
11 to strike.                                                      11 InfoWars, did you believe in its mission?
12              (Exhibit 2 marked.)                                12     A. For the most part, yes.
13     Q. (BY MR. BANKSTON) Mr. Jacobson, I’ve handed              13     Q. Tell me about the kinds of stories or things
14 you what’s been marked as Exhibit 2. Have you ever seen         14 that you wanted to be working on when you first came to
15 a copy of that before, or do you remember seeing that?          15 InfoWars.
16     A. Yes.                                                     16     A. When I first --
17     Q. I want to direct you to the second page. I’m             17            MR. ENOCH: Objection, form.
18 going to read the paragraph that appears on this page 2.        18     A. When I first arrived at InfoWars, my
19 "You are reminded that you have important continuing            19 understanding of InfoWars and Alex’s subject matter was
20 obligations under your confidentiality non-disclosure           20 the occult, esoteric politics, let’s say, what’s going
21 agreements with my client. You are expected to strictly         21 on behind the curtain, things that politicians don’t
22 observe those duties and obligations." Do you feel like         22 tell us in exposˆ', in that fashion. Fringe media, off
23 you understand what obligations are being referred to           23 the mainstream, but still honest was my impression.
24 here?                                                           24     Q. (BY MR. BANKSTON) Were you passionate about
25     A. I do.                                                    25 journalism at that time?

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 1            MR. ENOCH: Objection to form.                         1 ask you not to answer based on a privilege. That’s your
 2     A. I was passionate about filmmaking, and I                  2 choice. That’s my client trying to protect a privilege;
 3 wanted to be a documentary filmmaker. So in that                 3 but when I object, say "Objection, form or leading," you
 4 aspect, yes, that does, I believe, fall under a broader          4 can go ahead and answer.
 5 umbrella of journalism. So when it comes to documentary          5           THE WITNESS: Okay.
 6 films, I was on board.                                           6     Q. (BY MR. BANKSTON) Would you like me to ask
 7            MR. ENOCH: Objection, nonresponsive.                  7 that question again?
 8     Q. (BY MR. BANKSTON) Did you want to do good                 8     A. Yes, please.
 9 journalism?                                                      9     Q. In those first few years at InfoWars, were you
10     A. I did.                                                   10 comfortable with the style of journalism and the stories
11            MR. ENOCH: Objection, form.                          11 you were working on?
12            MR. BANKSTON: What’s the form?                       12           MR. ENOCH: Same objections.
13            MR. ENOCH: Well, under the Rules, I’m                13     A. I was comfortable with the films I was
14 not sure it’s -- I think you’re leading the witness; and        14 producing and helping Alex produce. I found them
15 I think -- I’m not sure if I’m supposed to say                  15 interesting; and I found that Alex did present enough
16 objection, leading or form. I think I’m supposed to say         16 expert testimony that it held water, in my mind.
17 both. So that’s my objection. You’re leading the                17     Q    (BY MR. BANKSTON) All right, Mr. Jacobson.
18 witness.                                                        18 You understand this lawsuit has to do with Sandy Hook?
19            MR. BANKSTON: Okay.                                  19     A. Yes, sir.
20            Can you scroll up to my last question?               20     Q. I want to direct your attention then to that
21            (Reporter complies.)                                 21 event, which is end of 2012, very beginning of 2013.
22     Q. (BY MR. BANKSTON) Mr. Jacobson, what does                22     A. Okay.
23 good journalism mean to you?                                    23     Q. For that time period, the start of 2013, by
24     A. Good journalism means an objective reporting             24 that time, had the company changed, in your mind?
25 of facts. Somebody who can -- or if the journalist can          25     A. Absolutely.
                                                              27                                                                 29
 1 remove his emotion and theory as much as possible from           1           MR. ENOCH: Objection, form. Leading.
 2 reporting what he sees or she sees with their own eyes           2     A. Absolutely.
 3 and ears, empirical evidence reported to the public with         3     Q. (BY MR. BANKSTON) Okay. Mr. Jacobson, I have
 4 very little bias.                                                4 a feeling that Mr. Enoch is going to object to just
 5     Q. In your mind, what is the relationship between            5 about every question I ask.
 6 good journalism and corroboration of facts?                      6     A. Okay.
 7     A. I think good journalism, if you’re going to               7     Q. So what I would like you to do to accommodate
 8 have a corroboration of facts, I believe the more                8 this, because otherwise it’s going to be super-
 9 witnesses and points of view of the same action or               9 disruptive on the deposition, take a couple-of-second
10 activity that is being reported on, the better. And,            10 pause before you answer my questions because he’s going
11 for example, just theoretically thinking, one person            11 to step on your answers. Okay?
12 can’t see both sides of the cup at once. So when two            12     A. Okay.
13 people are observing it at the same time, you get a             13     Q. If you can, just take a second pause. And
14 better description of the object in question. And so            14 what I’m going to do is ask you that question again
15 the more witnesses that have viewed it, the more                15 because it got kind of disrupted, and I think
16 impressions we can get after the fact of what has               16 Mr. Enoch’s going to object again.
17 actually happened with the object that we’re observing.         17     A. Okay.
18     Q. In your first few years at InfoWars were you             18     Q. And just for reminders, we may in typical
19 comfortable with the style of journalism and the stories        19 conversations tend to try to finish each other sentences
20 you were working on?                                            20 or talk over each other, not to interrupt each other,
21            MR. ENOCH: Objection, form and leading.              21 but to help us get to the point faster. It makes it
22            Anytime I make an objection like that,               22 very difficult on her.
23 sir, you can go ahead and answer.                               23     A. Right.
24            THE WITNESS: Okay.                                   24     Q. She has trouble writing down when two people
25            MR. ENOCH: Let me say one thing. I may               25 are speaking at the same time. So this is why, if you

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 1 can, if you can take a pause -- you might even want to           1 InfoWars’ consistency or process for corroborating
 2 check and look over to your former employer’s counsel to         2 facts, in your mind, had that changed between the start
 3 see if there is going to be an objection -- that way we          3 of your employment and the end of your employment?
 4 can keep the record clear.                                       4            MR. ENOCH: Objection to form and --
 5      A. (Witness nods head.)                                     5 object to form.
 6      Q. At the start of 2013, around that time period,           6      A. I feel that from the beginning, when I first
 7 in your mind, had the company changed?                           7 started working there, the fact collection was mostly
 8            MR. ENOCH: Objection to form, leading.                8 Alex and -- mostly himself was the researcher. By the
 9      A. Yes.                                                     9 end, Alex let a lot of others do research for him; and I
10      Q    (BY MR. BANKSTON) Tell me about that.                 10 don’t know if these people were specifically qualified
11      A. When I first started working for InfoWars, it           11 or experienced enough to do that kind of work.
12 was an operation with just a handful of employees as far        12      Q   (BY MR. BANKSTON) A few months back do you
13 as I know, possibly five or less; maybe a few more than         13 remember calling me about this case?
14 I’m aware of. But I was working out of my own private           14      A. Yes, sir.
15 office. Alex had a tiny office in the far south of              15      Q. Why’d you do that?
16 Austin. He had one employee that I knew of, Ryan                16      A. I was concerned. I wanted to make sure -- I
17 Schlickeisen; another employee who I’m not sure of her          17 felt I was part of something, just being in that
18 name. I can’t really recall. But she was a woman who            18 building, when all this was going down. I felt terrible
19 tended his warehouse, which was in the far south side of        19 what happened, even though I, myself, know I wasn’t
20 Austin. And I’m not even sure where Alex was                    20 directly involved in, you know, putting this out there
21 broadcasting out of.                                            21 directly, just being in the building, I feel complicit.
22            In 2010 he had a full-size facility. He              22 I feel I have to right a wrong that I was involved in.
23 had, as far as I know, over 60 people on his staff, if          23 Even though I was part of that wrong, I want to at least
24 not more; and he had a full-blown studio. So it wasn’t          24 stack a couple of correct decisions up with some of the
25 just different. It was dramatically different in every          25 mistakes that I have made in the past.
                                                              31                                                                 33
 1 way, shape, and form.                                            1       Q. When you say that you weren’t directly
 2      Q. One of the aspects I want to direct your                 2   involved in putting this out there, what is "this"?
 3 attention to is whether you, in your mind, felt that             3       A. "This" would be Sandy Hook. Anything that
 4 anything had changed in the company with regards to how          4   InfoWars put out concerning Sandy Hook, I had absolutely
 5 it performed journalism.                                         5   no involvement in.
 6      A. I do.                                                    6       Q. During your employment, were you exposed to
 7      Q. What are your thoughts about that?                       7   InfoWars’ coverage of Sandy Hook?
 8      A. I --                                                     8       A. During my employment, I had other assignments
 9            MR. ENOCH: Objection, form and -- yeah,               9   to do; and I wouldn’t much pay attention to the show.
10 objection, form.                                                10   However, when I did and I heard about Sandy Hook, it
11            Excuse me. Go ahead.                                 11   actually bothered me.
12      A. I feel that Alex’s formula definitely changed.          12       Q. Tell me what you mean by that. What did you
13 He changed his formula from a complement of the website         13   hear that bothered you?
14 and films to no films anymore and more or less the              14       A. I heard them making accusations based on
15 radio -- the website, radio show, and films was the             15   extremely narrow cross-sections of information, that I
16 original form. He took the film part out, which I               16   did my best to make the writers and the staff aware that
17 felt -- I felt the films were part of his kind of thing;        17   what they were doing was speculation based on not enough
18 and he went more radio show. And that’s it -- website,          18   information. It bothered me. That bothered me that I
19 as far as I know. So in that form of media, I kind of           19   felt they had no concept of journalist ethics.
20 just felt like he just ditched an important part of his         20       Q. Did you tell anyone at InfoWars your feelings
21 media. That’s all.                                              21   about the Sandy Hook coverage?
22            THE VIDEOGRAPHER: Would you mind                     22       A. I attempted to make it as clear as possible to
23 clipping it just a little bit higher?                           23   the writers that there is something called journalist
24            Thank you.                                           24   ethics and how what they were doing was in a direct
25      Q    (BY MR. BANKSTON) Mr. Jacobson, in terms of           25   violation of that anytime I caught wind of the Sandy

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 1 Hook story on InfoWars.                                          1     A. Yes.
 2            Now, mind you, I would like to add that               2            MR. ENOCH: Objection to form and
 3 it’s not something I was thinking about all the time,            3 leading.
 4 considering I had other things to do. I’d be working on          4     A. Yes, I do.
 5 other projects. But when it would come on the screen, I          5     Q. (BY MR. BANKSTON) Okay. Tell me who the
 6 would make it my business to go in to the writers and            6 employees are that you developed opinions about their
 7 explain to them as clearly as possible that there is             7 work on Sandy Hook.
 8 journalist ethics; and I tried to demonstrate what those         8     A. First and foremost would be Rob Dew.
 9 ethics are and why they are violating them and what the          9     Q. Okay. Let’s start with Mr. Dew. What is your
10 damage could possibly be. In fact, I remember -- I must         10 observations about Mr. Dew’s journalistic integrity as
11 have been in that room four to five times, at least, and        11 it respects Sandy Hook allegations?
12 only to be received with laughter and jokes.                    12            MR. ENOCH: Objection to form.
13            MR. ENOCH: Objection, nonresponsive.                 13     A. I feel that Mr. Dew was overzealous to receive
14     Q   (BY MR. BANKSTON) When you say "the room," is           14 any type of hint that perhaps this might have been a
15 there a specific room you’re talking about?                     15 phony act, a staged act. Any type of whisper that came
16     A. The room I’m talking about is the room in                16 through to him, he would celebrate.
17 which the writers worked.                                       17            MR. ENOCH: Objection, nonresponsive.
18     Q. About how many writers are we talking about              18     Q    (BY MR. BANKSTON) Do you know Adan Salazar?
19 involved in working on Sandy Hook?                              19     A. Yes, sir.
20            MR. ENOCH: Objection to form.                        20     Q. Have you seen or did you ever observe any work
21     A. I believe that there were two -- one primary             21 being done by Adan Salazar on Sandy Hook?
22 writer and perhaps one other that were definitely               22     A. Yes.
23 involved in Sandy Hook.                                         23     Q. Do you have an opinion as to whether that work
24            MR. BANKSTON: Just so I can possibly                 24 was done responsibly by Mr. Salazar?
25 clear up that objection, what is the objection to how           25            MR. ENOCH: Objection to form.
                                                              35                                                                 37
 1 many writers worked on Sandy Hook?                               1     A. I do have an opinion of that.
 2            MR. ENOCH: You haven’t established he                 2     Q. (BY MR. BANKSTON) Can you tell me what facts
 3 has personal knowledge, sir.                                     3 and observations you may have seen that would inform
 4            MR. BANKSTON: Okay.                                   4 that opinion of Mr. Salazar?
 5     Q   (BY MR. BANKSTON) Just to help clear up this             5            MR. ENOCH: Objection to form.
 6 issue -- and I believe this has been asked if; so you            6     A. Like I’ve stated already, whenever the subject
 7 have to answer it again, I’m sorry -- but you were               7 came up, I would immediately clarify to the writers that
 8 exposed to InfoWars’ coverage of Sandy Hook?                     8 there is a journalistic ethics that they’re violating;
 9     A. Yes.                                                      9 and what I’ve pointed out to Adan specifically is that
10     Q. You would know how many people are working on            10 you’re taking the word of one witness primarily and a
11 Sandy Hook --                                                   11 couple of speculative other facts and calling it the
12            MR. ENOCH: Objection --                              12 truth without actually going down and investigating it
13     Q. -- inside InfoWars?                                      13 ourselves or actually going with our own reporters and
14            MR. ENOCH: Objection to form and                     14 corroborating what these people are saying.
15 leading.                                                        15            I made it aware to Adan that Wolfgang
16     A. I’m aware of every staff member that worked at           16 Halbig could have a lot of issues that we’re not
17 InfoWars as of up to May of 2017.                               17 considering, that by taking the word of this one man so
18     Q. (BY MR. BANKSTON) When it came to coverage of            18 heavily with such a great accusation that he’s accusing
19 Sandy Hook and the work that was being done by the              19 people of is so irresponsible, so damaging. I asked him
20 writers, did you see things that you would consider             20 to consider the size of the audience.
21 reckless?                                                       21            And Adan Salazar responded with -- and
22     A. Yes.                                                     22 I’m going to quote him because he said it to me many
23     Q. Can you tell me, are there any individual                23 times -- "I want to print up a T-shirt that says,
24 employees that you believed engaged in reckless conduct         24 ’Halbig was right.’ I want bumper stickers that say,
25 regarding Sandy Hook?                                           25 ’Halbig was right,’" to a laughing room.

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 1           MR. ENOCH: Objection, nonresponsive.                   1        A. I don’t know. As far as I know, it’s the
 2     Q. (BY MR. BANKSTON) Do you feel that                        2 people handling who were handling the Sandy Hook story.
 3 Mr. Salazar ever mocked your concerns about Sandy Hook           3             MR. ENOCH: Objection, nonresponsive.
 4 coverage?                                                        4             MR. BANKSTON: What’s the form to asking
 5     A. Absolutely.                                               5 him who Halbig’s point of contact is?
 6           MR. ENOCH: Objection to form.                          6             MR. ENOCH: Speculation, sir.
 7     A. Absolutely.                                               7             Mr. Bankston, when I -- when you ask me a
 8     Q    (BY MR. BANKSTON) Let’s talk about -- you               8 question, the Rules require that I respond to you
 9 mentioned the name Mr. Halbig, correct?                          9 clearly. I did so.
10     A. Yes, sir.                                                10             MR. BANKSTON: You did.
11     Q. Can you briefly describe who Mr. Wolfgang                11             MR. ENOCH: No reason to chuckle, sir.
12 Halbig is?                                                      12             MR. BANKSTON: It’s funny, Mr. Enoch.
13     A. As far as I can recall, whenever Sandy Hook              13 I’m sorry if the things that happen in this deposition
14 was on the air or Alex or whoever was hosting was               14 are funny.
15 covering Sandy Hook, it was always accompanied by               15             MR. ENOCH: I think it’s unprofessional,
16 Mr. Halbig. And when I took a look at Mr. Halbig and            16 sir.
17 considering he was the one and only person and the              17             MR. BANKSTON: I think it’s
18 claims -- or as far as I know, he was the one and only          18 unprofessional for a witness to talk about having
19 person because whenever I would tune in, he was always          19 information from CIA kill teams about Las Vegas, and
20 on.                                                             20 that’s why I chuckle at it.
21           So based on that impression, I would say              21             I think it’s unprofessional for you to
22 he was the one and only person. And every time I saw            22 make constant objections even when they have no legal
23 him, I saw somebody that if he was amongst a group, a           23 basis. That’s why occasionally, yes, you will see the
24 large group of people, okay; but a one and only person,         24 corners of my mouth turn and smile.
25 I felt that this person may have mental problems. This          25             I’m obviously asking about his personal
                                                              39                                                                 41
 1 person may have a lot of emotional problems. He could            1 knowledge. That’s what I’m asking him about. So that
 2 be a lonely man. He could be somebody looking for                2 is why I smile.
 3 attention. There could be a lot of questions to be               3        Q. (BY MR. BANKSTON) Are you familiar with the
 4 asked before we present forward as a news organization           4 types of claims made by Mr. Halbig?
 5 such a heavy accusation as accusing the parents of               5        A. Some of them.
 6 slaughtered children of being liars.                             6        Q. I want to ask you about some claims and if you
 7           I think that perhaps we should have asked              7 know what they are. Have you ever heard the claim from
 8 the question "what is Wolfgang Halbig’s story" before we         8 Mr. Halbig or repeated from Mr. Halbig by somebody else
 9 put this story to the public. This story should never            9 that the school was actually closed before the shooting?
10 have been put forward to the public at all without --           10             MR. ENOCH: Objection to form.
11 and if they knew ethics in journalism, they would have          11        A. I have heard, yes.
12 known that immediately; but they have absolutely no             12        Q. (BY MR. BANKSTON) Did you see anything in
13 ethics experience, in my opinion. Therefore, the story          13 your time at InfoWars that would make you think that
14 went forward; and the damage was caused.                        14 people were acting irresponsibly as it concerns that
15           MR. ENOCH: Objection, nonresponsive.                  15 particular claim?
16     Q. (BY MR. BANKSTON) Mr. Jacobson, I think it’s             16             MR. ENOCH: Objection to form.
17 fair to say you have strong opinions about Mr. Halbig?          17             You may answer.
18     A. I do. I have strong opinions about his                   18        A. Yes.
19 validity as a sole witness.                                     19        Q. (BY MR. BANKSTON) What kinds of things did
20     Q. Okay.                                                    20 you see -- excuse me. Scratch that.
21           MR. ENOCH: Objection to form -- same                  21             Who did you see acting irresponsibly with
22 objection, nonresponsive.                                       22 respect to that claim?
23     Q. (BY MR. BANKSTON) Who is Halbig’s points of              23             MR. ENOCH: Objection to form.
24 contact at InfoWars? Who did he talk to?                        24        A. Mr. Robert Dew and Mr. Adan Salazar.
25           MR. ENOCH: Object to form.                            25        Q. (BY MR. BANKSTON) Are you familiar with the

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 1 claim that no paramedics were allowed inside of the               1 that kind of behavior.
 2 building?                                                         2      Q. Okay. Do you know who Dan Bidondi is?
 3      A. I mean, I’ve heard it.                                    3      A. Yes, sir.
 4      Q. Okay. It’s not something you had direct                   4      Q. Can you describe what Mr. Bidondi has ever
 5 exposure to?                                                      5 done for InfoWars?
 6      A. No, outside of me just briefly watching it on             6      A. Mr. Bidondi worked for InfoWars briefly, for
 7 a video as if I was audience.                                     7 about a year or so; and he served as an on-air reporter
 8      Q. Have you ever heard the allegation that there             8 and journalist.
 9 are photographs of children who are supposedly dead who           9      Q. Okay. Are you aware if Mr. Bidondi ever went
10 are actually alive?                                              10 to Newtown to cover Sandy Hook?
11      A. Yes, I’ve heard that allegation.                         11      A. I’m not sure. I don’t know.
12      Q. Do you -- from what you have seen inside of              12      Q. Have you ever met Mr. Bidondi?
13 InfoWars, have you seen anything that has caused you to          13      A. Yes, sir.
14 form an opinion about that allegation?                           14      Q. Okay. If you were going to pick someone to
15            MR. ENOCH: Objection to form.                         15 treat this story with respect and sensitivity, would you
16      A. I mean, you know, my opinion is it’s so                  16 pick Mr. Bidondi?
17 distasteful -- and it happened a while ago, that -- you          17      A. No, sir.
18 know, it happened a while ago. So it was just all these          18            MR. ENOCH: Objection to form and
19 things seem to -- all of the little allegations that             19 leading.
20 Halbig and all these other people set forward, I sort of         20      A. No, I wouldn’t.
21 see it as individual cross-sections of information that          21      Q. (BY MR. BANKSTON) Can you explain why not?
22 each one was improperly handled.                                 22            MR. ENOCH: Same objections.
23            MR. ENOCH: Objection, nonresponsive.                  23      A. Because Mr. Bidondi is very emotional and
24      Q. (BY MR. BANKSTON) Did you ever voice any                 24 when -- and he’s also very belief based and I always
25 criticism of Mr. Halbig specifically while you were at           25 viewed him as more of somebody who could be a character
                                                               43                                                                 45
 1 InfoWars?                                                         1 than more of a journalist. And to send somebody like
 2      A. Yes, I did.                                               2 that with such a serious accusation to cover that,
 3      Q. Who did you voice that criticism to?                      3 especially to talk and conversate with Mr. Halbig,
 4      A. Adan Salazar.                                             4 knowing Bidondi, how impassioned he gets over these
 5      Q. Are you familiar with the Sandy Hook parent               5 things and how impressionable he is with these kinds of
 6 Leonard Pozner? Have you heard that name?                         6 scenarios, especially with conspiracy kinds of
 7      A. I have heard the name.                                    7 situations -- Mr. Bidondi gloms onto conspiracy kind of
 8      Q. Okay. Have you ever seen written                          8 situations; he really magnates towards them -- no, I
 9 communications, like e-mails, from Mr. Halbig? Have you           9 wouldn’t because he would, I think, bias the situation
10 seen what his e-mails look like?                                 10 and not fairly report it and be over-emotional.
11      A. No, I haven’t.                                           11            MR. ENOCH: Objection, nonresponsive.
12      Q. Okay. Do you know if Mr. Halbig ever came to             12      Q. (BY MR. BANKSTON) When you say that
13 InfoWars? Did he ever came to the Austin location?               13 Mr. Bidondi tends to glom onto conspiracy scenarios, can
14      A. I’m not aware of that.                                   14 you tell me what you mean by that?
15      Q. Okay. Do you happen to know whether anybody              15            MR. ENOCH: Objection to form.
16 ever from InfoWars went to visit Mr. Halbig in Florida?          16      A. I mean that he really -- you know, a lot of
17      A. Again, I’m not sure.                                     17 his programming when he was working at InfoWars had to
18      Q. Okay. Do you know anything about InfoWars                18 do with the occult and all this stuff; but a lot of it
19 helping raise money for Mr. Halbig?                              19 also has to do with, for example, a big claim to fame
20            MR. ENOCH: Objection to form.                         20 for Dan Bidondi would be the Boston -- his appearance as
21      A. I’m unaware of anything like that.                       21 a reporter for the Boston bombing. He made a national
22      Q   (BY MR. BANKSTON) Okay. Are you aware of                22 spectacle of himself and in an unprofessional way,
23 Mr. Halbig ever engaging in any sort of harassing                23 which, of course, made him a celebrity at InfoWars.
24 behavior towards people involved in Sandy Hook?                  24            MR. ENOCH: Objection, nonresponsive.
25      A. I’ve never heard of Halbig himself engaging in           25      Q. (BY MR. BANKSTON) When you say that him

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 1 making a spectacle made him a celebrity at InfoWars, can         1 the spectrum, asking abrasive questions about Hillary
 2 you tell me what you mean by that?                               2 Clinton. Now, that’s not journalism. That’s agitation;
 3            MR. ENOCH: Objection to form, leading.                3 and that is a clear-cut case example of them swapping
 4      A. He basically accused -- instead of asking a              4 out the words "agitation" for "journalism" and vice
 5 question at the Boston bombing situation, he made an             5 versa.
 6 accusation in which case he was escorted out of the              6            MR. ENOCH: Objection, nonresponsive.
 7 building in typical, you know, journalist activist               7      Q. (BY MR. BANKSTON) Have you ever seen anyone
 8 style, which has been popularized by InfoWars; and               8 at InfoWars engaged in conduct that you believed was
 9 because he did that, he was much celebrated by the               9 designed to elicit a negative emotional reaction from
10 people at InfoWars. And for a moment there, you know,           10 the subject being interviewed?
11 he was on the top of his game, I suppose, inside that           11            MR. ENOCH: Objection to form and
12 office.                                                         12 leading.
13            MR. ENOCH: Objection, nonresponsive.                 13      A. I’ve never been involved in, let’s say, people
14      Q. (BY MR. BANKSTON) When you were at InfoWars,            14 planning such things. However, I’ve never worked with
15 in general, if a person did something in public that was        15 Millie Weaver closely or Owen Schroeder closely. These
16 agitating, was that good for their career at InfoWars or        16 guys show up -- both of them show up --
17 bad for their career at InfoWars?                               17            Owen, I don’t find to be -- I think he’s
18      A. It was --                                               18 very -- in my opinion, he’s a very smart guy. So he
19            MR. ENOCH: Objection to form.                        19 must know what he’s doing by showing up at these
20      A. It was excellent for their career. I can                20 political events wearing Trump hats and whatnot. He
21 point to several examples where it’s not reporting at           21 must know the difference between a journalist and an
22 all; it’s pure agitation by many members of the staff.          22 agitator, how a journalist has to appear neutral in his
23 And I have also been very critical of that. It’s been           23 stance and how an agitator appears politically motivated
24 pure -- in fact, some of it is so agitating it’s almost         24 on one side or the another at the moment, present in the
25 to the level of public disruption, so -- including --           25 spot. So I don’t know about Millie, but I do know that
                                                              47                                                                 49
 1 can I go on?                                                     1   Owen Schroeder should definitely know the difference.
 2      Q. (BY MR. BANKSTON) Please.                                2            So that being said, I mean, I’ve never
 3            MR. ENOCH: Objection, nonresponsive so                3   been involved in, let’s say, let’s go down there and
 4 far.                                                             4   cause a fight kind of discussion; but I do know that
 5      Q. (BY MR. BANKSTON) Let me ask you another                 5   they should know better, showing up at these places with
 6 question. Can you give me an example of some of the              6   these kinds of -- you know, this kind of gear that will
 7 things you’re talking about when you say "agitation"?            7   affect people’s emotions is pretty obvious.
 8      A. Yes. Ms. Millie Weaver last year or the year             8            MR. ENOCH: Object, nonresponsive.
 9 before that -- I’m not sure when; but it was in the              9       Q (BY MR. BANKSTON) While you were at InfoWars,
10 last, perhaps, twelve months, I believe, because it was         10   did you ever hear anybody inside the organization
11 after I left -- she showed up at a Hillary Clinton book         11 express negative feelings about the Sandy Hook parents?
12 signing event that was at BookPeople. These people were         12         MR. ENOCH: Objection to form.
13 not there to protest. These people were not there               13     A. No, except for what Alex said live on the air.
14 to...Hillary. This was far after the election. Nobody           14     Q. (BY MR. BANKSTON) Were you uncomfortable with
15 was campaigning. But Ms. Millie Weaver decided to show          15 the things that Mr. Jones said on the air?
16 up with a lot of Trump gear, which obviously is going to        16    A. Yes, I was.
17 be -- as we follow the news, we know it’s agitating             17          MR. ENOCH: Objection to form and
18 towards -- in a very political way, you know.                   18 leading.
19            And so, in my opinion, just by looking at            19            I’m sorry. Would you just hesitate,
20 that, I noticed that reporters don’t show up sponsoring         20 please, before you give your answer?
21 politicians. So for her to go there and say -- and, in          21          THE WITNESS: Yes, sir.
22 fact, the name of this video on YouTube is called               22          MR. ENOCH: Thank you.
23 Journalists Harassed or something. She identifies               23     Q    (BY MR. BANKSTON) Specifically as it regards
24 herself as a journalist while she shows up wearing              24 to comments about the Sandy Hook parents, were you ever
25 political gear directly aiming at the opposite end of           25 disturbed by anything you saw at the set on InfoWars?

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 1            MR. ENOCH: Objection to form.                         1      A. No.
 2      A. I was disturbed by the way they said                     2      Q   (BY MR. BANKSTON) What is your personal
 3 Mr. Pozner changed; he went from a laughing stance to a          3 feeling, sitting here today, about an allegation that
 4 serious stance when the camera was on him briefly before         4 there were crisis actors in use at Sandy Hook?
 5 he was asked to call. I wanted to -- you know, again,            5            MR. ENOCH: Objection to form.
 6 this is another thing I attempted to clarify with                6      A. I mean, my opinion is -- my personal feeling
 7 Mr. Salazar and others that when you go through an               7 is it was shocking to hear -- well, it wasn’t shocking
 8 extreme tragedy, your emotions are all over the place.           8 that they went down that line because they went down
 9 And this is a known fact.                                        9 that line of thought before; but the weight of the
10            Just because somebody laughs at a joke               10 accusation in this particular case, it was shocking that
11 somebody tries to -- you know, you’re not immune to             11 they didn’t do more research. They didn’t go further
12 humor even if you went through a massive tragedy. For a         12 into it. They didn’t -- I mean, what I constantly tried
13 brief moment somebody could say something; and it’s,            13 to clarify is a story of this level should not be
14 "Oh, ha, ha." You know, you don’t have any really               14 brought forward unless they are -- I tried to make it
15 control over if somebody makes you laugh. You don’t             15 clear that they need as much evidence in this story as
16 have that control. And I tried -- just because somebody         16 if they were going to court to prove their case; and if
17 went through a massive tragedy doesn’t mean that you            17 they didn’t have that, they didn’t have a story.
18 have to jump on the guy for smiling right before the            18            MR. ENOCH: Objection, nonresponsive.
19 camera was on him.                                              19      Q. (BY MR. BANKSTON) Can you tell us who Paul
20            In fact, a lot of people who experience              20 Watson is?
21 this level -- well, I don’t know about this level -- but        21      A. Paul Watson is sort of Alex’s alternate host.
22 tragedy in their life, they don’t begin to even mourn           22 He’s basically like Alex’s sidekick.
23 until days after. They go through shock. So I was               23      Q. Okay. Have you ever been aware of
24 disgusted and I did attempt to clarify to everybody that        24 Mr. Watson’s opinions about the Sandy Hook hoax
25 people go through a range of emotions after a traumatic         25 allegations?
                                                              51                                                                 53
 1 event.                                                           1      A. No.
 2            MR. ENOCH: Objection, nonresponsive.                  2      Q. Do you know of anyone else at InfoWars who
 3      Q. (BY MR. BANKSTON) Have you ever while working            3 ever voiced an objection regarding any element of the
 4 at InfoWars heard the term "crisis actors"?                      4 Sandy Hook coverage or the coverage as a whole?
 5      A. Yes.                                                     5      A. I don’t know if -- I mean, I did it
 6      Q. What do you understand that term to mean?                6 independently on my own; and then I would have talk to
 7      A. I believe it means that there are people from            7 others about it.
 8 Special Forces, let’s -- per se, or something like that.         8            MR. ENOCH: Objection, nonresponsive.
 9 They are people from a nefarious group run through the           9      Q   (BY MR. BANKSTON) Have you ever had any
10 government or outside for special -- special interest           10 private conversations with any of your coworkers at
11 money, let’s say, who will then attempt to cause a phony        11 InfoWars about negative reservations about the Sandy
12 event to -- like, for example, crisis actors faking             12 Hook coverage?
13 their death or things like that to change a shift in            13            MR. ENOCH: Objection to form.
14 policy or things like that. That’s what I understand a          14      A. Yes.
15 crisis actor to be.                                             15      Q. (BY MR. BANKSTON) And what coworkers would
16      Q. Have you ever heard while at InfoWars the term          16 that be?
17 crisis actors or a similar allegation being attached to         17      A. I spoke with Ashley Beckford. I spoke with...
18 the Sandy Hook event?                                           18 I spoke with Adan Salazar. I spoke with Kit Daniels. I
19            MR. ENOCH: Objection to form.                        19 spoke with... I must have spoken -- and others I don’t
20      A. Yes, I have.                                            20 recall. I have spoken quite a bit.
21      Q   (BY MR. BANKSTON) While you were at InfoWars           21      Q. Can you tell us: Who is Kit Daniels?
22 did you feel that you would ever see evidence which you         22      A. Kit Daniels is a writer at InfoWars.
23 would consider sufficient to responsibly make that              23      Q. Was Kit Daniels ever involved in any of the
24 allegation on the air?                                          24 Sandy Hook coverage?
25            MR. ENOCH: Objection to form.                        25      A. I’m unsure.

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 1     Q. Okay. Are you familiar with an allegation                 1 competent video experience think this was blue screen?
 2 concerning an alleged blue screen video interview with           2             MR. ENOCH: Objection to form.
 3 Anderson Cooper?                                                 3      A. Not at first view.
 4     A. I am.                                                     4      Q. (BY MR. BANKSTON) Would anybody with
 5     Q. When you were at InfoWars, did you ever work              5 competent video experience have serious doubts about
 6 in video technology?                                             6 saying this was blue screen?
 7     A. Yes, I did.                                               7             MR. ENOCH: Objection to form.
 8     Q. Okay. Can you explain to us kind of your                  8      A. I feel they would. They would be on the
 9 background and your training and experience in video             9 fence. If they saw this video, they would have
10 technology?                                                     10 questions.
11     A. My background began in New York City. I was              11      Q   (BY MR. BANKSTON) Okay.
12 working for several audio recording studios, including          12      A. Can I go further and explain that?
13 The Hit Factory in New York City, which is a legendary          13      Q. Actually, let me ask you a question on that.
14 studio. I moved to Austin shortly after that. I worked          14 Okay?
15 for the Austin Music Network -- before that I worked for        15      A. Okay.
16 a music studio here, in Austin, Texas. I then worked            16      Q. Your opinion about whether or not it could be
17 for the Austin Music Network for about three and a half         17 fairly asserted that this is clearly blue screen, in
18 years, where I got even better. Then I moved from there         18 forming your opinion on whether that could be asserted,
19 and I worked for Alex for 13 years producing roughly ten        19 can you tell me about any of the things you see in this
20 of his feature-length documentaries.                            20 video or any of your experience that would inform that
21           MR. ENOCH: Objection to form --                       21 opinion?
22 objection, nonresponsive.                                       22      A. There’s nothing --
23     Q. (BY MR. BANKSTON) Can you explain to us:                 23             MR. ENOCH: Objection -- I’m sorry.
24 What is blue screen compositing?                                24 Objection to form.
25     A. Blue screen compositing is when you can stand            25             Please continue.
                                                              55                                                                 57
 1 in front of a blue screen and you can add any background         1      A. There’s nothing in that video that will
 2 you’d like behind you, so.                                       2 clearly indicate to me that that was a blue screen
 3     Q. Okay. Mr. Jacobson, I am going to play you a              3 event.
 4 video clip that is going to be Exhibit 2 to this                 4      Q   (BY MR. BANKSTON) Okay. And so if a
 5 deposition.                                                      5 witness -- if anyone was to say, "I can look at that
 6           MR. ENOCH: I think it’s Exhibit 3.                     6 video. I work with blue screen. It’s got all the
 7           MR. BANKSTON: Oh, it will be, yeah.                    7 telltale signs. That’s clearly blue screen," in your
 8 Change that number.                                              8 opinion, is that person acting responsibly?
 9           (Exhibit 3 marked.)                                    9             MR. ENOCH: Objection to form.
10           MR. BANKSTON: Let me ask that question                10      A. No, I don’t. I think that, based on what we
11 again, Mr. Jacobson.                                            11 see on that screen, that could be -- that error in the
12     Q. (BY MR. BANKSTON) Mr. Jacobson, I’m going to             12 nose would have been caused by a number of different
13 show you a video clip that is going to be Exhibit 3 to          13 reasons; and none of them are clear from what we see
14 this deposition. That is a video clip from a part of an         14 there without knowing what happened behind the scenes
15 InfoWars episode. So I’d like you to watch it, and I’m          15 with the operating room controllers, so on and so forth.
16 going to ask you some questions about it. Okay?                 16 That could have been a natural glitch that happens all
17     A. Okay.                                                    17 the time on YouTube. We see it all the time where
18           (Video playing.)                                      18 pixels smudge. There is no secret about that. There
19     Q    (BY MR. BANKSTON) First, Mr. Jacobson, based           19 must be a million videos or more where pixels smudge all
20 on your training and experience in video technology, was        20 the time.
21 what we just saw clearly blue screen?                           21             In order for that -- should I continue?
22     A. It was --                                                22      Q. If you do have more facts that you are basing
23           MR. ENOCH: Objection to form.                         23 your opinion on.
24     A. It was not clearly blue screen.                          24      A. The only thing I can tell you about that is
25     Q. (BY MR. BANKSTON) Okay. Would anybody with               25 the only way that that is possibly green screen is if

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 1 Anderson Cooper is not standing next to that woman.              1 stepped outside the bounds of the green screen and his
 2            MR. ENOCH: Objection, nonresponsive to                2 nose got cut off.
 3 the entire answer, including after the continuation of           3            MR. ENOCH: Objection, nonresponsive.
 4 the question "if you have more facts."                           4      Q    (BY MR. BANKSTON) Now, if somebody is wearing
 5      Q   (BY MR. BANKSTON) When you say, "That means             5 glasses in a green screen shot --
 6 Anderson Cooper wasn’t standing next to that woman," are         6      A. Uh-huh.
 7 you making an opinion about whether the woman in the             7      Q. -- will the green screen background that’s
 8 video was actually on location?                                  8 being composited, will that show up in the reflection of
 9            MR. ENOCH: Objection to form, leading.                9 their glasses?
10      A. I’m not making opinion on anything. What I’m            10            MR. ENOCH: Objection to form.
11 saying is: If his nose was cutting off, that means he           11      A. Sometimes.
12 stepped out of the green screen or the blue screen              12      Q. (BY MR. BANKSTON) If there’s a projection
13 bounds; and his nose was cut off, which would suggest           13 being used?
14 she was somewhere else. He was standing in one room,            14            MR. ENOCH: Objection to form.
15 she’s standing somewhere else. That’s what it would             15      A. Depending how the lights are. If the lights
16 mean.                                                           16 are blasting against that green screen, yes. If the
17            If he stepped outside the -- and she’s               17 lighting guy takes that into accounts, they can -- you
18 not outside the green screen bounds, how could he have          18 know, depending on the lights. If the lights are bright
19 stepped outside the green screen bounds if she is -- she        19 and blasting at them, yes, you would see green screen.
20 would be disappeared. She wouldn’t even be on the               20 Also depending on his proximity to the screen.
21 screen. We would see -- if that was green screen, we            21      Q. (BY MR. BANKSTON) Okay. Maybe -- I think
22 would see -- she would either -- it would be a cut-out.         22 maybe I didn’t ask -- the question was a little inartful
23            See, what they’re suggesting is Anderson             23 there. Let’s come back up here. If there’s lights
24 Cooper, okay, would be in this screen. Everything else          24 being shined on the green screen --
25 would be green. He would be -- they would composite             25      A. Uh-huh.
                                                              59                                                                 61
 1 behind him the town hall scene that you see behind him.          1      Q. -- then it might be possible to see green in
 2 He would step outside, and his nose would get cut off.           2 some glasses?
 3 She would also be outside that box. If the box is only           3      A. Yes.
 4 this big and he steps outside, she would also be outside         4            MR. ENOCH: Objection to form.
 5 that box, part of the composite, which would mean that           5      Q. (BY MR. BANKSTON) My question is: If there’s
 6 she would have to be on location while he was somewhere          6 a background being put on that green screen, does it
 7 else.                                                            7 show up live there on the green screen; or is that just
 8            MR. ENOCH: Objection, nonresponsive.                  8 in the computer?
 9      Q   (BY MR. BANKSTON) Would it be accurate to say           9            MR. ENOCH: Objection to form.
10 if this theory of how -- if the setup that you’re               10      A. It’s just in the computer.
11 describing is true, would it be accurate to say then            11      Q. (BY MR. BANKSTON) If a person’s wearing
12 that the woman in the interview would not be actually           12 glasses and they’re being filmed against a green screen,
13 looking at Anderson Cooper?                                     13 will the projected image that’s in the computer of the
14      A. That’s what it would mean.                              14 town hall, or whatever, appear in their glasses?
15            MR. ENOCH: Objection to form and                     15            MR. ENOCH: Objection to form.
16 leading.                                                        16      A. Absolutely not.
17      A. It would mean that what you see in there is             17      Q    (BY MR. BANKSTON) Okay. Did you -- as a part
18 two people who are acting remarkably responsive to each         18 of your discussions with people at InfoWars about Sandy
19 other on a super-human level, in my opinion, because,           19 Hook, have you raised complaints about this video
20 you know, they wouldn’t be looking at each other. She           20 allegation?
21 would be in one location. He would potentially be,              21            MR. ENOCH: Objection to form, leading.
22 according to this theory, in a CNN studio around the            22      A. Not -- no. I mean, it was one of those
23 corner, down the block, miles away, if not on the other         23 things. I just kind of mixed it in with all the rest of
24 side of the globe. So they would not be in the same             24 it. It wasn’t -- it was just one of those points that
25 place at the same time to have that interaction if he           25 was just so silly. It’s just I can’t -- I couldn’t

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 1 believe that Alex was jumping all over that when he              1   personal knowledge inside the company, that InfoWars was
 2 knows perfectly well YouTube pixels smudge.                      2   responsive to those criticisms and began to act
 3            MR. ENOCH: Objection, nonresponsive.                  3   appropriately?
 4      Q. (BY MR. BANKSTON) Was any -- were you -- at              4             MR. ENOCH: Objection to form.
 5 any time during your time at InfoWars past 2013, were            5       A. No, I don’t.
 6 you aware that parents had been complaining about this           6       Q (BY MR. BANKSTON) Okay, Mr. Jacobson. We are
 7 coverage?                                                        7   about an hour in.
 8      A. No, not immediately. I really became aware of            8       A. Uh-huh.
 9 it sometime afterwards when I saw, actually, I think, a          9       Q. As you know, your deposition was ordered for,
10 PBS special on what was going on; and it really hit home        10   I believe it was two or two and a half hours today.
11 at that point. I was like, this is...                           11       A. Uh-huh.
12      Q. Well, you understand -- what is your                    12       Q. I’m not going to keep you that long, but I am
13 understanding -- scratch that.                                  13   going to take a short break.
14            Was the InfoWars staff aware of the                  14       A. Uh-huh.
15 public controversy they were causing with Sandy Hook            15       Q. And we do have some more to cover.
16 allegations?                                                    16       A. Okay.
17            MR. ENOCH: Object to form.                           17       Q. We might get near two hours -- I don’t know --
18      A. I believe they were.                                    18   but I’m going to try to get you out as soon as I can
19      Q    (BY MR. BANKSTON) Was the staff aware of the          19   today. But why don’t we for the moment -- we’ll take a
20 public opinion about their Sandy Hook coverage?                 20   15-minute break.
21            MR. ENOCH: Object to form.                           21       A. Uh-huh.
22      A. I believe they were. I believe that they were           22       Q. And then we’ll come back and resume after our
23 aware of a dual opinion at the same time, and they got a        23   break. Thank you.
24 rush out of it.                                                 24             MR. OGDEN: Hey, Mark. Will you call my
25            MR. ENOCH: Objection, nonresponsive.                 25   cell phone?
                                                              63                                                                 65
 1      Q    (BY MR. BANKSTON) Were you still employed at           1           MR. BANKSTON: Absolutely.
 2 InfoWars at the time that Mr. Jones was interviewed by           2           THE VIDEOGRAPHER: We are off the record
 3 Megyn Kelly?                                                     3 at 1:12 p.m.
 4      A. No.                                                      4           (Off the record from 1:12 to 1:30 p.m.)
 5      Q. Did you ever become aware that parents were              5           THE VIDEOGRAPHER: We’re back on the
 6 being harassed by believers in the Sandy Hook hoax               6 record at 1:30 p.m.
 7 conspiracy theory?                                               7     Q    (BY MR. BANKSTON) Mr. Jacobson, earlier we
 8      A. Yes, I became aware of that.                             8 had talked about a writing room; and I want to ask you
 9      Q. When do you think you became aware of that?              9 questions about that room itself. That room was the
10      A. Somewhere around 2014, 2015. Maybe 2015.                10 center of the writing process at InfoWars; is that
11 Like I said, when I saw that PBS documentary.                   11 right?
12      Q. So the PBS documentary you saw, that was when           12     A. Yes, up until the last three years that I
13 you were employed at InfoWars?                                  13 worked there.
14      A. I was still employed there.                             14     Q. Okay. From your personal knowledge and
15      Q. In light of the harassment that you became              15 observations of the writers, can you tell me, as it
16 aware of, did it cause you to form any opinions about           16 concerns the writing process for coverage of Sandy Hook,
17 the level of caution that would be required in covering         17 what, if anything, concerned you about that process?
18 Sandy Hook from then on out?                                    18           MR. ENOCH: Objection to form.
19            MR. ENOCH: Objection to form, leading.               19     A. The fact that they took Halbig’s word for it,
20      A. Absolutely. Like I’ve already stated, I                 20 and that was the article. The article was: Whatever
21 marched into the writers’ room several times and                21 came out of Halbig’s mouth was news.
22 attempted to point out that they have an ethical                22     Q    (BY MR. BANKSTON) When you were, as you
23 responsibility to abide by.                                     23 mentioned earlier, communicating your thoughts to people
24            MR. ENOCH: Objection, nonresponsive.                 24 at InfoWars about the Sandy Hook coverage, can you
25      Q. (BY MR. BANKSTON) Do you feel, based on your            25 describe to me on a scale of one, being not outrageous

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 1 at all and ten, being extremely outrageous, on that              1     A. I think he --
 2 one-to-ten scale, what is the level of outrageousness of         2           MR. ENOCH: Objection to form.
 3 this conduct that you were trying to impart?                     3     A. I think he knows right from wrong, and he can
 4           MR. ENOCH: Objection, leading and form.                4 definitely distinguish it. And, again, it’s not just my
 5     A. It was a ten.                                             5 opinion on this. He goes on the air and proselytizes
 6     Q. (BY MR. BANKSTON) Tell me why you thought                 6 morality all the time, which, clearly, he knows what’s
 7 that.                                                            7 going on; and he’s making a conscious decision. If he
 8           MR. ENOCH: Same objections.                            8 can proselytize it and verbalize it and actually
 9     A. I mean, it’s one thing to make a mistake.                 9 articulate it that well to everybody, then, he’s
10 It’s another thing to have somebody come in -- and I            10 definitely thinking about it; and he’s aware of what’s
11 don’t even -- I’m not aware if I was the only person or         11 going on.
12 not, but I know I was doing it -- to come in and say,           12           MR. ENOCH: Objection, nonresponsive.
13 "Hey, this is wrong. You’re making a mistake." It’s             13     Q    (BY MR. BANKSTON) With respect to your
14 one thing, you know, to actually have a mistake and             14 background, have you -- what is your level of experience
15 something else to have it pointed out to you, not just          15 and exposure to compositing live shots onto backgrounds?
16 once but over and over and over again, and to not only          16     A. I mean, in my experience, I’ve been asked to
17 hear the damage that you’re doing to people outside of          17 do it; and I’ve done it.
18 your zone but to actually laugh about it, I thought             18     Q. Okay.
19 that’s a ten.                                                   19     A. I’ve produced those videos.
20           MR. ENOCH: Objection, nonresponsive.                  20     Q. The films and things that you would make for
21     Q    (BY MR. BANKSTON) How long have you known              21 InfoWars, did you perform any graphics work or
22 Mr. Jones?                                                      22 compositing work while working on those videos?
23     A. I’ve known Mr. Jones since he employed me in             23     A. Mostly graphics works. I mean, aside from my
24 2004.                                                           24 video editing, I would do graphics much more than video
25     Q. In your 15 years of knowing Mr. Jones, have              25 compositing for the films.
                                                              67                                                                 69
 1   you arrived at any kind of opinion about whether               1     Q. Does InfoWars in it’s studio -- during the
 2   Mr. Jones is capable of rational action or whether he is       2 years you were there, did it perform any green screen or
 3   too mentally unwell to even be capable of rational             3 blue green compositing there at the facility?
 4   action?                                                        4     A. Yes.
 5             MR. ENOCH: Objection to form and                     5     Q. When it comes to video technology, does that
 6   leading.                                                       6 remain your profession today?
 7       A. In my 15 years of knowing Alex, I feel he is            7     A. Yes.
 8   very capable of rational actions, and I think the growth       8           MR. ENOCH: Objection to form.
 9   of his business is evidence of that. Like, while his           9     A. Yes.
10   opinions may be tasteless, he definitely made conscious       10           MR. BANKSTON: What’s the basis on that?
11   decisions to run a business. He flipped the switches          11           MR. ENOCH: I don’t know what you mean by
12   himself. In fact, he micromanages that place; and,            12 "video technology." It’s vague and ambiguous.
13   obviously, some of the decisions he made were                 13     Q. (BY MR. BANKSTON) Do you know what video
14   successful. He took a business from a few handful of          14 technology is?
15   people to what it is today. So based on that evidence,        15     A. Yes, sir.
16   I do feel that he’s more than rational in his decisions.      16     Q. When I ask you the question, you work in video
17             MR. ENOCH: Objection, nonresponsive.                17 technology, can you tell me what you mean by video
18       Q (BY MR. BANKSTON) Based on your conversations           18 technology?
19   and years with Mr. Jones, do you have an opinion on           19     A. I take technology designed to work on video as
20   whether or not Mr. Jones can understand right from            20 my tools and create a product for my clients.
21   wrong?                                                        21     Q. When it comes to video technology, are you
22             MR. ENOCH: Objection to form.                       22 someone who considers himself to have specialized
23       A. Yes.                                                   23 knowledge or skill in that technical field?
24       Q (BY MR. BANKSTON) Okay. What is your                    24           MR. ENOCH: Object to form. Speculating,
25   opinion?                                                      25 form, and leading.

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 1     A. Yes.                                                      1 not really sure.
 2     Q    (BY MR. BANKSTON) Okay. Can you tell me how             2     Q    (BY MR. BANKSTON) Okay. Do you today have
 3 many years experience you have in working with video             3 any sense of guilt about the coverage about Sandy Hook
 4 production and video technology?                                 4 that came out of InfoWars?
 5           MR. ENOCH: Objection to form.                          5           MR. ENOCH: Objection to form, leading.
 6     A. I have 17 years in video technology, and I                6     A. Yes. As I mentioned in my statements
 7 have over 20 years -- over 20 years in media technology          7 previously, the reason why I’m here is because of a
 8 in general.                                                      8 tremendous amount of guilt that I didn’t act faster.
 9     Q    (BY MR. BANKSTON) You understand the                    9 Maybe I should have quit. Maybe I could have caught the
10 difference between a layman and a technical person? Do          10 story faster or been better at explaining; but, yes, I
11 you understand those terms?                                     11 do.
12     A. Yes, sir.                                                12           MR. ENOCH: Objection, nonresponsive.
13           MR. ENOCH: Objection to form.                         13     Q. (BY MR. BANKSTON) Are you still on friendly
14     A. Yes, sir.                                                14 terms with InfoWars?
15     Q    (BY MR. BANKSTON) When it comes to video               15     A. No.
16 production and video technology, do you consider                16     Q. Were you terminated?
17 yourself a layman; or do you consider yourself as               17     A. Yes.
18 someone who has technical expertise?                            18     Q. Have you filed a complaint with the EEOC?
19           MR. ENOCH: Objection to form.                         19     A. Yes.
20     A. I consider myself as somebody who has                    20     Q. And just for the record, I want to make it
21 technical expertise.                                            21 clear because I’ve used an abbreviation. You filed a
22     Q    (BY MR. BANKSTON) Okay. Do you still have an           22 complaint with the Equal Opportunity Employment
23 opinion as to whether or not alternative media can be a         23 Commission?
24 force for good if done correctly?                               24     A. Yes, sir.
25           MR. ENOCH: Objection to form.                         25     Q. Tell me why you filed a complaint.
                                                              71                                                                73
 1     A. I feel that alternative media -- I think the              1     A. Alex’s abusive behavior and the unethical and
 2 subject is much bigger than that. I think that media in          2 racist behavior of his staff and the environment that’s
 3 itself or journalism is when you cross the ethical               3 racist and abusive in general at InfoWars.
 4 boundary, then it will be a force for good; but if               4           MR. ENOCH: Objection, nonresponsive.
 5 people are independent and refuse to abide by standards          5 Move to strike.
 6 that are journalist standards that have been established         6     A. There was evidence against me that I submitted
 7 for decades already and followed, or maybe even                  7 to the EEOC of myself being Photoshopped onto a Rabbi’s
 8 centuries by some standards, you know, if they refuse to         8 face and passed around the office. There was Owen
 9 do that, then no, it won’t be a force for good. It will          9 Schroeder sitting on the air calling me the resident
10 be a force for people to be confused and tear each other        10 Jew, as well as Rob Dew. There was a culture of
11 down. If they can figure out that, hey, who’s going to          11 anti-Semitism inside InfoWars. And so I went to the
12 be the standard of that. So I do think that there will          12 EEOC with that and a culture of abuse propagated mostly
13 always be a professional standard of journalism, and            13 by Alex Jones himself.
14 independent journalism should be put in its place.              14           MR. ENOCH: Objection, nonresponsive.
15           MR. ENOCH: Objection, nonresponsive.                  15     Q    (BY MR. BANKSTON) Do you know, sitting here
16     Q. (BY MR. BANKSTON) When it comes to                       16 today, if you’re the only person who’s brought such a
17 professionalism in journalism, do you have an opinion --        17 complaint or if there’s anybody else who’s brought
18 or let me scratch that.                                         18 similar complaints?
19           When it comes to professionalism in                   19           MR. ENOCH: Objection to form.
20 journalism, have you been exposed to events, perceived          20     A. I know of several people who have brought
21 things with your own eyes and ears, that gives you an           21 exactly the same complaint or similar, very similar
22 opinion on whether it went right or whether it went             22 complaints about Alex Jones and the office of InfoWars,
23 wrong as it regards Sandy Hook?                                 23 many of which are public.
24           MR. ENOCH: Objection, form.                           24     Q    (BY MR. BANKSTON) Do you feel that people
25     A. I don’t really have a comment on that. I’m               25 might look at your EEOC claim and think you’re biased?

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 1     A. I feel, yes, people will look at my EEOC                  1      A. I’m not doing any of this for compensation.
 2 complaint and claim that I’m biased. Should I continue?          2 I’m doing this because Alex is disgracing himself so
 3     Q. No. I have a question for you.                            3 badly in the way he has made the parents suffer, as well
 4     A. Okay.                                                     4 as myself. He’s still on the air to this day saying
 5     Q. If you’ve got an EEOC claim and you’ve got bad            5 things that are arguably true or arguably not true; we
 6 blood with InfoWars, why should people believe you?              6 don’t know. But we do know that he affects his audience
 7     A. Because people should understand just because             7 in a way that angers and mobilizes them; and it’s
 8 Alex -- I have a complaint with Alex doesn’t make Alex           8 unclear if anything he’s saying is fact or fiction,
 9 an angel. Myself and others have all witnessed it. I             9 opinion or speculation. But what he does do is mobilize
10 am doing my due diligence in bringing forth abuse that          10 a large amount of people in irrational thinking because
11 Alex had against me as others have brought forth Alex --        11 there’s no way to tell whether what Alex is saying on
12 abuse that Alex has against them as well as the fact            12 the air is news or not, true or false, speculation, or
13 that does not negate the fact that this stuff about             13 opinion, jokes or not; but he advertises it all as news.
14 Sandy Hook didn’t happen, either. What happened to me           14 He is the InfoWars.
15 is real. What Alex did to the Sandy Hook parents is             15            MR. ENOCH: Objection, nonresponsive.
16 also real at the same time. Just because one is true            16      Q    (BY MR. BANKSTON) Mr. Jacobson, have -- all
17 doesn’t make the other untrue. They’re both true at the         17 of your answers today, have they been based on your
18 same time.                                                      18 personal knowledge?
19             Alex is an abusive man. Alex -- and                 19            MR. ENOCH: Objection to form.
20 every testimony that you see in public, whether it is,          20      A. As far as I know.
21 you know, on the record -- you know, we have videos and         21      Q    (BY MR. BANKSTON) Okay. Mr. Jacobson, that’s
22 specials all over the place, news articles written about        22 all I believe I have for you at this time.
23 this. It’s no secret of Alex’s behavior. It’s no                23            MR. ENOCH: Go ahead. I’m sorry. I
24 secret.                                                         24 didn’t mean to interrupt you.
25             Therefore, you know, just because I                 25            MR. BANKSTON: Sure.
                                                              75                                                                 77
 1 mounted a complaint because of Alex’s bad behavior               1            That’s all I have for you in terms of
 2 doesn’t mean he behaved badly for Sandy Hook. People             2 questions. I have a few things I need to put on the
 3 should understand just because one is true, the other --         3 record.
 4 it doesn’t mean the other’s automatically untrue.                4            MR. OGDEN: Mark, can you check your
 5             MR. ENOCH: Objection --                              5 e-mail?
 6     A. Are they going to feel that I’m biased? Yes,              6            MR. BANKSTON: Yeah, sure.
 7 but that doesn’t mean -- you know, everything is true            7            They don’t need to concern you. If you
 8 that I am saying. And again...                                   8 would like to be excused while I put this on the record,
 9             MR. ENOCH: Objection, nonresponsive.                 9 I can do that.
10     Q     (BY MR. BANKSTON) If the Sandy Hook parents           10            MR. ENOCH: And I would like to ask
11 who brought these suits were awarded money from Alex            11 questions. Are you going to prevent me from doing that,
12 Jones, would it benefit you in any way?                         12 Mark?
13     A. No.                                                      13            MR. BANKSTON: We’re going to talk about
14     Q. If the Sandy Hook parents who brought these              14 that on the record in just a minute.
15 suits are awarded money from Mr. Jones, let’s say, a            15            MR. ENOCH: Well, that’s what I’m asking
16 significant amount of money, do you know of any way that        16 you.
17 could be a detriment to you?                                    17            MR. BANKSTON: Yeah, so we’re going to
18     A. The one way is if the EEOC rules in my favor,            18 let Mr. Jacobson go because we’re not going to have this
19 it might jeopardized a potential compensation for myself        19 discussion in front of a witness.
20 farther down the line.                                          20            MR. ENOCH: No, sir, we’re not gonna --
21     Q. So you -- do you feel that if the Sandy Hook             21            MR. BANKSTON: We’re not going to let
22 parents are ultimately compensated by Mr. Jones, do you         22 him leave the building, Mark. We’re going to let
23 have any opinion about whether that could potentially           23 Mr. Jacobson go to the bathroom, and then I’m going to
24 threaten your ability to get compensation for your              24 put something on the record. And if you have some
25 injuries?                                                       25 things to say about it, you can say whatever you want on

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 1 the record. And then Mr. Jacobson will be in the                 1   personal counsel and was suddenly ambushed by a barrage
 2 building.                                                        2   of questions from his former employer, questions he was
 3             MR. ENOCH: Are you going to permit me to             3   not expecting.
 4 ask questions, yes or no?                                        4              I need to put this on the record for we
 5             MR. BANKSTON: I don’t think I can stop               5   are now on our the third deposition of this case; and in
 6 you. I literally don’t think I can. I think I would              6   the first deposition of Mr. Jones, which Mr. Enoch was
 7 have to, like, go over there and physically restrain you         7   not defending but was merely an observer, his name
 8 because you won’t abide by rules; but Mr. Jacobson is            8   appeared in all caps where’s he’s speaking and
 9 just going to go to the bathroom.                                9   interjecting into the record 28 times during the
10             Now, he’s going to come back; and he’s              10   testimony of Mr. Jones; and that’s taking out the times
11 going to sit down in that chair. And whether he wants           11   that it appeared for housekeeping matters, like getting
12 to sit around and listen to anything you say is not my          12   the witness water or talking about the PO at the end of
13 choice, but I’m not releasing him from the building             13   the deposition.
14 right now.                                                      14              And I don’t want to be tag-teamed and it
15             Mr. Jacobson, would you like to step out            15   was ridiculous and improper but I normally wouldn’t
16 of the room, maybe, for a moment? You can use the               16   call it out on the record but I reviewed the
17 restroom if you need to; otherwise, just wait in the            17   transcript -- and I’ve done this to confirm this -- that
18 front room for us.                                              18   there were questions on the floor about what a certain
19             (Witness leaves the conference room.)               19   building was and whether it was the school or not. And
20             MR. ENOCH: What is it you would like to             20   as part of his interruption, Mr. Enoch blurted out to
21 say outside of his presence?                                    21   the witness that it’s the firehouse in the video, a word
22             MR. BANKSTON: Okay. I have a few things             22   that had not previously appeared in the deposition. So,
23 I need to put on the record.                                    23   of course, right after that, Mr. Jones says, quote, "And
24             First of all, just to read it really                24   I later corrected, you know, that was one of the things
25 quick, there is an order entered in this case concerning        25   that had been said that wasn’t true was that they were
                                                              79                                                                 81
 1 this deposition. In Paragraph 3 of the Judge’s                   1 at the firehouse. There was other footage from the
 2 Discovery Order, it allows that Plaintiff’s Motion is            2 school."
 3 granted and that Plaintiff may take the deposition of            3            At best, this was highly improper
 4 Robert Jacobson. It does not say that the parties may            4 conduct, and it’s exactly why we don’t allow speaking
 5 take the deposition of Robert Jacobson. It says the              5 objections in Texas. At worst, it was an attempt to
 6 Plaintiff may take the deposition of Robert Jacobson.            6 communicate an idea to the witness, conduct which is
 7             The Civil Remedies Code provides that                7 absolutely repellant to the idea of justice.
 8 limited discovery will be allowed if the party shows             8            Yet, on the following day, the problems
 9 good cause for that discovery and gets an order from the         9 continued. I only have a video, not a transcript; but,
10 Court on that limited discovery. Plaintiff has gotten           10 once again, Mr. Enoch repeatedly interrupted a
11 an order from the Court showing good cause. Defendants          11 deposition he was not defending, in which he was simply
12 have never attempted to show good cause and, in fact,           12 an observer. And, again, I’ve watched the video to
13 under the case law is extremely questionable and I see          13 confirm; and so has my cocounsel, to confirm both of our
14 no authority for an idea that a defendant would ever be         14 memories, that Mr. Dew, the corporate representative,
15 granted discovery on its own motion. The discovery is           15 visibly reacted to a gesture from Mr. Enoch during a
16 granted for the Plaintiff to meet the burdens, the              16 difficult question. And Mr. Ogden had to call him out
17 onerous burdens caused by the TCPA.                             17 on it; and you can see Mr. Dew’s reaction, how narrow
18             Nonetheless, Mr. Enoch has attempted                18 his eyes are in the deposition. During both depositions
19 right from the start to interrupt and hijack my                 19 Mr. Enoch was repeatedly asked to leave the deposition
20 deposition, which I have properly noticed, and start            20 if he refused to stay quiet. He stayed but continued to
21 asking the witness questions, questions which the               21 interrupt.
22 witness was visibly uncomfortable with. This witness            22            I am putting this all on the record right
23 agreed to appear voluntarily at this deposition with the        23 now because this deposition began rather contentiously;
24 understanding that he would be questioned by the                24 and my reaction to it was one of significant
25 Plaintiff’s counsel. He has appeared without his own            25 disturbance. I am now in a position where I have a

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 1 witness who is not represented by counsel. I am facing           1            MR. ENOCH: Mr. Bankston, if I ask
 2 a counsel who at the very beginning of this deposition           2 questions, are you going to seek sanctions against --
 3 threw all sense of propriety out the window and began            3            (Indistinguishable simultaneous
 4 questioning the witness on multiple issues. Though he’s          4 speakers.)
 5 not the one who noticed this deposition, had no ability          5            MR. ENOCH: Mr. Jacobson, are you
 6 to question that witness first, and almost certainly had         6 leaving?
 7 no ability to question him at all. It has caused the             7            (Witness leaves the conference room.)
 8 witness to become very agitated.                                 8            MR. BANKSTON: He’s leaving, apparently.
 9             I do not feel I’m equipped to defend this            9 He doesn’t want to talk to you, I guess.
10 witness’ rights. I don’t represent him. What is                 10            MR. ENOCH: Okay. And my understanding
11 happening is totally inconsistent with the Court’s              11 is that you threatened me with sanctions earlier if I
12 order. We have attempted to contact the Court because I         12 asked questions. Is my understanding correct, sir?
13 believe the Court would be wanting to have some sort of         13            MR. BANKSTON: Yeah, if you were to go
14 input on, when an order like this only gives me the             14 ahead and ask him questions, I would probably bring a
15 right to question, whether Mr. Enoch should be allowed          15 motion against you. It would also be for your other
16 to question this witness who does not currently have            16 conduct in the previous two depositions; but, yeah, if
17 counsel. I’m very disturbed by this turn of events. I           17 you did that. And, again, let me just make that clear.
18 want this all on the record in case these matters need          18 You didn’t ask him any questions. I still, depending on
19 to be brought to the Court in any kind of connection            19 what we need to do, might be bringing sanctions against
20 with sanctions.                                                 20 you.
21             Right now I’m going to finish, and I’m              21            MR. ENOCH: I just -- you don’t need to
22 going to ask Mr. Jacobson to return to the room. I’m            22 give me a speech. My question was a simple one: Did
23 going to tell Mr. Jacobson that I’ve concluded with my          23 you say you would threaten me with sanctions if I asked
24 deposition, the deposition that was ordered in the              24 questions? Your answer was in the affirmative. That’s
25 Court’s order, and that I have no further need of him to        25 all I need. Thank you very much.
                                                              83                                                                85
 1 be here. I do not know what Mr. Enoch’s going to do at           1            MR. BANKSTON: Yeah, if you’re going to
 2 that point. I do not know if Mr. Enoch’s going to                2 engage in improper conduct, I will always put the
 3 attempt to try to keep the witness here. I don’t know            3 possibility of sanctions on the table.
 4 what’s going to happen.                                          4            MR. ENOCH: I disagree.
 5             I do know that I am extremely concerned              5            MR. BANKSTON: And I think you know that
 6 about a witness who -- I mean, about a lawyer who has            6 about me by now.
 7 already exhibited an incredible pattern of astonishing           7            MR. ENOCH: Mr. Bankston, we don’t have
 8 bad conduct in deposition to now take this very                  8 to have an argument over it. The question was a simple
 9 unorthodox turn.                                                 9 one. Thank you for answering.
10             That being said, those are my comments on           10            MR. BANKSTON: Are we off the record?
11 the record. I will allow Mr. Jacobson to return to the          11            THE VIDEOGRAPHER: We’re off the record
12 room and allow him to make the decision in his own best         12 at 1:55 p.m.
13 interest.                                                       13            (Deposition concluded at 1:55 p.m.)
14             MR. ENOCH: And I do not intend to                   14            (Signature of the witness was waived.)
15 respond tit for tat to what I think is self-serving             15
16 diatribe, and I will respond appropriately when                 16
17 appropriate.                                                    17
18             Let’s have the witness come back in.                18
19             (Mr. Bankston briefly left the room and             19
20 returned with the witness.)                                     20
21             MR. BANKSTON: All right, Joe. Let’s get             21
22 back on the record.                                             22
23             THE VIDEOGRAPHER: We’re still on.                   23
24             MR. BANKSTON: Mr. Jacobson, that’s all I            24
25 have for you today. Thank you for your time.                    25

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 1             CAUSE NO. D-1-GN-18-006623                                  1   and filed with the Clerk pursuant to Rule 203.3.
 2    SCARLETT LEWIS           * IN THE DISTRICT COURT OF                  2             I further certify that I am neither
        Plaintiff      *                                                   3   counsel for, related to, nor employed by any of the
 3                   *                                                     4   parties or attorneys in the action in which this
                     *
                                                                           5   proceeding was taken, and further that I am not
 4    VS.              * TRAVIS COUNTY, TEXAS
                                                                           6   financially or otherwise interested in the outcome of
                     *
                                                                           7   the action.
 5    ALEX E. JONES, INFOWARS, *
                                                                           8             Certified to by me this day, April 8,
      LLC, AND FREE SPEECH        *
                                                                           9   2019.
 6    SYSTEMS, LLC,          *
        Defendants        * 53RD JUDICIAL DISTRICT                        10
 7                                                                        11
 8              REPORTER’S CERTIFICATION                                  12
 9              ORAL/VIDEOTAPED DEPOSITION                                13               ____________________________________
                         OF                                                                Debbie D. Cunningham, CSR
10                 ROBERT JACOBSON,                                       14               CSR 2065
11               Taken on March 20, 2019                                                   Expiration: June 30, 2021
12             I, Debbie D. Cunningham, a Certified                       15               INTEGRITY LEGAL SUPPORT SOLUTIONS
13   Shorthand Reporter in and for the State of Texas, hereby                              3100 West Slaughter Lane, Suite A-101
14   certify to the following:                                            16               Austin, Texas 78748
15             That the witness, ROBERT JACOBSON, was
                                                                                           www.integrity-texas.com
16   duly sworn by me, and that the transcript of the oral
                                                                          17               512-320-8690; FIRM # 528
17   deposition is a true record of the testimony given by
                                                                          18
18   the witness;
                                                                          19
19             That examination and signature of the
20   witness to the deposition transcript was waived by the
                                                                          20
21   witness and agreement of the parties at the time of the              21
22   deposition;                                                          22
23             That the original deposition transcript                    23
24   was delivered to MR. BANKSTON, Esq.;                                 24
25             That the amount of examination time used                   25
                                                                     87
 1 by each party at the deposition is as follows:
 2         BY MR. BANKSTON:
 3         BY MR. ENOCH:
 4         BY MR. OGDEN:
 5            That $_________ is the deposition
 6 officer’s charges to the Plaintiff for preparing the
 7 original deposition transcript and copies of exhibits,
 8 if any;
 9            That pursuant to information given to the
10 deposition officer at the time said testimony was taken,
11 the following includes counsel for all parties of
12 record:
13 COUNSEL FOR PLAINTIFF:
14         KASTER LYNCH FARRAR & BALL, LLP
           1010 Lamar, Suite 1600
15         Houston, Texas
           (T) 713.221.8300
16            By: Mark D. Bankston, Esq.
                 mark@fbtrial.com
17                     AND
                 William Ogden, Esq. (VIA PHONE)
18
19 COUNSEL FOR DEFENDANTS:
20         GLAST, PHILLIPS & MURRAY, P.C.
           14801 Quorom Drive, Suite 500
21         Dallas, Texas
           (T) 972.419.8300
22            By: Mark Enoch, Esq.
                 mkenoch@gpm-law.com
23
24            That a copy of this certificate was served
25 on all parties shown herein on _____________________,


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    From: Adan S
    From: Adan S <adan@infowars.com>
                 <adan@infowars.com>
       To: "Louis
       To: "Louis S."
                  S." <louis@infowars.com>
                      <louis@infowars.com>
 Subject: Fwd:
 Subject:      Sandy Hook
          Fwd: Sandy Hook Lingerie
                          Lingerie Party
                                   Party Massacre 2000
                                         Massacre 2000
     Date:
     Date: 2012-12-21 19:30:32 +0000
           2012-12-21 19:30:32 +0000




----- Forwarded
-----  Forwarded Message
                   Message -----
From:    "luisito"
From: "luisito"
To: "Adan
To:   "Adan S"S"
Sent: Friday,
Sent:   Friday, December   21, 2012
                  December 21, 2012 11:24:08
                                     11:24:08 AM
                                              AM
Subject: Re:
Subject:         Sandy Hook
            Re: Sandy  Hook Lingerie
                            Lingerie Party
                                      Party Massacre 2000
                                            Massacre 2000

You are
You are seriously
        seriously ill to send
                  ill to send me something like
                              me something      that -- Don't
                                           like that          contact me
                                                        Don't contact    any more
                                                                      me any      or II will
                                                                             more or    will report you for
                                                                                             report you for harrassment you bunch
                                                                                                            harrassment you bunch of weirdos
                                                                                                                                  of weirdos


Dnia
Dnia 21
     21 grudnia 2012 19:30
        grudnia 2012 19:30 Adan
                           Adan S
                                S napisał(a):
                                  napisał(a):

> Hello
> Hello Mr.
         Mr. Gonzalez,
               Gonzalez,
>
>
> There
> There isis aa vicious
                vicious rumor   that the
                        rumor that   the date  you posted
                                         date you           your review
                                                    posted your  review ofof the
                                                                             the "Sandy
                                                                                 "Sandy Hook
                                                                                         Hook Lingerie
                                                                                               Lingerie Party
                                                                                                         Party Massacre"
                                                                                                                  Massacre" on     your site
                                                                                                                                on your site
aslashabove.com shows
aslashabove.com       shows foreknowledge
                              foreknowledge or  or prior
                                                   prior planning, of the
                                                         planning, of the events   that have
                                                                           events that       taken place
                                                                                        have taken place as as of
                                                                                                                of late.
                                                                                                                   late.
>
>
> http://www.godlikeproductions.com/forum1/message2087015/pg1
> http://www.godlikeproductions.com/forum1/message2087015/pg1
>
>
> http://aslashabove.com/2012/07/20/sandy-hook-lingerie-party-massacre-2000-review/
> http://aslashabove.com/2012/07/20/sandy-hook-lingerie-party-massacre-2000-review/
>
>
> At
> At first,
     first, we
             we thought
                thought this
                         this was
                              was surely
                                    surely ridiculous,
                                           ridiculous, however,   we're (Infowars.com)
                                                        however, we're                    going to
                                                                         (Infowars.com) going   to point
                                                                                                   point itit out
                                                                                                              out in an article
                                                                                                                  in an  article anyway
                                                                                                                                 anyway and
                                                                                                                                          and would
                                                                                                                                              would like to
                                                                                                                                                    like to
give you
give you thethe opportunity  to provide
                opportunity to           a comment.
                                 provide a comment.
>
>
> Thank
> Thank you.
           you.
>
>




                                                                                                                                                  #1707.1
                                                                                                                                            FSSTX-077825
           22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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       From:
       From: Paul Watson <watson@prisonplanet.com>
             Paul Watson <watson@prisonplanet.com>
         To: Len
         To: Len Pozner
                 Pozner <lpozner@gmail.com>
                        <lpozner@gmail.com>
 Subject: Re:
 Subject: Re: Newtown
              Newtown
       Date:
       Date: 2013-01-29
             2013-01-29 22:02:09
                        22:02:09 +0000
                                 +0000


Sir,
Sir,

We have
We have not
        not promoted the "actors"
            promoted the "actors" thing.
                                  thing. In fact, we
                                         In fact, we have actively distanced
                                                     have actively           ourselves from
                                                                   distanced ourselves from it.
                                                                                            it.

We have
We      said on
   have said on numerous
                numerous occasions that itit was
                         occasions that      was a
                                                 a very
                                                   very real tragedy with
                                                        real tragedy with very
                                                                          very real victims.
                                                                               real victims.

II hope we can
   hope we can continue to count
               continue to count you
                                 you as
                                     as a
                                        a listener, and II am
                                          listener, and    am deeply sorry for
                                                              deeply sorry for your
                                                                               your loss.
                                                                                    loss.

Best
Best Regards,
     Regards, Paul Joseph Watson.
              Paul Joseph Watson.

----- Original
----- Original Message
               Message -----
From:   "Len Pozner"
From: "Len    Pozner"
To: writers@infowars.com
To:   writers@infowars.com
Sent: Tuesday,
Sent:   Tuesday, January  29, 2013
                 January 29,       9:55:38 PM
                              2013 9:55:38 PM
Subject: Newtown
Subject:   Newtown

Alex,
Alex,

II am
   am very
      very disappointed to see
           disappointed to see how
                               how many
                                   many people are directing
                                        people are directing more anger at
                                                             more anger at families
                                                                           families that
                                                                                    that lost their children
                                                                                         lost their children in
                                                                                                             in Newtown. Accusing us
                                                                                                                Newtown. Accusing us of
                                                                                                                                     of
being  actors.......
 being actors

Haven't we had
Haven't we had our share of
               our share of pain and suffering?
                            pain and suffering? All
                                                All these
                                                    these accusations
                                                          accusations of government involvement,
                                                                      of government              false flag
                                                                                    involvement, false flag terror,
                                                                                                            terror, new world order
                                                                                                                    new world       etc..
                                                                                                                              order etc..

II used to enjoy
   used to enjoy listening to your
                 listening to your shows
                                   shows prior to 12-14-12.
                                         prior to 12-14-12.

Now
Now II feel
       feel that
            that your
                 your type
                      type of
                           of show
                              show created these hateful
                                   created these hateful people and they
                                                         people and they need to be
                                                                         need to be reeled
                                                                                    reeled in!
                                                                                           in!


Lenny
Lenny Pozner
      Pozner




--
--
Sent from
Sent from my Android phone
          my Android       with K-9
                     phone with K-9 Mail.
                                    Mail. Please excuse my
                                          Please excuse my brevity.
                                                           brevity.




                                                                                                                                 #1122.1
                                                                                                                           FSSTX-072489
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Full Video: Megyn Kelly
Interviews Alex Jones
Posted By Ian Schwartz
On Date June 18, 2017




Megyn Kelly grilled Info Wars founder and host Alex Jones on his political
leanings, connection to then-candidate and now President Donald Trump,
conspiracy theories about the Sandy Hook massacre and Chobani, and much
more on this week's broadcast of Sunday Night with Megyn Kelly. Transcript of
the interview below.


Alex Jones, joined by Mike Cernovich, held a live stream to respond to the Kelly
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interview as it was broadcasted on NBC News:




Jones called the Kelly interview a "deep state production."


Kelly's interview received high marks from media pundits. NBC colleague
Andrea Mitchell called it "solid journalism" and founder of the blog Mediaite Dan
Abrams said it was "important journalism"




      #Megyn Kelly did more to expose the real Alex Jones and than
      anyone else on TV. Solid journalism.
      — Andrea Mitchell (@mitchellreports) June 18, 2017
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      Tonight de nitely gives Alex Jones more ammunition for his anti-
      media war https://t.co/gmMVVSLZ2g
      — Brian Stelter (@brianstelter) June 18, 2017




      Watching @megynkelly interview with Alex Jones, I'm even more
      convinced that her piece wasn't just ok to do, but important
      journalism.
      — Dan Abrams (@danabrams) June 18, 2017




Transcript, via NBC News' Sunday Night with Megyn Kelly:


MEGYN KELLY: First tonight, our report on the incendiary radio host, Alex
Jones. For years, Jones has been spreading conspiracy theories, claiming, for
instance, that elements of the U.S. government allowed the 9/11 attacks to
happen and that the horri c Sandy Hook massacre was a hoax. Some thought
we shouldn't broadcast this interview because his baseless allegations aren't
just o ensive, they're dangerous. But here's the thing: Alex Jones isn't going
away. Over the years, his YouTube channel has racked up 1.3 billion views. He
has millions of listeners and the ear of our current president. We begin our
report with his reaction to the recent terrorist attack in Manchester, England.




      KELLY: ALEX JONES WAS NEARLY 5,000 MILES AWAY FROM
      MANCHESTER, ENGLAND WHEN A SUICIDE BOMBER KILLED 22
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   PEOPLE AT A CONCERT LESS THAN FOUR WEEKS AGO. DESPITE
   THE DISTANCE, AND WITH FEW FACTS KNOWN, JONES DID
   WHAT HE OFTEN DOES: JUMPED MOUTH-FIRST INTO
   CONTROVERSY.


   ALEX JONES (May 22, 2017 YouTube video): A big bomb goes o at
   a pop star's rock concert bombing a bunch of liberal trendies.


   MEGYN KELLY: You said, "It was a bunch of liberal trendies who
   were killed, the same people who are promoting open borders,
   bringing Islamists in.


   ALEX JONES: Yes.


   MEGYN KELLY: In response to which, many people looked at the
   victims, many of whom were 15, 14. There was a little eight …


   ALEX JONES: No. I'm sorry I didn't blow 'em up. I know. But I did
   something bad, though?


   MEGYN KELLY: No, that - that you …


   ALEX JONES: Oh, no, no, no, no …


   MEGYN KELLY: … would suggest that …


   ALEX JONES: ‘cause …


   MEGYN KELLY: … that an eight - that an eight-year-old, right? There
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   was Sa e Rose Roussos, eight years old, that she was a liberal
   trendy, right? 'Cause that's what you said about the victims is what
   has people upset …


   ALEX JONES: No, that's - yeah, no, no. The media misrepresenting
   and clipping that the way you did. I got home at, like, 6:00, heard
   about it. The ages of the victims weren't even known. But they were
   saying it was jihadi. And I said, "How crazy is it that liberal trendies
   are now the victims?" And then I start going and looking. Of course,
   if there's kids being killed by Muslims, I'm not saying that it's their
   fault.


   MEGYN KELLY: THAT PATTERN: RECKLESS ACCUSATION,
   FOLLOWED BY EQUIVACATIONS AND EXCUSES IS CLASSIC ALEX
   JONES.


   ALEX JONES CLIP: They can just carte blanche go anywhere ...


   MEGYN KELLY: HE HAS SPENT NEARLY TWO DECADES ON THE
   FRINGE, SHOUTING HIS CONSPIRACY THEORIES INTO ANY
   MICROPHONE HE COULD GET IN FRONT OF. HERE HE IS ON
   AUSTIN COMMUNITY TELEVISION IN 2001.


   ALEX JONES CLIP: Tyranny is enveloping the globe.


   MEGYN KELLY: HE AND HIS COMPANY, INFOWARS, HAVE BEEN
   STEADILY GAINING FOLLOWERS FOR YEARS, PRODUCING
   RADIO SHOWS AND WEBCASTS, WHICH REACH MILLIONS A
   MONTH. BUT JONES' INFLUENCE HIT NEW HEIGHTS WHEN HE
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   ATTRACTED A VERY FAMOUS FAN: THEN PRESIDENTIAL
   CANDIDATE DONALD TRUMP.


   DONALD TRUMP (On Alex Jones’ show December 2, 2015): I just
   want to nish by saying your reputation is amazing.


   MEGYN KELLY: IN DECEMBER, 2015, MR. TRUMP APPEARED ON
   JONES' RADIO PROGRAM, OFFERING PRAISE AND PROMISES.


   DONALD TRUMP (On Alex Jones’ show December 2, 2015): I will
   not let you down. You will be very, very impressed I hope and I
   think we'll be speaking a lot.


   MEGYN KELLY: SEPARATELY, BOTH MEN HAD SUPPORTED THE
   FALSE STATEMENT THAT BARACK OBAMA WAS NOT A
   NATURAL-BORN CITIZEN. AND THEY'VE HAD MORE IN
   COMMON SINCE.


   ALEX JONES (February 24, 2017): I agree with Trump on that. He
   agrees with me. And then we got articles, "he's following Alex on
   coal." "He's following Alex on guns." "He's following Alex on
   borders."


   MEGYN KELLY: THE 2016 CAMPAIGN WAS GOOD FOR
   INFOWARS. ITS YOU TUBE MONTHLY VIEWS REACHED 83
   MILLION IN NOVEMBER 2016, MORE THAN FIVE TIMES HIGHER
   THAN THE PREVIOUS NOVEMBER. AND WHEN MR. TRUMP
   WON, ALEX JONES FOUND HIMSELF WITH ACCESS TO THE
   SEAT OF POWER. INFOWARS GOT A TEMPORARY WHITE HOUSE
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   PRESS PASS FOR THE FIRST TIME, AND JONES SAYS MR. TRUMP
   CALLED HIM AFTER THE ELECTION TO THANK HIM FOR HIS
   HELP.


   MEGYN KELLY: You have said that it's surreal to say something on
   Infowars and then hear it come out of the President of the United
   States' mouth a couple days later.


   ALEX JONES: I mean, that has happened. But, I mean …


   MEGYN KELLY: Do you think he's watching?


   ALEX JONES: I mean, I know Trump watches and sees the clips
   and things.


   MEGYN KELLY: WE DID FIND INDICATIONS OF THAT. ON JULY
   22, 2015, INFOWARS PUT UP THIS VIDEO, CLAIMING IT SHOWED
   DRUG TRAFFICKING ALONG THE US-MEXICO BORDER.
   ALTHOUGH WE DON'T KNOW WHAT IT ACTUALLY SHOWS.


   INFOWARS REPORTER: We actually witnessed a drug smuggling
   operation from Mexico into the U.S. …


   MEGYN KELLY: THREE DAYS LATER, MR. TRUMP GAVE THIS
   SPEECH IN IOWA.


   DONALD TRUMP: Big story, it's all over the place now - guys
   swimming across, and big bags of stu , it's drugs, swimming across
   the river.
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   MEGYN KELLY: THIS WAS INFOWARS PREVIEWING THE FIRST
   PRESIDENTIAL DEBATE BETWEEN DONALD TRUMP AND
   HILLARY CLINTON.


   ALEX JONES (September 25, 2016): I think she's going to show up -
   on drugs though - she's going to be whacked out.


   MEGYN KELLY: AND MR. TRUMP'S TAKE NOT LONG AFTER:


   DONALD TRUMP (October 15, 2016): We should take a drug test
   prior, because I don't know what's going on with her.


   MEGYN KELLY: DONALD TRUMP ALLY AND FREQUENT
   INFOWARS GUEST ROGER STONE UNDERSCORED THE
   CONNECTION BETWEEN JONES AND THE TRUMP CAMPAIGN IN
   A TWEET LAST SPRING. IT READ: "MSM ELITES DON'T SEE THAT
   @REALALEXJONES AND @INFOWARS REACH MILLIONS OF
   @REALDONALDTRUMP SUPPORTERS AND HELPED MAKE THE
   TRUMP REVOLUTION."


   ALEX JONES (February 22, 2017): Donald Trump calls me. The
   secretary says, "Donald Trump would like to talk to you, Mr. Jones,
   would you like to talk to him? Yes, boom."


   MEGYN KELLY: WHILE JONES HAS BOASTED OF HIS CONTACT
   WITH THE PRESIDENT ON HIS RADIO SHOW, HE DOWNPLAYED
   IT IN HIS INTERVIEW WITH US, CLAIMING THE MAINSTREAM
   MEDIA, OR MSM, HAS EXAGGERATED THEIR CONNECTION.
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   ALEX JONES: I think my in uence on Trump is way, way lower
   than what MSM has said.


   MEGYN KELLY: Well, what kind of access do you have?


   ALEX JONES: He's just called sometimes and, you know, talked
   about politics or thanked me, stu like that. That's it.


   MEGYN KELLY: Would you describe yourself as friends?


   ALEX JONES: No.


   MEGYN KELLY: Friendly?


   ALEX JONES: Sure.


   MEGYN KELLY: And how many times has he called you?


   ALEX JONES: I don't want to get into all that.


   MEGYN KELLY: What is it, do you think, about Alex Jones that
   President Trump nds so amazing?


   CHARLIE SYKES: That’s a scary question.


   MEGYN KELLY: CHARLIE SYKES IS A CONSERVATIVE WRITER
   AND CONTRIBUTOR TO NBC NEWS. HE'S BEEN CRITICAL OF
   PRESIDENT TRUMP.
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   CHARLIE SYKES: Obviously, there's a conspiratorial turn in the
   president's thinking and in his imagination. And those darker
   impulses are fed into by Alex Jones.


   MEGYN KELLY: JONES SPEAKS TO HIS LISTENERS FOR HOURS A
   DAY, SIX DAYS A WEEK. HIS RANTS CAN BE VULGAR AND HATE
   FILLED LIKE THIS ONE DIRECTED AT A MEMBER OF CONGRESS.


   ALEX JONES (March 2017): Schi looks like the arch - archetypal
   c***sucker. And there's something about this fairy hopping around,
   trying to intimidate people like me and you. I want to tell
   Congressman Schi and all the rest of them, “You want to sit here
   and say that I'm a goddamn, f**king Russian. You get in my face
   with that I'll beat your goddamn ass, you son of a bitch."


   MEGYN KELLY: JONES BEGAN DEVELOPING HIS CONSPIRACY
   THEORIES AS A TEENAGER. HE GREW UP THE OLDEST CHILD
   OF A DENTIST AND A HOMEMAKER, AND WENT TO HIGH
   SCHOOL IN AUSTIN, TEXAS.


   ALEX JONES: I read a lot of history books when I was a kid. And I
   also had family that was educated, so, I mean, I just knew how
   things actually worked, versus what the news was saying
   sometimes.


   MEGYN KELLY: AFTER A BRIEF STINT IN COMMUNITY COLLEGE,
   JONES FOUND HIS CALLING AT PUBLIC ACCESS TV IN AUSTIN.
   HE WENT INTO BUSINESS FOR HIMSELF, FOUNDING INFOWARS
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   IN 1999. MANY DOUBTED HIS PROSPECTS, BUT HE'S NOW
   WORTH MILLIONS. INFOWARS MAKES MOST OF ITS MONEY BY
   SELLING PRODUCTS LIKE MALE SUPPLEMENTS. THE MAIN
   PITCHMAN: JONES HIMSELF.


   ALEX JONES: I mean, it costs $45, $50 million a year to run this.


   MEGYN KELLY: And how much money's being made?


   ALEX JONES: Well, the money that's made is pretty much put back
   into things.


   MEGYN KELLY: JONES USES THAT MONEY TO SPREAD HIS
   MESSAGE, A MESSAGE THAT HAS CAUSED ENORMOUS PAIN.


   CHARLIE SYKES: What he has done is he has injected this sort of
   toxic paranoia into the mainstream of conservative thought in a
   way that would have been inconceivable a couple of decades ago.
   We're talking about somebody who tra cs in some of the sickest,
   most o ensive types of theories.


   MEGYN KELLY: AT THE TOP OF THAT LIST IS JONES'
   OUTRAGEOUS STATEMENT THAT THE SLAUGHTER OF
   INNOCENT CHILDREN AND TEACHERS AT SANDY HOOK
   ELEMENTARY SCHOOL, ONE OF THE DARKEST CHAPTERS IN
   AMERICAN HISTORY, WAS A HOAX.


   NEIL HESLIN: I lost my son. I buried my son. I held my son with a
   bullet hole through his head.
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   MEGYN KELLY: NEIL HESLIN'S SON JESSE, JUST 6-YEARS-OLD,
   WAS MURDERED, ALONG WITH 19 OF HIS CLASSMATES AND SIX
   ADULTS ON DECEMBER 14, 2012 IN NEWTOWN, CONNECTICUT.


   NEIL HESLIN I dropped him o at 9:04. That's when we dropped
   him o at school with his book bag. Hours later I was picking' him
   up in a body bag.


   MEGYN KELLY: ALEX JONES REPEATEDLY CLAIMED THAT THE
   SHOOTING NEVER HAPPENED. HERE HE IS ON INFOWARS IN
   DECEMBER 2014.


   ALEX JONES (on his show): It took me about a year with Sandy
   Hook to come to grips with the fact that the whole thing was fake.


   MEGYN KELLY: you said, "The whole thing is a giant hoax. How do
   you deal with a total hoax? It took me about a year, with Sandy
   Hook, to come to grips with the fact that the whole thing was fake. I
   did deep research. And my gosh, it just pretty much didn't happen."


   ALEX JONES: At that point, and I do think there's some cover-up
   and some manipulation, that is pretty much what I believed. But
   then I was also going into devil's advocate. But then we know
   there's mass shootings, and these things happen. So again …


   MEGYN KELLY: But you're trying to have it all ways, right?


   ALEX JONES: No, I'm not.
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   MEGYN KELLY: If you wrongly went out there and said it was a
   hoax, that's wrong.


   ALEX JONES: But what I already answered your question was,
   listeners and other people are covering this. I didn't create that
   story.


   MEGYN KELLY: But Alex, the parents, one after the other,
   devastated. The dead bodies that the coroner autopsied …


   ALEX JONES: And they blocked all that. And they won't release any
   of it. That's unprecedented. Even …


   MEGYN KELLY: All of the parents …


   ALEX JONES: … even the reports.


   MEGYN KELLY: … decided to come out and lie about their dead
   children?


   ALEX JONES: I didn't say that …


   MEGYN KELLY: What happened to the children?


   ALEX JONES: I will sit there on the air and look at every position
   and play devil's advocate.


   MEGYN KELLY: Was that devil's advocate? "The whole thing is a
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   giant hoax. The whole thing was fake."


   ALEX JONES: Yes. Because I remember, even that day, to go back
   from memory, then saying, "But then, some of it looks like it's real."
   But then what do you do, when they've got the kids going in circles,
   in and out of the building with their hands up? I've watched the
   footage. And it looks like a drill.


   MEGYN KELLY: When you say, "parents faked their children's
   death," people get very angry.


   ALEX JONES: Yeah, well, that's - oh, I know. But they don't get
   angry about the half million dead Iraqis from the sanctions. Or they
   don't get angry about all the illegals pouring in …


   MEGYN KELLY: That's a dodge.


   ALEX JONES: No, no. It's not a dodge. The media never covers all
   the evil wars it's promoted and all the big things …


   MEGYN KELLY: That doesn't excuse what you did and said about
   Newtown, and you know it …


   ALEX JONES: Oh, but I - here's the di erence. Here's the di erence.
   I looked at all the angles of Newtown. And I made my statements
   long before the media even picked up on it.


   MEGYN KELLY: IN OUR INTERVIEW, WE ASKED JONES
   NUMEROUS TIMES WHAT HE NOW BELIEVES. AND HE NEVER
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   COMPLETELY DISAVOWED HIS PREVIOUS STATEMENTS.


   ALEX JONES: I tend to believe that children probably did die there.
   But then you look at all the other evidence on the other side. I can
   see how other people believe that nobody died there.


   MEGYN KELLY: OF COURSE, THERE IS NO "EVIDENCE ON THE
   OTHER SIDE." AFTER PRESIDENT TRUMP TOOK OFFICE, THE
   NEWTOWN BOARD OF EDUCATION WROTE TO HIM, IMPLORING
   THE PRESIDENT TO TRY TO STOP JONES AND OTHER HOAXERS
   LIKE HIM, SAYING JONES CONTINUES TO SPREAD HATE AND
   LIES TOWARDS OUR TOWN. ALMOST FOUR MONTHS LATER,
   ACCORDING TO THE BOARD CHAIRMAN, THE PRESIDENT HAS
   YET TO RESPOND. THE LIES ABOUT SANDY HOOK HAVE HAD
   REAL WORLD CONSEQUENCES. JUST THIS MONTH, A FLORIDA
   WOMAN WAS SENTENCED TO FIVE MONTHS IN PRISON FOR
   SENDING DEATH THREATS TO A SANDY HOOK PARENT. HER
   DEFENSE ATTORNEY SAYS SHE WAS PRIMARILY MOTIVATED BY
   INFOWARS.OTHER VICTIMS' FAMILY MEMBERS HAVE BEEN
   HARASSED OR THREATENED, TOO. THE FAMILIES SAY THAT
   JONES' WORDS HAVE CAUSED LASTING PAIN, AND THEY FEAR
   THE HARASSMENT WILL CONTINUE.


   NEIL HESLIN: You know, it's disrespectful to me where in fact I did
   lose my son. And the 26 other families lost somebody. And I take
   that very personal.


   MEGYN KELLY: You know this piece is going to air on Father's Day.
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   NEIL HESLIN: Correct.


   MEGYN KELLY: what is your message to him?


   NEIL HESLIN: I think he's blessed to have his children to spend the
   day with, to speak to. I don't have that.


   MEGYN KELLY: THE CONSEQUENCES OF JONES' ACTIONS ARE
   NOT LIMITED TO SANDY HOOK. IN 2016, JONES PROMOTED A
   CONSPIRACY THEORY KNOWN AS "PIZZAGATE." INFOWARS
   CLAIMED A CHILD SEX RING WAS BEING RUN BY DEMOCRATS
   OUT OF A NUMBER OF BUSINESSES, AND SPECIFICALLY
   POINTED TO A WASHINGTON D.C. PIZZERIA.


   ALEX JONES (on his radio show): You got to go to Infowars.com
   and actually see the photos and videos inside these places.


   ###


   MEGYN KELLY: JONES ENCOURAGED HIS LISTENERS TO
   INVESTIGATE THE CASE THEMSELVES, AND ONE DID,
   BRINGING A SEMI-AUTOMATIC RIFLE TO THE SHOP AND FIRING
   SEVERAL ROUNDS. NO ONE WAS HURT AND THE SHOOTER WAS
   ARRESTED. THE PIZZA SHOP OWNER WROTE A LETTER ASKING
   JONES TO APOLOGIZE. FACING THE POSSIBILITY OF A LAWSUIT,
   HE DID. ANOTHER APOLOGY CAME JUST THIS SPRING.
   CHOBANI YOGURT SUED JONES AFTER INFOWARS FANNED THE
   LIE THAT CHOBANI EMPLOYEES COMMITTED A SEXUAL
   ASSAULT IN IDAHO.
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   ALES JONES (May 17, 2017): On behalf of Infowars, I regret that we
   mischaracterized Chobani.


   MEGYN KELLY: You misstated facts about Chobani and its owner,
   which you could've found out, if you just had a reporter do a little
   shoe-leather reporting, pick up the phone, call, check out the facts.
   You never would've had to retract that or apologize.


   ALEX JONES: This is my statement on that. We know that that was,
   basically, a PR event. And what happens is you've got a year of
   reporting on the reported sexual assault.


   MEGYN KELLY: All of which has nothing to do with Chobani.


   ALEX JONES: Yeah. I know you're not going to let me get it out, are
   you?


   MEGYN KELLY: I'm going to let you get it out. I just want to make
   sure the record's straight. 'Cause I don't want to smear the man. You
   are the one who said that you were wrong about Chobani. You said
   that.


   ALEX JONES: Well, that's because they chose to go after me. And so
   I simply pointed out that we were reporting on other people's
   reports that were not entirely accurate. And for that, we were sorry.
   'Cause it was true.


   MEGYN KELLY: You don't sound very sorry.
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   ALEX JONES: I'm - well, the media said stu about the settlement
   that wasn't true.


   MEGYN KELLY: But you said things about Chobani and its owner
   that were not true. Are you sorry?


   ALEX JONES: I'm going to tell you again. There - the media really
   was upset that they said that it was a hoax …


   MEGYN KELLY: It's not the media …


   ALEX JONES: And so what they did …


   MEGYN KELLY: You …


   ALEX JONES: And so what they did …


   MEGYN KELLY: Are you sorry …


   ALEX JONES: And so what they did - so what the media did, and we
   know it was the media, and we have the PIs and the law rms. And
   we're working on it right now. Let's just say Chobani was real happy
   to get out of that lawsuit.


   MEGYN KELLY: BUT THE LAWSUIT MAKES CLEAR INFOWARS
   WAS THE ONLY MEDIA OUTLET TO REPORT THE LIE THAT
   FORCED JONES TO APOLOGIZE. AND WITH THAT APOLOGY
   CHOBANI CONSIDERS THE MATTER CLOSED.
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   MEGYN KELLY: Do you think of yourself as a journalist?


   ALEX JONES: I have some journalists that work for me. And I do
   journalistic work. And I've broken a lot of big stories. And I
   understand the basics of it.


   MEGYN KELLY: IN THE INFOWARS STUDIO, THERE'S NO SCRIPT.
   INSTEAD IT'S A FREEWHEELING SPIN THROUGH PILES OF
   ARTICLES STRAIGHT OFF THE INTERNET.


   ALEX JONES: 95% of what we cover is looking at a news article and
   then, you know, discussing it.


   MEGYN KELLY: Well, but you know, if you just look at an article and
   discuss it, it's garbage in, garbage out, right? If you haven't
   ascertained the veracity of that article, and it's all BS, and then you
   spend two hours talking about it, then you've put out a bunch of
   misinformation. I'm just trying to gure out what the vetting
   process is.


   ALEX JONES: I mean, we all get Hillary was 15 points ahead, okay?
   And I mean, we all get mainstream media has got a big problem.


   MEGYN KELLY: THE INFOWAR STAFFERS WE MET HAVE FREE
   REIGN TO COVER WHATEVER THEY LIKE WITH VIRTUALLY NO
   OVERSIGHT. WE SPOKE WITH SOME OF JONES' EMPLOYEES,
   INCLUDING OWEN SHROYER.
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   MEGYN KELLY: How do you, on a day to day basis, gure out what
   you're going to do?


   OWEN SHROYER: I wake up. I look at the news. I pray. I rarely get
   directed from Alex or my boss. They pretty much just leave it up to
   me.


   MEGYN KELLY: Is that what you consider yourself to be? A
   journalist?


   OWEN SHROYER: You know, I don't like calling it that. I'm just a
   human. I'm just a human that's looking for truth. I'm trying to reach
   out and be what the people want.


   MEGYN KELLY: When you say "people," who do you mean?


   OWEN SHROYER: The deplorables. The y-over country. The
   forgotten Americans.


   DONALD TRUMP (Election Night 2016): We're going to get to work
   immediately for the American people.


   MEGYN KELLY: WITH THE ELECTION OF DONALD TRUMP, ALEX
   JONES HAS PLANS TO EXPAND INFOWARS. MORE STUDIOS,
   MORE SHOWS, MORE EMPLOYEES, MORE INFLUENCE.


   ALEX JONES: I said, the night he won, I said, "The war has just
   begun." So this is - we've just got a beachhead. And so that's just the
   start of the war for me.
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      MEGYN KELLY: AND ALEX JONES GOES INTO BATTLE WITH A
      POWERFUL ALLY. JUST TWO WEEKS AGO, THE TRUMP-PENCE
      CAMPAIGN EMAILED THIS MESSAGE TO SUPPORTERS. NOTICE,
      AT THE BOTTOM, IT'S A LINK TO INFOWARS.




Related Videos




  Trump Lawyer Jay Sekulow Takes On Chuck Todd, Jake Tapper, Chris Wallace, John
Dickerson In One Day

Member of President Trump's legal team and former Fox News contributor Jay Sekulow
did three morning talk shows on Sunday, defending the president over and over. First,
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            From: Keith
            From: Keith Johnson
                        Johnson <revoltoftheplebs@yahoo.com>
                                <revoltoftheplebs@yahoo.com>
              To: Rob
              To: Rob Dew
                      Dew <robd@infowars.com>
                          <robd@infowars.com>
        Subject: Re:
        Subject: Re: Whistleblower
                     Whistleblower Contact
                                   Contact
            Date: 2014-12-12
            Date: 2014-12-12 21:05:30
                             21:05:30 +0000
                                      +0000
 Attachments: keithjohnson1.jpg
 Attachments: keithjohnson1.jpg



Bio: Keith
Bio: Keith Johnson
           Johnson aa reporter
                      reporter for
                               for American
                                   American Free
                                            Free Press
                                                 Press has
                                                       has for
                                                           for 17
                                                               17 years worked as
                                                                  years worked as a
                                                                                  a private
                                                                                    private
investigator and
investigator and polygraph
                 polygraph examiner
                            examiner for
                                     for several
                                         several Fortune
                                                 Fortune 500
                                                         500 companies
                                                             companies and
                                                                        and prominent
                                                                            prominent law
                                                                                       law
firms.
firms.

Photo Attached
Photo Attached

From: Rob
From:  Rob Dew
            Dew <robd@infowars.com>
                <robd@infowars.com>
To: Keith
To: Keith Johnson
          Johnson <revoltoftheplebs@yahoo.com>
                   <revoltoftheplebs@yahoo.com>
Sent: Friday,
Sent: Friday, December
              December 12,
                        12, 2014
                             2014 11:52
                                  11:52 AM
                                        AM
Subject: Re:
Subject:  Re: Whistleblower
              Whistleblower Contact
                             Contact


Hi Keith,
Hi Keith,

II am
   am sorry
      sorry you
            you will
                will be
                     be unable
                        unable to
                               to attend,
                                  attend, II was
                                             was going
                                                 going to
                                                       to get
                                                          get you
                                                              you on
                                                                  on with
                                                                     with Halbig
                                                                          Halbig at
                                                                                 at the
                                                                                    the same
                                                                                        same time
                                                                                             time for
                                                                                                  for you
                                                                                                      you guys to hash
                                                                                                          guys to hash this
                                                                                                                       this out.
                                                                                                                            out.

I'm interested
I'm interested in
               in the
                  the truth
                      truth getting
                            getting out
                                    out --
                                        -- People
                                           People will
                                                  will be
                                                       be searching
                                                          searching this
                                                                    this subject
                                                                         subject over
                                                                                 over the
                                                                                      the weekend so if
                                                                                          weekend so if you
                                                                                                        you want to get
                                                                                                            want to     the info
                                                                                                                    get the info today
                                                                                                                                 today is
                                                                                                                                       is the
                                                                                                                                          the
day.
day.

Ping me
Ping me back
        back if
             if you
                you change
                    change your
                           your mind.
                                mind.

Thanks
Thanks
Rob
Rob




----- Original
-----  Original Message
                Message -----
From: "Keith
From:    "Keith Johnson"
                Johnson" <revoltoftheplebs@yahoo.com>
                          <revoltoftheplebs@yahoo.com>
To: "Rob
To:   "Rob Dew"
            Dew" <robd@infowars.com>
                  <robd@infowars.com>
Sent: Friday,
Sent:   Friday, December
                December 12,
                           12, 2014
                               2014 5:22:25
                                     5:22:25 AM
                                             AM
Subject: Re:
Subject:   Re: Whistleblower
                Whistleblower Contact
                              Contact




 Rob,
 Rob,
 In my
In  my last
        last email,
             email, II expressed
                       expressed that
                                    that II would   love to
                                            would love    to be  on your
                                                              be on  your show
                                                                            show Friday.
                                                                                    Friday.
 However, when
 However,    when II made
                      made thethe announcement,
                                  announcement, II was   was met
                                                               met with
                                                                    with criticism
                                                                          criticism byby people
                                                                                          people II respect
                                                                                                     respect dearly,   some who
                                                                                                              dearly, some    who are
                                                                                                                                   are from
                                                                                                                                       from Newtown.
                                                                                                                                             Newtown.
 They made
 They  made a  a very
                 very good
                        good point
                               point that
                                     that participating
                                           participating in in a
                                                               a show
                                                                 show like
                                                                        like this
                                                                              this is
                                                                                   is very
                                                                                      very bad
                                                                                            bad timing
                                                                                                  timing and
                                                                                                         and not
                                                                                                               not in
                                                                                                                   in good
                                                                                                                      good taste
                                                                                                                             taste considering
                                                                                                                                   considering that
                                                                                                                                                  that we
                                                                                                                                                       we are
                                                                                                                                                          are only
                                                                                                                                                              only 2
                                                                                                                                                                   2
 days away
 days  away from
              from the
                    the twotwo year
                               year mark
                                    mark of of this
                                               this tragic
                                                     tragic massacre.
                                                             massacre.
II had
   had also
       also planned
             planned to  to appear
                            appear on
                                    on the
                                        the Deanna      Spingola show
                                             Deanna Spingola        show on on 12-14-14.
                                                                                12-14-14. II will   cancel that
                                                                                               will cancel  that as
                                                                                                                 as well.
                                                                                                                     well.
 I've made
 I've made the
             the decision
                 decision to to stay  away from
                                stay away    from this
                                                    this subject   until after
                                                         subject until    after the
                                                                                the first
                                                                                     first of
                                                                                           of the
                                                                                              the year.
                                                                                                   year.
 Please allow
 Please   allow me
                 me to
                     to come
                          come on
                                on your
                                    your show
                                          show at at any
                                                      any time
                                                           time after
                                                                 after 12-31-2014.
                                                                       12-31-2014. II willwill be
                                                                                               be more
                                                                                                   more than
                                                                                                         than happy
                                                                                                               happy to to appear
                                                                                                                           appear alone
                                                                                                                                   alone or
                                                                                                                                          or debate    anyone who
                                                                                                                                             debate anyone    who
 does not
 does  not share
            share my
                   my perspective.
                         perspective.
 In the
In  the meantime,
        meantime, if  if you
                         you have
                              have any
                                    any questions      about my
                                         questions about       my point
                                                                   point ofof view,
                                                                              view, please     feel free
                                                                                      please feel   free to
                                                                                                         to ask
                                                                                                            ask me
                                                                                                                 me any
                                                                                                                      any questions   and II will
                                                                                                                           questions and     will reply
                                                                                                                                                  reply as
                                                                                                                                                        as soon
                                                                                                                                                           soon as
                                                                                                                                                                as
 possible.
 possible.
 Sincerely,
 Sincerely,
 Keith Johnson
Keith   Johnson




                                                                                                                                                           #2572.1
                                                                                                                                                     FSSTX-037204
           22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                             572 of 1271

From: Keith
From: Keith Johnson
            Johnson <revoltoftheplebs@yahoo.com>
                     <revoltoftheplebs@yahoo.com>
To: Rob
To: Rob Dew
         Dew <robd@infowars.com>
             <robd@infowars.com>
Sent: Thursday,
Sent: Thursday, December
                December 11,
                           11, 2014  10:43 PM
                               2014 10:43  PM
Subject: Re:
Subject: Re: Whistleblower
             Whistleblower Contact
                           Contact




Rob,
Rob,

Rob,
Rob,

Thank you
Thank you for
          for your
              your reply.
                   reply.

II would
   would love
         love to
              to be
                 be on
                    on the
                       the show
                            show Friday
                                   Friday night
                                           night but
                                                 but II cannot use have
                                                        cannot use have Skype.
                                                                          Skype. II live
                                                                                    live in
                                                                                         in rural
                                                                                            rural area
                                                                                                  area on
                                                                                                       on TN
                                                                                                          TN and
                                                                                                             and must
                                                                                                                  must rely
                                                                                                                        rely on
                                                                                                                             on HughesNet   satellite,
                                                                                                                                HughesNet satellite,
 which causes
 which causes a a delay. If calling
                  delay. If calling in
                                    in by
                                       by phone
                                          phone is
                                                 is not
                                                    not acceptable,
                                                         acceptable, II can
                                                                        can try
                                                                            try and
                                                                                and make
                                                                                      make arrangements
                                                                                             arrangements with
                                                                                                           with a
                                                                                                                a friend
                                                                                                                  friend to
                                                                                                                         to use
                                                                                                                            use their
                                                                                                                                their Skype.
                                                                                                                                      Skype.

Now, concerning
Now, concerning some
                some of your points
                     of your points raised:
                                    raised:


For one
For one thing,
        thing, the
               the security
                   security system
                            system was   not upgraded
                                   was not   upgraded in in 2012.
                                                            2012. It
                                                                  It was
                                                                     was upgraded
                                                                         upgraded earlier
                                                                                  earlier than
                                                                                          than that
                                                                                               that and
                                                                                                    and II have
                                                                                                           have proof. The letter
                                                                                                                proof. The letter referring
                                                                                                                                  referring to
                                                                                                                                            to the
                                                                                                                                               the
upgrade was
upgrade  was on
             on the
                 the school  website but
                     school website      originally written
                                     but originally written in
                                                             in 2010.
                                                                2010. The
                                                                      The video
                                                                          video camera
                                                                                camera in
                                                                                        in use
                                                                                           use at
                                                                                               at the
                                                                                                  the time
                                                                                                      time had
                                                                                                            had no
                                                                                                                no recording
                                                                                                                   recording feature.
                                                                                                                              feature.


Adam Lanza
Adam   Lanza was
              was more
                   more than
                        than capable
                              capable of
                                       of carrying
                                          carrying out
                                                   out the
                                                       the attacks
                                                           attacks and
                                                                   and II can
                                                                          can explain
                                                                              explain why
                                                                                       why on
                                                                                           on your
                                                                                              your show.
                                                                                                   show. II also
                                                                                                            also wrote
                                                                                                                 wrote anan article
                                                                                                                            article recently
                                                                                                                                     recently of
                                                                                                                                              of my
                                                                                                                                                 my
interview with
interview with a
               a prominent clinical psychologist
                 prominent clinical psychologist on
                                                  on Asperger's
                                                     Asperger's and
                                                                 and what
                                                                     what impact
                                                                            impact it
                                                                                   it would
                                                                                      would have
                                                                                            have on
                                                                                                 on Lanza's
                                                                                                    Lanza's ability
                                                                                                              ability to
                                                                                                                      to carry
                                                                                                                         carry out
                                                                                                                               out the
                                                                                                                                    the attacks.
                                                                                                                                        attacks.

Frauds? You
Frauds?    You are
                are promoting    Wolfgang Halbig,
                    promoting Wolfgang       Halbig, aa man
                                                        man with with less
                                                                      less than
                                                                           than a
                                                                                a year
                                                                                   year of
                                                                                         of law
                                                                                            law enforcement
                                                                                                enforcement as as aa ticket-writing
                                                                                                                     ticket-writing Florida    highway
                                                                                                                                      Florida highway
patrolman in
patrolman    in 1974
                1974 and
                      and aa 3.3
                             3.3 hour
                                  hour online
                                       online certificate
                                               certificate with
                                                             with NIMS.
                                                                    NIMS. HeHe claims
                                                                               claims toto have
                                                                                           have been
                                                                                                 been a a homicide
                                                                                                          homicide detective    and a
                                                                                                                    detective and      a consultant
                                                                                                                                         consultant on
                                                                                                                                                     on
Columbine. Both
Columbine.     Both claims
                    claims are
                            are false
                                 false and
                                       and II can  prove it.
                                              can prove    it. II have
                                                                  have documented
                                                                        documented multiple
                                                                                       multiple lies
                                                                                                lies this
                                                                                                     this man
                                                                                                          man told.
                                                                                                               told. In
                                                                                                                     In addition,
                                                                                                                         addition, II have
                                                                                                                                      have exposed
                                                                                                                                            exposed the
                                                                                                                                                      the
intentional manufacturing
intentional   manufacturing ofof evidence
                                 evidence by    Sandy Hook
                                             by Sandy   Hook conspiracy
                                                                  conspiracy theorists
                                                                              theorists and
                                                                                          and have
                                                                                               have indisputable
                                                                                                     indisputable and
                                                                                                                   and documented
                                                                                                                         documented proof       of their
                                                                                                                                          proof of their frauds.
                                                                                                                                                          frauds.
Child predators?
Child  predators? The
                    The dictionary
                         dictionary definition   of a
                                     definition of  a predator:
                                                      predator: "a  "a person
                                                                       person or  group that
                                                                               or group   that ruthlessly
                                                                                               ruthlessly exploits
                                                                                                           exploits others."
                                                                                                                    others." What
                                                                                                                              What elseelse would
                                                                                                                                            would you
                                                                                                                                                    you call
                                                                                                                                                         call those
                                                                                                                                                              those
seeking to
seeking   to hunt
              hunt down
                   down children    who sang
                          children who  sang at at the
                                                   the 2013
                                                       2013 SuperSuper Bowl
                                                                        Bowl and
                                                                              and stalks
                                                                                    stalks children
                                                                                           children at
                                                                                                     at playgrounds
                                                                                                        playgrounds in in Newtown
                                                                                                                          Newtown and and plots   ways to
                                                                                                                                            plots ways   to
exhume the
exhume    the bodies
               bodies of
                       of dead  children. II have
                          dead children.     have other   information on
                                                    other information     on that
                                                                             that II can  also share.
                                                                                     can also  share.

Let's talk
Let's talk about
           about censorship.
                  censorship. Censorship
                              Censorship is
                                          is a
                                             a function
                                               function of
                                                        of government, not private
                                                           government, not         industry. The
                                                                           private industry. The videos
                                                                                                 videos taken
                                                                                                        taken down
                                                                                                              down were
                                                                                                                   were done so after
                                                                                                                        done so after
complaints of
complaints   of copyright
                copyright holders
                          holders of
                                  of photos
                                     photos and
                                            and music
                                                 music were
                                                        were filed.
                                                             filed.

As far
As far as
       as questions
          questions not
                    not being answered? Those
                        being answered? Those questions have been
                                              questions have      answered, especially
                                                             been answered,  especially Wolfgnag
                                                                                        Wolfgnag Halbig's
                                                                                                 Halbig's notorious
                                                                                                          notorious "16
                                                                                                                    "16 question."
                                                                                                                        question."
Myself and
Myself  and Sandy
            Sandy Hook
                  Hook researcher
                         researcher CW
                                    CW Wade
                                       Wade have
                                            have both
                                                 both answered
                                                      answered those
                                                                those questions.
                                                                      questions.

II will
   will follow
        follow this
               this email
                    email up
                           up with
                               with more
                                    more information
                                         information in
                                                     in the
                                                        the next
                                                            next few
                                                                 few hours
                                                                     hours but
                                                                           but II wanted to get
                                                                                  wanted to get something out before
                                                                                                something out before the
                                                                                                                     the night
                                                                                                                         night expired.
                                                                                                                               expired. II have
                                                                                                                                           have a
                                                                                                                                                a
 few chores
 few   chores to
               to attend
                  attend to
                          to in
                             in the
                                the meantime.
                                    meantime.

Thanks for
Thanks for your
           your timely
                timely reply.
                       reply. Talk
                              Talk soon.
                                   soon.

Sincerely,
Sincerely,

Keith Johnson
Keith Johnson




                                                                                                                                                        #2572.2
                                                                                                                                                  FSSTX-037205
        22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
From: Rob
From: Rob Dew <robd@infowars.com>
          Dew <robd@infowars.com>         573 of 1271
To: revoltoftheplebs@yahoo.com
To: revoltoftheplebs@yahoo.com
Sent: Thursday,
Sent: Thursday, December
                 December 11,
                            11, 2014 3:14 PM
                                2014 3:14 PM
Subject: Re:
Subject: Re: Whistleblower
              Whistleblower Contact
                            Contact


Keith,
Keith,

Can you
Can you be
        be more
           more specific
                specific of
                         of who
                            who you
                                you are
                                    are referring
                                        referring to
                                                  to being frauds and
                                                     being frauds and child predators?
                                                                      child predators?

You are
You are warning us about
        warning us about talking
                         talking about
                                 about something
                                       something and
                                                 and you
                                                     you work
                                                         work for
                                                              for the
                                                                  the American
                                                                      American FREE
                                                                               FREE Press?
                                                                                    Press?

Are we
Are we only
       only allowed
            allowed to
                    to talk
                       talk about
                            about topics
                                  topics you
                                         you approve?
                                             approve?

If you
If you undisputed
       undisputed proof about Sandy
                  proof about  Sandy Hook
                                     Hook II would
                                             would love
                                                   love to
                                                         to put it out
                                                            put it out on
                                                                       on our
                                                                           our show.
                                                                                show.
Threatening our
Threatening  our organization
                 organization to
                              to appear
                                 appear on
                                        on the
                                           the show
                                               show is
                                                     is not
                                                        not the
                                                            the way
                                                                 way toto do
                                                                          do it.
                                                                             it.

Censorship is
Censorship is news,
              news, people and organizations
                    people and organizations in
                                             in Newtown
                                                Newtown have
                                                        have singled
                                                             singled out
                                                                     out a
                                                                         a single
                                                                           single video
                                                                                  video when
                                                                                        when there
                                                                                             there are
                                                                                                   are millions
                                                                                                       millions of
                                                                                                                of videos
                                                                                                                   videos about
                                                                                                                          about the
                                                                                                                                the
Sandy Hook
Sandy       Incident.
      Hook Incident.

II never
   never discount
         discount our
                  our government
                       government on     their ability
                                     on their  ability to
                                                       to murder,
                                                          murder, but  when the
                                                                  but when  the act
                                                                                act is
                                                                                    is pinned  on a
                                                                                       pinned on   a feeble
                                                                                                     feeble kid
                                                                                                             kid carrying
                                                                                                                 carrying pounds of ammunition,
                                                                                                                          pounds of ammunition,
 firearms and
 firearms and there
               there is
                     is not
                        not one
                            one shred
                                shred of of video
                                            video evidence
                                                  evidence that
                                                             that this
                                                                  this person was inside
                                                                       person was inside or
                                                                                          or in
                                                                                             in front
                                                                                                front of
                                                                                                      of the
                                                                                                         the school
                                                                                                             school which
                                                                                                                     which has
                                                                                                                           has just
                                                                                                                               just upgraded it's
                                                                                                                                    upgraded it's
 video surveillance
 video surveillance system,
                    system, then
                              then it
                                   it is
                                      is our  duty to
                                         our duty  to ask
                                                       ask questions.
                                                           questions.

When those
When those who
           who ask
               ask questions
                   questions are
                             are attacked
                                 attacked and
                                          and their
                                              their questions ignored that
                                                    questions ignored that only
                                                                           only increases
                                                                                increases the
                                                                                          the likely
                                                                                              likely hood
                                                                                                     hood of
                                                                                                          of a
                                                                                                             a coverup.
                                                                                                               coverup.

Why is
Why is Sandy
       Sandy Hook the only
             Hook the only event
                           event we
                                 we are
                                    are not
                                        not allowed
                                            allowed to
                                                    to question?
                                                       question?

We can
We can have
       have you
            you on
                on Friday
                   Friday for
                          for the
                              the Nightly
                                  Nightly News,
                                          News, we
                                                we shoot the interviews
                                                   shoot the interviews via
                                                                        via video
                                                                            video Skype.
                                                                                  Skype.

Thanks
Thanks
Rob Dew
Rob Dew




----- Original
----- Original Message
               Message -----
From: "Infowars
From:   "Infowars Whistleblowers"
                  Whistleblowers" <
                                  < revoltoftheplebs@yahoo.com >
                                    revoltoftheplebs@yahoo.com >
To: whistleblowers@infowars.com
To:   whistleblowers@infowars.com
Sent: Thursday,
Sent:  Thursday, December
                  December 11,
                             11, 2014 8:43:27 AM
                                 2014 8:43:27  AM
Subject: Whistleblower
Subject:   Whistleblower Contact
                         Contact

From:< revoltoftheplebs@yahoo.com
From:< revoltoftheplebs@yahoo.com >
                                  >
Subject: Whistleblower
Subject: Whistleblower Contact
                       Contact

 Message Body:
 Message      Body:
 To: Whom
 To:  Whom it  it May
                  May Concern
                        Concern
 I'm a
 I'm a writer
        writer whose     articles have
                whose articles      have been     featured on
                                            been featured    on your
                                                                 your website,
                                                                       website, infowars.com.
                                                                                  infowars.com. II now now primarily   write for
                                                                                                             primarily write  for American
                                                                                                                                  American Free     Press. However,
                                                                                                                                               Free Press.    However,
 what II am
 what     am writing
               writing to
                        to you
                           you now
                                 now isis not
                                           not on
                                               on their
                                                   their behalf.
                                                          behalf.
II know
   know Lenny      Pozner personally.
          Lenny Pozner       personally. Mr. Mr. Pozner's
                                                  Pozner's son
                                                             son was
                                                                  was brutally
                                                                        brutally murdered
                                                                                 murdered on    on 12/14/2012.
                                                                                                    12/14/2012. II have
                                                                                                                    have met
                                                                                                                           met with
                                                                                                                                with this
                                                                                                                                      this man
                                                                                                                                           man and
                                                                                                                                                 and have
                                                                                                                                                      have seen     and
                                                                                                                                                              seen and
 verified documents
 verified  documents that that are
                                are indisputable
                                     indisputable proof
                                                      proof that
                                                             that his
                                                                  his son
                                                                      son was
                                                                            was murdered.
                                                                                 murdered. II havehave also
                                                                                                         also seen   the email
                                                                                                               seen the   email exchanges
                                                                                                                                exchanges between
                                                                                                                                               between himself
                                                                                                                                                          himself and
                                                                                                                                                                    and
 your staff.
 your   staff. You
               You told
                     told Mr.
                          Mr. Pozner
                               Pozner thatthat Alex
                                                Alex Jones
                                                      Jones acknowledged
                                                              acknowledged that that children
                                                                                       children died    and dismissed
                                                                                                  died and   dismissed thethe idea
                                                                                                                              idea of
                                                                                                                                    of aa hoax.
                                                                                                                                          hoax.
 Now you
 Now    you are
             are promoting
                  promoting the the hoax
                                     hoax mythology
                                             mythology and and entertaining
                                                                entertaining individuals
                                                                              individuals II cancan prove    are frauds
                                                                                                     prove are   frauds and
                                                                                                                         and child
                                                                                                                               child predators.
                                                                                                                                     predators. II must
                                                                                                                                                   must warn
                                                                                                                                                           warn you
                                                                                                                                                                  you that
                                                                                                                                                                      that
 you are
 you   are travelling
           travelling down
                        down a  a road
                                   road that
                                          that will
                                               will ultimately
                                                    ultimately lead
                                                                lead to
                                                                      to serious
                                                                         serious lawful
                                                                                   lawful consequences.
                                                                                            consequences. Those Those you
                                                                                                                        you have
                                                                                                                             have placed
                                                                                                                                    placed your
                                                                                                                                             your faith
                                                                                                                                                  faith in
                                                                                                                                                         in are
                                                                                                                                                            are providing
                                                                                                                                                                 providing
 you with
 you   with information
            information thatthat is
                                  is verifiably
                                     verifiably false
                                                 false and
                                                         and your
                                                              your ignorance
                                                                   ignorance to to this
                                                                                    this fact
                                                                                          fact is
                                                                                               is no
                                                                                                  no excuse
                                                                                                      excuse against
                                                                                                                against your
                                                                                                                         your complicity.
                                                                                                                               complicity.
 Think about
 Think   about what
                 what you
                        you are
                              are doing.
                                   doing. YouYou are
                                                  are willing
                                                       willing participating
                                                               participating and
                                                                              and facilitating
                                                                                     facilitating in
                                                                                                   in the
                                                                                                      the defamation
                                                                                                           defamation and
                                                                                                                        and libel
                                                                                                                             libel of
                                                                                                                                   of aa man
                                                                                                                                         man whose
                                                                                                                                               whose young
                                                                                                                                                       young child
                                                                                                                                                                child was
                                                                                                                                                                      was
 brutally murdered
 brutally  murdered and  and doing
                              doing soso atat a
                                              a time
                                                time when
                                                      when we     are approaching
                                                              we are   approaching the  the 2nd
                                                                                             2nd anniversary
                                                                                                  anniversary of of this
                                                                                                                    this horrendous
                                                                                                                         horrendous act.act.
 Think about
 Think   about that
                 that for
                       for a
                           a moment.
                             moment.
II will
   will do
        do all
           all in
               in my
                  my power
                       power to to assist
                                    assist Mr.
                                             Mr. Pozner
                                                 Pozner andand other
                                                                other victims
                                                                       victims of
                                                                               of these
                                                                                   these deranged        individuals whom
                                                                                            deranged individuals      whom they
                                                                                                                              they have
                                                                                                                                    have fallen
                                                                                                                                           fallen prey  to.
                                                                                                                                                  prey to.
 To that
 To  that end,
           end, II would
                   would ask
                           ask that
                                 that II be  allowed to
                                         be allowed     to appear
                                                           appear on
                                                                   on your
                                                                       your program
                                                                             program and  and set   the record
                                                                                                set the  record straight
                                                                                                                 straight on
                                                                                                                           on so
                                                                                                                              so much
                                                                                                                                  much disinformation
                                                                                                                                          disinformation that
                                                                                                                                                            that is
                                                                                                                                                                 is being
                                                                                                                                                                    being
 spread about
 spread    about the
                   the SHES
                        SHES massacre.
                                 massacre.
 Please make
 Please    make thethe wise
                        wise decision.
                              decision.



                                                                                                                                                                #2572.3
                                                                                                                                                         FSSTX-037206
           22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
II look
   look forward
        forward to
                to your
                   your reply.
                        reply.               574 of 1271
Sincerely,
Sincerely,
Keith Johnson
Keith Johnson

Telephone:
Telephone:



--
--
This e-mail
This e-mail was sent from
            was sent from a
                          a contact
                            contact form
                                    form on
                                         on Dev
                                            Dev on
                                                on NFOCOM-01
                                                   NFOCOM-01 (( http://devtest.infowars.com
                                                                http://devtest.infowars.com ))




                                                                                                    #2572.4
                                                                                                 FSSTX-037207
              22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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              From: Wades Vids <wadesvideo@gmail.com>
                   To: robd@infowars.com, Nico <nico@infowars.com>, wolfgang halbig <wolfgang.halbig@comcast.net>
          Subject: Fwd: Help me found the 26 children that sang at the Feb 3, 2013 Super Bowl in New Orleans please.
               Date: 2017-06-23 16:23:22 +0000
 Attachments: Screen_Shot_2015-07-02_at_4.05.01_PM.png; Screen_Shot_2016-12-26_at_12.41.29_PM.png


In all seriousness Wolfgang, it is the targeting of these little children that should cause you to be arrested. The 4th grade choir is not the murdered children, you filthy creature.
Why does Rob Dew, Nico and Alex Jones of Infowars love this stuff?

Wolfgang, your right hand man, Jonathan, went to jail and was convicted because you convinced him of this nonsense stuff and he harassed the family of a Super Bowl singer. You ruined your friend's life
over this lie of yours. YOU.

Why do you lie and say there is a Gag order when that is stupid, ridiculous, and most importantly false? Do you think everyone is as dumb as Rob Dew and just believes everything you say without
evidence? Where is this gag order, you liar. Show it to me.

Why must your investigation target small little children? It's very sick.

Wolfgang, leave these little kids alone! Seriously, stop being filthy.

I hope one day soon, a government official makes the bold move of arresting Wolfgang for going after these kids before Wolfgang and/or more of his followers target more of these little children or their
families.




Are you going to the hearing where Kay Wilson is finally dumping?

CW




---------- Forwarded message ----------
From: Wolfgang Halbig <wolfgang.halbig@comcast.net>
Date: Fri, Jun 23, 2017 at 9:22 AM
Subject: Help me found the 26 children that sang at the Feb 3, 2013 Super Bowl in New Orleans please.
To: newsteam@fox61.com, Lenny Pozner <lpozner@gmail.com>, info@part.twopictures.com
Cc: Sam Judah <Sam.Judah@bbc.co.uk>, ken@schoolsecurity.org, j.fox@northeastern.edu, robd@infowars.com, Nico
<nico@infowars.com>, "Ronald D. Stephens" <ronaldstephens@schoolsafety.us>, admin@schoolsafety911.org


Newsteam:

If you care about children then please help me find them?


On Feb 3, 2013 26 4th grade children from the Sandy Hook Elementary School Choir sang before 110 million people worldwide and with 88,000 fans in the stands at the
Super Bowl in New Orleans.



3500 Sports reporters from all across the world covered that game.



Not one interview on TV or in the newspapers or magazines.



This is now going on 4 years.



They are under a GAG order from the NFL and CBS Sportsbecause you and I know that you cannot silence a 4th grader from telling their friends about the greatest day in
their lives with BEYONCE, JZ, Alsiha Keysetc.



Or are they dead?



They are minor children and being exploited for financial gain by many as I have had the records.



Why have they never ever performed again?




                                                                                                                                                                                           FSSTX-052975
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How did they silence 26 minor children and parents for four years?



As a former school administrator for 32 years I have learned that children must always be able to express their emotions and feelings and if you deny them that you can
cause them serious long term Mental Health issues such as depression, anxiety, thoughts of suicide since they are not worth being able to share their great experiences with
their friends.



What kind of adult would ever do that to an innocent minor 4th grader after this unbelievable Super Bowl event?



The Newtown, CT School Board Attorney Monte Frank denies that they ever attended that function when the video is crystal clear and the announcer for CBS sports talk
about how brave they were when they were inside that school during the shooting.



Are they dead?



Are they being sexually abused?



Are they sending these children overseas for sexual exploits?



Where are the parents of these children why have they haven't conducted one interview?



On the day of the Sandy Hook Shooting all of the National News Media interviewed so many children and their parents about the school shooting, which was horrific and
now they those 26 children are helping to heal the community and they are SILENCED with a GAG ORDER and for how long?



Please help this old school administrator find those 26 children and their parents in making sure that they are saved.



It is bad enough that 20 children died and six school staff, but to have 26 minor children given a GAG ORDER to SILENCE them is very cruel and causes long term Mental
Health consequences.

wolfgang W Halbig




                                                                                                                                                          FSSTX-052976
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57252956
Status as of 9/17/2021 2:45 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   9/15/2021 8:16:44 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     9/15/2021 8:16:44 AM   SENT

Bradley Reeves                 brad@brtx.law        9/15/2021 8:16:44 AM   SENT

Carmen Scott                   carmen@fbtrial.com 9/15/2021 8:16:44 AM     SENT
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                  578 of 1271                   9/15/2021 8:34 AM
                                                                                Velva L. Price
                                                                               District Clerk
                                                                               Travis County
                                                                            D-1-GN-18-001835
                             D-1-GN-18-001835                               Jonathan Sanders

 NEIL HESLIN                            §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 FREE SPEECH SYSTEMS, LLC, and          §                 459th DISTRICT COURT
 OWEN SHROYER,                          §
   Defendants                           §

                             D-1-GN-18-001842
 LEONARD POZNER AND                     §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                   §
   Plaintiffs                           §
                                        §                TRAVIS COUNTY, TEXAS
 VS.                                    §
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §                 459th DISTRICT COURT
 AND FREE SPEECH SYSTEMS, LLC,          §
   Defendants                           §

                             D-1-GN-18-006623
 SCARLETT LEWIS                         §                IN DISTRICT COURT OF
   Plaintiff                            §
                                        §
 VS.                                    §                TRAVIS COUNTY, TEXAS
                                        §
 ALEX E. JONES, INFOWARS, LLC,          §
 AND FREE SPEECH SYSTEMS, LLC,          §                 459th DISTRICT COURT
   Defendants                           §



         PLAINTIFFS’ NOTICE REGARDING STATUS OF DISCOVERY




                                        1
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      Come now Plaintiffs, and file this Notice to update the Court regarding the

status of discovery and Defendants' conscious indifference:

      1.     In oral hearing on August 31st, Defendants’ counsel promised the Court

that discovery responses in the Pozner case would be served within 14 days. That did

not occur as promised. In addition, prior to the hearing Defendants were ignorant of

their lack of responses to discovery required by the 2018 order in Heslin. To date, no

responses have been made, even though Defendants were again reminded at the

hearing that they had previously been held in contempt for failing to answer.

      2.     On September 2nd, counsel for the parties met and conferred by Zoom.

Defendants’ counsel agreed that he would respond the following week with dates for

the depositions required by the 2018 Heslin discovery order, and that those

depositions would occur before the end of the month. Defendants failed to respond

the following week with dates, nor have Defendants offered dates as of today.

      3.     Defendants have not responded to Requests for Disclosure in Lewis and

Heslin. Nor have Defendants supplemented any existing discovery responses. Basic

information continues to be withheld. Individuals with knowledge of relevant facts

remain unidentified, making discovery impossible.

      4.     Today, pursuant to the Discovery Control Plan agreed to by Defendants

months ago, Plaintiffs designated their experts with all these issues unresolved.

      5.     Also today, two additional Motions to Compel were filed in Heslin and

Lewis concerning failure to comply with post-remand discovery requests.



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                                     Respectfully submitted,

                                     KASTER LYNCH FARRAR & BALL, LLP


                                     ____________________________________
                                     MARK D. BANKSTON
                                     State Bar No. 24071066
                                     WILLIAM R. OGDEN
                                     State Bar No. 24073531
                                     1117 Herkimer
                                     Houston, Texas 77008
                                     713.221.8300 Telephone
                                     713.221.8301 Fax




                          CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2021 the forgoing document was served
upon all counsel of record via electronic service.




                                     ____________________________________
                                     MARK D. BANKSTON




                                        3
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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57253538
Status as of 9/18/2021 2:58 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   9/15/2021 8:34:57 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     9/15/2021 8:34:57 AM   SENT

Bradley Reeves                 brad@brtx.law        9/15/2021 8:34:57 AM   SENT

Carmen Scott                   carmen@fbtrial.com 9/15/2021 8:34:57 AM     SENT
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                                  582 of 1271                   9/15/2021 9:10 AM
                                                                                           Velva L. Price
                                                                                          District Clerk
                                                                                          Travis County
                                    D-1-GN-18-001835                                   D-1-GN-18-001835
                                                                                           Norma Ybarra

NEIL HESLIN                                   §                   IN DISTRICT COURT OF
  Plaintiff                                   §
                                              §
VS.                                           §                 TRAVIS COUNTY, TEXAS
                                              §
ALEX E. JONES, INFOWARS, LLC,                 §
FREE SPEECH SYSTEMS, LLC, and                 §                     459th DISTRICT COURT
OWEN SHROYER,                                 §
  Defendants                                  §


                         PLAINTIFF’S DESIGNATION OF EXPERTS


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Neil Heslin, Plaintiff and files this his Designation of Expert Witnesses,

Supplementation of Interrogatories, Request for Production and Request for Disclosures and in

supplementation of all prior discovery requests requesting identification of fact and expert

witnesses, as follows:

                                             I.

       Plaintiff’s Non-Retained Medical Experts

       Contemporary Care Psychiatric Centers of Excellence
       And Custodians of Medical and Billing Records
       84 Hospital Ave.
       Danbury, CT 06810
       (203) 769-1312

       F. Carl Mueller, MD, MPH, M.S., F.A.P.A.
       And Custodians of Medical and Billing Records
       999 Summer St., Ste. 200
       Stamford, CT 06905
       (203) 357-7773

       W. Michael Crouch, LCSW
       And Custodians of Medical and Billing Records
       999 Summer Street, Ste. 200
       Stamford, CT 06905
       (203) 961-1152

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      All medical care providers listed above may testify regarding matters contained in their
      records and depositions. Their observations, diagnosis, opinions, prognosis, facts,
      physical and clinical examinations, and tests done, reviewed or relied upon are
      incorporated herein by reference. This includes opinions regarding Plaintiff’s pain,
      mental anguish, medical care, medical expenses, limitations, physical impairment, or any
      other medical issue in this case. The Custodians of Records will authenticate the records.

      Plaintiff is unaware of the general substance of these experts’ mental impressions and
      opinions, as they are treating physicians and custodians of records. However, presumably
      the general substance of these experts’ impressions and opinions would be as contained
      in their respective records.


      Plaintiff’s Retained Experts

      Fred Zipp
      University of Texas School of Journalism
      300 W Dean Keeton St
      Austin, TX 78712
      (512) 471-1845

      Mr. Zipp is a former newspaper editor and journalism professor. He will offer his
      expertise concerning the standards of care in news reporting, and he will opine on how
      those standards were recklessly disregarded in this case. Mr. Zipp will opine that
      Defendants ignored elementary precautions in journalism. Mr. Zipp will also opine that
      Defendants entertained serious doubts about the accuracy of their statements. Mr. Zipp
      will analyze the facts and circumstances of the publications which show that Defendants
      were motivated by a desire to avoid the truth and to inflict harm on Plaintiff. Materials
      reviewed by Mr. Zipp are being produced as SANDY HOOK-000001-000642. Mr. Zipp
      has also reviewed the March 4, 2019 deposition of Alex Jones, the November 26, 2019
      deposition of Alex Jones, the November 26, 2019 deposition of Free Speech Systems,
      and the November 27, 2019 deposition of Paul Watson. Mr. Zipp has also reviewed the
      YouTube video clips described in his affidavits submitted in response to Defendants’
      TCPA Motions. Mr. Zipp has also reviewed Plaintiff’s petition. Mr. Zipp’s curriculum
      vitae is attached hereto as Exhibit “1.”


      Becca Lewis
      Stanford University, Department of Communication
      Building 120, Room 110
      450 Jane Stanford Way
      Stanford, CA 94305
      (650) 723-1941




                                             -2-
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       Ms. Lewis is an academic researcher in the field of media technologies and online
       discourse, with a focus on media manipulation and disinformation. Ms. Lewis will offer
       her expertise on digital political subcultures, internet celebrity, and online news
       platforms. Ms. Lewis will testify about InfoWars’ cultural footprint and role in the online
       media ecosystem. Ms. Lewis will opine that Defendants’ actions were a substantial factor
       in the spread of false facts about the Sandy Hook shooting. Materials reviewed by Ms.
       Lewis are being produced as SANDY HOOK-000643-002142. Ms. Lewis has also
       reviewed the March 4, 2019 deposition of Alex Jones, the November 26, 2019 deposition
       of Alex Jones, and the November 27, 2019 deposition of Paul Watson. Ms. Lewis has
       also reviewed the June 26, 2017 video entitled “Zero Hedge Discovers Anomaly In Alex
       Jones Hit Piece” and the April 22, 2017 video entitled “Sandy Hook Vampires Exposed.”
       Ms. Lewis has also reviewed Plaintiff’s petition. Ms. Lewis’ cirruculum vitae is attached
       as Exhibit “2.”


       Dr. Roy Lubit
       165 West End Ave #3k
       New York, NY 10023
       (917) 846-7829

       Dr. Lubit is a forensic psychiatrist with expertise in the impact of stress and emotional
       trauma. Dr. Lubit will testify about Plaintiff’s mental injury and the psychological
       stresses involved from Defendants’ false statements and denial of Plaintiff’s trauma. Dr.
       Lubit will opine that Defendants’ actions were a substantial factor in Plaintiff’s severe
       mental anguish and continuing grief. Dr. Lubit will testify about his evaluation of
       Plaintiff. Dr. Lubit will also review any medical records produced in this suit. Dr. Lubit’s
       curriculum vitae is attached as Exhibit “3.”


                                                II.

       Plaintiff reserves the right to supplement this designation with additional designations of

experts within the time limits imposed by the Court or any alterations of same by subsequent

Court Order or agreement of the parties, or pursuant to the Texas Rules of Civil Procedure and/or

the Texas Rules of Civil Evidence.

                                                III.

       Plaintiff reserves the right to elicit, by way of cross-examination, opinion testimony from

experts designated and called by other parties to the suit. Plaintiff express his intention to

possibly call, as witnesses associated with adverse parties, any of Defendants' experts.



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                                                  IV.


        Plaintiff reserves the right to call undesignated rebuttal expert witnesses whose testimony

cannot reasonably be foreseen until the presentation of the evidence against Plaintiff.

                                                   V.

        Plaintiff reserves the right to withdraw the designation of any expert and to aver

positively that any such previously designated expert will not be called as a witness at trial, and

to re-designate same as a consulting expert, who cannot be called by opposing counsel.

                                                  VI.

        Plaintiff reserves the right to elicit any expert opinion or lay opinion testimony at the time

of trial which would be truthful, which would be of benefit to the jury to determine material

issues of fact, and which would not be violative of any existing Court Order or the Texas Rules

of Civil Procedure.

                                                  VII.

        Plaintiff hereby designates, as adverse parties, potentially adverse parties, and/or as

witnesses associated with adverse parties, all parties to this suit and all experts designated by any

party to this suit, even if the designating party is not a party to the suit at the time of trial. In the

event a present or future party designates an expert but then is dismissed for any reason from the

suit or fails to call any designated expert, Plaintiff reserves the right to designate and/or call any

such party or any such experts previously designated by any party.


                                                 VIII.

        Plaintiff reserves whatever additional rights they might have with regard to experts,

pursuant to the Texas Rules of Civil Procedure, the Texas Rules of Civil Evidence, the case law

construing same, and the rulings of the trial court.

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                                          Respectfully submitted,

                                          KASTER LYNCH FARRAR & BALL, LLP


                                          ____________________________________
                                          MARK D. BANKSTON
                                          State Bar No. 24071066
                                          WILLIAM R. OGDEN
                                          State Bar No. 24073531
                                          1117 Herkimer
                                          Houston, Texas 77008
                                          (713) 221-8300 Telephone
                                          (713) 221-8301 Fax

                                          ATTORNEY FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

        I hereby certify that on 15th day of September, the forgoing document was served upon
all counsel of record via electronic service.

       Bradley J. Reeves
       Reeves Law, PLLC
       702 Rio Grande St., Suite 203
       Austin, Texas 78701
       Email: brad@brtx.law




                                          ____________________________________
                                          MARK D. BANKSTON




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               EXHIBIT “1”
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   Fred Zipp
   2219 Holly St.
   Austin TX 78702
   fred.zipp@yahoo.com
   512.589.4593


   Experience

   Editor in residence, University of Texas            2012-2021
   Department of Journalism

   Austin American-Statesman                          1998-2011
   Editor (2009-2011), managing editor (2000-2009), assistant managing editor (1998-2000)

   The Palm Beach Post                               1987-1998
   Metro editor (1992-1997), news editor (1991-1992), deputy metro editor (1990-1991),
   assistant metro editor (1987-1990)

   Austin American-Statesman                            1984-1987
   City editor (1986-1987), sports editor (1985-86), sports copy editor (1984-1985)

   Beaumont Enterprise                                  1979-1984
   Assistant city editor (1982-1984), various reporting positions (1979-1982)


   Education

   New York University                            1978-1979
        Masters degree program, Department of French and Italian

   University of Paris IV                              1977-1978
          Film analysis and semiotics

   Duke University                                     1973-1978
         A.B., history and French
         Graduated magna cum laude


   Professional development and affiliations
   Headliners Foundation of Texas                     2013-present
          Governor; chair, professional excellence committee

   American Society of News Editors                    2000-2011
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          Served on First Amendment Committee; assisted in the organization of the first
   Sunshine Week promoting open, transparent government throughout the United States

   Freedom of Information Foundation of Texas         2000-2011
         Director and officer
         Edited revised edition of the Freedom of Information Handbook

   Completed numerous professional development programs in leadership, management and
   craft skills through the Poynter Institute, American Press Institute, Cox Enterprises
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               EXHIBIT “2”
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                     REBECCA C. LEWIS
                              Department of Communication - Stanford University
                                          Stanford, CA 94305-2050
                                        beccalewis@protonmail.com

EDUCATION
Stanford University, Department of Communication
       PhD Candidate in Communication Theory and Research, September 2018 – present
       Advisor: Fred Turner

University of Oxford, Oxford Internet Institute
      MSc in the Social Science of the Internet, graduated November 2016
      Thesis: “Candidates of Instagram: Social Media Imagery in the 2016 U.S. Presidential Primaries”

Columbia University, Columbia College
     BA in Film Studies, graduated May 2011
     Thesis: “Going Viral: The Role of YouTube Sensations in a Culture of Memes”

FELLOWSHIPS AND AFFILIATIONS
Stanford University, Stanford Graduate Fellowship
       Gerhard Casper Fellow, September 2018 – present

University of North Carolina at Chapel Hill, Center for Information, Technology, & Public Life
      Graduate Affiliate, September 2020 – present

Data & Society Research Institute
      Research Affiliate, September 2018 – present

Lightspark Foundation, Impact Guild
      Impact Guild Fellow for Social Good, 2020

REFEREED JOURNAL PUBLICATIONS
2021. Lewis, Rebecca and Angèle Christin. “Platform Drama: ‘Cancel Culture,’ Celebrity, and the
       Struggle for Accountability on YouTube.” Accepted with revisions at New Media & Society.

2021. Christin, Angèle and Rebecca Lewis. “The Drama of Metrics: Status and Hierarchies Among
       YouTube Drama Creators.” Social Media + Society.
       https://doi.org/10.1177/2056305121999660

2021, February 3. Lewis, Rebecca, Alice Marwick, and William Parton. “‘We Dissect Stupidity and
       Respond to It’: Response Videos and Networked Harassment on YouTube.” American
       Behavioral Scientist. https://doi-org.stanford.idm.oclc.org/10.1177/0002764221989781

2019, October 17. Lewis, Rebecca. “‘This is what the news won’t show you’: YouTube creators and
       the reactionary politics of micro-celebrity.” Television and New Media.
       https://doi.org/10.1177/1527476419879919


                                                                                                        1
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WHITE PAPERS AND PUBLIC POLICY REPORTS
2018. Lewis, Rebecca. Alternative Influence: Broadcasting the Reactionary Right on YouTube. New York:
       Data & Society Research Institute. https://datasociety.net/library/alternative-influence/
       Covered by The New York Times, The Guardian, Columbia Journalism Review, and on NPR
       Weekend Edition

2017. Marwick, Alice and Lewis, Rebecca. Media Manipulation and Disinformation Online. New York:
       Data & Society Research Institute. https://datasociety.net/library/media-manipulation-and-
       disinfo-online/
       Covered by The New York Times, The Guardian, CNN, The Today Show, and Business Insider

BOOK CHAPTERS
2019. Donovan, Joan, Becca Lewis, and Brian Friedberg. “Parallel Ports: Sociotechnical Change
       from the Alt-Right to Alt-Tech.” In Post-Digital Cultures of the Far Right: Online Actions and
       Offline Consequences in Europe and the US (Maik Fielitz and Nick Thurston, eds.). Verlag,
       Bielefeld: Transcript Press.

2017, December 15. Lewis, Rebecca and Alice Marwick. “Taking the red pill: Ideological
       motivations for spreading online disinformation.” Understanding and addressing the disinformation
       ecosystem. Philadelphia, PA: First Draft News. https://firstdraftnews.org/wp-
       content/uploads/2018/03/The-Disinformation-Ecosystem-20180207-v2.pdf

REFEREED PRESENTATIONS
2021, August 5. Lewis, Rebecca and Angèle Christin. “Platform Drama: ‘Cancel Culture,’ Celebrity,
       and the Struggle for Accountability on YouTube.” American Sociology Association Media
       Preconference, held remotely.

2020, May 21. Lewis, Rebecca, Alice Marwick, and William Partin. “‘We Dissect Stupidity and
       Respond to It: Response Videos and Networked Harassment.” International Communication
       Association Annual Meeting, held remotely.

2019, October 3. Lewis, Rebecca and Leon Yin. “Far-Right YouTube and Search Engine
       Optimization: Manipulations in ‘Ranking Cultures.’” Association of Internet Researchers,
       Brisbane, Australia.

2019, September 7. Lewis, Rebecca. “Performed Persona Scams: Deceptive Personal Branding and
       Shifting Concepts of Fraud on Social Media Platforms.” Meeting of the Society for the Social
       Studies of Science, New Orleans, LA.

2019, August 13. Friedberg, Brian and Rebecca Lewis. “Parallel Ports: Sociotechnical Change from
       the ‘Alt-Right’ to Alt-tech.” American Sociology Association. New York City, NY.

2019, May 28. Davison, Patrick, Rebecca Lewis, and Alice Marwick. “‘You Are the Meme Militia’:
       How Alt-Right Digital Media Perpetuates White Supremacy.” International Communication
       Association Annual Meeting, Washington, DC.



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2019, March 15. Lewis, Rebecca. “Celebrity, Fandom, and the Source Credibility of Political
       Influencers.” Eastern Sociological Society Annual Meeting, Boston, Massachusetts.

2018, August 10. Lewis, Rebecca. “Candidates of Instagram: Political Image-Building and the Co-
       optation of Micro-Celebrity Online.” American Sociology Association Media Preconference,
       Philadelphia, Pennsylvania.

INVITED PRESENTATIONS
2021, August 20. “Researching far-right movements online: an introduction to methods.”
       Presentation at the Institute for Research on Male Supremacism’s Summer Institute on
       Contesting Supremacism, held remotely.

2021, July 17. “Authoritarian cults, media indoctrination, and shared psychosis.” Panel presentation
        at the World Mental Health Coalition Project for National Healing Series, held remotely.

2021, June 23. “Radicalization: From conspiracy theories to violent extremism.” Panel discussion at
        the Atlantic Council’s 360/Open Summit, held remotely.
        https://www.youtube.com/watch?v=_tThGy3FH-8

2021, June 11. “Racism and Radicalization in the Digital Age: A Robust Response.” Keynote speech
        at the National Council of Urban Education Associates 2021 Virtual Summer Meeting, held
        remotely.

2021, January 26. “How did we get here? Where do we go next? Information, media & U.S.
        democracy.” Panel discussion at the University of North Carolina Chapel Hill’s CITAP
        Center, held remotely.

2020, December 11. “Hate Not Found: The Politics of De-platforming the Far Right.” Panel
       presentation at public conference in Berlin, Germany, joined remotely.

2020, November 16. “Internet hate speech: What can we do?” Panel presentation at Middlebury
       College, held remotely.

2019, October 13. “Alternative Influence: Broadcasting the Reactionary Right on YouTube.”
       Presentation at Cultural Formations of the ‘Alt-Right’ Symposium, University of Michigan,
       Ann Arbor, MI.

2019, April 17. “The Fake News Cycle: Searching for Truth in the Digital Age.” Panel presentation
       at Washington University, St. Louis, MO.

2018, October 12. “What is the FATE of Platforms? Fairness, Accountability, Transparency and
       Ethics Under Review.” Panel presentation at Concordia University, Montreal, Quebec.

2018, April 13. “Media Manipulation and the Online Far-Right.” Annual Faculty Symposium:
       Techno Cultures in the 21st Century. Borough of Manhattan Community College, New
       York, NY.




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2018, March 8. “Looking past the facts: a sociotechnical approach to fake news, media manipulation,
       and the far-right alternative press.” Presented with Alice Marwick at University of North
       Carolina at Chapel Hill.

2017, December 15 – 16. Lewis, Rebecca and Marwick, Alice. “Taking the Red Pill: Ideological
       Motivations for Spreading Online    Disinformation.” Understanding and Addressing the
       Disinformation Ecosystem, University of Pennsylvania Annenberg School for
       Communication, Philadelphia, PA.

2017, December 4. “Media Manipulation and Disinformation.” Nouvelles Pratiques du Journalisme
       2017. Sciences Po École de Journalisme, Paris, France.

2017, September 25. “Comparative Lessons from Violent Extremism and Far-Right Subcultures.”
       Perspectives on Why Audiences Are Susceptible to Disinformation. National Endowment
       for Democracy, Washington, D.C.

RESEARCH & PROFESSIONAL POSITIONS
Data & Society, New York, New York
Affiliated Researcher, September 2018 – present
Full-time Researcher, February 2017 – August 2018
Media Manipulation Project
    • Lead Researchers: danah boyd, Founder and President of Data & Society; Alice Marwick,
         Associate Professor of Communication at UNC Chapel Hill; and Joan Donovan, Research
         Director of the Shorenstein Center on Media, Politics, and Public Policy
    • Project explored the manipulation of public discourse by state and non-state actors on social
         media platforms, with particular focus on the media manipulation tactics of online far-right
         extremists in the United States

University of Oxford, Reuters Institute for the Study of Journalism
Research Assistant, October 2015 – January 2016
Online News and Digital Intermediaries Project
    • Lead Researchers: Rasmus Kleis Nielsen, Director of Research and Sarah Anne Gantner,
        Research Fellow
    • Project focused on the effects of digital intermediaries (such as Google, Facebook, and
        Twitter) on traditional news media organizations and government policies

Crimson Hexagon, Boston, MA; October 2011 – August 2015
Crimson Hexagon delivers social media data analytics for corporations and research institutions. It is
powered by technology developed by Professor Gary King at the Harvard Institute for Quantitative
Social Science.

Director of Social Impact, August 2014 – August 2015
    • Founded and led the company’s Social Impact Program, which provided academic, not-for-
         profit researchers with grants in the form of access to the ForSight social media analytics
         platform
Client Services Manager, August 2011 – August 2014
    • Established social media research methodologies with clients and taught them social media
         analysis techniques

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EDITORIALS AND POPULAR PRESS
2021, August 2. “Space-Cowboys: What Internet history tells us about the inevitable shortcomings
       of a tech-bro led Space Race.” Tech Policy Press. https://techpolicy.press/space-cowboys-
       what-internet-history-tells-us-about-the-inevitable-shortcomings-of-a-tech-bro-led-space-
       race/

2021, January 17. “The Trump ban across social media wasn’t censorship – it was a series of editorial
        decisions by media companies that call themselves social platforms.” Business Insider.
        https://www.businessinsider.com/trump-ban-wasnt-censorship-it-was-an-editorial-decision-
        2021-1

2020, December 11. “I warned in 2018 YouTube was fueling far-right extremism. Here’s what the
       platform should be doing.” The Guardian.
       https://www.theguardian.com/technology/2020/dec/11/youtube-islamophobia-
       christchurch-shooter-hate-speech

2020, January 7. “All of YouTube, Not Just the Algorithm, is a Far-Right Propaganda Machine.”
        Medium FFWD. https://ffwd.medium.com/all-of-youtube-not-just-the-algorithm-is-a-far-
        right-propaganda-machine-29b07b12430

2019, October 9. “It’s Easy to Despair and Do Nothing After the Halle Synagogue Shooting. But
       We Shouldn’t.” Medium FFWD. https://ffwd.medium.com/its-easy-to-despair-and-do-
       nothing-after-the-halle-synagogue-shooting-but-we-shouldn-t-34faf86ff48d

2019, June 9. “YouTube’s Bungled PR Announcements Made Carlos Maza’s Harassment Worse.”
        VICE Motherboard. https://www.vice.com/en/article/evyqnz/youtubes-bungled-pr-
        announcements-made-carlos-mazas-harassment-worse-steven-crowder

2018, November 20. “Why Influence Matters in the Spread of Misinformation.” Data & Society:
       Points. https://points.datasociety.net/why-influence-matters-in-the-spread-of-
       misinformation-fc99ee69040e

2018, October 4. “Forget Facebook, YouTube videos are quietly radicalizing large numbers of
       people – and the company is profiting.” NBC News THINK.
       https://www.nbcnews.com/think/opinion/forget-facebook-youtube-videos-are-
       radicalizing-millions-young-people-company-ncna916341

2018, March 22. “Black Panther and the Far-Right.” Data & Society Media Manipulation: Dispatches from
       the Field. https://medium.com/@MediaManipulation/black-panther-and-the-far-right-
       e83facb735bb

2017, June 13. “Megyn Kelly Fiasco is one more instance of far-right outmaneuvering media.”
        Columbia Journalism Review. https://www.cjr.org/tow_center/megyn-kelly-alex-jones.php

2017, May 18. “The Online Radicalization We’re Not Talking About.” New York Magazine: Select All.
       https://nymag.com/intelligencer/2017/05/the-online-radicalization-were-not-talking-
       about.html



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SELECTED MEDIA APPEARANCES
2021, July 6. “Episode 3: Talking About Garbage.” Does Not Compute Podcast at University of North
        Carolina’s Center for Information, Technology, and Public Life. https://citap.unc.edu/does-
        not-compute/episode-3/

2021, March 2. “Planet YouTube.” In Land of the Giants: The Google Empire.
       https://www.vox.com/land-of-the-giants-podcast

2021, January 21. “How YouTube Normalizes Right-Wing Extremism w/Becca Lewis.” Tech Won’t
        Save Us with Paris Marx. https://podcasts.apple.com/us/podcast/how-youtube-normalizes-
        right-wing-extremism-w-becca-lewis/id1507621076?i=1000506047370

2020, September 18. “The Alternative Influence Network, with Rebecca Lewis.” I Don’t Speak
       German Podcast. https://idontspeakgerman.libsyn.com/65-the-alternative-influence-network-
       with-rebecca-lewis

2020, June 4. “Social media unites and divides us. How should we respond?” NPR Marketplace Tech.
        https://www.marketplace.org/shows/marketplace-tech/social-media-george-floyd-protests-
        misinformation-community/

2019, August. “Infinite Evil: The Incubators of Online Hate.” Stuff NZ: Circuit.
       https://interactives.stuff.co.nz/2019/circuit/infinite-evil-documentary/

2019, March 22. “How far-right influencers thrive on YouTube.” Front Burner CBC.
       https://www.cbc.ca/radio/frontburner/how-far-right-influencers-thrive-on-youtube-
       1.5066532

2019, March 19. “More extremists are getting radicalized online. Whose responsibility is that?” NPR
       Marketplace Tech. https://www.marketplace.org/2019/03/19/extremists-are-being-
       radicalized-online-whose-responsibility-is-it/

2019, March 18. “Salvaging ourselves.” Sh!tpost Podcast.
       https://soundcloud.com/shtpostpodcast/salvaging-ourselves-31819-ft-becca-lewis

2019, January 9. “Is YouTube radicalizing its users?” NPR WHYY Radio Times.
        https://whyy.org/segments/is-youtube-radicalizing-its-users/

2018, November 27. “Critics Say YouTube Hasn’t Done Enough to Crack Down on Extremist
       Content.” NPR All Things Considered. https://www.npr.org/2018/11/27/671285261/critics-
       say-youtube-hasnt-done-enough-to-crack-down-on-extremist-content

2018, September 23. “Alternative Influence: Broadcasting the Reactionary Right on YouTube.” NPR
       Morning Edition. https://www.npr.org/2018/09/23/650861652/alternative-influence-
       broadcasting-the-reactionary-right-on-youtube

2017, November 10. “Popping the Red Pill: Inside a digital alternate reality.” CNN Business.
       https://money.cnn.com/2017/11/10/technology/culture/divided-we-code-red-
       pill/index.html


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SELECTED PRESS COVERAGE
2021, August 3. Tiffany, Kaitlyn. “Left-Wing Activists Are Bringing Back MAGA Twitter.” The
       Atlantic. https://www.theatlantic.com/technology/archive/2021/08/patriottakes-and-
       future-resistance-twitter/619645/

2021, July 7. Hayden, Michael Edison. “‘We Make Mistakes’: Twitter’s Embrace of the Extreme Far
        Right.” Southern Poverty Law Center Hatewatch.
        https://www.splcenter.org/hatewatch/2021/07/07/we-make-mistakes-twitters-embrace-
        extreme-far-right

2021, June 30. Wong, Julia Carrie. “From viral videos to Fox News: how rightwing media fueled the
        critical race theory panic.” The Guardian.
        https://www.theguardian.com/education/2021/jun/30/critical-race-theory-rightwing-
        social-media-viral-video

2020, August 18. Tiffany, Kaitlin. “How Instagram Aesthetics Repackage Qanon.” The Atlantic.
       https://www.theatlantic.com/technology/archive/2020/08/how-instagram-aesthetics-
       repackage-qanon/615364/

2020, July 11. Herrman, John. “Who Gets the Banhammer Now?” The New York Times.
        https://www.nytimes.com/2020/07/11/style/online-communities-social-media-bans-
        reddit-youtube-twitch-facebook.html?referringSource=articleShare

2019, July 25. Sankin, Aaron. “YouTube said it was getting serious about hate speech. Why is it still
        full of extremists?” Gizmodo. https://gizmodo.com/youtube-said-it-was-getting-serious-
        about-hate-speech-1836596239

2019, June 8. Roose, Kevin. “The Making of a YouTube Radical.” The New York Times.
        https://www.nytimes.com/interactive/2019/06/08/technology/youtube-radical.html

2019, June 5. Roose, Kevin and Kate Conger. “YouTube to Remove Thousands of Videos Pushing
        Extreme Views.” The New York Times.
        https://www.nytimes.com/2019/06/05/business/youtube-remove-extremist-videos.html

2019, January. Turner, Fred. “Machine Politics: The rise of the internet and a new age of
        authoritarianism.” Harper’s Magazine. https://harpers.org/archive/2019/01/machine-
        politics-facebook-political-polarization/

2018, November 24. Editorial Board. “The New Radicalization of the Internet.” The New York Times.
       https://www.nytimes.com/2018/11/24/opinion/sunday/facebook-twitter-terrorism-
       extremism.html

2018, September 24. Klein, Ezra. “The rise of YouTube’s reactionary right.” Vox.
       https://www.vox.com/policy-and-politics/2018/9/24/17883330/dave-rubin-ben-shapiro-
       youtube-reactionary-right-peterson

2018, September 19. Ingram, Matthew. “YouTube’s secret life as an engine for right-wing
       radicalization.” Columbia Journalism Review. https://www.cjr.org/the_media_today/youtube-
       conspiracy-radicalization.php

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2018, September 18. Solon, Olivia. “YouTube’s ‘alternative influence network’ breeds rightwing
       radicalization, report finds.” The Guardian.
       https://www.theguardian.com/media/2018/sep/18/report-youtubes-alternative-influence-
       network-breeds-rightwing-radicalisation

TEACHING EXPERIENCE

Teaching Assistant, Stanford University
       COMM 1B: Media, Culture, and Society (Professor Fred Turner) – Winter 2020
       COMM 154-254: The Politics of Algorithms (Professor Angèle Christin) – Fall 2019
       COMM 124-224: Lies, Trust, and Technology (Professor Jeffrey Hancock) – Winter 2019

Published syllabi
       2017. Media Manipulation and Disinformation Online Syllabus. Data & Society.
       https://datasociety.net/pubs/oh/DataAndSociety_Syllabus-
       MediaManipulationAndDisinformationOnline.pdf




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                                    CURRICULUM VITAE

                                    Roy H. Lubit MD, Ph.D.
                                  165 West End Ave. Suite 3K
                                     New York, NY 10023
                                         917-846-7829
                                       roylubit@rcn.com

UNDERGRADUATE EDUCATION

JUNE 1975     BA, Cornell University, Ithaca, NY.
              Academics: double major in history and chemistry.


MEDICAL EDUCATION

June 1979     MD, New York University School of Medicine, New York, NY.


POSTDOCTORAL TRAINING IN PSYCHIATRY

6/79-6/83     Psychiatry Residency, Yale University School of Medicine, New Haven, CT.

7/83-6/85     Child Psychiatry Residency, The Children's Hospital, Boston, MA.

7/85-6/87     Advanced Psychotherapy Fellowship, Adams House, Boston, MA.

7/01-6/02     Forensic Psychiatry Fellowship, St. Vincent’s Hospital, New York, NY.


INTERNATIONAL RELATIONS
1997      Ph.D. in Political Science, GSAS, Harvard University, Cambridge.
          Dissertation explored impact of organizational learning on international conflict.


CERTIFICATIONS
Diplomate, American Board of Psychiatry and Neurology, 1984.
Diplomate, American Board of Child and Adolescent Psychiatry, 2003.
Diplomate, American Board of Forensic Psychiatry, 2003.
New York State Medical License 205720-1.
National Board of Medical Examiners, 1980.
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                                            FORENSIC QUALIFICATIONS
         Special expertise in evaluating emotional trauma, civil rights (section 1983 actions), child custody evaluations,
brain injury, psychological/psychiatric malpractice and critiquing forensic evaluations

Board Certifications
     Psychiatry and Neurology
     Child Psychiatry
     Forensic Psychiatry

Declared an Expert in Psychiatry and/or child psychiatry in:
     Bronx Family Court                Bronx Supreme Court
     Brooklyn Family Court                      Brooklyn Supreme Court
     Manhattan Family Court                     Manhattan Supreme Court
     Queens Family Court               Queens Supreme Court
     Richmond County Supreme Court              Suffolk County Supreme Court
     Westchester County Court                   Norfolk County Superior Court in Massachusetts
     Butler County Virginia Court Manhattan Criminal Court
     Federal court, NY Eastern District

Organizational Affiliations:
     Consultant to Children and Law Committee of Association of the Bar of the City of NY
Publications
        Ethics in Psychiatry in Sadock B. and Sadock V. (eds.) Comprehensive Textbook of Psychiatry. 9th edition. Phil:
         Lippincott, Williams & Wilkins. (in press.)
        Ethics in Psychiatry (with Eth S. and Ladds B.) in Sadock B. and Sadock V. (eds.) Comprehensive Textbook of
         Psychiatry. 8th edition. Phil: Lippincott, Williams & Wilkins. (2004)
     Forensic Psychiatric/Psychological Assessments (in preparation).
     Forensic Evaluation of Trauma Syndromes by Lubit R, Hartwell N, van Gorp WG, Eth S. in &KLOGDQG
         $GROHVFHQW3V\FKLDWULF&OLQLFVRI1RUWK$PHULFD. 2002 Oct; 11(4):823-57.
     Juvenile Delinquency, (with Billick) in Rosner (ed.) Principles and Practice of Forensic Psychiatry (2003).
     Child Custody Evaluations in K. Cheng and K. Myers (ed.) &KLOGDQG$GROHVFHQW3V\FKLDWU\7KH(VVHQWLDOV.
         Lippincott Williams & Wilkins (2005).
     Diagnosis and Treatment of Trauma on Children in K. Cheng and K. Myers (ed.) &KLOGDQG$GROHVFHQW
         3V\FKLDWU\7KH(VVHQWLDOV. Lippincott Williams & Wilkins (2005).
Presentations
     Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2009
     Assessing Forensic Evaluations Rose Seminar, Minneapolis September 11, 2008
     “Family Courts and Child Custody: A System Needing Change: Zigler Center at Yale April 11, 2008
         “Child Abuse Evaluations” Symposium sponsored by Children and Family Law Committee of the Bar
         Association of the City of NY, January 23, 2008
     “Doing Forensic Evaluations” Joint Conference of the British Arab Psychiatric Association and American Arab
         Psychiatric Associations in Bahrain April 16, 2006.
     Evaluation of Psychiatric Trauma: International Congress on Law and Psychiatry, 7/7/05, Paris
     Evaluation of Sexual Abuse Allegations: International Congress on Law and Psychiatry, 7/7/05, Paris
     Problems in Child Custody Evaluations Dateline NBC April 15, 2005
     "Evaluating Child Custody Evaluations: Contested Allegations of Domestic Violence, Child Abuse, Superior
         Parenting Skills” Women’s Bar Association of State of New York; June 8, 2004; Brooklyn, NY.
     “Doing Child Custody Evaluations” Bronx 18B Lawyers Retreat; Nov 2003; Mystic, CT.
     “Parental Alienation Syndrome” Bronx 18B Lawyers Retreat; Nov 2003; Mystic, CT.




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CLINICAL EXPERIENCE

1984-present Private practice (child, adult and forensic psychiatry).

2006-2008      Clinical Faculty NYU School of Medicine, Dept of Child Psychiatry and Mt Sinai
               School of Medicine

2003-2004      Assistant Professor of Psychiatry, Mt. Sinai School of Medicine, Dept of Child
               Psychiatry

2002-2003      National Child Traumatic Stress Network, funded by SAMHSA and Assistant
               Professor of Psychiatry, Saint Vincents Hospital, NY Medical College, Dept of Child
               Psychiatry
                   Consortium for Effective Trauma Treatment, funded by NY Times Foundation
               .
2001-2002      Forensic Psychiatry Fellow, Saint Vincents Hospital, New York Medical College

2001           ADD and Behavioral Disorders Clinic: Child and Adult Psychiatry.

1999-2001      Sabbatical from psychiatry to work as a management consultant for
               PricewaterhouseCoopers.

1998-1999      Psychiatrist, Jewish Board of Family and Children’s Services.

1997-1998      On-call work for On-Site Psychiatric Services at various hospitals including Metro-
               West Medical Center and Faulkner Hospital.

1996-1997      Vinfen Corporation-Child and adult psychiatry at Fall River State Hospital and
               Beverly Hospital.

1993-1996      Psychiatrist, on-call and locum tenens ward coverage Charles River Hospital,
               Solomon Carter Fuller and Corrigan Mental Health:.
               Different summers I went wherever there was the greatest need. During the academic
               year I returned to my research and teaching.

1987-1992      Psychiatrist for Scoville and Schwager which placed me at various state hospitals they
               staffed including Danvers State, Northhampton State, Cape and the Islands, Solomon
               Carter Fuller. I served as Acting Medical Director at Danver’s State and at Cape and
               the Islands. As noted above, I went wherever there was the greatest need, and during
               the academic year I returned to research and teaching.




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PUBLICATIONS
Book Chapters
Psychotropic medications and crime: The seasoning of the Prozac defense. With Michael Welner
and Jada Stewart (in press) In Mozayani, A & Raymon, L. (Eds.) Handbook of Drug Interactions: A
Clinical and Forensic Guide. Humana Press: New York, NY.
Ethics in Psychiatry in Sadock B. and Sadock V. (eds.) Comprehensive Textbook of Psychiatry. 9th
   edition. Phil: Lippincott, Williams & Wilkins 2009.
Assessing and Treating Traumatized Children in Hosen, Responding to Traumatized Children.
Palgrave 2006.
Cognitive Therapy of Children with PTSD, IBID
Child Custody Evaluations in K. Cheng and K. Myers (ed.) &KLOGDQG$GROHVFHQW3V\FKLDWU\7KH
   (VVHQWLDOV. Lippincott Williams & Wilkins (2005).
Diagnosis and Treatment of Trauma on Children in K. Cheng and K. Myers (ed.) &KLOGDQG
   $GROHVFHQW3V\FKLDWU\7KH(VVHQWLDOV. Lippincott Williams & Wilkins (2005).
Using Emotional Intelligence To Deal With Difficult People and Organizations in Osland S. et al
   (eds) The Organizational Behavior Reader (7th ed) Saddle River: Prentiss Hall.
Children, Disasters, and the September 11th World Trade Center Attack (with Eth S.) in Norwood A
   and Ursano B (eds.) 7UDXPDDQG'LVDVWHU5HVSRQVHDQG0DQDJHPHQW. Wash DC: APA Annual
   Review of Psychiatry, Volume 22, 2003.
Forensic Evaluation of Trauma Syndromes by Lubit R, Hartwell N, van Gorp WG, Eth S. in &KLOG
   DQG$GROHVFHQW3V\FKLDWULF&OLQLFVRI1RUWK$PHULFD. 2002 Oct; 11(4):823-57.
Ethics in Psychiatry (with Eth S. and Ladds B.) in Sadock B. and Sadock V. (eds.) Comprehensive
   Textbook of Psychiatry. 8th edition. Phil: Lippincott, Williams & Wilkins. (2004)
Office Politics (with Gordon R) in Kahn J. (ed.) 0HQWDO+HDOWKDQG3URGXFWLYLW\LQWKH:RUNSODFH
   2002.
Adolescent Moral Development (with Billick S.) in Rosner R. (ed.) Textbook of Adolescent
   Psychiatry (2003).
Juvenile Delinquency, (with Billick S.) in Rosner S. (ed.) Principles and Practice of Forensic
   Psychiatry (2003).
Child Custody Evaluations in Forensic Psychiatric/Psychological Assessments (in prep.)


Articles
Post Traumatic Stress Disorder in Children in eMedicine World Medical Library, 2010.
Acute Treatment of Disaster Survivors in eMedicine World Medical Library, 2010.
Post Concussive Syndrome. eMedicine World Medical Library, 2010.
Borderline Personality Disorder. eMedicine World Medical Library, 2010.
Sleep Disorders. eMedicine World Medical Library, 2009
Child Abuse and Neglect: Reactive Attachment Disorder. eMedicine World Medical Library, 2009.

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Review of Anxiety Disorders in eMedicine's Depression & Anxiety Feature Series, July 2006.
Impact of Trauma on Children (with Rovine D, DeFrancisci Land Eth S.) -RXUQDORI3V\FKLDWULF
   3UDFWLFH v9 #2 128-138 (March 2003).
Helping Disaster Survivors. E-Medicine World Medical Library, 2001.
PTSD in Children. E-Medicine World Medical Library, 2001.
Preserving Children’s Protection While Enhancing Justice for Parents in Abuse and Neglect
   Evaluations by Lubit R., Billick S. & Pizarro R. $33/-RXUQDO V 30 No 2 (July 2002) pp287-290.
The Long Term Organizational Effects of Narcissistic Managers and Executives. $FDGHP\RI
   0DQDJHPHQW([HFXWLYH, Spring 2002.
Tacit Knowledge and Knowledge Management: The Keys to Competitive Advantage.2UJDQL]DWLRQDO
   '\QDPLFVZLQWHU.
The Crimean Imbroglio. (DVW(XURSHDQ5HYLHZ, August 1995.
The Effects of Drugs on Decision-Making (with Bruce Russett). -RXUQDORI&RQIOLFW5HVROXWLRQ,
   March 1984.


Books
Forensic Psychiatric/Psychological Assessments with Len Goodstein Ph.D. (in preparation).
Coping with Toxic Managers and Subordinates: Using Emotional Intelligence to Survive and Prosper
   (2003) Prentiss-Hall.
Developing Emotional Intelligence (in preparation)


Other Publications
“Using Emotional Intelligence to Deal with Difficult Client Personnel (and Colleagues)”Consulting
   to Management in press June 2004 v15 #2
“The tyranny of toxic managers: An emotional intelligence approach to dealing with difficult
   personalities” Ivey Business Journal, spring 2004
“Curbing the Tide of Islamic Radicalism in Europe” White Paper requested by CIA 1/1/04.
Psychiatrist's Role in Involuntary Hospitalization. Commentary 2. Available at: http://
   www.virtualmentor.org or
   http://www.ama-assn.org/ama/pub/category/11103.html
Book Review (with Billick S.) of +DQGERRNRI1HXURGHYHORSPHQWDODQG*HQHWLF'LVRUGHUVLQ
   &KLOGUHQ, edited by Sam Goldstein Ph.D. and Cecil Reynolds Ph.D. (New York: The Guildford
   Press, 1999) for 7KH-RXUQDORI3V\FKLDWU\ /DZ.
Book Review (with Eth S.) of &KLOGUHQ¶V,QWHUHVWV0RWKHU¶V5LJKWV7KH6KDSLQJRI$PHULFD¶V&KLOG
   &DUH3ROLF\, by Michel S (New Haven: Yale University: 1999) for 3V\FKLDWU\ .
Book Review of 7KH%LJ)LYH by Alexander Saveliev. 0HL02(Journal of the Institute for
   International Economics and International Relations), winter 1996.

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Book Review of +LGGHQ,OOQHVVLQWKH:KLWH+RXVH by Kenneth Crispell and Carlos Gomez. 3ROLWLFV
   DQGWKH/LIH6FLHQFHV February 1991.
Seven Easy Peaces (with Catherine Perlmutter). &KLOGUHQ0DJD]LQH, Rodale Press, September 1988.




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PRESENTATIONS
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Assessing Forensic Evaluations, CME talk to Nassau County Bar Association December 15, 2010
Interview on Parental Alienation by Sarah Wallace of ABC Television November 30, 2010
Canadian Broadcasting Company, interviewed on television concerning Chilean Mining Disaster:
August 24, 2010
Canadian Broadcasting Company, interviewed by 8 of their radio stations concerning Chilean Mining
Disaster: August 24, 2010

Quoted in The McChrystal Effect: Mouthing Off To Your Boss Can Get You Fired: on
ABCnews.com June 24, 2010 http://abcnews.go.com/Business/MindMoodResourceCenter/mouthing-
off-boss-fired/story?id=10993015&page=2
Interviewed by Dow Jones concerning authoritarian managers. April 7, 2010
Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2010
Lectures on Psychiatry for Navy Physicians (ADHD, PTSD, Forensic Psychiatry, Ethics in
Psychiatry, Clinical Assessment of Children, Severe Personality Disorders), Columbia, Missouri
October 11 and 12, 2009.
Use of Narratives and Storytelling in Treating PTSD, Trauma Psychiatry & Psychology, International
Center For Psychosocial Trauma, Columbia, Missouri September 30, 2009
Lectures on Ethics to Child Psychiatry Fellows at Einstein School of Medicine Winter 2009
Impact of the Lehman Crisis on People, Fox Business News, September 15, 2008
Assessing Forensic Evaluations Rose Seminar, Minneapolis September 11, 2008
Developing Emotional Intelligence Rose Seminar Minneapolis September 11, 2008
“Assessing and Dealing With Corporate Threats” at ATAP North East Chapter, June 23, 2008.
“Family Courts and Child Custody: A System Needing Change: Zigler Center at Yale April 11, 2008
“Sex Abuse Evaluations” Symposium sponsored by Children and Family Law Committee of the Bar
Association of the City of NY, January 23, 2008
“Experiencing the Trauma of 9/11 and Understanding the Recovery” University of Missouri-
Columbia International Center for Psychosocial Trauma” St Louis June 29, 2006.
“Doing Forensic Evaluations” Joint Conference of the British Arab Psychiatric Association and
American Arab Psychiatric Associations in Bahrain April 16, 2006.
“Evaluation and Treatment of PTSD in Children” Joint Conference of the British Arab Psychiatric
Association and American Arab Psychiatric Associations in Bahrain April 16, 2006.
 “Evaluation and Treatment of PTSD in Children” The First Annual Medical Conference of the
International Iraqi Medical Association; Dubai, UAE April 12, 2006.
“Doing Forensic Evaluations” The First Annual Medical Conference of the International Iraqi
Medical Association; Dubai, UAE April 12, 2006.
“Assessing and Treating Emotional Trauma” at International Academy of Law and Mental Health;
Paris July 2005.

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“Assessing Sexual Abuse Allegations” at International Academy of Law and Mental Health; Paris
   July 2005.
“New Thoughts on Leadership Development” at Society of Human Resource Management annual
   national meeting; San Diego June 20, 2005
“Dealing w. Toxic Managers” at NJ OD Network; Sharing Day; May 9, 2005
Problems in the Child Custody System on Dateline NBC April 15, 2005
“Group Dynamics and Decision Disasters” at annual meeting of In2In Thinking Network: Los
   Angeles, April 9, 2005
“Assessment of Dangerousness” Hudson River Psychiatric Hospital February 2, 2005
“Improving the Quality of Evaluations for Sexual Abuse” Queens ACS lawyers; January 10, 2005.
“Improving the Quality of Child Custody Decisions ” The Second National Battered Mother's
   Custody Conference; Albany; January 8, 2005.
"Evaluating Forensic Child Custody Evaluations” to Women’s Bar Association of the State of New
   York; June 8, 2003; Brooklyn, NY.
“Assessing Dangerousness” Grand Rounds at Hudson River Psychiatric Center 4/7/04.
“Radical Islam in Europe: Ideological, Psychological and Political Foundations and Potential
     Responses” invited presentation to Workshop on Radical Islam in Europe sponsored by CIA
     Office of Russian and European Analysis; McLean, VA Dec 12, 2003.
“Rethinking the Role of Psychology in Understanding Terrorism” invited presentation to Psychology
     of Terrorism Workshop sponsored by CIA Counterterrorism Center, Office of Terrorism
     Analysis; McLean, VA Nov 21, 2003.
“Assessment and Treatment of Traumatized Children” Grand Rounds MSSM Pediatrics Nov 20,
     2003
“Phenomenology, Psychopathology and Treatment of Emotional Trauma” Grand Rounds Walter
     Reed Army Hospital, Nov 19, 2003
“Assessment and Treatment of Traumatized Children” Grand Rounds Pediatrics Elmhurst Hospital
     Nov 17, 2003
With John Kastan "Organization of Disaster Mental Health Services in Post 9/11 New York City"
   Annual Meeting of APHA, San Francisco, November 15-19, 2003
“Doing Child Custody Evaluations” Bronx 18B Lawyers Retreat; Nov 2003.
“Parental Alienation Syndrome” Bronx 18B Lawyers Retreat; Nov 2003.
“Wide Ranging Impact of Emotional Trauma on Children”; William Allanson White Psychoanalytic
  Institute Sept 25, 2003
“Violence in the Workplace” UPN 9, 7/25/03.
“Terrorism” Chair of Panel, International Society of Political Psychology; Boston July 8, 2003.
“Mind of the Modern Day Terrorist” Paper Panel on Understanding Terrorism at the International
   Society of Political Psychology; Boston July 8, 2003.


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“Limiting the Trauma of Terrorism” Paper Panel on Political Violence and Trauma at the
   International Society of Political Psychology Boston; July 8, 2003
“Children and Disasters” American Psychiatric Association, San Francisco, May 20, 2003.
“Treatment of Trauma” Grand Rounds, Hudson River Psychiatric Institute, April 23, 2003
“Evaluation and Treatment of Children After Disasters” at Families, Trauma and Forensic Psychiatry
   Symposium at Walter Reed Army Hospital, April 16, 2003
“Children and Disasters” Maryland APA, April 9, 2003.
“Ethics in Psychiatry” Grand Rounds, Hudson River Psychiatric Institute, February 26, 2003
Chair of panel on “Biological and Chemical Terrorism” at John Jay College’s symposium on
   Homeland Security After 9/11. January 23, 2003.
“Assessment and Treatment of Traumatized Children”, Children’s National Medical Center, Dec 11,
   2002.
“Children's Needs and Obstacles to Meeting Them After Disasters”, LA Child Development Center.
   November 23, 2002
“School Based Mental Health Screening” International Society of Traumatic Stress Studies
   November 10, 2002
“Assessment of Traumatized Children and Adolescents” International Society of Traumatic Stress
   Studies November 7, 2002
“Suicide and Suicide Prevention in Children and Adolescents” Safehorizon. Nov 5, 2002
“Fundamentalism and Terrorism” Group for the Advancement of Psychiatry November 1, 2002
Bereavement and Trauma: Assisting Adolescents After Loss, Covenant House, NYC October 25,
   2002
“Living With Uncertainty and Violence: Helping Youth Cope With Trauma” JBFCS Symposium.
   Oct 7, 2002.
“Treatment of Emotional Trauma” Beth Israel Hospital, 3 half-day sessions in Sept. and Oct. 2002.
“Impact of 9/11” BBC Sept 12, 2002
“Long term impact of 9/11”, NPR Sept 8, 2002
“Recognizing Troubled Children” Private Schools (HALB and HAFTR) September 3, 2002.
“Recognizing Troubled Children” NYC School Nurses, August 27, 2002
“Coping with Stress in the Modern World” NY Life Insurance, August 22, 2002
“Ethics and Leadership” Brookings Institution, Washington DC July 30, 2002.
“Treatment of Children Who Lose Parents” Easthampton Camp. July 10, 2002
“Assessing the Impact Of 9/11 On Children in Schools” Meeting of NYC school psychiatrists and
supervising nurses. June 28, 2002
“Impact of WTC Disaster on Firefighters” CBS Evening News May 26, 2002
“Psychological Impact of Trauma” for Montclair NJ School District. May 16, 2002


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“Origins of Delinquent Behavior” at Update on Juvenile Delinquency for Society for Adolescent
   Psychiatry. May 11, 2002
“Impact of Violence On Child Development and Remedial Strategies” at Conference on “Responding
   to the crisis…Partnering for Violence Prevention” Summit Country Children Services. April 16,
   2002
“Terrorism, Trauma and Treatment Options” for the S. Michigan branch of the International Society
   for the Study of Dissociation Annual Conference Livonia Michigan. April 12, 2002.
Public Radio WNYC: 20 minute interview on psychiatric impact of WTC Disaster, 1/18/02.
“Healing a Traumatized City”, invited speaker at the symposium on “The Trauma of Terror in
   Children”, Dec 1, 2001 sponsored by the Southern California Society of Child and Adolescent
   Psychiatry and the Southern California Psychiatric Society.
NY1 Television: 1 hour interview program on psychiatric impact of WTC Disaster, 12/19/01.
Disaster Recovery: Worked with CEOs and HR to help companies recover from Sept 11, 2001
   disaster. Also gave presentations to groups of 5 to 170 workers: First American Title, NYC, Sept.
   14; Costa Kondylis, NYC, Sept 14; Credit Lyonnais, NYC Sept 21; Financial Models, NYC, Sept
   21; Coalition for the Homeless. Oct 3; Sadlier Publishing Oct 4; Queller, Fisher, Dienst Oct 10;
   Village Voice, Oct 17; May Davis Investment Bank, Nov. 5; NY Life Nov 12; Jacqueline Onassis
   H.S., Oct 19; PS 89, Nov 6; H.S. of Economics and Finance Nov 14, 2001.
“Juvenile Delinquency” invited speaker, Tri-State Forensic Psychiatry Review Course, 3/2/01.
Chairman of panel on "Political Psychology and War", annual meeting of the International Society of
   Political Psychology, Washington, DC 6/21/85.
"Altered Metabolic States and Decision-Making", annual meeting of the International Society of
Political Psychology, Toronto 6/25/84.
Discussant on papers on the "Effects of Alcohol and Drugs on Leadership Behavior", annual meeting
of the International Society of Political Psychology, Toronto 6/27/84.




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ORGANIZATIONAL AFFILIATIONS
2004-present Consultant to Association of the Bar of the City of NY Children and Law Committee
2007-present Consultant to Accountability Review Panel of NYC Administration for Children’s
              Services
2008-present Member of the Forensic Panel (forensic psychiatrists who peer review their cases)
2007-present Giveanhour-offering services to war veterans needing PTSD treatment
2005-2006     Disaster and Trauma Issues Committee of Am Acad of Child and Adolescent Psych
2006-present Dept of Child Psychiatry, NYU School of Medicine
2004-present Dept of Psychiatry, Mt Sinai School of Medicine
2004-2006     American Academy of Child and Adolescent Psychiatry
2004-2005     NY State Interdisciplinary Forum on Mental Health and Family Law
2004-present Consultation Cadre of the School Mental Health Project of UCLA
2003-present Consortium for Research on Emotional Intelligence in Organizations
2002-2004     Senior Consultant on Psychoeducation and Program Development, Center for Social
              and Emotional Education (www.csee.net)
2002-2003     Senior Researcher, Center on Terrorism and Public SafetyJohn Jay College, CUNY
2003-2005     Consultant to International Relations and Terrorism Committees of the Group for the
              Advancement of Psychiatry
2002-2004     Manhattan Task Force to End Child Abuse and Domestic Violence
2001-2003     National Child Traumatic Stress Network
2001-2003     New York Times Consortium for Effective Trauma Treatment
1985-1991     Institute of Social and Behavioral Pathology, fellow.
1981-1988     American Psychiatric Association, member.
1983-1987     International Society of Political Psychology, member.
1982- present Yale Edward Zigler Center in Child Development and Social Policy

AWARDS

1990-1991     Harvard-MacArthur Scholar in International Security.

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ORGANIZATIONAL DEVELOPMENT EXPERIENCE

1999-2001     Consulted to: Mitsubishi, Delta Airlines, PricewaterhouseCoopers, Morgan Stanley,
              Sadlier Publishing, First American Title, Costa Kondylis, Credit Lyonnais, Financial
              Models, Coalition for the Homeless.

1999-2001     Management consultant in PricewaterhouseCoopers’ Strategic and Organizational
              Change practice.

1997-1998     Visiting Scholar at Columbia Business School, New York, NY.

1997          Ph.D. in Political Science, GSAS, Harvard University, Cambridge.
              Ph.D. dissertation on the role of learning and politics in organizational change.

TEACHING EXPERIENCE

2005-         Supervisor for residents in child psychiatry, NYU School of Medicine Department of
              Psychiatry

2003-2004     Supervisor for residents in child psychiatry and medical students at Mount Sinai
              School of Medicine

2001-2003     Supervisor for residents in psychiatry at St. Vincent’s Hospital.

2001          Adjunct Assistant Professor, Zicklin School of Business, New York, NY.
              Taught course on Managerial and Leadership Skills in the MBA program.

1990-1996     Teaching fellow at Harvard University, for International Conflicts in the Modern
              World, Ethics and International Relations, Europe After 1945, and The Stalin Era.

1998          Teaching assistant at Columbia Business School, for Organizational Behavior and
              Building the Learning Organization.




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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 57255287
Status as of 9/18/2021 3:21 PM CST

Associated Case Party: NeilHeslin

Name               BarNumber    Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   9/15/2021 9:10:10 AM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted     Status

William Ogden                  bill@fbtrial.com     9/15/2021 9:10:10 AM   SENT

Bradley Reeves                 brad@brtx.law        9/15/2021 9:10:10 AM   SENT

Carmen Scott                   carmen@fbtrial.com 9/15/2021 9:10:10 AM     SENT
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                                                                           Hearing/Trial Date(s): 8/31/2021
Received into TCDC: __________________

                                    Cause Number D-1-GN-18-001835, et al

HESLIN                                                X       In the District Court of
                                                      X
V                                                     X       Travis County, Texas
                                                      X
ALEX JONES                                            X       459TH Judicial District

                                             Receipt of Exhibits

I, Alicia A. DuBois, Court Reporter for the 459th District Court, do hereby tender for filing to Velva L.
Price, District Clerk, Travis County, Texas, the following exhibits in the above numbered and styled
cause:

     #          Plaintiff’s Exhibits                            #            Defendant’s Exhibits
 1       Video Clip
 2       Video Deposition




                                                              __________________________________
                                                              Court Reporter

I, Velva L. Price, District Clerk, do hereby acknowledge receipt of the above listed exhibits in the
above numbered and styled cause.

Dated this_____________
                 7TH day of _______________________,
                              OCTOBER                20________
                                                        21


               (FILE STAMP)                                             Velva L. Price
                                                                        District Clerk, Travis County, Texas
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            Of Travis County, Texas
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                                                                                                                                 District Clerk
    NBIT, HESLIN                                                                                   IN TTIE DISTRICT COUIIT OF    Travis County
                                                                                                                              D-1-GN-18-001835
                                                                                                                                Selina Hamilton
    vs,                                                                                        ].Iì.AVIS COLJNTY, TBXAS
    ALEX E. JONES,
    I N FOWARS, LLC, FREE SI'EECH
    SYSTBMS, LLC, AND OWEN SI-IROYBR                                                           459TFI .IUDICIAI, DISTRICT

                                                               NOTICE OF DBLIVERY
RII:       Contemporary Care Psychiatric Centers of Excellence (Medical/I'sychiatric)

I,         Cris   Garza          ,   Notary Public in and for the State of Texas, hereby certify pursuant to the Rule 203, Texas Rules of Civil
Procedure,

I   .     That this Deposition by Written Questions of Christine Lent, the CLrstodian of Records fol the above named is a true atrd
          exact duplicate of the records pertaining to Neil Heslin, given by the witness narned helein, after said witness was duly sworn
          by      Denise V.'I'oomey

2.        That the transcript is a Irue recold of the testirnony given by the witness;

3.        'l-hat fì 139.80 is the charge f'ol'the pleparation o1'the conrpleted Depositiorr by Written Questiorrs and any copies ol'exhibits,
          chalged to Attorney ltrr I'laintiff, Marl< D. Bankston, TBA # 24001430;

4,        That the cleposition transcript was submitted on 08127/2021 9;004M. to the witness for exarnination, signature and return
          to the officer by a specified date;

5.        'l'hat changes, if any rnade by the witness, in the transcript and otherwise ale attached thereto or incorpot'ated therein;


6.        That the witness returned the transcript;

7   .     That the oliginal deposition by Written Questions and a copy theleol together with cop ies of all exh ibits was delivered to
          Mark D. Banl<ston (Kaster, Lynch, Farrar & Ball, LLP) 1ll7 Herl<irner Street Houston,77008 who Noticed the lìrst
          questiorls for safekeeping and use at trial;

8,        That pursuant to information urade a part of the recolds at the tiure said testirlony was taken, the fbllowing includes all parties
          o1'record:
          Bradley lì.eeves (Reeves l.aw, I'LLC) 512-318-2484
          Marl< D. Iìanl<ston (Kaste ro l,ynch, Iìarrar & Ball, LLP) 713-221 -8301
and
9.        A copy of this Notice of Delivery was served on all palties shown helein,

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                                                                                               Notary Public in and fol the State of Texas

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Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted        Status

Scott Weatherford                 sweatherford@jw.com                10/10/2021 5:36:27 PM     SENT

Joshua ARomero                    jromero@jw.com                     10/10/2021 5:36:27 PM     SENT

Charles L.Babcock                 cbabcock@jw.com                    10/10/2021 5:36:27 PM     SENT

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/10/2021 5:36:27 PM     SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     10/10/2021 5:36:27 PM     SENT

William Ogden                     bill@fbtrial.com                   10/10/2021 5:36:27 PM     SENT

T. Wade Jefferies                 twadejefferies@twj-law.com         10/10/2021 5:36:27 PM     SENT

Bradley Reeves                    brad@brtx.law                      10/10/2021 5:36:27 PM     SENT

Marc Randazza                     ecf@randazza.com                   10/10/2021 5:36:27 PM     SENT

Carmen Scott                      carmen@fbtrial.com                 10/10/2021 5:36:27 PM     SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/10/2021 5:36:27 PM   SENT



Associated Case Party: ALEXEJONES

Name                BarNumber   Email                         TimestampSubmitted      Status

T. Wade Jefferies               twadejefferies@twj-law.com 10/10/2021 5:36:27 PM      SENT



Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                         TimestampSubmitted      Status

T. Wade Jefferies               twadejefferies@twj-law.com 10/10/2021 5:36:27 PM      SENT
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Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                      TimestampSubmitted      Status

T. Wade Jefferies               twadejefferies@twj-law.com 10/10/2021 5:36:27 PM   SENT
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                                                                   No. D-l-GN-18-001835                                           Velva L. Price
                                                                                                                                 District Clerk
    NBIT, HESLIN                                                                                   IN TTIE DISTRICT COUIIT OF    Travis County
                                                                                                                              D-1-GN-18-001835
                                                                                                                                Selina Hamilton
    vs,                                                                                        ].Iì.AVIS COLJNTY, TBXAS
    ALEX E. JONES,
    I N FOWARS, LLC, FREE SI'EECH
    SYSTBMS, LLC, AND OWEN SI-IROYBR                                                           459TFI .IUDICIAI, DISTRICT

                                                               NOTICE OF DBLIVERY
RII:       Contemporary Care Psychiatric Centers of Excellence (Medical/I'sychiatric)

I,         Cris   Garza          ,   Notary Public in and for the State of Texas, hereby certify pursuant to the Rule 203, Texas Rules of Civil
Procedure,

I   .     That this Deposition by Written Questions of Christine Lent, the CLrstodian of Records fol the above named is a true atrd
          exact duplicate of the records pertaining to Neil Heslin, given by the witness narned helein, after said witness was duly sworn
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3.        'l-hat fì 139.80 is the charge f'ol'the pleparation o1'the conrpleted Depositiorr by Written Questiorrs and any copies ol'exhibits,
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          questiorls for safekeeping and use at trial;

8,        That pursuant to information urade a part of the recolds at the tiure said testirlony was taken, the fbllowing includes all parties
          o1'record:
          Bradley lì.eeves (Reeves l.aw, I'LLC) 512-318-2484
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and
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Associated Case Party: INFOWARS LLC

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Associated Case Party: OWEN SHROYER

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                                   CAUSE NO. D-1-GN-18-001835                                 D-1-GN-18-001835
                                                                                                Nancy Rodriguez

  NEIL HESLIN,                                    §            IN THE DISTRICT COURT OF
                                                  §
                      Plaintiff,                  §
                                                  §
                                                  §
  v.                                              §                TRAVIS COUNTY, TEXAS
                                                  §
                                                  §
  ALEX E. JONES, INFOWARS, LLC,                   §
  FREE SPEECH SYSTEMS, LLC, AND                   §
  OWEN SHROYER                                    §
                                                  §                 261st JUDICIAL DISTRICT
                     Defendants,                  §

 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO COMPEL RESPONSES
  TO SECOND SET OF DISCOVERY REQUESTS AND MOTION FOR SANCTIONS

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer

(collectively “Defendants”), file this response to Plaintiff’s Motion to Compel Responses to

Second Set of Discovery Requests and Motion for Sanctions, and would show unto the Court as

follows:

                                      SUMMARY OF RESPONSE

         Plaintiff’s motion to compel and motion for sanctions should be denied. Defendants have

fully supplemented their discovery responses to address most, if not all, of Plaintiff’s concerns. To

the extent Defendants have stood on their original objections, the Court should sustain Defendants’

objections and deny Plaintiff’s motion.

         Unsurprisingly, Plaintiff’s motion is loose with the facts, particularly where it comes to

claiming Defendants would supplement their production in response to Plaintiff’s original

discovery requests within fourteen (14) days of the August 31, 2021 hearing in this case.

Defendants made no such promises; what was promised was that the undersigned would review

additional documents to determine if further supplementation was necessary. Counsel did review



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additional documents and determined that all documents responsive to Plaintiff’s initial production

requests had already been produced. Yet that had nothing to do with Plaintiff’s second set of

discovery requests, most of which sought wholly irrelevant documents and information simply for

the purposes of harassing Defendants. Regardless, as demonstrated below, Defendants have fully

complied with their discovery responsibilities by supplementing their discovery responses to

ensure the issues raised by Plaintiff in his motion have been addressed. See Ex. 1;1 Ex. 2;2 Ex. 3;3

Ex. 4;4 and Ex. 5.5 Consequently, Plaintiff’s motion should be denied.

                    RESPONSE TO MOTION TO COMPEL AND MOTION FOR SANCTIONS

1)         Defendant, Alex Jones, has fully complied with his discovery obligations pertaining
           to Plaintiff’s Second Set of Interrogatories; Defendant’s objections to Plaintiff’s
           discovery requests should be sustained; and Plaintiff’s motion should be denied.

           Plaintiff first complains about Defendant, Alex Jones’s, responses to Plaintiff’s second set

of discovery requests. Plaintiff first seeks to compel Defendant to provide different responses to

certain interrogatories, as follows:

A.         Interrogatory No. 1

           Interrogatory No. 1

           Identify by name and last known contact information of any individual who
           you chose to employ at Free Speech Systems between December 14, 2012
           and July 1, 2021 with duties that involved writing, researching, editing,
           filming, hosting, or producing InfoWars media content and who is no longer
           employed by the company.


1
    Defendant, Alex Jones’s, Supplemental Objections and Answers to Plaintiff’s Second Set of Interrogatories.
2
  Defendant, Free Speech Systems, LLC’s, Supplemental Objections and Answers to Plaintiff’s Second Set of
Interrogatories.
3
  Defendant, Free Speech Systems, LLC’s, Supplemental Objections and Responses to Plaintiff’s Second Requests
for Production.
4
    Defendant, Owen Shroyer’s, Supplemental Objections and Answers to Plaintiff’s Second Set of Interrogatories.
5
    Defendant, Owen Shroyer’s, Supplemental Objections and Responses to Plaintiff’s Second Requests for Production.

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           In his initial and supplemental answer to this interrogatory, Mr. Jones asserted the

following objections:

           OBJECTIONS:

           Defendant objects to this interrogatory as overly broad, unduly burdensome,
           and a fishing expedition, as Plaintiff has not identified any relevancy
           between his claims in this lawsuit and the information requested in this
           interrogatory. Defendant further objects to the harassing and burdensome
           nature of this interrogatory as it would encompass essentially every former
           employee of Free Speech Systems during that entire time period, very few
           of which would have any relevancy or connection to the claims at issue in
           this lawsuit. Defendant further objects to this interrogatory as it is not
           reasonably calculated to lead to the discovery of admissible evidence.
           Defendant also objects to this interrogatory as it assumes facts not in
           evidence with whether Defendant “chose to employ” any individual(s) at
           Free Speech Systems.

See Ex. 2 to Plaintiff’s motion; see also Ex. 1. In his supplemental objections and answers,

Defendant reiterated he does not have the requisite knowledge or information to adequately

respond to this interrogatory, stating:

           ANSWER:

           Subject and without waiving the foregoing objections, Defendant does not
           have the requisite information and knowledge to respond to this
           interrogatory.

Id. Yet, Plaintiff still wishes to have the Court compel Defendant to answer an interrogatory with

information that he has no knowledge of, particularly in his individual capacity. But Defendant

cannot be compelled to provide an answer for which he has no personal knowledge regarding

former employees of a separate and distinct entity—Free Speech Systems, LLC6—which is also a

defendant in this lawsuit.

           Plaintiff’s motion fails to meaningfully address the objections raised by Defendant;

Plaintiff simply makes his own unsubstantiated conclusion that the objections are somehow


6
    Hereinafter referred to as “Free Speech Systems.”

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“frivolous.” While it is not clear when Plaintiff or his counsel became the judge in this case,

Plaintiff’s failure to discuss Defendant’s objections to these discovery requests in its motion

deems, in and of itself, that the Court should sustain Defendants’ objections and deny Plaintiff’s

motion.

       Notably, Plaintiff’s motion does not assert that Defendant’s objections were improper

(other than to claim they are frivolous), nor does Plaintiff provide any analysis that would

otherwise support its contention that Defendants’ objections are frivolous. See Morris v. Greater

McAllen Star Properties, No. 13–11–00316–CV, 2012 WL 3043106, at *15-16 (Tex. App.—

Corpus Christi July 26, 2012, no pet.). Therefore, Plaintiff has not shown that the Court should

overrule each of Defendant’s objections and compel discovery. Id. (citing In re Hernandez, No.

14-11-00408-CV, 2011 WL 4600706, at *2 (Tex. App.—Houston [14th Dist.] Oct. 6, 2011, orig.

proceeding) (mem. op.); see also In re Citizens Supporting Metro Solutions, Inc., No. 14-07-

00190-CV, 2007 WL 4277850, at *3 (Tex. App.—Houston [14th Dist.] Oct. 18, 2007, orig.

proceeding) (mem. op.).

       The Court should also deny Plaintiff’s motion because Plaintiff’s interrogatory no. 1 is a

pure fishing expedition and seeks information that has little to no relevance to the claims at issue

in this lawsuit. The period covered by Plaintiff’s interrogatory no. 1 is far too broad for the

circumstances of this case, particularly since Plaintiff’s claims, at the earliest, only stem from

alleged statements made in 2017 and 2018. Plaintiff has no rational explanation as to why

information from prior to 2017 and 2018 is relevant to his asserted causes of action, especially

information on former employees going all the way back in 2012. Parties are not entitled to

unlimited discovery, and it is incumbent upon the Court to impose reasonable discovery limits. In

re Sun Coast Res., Inc., 562 S.W.3d 138, (Tex. App.—Houston [14th Dist.] 2018, orig.



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proceeding). A party’s discovery requests must show a reasonable expectation of obtaining

information that will aid in the resolution of the dispute. In re CSX Corp., 124 S.W.3d 149, 152

(Tex. 2003) (orig. proceeding) (per curiam). Plaintiff’s interrogatory no. 1 is not reasonably limited

or sufficiently tailored to a relevant scope of time that would aid in resolution of the dispute. The

Court should sustain Defendant’s objections to this interrogatory and deny Plaintiff’s motion.7

        Plaintiff’s motion also makes extremely presumptuous statements as to what information

Defendant should be able to obtain in his individual capacity, as opposed to information that is

possessed, owned, and/or controlled by the entity-defendant, Free Speech Systems. First,

Plaintiff’s interrogatory requests identifying information for anyone Mr. Jones personally “chose

to employ.” Yet as Mr. Jones stated in his objections to this interrogatory, there is no evidence he

ever made personal decisions as to whom Free Speech Systems should employ. Plaintiff’s motion

also claims, without any proof, that Mr. Jones in his individual capacity “should be able to identify

employees” of Free Speech Systems. See Mtn. at 3. Yet again, Plaintiff’s motion misses the mark,

and Plaintiff’s unsubstantiated presumptions fail to demonstrate any support for the contentions in

his motion.

        Plaintiff’s motion also misleads the Court as to the extreme breadth of the information he

is seeking. Based on the phrasing in the motion, one would think that Plaintiff’s interrogatory no.

1 only seeks information on former employees “in production roles who have been terminated or

resigned”—albeit without any information to fully understand what Plaintiff means by “production

roles.” See Mtn. at 3. But a review of the interrogatory shows the request itself is much broader

and more burdensome than that. Tellingly, Plaintiff’s motion fails to discuss how his interrogatory


7
 As an aside, it is also particularly concerning that Plaintiff’s interrogatory seeks information only as to former
employees, and not any current employees. Presumably, Plaintiff and/or his counsel are attempting to usurp
Defendants’ rights to have former employees represented by counsel regarding events that occurred while still
employed. The Court should not allow this to occur.

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seeks identifying information of any and all former employees of Defendant, Free Speech Systems,

LLC (and not employees of Mr. Jones, to whom the interrogatory was propounded) who was

involved in any way in: (1) writing; (2) researching; (3) editing; (4) filming; (5) hosting; or (6)

producing InfoWars media content. See Mtn. at 2. This interrogatory essentially encompasses

every former employee of Free Speech Systems and as such is unduly burdensome and overly

broad on its face. More to the point, Plaintiff’s interrogatory does not limit itself to seeking the

identification of former employees who may have had a role in any Sandy Hook-related

broadcasts. Instead, Plaintiff is seeking to have any former employees who did any of the

tasks/roles listed above for any broadcasts on any subject. Thus, it is clear Plaintiff’s interrogatory

no. 1 is not “reasonably tailored to include only relevant matters.” In re Alford Chevrolet-Geo, 997

S.W.2d 173, 180 n. 1 (Tex. 1999) (orig. proceeding).

       Finally, as referenced above, the information sought in response to this interrogatory

pertains to former employees of Free Speech Systems, and not those of Mr. Jones. Plaintiff is not

entitled to compel information from Mr. Jones in his personal capacity when the information he

desires pertains to former employees of an independent entity, Free Speech Systems. A person

sued in his individual capacity is not required or expected to provide information and discovery

that are within the corporation/limited liability company’s possession and knowledge. See In re

Kuntz, 124 S.W.3d 179, 183-84 (Tex. 2003).

       The Court should sustain Defendant’s objections to Plaintiff’s interrogatory no. 1 and deny

Plaintiff’s motion to compel (and motion for sanctions) as to his interrogatory no. 1.




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B.     Interrogatory No. 2

       Interrogatory No. 2

       Identify by name and any known contact information of any individual not
       employed by Free Speech Systems, LLC with whom you have
       communicated about this lawsuit or the allegations in this lawsuit since
       April 16, 2018.

       In his initial and supplemental answer to this interrogatory, Mr. Jones asserted the

following objections:

       OBJECTIONS:

       Defendant objects to this interrogatory as harassing and not reasonably
       calculated to lead to the discovery of admissible evidence. Defendant
       further objects to the extent this interrogatory violates the attorney-client,
       work-product, and/or reporter’s privilege. Defendant further objects to this
       interrogatory as unduly burdensome and seeking information not relevant
       to Plaintiff’s claims in this lawsuit.

See Ex. 2 to Plaintiff’s motion; see also Ex. 1.

       In his supplemental objections and answers, Mr. Jones emphasized that he does not have

the requisite knowledge or information to specifically identify any persons in response to this

interrogatory beyond knowing he has indeed spoken to his attorneys about this lawsuit. To wit,

Mr. Jones responded to this interrogatory with:

       ANSWER:

       Subject to and without waiving the foregoing objections, while Defendant
       does not deny he has likely discussed the lawsuit and/or the allegations in
       this lawsuit since April 16, 2018 with individual(s) not employed by Free
       Speech Systems, Defendant does not currently have the requisite
       information and knowledge to identify any specific person(s) with whom
       he has had those discussions beyond Defendant discussing the lawsuit with
       his attorneys.

See Ex. 1.

       Again, Plaintiff’s motion does nothing to address Defendant’s objections other than to call

them “frivolous.” See Mtn. at 3. This likewise dooms Plaintiff’s complaints and compels the Court

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to sustain Defendant’s objections and deny Plaintiff’s motion as to interrogatory no. 2.

       Regardless, Plaintiff is not entitled to an order compelling an answer to a question to which

Mr. Jones lacks the requisite knowledge to provide an answer. While Plaintiff’s counsel baselessly

contends Mr. Jones “should know the people outside the company with whom he discussed this

case,” the fact of the matter is that Mr. Jones does not know specific individuals with whom he has

discussed anything relevant to this lawsuit other than his lawyers. Discovery is not a memory

contest, and simply because Plaintiff is unhappy that Mr. Jones cannot identify individuals with

whom he has discussed this lawsuit over an almost 4-year period of time—beyond his attorneys—

does not mean Plaintiff is entitled to an order compelling an answer and sanctions. Thus, the Court

should likewise sustain Defendant’s objections and deny Plaintiff’s motion to compel as to

interrogatory no. 2.

C.     Interrogatory No. 3

       Interrogatory No. 3

       Identify the date and description of the circumstances for any occasions in
       which you have made public oral or written statements that were not
       published by Free Speech Systems, LLC concerning the Sandy Hook
       shooting, any relatives of the victims, any lawsuits brought by relatives of
       the victims, or the allegations in those lawsuits.

       In his initial and supplemental answer to this interrogatory, Mr. Jones asserted the

following objections:

       OBJECTIONS:

       Defendant objects to this interrogatory as overly broad, not narrowly
       tailored in scope of subject or time, and unduly burdensome. Defendant
       further objects to this interrogatory as an improper compound interrogatory
       in violation of the Texas Rules. Defendant also objects to the extent this
       interrogatory seeks information in violation of the attorney-client and/or
       work-product privileges. Defendant further objects to the extent this
       interrogatory seeks an impermissible narrative that cannot be adequately
       confined as an answer to an interrogatory. Defendant further objects to this


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       interrogatory as vague in its reference to “not published by Free Speech
       Systems, LLC.”

Plaintiff contends Mr. Jones merely stated his “standard objections,” clearly failing to realize that

while some of the objections to these interrogatories are the same, many also point to unique

aspects of the respective interrogatories which are objectionable—these are not just boilerplate

objections Plaintiff can somehow ignore and not address.

       Regardless of the merits of Defendant’s objections—which should be sustained by the

Court, especially since Plaintiff does nothing to address them—Mr. Jones has already further

supplemented his answer to this interrogatory, obviating any need to compel any further response

or otherwise warranting any sanctions from the Court. See Ex. 1. As such, the Court should deny

Plaintiff’s motion as to his interrogatory no. 3 to Mr. Jones.

2)     Defendant, Free Speech Systems, has likewise fully complied with its discovery
       obligations pertaining to Plaintiff’s Second Set of Interrogatories and Second
       Requests for Production; Defendant’s objections to Plaintiff’s discovery requests
       should be sustained; and Plaintiff’s motion should be denied.

       Plaintiff then turns his meritless complaints to Free Speech Systems and its responses to

Plaintiff’s second set of discovery requests. Plaintiff first seeks to compel Free Speech Systems to

provide different responses to certain interrogatories, as follows:

A.     Interrogatory No. 1

       Interrogatory No. 1

       State the total number of viewers and/or listeners for the June 26, 2017
       video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,”
       the June 25, 2017 episode of The Alex Jones Show from which the June
       26th video was taken, and the July 20, 2017 episode of The Alex Jones Show
       in which the June 26th video was featured.

       In its initial answer to this interrogatory, Free Speech Systems explained that it was unable

to answer this interrogatory because it had no access to any of that data or information for any



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viewers and/or listeners that may have viewed these videos/broadcasts on third-party platforms

since those platforms have removed those videos. Somehow, this answer is “insufficient” for

Plaintiff. Plaintiff’s only argument that this is not sufficient is the completely erroneous

assumption that “the number of views occurring on InfoWars.com for these videos is obviously

within InfoWars’ possession.” See Mtn. at 5. While Plaintiff and/or his counsel are apparently very

confident that they know everything about how Free Speech Systems and/or InfoWars works and

what data is captured as to viewers to be able to make such a statement in his motion, they are, in

fact, completely wrong. As explained in Defendant’s supplemental answer to this interrogatory,

       ANSWER:

       Subject and without waiving the foregoing objections, Defendant has no
       information responsive to this interrogatory as to total viewers and/or
       listeners who may have seen or heard the video(s) on third-party platforms.
       In addition, Defendant supplements its answer as follows:

       At the time of the video/show(s) in question, Defendant was only utilizing
       a continuous running live stream on its website and did not (and does not)
       capture or save data on number of viewers/listeners for a particular show or
       segment of the live stream. The only site analytics Defendant has access to,
       at least to some extent, is analytics as to the number of page views for the
       page that had the live stream player. But since this does not capture data
       pertaining to number of viewers/listeners for a particular video or episode
       of The Alex Jones Show, Defendant does not have the information
       necessary to respond to Plaintiff’s interrogatory.

See Ex. 2. Clearly, despite Plaintiff’s unsubstantiated claims to the contrary, Free Speech Systems

does not actually have the information or data responsive to this interrogatory as it pertains to the

InfoWars.com website. Plaintiff cannot compel Free Speech Systems to provide information it

does not have and has never had.

       Plaintiff also makes the outlandish comment that regarding “evidence InfoWars distributed

on third party video platforms such as YouTube, it is now clear that evidence has been spoliated.”

See Mtn. at 5. Plaintiff and his counsel again make this baseless statement without any legal or


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factual support. Plaintiff does not even know whether this data regarding viewership numbers is

or is not available from these third-party platforms. The only thing that is known is that Defendants

has been removed from these platforms and does not have any access to this information or data.

But whether those third-party platforms have this information is something Plaintiff has not even

attempted to obtain; his counsel instead chooses to file motion upon motion without any

meaningful attempt at conferring with Defendant’s counsel, wasting this Court’s time and

resources with specious arguments.

       There is also no basis for claiming evidence has been spoliated. Information from third-

party platforms is not owned or controlled by Free Speech Systems. Free Speech Systems also had

nothing to do with those platforms’ decisions to remove Defendants’ and Defendants’ content that

was on those platforms. Plaintiff likewise had equal access to the content on these platforms while

this suit was pending before these third-party platforms unilaterally and without warning decided

to remove Defendants’ and their content and ban them from any further use of these platforms. So,

Plaintiff’s contention that evidence has been spoliated is entirely offbase and has no merit.

       Since Free Speech Systems does not have and has never had the information Plaintiff is

seeking by way of his interrogatory no. 1 to Free Speech Systems, the Court should deny Plaintiff’s

motion to compel and motion for sanctions.

B.     Interrogatory No. 2

       Interrogatory No. 2

       Identify every way in which the June 26, 2017 video entitled “Zero Hedge
       Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode of
       The Alex Jones Show, the July 20, 2017 episode of The Alex Jones Show,
       or any portions of the foregoing, were disseminated to the public, whether
       by radio, television, internet video, or any other publication or broadcast,
       whether by Free Speech Systems or by any other authorized entity or
       person.



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           In its initial and supplemental answer to this interrogatory, Free Speech Systems asserted

the following objections:

           OBJECTIONS:

           Defendant objects to this interrogatory as overly broad, unduly burdensome,
           and a fishing expedition, particularly in light of the fact that its broadcasting,
           at least as of the dates referenced in Plaintiff’s interrogatory, occurred
           simultaneously across several platforms. Defendant also objects to this
           interrogatory as vague in its use of the terms “any other authorized entity or
           person.”

See Ex. 3 to Plaintiff’s motion. Just like the other complaints raised by Plaintiff in his motion,

Plaintiff makes no attempt to refute Defendant’s objections, deeming that the Court should sustain

Defendant’s objections as a matter of law and deny Plaintiff’s motion.

           Defendant’s objections notwithstanding, Defendant’s initial answer to this interrogatory

stated:

           ANSWER:

           Subject to and without waiving the foregoing objections, at the time
           referenced in Plaintiff’s interrogatory, InfoWars-related broadcasts, posts,
           videos, etc., and in particular The Alex Jones Show, were simulcast across
           multiple platforms, including Twitter, Facebook, YouTube, and others,
           most of which are no longer available to FSS. As such, Defendant is
           currently unable to determine which of these platforms were actually
           utilized to simulcast the particular broadcasts referenced in Plaintiff’s
           interrogatory.

Id. Free Speech Systems subsequently supplemented its answer to this interrogatory, further

stating:

           ANSWER:

           . . . In addition, Defendant supplements its answer as follows: Defendant
           has no radio distribution agreements or television/broadcasting agreements
           by which Defendant’s content was distributed. Rather, Defendant has (and
           had) a blanket free-to-rebroadcast policy.

See Ex. 2.


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       Thus, Plaintiff’s contention that Free Speech Systems “failed to identify all web-based

methods of disseminating InfoWars videos” is simply false and intentionally misleads the Court

as to the extent of the information Free Speech Systems provided in response to this interrogatory.

One can plainly see that even in its initial answers that Free Speech Systems provided Plaintiff

with a list of platforms that had previously been utilized to distribute content. Defendant’s

supplemental answers provide further clarity to Plaintiff and his misperception that radio

distribution agreements and/or television/cable agreements exist when in fact they do not. As such,

there is simply nothing Free Speech Systems can add to this answer, even if the Court were to

erroneously compel Defendant to somehow provide additional information responsive to this

interrogatory. The Court should deny Plaintiff’s motion as to interrogatory no. 2 propounded on

Free Speech Systems.

C.     Interrogatory No. 3

       Interrogatory No. 3

       Identify every individual at Free Speech Systems, LLC who was aware of
       the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook
       Father’s Contradictory Claim in the Alex Jones Hit Piece” prior to Owen
       Shroyer discussing that blog post on The Alex Jones Show.

       Free Speech Systems asserted the following objections—none of which are addressed in

Plaintiff’s motion:

       OBJECTIONS:

       Defendant objects to this interrogatory as vague in its use of the term
       “aware.” Defendant further objects to this interrogatory as unduly
       burdensome and not reasonably calculated to lead to the discovery of
       admissible evidence.

See Ex. 3 to Plaintiff’s motion. In its initial and supplemental responses, Free Speech Systems

stated it had no information responsive to this interrogatory. Plaintiff tries to twist and manipulate

this answer into an argument that Free Speech Systems has somehow failed to “secure evidence

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and identify persons with knowledge of relevant facts at the outset of this case.” See Mtn. at 6.

That argument is nothing but Plaintiff and his counsel trying to create a controversy where none

exists. It is impossible for Free Speech Systems to know who was merely “aware” of the blog post

referenced in Plaintiff’s interrogatory.

       Seemingly recognizing the vague nature of his interrogatory, Plaintiff attempts to rewrite

the interrogatory in his motion to compel, now claiming that he is only seeking “to identify the

employees involved in creating the Challenged Video.” See Mtn. at 6. That is a far cry from

Plaintiff’s initial ask as to who may have been “aware” of the blog post. But given that Free Speech

Systems can only respond to the interrogatory actually propounded upon it—and as it has no

information as to who may have been “aware: of the blog post—Free Speech Systems cannot

provide any information to answer this interrogatory. Because Plaintiff has failed to analyze or

refute Defendant’s objections to this interrogatory, and because Free Speech Systems has no

information responsive to this interrogatory as written, there is nothing for the Court to compel.

The Court should therefore deny Plaintiff’s motion as to interrogatory no. 3 to Free Speech

Systems.

D.     Request for Production No. 3

       Request for Production No. 3

       All master-level or overview reports created to summarize product sales
       performance from December 14, 2012 to the present day.

       Free Speech Systems responded to this request as follows:

       OBJECTIONS:

       Defendant objects to this request as overly broad and unduly burdensome.
       Defendant further objects to this request as it is not narrowly tailored to the
       underlying facts of this case and is merely a fishing expedition. Defendant
       also objects to this request to the extent it seeks documents regarding
       Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. &


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       REM. CODE. Defendant further objects to this request as not reasonably
       calculated to lead to the discovery of admissible evidence. Defendant also
       objects to the extent this request seeks documents in violation of the
       accountant-client privilege. Defendant also objects to this request as vague
       in its use of the terms “master-level,” “overview reports,” and “product sales
       performance.” Defendant further objects to the extent this request seeks
       documents pertaining to protected confidential trade secrets and financial
       information to which Plaintiff is not entitled absent a court order.

       RESPONSE:

       Defendant believes such documents are not relevant to Plaintiff’s claims
       and this request violates § 41.005 of the Texas Civil Practices and Remedies
       Code regarding net worth discovery, along with this request impermissibly
       seeking protected trade secrets and financial information of Defendant.
       Defendant will further supplement this response as necessary if the
       necessary Court order is entered regarding the production of such
       documents and if a mutually agreeable protective and confidentiality order
       is also entered by the Court.

See Ex. 4 to Plaintiff’s motion.

       Regarding this request, Plaintiff for once does discuss at least a portion of Defendant’s

objections. First, Plaintiff contends these documents have nothing to do with Defendant’s net

worth. However, sales data and sales revenues certainly do go towards determining Defendant’s

net worth and valuation. More to the point, Plaintiff has utterly failed to demonstrate how such

documents are in any way relevant to his underlying claims that center on videos and broadcasts

from only 2017 and 2018. Plaintiff’s motion does not discuss how sales data and documents from

prior to the 2017 videos/broadcasts are in any way relevant to the actual claims in this lawsuit.

       In addition, Plaintiff challenges Defendant’s objections to the terms “master-level,”

“overview reports,” and “product sales performance” as vague when those terms had agreed

definitions in the Connecticut lawsuits. But Plaintiff seems to forget that we are in Texas, not

Connecticut, and without Plaintiff identifying and defining those terms, Free Speech Systems is

not at liberty to guess as to what Plaintiff meant by those terms simply to appease Plaintiff.



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       Regardless, Free Speech Systems did indeed produce documents responsive to this request

with its initial responses—something Plaintiff conveniently omits from its motion. Free Speech

Systems has also provided additional documents responsive to this request by way of its

supplemental production. See Ex. 3. Therefore, Free Speech Systems has fully complied with its

obligations to produce documents responsive to this request, and Plaintiff’s motion to compel and

motion for sanctions should be denied.

E.     Request for Production No. 4

       Request for Production No. 4

       All documents you relied on in answering Plaintiff’s Second Set of
       Interrogatories.

       Plaintiff’s argument regarding this request is a giant “nothing burger.” Free Speech

Systems has already produced all documents used in answering Plaintiff’s Second Set of

Interrogatories, and Defendant informed Plaintiff of same in its initial and supplemental responses

to Plaintiff’s second requests for production. See Ex. 3. The Court should thus also deny Plaintiff’s

motion to compel and motion for sanctions as to this request for production.

3)     Defendant, Owen Shroyer, has fully complied with its discovery obligations
       pertaining to Plaintiff’s Second Set of Interrogatories and Second Requests for
       Production; Defendant’s objections to Plaintiff’s discovery requests should be
       sustained; and Plaintiff’s motion should be denied.

A.     Interrogatory No. 1

       Interrogatory No. 1

       Identify by name and address every employer you have had since June 26,
       2012 and every job title you have held during that period.

In his initial objections and answers, Mr. Shroyer stated as follows:

       OBJECTIONS:

       Defendant objects to this interrogatory as overly broad, unduly burdensome,


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       and a fishing expedition, as Defendant’s employment history has no bearing
       on the issues in this lawsuit. Defendant further objects to this interrogatory
       as not seeking information relevant to this lawsuit or Plaintiff’s claims in
       any way.

       ANSWER:

       Subject and without waiving the foregoing objections, Defendant has been
       a free-lance reporter, podcaster, political activist, and commentator for a
       number of years. Defendant will further supplement this answer as
       necessary in accordance with the Texas Rules of Civil Procedure.

See Ex. 5 to Plaintiff’s motion.

       Once again, Plaintiff makes no mention of Defendant’s objections, thereby deeming as a

matter of law that the Court should sustain these objections. In particular, Plaintiff makes no effort

to demonstrate how Defendant’s employment history from five (5) years prior to the video which

serves as the basis of Plaintiff’s claims has any relevance to the underlying claims in this lawsuit.

That notwithstanding, Mr. Shroyer has since supplemented his answers and provided the requisite

identification information as to his current and former employers over the requested time-period.

See Ex. 4. Thus, Mr. Shroyer has fully complied with his discovery obligations, and the Court

should deny Plaintiff’s motion to compel and motion for sanctions.

B.     Interrogatory No. 4

       Interrogatory No. 4

       Identify by date any occasions in which you have made public oral or
       written statements concerning the Sandy Hook shooting, any relatives of the
       victims, any lawsuits brought by relatives of the victims, or the allegations
       in those lawsuits. If those statements were orally made on an InfoWars
       show, state the show and the episode title. If those statements were made on
       the InfoWars website, identify the title of the webpage and URL. If those
       statements were made elsewhere, describe the circumstances of the
       statements.




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       In his initial objections and answers, Mr. Shroyer stated as follows:

       OBJECTIONS:

       Defendant objects to this interrogatory as overly broad, not narrowly
       tailored in scope of subject or time, and unduly burdensome. Defendant
       further objects to this interrogatory as an improper compound interrogatory
       in violation of the Texas Rules. Defendant also objects to the extent this
       interrogatory seeks information in violation of the attorney-client and/or
       work-product privileges. Defendant further objects to the extent this
       interrogatory seeks an impermissible narrative that cannot be adequately
       confined as an answer to an interrogatory.

       ANSWER:

       Subject to and without waiving the foregoing objections, Plaintiff is seeking
       to have Defendant go through years of his comments, appearances, political
       activism, posts, and the like for at last the last almost nine (9) years—which
       occur on a regular and almost daily basis—from the time when the Sandy
       Hook shooting occurred (December 14, 2012) to the present—when
       Defendant is a reporter, host, and activist who makes a living off of
       providing news-worthy content to the public. Defendant is simply unable to
       state with any specificity the “occasions” on which Defendant has made any
       comments or statements of any sort which Plaintiff would somehow deem
       responsive to this interrogatory. As such, Defendant at this time does not
       have the requisite information to respond to this interrogatory as currently
       phrased by Plaintiff and it would force Defendant an undue hardship and
       burden to have to do so without further clarification and appropriate
       boundaries on this interrogatory from Plaintiff.

See Ex. 5 to Plaintiff’s motion.

       Mr. Shroyer then supplemented his answer to provide more information—to the extent

possible—to ensure full compliance with his discovery obligations, maintaining his original

objections and answer, while supplementing as follows:

       ANSWER:

       ...
       In addition, Defendant supplements his answer as follows:

       To the best of Defendant’s recollection, he does not believe he has made
       any public oral or written statements concerning the Sandy Hook tragedy,
       relatives of the victims, the lawsuits brought by the victims, or the


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       allegations in those lawsuits, beyond the singular discussion/commentary
       provided by Defendant on or about June 25, 2017 disputing the mainstream
       media’s coverage of Plaintiff’s account of the Sandy Hook incident. The
       events at issue occurred long before Defendant became a reporter
       broadcasting with Infowars, and beyond the aforementioned commentary,
       Defendant does not believe he has provided any other coverage or
       commentary regarding any aspect of Sandy Hook.

See Ex. 4. Plaintiff’s only argument is his baseless contention that it “does not appear that Mr.

Shroyer has done anything to exercise diligence in answering this request.” See Mtn. at 8. Similar

to the other meritless complaints raised by Plaintiff, this contention completely lacks any factual

basis. Plaintiff simply is not content or satisfied with any answer that Mr. Shroyer does not have

the necessary information to respond to an interrogatory. But Mr. Shroyer cannot be compelled to

provide an answer for which he has no information. However, as demonstrated above, Mr. Shroyer

has indeed exercised diligence in attempting to answer this interrogatory as fully and completely

as he can, hence why he provided a supplemental answer to this interrogatory. Plaintiff’s hollow

assertion that Mr. Shroyer did not exercise diligence is in no way grounds for the Court to grant a

motion compelling Mr. Shroyer to provide further responsive information, particularly where there

is no other responsive information Defendant could provide regarding this interrogatory. Thus, the

Court should deny Plaintiff’s motion to compel and motion for sanctions.

C.     Request for Production No. 1

       Request for Production No. 1

       All communications you sent or received concerning the Sandy Hook
       shooting, any relatives of the victims, any lawsuits brought by relatives of
       the victims, or the allegations in those lawsuits since the start of your
       employment at Free Speech Systems, LLC.

In his initial response to this request, Mr. Shroyer stated as follows:




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       OBJECTIONS:

       Defendant objects to this request as overly broad on its face because it is
       not sufficiently narrowed in scope of time. Defendant also objects to this
       request to the extent it seeks documents that are protected by the work-
       product and/or attorney-client privileges. Defendant further objects to this
       request as vague in its use of the broad term “concerning.” Defendant also
       objects to this request as it assumes facts not in evidence as to whether
       Defendant was employed by Free Speech Systems, LLC. Defendant further
       objects to the extent this request seeks to have Defendant prematurely
       marshal all evidence and documents in his defense in this case. Subject to
       and without waiving the foregoing objections,

       RESPONSE:

       Subject to and without waiving the foregoing objections, Defendant is not
       currently in possession, custody, or control of documents responsive to this
       request beyond those which may be in the possession, custody, or control
       of Free Speech Systems, LLC. Defendant is continuing to diligently search
       to determine if any documents responsive to this request are indeed in his
       care, possession, custody, or control, and will further supplement his
       production with the same as necessary in accordance with the Texas Rules
       of Civil Procedure, expect to the extent such documents are protected from
       production by the applicable privileges cited above.

See Ex. 6 to Plaintiff’s motion. Mr. Shroyer then further supplemented this response, stating the

same objections, but revising its response to:

       RESPONSE:

       None.

See Ex. 5. However, consistent with his approach on the other discovery requests referenced in the

instant motion to compel, Plaintiff does not even mention Mr. Shroyer’s objections to this request,

much less try to refute them. As such, the Court should sustain these objections and in turn deny

Plaintiff’s motion.

       That notwithstanding, Plaintiff’s only “argument” in his motion is that because Defendants

(collectively) have purportedly not produced any documents responsive to this request, the Court

should somehow compel Mr. Shroyer to produce documents he does not possess, own, or


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otherwise control. Plaintiff unsurprisingly provides no legitimate argument or reasoning as to how

the idea that other Defendants have not produced responsive documents somehow equates to

Plaintiff having a legitimate basis to seek to compel Mr. Shroyer to produce documents he does

not have (to the extent any documents responsive to this request even exist). And based on the

documents reviewed and produced by Defendants to date, there indeed appears to be no documents

responsive to this request propounded on Mr. Shroyer. Plaintiff simply assumes such documents

exist, but we all know what assuming does. The fact of the matter is that Mr. Shroyer does not

have any documents responsive to this request, and therefore there is nothing for the Court to

compel him to respond to regarding this document request. So, the Court should likewise deny

Plaintiff’s motion to compel and motion for sanctions as to this request for production to Mr.

Shroyer.

                                   CONCLUSION AND PRAYER

       The Court should deny Plaintiff’s motion to compel and motion for sanctions in its entirety.

Defendants have fully complied with their discovery obligations, including timely and promptly

supplementing their discovery responses to ensure that most, if not all, of the issues raised by

Plaintiff are addressed to the extent it is possible to do so—including supplementing their

production with almost 1,000 additional documents containing very confidential market analytics

and sales figures. However, in the context of this motion to compel, the fact that Plaintiff has

essentially ignored or otherwise not refuted Defendants’ objections to these various requests deems

as a matter of law that the Court should sustain Defendants’ objections and deny Plaintiff’s motion.

       Despite Plaintiff’s contentions to the contrary, Defendants are in no way obstructing

discovery. Rather, they are making every effort possible to fully comply with their discovery

obligations, as shown by their supplemental discovery responses and production discussed herein.



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Simply because Plaintiff is apparently unhappy with the responses does not mean Plaintiff has any

meritorious grounds to compel Defendants to respond any further or that Plaintiff has any basis

for seeking sanctions.

       The Court should thus sustain Defendants’ objections to the discovery requests at issue,

deny Plaintiff’s motion to compel, and deny Plaintiff’s motion for sanctions, along with such other

and further relief to which Defendants are justly entitled.

Dated: October 22, 2021.

                                              Respectfully submitted,

                                              By:    /s/ Bradley J. Reeves             _
                                              Bradley J. Reeves
                                              Texas Bar No. 24068266
                                              brad@brtx.law
                                              REEVES LAW, PLLC
                                              702 Rio Grande St., Suite 203
                                              Austin, TX 78701
                                              Telephone: (512) 827-2246
                                              Facsimile: (512) 318-2484

                                              ATTORNEY FOR DEFENDANTS




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on September 22, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                                         Ex. 1
                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

 DEFEENDANT, ALEX JONES’S, SUPPLEMENTAL OBJECTIONS AND ANSWERS
         TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Alex Jones (“Defendant”),

hereby provides his supplemental objections and answers to the Second Set of Interrogatories

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: October 21, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
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                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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         DEFENDANT, ALEX JONES’S, SUPPLEMENTAL OBJECTIONS AND ANSWERS TO
                    PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and last known contact information of any
individual who you chose to employ at Free Speech Systems between December 14, 2012 and July
1, 2021 with duties that involved writing, researching, editing, filming, hosting, or producing
InfoWars media content and who is no longer employed by the company.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
information requested in this interrogatory. Defendant further objects to the harassing and
burdensome nature of this interrogatory as it would encompass essentially every former employee
of Free Speech Systems during that entire time period, very few of which would have any
relevancy or connection to the claims at issue in this lawsuit. Defendant further objects to this
interrogatory as it is not reasonably calculated to lead to the discovery of admissible evidence.
Defendant also objects to this interrogatory as it assumes facts not in evidence with whether
Defendant “chose to employ” any individual(s) at Free Speech Systems.

ANSWER:

Subject and without waiving the foregoing objections, Defendant does not have the requisite
information and knowledge to respond to this interrogatory.


INTERROGATORY NO. 2: Identify by name and any known contact information of any
individual not employed by Free Speech Systems, LLC with whom you have communicated about
this lawsuit or the allegations in this lawsuit since April 16, 2018.

OBJECTIONS:

Defendant objects to this interrogatory as harassing and not reasonably calculated to lead to the
discovery of admissible evidence. Defendant further objects to the extent this interrogatory violates
the attorney-client, work-product, and/or reporter’s privilege. Defendant further objects to this
interrogatory as unduly burdensome and seeking information not relevant to Plaintiff’s claims in
this lawsuit.

RESPONSE:

Subject to and without waiving the foregoing objections, while Defendant does not deny he has
likely discussed the lawsuit and/or the allegations in this lawsuit since April 16, 2018 with
individual(s) not employed by Free Speech Systems, Defendant does not currently have the
requisite information and knowledge to identify any specific person(s) with whom he has had those
discussions beyond Defendant discussing the lawsuit with his attorneys.



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INTERROGATORY NO. 3: Identify the date and description of the circumstances for any
occasions in which you have made public oral or written statements that were not published by
Free Speech Systems, LLC concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory. Defendant further objects to this
interrogatory as vague in its reference to “not published by Free Speech Systems, LLC.”

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to adequately
respond to this interrogatory as phrased by Plaintiff and what Plaintiff means by statements “not
published by Free Speech Systems, LLC” as opposed to Defendant’s individual right to protected
free speech. In addition, Defendant supplements his answer as follows:

Defendant was interviewed by Megyn Kelly to discuss Sandy Hook on or about June 16, 2017.
Defendant also participated in an October 27, 2020 podcast with Joe Rogan on “The Joe Rogan
Experience” where Sandy Hook was briefly mentioned by Mr. Rogan, but Defendant did not make
any oral statements regarding the Sandy Hook tragedy in that podcast (rather, it was mentioned by
Mr. Rogan). Defendant does not believe he has made any other public oral or written statements
regarding Sandy Hook that occurred outside of his broadcasting with Infowars.




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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                           IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                               261st JUDICIAL DISTRICT
              Defendants,           §

 DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, SUPPLEMENTAL OBJECTIONS
    AND ANSWERS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its supplemental objections and answers to the Second Set of

Interrogatories propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to

supplement these objections and responses as necessary in accordance with the Texas Rules of

Civil Procedure

Dated: October 21, 2021.

                                             Respectfully submitted,

                                             By:      /s/ Bradley J. Reeves            _
                                                   Bradley J. Reeves
                                                   Texas Bar No. 24068266
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                                                   REEVES LAW, PLLC
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                                                   ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 21, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, SUPPLEMENTAL OBJECTIONS AND ANSWERS TO
                   PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: State the total number of viewers and/or listeners for the June 26,
2017 video entitled “Zero Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017
episode of The Alex Jones Show from which the June 26th video was taken, and the July 20, 2017
episode of The Alex Jones Show in which the June 26th video was featured.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Plaintiff has not identified any relevancy between his claims in this lawsuit and the
listed video. Defendant also objects to this interrogatory as not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject and without waiving the foregoing objections, Defendant has no information responsive
to this interrogatory as to total viewers and/or listeners who may have seen or heard the video(s)
on third-party platforms. In addition, Defendant supplements its answer as follows:

At the time of the video/show(s) in question, Defendant was only utilizing a continuous running
live stream on its website and did not (and does not) capture or save data on number of
viewers/listeners for a particular show or segment of the live stream. The only site analytics
Defendant has access to, at least to some extent, is analytics as to the number of page views for
the page that had the live stream player. But since this does not capture data pertaining to number
of viewers/listeners for a particular video or episode of The Alex Jones Show, Defendant does not
have the information necessary to respond to Plaintiff’s interrogatory.

Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure.


INTERROGATORY NO. 2: Identify every way in which the June 26, 2017 video entitled “Zero
Hedge Discovers Anomaly in Alex Jones Hit Piece,” the June 25, 2017 episode of The Alex Jones
Show, the July 20, 2017 episode of The Alex Jones Show, or any portions of the foregoing, were
disseminated to the public, whether by radio, television, internet video, or any other publication or
broadcast, whether by Free Speech Systems or by any other authorized entity or person.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, particularly in light of the fact that its broadcasting, at least as of the dates referenced
in Plaintiff’s interrogatory, occurred simultaneously across several platforms. Defendant also
objects to this interrogatory as vague in its use of the terms “any other authorized entity or person.”



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ANSWER:

Subject to and without waiving the foregoing objections, at the time referenced in Plaintiff’s
interrogatory, InfoWars-related broadcasts, posts, videos, etc., and in particular The Alex Jones
Show, were simulcast across multiple platforms, including Twitter, Facebook, YouTube, and
others, most of which are no longer available to FSS. As such, Defendant is currently unable to
determine which of these platforms were actually utilized to simulcast the particular broadcasts
referenced in Plaintiff’s interrogatory. In addition, Defendant supplements its answer as follows:

Defendant has no radio distribution agreements or television/broadcasting agreements by which
Defendant’s content was distributed. Rather, Defendant has (and had) a blanket free-to-rebroadcast
policy.

Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure.


INTERROGATORY NO. 3: Identify every individual at Free Speech Systems, LLC who was
aware of the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s
Contradictory Claim in the Alex Jones Hit Piece” prior to Owen Shroyer discussing that blog post
on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “aware.” Defendant further
objects to this interrogatory as unduly burdensome and not reasonably calculated to lead to the
discovery of admissible evidence.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant has no information responsive
to this interrogatory.




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                                         Ex. 3
                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                           IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                              TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                               261st JUDICIAL DISTRICT
              Defendants,           §

 DEFEENDANT, FREE SPEECH SYSTEMS, LLC’S, SUPPLEMENTAL OBJECTIONS
   AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Free Speech Systems, LLC

(“Defendant”), hereby provides its supplemental objections and responses to the Second Requests

for Production propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to

supplement these objections and responses as necessary in accordance with the Texas Rules of

Civil Procedure

Dated: October 21, 2021.

                                             Respectfully submitted,

                                             By:      /s/ Bradley J. Reeves           _
                                                   Bradley J. Reeves
                                                   Texas Bar No. 24068266
                                                   brad@brtx.law
                                                   REEVES LAW, PLLC
                                                   702 Rio Grande St., Suite 203
                                                   Austin, TX 78701
                                                   Telephone: (512) 827-2246
                                                   Facsimile: (512) 318-2484

                                                   ATTORNEY FOR DEFENDANTS
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 21, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




                                              2
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 DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, SUPPLEMENTAL OBJECTIONS AND RESPONSES
                TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents concerning Neil Heslin.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Subject to and without waiving the
foregoing objections,

RESPONSE:

Responsive documents have previously been produced to the extent such documents are in the
possession, custody, or control of Defendant. Defendant will further supplement its production, if
necessary, in accordance with the Texas Rules of Civil Procedure, expect to the extent such
documents are protected from production by the applicable privileges cited above.


REQUEST FOR PRODUCTION NO. 2: All financial statements between 2012-2018,
including but not limited to, profit and loss statements, general ledger, trial balance statements,
cash flow statements, and equity draws.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “financial statements.”

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery.
Defendant will further supplement this response as necessary if the requisite Court order is entered
regarding the production of such documents and if a mutually agreeable protective and
confidentiality order is also entered by the Court.




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REQUEST FOR PRODUCTION NO. 3: All master-level or overview reports created to
summarize product sales performance from December 14, 2012 to the present day.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to the extent this request seeks documents in violation
of the accountant-client privilege. Defendant also objects to this request as vague in its use of the
terms “master-level,” “overview reports,” and “product sales performance.” Defendant further
objects to the extent this request seeks documents pertaining to protected confidential trade secrets
and financial information to which Plaintiff is not entitled absent a court order.

RESPONSE:

Defendant believes such documents are not relevant to Plaintiff’s claims and this request violates
§ 41.005 of the Texas Civil Practices and Remedies Code regarding net worth discovery, along
with this request impermissibly seeking protected trade secrets and financial information of
Defendant. Defendant will further supplement this response as necessary if the requisite Court
order is entered regarding the production of such documents and if a mutually agreeable protective
and confidentiality order is also entered by the Court.


REQUESTS FOR PRODUCTION NO. 4: All documents you relied on in answering
Plaintiff’s Second Set of Interrogatories.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant also objects to this request to the extent it seeks documents
regarding Defendant’s net worth in violation of § 41.005 of the TEX. CIV. PRAC. & REM. CODE.
Defendant further objects to this request as not reasonably calculated to lead to the discovery of
admissible evidence. Defendant also objects to this request as vague in its broad reference to the
“videos in Plaintiffs’ petition” without further specifying same in Plaintiff’s request.

RESPONSE:

Subject to and without waiving the foregoing objections, responsive documents have been
produced. Defendant will further supplement its production, if necessary, in accordance with the
Texas Rules of Civil Procedure, expect to the extent such documents are protected from production
by the applicable privileges cited above.



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                                       Ex. 4
                              CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                        IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                           TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                            261st JUDICIAL DISTRICT
              Defendants,           §

     DEFEENDANT, OWEN SHROYER’S, SUPPLEMENTAL OBJECTIONS AND
       ANSWERS TO PLAINTIFF’S SECOND SET OF INTERROGATORIES

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his supplemental objections and answers to the Second Set of Interrogatories

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to further

supplement these objections and responses as necessary in accordance with the Texas Rules of

Civil Procedure

Dated: October 21, 2021.

                                          Respectfully submitted,

                                          By:      /s/ Bradley J. Reeves         _
                                                Bradley J. Reeves
                                                Texas Bar No. 24068266
                                                brad@brtx.law
                                                REEVES LAW, PLLC
                                                702 Rio Grande St., Suite 203
                                                Austin, TX 78701
                                                Telephone: (512) 827-2246
                                                Facsimile: (512) 318-2484

                                                ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 21, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




                                              2
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       DEFENDANT, OWEN SHROYER’S, SUPPLEMENTAL OBJECTIONS AND ANSWERS TO
                   PLAINTIFF’S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 1: Identify by name and address every employer you have had since
June 26, 2012 and every job title you have held during that period.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, unduly burdensome, and a fishing
expedition, as Defendant’s employment history has no bearing on the issues in this lawsuit.
Defendant further objects to this interrogatory as not seeking information relevant to this lawsuit
or Plaintiff’s claims in any way.

ANSWER:

Subject and without waiving the foregoing objections, Defendant has been a free-lance reporter,
podcaster, political activist, and commentator for a number of years. In addition, Defendant
supplements his answer as follows:

   -   Writer and Sports Editor for University of Missouri St. Louis “The Current” from 2011 to
       2012
   -   Producer, Editor, and Consultant for EG Radio Marketing from 2013 to 2015
   -   DJ and Emcee with Complete Weddings and Events from 2015 to the Present
   -   Youth Development counselor at YMCA St. Louis – Mid-County/Downtown from 2013
       to the Present
   -   Public Address Announcer for Lindenwood University, Maryville University, and
       University of Missouri St. Louis from 2014 to 2015
   -   NHL Visiting Broadcast Engineer in St. Louis from 2015 to the Present
   -   CBS Sports Operations Runner with CBS Network Television from 2013 to the Present
   -   Play-by-Play Announcer, Host, and Producer with Prepcasts.com from 2012 to the Present
   -   Executive Producer, Producer, Host, Stand-In Host, Sports Correspondent, and Field
       Reporter with KFNS, KXFN, and St. Louis Sports Magazine from 2011 to the Present
   -   Reporter/Producer/Host/Stand-In Host/Correspondent/Field Reporter – Free Speech
       Systems, LLC d/b/a InfoWars from June 2016 to the Present

Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure.




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INTERROGATORY NO. 2: Identify every individual you communicated with on June 25, 2017
between the time you first saw the Zero Hedge blog post “Megyn Kelly Fails to Fact Check Sandy
Hook Father’s Contradictory Claim in Alex Jones Hit Piece” and the time you discussed that blog
post on the Alex Jones Show.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad and unduly burdensome and not reasonable
calculated to lead to the discovery of admissible evidence. Defendant further objects to the extent
this interrogatory seeks information that is private and otherwise has nothing to do with Plaintiff’s
claims in his lawsuit. Defendant further objects to this interrogatory as vague in it fails to specify
any real period of time but only states “when you first saw” the blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to answer this
interrogatory because Defendant cannot remember that time period with enough specificity to
remember and list all individuals he may have communicated with during that vague period of
time referenced in Plaintiff’s interrogatory from when Defendant “first saw” the blog post and
when it was discussed on the Alex Jones Show. Defendant otherwise has no recollection of any
specific individual with whom he may have communicated regarding the blog post referenced in
Plaintiff’s interrogatory. Defendant will further supplement this answer as necessary in accordance
with the Texas Rules of Civil Procedure if and when additional information responsive to this
interrogatory is learned/determined by Defendant.


INTERROGATORY NO. 3: Describe how and at what time you became aware of the Zero
Hedge blog post “Megyn Kelly Fails to Fact Check Sandy Hook Father’s Contradictory Claim in
Alex Jones Hit Piece” on June 25, 2017.

OBJECTIONS:

Defendant objects to this interrogatory as vague in its use of the term “you became aware” without
further explaining what level of “aware” Defendant would be required to have to actually know of
the blog post’s existence and contents of that blog post.

ANSWER:

Subject to and without waiving the foregoing objections, Defendant is unable to respond to this
interrogatory and provide a specific time as to when Defendant “became aware” of this blog post.

In addition, Defendant supplements his answer as follows:

Defendant believes the blog post referenced by Plaintiff was provided to him by someone on the
Free Speech Systems crew, but he has no specific memory of that occurring. Free Speech Systems
has a “team” that is constantly printing news stories while Defendant (and others) are broadcasting

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live as news is breaking. Defendant does remember that around the time referenced in Plaintiff’s
interrogatory, that Megyn Kelly had just came into town and visited the studio, so at that time, she
was a topical subject to cover. But that is the best of Defendant’s recollection, as he reviews
hundreds of news stories a day, and thus it is difficult to remember any further specifics regarding
the subject of this interrogatory.

Defendant will further supplement this answer as necessary in accordance with the Texas Rules of
Civil Procedure if and when more information responsive to this interrogatory becomes available
to Defendant.


INTERROGATORY NO. 4: Identify by date any occasions in which you have made public oral
or written statements concerning the Sandy Hook shooting, any relatives of the victims, any
lawsuits brought by relatives of the victims, or the allegations in those lawsuits. If those statements
were orally made on an InfoWars show, state the show and the episode title. If those statements
were made on the InfoWars website, identify the title of the webpage and URL. If those statements
were made elsewhere, describe the circumstances of the statements.

OBJECTIONS:

Defendant objects to this interrogatory as overly broad, not narrowly tailored in scope of subject
or time, and unduly burdensome. Defendant further objects to this interrogatory as an improper
compound interrogatory in violation of the Texas Rules. Defendant also objects to the extent this
interrogatory seeks information in violation of the attorney-client and/or work-product privileges.
Defendant further objects to the extent this interrogatory seeks an impermissible narrative that
cannot be adequately confined as an answer to an interrogatory.

ANSWER:

Subject to and without waiving the foregoing objections, Plaintiff is seeking to have Defendant go
through years of his comments, appearances, political activism, posts, and the like for at last the
last almost nine (9) years—which occur on a regular and almost daily basis—from the time when
the Sandy Hook shooting occurred (December 14, 2012) to the present—when Defendant is a
reporter, host, and activist who makes a living off of providing news-worthy content to the public.
Defendant is simply unable to state with any specificity the “occasions” on which Defendant has
made any comments or statements of any sort which Plaintiff would somehow deem responsive to
this interrogatory. As such, Defendant at this time does not have the requisite information to
respond to this interrogatory as currently phrased by Plaintiff and it would force Defendant an
undue hardship and burden to have to do so without further clarification and appropriate
boundaries on this interrogatory from Plaintiff.

In addition, Defendant supplements his answer as follows:

To the best of Defendant’s recollection, he does not believe he has made any public oral or written
statements concerning the Sandy Hook tragedy, relatives of the victims, the lawsuits brought by
the victims, or the allegations in those lawsuits, beyond the singular discussion/commentary

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provided by Defendant on or about June 25, 2017 disputing the mainstream media’s coverage of
Plaintiff’s account of the Sandy Hook incident. The events at issue occurred long before Defendant
became a reporter broadcasting with Infowars, and beyond the aforementioned commentary,
Defendant does not believe he has provided any other coverage or commentary regarding any
aspect of Sandy Hook.




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                                         Ex. 5
                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                       §                            IN THE DISTRICT COURT OF
                                    §
               Plaintiff,           §
                                    §
                                    §
 v.                                 §                               TRAVIS COUNTY, TEXAS
                                    §
                                    §
 ALEX E. JONES, INFOWARS, LLC, FREE §
 SPEECH SYSTEMS, LLC, AND OWEN §
 SHROYER                            §
                                    §                                261st JUDICIAL DISTRICT
              Defendants,           §

     DEFEENDANT, OWEN SHROYER’S, SUPPLEMENTAL OBJECTIONS AND
      RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to the Texas Rules of Civil Procedure, Defendant, Owen Shroyer (“Defendant”),

hereby provides his supplemental objections and responses to the Second Requests for Production

propounded by Plaintiff, Neil Heslin (“Plaintiff”). Defendant reserves the right to supplement these

objections and responses as necessary in accordance with the Texas Rules of Civil Procedure

Dated: October 21, 2021.

                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves           _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 21, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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        DEFENDANT, OWEN SHROYER’S, SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
                    PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All communications you sent or received concerning
the Sandy Hook shooting, any relatives of the victims, any lawsuits brought by relatives of the
victims, or the allegations in those lawsuits since the start of your employment at Free Speech
Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad on its face because it is not sufficiently narrowed
in scope of time. Defendant also objects to this request to the extent it seeks documents that are
protected by the work-product and/or attorney-client privileges. Defendant further objects to this
request as vague in its use of the broad term “concerning.” Defendant also objects to this request
as it assumes facts not in evidence as to whether Defendant was or has ever been employed by
Free Speech Systems, LLC. Defendant further objects to the extent this request seeks to have
Defendant prematurely marshal all evidence and documents in his defense in this case. Subject to
and without waiving the foregoing objections,

RESPONSE:

None.


REQUEST FOR PRODUCTION NO. 2: All communications you sent or received concerning
a “false flag” since the start of your employment at Free Speech Systems, LLC.

OBJECTIONS:

Defendant objects to this request as overly broad and unduly burdensome. Defendant further
objects to this request as it is not narrowly tailored to the underlying facts of this case and is merely
a fishing expedition. Defendant further objects to this request as not sufficiently tailored in scope
of time or subject matter in that it seeks documents that have nothing to do with the underlying
Sandy Hook tragedy at issue in this case. Defendant also objects to this request as it assumes facts
not in evidence as to whether Defendant was or has ever been employed by Free Speech Systems,
LLC. Defendant further objects to this request to the extent it seeks documents in violation of the
attorney-client and/or work-product privileges. Subject to and without waiving the foregoing
objections,

RESPONSE:

None.




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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 58451427
Status as of 10/26/2021 5:13 PM CST

Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted       Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/22/2021 12:02:50 PM   SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     10/22/2021 12:02:50 PM   SENT

William Ogden                     bill@fbtrial.com                   10/22/2021 12:02:50 PM   SENT

Bradley Reeves                    brad@brtx.law                      10/22/2021 12:02:50 PM   SENT

Marc Randazza                     ecf@randazza.com                   10/22/2021 12:02:50 PM   SENT

Carmen Scott                      carmen@fbtrial.com                 10/22/2021 12:02:50 PM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted       Status

Mark D.Bankston                 mark@fbtrial.com     10/22/2021 12:02:50 PM   SENT
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                                   CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                                     §            IN THE DISTRICT COURT OF
                                                   §
                      Plaintiff,                   §
                                                   §
                                                   §
  v.                                               §                TRAVIS COUNTY, TEXAS
                                                   §
                                                   §
  ALEX E. JONES, INFOWARS, LLC,                    §
  FREE SPEECH SYSTEMS, LLC, AND                    §
  OWEN SHROYER                                     §
                                                   §                261st JUDICIAL DISTRICT
                     Defendants,                   §

                     [PROPOSED] ORDER ON PLAINTIFF’S
       MOTION FOR TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY
                   REQUESTS AND MOTION FOR SANCTIONS

        On the 25th day of October, 2021, came to be heard Plaintiff’s Motion to Compel Responses

to Second Set of Discovery and Motion for Sanctions. The Court, having considered the Motion,

Defendants’ response thereto, along with the arguments of counsel, finds that Defendants’

objections to the discovery requests at issue should be SUSTAINED and further DENIES

Plaintiff’s motion to compel and motion for sanctions in its entirety. It is therefore:

        ORDERED that Defendants’ objections to Interrogatory No. 1 to Alex Jones; Interrogatory

No. 2 to Alex Jones; Interrogatory No. 3 to Alex Jones; Interrogatory No. 1 to Free Speech

Systems, LLC; Interrogatory No. 2 to Free Speech Systems, LLC; Interrogatory No. 3 to Free

Speech Systems, LLC; Request for Production No. 3 to Free Speech Systems, LLC; Request for

Production No. 4 to Free Speech Systems, LLC; Interrogatory No. 1 to Owen Shroyer;

Interrogatory No. 4 to Owen Shroyer; and Request for Production No.1 to Owen Shroyer of

Plaintiff’s Second Set of Discovery Requests to Defendants are hereby SUSTAINED. It is further:

        ORDERED that Plaintiff’s motion to compel and motion for sanctions is hereby DENIED
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in its entirety.


SIGNED ON THIS THE _______ DAY OF _______________, 2021.


                                            ____________________________________
                                            HONORABLE JUDGE MAYA GUERRA
                                            GAMBLE




                                        2
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APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves______________
Bradley J. Reeves
Texas Bar No. 24068266
702 Rio Grande St., Suite 203
Austin, TX 78701
brad@brtx.law
Telephone:     (512) 827-2246
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ATTORNEY FOR DEFENDANTS




                                             3
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                                     673 of 1271
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 58451427
Status as of 10/26/2021 5:13 PM CST

Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted       Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/22/2021 12:02:50 PM   SENT

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William Ogden                     bill@fbtrial.com                   10/22/2021 12:02:50 PM   SENT

Bradley Reeves                    brad@brtx.law                      10/22/2021 12:02:50 PM   SENT

Marc Randazza                     ecf@randazza.com                   10/22/2021 12:02:50 PM   SENT

Carmen Scott                      carmen@fbtrial.com                 10/22/2021 12:02:50 PM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted       Status

Mark D.Bankston                 mark@fbtrial.com     10/22/2021 12:02:50 PM   SENT
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                                                                                           Velva L. Price
                                                                                           District Clerk
                                                                                          Travis County
                                  CAUSE NO. D-1-GN-18-001835                           D-1-GN-18-001835
                                                                                         Jessica A. Limon

  NEIL HESLIN,                                 §           IN THE DISTRICT COURT OF
                                               §
                     Plaintiff,                §
                                               §
  v.                                           §              TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  FREE SPEECH SYSTEMS, LLC, AND                §
  OWEN SHROYER                                 §
                                               §
                     Defendants,               §               261st JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                                §            IN THE DISTRICT COURT OF
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                             §            IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                          §
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT


       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION TO CONSOLIDATE

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer




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(collectively “Defendants”), file this response to Plaintiffs’ Motion to Consolidate, and would

show unto the Court as follows:

                                      SUMMARY OF RESPONSE

       The Court should deny Plaintiffs’ motion to consolidate these cases. The Court should

decline to consolidate these matters, because doing so would undoubtedly compromise

Defendants’ rights to a fair trial, cause extreme prejudice to Defendants, and almost certainly create

a significant risk that an unfair outcome against Defendants would occur because of prejudice. See

In re Gulf Coast Bus. Dev. Corp., 247 S.W.3d 787, 794-95 (Tex. App.—Dallas 2008, orig.

proceeding); see also TEX. R. CIV. P. 174. Plaintiff’s motion to consolidate basically confirms that

such prejudice is inevitable. Despite Plaintiffs’ asserting claims with either 1 or 2-year statutes of

limitations (defamation versus intentional infliction of emotional distress), Plaintiffs’ motion

telegraphs that they believe they are entitled to parade “the entire five years of InfoWars’ recklessly

false statements” in front of a single jury, pulling at heartstrings in the hopes of landing a massive

exemplary-damages verdict. See Mtn. at 2.

       The intense nature of the Plaintiffs’ claims against Defendants clearly demonstrate that

consolidation would result in a manifest injustice against Defendants and violate their right to a

fair trial. Moreover, certain Plaintiffs’ claims, particularly the IIED claims, require proof of

specific intent to inflict emotional distress on a particular Plaintiff, not general claims that

statements were made regarding a group that constitute IIED as to individuals in that group. Even

if commonality of certain facts in these various cases points to consolidation being convenient,

those convenience factors are substantially outweighed by the risk of an unfair outcome against

Defendants because of the extreme prejudice Defendants would face, particularly in the context of

the claims in this lawsuit. Thus, the Court should decline to consolidate these cases and deny



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Plaintiff’s motion to consolidate.

                                         LEGAL STANDARD

       Consolidation of cases is governed by Rule 174 of the Texas Rules of Civil Procedure,

which provides:

               (a) Consolidation. When actions involving a common question of
               law or fact are pending before the court, it may order a joint hearing
               or trial of any or all the matters in issue in the actions; it may order
               all the actions consolidated; and it may make such orders concerning
               proceedings therein as may tend to avoid unnecessary costs or delay.

TEX. R. CIV. P. 174(a). Although TEX. R. CIV. P. 174 gives the trial court broad discretion to

consolidate cases, the trial court’s discretion is not unlimited. In re Shell Oil Co., 202 S.W.3d 286,

290 (Tex. App.—Beaumont 2006, no pet.) (orig. proceeding) (citing Womack v. Berry, 291 S.W.2d

677, 683 (Tex. 1956)). As stated by the Texas Supreme Court in Womack:

               The express purpose of the rule is to further convenience and avoid
               prejudice, and thus promote the ends of justice. When all of the facts
               and circumstances of the case unquestionably require a separate trial
               to prevent manifest injustice, and there is no fact or circumstances
               supporting or tending to support a contrary conclusion, and the legal
               rights of the parties will not be prejudiced thereby, there is no room
               for the exercise of discretion.

Womack, 291 S.W.2d at 683. Courts must balance the judicial economy and convenience that may

be gained by consolidation against the possibility that consolidation may cause delay, prejudice,

or jury confusion. In re Shell Oil Co., 202 S.W.3d at 290 (citing Dai-Briar Corp. v. Baskette, 833

S.WW.2d 612, 615 (Tex. App.—El Paso 1992, no writ)). “If the convenience factors are

substantially outweighed by the risk of an unfair outcome because of prejudice or confusion, then

the trial court abuses its discretion in granting consolidation.” Id. at 616. The dominant

consideration is whether the trial will be fair and impartial to all parties. In re Ethyl Corp., 975

S.W.2d 600, 614-15 (Tex. 1998). If consolidation will prejudice the complaining party, the trial



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court should not consolidate. Gulf Coast, 247 S.W.3d at 794-95. These lawsuits are the precise

type of “extraordinary” cases that should preclude consolidation due to the extreme risk of

prejudice to Defendants. Moreover, these cases do not truly involve the same “transactions” and

consolidation would also lead to juror confusion as it pertains to damages of these individual

plaintiffs. As such, the Court should deny Plaintiffs’ motion to consolidate.

                                   ARGUMENT AND AUTHORITIES

1)      The Claims Do Not Relate to the Same Transaction.

        Plaintiff’s motion fails to provide any actual evidence to support its conclusory contention

that the Plaintiffs’ claims relate to the same transaction. The only “support” for this argument is

Plaintiffs’ bald assertion that “the five years of InfoWars’ conduct is admissible in each case for

the purposes of assessing punitive damages” and the unsupported contention that “the expert

testimony offered for each claim will be largely duplicative.” See Mtn. at 3. It should be noted that

Plaintiffs incorrectly presume they are entitled to seek and obtain exemplary damages due to the

current liability default-judgment orders from the Court. Yet, Plaintiffs are not actually entitled to

seek exemplary damages, even with the Court’s default judgment rulings. While Plaintiffs have

asserted defamation and IIED claims, the gravamen of their claims is for defamation—meaning

the IIED claims should be dismissed because IIED is merely a “gap filler” when no other remedy

is available. Creditwatch, Inc. v. Jackson, 157 S.W.3d 814, 816 (Tex. 2005) (Holding that

“intentional infliction of emotional distress is a ‘gap filler’ tort never meant to supplant or duplicate

existing statutory or common-law remedies.”).

        Plaintiffs’ pleadings clearly demonstrate that the IIED claims are dependent upon the

allegedly defamatory statements and conduct of Defendants. In other words, the “extreme and

outrageous conduct [Defendants] are alleged to have engaged in is making allegedly defamatory



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statements about Plaintiffs. Patel v. Patel, No. 14-18-00771-CV, 2020 WL 2120313, at *19 (Tex.

App.—Houston [14th Dist.] May 5, 2020, no pet.). Here, because Plaintiffs’ IIED claims depend

on the allegedly defamatory statements of Defendants, Plaintiffs have another remedy, and thus

the IIED claims are not available to them. This is important because since the only real claims

Plaintiffs have are for defamation, whether they are entitled to seek exemplary damages is

governed by the Texas Defamation Mitigation Act (“TDMA”). See TEX. CIV. PRAC. & REM. CODE

§73.051. Under the TDMA, if a person asserting a claim for defamation does not submit a request

to the Defendant(s) for a correction, clarification, or retraction within ninety (90) days of the

publication of the alleged defamatory statements, then the person “may not recover exemplary

damages.” Id. at § 73.055(c).

         In this case, none of these Plaintiffs ever issued a request to any of the Defendants for a

correction, clarification, or retraction within the requisite time period provided under the law. As

a result, Plaintiffs are not entitled to seek exemplary damages, and thus there is no commonality

of damages between the Plaintiffs, since they must each prove their own individual, unique actual

damages. Therefore, consolidation of these cases into a singular trial should not occur because

each Plaintiff’s alleged damages and the source of those alleged damages is distinct from the other

Plaintiffs. In fact, the only commonality pointed to by Plaintiffs as a basis for consolidation is that

the alleged “five years of Infowars’ conduct is admissible in each case for the purpose of assessing

punitive damages,”1 so absent any ability to recover exemplary damages (due to preclusion under

the TDMA), there is insufficient commonality as to each Plaintiff’s alleged damages to support

consolidation.


1
 It should be noted that Plaintiffs are in no way entitled to present evidence of alleged conduct that occurred outside
of the applicable limitations periods—1 year for defamation, and 2 years for IIED. But what is clear is that Plaintiffs
and their counsel fully intend on doing so purely for the purpose of inflaming a jury and prejudicing Defendants to
such an extent that Defendants would not receive a fair trial.

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       As the movants seeking consolidation, Plaintiffs have the evidentiary burden to establish

commonality of law or facts sufficient to support consolidation. Yet Plaintiffs have provided no

actual evidence of commonality beyond mere conclusory statements in their motion which

certainly does not constitute evidence under Texas law. Because there is insufficient commonality

between the Plaintiff’s claims, and more specifically commonality as to the actual damages

allegedly incurred by each Plaintiff, consolidation is simply not supported such that the Court

should deny Plaintiffs’ motion.

2)     Defendants would and will suffer extreme prejudice and manifest injustice to such an
       extent that Defendants would not receive a fair trial if these matters are consolidated.

       While it may be more convenient to try these cases together, the extreme risk of prejudice

to Defendants should preclude the Court consolidating these matters for trial. “In deciding whether

to consolidate, the trial court must balance the judicial economy and convenience that may be

gained by consolidation against the risk of an unfair outcome because of prejudice or jury

confusion.” Owens-Corning Fiberglas Corp. v. Martin, 942 S.W.2d 712, 716 (Tex. App.—Dallas

1997, no writ). Plaintiffs laughably contend that there is only a “trivial risk of prejudice” to

Defendants if consolidation were to occur, when Plaintiffs and their counsel know all too well that

the chances of Plaintiffs obtaining a significant damages verdict would be significantly increased

if these matters were consolidated, since it would not force the Plaintiffs to approach their claims

and damages individually, but rather would allow them to paint with broad strokes and blend the

experiences of each Plaintiff together to inflame and anger the jury to the extreme prejudice of

Defendants.

       Here, any convenience factors for consolidation are substantially outweighed by the risk

of an unfair outcome because of prejudice or confusion. In re Levi Strauss Co., 959 S.W.3d 700,

702 (Tex. App.—El Paso 1998, no writ). Consolidation of these matters would be improper


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because the individual Plaintiffs each allege they were harmed by different acts of Defendants—

they do not all allege to have been injured by a single act of the Defendants. Id. at 703. In addition,

because of the varying claims between the Plaintiffs and their distinct alleged damages, prejudice

in the form of potential jury confusion is also extremely likely. Id.; see also Dal-Briar, 833 S.W.2d

612.

       More importantly, if the Court allows consolidation of these cases, that will allow the jury

to “impermissibly ‘bootstrap’ the evidence from one case into the other, thereby causing confusion

and prejudice to [Defendants].” Id. Thus, this Court should find that the potential benefits of

consolidation do not outweigh the potential prejudice to Defendants, and therefore deny Plaintiffs’

motion to consolidate.

       Finally, the fact that the undersigned suggested consolidation for discovery purposes in no

way equates to consolidation for trial being the appropriate course of action. Time and time again

throughout this case, Plaintiffs’ counsel has consistently used totally unrelated comments by

counsel to mislead the Court and to justify whatever goal Plaintiffs’ counsel has at that time. A

review of the email attached as an exhibit to Plaintiffs’ motion—the only “evidence” provided by

Plaintiffs in support of their motion to consolidate—clearly shows that only discovery

inefficiencies were being discussed. There is not one mention of the cases being consolidated for

all purposes, including trial. And the logic and benefits that would have been gained has Plaintiffs

agreed to consolidate discovery are obvious. But the Court should not allow Plaintiffs—who were

opposed to consolidation of discovery and used that to their advantage to obtain default-judgment

rulings—to now completely reverse their position to consolidate these matters for trial.

       All in all, the tremendous risk of prejudice and manifest injustice to Defendants, and the

high likelihood that Defendants would not receive a fair trial in violation of their rights. If this



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Court were to consolidate these matters, Defendants would face an imminent loss of substantial

rights that could not be cured by ordinary appellate remedies. Instead, the jury will simply return

a verdict upon each claim, and whether jurors reached any individual verdict because of evidence

admitted as relevant to another case; or whether jurors believed that because four plaintiffs alleged

the same wrongs, there must be some misdeeds by Defendants based upon sheer numbers; or

whether the jury simply hesitated to return a verdict for one plaintiff without finding for all four,

will never be ascertainable. Thus, the possibility of obtaining meaningful appellate review on the

propriety of consolidation would be negligible and almost uncurable. See Dal-Briar, 833 S.W.2d

at 617.

          An unbiased review of the balance of judicial economy and convenience gained by

consolidation against the possibility of delay, prejudice, or jury confusion caused by consolidation

in this situation unequivocally demonstrates that the convenience factors are substantially

outweighed by the risk of an unfair outcome because of prejudice or confusion. Id. at 616.

Consolidation would almost certainly lead to the trial being patently unfair to Defendants and

entirely partial to Plaintiffs. Because the consideration of whether the resultant trial will be fair

and impartial to all parties is the “dominant consideration in consolidation, the only appropriate

outcome of this motion is for the Court to deny Plaintiffs’ motion to consolidate. In re Ethyl Corp.,

975 S.W.2d at 614-15.

                                              PRAYER

          WHEREFORE, PREMISES CONSIDERED, Defendants ask the Court to conduct the

appropriate balancing analysis and recognize that there is truly no discretion here—the Court must

deny Plaintiffs’ motion to consolidate these three (3) separate lawsuits to avoid the substantial

prejudice and manifest injustice Defendants will face if consolidation is granted. As such,



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Defendants pray the Court deny Plaintiffs’ motion to consolidate these cases for trial, along with

such other and further relief to which Defendants may be justly entitled.

Dated: October 22, 2021.

                                             Respectfully submitted,

                                             By:    /s/ Bradley J. Reeves             _
                                             Bradley J. Reeves
                                             Texas Bar No. 24068266
                                             brad@brtx.law
                                             REEVES LAW, PLLC
                                             702 Rio Grande St., Suite 203
                                             Austin, TX 78701
                                             Telephone: (512) 827-2246
                                             Facsimile: (512) 318-2484

                                             ATTORNEY FOR DEFENDANTS




                                                9
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 22, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 58466743
Status as of 10/26/2021 8:04 PM CST

Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted      Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/22/2021 3:40:38 PM   SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     10/22/2021 3:40:38 PM   SENT

William Ogden                     bill@fbtrial.com                   10/22/2021 3:40:38 PM   SENT

Bradley Reeves                    brad@brtx.law                      10/22/2021 3:40:38 PM   SENT

Marc Randazza                     ecf@randazza.com                   10/22/2021 3:40:38 PM   SENT

Carmen Scott                      carmen@fbtrial.com                 10/22/2021 3:40:38 PM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/22/2021 3:40:38 PM   SENT
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                               CAUSE NO. D-1-GN-18-001835

  NEIL HESLIN,                              §         IN THE DISTRICT COURT OF
                                            §
                  Plaintiff,                §
                                            §
  v.                                        §           TRAVIS COUNTY, TEXAS
                                            §
  ALEX E. JONES, INFOWARS, LLC,             §
  FREE SPEECH SYSTEMS, LLC, AND             §
  OWEN SHROYER                              §
                                            §
                  Defendants,               §               261st JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                            §          IN THE DISTRICT COURT OF
                                            §
                 Plaintiff,                 §
                                            §
 v.                                         §                TRAVIS COUNTY, TEXAS
                                            §
 ALEX E. JONES, INFOWARS, LLC, AND          §
 FREE SPEECH SYSTEMS, LLC,                  §
                                            §
                 Defendants,                §                459th JUDICIAL DISTRICT

                               CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                         §          IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                      §
                                            §
                 Plaintiff,                 §
                                            §
 v.                                         §                TRAVIS COUNTY, TEXAS
                                            §
 ALEX E. JONES, INFOWARS, LLC, AND          §
 FREE SPEECH SYSTEMS, LLC,                  §
                                            §
                 Defendants,                §                459th JUDICIAL DISTRICT


       [PROPOSED] ORDER ON PLAINTIFFS’ MOTION TO CONSOLIDATE
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       On the 25th day of October, 2021, came to be heard Plaintiffs’ Motion to Consolidate. The

Court, having considered the Motion, Defendants’ response thereto, along with the arguments of

counsel, finds that the risk of an unfair outcome because of prejudice or confusion substantially

outweighs the convenience factors of consolidating these cases. As such, the Court hereby

DENIES Plaintiffs’ Motion to Consolidate. It is therefore:

       ORDERED that Plaintiffs’ Motion to Consolidate is hereby DENIED in its entirety.


SIGNED ON THIS THE _______ DAY OF _______________, 2021.


                                                    ____________________________________
                                                    HONORABLE JUDGE MAYA GUERRA
                                                    GAMBLE




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APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves______________
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ATTORNEY FOR DEFENDANTS




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
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Carmen Scott                      carmen@fbtrial.com                 10/22/2021 3:40:38 PM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/22/2021 3:40:38 PM   SENT
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                                                                                           Velva L. Price
                                                                                           District Clerk
                                                                                          Travis County
                                  CAUSE NO. D-1-GN-18-001835                           D-1-GN-18-001835
                                                                                         Nancy Rodriguez

  NEIL HESLIN,                                 §           IN THE DISTRICT COURT OF
                                               §
                     Plaintiff,                §
                                               §
  v.                                           §              TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  FREE SPEECH SYSTEMS, LLC, AND                §
  OWEN SHROYER                                 §
                                               §
                     Defendants,               §               261st JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                                §            IN THE DISTRICT COURT OF
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                             §            IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                          §
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT


                     DEFENDANTS’ RESPONSE TO PLAINTIFFS’
              MOTION FOR LEAVE TO CONDUCT NET WORTH DISCOVERY

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer



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(collectively “Defendants”), file this response to Plaintiffs’ Motion for Leave to Conduct Net

Worth Discovery, and would show unto the Court as follows:

                                             RESPONSE

       Plaintiffs’ motion for net-worth discovery should be denied as they have not shown

themselves to be entitled to exemplary damages as required by Texas law. For a party to be entitled

to net-worth discovery, they must demonstrate a substantial likelihood of success on the merits of

a claim for exemplary damages. See TEX. CIV. PRAC. & REM. CODE §41.0115. Despite Plaintiffs’

contentions to the contrary, the fundamental legal issue of whether Plaintiffs’ claims for intentional

infliction of emotional distress (“IIED”) are viable in the face of their defamation claims for the

same alleged actions should preclude this Court from ordering net-worth discovery. The gravamen

of Plaintiffs’ claims is indeed for defamation, meaning that their IIED claims should be dismissed

because IIED is merely a “gap filler” when no other remedy is available. Creditwatch, Inc. v.

Jackson, 157 S.W.3d 814, 816 (Tex. 2005). Plaintiffs’ pleadings clearly demonstrate that the IIED

claims are dependent upon allegedly defamatory statements and conduct of Defendants. In other

words, the “extreme and outrageous conduct [Defendants] are alleged to have engaged in is making

allegedly defamatory statements about Plaintiffs.” Patel v. Patel, No. 14-18-00771-CV, 2020 WL

2120313, at *19 (Tex. App.—Houston [14th Dist.] May 5, 2020, no pet.).

       Here, because Plaintiffs’ IIED claims depend on the allegedly defamatory statements of

Defendants, Plaintiffs have another remedy, and thus these IIED claims should not be available to

them. This is important, particularly in the context of the instant motion, because since the only

truly viable claims are for defamation, whether Plaintiffs are entitled to seek exemplary damages

is governed by the Texas Defense Mitigation Act (“TDMA”). See TEX. CIV. PRAC. & REM. CODE

§73.051. Under the TDMA, if a person asserting a claim for defamation does not submit a request



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to the Defendant(s) for a correction, clarification, or retraction within ninety (90) days of the

publication of the alleged defamatory statements, then the person “may not recover exemplary

damages.” Id. at §73.055(c). In these cases, none of the Plaintiffs ever issued a request to any of

the Defendants for a correction, clarification, or retraction within the requisite time period provided

under the law. As such, Plaintiffs are not entitled to seek exemplary damages pursuant to the

TDMA, and consequently are not entitled to conduct net-worth discovery.

        Alternatively, even if the Court does find that Plaintiffs have met their burden of

demonstrating a “substantial likelihood” of success on their claim for exemplary damages, the

scope of the discovery Plaintiffs have requested is far too broad. For example, Plaintiffs have

requested the Court order discovery for: (1) a list of all assets transferred in any manner since April

16, 2018; (2) any balance sheets or financial statements reflecting [Defendants’] net worth since

April 16, 2018; (3) production of any federal or state tax returns with W-2 statements in the last

five years; and (4) the vague permission for Plaintiffs “to inquire about Defendants’ net worth at

any future depositions.” for protection is possibly one of the most bizarre motions the undersigned

has seen in his legal career. All of these requests go far beyond what is allowable under Texas law.

Under Texas law, with respect to net-worth discovery, generally only “financial documents

pertaining to current net worth are relevant.” In re Jacobs, 300 S.W.3d 35, 44-45 (Tex. App.—

Houston [14th Dist.] 2009, orig. proceeding) (concluding trial court abused its discretion by

ordering relators to produce two years of net-worth information beyond relators’ current net

worth); see also In re House of Yahweh, 266 S.W.3d 688, 673 (Tex. App.—Eastland 2008, orig.

proceeding) (holding trial court erred in failing to limit discovery to relators’ current balance sheets

because earlier balance sheets would not be relevant to relators’ current net worth). More to the

point, a court “should not allow discovery of tax returns” if there are other adequate methods to



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ascertain net worth. In re Brewer Leasing, Inc., 255 S.W.3d 708, 714 (Tex. App.—Houston [1st

Dist.] 2008, orig. proceeding); see also In re Garth, 214 S.W.3d 190, 194 (Tex. App.—Beaumont

2007, orig. proceeding) (trial court abuses its discretion by requiring production of tax returns

when trial court’s order also requires production of financial statements regarding net worth of

party because tax returns are typically of little value in showing net worth since they only show

assets); see also Marcesca v. Marks, 362 S.W.2d 299, 301 (Tex. 1962) (orig. proceeding) (“It is

self-evident that the maximum protection of privacy is unattainable if trial courts [do] not exercise

their discretion to safeguard from discovery those portions of income tax returns which are

irrelevant and immaterial, and it is our view that failure to exercise such discretion is arbitrary

action.”).

        A court must “scrupulously examine discovery requests for income tax returns to balance

privacy rights and the pursuit of justice.” In re Vaughan, No 13-18-00541-CV, 2019 WL 962381,

at *7 (Tex. App.—Corpus Christi Feb. 27, 2019, orig. proceeding). “[T]rial courts should not allow

discovery of private financial records, such as tax returns, when there are other adequate methods

to ascertain” the information sought from those returns.” In re Vaughan, 2019 WL 962381 at *5.

As a result, the party seeking tax returns must show that the information “cannot be discovered

through other, less-intrusive means than the income tax returns.” Id. (citing In re Beeson, 378

S.W.3d 8, 13 (Tex. App.—Houston [1st Dist.] 2011, orig. proceeding)). This is because “[f]ederal

income tax returns are not material if the same information can be obtained from another source.”

In re Sullivan, 214 S.W.3d 622, 624-25 (Tex. App.—Austin 2006, orig. proceeding).

        Here, Plaintiffs’ requests for net-worth discovery go well beyond that allowed by law. They

do not seek information for Defendants’ current net worth, but also seek financial information and

tax returns dating back to as far as 2016. Plaintiffs are simply not entitled to this overly broad



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scope of net-worth discovery, particularly regarding Defendants’ tax returns. There are certainly

ample ways for Plaintiffs to obtain this same information as to Defendants’ current net worth

without the need for these private tax returns being produced in discovery, and Plaintiffs have

failed to carry their extreme burden demonstrating their entitlement to these tax returns.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants ask the Court to deny Plaintiffs’

motion for leave to conduct net-worth discovery, or in the alternative to significantly limit the

scope of such net-worth discovery, along with such other and further relief to which Defendants

may be justly entitled.

Dated: October 25, 2021.

                                              Respectfully submitted,

                                              By:    /s/ Bradley J. Reeves              _
                                              Bradley J. Reeves
                                              Texas Bar No. 24068266
                                              brad@brtx.law
                                              REEVES LAW, PLLC
                                              702 Rio Grande St., Suite 203
                                              Austin, TX 78701
                                              Telephone: (512) 827-2246
                                              Facsimile: (512) 318-2484

                                              ATTORNEY FOR DEFENDANTS




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 25, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 58485385
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Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted      Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/25/2021 9:22:17 AM   SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     10/25/2021 9:22:17 AM   SENT

Marc Randazza                     ecf@randazza.com                   10/25/2021 9:22:17 AM   SENT

William Ogden                     bill@fbtrial.com                   10/25/2021 9:22:17 AM   SENT

Bradley Reeves                    brad@brtx.law                      10/25/2021 9:22:17 AM   SENT

Carmen Scott                      carmen@fbtrial.com                 10/25/2021 9:22:17 AM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/25/2021 9:22:17 AM   SENT
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                                   CAUSE NO. D-1-GN-18-001835

   NEIL HESLIN,                                   §            IN THE DISTRICT COURT OF
                                                  §
                      Plaintiff,                  §
                                                  §
   v.                                             §               TRAVIS COUNTY, TEXAS
                                                  §
   ALEX E. JONES, INFOWARS, LLC,                  §
   FREE SPEECH SYSTEMS, LLC, AND                  §
   OWEN SHROYER                                   §
                                                  §
                     Defendants,                  §                261st JUDICIAL DISTRICT

                                   CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                                 §            IN THE DISTRICT COURT OF
                                                  §
                     Plaintiff,                   §
                                                  §
  v.                                              §               TRAVIS COUNTY, TEXAS
                                                  §
  ALEX E. JONES, INFOWARS, LLC, AND               §
  FREE SPEECH SYSTEMS, LLC,                       §
                                                  §
                    Defendants,                   §                459th JUDICIAL DISTRICT

                                   CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                                  §        IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                               §
                                                      §
                     Plaintiff,                       §
                                                      §
  v.                                                  §           TRAVIS COUNTY, TEXAS
                                                      §
  ALEX E. JONES, INFOWARS, LLC, AND                   §
  FREE SPEECH SYSTEMS, LLC,                           §
                                                      §
                    Defendants,                       §            459th JUDICIAL DISTRICT

                    [PROPOSED] ORDER ON PLAINTIFF’S
           MOTION FOR LEAVE TO CONDUCT NET-WORTH DISCOVERY

        On the 25th day of October, 2021, came to be heard Plaintiff’s Motion for Leave to conduct
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Net-Worth Discovery. The Court, having considered the Motion, Defendants’ response thereto,

along with the arguments of counsel, finds that Plaintiffs have not carried their burden and as such

DENY Plaintiffs’ motion. It is therefore:

       ORDERED that Plaintiffs’ Motion for Leave to Conduct Net Worth Discovery is hereby

DENIED in its entirety.


SIGNED ON THIS THE _______ DAY OF _______________, 2021.


                                                     ____________________________________
                                                     HONORABLE JUDGE MAYA GUERRA
                                                     GAMBLE




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APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves______________
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ATTORNEY FOR DEFENDANTS




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Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

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                                                                                           Velva L. Price
                                                                                           District Clerk
                                                                                          Travis County
                                  CAUSE NO. D-1-GN-18-001835                           D-1-GN-18-001835
                                                                                         Nancy Rodriguez

  NEIL HESLIN,                                 §           IN THE DISTRICT COURT OF
                                               §
                     Plaintiff,                §
                                               §
  v.                                           §              TRAVIS COUNTY, TEXAS
                                               §
  ALEX E. JONES, INFOWARS, LLC,                §
  FREE SPEECH SYSTEMS, LLC, AND                §
  OWEN SHROYER                                 §
                                               §
                     Defendants,               §               261st JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-006623

 SCARLETT LEWIS,                                §            IN THE DISTRICT COURT OF
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-001842

 LEONARD POZNER AND                             §            IN THE DISTRICT COURT OF
 VERONIQUE DE LA ROSA,                          §
                                                §
                    Plaintiff,                  §
                                                §
 v.                                             §               TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC, AND              §
 FREE SPEECH SYSTEMS, LLC,                      §
                                                §
                   Defendants,                  §                459th JUDICIAL DISTRICT


                     DEFENDANTS’ RESPONSE TO PLAINTIFFS’
               MOTION FOR PROTECTION REGARDING MARC RANDAZZA

         Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer



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(collectively “Defendants”), file this response to Plaintiffs’ Motion for Protection Regarding Marc

Randazza, and would show unto the Court as follows:

                                             RESPONSE

       Plaintiffs’ motion for protection is possibly one of the most bizarre motions the

undersigned has seen in his legal career. Despite there being absolutely no reason for this motion

to have been filed, Plaintiffs’ counsel felt compelled to do so in furtherance of his bizarre vendetta

against Mr. Randazza. For the (brief) reasons set forth herein, the Court should deny Plaintiffs’

motion for protection, and Defendants request the Court strongly consider whether Plaintiffs’

counsel should be sanctioned for this frivolous, intentionally misleading, motion that serves no

legitimate purpose and is simply a waste of the Court’s time.

       Plaintiffs’ motion is nonsensical and intentionally makes statements Plaintiffs’ counsel

knows are false. This is just another in a series of pot-shots Plaintiffs’ counsel has taken at Mr.

Randazza. It is bad enough that the Court denied Mr. Randazza’s pro hac vice admission in these

cases based on some of these same dishonest accusations set forth in Plaintiffs’ instant motion.

Now, without any objective threat of any conduct warranting their request, Plaintiffs and their

counsel want to essentially wall off Mr. Randazza from any involvement in these cases, even in a

consulting-type capacity, even though there is truly no legitimate basis for Plaintiffs to have any

concerns. The Court should deny Plaintiffs’ motion.

       First, Mr. Randazza did not violate any court orders in the Lafferty matter regarding

confidential settlement documents. As Plaintiffs’ own exhibits to their motion demonstrate, Mr.

Randazza was sent a copy of certain settlement documents by an outside party completely

unsolicited. Mr. Randazza then hired ethics counsel to ensure that no ethical violations occurred,

and even when that counsel determined disclosure was not necessary—since the documents would



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not be used in the case based on that court’s prior order—Mr. Randazza still made the decision to

inform the Court of what had occurred in the interest of full disclosure and to ensure his actions

were completely above board. In fact, a federal court considering these very same allegations found

that these settlement documents were received “unsolicited” and that “the Connecticut Superior

did not sanction either Mr. Randazza or his firm in response to this disclosure.” See Ex. 1, Order

in Logan Cheng v. Wengui Guo, 20 Civ. 5678, in the United States District Court for the Southern

District of New York, dated October 5, 2021. Of course, Plaintiffs’ motion does not reference or

include any order from the Lafferty court finding any violation of court orders in that case.

Plaintiffs’ sensationalist language implying anything to the contrary is nothing more than a

misleading attempt to further bias and prejudice the Court against Defendants and their counsel.

       Plaintiffs’ accusation that Mr. Randazza or anyone in his office violated a protective order

in Lafferty is equally erroneous. Plaintiffs’ motion claims that Jay Wolman, an attorney with Mr.

Randazza’s office who is one of the counsel involved in the Lafferty matters, violated a protective

order by filing a motion referencing deposition testimony that had just been designated as

“Confidential-Attorneys Eyes Only.” Yet, that is completely incorrect. Mr. Wolman, nor anyone

else in Mr. Randazza’s office, had anything to do with the filing of the motion complained of by

Plaintiffs. That motion was filed by local counsel without the knowledge of Mr. Wolman or Mr.

Randazza. Plaintiffs’ claim that Mr. Randazza’s office had anything to do with this alleged

violation of a protective order is simply false, and regardless, this shows no meritorious basis for

Plaintiffs in this case to need any sort of protection from Mr. Randazza personally.

       Plaintiffs also intentionally mislead the Court in their claim that Mr. Randazza has

“previously trafficked in wrongfully obtained confidential information.” Just as they falsely

claimed in response to Mr. Randazza’s pro hac vice motion that was incorrectly denied by this



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Court, Plaintiffs rely solely upon an arbitration award that has never been confirmed and is a legal

nullity that should be given no weight by this Court. It should be noted that this same arbitration

that Plaintiffs rely upon was vacated by a federal court. Moreover, Plaintiffs’ own exhibits

demonstrate Mr. Randazza used information he properly obtained as part of his duty to represent

his clients and that he committed no misconduct. The information Plaintiffs’ point to was obtained

from a third party by James Grady, the person who told Mr. Randazza about this information.

Grady did not disclose or suggest there was anything improper about how the information was

obtained. The emails also clearly demonstrate that Mr. Randazza told Grady there would be no

issues in using this information so long as it had been obtained legitimately, but that there would

be problems if, for example, a hacker had obtained it. One must keep in mind that this was an

email thread where Mr. Randazza planned on presenting Grady as a witness in that litigation

regarding this information, where Grady was expected to testify as to his source of this

information. It would have been an extremely poor maneuver for Mr. Randazza to voluntarily

place a witness on the stand if he truly had any concern that the material in question was illegally

obtained.

       Finally, Plaintiffs again put forth falsehoods with their claim that Mr. Randazza has

“already intimidated a witness in this case.” Plaintiffs refer to perjurious allegations made by a pro

se plaintiff and a third party who was committing the unlicensed practice of law by acting as legal

counsel for Mike Postle—an accused card cheat being sued for millions for improperly obtained

gambling winnings through his cheating— in Postle v. Brill, Case No. 34-2020-00286265

(Sacramento Cty. CA Sup. Ct.). Alexandrea Merrell of the HONR Network was lying, as Mr.

Randazza did not call her a sexist slur during a call with Postle in which Merrell was impermissibly

acting as legal counsel despite not having a law license. See Declaration of Cassidy S. Curran in



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Postle v. Brill [“Curran Brill Decl.”], attached as Exhibit 14 to the Reply to Response to Mr.

Randazza’s Pro Hac Vice motion. In that case, a disgruntled litigant was facing a large attorneys’

fees award because of Randazza’s effective advocacy. To try and discredit his fee application,

Merrell and Postle lied to the court about Mr. Randazza’s statements. It is also worth noting that

Merrell works for one of the Plaintiffs in this case—Leonard Pozner. She committed the unlicensed

practice of law, to interfere in a case that Mr. Randazza was working on, and then committed

perjury—this is Plaintiffs’ counsel’s “source” to support their meritless motion.

       Importantly, this precise situation and the allegations at issue in Plaintiffs’ motion have

already been reviewed by certain federal courts and ultimately been rejected. Soon after this Court

denied Mr. Randazza’s pro hac vice admission without reason, Plaintiffs’ counsel—either on his

own violition or at the behest of at least one of his clients, Mr. Pozner—began parading around

the country and inserting themselves into any other case where Mr. Randazza had been granted

admission pro hac vice. They succeeded in convincing certain opposing parties to move to revoke

Mr. Randazza’s pro hac vice admission based on the same lies they have stated in the instant

motion. Yet, thankfully, the federal court in those matters saw through the façade of these

allegations, and while the Court admonished Mr. Randazza’s tone and language in some of his

correspondence, the Court correctly found that the “unadjudicated charge of witness intimidation

[is not] a basis for sanctioning Mr. Randazza,” and it reached the “same conclusion with respect

to other allegations levied against Mr. Randazza in the Texas proceeding.” See Ex. 1.

       Plaintiffs’ motion should be denied. The Court has already relied upon these same

allegations and lies to deny Mr. Randazza’s pro hac vice admission in these cases. But it should

not allow Plaintiffs to pre-emptively wall off Mr. Randazza—who is indeed counsel for the

Defendants regardless of whether he is admitted pro hac vice in this Court—on the basis of pure



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speculation and conjecture. There is simply no good cause for the relief Plaintiffs have requested.

                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendants ask the Court to deny Plaintiffs’

motion for protection regarding Marc Randazza, along with such other and further relief to which

Defendants may be justly entitled.

Dated: October 25, 2021.

                                             Respectfully submitted,

                                             By:    /s/ Bradley J. Reeves              _
                                             Bradley J. Reeves
                                             Texas Bar No. 24068266
                                             brad@brtx.law
                                             REEVES LAW, PLLC
                                             702 Rio Grande St., Suite 203
                                             Austin, TX 78701
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                                             ATTORNEY FOR DEFENDANTS




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on October 25, 2021.

Mark Bankston                                      via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                              /s/ Bradley J. Reeves               _
                                           Bradley J. Reeves




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                                        Ex. 1
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LOGAN CHENG,

                           Plaintiff,
                                                     20 Civ. 5678 (KPF)
                    -v.-
                                                          ORDER
 WENGUI GUO,

                           Defendant.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of the parties’ submissions regarding Mr.

Randazza’s pro hac vice admission for this case. (Dkt. #66-71). Defendant

Wengui Guo now requests that the Court revoke Mr. Randazza’s admission.

(See Dkt. #68, 70). This Court received a similar application in another matter

in which Mr. Randazza was admitted pro hac vice, wherein it concluded that

Mr. Randazza had not been unforthcoming with his disclosures in his

application for pro hac vice admission and that the additional context provided

by the moving party’s submissions did not warrant reconsideration of Mr.

Randazza’s admission for that case. See Maron v. The Legal Aid Society, No. 21

Civ. 5960 (KPF), Dkt. #41 (S.D.N.Y. Oct. 4, 2021). For substantially similar

reasons, the Court declines to revoke Mr. Randazza’s admission pro hac vice for

this case. Nonetheless, as in its decision in Maron, the Court again wishes to

express its concern regarding certain of Mr. Randazza’s actions, including

certain allegations against him that were detailed in Defendant’s submissions.

For good measure, the Court will address Defendant’s arguments below.
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      First, Defendant observes that while Mr. Randazza disclosed that he was

denied pro hac vice admission in a case pending before the Connecticut

Superior Court, he failed to disclose that he was also denied pro hac vice

admission in a parallel case pending in Texas state court. (Dkt. #68 at 1). The

Court cautions Mr. Randazza to be more comprehensive in his pro hac vice

applications going forward, but does not find that this omission warrants

revocation of his admission in this matter.

      Second, Defendant asserts that Mr. Randazza has been accused of

threatening a witness in the Texas state-court proceeding. (Dkt. #68 at 2).

Following the Court’s review of the record in that case, it finds that Mr.

Randazza’s communications may be understood as expressing a concern over a

potential violation of California’s two-party consent law. (See Dkt. #68-3 at 9-

10). To be sure, the Court finds Mr. Randazza’s tone and language in certain of

his correspondence to be wholly unbecoming of an officer of the court.

Regardless, the Court does not perceive unadjudicated charges of witness

intimidation to be a basis for sanctioning Mr. Randazza in the instant

proceeding at this time. It reaches the same conclusion with respect to the

other allegations levied against Mr. Randazza in the Texas proceeding. (See

generally Dkt. #68-3).

      Third, Defendant urges the Court to consider other conduct engaged in

by Mr. Randazza and his law firm in the Connecticut state-court case. In

particular, Defendant notes that Mr. Wolman filed a notice in the Connecticut

proceeding reporting that Mr. Randazza’s law firm had obtained documents

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relating to a settlement entered into by the Connecticut plaintiffs and a former

defendant in the case, after the Connecticut Superior Court issued several

orders prohibiting Mr. Randazza’s clients from requesting documents related to

this settlement. (Dkt. #68 at 2). The Court has reviewed the notice, which

represents that these settlement documents were “unsolicited.” (Dkt. #68-3 at

21-22). Moreover, it appears that the Connecticut Superior Court did not

sanction either Mr. Randazza or his firm in response to this disclosure. The

Court will not do so here.

      Lastly, Defendant refers the Court to the submission of a defendant in

Maron v. The Legal Aid Society, discussing the disciplinary proceedings that

resulted in Mr. Randazza’s twelve-month suspension by the Supreme Court of

the State of Nevada in 2018. (Dkt. #68 at 3 (referencing No. 21 Civ. 5960, Dkt.

#28)). As in Maron, Defendant asks the Court to consider in its entirety the

amended complaint that precipitated the Nevada disciplinary proceedings.

(Id.). That amended complaint asserted a total of nine ethical violations against

Mr. Randazza, and the matter was resolved when Mr. Randazza admitted to

two of these ethical violations. (Id.). While the Court finds all of the alleged

breaches of Mr. Randazza’s ethical and professional obligations concerning, it

declines to reconsider his pro hac vice admission based on unadjudicated and

disputed allegations. Mr. Randazza has already faced sanctions in multiple

jurisdictions for the ethical violations to which he pleaded guilty, and the seven

additional counts in the amended complaint are merely allegations to which

Mr. Randazza has not admitted. The Court does not consider the additional

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context provided by the defendant in Maron to justify its revocation of Mr.

Randazza’s pro hac vice admission.

      For the foregoing reasons, the Court DENIES Defendant’s request for a

pre-motion conference regarding his anticipated motion to revoke Mr.

Randazza’s pro hac vice admission. However, the Court should in no way be

understood as condoning or trivializing any of the serious allegations contained

in Mr. Randazza’s disciplinary record. Mr. Randazza appears to have

repeatedly toed ethical lines, and the Court remains concerned about the

recency of certain allegations against Mr. Randazza. The Court reserves the

right to revisit this decision if additional developments in this or other cases

render it appropriate for the Court to do so.

      SO ORDERED.

 Dated: October 5, 2021
        New York, New York

                                                 KATHERINE POLK FAILLA
                                                United States District Judge




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Marc Randazza                     ecf@randazza.com                   10/25/2021 9:22:17 AM   SENT

William Ogden                     bill@fbtrial.com                   10/25/2021 9:22:17 AM   SENT

Bradley Reeves                    brad@brtx.law                      10/25/2021 9:22:17 AM   SENT

Carmen Scott                      carmen@fbtrial.com                 10/25/2021 9:22:17 AM   SENT



Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/25/2021 9:22:17 AM   SENT
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                                  712 of 1271



                                  CAUSE NO. D-1-GN-18-001835

   NEIL HESLIN,                                §           IN THE DISTRICT COURT OF
                                               §
                     Plaintiff,                §
                                               §
   v.                                          §              TRAVIS COUNTY, TEXAS
                                               §
   ALEX E. JONES, INFOWARS, LLC,               §
   FREE SPEECH SYSTEMS, LLC, AND               §
   OWEN SHROYER                                §
                                               §
                     Defendants,               §               261st JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-006623

  SCARLETT LEWIS,                               §          IN THE DISTRICT COURT OF
                                                §
                    Plaintiff,                  §
                                                §
  v.                                            §             TRAVIS COUNTY, TEXAS
                                                §
  ALEX E. JONES, INFOWARS, LLC, AND             §
  FREE SPEECH SYSTEMS, LLC,                     §
                                                §
                    Defendants,                 §              459th JUDICIAL DISTRICT

                                  CAUSE NO. D-1-GN-18-001842

  LEONARD POZNER AND                                §      IN THE DISTRICT COURT OF
  VERONIQUE DE LA ROSA,                             §
                                                    §
                    Plaintiff,                      §
                                                    §
  v.                                                §         TRAVIS COUNTY, TEXAS
                                                    §
  ALEX E. JONES, INFOWARS, LLC, AND                 §
  FREE SPEECH SYSTEMS, LLC,                         §
                                                    §
                    Defendants,                     §          459th JUDICIAL DISTRICT

                     [PROPOSED] ORDER ON PLAINTIFF’S
            MOTION FOR PROTECTION REGARDING MARC RANDAZZA

        On the 25th day of October, 2021, came to be heard Plaintiff’s Motion for Protection
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                  713 of 1271



Regarding Marc Randazza. The Court, having considered the Motion, Defendants’ response

thereto, along with the arguments of counsel, finds that Plaintiffs’ motion should be in all things

DENIED. It is therefore:

       ORDERED that Plaintiffs’ Motion for Protection Regarding Marc Randazza is hereby

DENIED in its entirety.


SIGNED ON THIS THE _______ DAY OF _______________, 2021.


                                                     ____________________________________
                                                     HONORABLE JUDGE MAYA GUERRA
                                                     GAMBLE




                                                2
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                                  714 of 1271



APPROVED AS TO FORM
AND ENTRY REQUESTED:

REEVES LAW, PLLC

By:    /s/ Bradley J. Reeves______________
Bradley J. Reeves
Texas Bar No. 24068266
702 Rio Grande St., Suite 203
Austin, TX 78701
brad@brtx.law
Telephone:     (512) 827-2246
Facsimile:     (512) 318-2484

ATTORNEY FOR DEFENDANTS




                                             3
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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 58485385
Status as of 10/27/2021 2:34 PM CST

Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted      Status

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov    10/25/2021 9:22:17 AM   SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov     10/25/2021 9:22:17 AM   SENT

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Associated Case Party: NEIL HESLIN

Name                BarNumber   Email                TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com     10/25/2021 9:22:17 AM   SENT
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                                        COURT OF APPEALS
                                             THIRD DISTRICT OF TEXAS
                                             P.O. BOX 12547, AUSTIN, TEXAS 78711-2547
                                                    www.txcourts.gov/3rdcoa.aspx
                                                           (512) 463-1733



DARLENE BYRNE, CHIEF JUSTICE                                                      JEFFREY D. KYLE, CLERK
MELISSA GOODWIN, JUSTICE
THOMAS J. BAKER, JUSTICE
                                                                                        Filed in the District Court
GISELA D. TRIANA, JUSTICE                                                               Of Travis County, Texas
CHARI L. KELLY, JUSTICE
                                                                                           NOVEMBER 10, 2021
EDWARD SMITH, JUSTICE
                                                                                        At____________________
                                                                                           6:01 PM
                                         November 10, 2021
                                                                                        Velva L. Price, District Clerk

Mr. Mark Bankston                                         Mr. Bradley J. Reeves
Kaster Lynch Farrar & Ball, LLP                           Reeves Law, PLLC
1117 Herkimer                                             702 Rio Grande Street, Suite 306
Houston, TX 77008                                         Austin, TX 78701
* DELIVERED VIA E-MAIL *                                  * DELIVERED VIA E-MAIL *


RE:      Court of Appeals Number:      03-21-00570-CV
         Trial Court Case Number:      D-1-GN-18-001835; D-1-GN-18-006623; D-1-GN-18-001842

Style:    In re Alex Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer



Dear Counsel:

         Relator’s petition for writ of mandamus was filed in this Court on the date noted above.


                                                       Very truly yours,

                                                       JEFFREY D. KYLE, CLERK

                                                       BY:   Jackalyn Berron
                                                             Jackalyn Berron, Deputy Clerk




cc:      The Honorable Velva L. Price
         The Honorable Maya Guerra Gamble
         Mr. William R. Ogden
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                                    COURT OF APPEALS
                                        FOR THE
                                THIRD DISTRICT OF TEXAS
                             P.O. BOX 12547, AUSTIN, TEXAS 78711-2547
                                          (512) 463-1733                   Filed in the District Court
                                                                           Of Travis County, Texas
                                                                             NOVEMBER 17, 2021
                                                                           At____________________
                                                                             6:01 PM
Date:           November 17, 2021                                          Velva L. Price, District Clerk

Appeal No.:      03-21-00570-CV
Trial Court No.: D-1-GN-18-001835; D-1-GN-18-006623; D-1-GN-18-001842

Style:          In re Alex Jones; Infowars, LLC; Free Speech Systems, LLC; and
                Owen Shroyer


The enclosed opinion was sent this date to the following persons:


 The Honorable Billy Ray Stubblefield              Mr. Mark Bankston
 Administrative Judge                              Kaster Lynch Farrar & Ball, LLP
 Williamson County Courthouse                      1117 Herkimer
 405 Martin Luther King, Box 2                     Houston, TX 77008
 Georgetown, TX 78626                              * DELIVERED VIA E-MAIL *
 * DELIVERED VIA E-MAIL *
                                                   The Honorable Maya Guerra Gamble
 The Honorable Velva L. Price                      459th District Court
 Civil District Clerk                              P. O. Box 1748
 Travis County Courthouse                          Austin, TX 78767
 P. O. Box 1748                                    * DELIVERED VIA E-MAIL *
 Austin, TX 78767
 * DELIVERED VIA E-MAIL *                          Mr. Bradley J. Reeves
                                                   Reeves Law, PLLC
 Mr. William R. Ogden                              702 Rio Grande Street, Suite 306
 Kaster Lynch Farrar & Ball, LLP                   Austin, TX 78701
 1117 Herkimer St                                  * DELIVERED VIA E-MAIL *
 Houston, TX 77008
 * DELIVERED VIA E-MAIL *
22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                  718 of 1271




       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN

                                                                                Filed in the District Court
                                    NO. 03-21-00570-CV                          Of Travis County, Texas
                                                                                   NOVEMBER 17, 2021
                                                                                   6:01 PM
                                                                                At____________________
                                                                                Velva L. Price, District Clerk

     In re Alex Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer




                    ORIGINAL PROCEEDING FROM TRAVIS COUNTY



                           MEMORANDUM OPINION


              The petition for writ of mandamus is denied. See Tex. R. App. P. 52.8(a).



                                            __________________________________________
                                            Gisela D. Triana, Justice

Before Chief Justice Byrne, Justices Triana and Kelly

Filed: November 17, 2021
          22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                            719 of 1271                              11/30/2021 10:21 PM
                                                             No. D-l-GN-18-001835                                      Velva L. Price
                                                                                                                       District Clerk
    NTIIL IIESLIN                                                           :            IN THE DISTIìTCT COURT OF    Travis County
                                                                                                                   D-1-GN-18-001835
                                                                            :                                        Nancy Rodriguez
    vs.                                                                     :            TRAVIS COIINTY' TEXAS
    AI,trX E. JONES,
    INFO\ryARS, LLC, FRtrE SPEECH                                           :

    SYSTBMS, LLC, AND OWEN SHROYER                                          :            459TH JUDICIAL DISTRICT

                                                         NOTICE OF DELIVBRY
RE: Mueller, Carl, F., M.D., MPH,               M"S., F.A.P.A. (Medical/Psychiatric)

I,   Cris Garza               Notary Public in and for the State of Texas, hereby ceftiô/ pursuant to the Rule 203, Texas Rules of Civil
Procedure,

          That this Deposition by Written Questions of Jennifer Boccarossa, the Custodian of Records for the above named is a true
          and exact duplicate of the records pertaining to Neil Heslin, given by the witness named herein, after said witness was duly
          sworn by Joann Strazza              ;


2.        That the transcript is a true record of the testirnony given by the witness;

3.        That $ 150.60 is the charge for the preparation of the completed Deposition by V/ritten Questions and any copies of exhibits,
          charged to Attorney for Plaintiff, Mark D. Bankston, TBA # 24001430;

4,        That the deposition transcript was submitted on 09/16/2021 9:004M. to the witness for exarnination, signature and t'eturn
          to the officer by a specified date;

5.        That changes, if any made by the witness, in the tlanscript and otherwise are attached thereto or incot'porated therein;

6.        That the witness returned the transcript;

7   .     That the original deposition by Wlitten Questions and a copy thereof, together with copies of all exhibits was delivered to
          Marh D. Banl<ston (Kaster, Lynch, Farrar & Ball, LLP) 11 l7 llerkimer Street Houston, 77008 who Noticed the first
          questions for safekeeping and use at trial;

8.        That pursuant to inforrnation r.nade a palt of the records at the time said testirnony was taken, the following includes all parties
          of record:
          Bradley Reeves (Reeves Law, PLLC) 512-318-2484
          Mark D. Bankston (Kaster, Lynch, Farrar & Ball, LLP) 713-221-8301
and
9.        A copy of this Notice of Delivery was served on all parties shown herein.

GIVEN UNDER MY HAND AND SEAL OF OFFICE ON IO/I3I202I                              .




Discovery Resource
l5l I West 34th Street                                                                uflon.''*
Houston, TX 77018
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                                                                                         Notary Public in and for the State of Texas

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                                     720 of 1271
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Status as of 12/2/2021 9:21 AM CST

Case Contacts

Name                 BarNumber    Email                             TimestampSubmitted        Status

Scott Weatherford                 sweatherford@jw.com               11/30/2021 10:21:36 PM    SENT

Joshua ARomero                    jromero@jw.com                    11/30/2021 10:21:36 PM    SENT

Charles L.Babcock                 cbabcock@jw.com                   11/30/2021 10:21:36 PM    SENT

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William Ogden                     bill@fbtrial.com                  11/30/2021 10:21:36 PM    SENT

Bradley Reeves                    brad@brtx.law                     11/30/2021 10:21:36 PM    SENT

Carmen Scott                      carmen@fbtrial.com                11/30/2021 10:21:36 PM    SENT



Associated Case Party: ALEXEJONES

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT
   22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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Associated Case Party: NEIL HESLIN

Name              BarNumber   Email              TimestampSubmitted       Status

Mark D.Bankston               mark@fbtrial.com   11/30/2021 10:21:36 PM   SENT
          22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                            722 of 1271                              11/30/2021 10:21 PM
                                                             No. D-1-GN-18-001835                                      Velva L. Price
                                                                                                                       District Clerk
                                                                            :            IN TFIE DISTRICT COURT OF    Travis County
    NEIL HDSLIN
                                                                                                                   D-1-GN-18-001835
                                                                                                                     Nancy Rodriguez
    vs.                                                                                  TRAVIS COUNTY, TEXAS
    ALEX E..IONES,
    INFOWARS, LLC, FREE SPEECH
    SYSTEMS, LLC, AND OWEN SHROYER                                                       459TH JUDICIAL DISTRICT

                                                         NOTICE OF DELIVBT{Y
RE: Mueller, Carl,            F., M.D., MPH, M.S.' F.A.P'A. (Billing)

l,        Cris   Garza        , Notary Public in and for the State of Texas, hereby   certif   pursuant to the Rule 203, Texas Rules of Civil
Procedure,

I   .     That this Deposition by Written Questions of Jennifer Boccarossa, the Custodian of Records for the above narned is a true
          and exact duplicate of the records pertaining to Neil Heslin, given by the witness named herein, after said witness was duly
          sworn by   -   Joann   Strazza         ;


2.        That the transcript is a true t'ecord of the testimony given by the witness;

3.        That $ 132.25 is the charge for the preparation of the completed Deposition by Written Questions and any copies of exhibits,
          charged to Attorney for Plaintiff, Mark D. Bankston, TBA # 24001430;

4.        That the dòposition transcript was submitted on 09/16/2021 9:004M. to the witness for examination, signatul'e and returu
          to the olíìcer by a specified date;

5.        That changes, if any rnade by the witness, in the transcript and otherwise are attached thereto or incorporated therein;

6.        That the witness leturned the transcript;

i.        That the original deposition by Written Questions and a copy thereof, together with copies of all exhibits was delivered to
          Mark D. Bankston (Kastero Lynch, Farrar & Ball, LLP) I I l7 Herkimer Street Houston, 77008 who Noticed the first
          questions for safekeeping and use at trial;

8.        That pursuant to i¡formation nrade a paft of the records at the time said testirnony was taken, the following includes all parties
          of recot'd:
          Bradley Reeves (Reeves Law, PLLC) 512-318'2484
          Mark D. Banl<ston (Kaster, Lynch, Farrar & Ball, LLP) 713-221-8301
and
9.        A copy of this Notice of Delivery was served on all parties shown herein.

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Discovery Resource
l5I I West 34th Street
Houston, TX 77018
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                                                                                         Notary Public in and for the State of Texas

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Bradley Reeves                    brad@brtx.law                     11/30/2021 10:21:36 PM    SENT

Carmen Scott                      carmen@fbtrial.com                11/30/2021 10:21:36 PM    SENT



Associated Case Party: ALEXEJONES

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT
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Associated Case Party: NEIL HESLIN

Name              BarNumber   Email              TimestampSubmitted       Status

Mark D.Bankston               mark@fbtrial.com   11/30/2021 10:21:36 PM   SENT
        22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                          725 of 1271                              11/30/2021 10:21 PM
                                                                                                                       Velva L. Price
                                                             No. D-l-GN-18-001835                                      District Clerk
                                                                                                                      Travis County
    NEIL IIESLIN                                                                         IN TI{E DISTRICT COURT OF D-1-GN-18-001835
                                                                                                                     Nancy Rodriguez

    vs.                                                                                  TRAVIS COUNTY, TEXAS
    ALEX E. JONES,
    IN}-OWARS, LLC, F'REE SPEECI{
    SYSTEMS,I,LC, AND OWEN SHROYER                                                       459TH JUDICIAL DISTIIICT

                                                        NOTICE OF DELIVERY
RE: Crouch, Michael, W., LCSW (Medical/Psychiatric)

           Cris Garza        Notary Public in and for the State of Texas, hereby certify pursuant to the Rule 203, Texas Rules of Civil
Procedure,

          That this Deposition by Written Questions of William Mictrael Crouch, the Custodian of Records for the above named is a
          true and exact duplicate of the records pertaining to Neil l{eslin, given by the witness narned herein, after said witness was
          duly swom by thiCtSphgL PeUg!!;

2.        That the transcript is a true record of the testimony given by the wittress;

J         That $ 281.00 is the charge for the preparation of the completed Deposition by Written Questions and any copies of exhibits,
          charged to Attomey for Plaintiff, Mark D. Bankston, TBA # 24001430;

4.        That tlre deposition transcript was submitted. on      0912012021   9:004M. to the witness for examination, signature and rctum
          to the officer by a specified date;

5.        That changes, if any made by the witness, in the transcript and otherwise are attached thereto or incorporated thereiu;

6.        That the witness returned the transcript;

7   .     That the original deposition by Written Questions and a copy thereof, together with copies of all exhibits was delivered to
          Mark D. Bankston (Kaster, Lynch, fiarrar & Ball, LLP)       lllT l{erkimer Street l{ouston, 77008 who Noticed the first
          questions for safekeeping and use at trial;

8.        That pursuant to infonnation made a part of the records at the time said testimony was taken, the following includes all parties
          of record:
          Bradley Reeves (Reeves Law, PLLC) 512-318-2484
          Mark D. Bankston (Kaster, Lynch, Farrar & Ball, LLP) 713-221-8301
and
9   .     A copy of this Notice of Delivery was served on all parties shown herein.

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1511 \ilest 34th Street
I{ouston, TX 77018
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                                                                                         Notary Public in and for the State of Texas

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Case Contacts

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Charles L.Babcock                 cbabcock@jw.com                   11/30/2021 10:21:36 PM    SENT

Warren Lloyd Vavra   786307       warren.vavra@traviscountytx.gov   11/30/2021 10:21:36 PM    SENT

Velva Lasha Price    16315950     velva.price@traviscountytx.gov    11/30/2021 10:21:36 PM    SENT

T. Wade Jefferies                 twadejefferies@twj-law.com        11/30/2021 10:21:36 PM    SENT

Marc Randazza                     ecf@randazza.com                  11/30/2021 10:21:36 PM    SENT

William Ogden                     bill@fbtrial.com                  11/30/2021 10:21:36 PM    SENT

Bradley Reeves                    brad@brtx.law                     11/30/2021 10:21:36 PM    SENT

Carmen Scott                      carmen@fbtrial.com                11/30/2021 10:21:36 PM    SENT



Associated Case Party: ALEXEJONES

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: INFOWARS LLC

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT



Associated Case Party: OWEN SHROYER

Name                BarNumber   Email                       TimestampSubmitted       Status

T. Wade Jefferies               twadejefferies@twj-law.com 11/30/2021 10:21:36 PM    SENT
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Associated Case Party: NEIL HESLIN

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                                                                                 Velva L. Price
                                                                                 District Clerk
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                                                                             D-1-GN-18-001835
                              D-1-GN-18-001835                                     Alyssa Butler

 NEIL HESLIN                             §                IN DISTRICT COURT OF
                                         §
 VS.                                     §               TRAVIS COUNTY, TEXAS
                                         §
 ALEX E. JONES, INFOWARS, LLC,           §                 261st DISTRICT COURT
 FREE SPEECH SYSTEMS, LLC, and           §
 OWEN SHROYER                            §

                              D-1-GN-18-001842
 LEONARD POZNER AND                      §                IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                    §
                                         §               TRAVIS COUNTY, TEXAS
 VS.                                     §
                                         §                 345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,           §
 and FREE SPEECH SYSTEMS, LLC            §

                              D-1-GN-18-006623
 SCARLETT LEWIS                          §                IN DISTRICT COURT OF
                                         §
 VS.                                     §               TRAVIS COUNTY, TEXAS
                                         §
 ALEX E. JONES, INFOWARS, LLC            §                  98th DISTRICT COURT
 and FREE SPEECH SYSTEMS, LLC            §



 PLAINTIFFS’ MOTION FOR SANCTIONS REGARDING CORPORATE DEPOSITION
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                                      INTRODUCTION

       Following the default judgment entered by this Court, Plaintiffs sought discovery on

the remaining issues to be decided by the jury concerning punitive and compensatory

damages. In addition to written discovery (which is the subject of a pending sanctions

motion), Plaintiffs sought depositions of the Defendants, including a corporate

representative of Free Speech Systems, LLC. On December 3rd, the company produced Daria

Karpova as its corporate representative to testify about eight topics. Ms. Karpova was

completely unprepared to testify about the designated topics, ultimately making a mockery

of the deposition.

       While sanctionable in isolation, this conduct is truly egregious given that Defendants

have repeatedly refused to produce a prepared corporate designee on three prior occasions.

For these non-appearances, Defendants incurred sanctions, a contempt finding, and

ultimately a default judgment. Throughout this case, Defendants’ open disrespect for the

judicial process has been on full display, and they have now made the conscious decision to

sabotage the remainder of the proceedings. Every sanction ever entered by this Court has

been completely ineffective at altering Defendants’ conduct. As such, Plaintiffs asks the Court

to take forceful measures to balance the playing field for their upcoming damages trial,

including an award of all litigation costs, preclusion of further discovery, evidentiary findings

relating to the corporate deposition topics, and punitive monetary sanctions.

                                         ARGUMENT

I.     InfoWars has Repeatedly Refused to Present a Corporate Representative.

       Throughout these lawsuits, InfoWars has consistently evaded its obligation to

provide corporate testimony. First, on August 31, 2018, this Court ordered a corporate



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deposition in Mr. Heslin’s defamation case, but InfoWars refused to comply with the order,

and the Court ultimately assessed sanctions the following year for the non-appearance. 1

        On January 25, 2019, the Court again ordered discovery in the Lewis case, but that

process turned into a complete farce. Ms. Lewis was forced to take depositions without any

document production. Even worse, when InfoWars produced Rob Dew as a corporate

representative, InfoWars failed to prepare him to give any testimony whatsoever on behalf

of the company. In oral hearing, Judge Jenkins chastised “the failure of the defendants to

present an InfoWars corporate representative who has a clue about InfoWars as a

corporation,” noting that “it was a pretty meaningless deposition.” 2

        On October 18, 2019, this Court ordered Defendant to produce a corporate

representative for a third time in Mr. Heslin’s IIED case. In response, InfoWars again chose

Rob Dew to testify about two topics: 1) “Sourcing and research for the videos described in

Plaintiff’s petition,” and 2) “Internal editorial discussions regarding Free Speech Systems’

coverage of the Sandy Hook Elementary School shooting.” 3 Once again, Mr. Dew was

completely unprepared to discuss either topic. For example, Mr. Dew gave the following

testimony about a March 2014 video from Plaintiff’s petition:

                Q.       Who did the research for that one?
                A.       I don’t know.
                Q.       What steps did you take to find out?
                A.       Since we don’t have that video, I don’t know what -- I’d
                         have to see the video to jog my memory of what’s in it.
                …
                Q.       You don’t have this video is your testimony, and by you,
                         you mean Free Speech Systems?
                A.       I didn’t have it in any of the searches that I made.

1 See October 18, 2019 Heslin Order on Plaintiff’s Motion for Contempt Under Rule 215 (assessing sanctions of

$25,875).
2 Exhibit 1, April 3, 2019 Transcript in Lewis, p. 30; p. 34.
3 Exhibit 2, November 26, 2019 Deposition of Rob Dew, 3:16-20.




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                  Q.   How long did you spend looking for the sources or the
                       video or the researcher for “Sandy Hook: False
                       Narratives Versus the Reality?”
                  A.   For that particular video, maybe 15 minutes.
                  Q.   Are you aware that in this case you produced this video
                       to me?
                  A.   Okay.
                  …
                  Q.   So you have it in your possession, correct?
                  A.   I don’t know if I have it in my possession. 4

         When Mr. Dew testified regarding a May 13, 2014 from Plaintiff’s petition, he

speculated on its content without knowing what was in the video:

                  Q.   Who did the research for this video?
                  A.   I would imagine Wolfgang Halbig did the research for
                       that.
                  Q.   Again, I’m not asking you to imagine.
                  A.   Okay. I’ll say Wolfgang Halbig, school safety expert, that
                       was Wolfgang Halbig.
                  Q.   How do you know he did the research – excuse me. Did
                       anyone else research any of the information that went
                       into this episode?
                  A.   That is most likely an interview between Wolfgang
                       Halbig and Alex Jones.
                  Q.   You don’t even know what’s in this video, do you?
                  A.   No. 5

         Mr. Dew testified in the same way about a December 27, 2014 video from Plaintiff’s

petition:

                  Q.   What was the source of the information in this one?
                  A.   I don’t know.
                  Q.   Do you know what information is in this video?
                  A.   No.
                  Q.   Are you prepared to discuss the research that was in the
                       video which you don’t know what it’s about?
                  A.   No. 6



4 Id. at 52:3-53:15.
5 Id. at 54:3-18.
6 Id. at 56:6-13.




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         Mr. Dew gave the same testimony regarding a December 29, 2014 video from

Plaintiff’s petition:

                  Q.    Have you ever seen this one?
                  A.    I’d probably know it if I saw it.
                  Q.    Sitting here -- have you seen it in the last year?
                  A.    No.
                  Q.    Did you do anything to prepare where the information
                        came from in this video that you don’t know what it’s
                        about?
                  A.    No.
                  Q.    You have no -- is it fair to say you don’t know who the
                        source of the information is that’s in this video?
                  A.    That would be fair. 7

         Mr. Dew gave the same testimony regarding a January 13, 2015 video from Plaintiff’s

petition:

                  Q.    Have you seen this video in the last year?
                  A.    I have not seen it in the last year.
                  Q.    Are you prepared to discuss the research that went into
                        the information that was put in this video?
                  A.    No.
                  Q.    Are you prepared to tell us the source of information for
                        this video?
                  A.    No. 8

         This testimony continued for video after video through 2015, 2016, and 2017. For

each of the additional videos, Mr. Dew admitted he was not prepared, even including the

crucial 2017 “Sandy Hook Vampires Exposed” video:

                  Q.    Who researched the information for that video?
                  A.    I would say myself and Alex did.
                  Q.    What were your sources?
                  A.    I believe a Megyn Kelly interview. 9
                  …
                  Q.    Are you aware that on April 22nd, 2017, that the Megyn
                        Kelly interview hadn’t even happened yet?

7 Id. at 56:15-57:3.
8 Id. at 57:5-13.
9 Id. at 72:17-20.




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                  A.        Oh, it hadn’t happened yet? Okay.
                  Q.        Fair to say you’re not prepared to discuss this video?
                  A.        I’m -- must be confused with another Sandy Hook
                            vampire video.
                  Q.        Fair to say you’re not prepared to discuss the one from
                            April 22nd, 2017? Yes?
                  A.        Correct. 10

         Mr. Dew was likewise unprepared to testify regarding the employees who were

involved in Sandy Hook research. For each employee inquired about, Mr. Dew testified that

he was not “prepared to testify as to [the employee’s] involvement with sourcing and

researching for the videos in plaintiff’s petition.” 11 Mr. Dew further testified that he was

unprepared to discuss InfoWars’ editorial discussions about Sandy Hook:

                  Q.        We know that from your answers related to the videos
                            and not knowing the sources of the information or any of
                            the researchers, that any discussion that would have
                            involved that -- those people that did that, you’re not
                            prepared to discuss that, correct?
                  A.        That’s correct. 12
                  Q.        Did you take any steps to prepare yourself to discuss
                            whether or not there are any editorial discussions that
                            were had between anyone at Free Speech Systems
                            outside your purview?
                  A.        No. 13

         Moreover, Mr. Dew acknowledged that editorial discussions could be contained

within documents, but he admitted he did not use any documents to help prepare for the

deposition:

                  Q.        If there are discussions out there within Free Speech
                            Systems’ documents that were produced in this case that
                            have editorial discussions in there, that’s something you
                            should know about, correct?



10 Id. at 72:24-73:9.
11 Id. at 15:6-8; see also p. 15-26.
12 Id. at 77:6-11.
13 Id. at 78:8-15.




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                A.      If you’re saying I reviewed every e-mail that was sent
                        around the office during those time periods, I didn’t do
                        that.
                Q.      You didn’t review any e-mails preparing for today?
                A.      That’s correct.
                Q.      Do you think you should have?
                A.      I was relying on the advice of my attorney. 14

        Mr. Dew’s testimony showed that Defendants intentionally failed to prepare him to

offer testimony. Given their prior experience failing to prepare Mr. Dew in the Lewis case,

Defendants understood their obligation to prepare their corporate designee. On December

20, 2019, this Court assessed sanctions and held Defendants in contempt for their third non-

appearance. 15 In a set of companion orders, the Court assessed $100,000 in monetary

sanctions. 16 The Court noted:

                Defendants’ failure to produce a corporate representative who
                was prepared to testify about a) sourcing and research for the
                videos described in Plaintiff’s petition and b) internal editorial
                discussions regarding Free Speech System, LLC's coverage of
                the Sandy Hook Elementary School shooting should be treated
                as contempt of court. Defendants have been continuously
                represented in this case by competent Texas counsel. The same
                counsel who represented Defendants at the October 17
                hearing…are representing Defendants now, with one additional
                attorney recently appearing. Surely this Court can assume that
                Defendants’ counsel fulfilled their professional obligation to
                insure that Defendants understood this Court's October 18
                order. And the order itself is clear and unmistakable, easily
                understood by any competent reader. On the record presented,
                the Court concludes that Defendants intentionally disregarded
                the October 18 order. The Court notes that a client's refusal to
                cooperate with an attorney may rise to good cause for the
                attorney's withdrawal under Texas Disciplinary Rule of
                Professional Conduct 1.15(b). 17




14 Id. at 80:16-81:7.
15 See December 20, 2019 Order on Heslin Motion for Sanctions (awarding sanctions of $65,825).
16 See December 20, 2019 Order on Defendants’ Rule 91(a) Motion (awarding additional $34,323.80).
17 See December 20, 2019 Order on Heslin Motion for Sanctions, p. 2.




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        During the 2019 hearing, Defendants’ counsel promised to address the discovery

situation despite the pending appeal. Yet even upon remand in 2021, Defendants spent the

entire summer ignoring the situation, eventually resulting in the Court entering the default

judgment which it had held under advisement since 2019.

        During the default judgment hearing on August 31, 2021, this Court inquired about

the necessity of further discovery, noting that “[m]y concern is you need this discovery even

for a damages trial.” 18 The Court also noted that “if [plaintiffs] are trying to get punitive

damages, [they] probably do need more discovery.” 19 Plaintiffs’ counsel responded that

“after this hearing and I have more of an understanding of what the scope of discovery is like

going forward, then we'll serve new discovery requests and depositions that we may need.”20

II.     InfoWars Failed to Present a Corporate Representative for a Fourth Time.

        Following the default judgment, Plaintiffs sought discovery for the remaining issues

to be decided by the jury. In addition to written discovery (which is the subject of a pending

sanctions motion), Plaintiffs also sought the deposition of Free Speech Systems, LLC, which

was cross-noticed in all three cases. The company was instructed to designate a witness to

testify about the following topics:

             •   Sourcing and research for the videos described in Plaintiffs’ petitions.

             •   Individuals involved in the production of the videos described in
                 Plaintiffs’ petitions.

             •   Internal editorial discussions regarding InfoWars’ coverage of the
                 Sandy Hook Elementary School shooting.

             •   The company’s knowledge of the Plaintiffs.


18 Exhibit 3, August 31, 2021 hearing transcript, p. 73.
19 Id., p. 74.
20 Id., p. 75.




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                    •   The audience reach of the videos described in Plaintiffs’ petitions.

                    •   The documents produced by the company in response to Plaintiffs’
                        discovery requests.

                    •   Efforts made by the company to preserve potential evidence.

                    •   The company’s business structure and relationship with other parties.

            These topics included not only the topics about which Mr. Dew had failed to testify

before, but additional topics relating to punitive and compensatory damages. No objections

were made to any topic. The deposition was originally set for November 4, 2021. However,

due to a medical emergency in the family of Defendants’ counsel, the deposition was

postponed to December 3, 2021. At deposition, the company produced Daria Karpova as its

corporate representative. Ms. Karpova, an InfoWars producer and manager, was completely

unprepared to testify on any of the eight topics.

            A.          The materials provided to Ms. Karpova and her lack of preparation time
                        were a farce.

            Ms. Karpova testified that her preparation for the deposition consisted of the

following:

                    •   “Maybe an hour” on December 1st with Bradley Reeves. 21
                    •   “A couple of hours” on December 2nd with Marc Randazza. 22
                    •   One hour preparing by herself. 23


21   Exhibit 4, November 3, 2021 Deposition of Free Speech Systems, LLC, at 5:8.

22 Id.
     at 4:1. Mr. Randazza’s conduct in preparing the corporate designee and appearing at Mr. Jones’ deposition
creates tension with Texas statutes regarding the unauthorized practice of law by performing these services in
Texas for a particular proceeding in a Texas case. The Government Code defines the “practice of law” to include
not only court appearances, but also a “service rendered out of court, including the giving of advice or the
rendering of any service requiring the use of legal skill or knowledge.” Tex. Govt. Code 81.101. “The statutory
definition is not exclusive. Courts inherently have the power to determine what is the practice of law on a case-
by-case basis. The practice of law embraces, in general, all advice to clients and all action taken for them in
matters connected with the law.” Green v. Unauthorized Practice of Law Comm., 883 S.W.2d 293, 297–98 (Tex.
App.—Dallas 1994, no writ) (internal citations omitted).

23   Id. at 11:8.


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         Ms. Karpova brought a small file folder to the deposition containing the “documents

that [Ms. Karpova] reviewed prior to this deposition.” 24 Those documents “represent the

total universe of documents that [Ms. Karpova] had prepared for before the deposition.” 25

The folder contained the following:


              •    Wikipedia articles for “False flag,” 26 “The Reichstag Fire,” 27 and “Pearl
                   Harbor advance-knowledge conspiracy theory.” 28

              •    A post from “HistoryToday.com” summarizing the sinking of the USS
                   Maine in 1895. 29

              •    An anonymous blog post from “DC Clothesline” which purported to
                   contain biographical information about Wolfgang Halbig, an InfoWars
                   source. 30

              •    A bio of Dr. Steve           Pieczenik,   an    InfoWars    guest,   from
                   “StevePieczenik.com.” 31

              •    An article from “LoveTheTruth.com” entitled “I Think Sandy Hook
                   Was a Massive Elaborate Hoax.” 32

              •    Two news articles with “interesting information regarding the
                   victim's mother and her request to have an open casket,” 33 which Ms.
                   Karpova felt was relevant because it was “unconscionable” and
                   “horrific.” 34




24 Id. at 9:20.
25 Id. at 10:19-21.
26 Id. at 19:9.
27 Id. at 21:17.
28 Id. at 27:8.
29 Id. at 25:24.
30 Id. at 27:23.
31 Id. at 29:17.
32 Id. at 28:11.
33 Id. at 30:18.
34 Id. at 32:22; 33:4.




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          Mr. Karpova also testified that she met briefly with the other prior corporate

representatives designated by InfoWars, but she did not acquire any relevant information

from those discussions:

            Q. You met with Mr. Dew and talked to him about the topics you'd be
               speaking about today?
            A. Briefly.
            Q. What's briefly? What does that mean?
            A. I basically sort of ran through the topics and asked him if I was going
               to say anything, if he had any information for me and he said no. 35
            …
            Q. Okay. Who's the other corporate rep you know?
            A. Michael Zimmerman.
            Q. Okay. Did you get any information from Mr. Zimmerman?
            A. No. 36

          In sum, Ms. Karpova’s preparation was completely lacking. She only had short

meetings with counsel, did not meet any employees who gave her information, and the

materials she did review were frivolous, unreliable, and largely irrelevant. Later in the

deposition, after prompting from her counsel, Ms. Kaprova claimed she reviewed additional

documents, but she testified that those documents were not relevant to the deposition

topics:

            Q. There are documents that you have reviewed prior to this
               deposition that you did not bring to this deposition?
            A. I did not think they were relevant to the specific points. 37

          As shown below, Ms. Karpova was unable to testify about any of the topics for the

deposition. The lack of preparation she was given demonstrates InfoWars’ continuing

disrespect for the legal process, causing irreparable prejudice to the upcoming trial.




35 Id. at 7:16-22.
36 Id. at 8:6-10.
37 Id. at 40:16-20.




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         B.       Ms. Karpova was not prepared to testify about sourcing and research for
                  the videos described in Plaintiffs’ petitions.

         Ms. Karpova had not been prepared to testify about the videos in Plaintiffs’ petitions.

Prior to the deposition, Ms. Karpova did not review any of the videos:

              Q. Topic number one is the sourcing and research for the videos
                 described in plaintiffs' petitions. When was the last time you
                 watched those videos? Back up. I made an assumption there. Have
                 you watched the videos in plaintiffs' petition ever in your history at
                 InfoWars?
              A. I've watched some of them.
              Q. Okay. So one thing we can say is that in preparation for this
                 deposition you didn't watch those videos, correct?
              A. (No response.)
              Q. I'm sorry, Ms. Karpova, is that a difficult question for you to answer?
              A. Well, I've already answered some of the videos.
              Q. Right. No. I understand that you have in your history at InfoWars
                 since 2015, you've probably on occasion seen some of these videos.
                 I understand that. What I'm asking you is since the date you were
                 told you were giving this deposition in November and you were
                 preparing for this deposition, you haven't watched any of these
                 videos, right?
              A. I have not. 38

         Ms. Karpova did not even know if she had reviewed the Plaintiffs’ Petitions which

describe the videos:

              Q. When that topic number one says sourcing and research for the
                 videos described in Plaintiffs' Petitions, have you seen the Plaintiffs'
                 Petitions?
              A. Briefly.
              Q. Okay. They're not in this folder, are they?
              A. No. 39
              …
              Q. But in terms of Plaintiffs' Petitions, is that something you looked at
                 before this deposition?
              A. I honestly can't recall. 40



38 Id. at 35:22-36:16.
39 Id. at 22:5-11.
40 Id. at 22:18-20.




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           When faced with basic questions about the videos in Plaintiffs’ Petition, it

immediately became apparent that Ms. Karpova could not testify:

               Q. Do you see that paragraph 14 identifies the January 27, 2013 video
                   entitled, "Why People Think Sandy Hook is a Hoax"?
               A. Yes.
               Q. Okay. You're familiar with the claims made in that video, right?
               MR. REEVES: Objection; form.
               A. I don't recall the exact video.
               Q. And so sitting here today, you're not familiar with the claims made
                   in that video.
               A. No. 41
               …
               Q. And do you see in paragraph 25 it discussing a September 25, 2014
                   video entitled "Connecticut PD Has FBI Falsify Crime Statistics,"
                   correct?
               A. Yes.
               Q. Okay. First of all, are you familiar with the claim that InfoWars has
                   made that the FBI either falsified crime statistics or admitted that
                   nobody died at Sandy Hook? Are you familiar with those claims?
               A. As far as it's quoted here in this paragraph, the company believes
                   that to be the case.
               Q. No. What I'm asking, Ms. Karpova, is based on the title and this
                   talking about FBI falsified crime statistics. Are you personally right
                   now familiar with that claim made by InfoWars?
               A. Personally I'm not.
               Q. Okay. Did you talk to anybody about that claim?
               A. No.
               Q. Okay. So this video and its title, you don't really understand where
                   that comes from, right?
               A. No. 42
               …
               Q. Does paragraph 29 contain a video that you're supposed to talk
                   about under topic number one?
               A. Yes.
               Q. The video is December 27, 2014, entitled "Lawsuit Could Reveal
                   Truth About Sandy Hook Massacre," correct?
               A. Yes.
               Q. What lawsuit is being talked about?
               A. I don't know for sure.



41   Id. at 47:21-6.
42   Id. at 77:1-15.


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              Q. Well, at least this one we're lucky because I do. Do you know
                 Wolfgang [Halbig] sued Leonard Pozner, that they were in a lawsuit
                 together?
              A. Yes. 43
              …
              Q. Well, first of all, we know that you didn't know that this video
                 referred to that lawsuit. You didn't know what lawsuit it was. So you
                 also, I would take it, you haven't done any research to determine
                 what that lawsuit is or anything about it, right?
              A. I haven't reviewed that lawsuit, no.
              Q. Or anything that has to do with what this video said about the
                 lawsuit, right?
              A. I mean, if you ask me specifically? Because you're saying anything. If
                 you ask me a specific point, then I may or may not recall.
              Q. Sure. What truth about the Sandy Hook massacre could this lawsuit
                 reveal? What did the video have to say about that?
              A. Well, based on the quotes here in this paragraph, you know, the truth
                 would be -- I mean something to do with it not being the way the
                 mainstream news reported.
              Q. Okay. Help me understand. The lawsuit could reveal something
                 that's different than the mainstream media. That's your answer? Is
                 that -- am I understanding --
              A. Different than what the mainstream media finally reported about
                 the incident. I believe it took a year for the State of Connecticut to
                 release the final report on the event.
              Q. What does that have to do with the lawsuit? I'm confused. What --
                 what's the lawsuit having to do --
              A. Are you asking me what it could've --
              Q. Well, let's --
              A. So that truth might have been something that contradicted the
                 report that the State of Connecticut had issued.
              Q. You have no idea, do you? You say "might." You don't have any idea.
              A. Yeah, we don't have a record of that.
              Q. Yeah. And you -- when you got this petition and you read it and you
                 saw there was a video entitled “Lawsuit Could Reveal Truth About
                 Sandy Hook Massacre,” you did nothing to figure out what that
                 lawsuit was or what it could reveal, did you?
              A. Huh-uh. No. Not specifically. 44
              …
              Q. You see here this talks about a March 4, 24 2015 video entitled "New
                 Bombshell Sandy Hook Information Inbound"?
              A. Yes.
              Q. What was the bombshell information?

43   Id. at 94:25-95:14
44   Id. at 96:13-98:8.


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              A. The bombshell information was the new statement -- information
                  Mr. Halbig had brought on that show is what I can infer.
              Q. Which is what? What's the bombshell?
              A. I wouldn't know the details of it.
              Q. So when you had this video to try to figure out what was the sourcing
                  and the research that went into it, you don't even know what the
                  bombshell information was that is described in the title of the video,
                  correct?
              A. Well, any new information would be bombshell. So just because it
                  says bombshell, there -- there might have been a lot of information
                  in that video which there's no way I can remember what was in that
                  video exactly.
              Q. Well, I mean, it's not a matter of you not remembering. You never
                  watched it, right?
              A. Not recently.
              Q. Right. And so -- and you didn't do anything to try to get prepared on
                  it for this deposition, right?
              MR. REEVES: Objection; form.
              A. No.
              Q. You haven't read any documents about this video.
              A. No.
              Q. And you haven't talked to any employees about this video.
              A. No.
              Q. Have you tried to talk to Mr. Halbig about this video?
              A. No. 45

           When it became clear Ms. Karpova could not testify about research and sourcing for

these claims, Plaintiffs’ counsel confirmed that she was unprepared to testify about any of

the videos in Plaintiffs’ Petitions:

              Q. I want to cover some of the things we talked about in this first video
                 to see if they apply for every video because I think we might be able
                 to save some time. Alright? And you can tell me if we can or we can't.
                 But from what I understand about that first video is, A, you didn't
                 watch it and, B, you didn't talk to any of the employees involved in
                 making it. That's correct, right?
              A. Yes.
              Q. Okay. Is that true for all the videos?
              A. Yes.
              Q. Okay. And in terms of understanding what claims were made in the
                 videos, is that the same that you don't know what claims were made
                 in the videos for all the videos?

45   Id. at 113:23-115:8.


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            A. Correct. 46

         Despite having no preparation, Ms. Karpova frequently speculated about the source

for the videos, but she admitted she was making guesses, not giving testimony from

knowledge or preparation. Indeed, Plaintiffs’ counsel frequently had to correct Ms. Karpova

when her guesses were not true:

            Q. So sitting here today, you couldn't tell me who the sources were for
               the claims that you don't know, correct?
            A. From -- I would assume they were either Mr. Halbig or Pieczenik,
               because these were the two sources that were -- that had pertained
               to the videos. 47
            …
            Q. Okay. And you are telling me you're making this assumption that this
               must have something to do with Wolfgang Halbig or Dr. Steve
               Pieczenik. But do you know if either of those individuals had ever
               been on InfoWars by 2013? Do you know?
            A. Not for a fact I do not know. I could find that information if that was
               a question that I knew I had to prepare for. 48
            …
            Q. But for these videos, where Wolfgang Halbig or Dr. Steve Pieczenik
               had never said anything about Sandy Hook until at least 2014, you
               don't know what the sources for these videos are, do you?
            A. I would say no. 49

         Yet throughout the deposition, Ms. Karpova continued to speculate with no actual

knowledge behind her answers:

            Q. Ma'am, I just want you to understand, before we answer any more
               questions, that Wolfgang Halbig didn't even start investigating
               Sandy Hook until 2014. So when I have you here under oath saying
               that this must come from Wolfgang Halbig, I'm a little concerned. So
               I just want to stop and make sure we're not making assumptions,
               that we're answering the questions based on the knowledge that we
               have. Okay? And the reality is that when it comes to whether “the
               evidence was overwhelming,” one, you don't know what evidence is
               even being talked about in that statement, do you?

46 Id. at 54:9-25.
47 Id. at 48:7-12.
48 Id. at 49:5-12.
49 Id. at 51:13-17.




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              A. I don't.
              Q. Okay. Two, you don't know where any of that alleged evidence came
                 from, do you?
              A. No. It's been a long time, though. Correct.
              Q. That's why I'm taking this deposition. And sitting here today, you
                 can't do it, can you? You cannot tell me what evidence is being talked
                 about in paragraph 17?
              A. No. 50

           Continually through the deposition, Ms. Karpova seemed eager to speculate that

Wolfgang Halbig was the source for particular claims made by InfoWars, but her testimony

was not correct:

              Q. Do you see where it says they had kids going around in circles in and
                 out of the building as a photo op?
              A. Yes.
              Q. Do you know the company source on that?
              A. I believe it should be -- the company believes it to be Wolfgang
                 Halbig.
              Q. Well, it's interesting, you know, because -- have you watched Alex
                 Jones' deposition the first time I took it?
              A. Parts of it.
              Q. Okay. Did you watch the part about the kids allegedly going in circles
                 around the video with the building? Have you seen that?
              A. I don't remember that specifically.
              Q. Okay. Because here's the thing. And I'm -- just again, to try to make
                 sure that you're answering questions that you know the answer to,
                 we already know where that one came from. We had a deposition,
                 and we put the video up. And there's kind of an infamous YouTube
                 video made by just some random YouTuber, some conspiracy
                 person, and it's called the “Going in Circles” video. And it has -- it's
                 actually not Sandy Hook Elementary at all. It's a firehouse down the
                 street. It's not kids going in and out of the building, but it's actually
                 adults and young teenagers. But there's this video of this circle of
                 people going from the front to the back. And we talked about all this
                 in deposition. It comes from a YouTube video. It doesn't come from
                 Mr. Halbig. It doesn't come from Mr. Fetzer. It doesn't come from any
                 of these people. But when you sit here and you say, well, I can infer
                 it can came from Mr. Halbig, you can allow for me the possibility that
                 those answers aren't correct, right?



50   Id. at 60:25-61:21.


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            A. Well, you can also infer that the source for the video was either Mr.
               Halbig or Fetzer, as you just mentioned. You don't know where the
               video came from.
            Q. You don't know, do you?
            A. No, you don't know.
            Q. You don't know, right?
            A. Just as you don't know.
            Q. Right. So we're just all speculating here today, right? We have no
               idea what's going on.
            A. You're speculating yourself. 51

        Ms. Karpova could not even give any testimony on the specific claims quoted verbatim

in Plaintiffs’ Petitions:

            Q. When it comes to trying to figure out who [Mr. Jones is] even talking
               about here in terms of “actors playing different parts of different
               people,” you didn't do anything to figure that out, correct?
            A. Correct.
            Q. You didn't ask Alex about this statement or this video, correct?
            A. Correct. 52
            …
            Q. So do you see in that paragraph it's talking about “photos of kids that
               are alive that they say died?”
            A. Yes, I see that paragraph.
            Q. Do you know what photo they're talking about?
            A. From what I can infer, it was probably a photo that -- or photos that
               were going around that people were talking about online.
            Q. Sure. You have no idea what they are. I mean, you're guessing, right?
               Right?
            A. To the best of my knowledge. There's no way to tell what they were.
            Q. You have no personal knowledge about this, correct?
            A. Well, there's no way to go back to that video because we don't keep
               those kinds of records of every show. Of any show.
            Q. You didn't talk to any of the employees, did you?
            A. It's hard to tell who worked on that day. 53
            …
            Q. Do you see where it says “DHS an hour and a half later with a time
               stamp put up signs saying ‘sign in here?’”
            A. Yes.
            Q. Do you know where that came from?

51 Id. at 101:13-103:8.
52 Id. at 73:5-12.
53 Id. at 79:5-22. This answer contradicts Ms. Karpova’s other testimony, in which she testified “I have a list of

people who were working on that day.” See 52:20.


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              A. No.
              Q. Okay. They had a statement that said, “They had Porta Potties being
                 delivered within an hour and a half.” Do you see where it says that?
                 It's also in that first paragraph.
              A. Yes.
              Q. Do you know where that came from?
              A. No.
              Q. In the third paragraph, the first sentence, do you see where it says
                 “We have the emails from the city council back and forth and the
                 school talking about it being shut down a year before?” Do you see
                 that?
              A. Yes.
              Q. …Does the company know if those emails actually exist?
              A. No, it doesn't.
              Q. Do you know what the company source for saying that was?
              A. No. 54

           When confronted with her lack of preparation, Ms. Karpova asked if she could review

each video at the deposition before answering:

              A.  Can we review the video right now?
              Q.  No. I'm not going to play a 2-hour video for you right now, no.
              A.  But you expect me to know what's going on in every video?
              Q.  Uh-huh. I do. I do, Ms. Karpova. And I expected Rob Dew to do the
                  same thing when he showed up to the deposition to talk about
                  sourcing and research and he didn't do that twice.
              MR. REEVES: Object to the sidebar.
              Q. So I do -- I want to make sure this witness understands what she's
                  here to do today and my questions, what they are. I do expect you to
                  have done your homework and know what was in those videos, yes,
                  ma'am, I do. So for instance in this video, there's a claim made about
                  Charles Jaco. Do you know who he is?
              A. No.
              Q. Okay. So you wouldn't be able to talk to me in any way about the
                  claims made about Charles Jaco in the January 27, 2013 video?
              A. No. 55

           During a break in the deposition, Defendants’ counsel requested extra time for the

break because Ms. Karpova is a nursing mother and needed time to pump, which Plaintiffs



54   Id. at 120:19-121:19.
55   Id. at 51:20-52:17.


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were happy to oblige. However, Defendants also used this extra time to attempt to show Ms.

Karpova the remaining videos during the break. Yet even after this mid-deposition crash

course screening, Ms. Karpova could not meaningfully answer questions about the videos:

              Q. Do you see there it's talking about an April 22, 2017 video called
                  "Sandy Hook Vampires Exposed"?
              A. Yes.
              …
              Q. Okay. Did you watch that video? I mean, unless you've watched it in
                  the last couple of hours, you haven't watched it, right, for this
                  deposition?
              A. I'm familiar with the video.
              Q. Did you watch it in preparing for this deposition, though?
              A. Yes, I believe so.
              Q. Okay. When did you watch it?
              A. Earlier today.
              Q. Earlier today when?
              A. During the break.
              Q. Oh. So during the break when it became apparent that you hadn't
                  watched these videos, you went and tried to watch this video?
              A. Yes.
              Q. You didn't watch the whole thing, though, did you?
              A. No.
              Q. Because it's a 45-minute video, right?
              A. It's a lengthy video.
              Q. Yeah. So you didn't watch this video.
              MR. REEVES: Objection; form.
              Q. You watched pieces of this video, correct?
              A. Correct.
              Q. How many pieces did you watch? How many minutes total did you
                  watch of this video?
              A. I did not count.
              Q. So you have no idea, sitting here today, how long it was, when it was
                  just a couple of minutes ago?
              A. I did not count the amount of minutes I watched.
              Q. Okay. Was it more than 5 minutes?
              A. I'm not sure.
              Q. Okay. So you just watched the video within the last 20 minutes; and
                  you're not sure if you watched more than 5 minutes of it, correct?
              MR. REEVES: Objection; form.
              Q. Is that correct?
              A. I didn't time the amount of minutes I watched. 56

56   Id. at 122:21-124:23.


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              …
              Q. Do you see it talks about a June 13, 2017 video entitled "Media
                  Refuses to Report Alex Jones' Real Statements on Sandy Hook"?
              A. Yes.
              Q. Is that another one you were just shown during the break?
              A. Yes.
              Q. Okay. Is it fair to say that what happened is that every video past this
                  in the petition, that you went and tried to watch a little piece of it
                  before you came back into this room?
              MR. REEVES: Objection; form.
              A. This video I watched in its entirety.
              Q. Okay. So when did you watch that?
              A. During the break. 57
              …
              Q. Where does this come from, this picture? Where does it come from?
              A. This is a still from the show.
              Q. Do you know what show?
              A. Not specifically. It doesn't have the date year.
              Q. Okay. It's the one you just apparently watched a couple of minutes
                  ago. You don't remember seeing this?
              A. Not this part specifically.
              Q. Okay. So you maybe didn't even watch this part of the video?
              A. I watched the video.
              Q. Okay.
              A. I don't remember this specific --
              Q. Okay. A large portion of that video is Mr. Jones going over these
                  questions. Do you remember that from the video you just watched?
              A. Yes. 58
              …
              Q. This talks about an October 26, 2017 video called "JFK Assassination
                  Documents to Drop Tonight." Is that another one that you just
                  looked at at the break?
              A. Yes.
              Q. Okay. How much of that one did you watch?
              A. That's a long video. I watched parts of it.
              Q. You understand that doesn't help me, right? That that's not helping
                  me understand what you've watched. You understand that?
              A. I understand that.
              Q. Okay. So when I'm asking you the question, this is a -- it's an hour
                  long video, isn't it? It might be a full 4-hour episode. Do you know?
              A. I don't know the exact timestamp on that, but I know it's a long video.
              Q. How did you decide what part of it to watch?


57   Id. at 126:8-23.
58   Id. at 127:14-128:7.


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            A. I skimmed through it. 59
            …
            Q. Do you see the part about the CIA visiting Lanza for recruiting? Not
                on the petition. In the video you watched?
            A. No.
            Q. It's in the petition. I'm asking if you saw it in the video.
            A. Yes.
            Q. You did see that part?
            A. Yes.
            Q. What was the company source for that?
            A. Again, that was based on previously sourced information Alex --
                from his guests, as well as other reports.
            Q. Ms. Karpova, no, it was not. And I -- please, can you stop guessing?
                Because I need you to understand if you watched that video, you’d
                understand that this video was done because a new set of
                documents was declassified by the FBI on that date, and Lee Ann
                McAdoo did a report on InfoWars talking about those documents. It
                didn't come from Mr. Halbig. The testimony you gave is just not
                correct, is it?
            MR. REEVES: Objection; form. She didn't say anything about Mr. Halbig.
            Q. Alright. Let me adjust to your objection. This didn't come from prior
                videos, did it, Ms. Karpova? Or do you know?
            A. The company believe it did come from previously sourced material.
            Q. Okay. So when I talk about Lee Ann McAdoo doing this report on the
                documents that were declassified on that day, on October 26, 2017,
                do you have any idea what I'm talking about? Is that new
                information to you, or do you know what I'm talking about?
            A. I -- I have some information about it. 60
            …
            Q. Well, I'm asking you about the statement that the CIA recruited
                Lanza which you said came from prior videos. But that's not true,
                because that piece of information was in that released report that
                day, correct? Or do you know?
            A. I do not know. 61

        Ms. Kaprova could not even answer basic questions about the sourcing of the most

recent video in Plaintiffs’ Petition:

            Q. In 2017 did the company believe that Jim Fetzer was a reliable
               source of information?
            A. At that time there was controversy regarding that individual.

59 Id. at 132:25-133:17.
60 Id. at 134:2-135:12.
61 Id. at 137:3-8.




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              Q. In 2017 InfoWars published a video that relied on Mr. Fetzer,
                  correct?
              MR. REEVES: Objection; form.
              A. Okay.
              Q. That's true?
              A. You're telling me that? I --
              Q. I'm actually -- no. You need to tell me, Ms. Karpova, because you're
                  here to talk to me about the sourcing and researching in plaintiffs'
                  petition of those videos. Is that one of the videos you watched when
                  y'all took the break?
              A. The Owen Shroyer video?
              Q. Yeah.
              A. Yes, I've seen that video before.
              Q. Of course. Yeah. You knew you were going to testify about it.
              A. What is the --
              Q. My question is, that was in 2017?
              A. Uh-huh.
              Q. It relied on Jim Fetzer. It had material from Jim Fetzer, correct?
              A. I don't know where Owen got that material. 62

           Ms. Karpova also testified that despite her lack of preparation, the company did not

feel it needed to do anything else to prepare her for the deposition:

              Q. When the company knew that it had to produce testimony about
                 these videos in the plaintiffs' petition, the company did not feel it
                 was worthwhile to have employees review, watch, catalog and figure
                 out what was said and make that available to you, correct?
              A. The company believes that I have sufficient knowledge to testify
                 regarding these matters. 63

           Ms. Karpova’s testimony was even worse than the unprepared testimony previously

given by Rob Dew. Indeed, many of the questions on this topic were the exact same questions

from the prior depositions. Despite understanding not only the topic, but the specific

questions being asked, the company did not prepare Ms. Karpova. To excuse her lack of

preparation, Ms. Karpova claimed the topic was impossible to answer:

              Q. Ms. Karpova, did you just assert for me that that topic was too broad
                 to be answered correctly? Is that what you told me?

62   Id. at 256:2-257:3.
63   Id. at 118:19-119:1.


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                A. When it comes to -- yes, for -- for all intents and purposes, yes.
                Q. So when I ask you I want to know the sourcing for a video at
                   InfoWars, you can't figure that out? That's too broad?
                A. Sourcing can mean a lot of different things. It can -- can you be more
                   specifically what you mean by sources?
                Q. I think you know what it means, don't you? Right? What a source is?
                   What do you think a source is?
                A. Where you get a particular information. 64

           In sum, the deposition resulted in no actual information regarding the videos or the

sources and research for the claims made by the company.

           C.       Ms. Karpova was not prepared to testify about individuals involved in the
                    production of the videos described in Plaintiffs’ petitions.

           On the second topic, Ms. Karpova had not been prepared and could not give testimony

about which employees were involved in the creation of the videos or what roles they played.

Even worse, Ms. Karpova testified that she possessed a list of which employees were working

at specific times, but she did not bring the document to the deposition, so she could not

answer specific questions:

                Q. Can you tell me what employees were involved in researching that
                   video? Who came up with those claims in that video?
                A. I have a list of people who were working on that day. From that list
                   I could tell you who might have been in production for that day.
                Q. So the best we can tell you is -- the best we can figure out is who
                   might have been working in the production side at that date,
                   correct?
                A. Yes.
                Q. Okay. Have you talked to any of those people before your deposition
                   today?
                A. No. 65

           InfoWars employs a sizeable writing, editing, and production staff, many of whom

contributed to the company’s coverage of Sandy Hook. Unlike Ms. Karpova, those employees



64   Id. at 50:11-25.
65   Id. at 52:18-53:5.


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possess first-hand knowledge of the research and sourcing for the videos. Ms. Karpova

admitted that she had every opportunity to speak to those employees, but she chose not to

do so.

              Q. But for any of the videos that we're going to talk about today, for any
                 of the videos in Plaintiffs’ Petitions, you had a list of who was
                 working at InfoWars at that time, correct?
              A. Yes.
              Q. And you could have interviewed those employees, correct?
              A. I could have.
              Q. And you didn't, correct?
              A. Correct. 66

         As a result of her lack of preparation, Ms. Karpova continuously disclaimed any

knowledge of what employees were involved in researching InfoWars’ claims:

              Q. And again, just like our prior answers, you don't know what
                 employee researched the information to create the claims in this
                 video, correct?
              A. Correct. 67

         In sum, Ms. Kaprova was completely unprepared to offer any testimony about the role

played by InfoWars’ employees in this case.

         D.       Ms. Karpova was not prepared to testify about internal editorial
                  discussions regarding InfoWars’ coverage of the Sandy Hook Elementary
                  School shooting.

         Ms. Karpova was required to prepare to testify about InfoWars’ editorial discussions

about its Sandy Hook coverage, but Ms. Karpova made no such preparations. In fact, she did

not prepare because Ms. Karpova testified that “we did not – we do not have editorial

discussions regarding Sandy Hook.” 68 This statement is so wildly false that Plaintiffs’ counsel

made sure to confirm her testimony:


66 Id. at 52:22-54:6.
67 Id. at 58:9-12.
68 Id. at 87:7-8.




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            Q. Did I hear you say InfoWars never had editorial discussions on
                Sandy Hook?
            A. Correct.
            Q. Okay. That's not true, though, right? People inside InfoWars have
                talked about Sandy Hook from an editorial standpoint a lot, correct?
            MR. REEVES: Objection; form.
            A. Negative. 69

        Ms. Karpova also confirmed that she understood the topic. She testified that “an

editorial discussion would be an internal conversation about what type of information,

angles to go with live on air or website or anywhere else.” 70 After confirming Ms. Kaprova

understood the topic, Plaintiffs’ counsel again confirmed her testimony:

            A.   You asked me about the editorial discussions --
            Q.   Right.
            A.   -- of Sandy Hook.
            Q.   And there's never been any -- was that your testimony?
            A.   Yes. 71

        Plaintiffs’ counsel further confirmed that if any editorial discussions did exist, Ms.

Karpova was unprepared to talk about those discussions:

            Q. If there were conversations between editors having editorial
               discussions about whether the sources they were using for Sandy
               Hook were reliable or not, are those discussions you're prepared to
               talk about today?
            A. I have no knowledge of those discussions. 72
            …
            Q. So I take it by that same token, you have never seen any documents
               in which one editor or high person in InfoWars, a writer, editor --
               let's say editor or producer is talking to another management-level
               employee and saying I'm really worried about our Sandy Hook
               sources, you've never seen any documents like that?
            A. Not specifically like that, no. 73




69 Id. at 104:9.
70 Id. at 105:1-3.
71 Id. at 106:8-13.
72 Id. at 109:15-19.
73 Id. at 109:20-110:2.




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           InfoWars’ editorial discussions about Sandy Hook have been a central focus of the

evidence offered by Plaintiffs throughout this case. In fact, Plaintiffs’ recent Motion for Leave

to Serve Net Worth Discovery contained a 50+ page recitation of evidence relating to internal

editorial discussions. Indeed, one of the most oft-cited documents in this lawsuit, having

been featured in every deposition and numerous briefs, is an email from InfoWars’ chief

editor telling another editor that he warned Ms. Jones that his sources on Sandy Hook were

“batshit crazy.” 74 The depositions and briefing in these cases have featured dozens of

documents containing editorial discussions of Sandy Hook. Ms. Karpova was not prepared to

address any of these discussions, denying that they even existed.

           D.         Ms. Karpova was not prepared to testify about the company’s knowledge
                      of the Plaintiffs.

           Ms. Karpova could not testify about the company’s knowledge of the Plaintiffs or the

documents produced concerning the Plaintiffs. For example, Defendants provided a set of

electronic documents a few days before this Court’s October 25, 2021 sanctions hearing.

Included in those documents were folders containing documents specific to the four

plaintiffs. The folder for Mr. Pozner contained a single document: a 187-page comprehensive

background report on Mr. Pozner and dozens of his relatives. When asked about this

document, Ms. Karpova could not provide any testimony:

                Q. Have you ever seen that? Have you seen that before today?
                A. No, I have not.
                Q. So in terms of the document, a single document that was recently
                   produced to me about Leonard Pozner, you've never seen.
                A. If this is the single document you're talking about.
                Q. That's it. Uh-huh.
                A. No.
                Q. Okay. Do you see where it says FSSTX dash 8085544?
                A. Yes.

74   Id. at 252:14.


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              Q. Okay. You don't know what this is, do you? If I wanted to ask you
                  what is this, you couldn't tell me.
              A. It looks like a background information.
              Q. Right. I mean, I can figure that out, right? Like, we can look at the top
                  at the table of contents right here, and it says “For Licensed
                  Investigator Purposes Only.” Do you see where it says that?
              A. Yes.
              Q. And then do you see where it says “Leonard Pozner Comprehensive
                  Report?
              A. Yes.
              Q. Do you see where it has all these entries about all this information
                  about Leonard Pozner?
              A. Yes.
              Q. This is a lot of knowledge that the company has in its possession
                  concerning Leonard Pozner. You'd agree with that?
              A. Yes. 75
              …
              Q. Do you see where it says page 66 for possible relatives? Can you flip
                  to page 66 in that document for me?
              A. (Witness complies.)
              Q. This is a bunch of people's personal information, isn't it?
              A. Yes.
              Q. And you can't tell me why the company has this, can you?
              A. I don't know.
              Q. So when it comes to testifying about the company's knowledge of
                  Leonard Pozner, which you can now see, it is extremely extensive,
                  you're not prepared to testify about that today, right?
              MR. REEVES: Objection; form.
              A. Well, the company was asked for the knowledge of the plaintiffs.
              Q. Uh-huh. Lenny Pozner is a plaintiff, right?
              A. This is what they produced about the knowledge of the plaintiff.
              Q. Right. I understand that. I asked for a request for production of
                  documents. Then I asked for your testimony. Part of the reason I
                  asked for your testimony and the knowledge of the plaintiffs is
                  because you produced to me -- your company produced to me -- a
                  187 page comprehensive background report on Leonard Pozner,
                  and I wanted to know why. And I wanted to ask questions about that
                  document. I wanted to know what was inside of it. I wanted to know
                  the information that the company had and what they did with it. You
                  can't answer any of that, can you?
              A. Well, this is -- just looks like a typical, like, investigation report done
                  on a person.
              Q. You have no idea where it comes from, do you, Ms. Karpova? None,
                  right?

75   Id. at 219:19-220:24.


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            A.   This is a document that you were provided by the company.
            Q.   Yeah. Where did the company get it? Do you know?
            A.   (No response.)
            Q.   So you don't know, correct?
            A.   Are you talking about specific people? No.
            Q.   You have no -- let's make this really clear. You have zero knowledge
                 about this document, none whatsoever, correct?
            A.   Not other than it being an investigation report on Leonard Pozner.
            Q.   Which you have seen now –
            A.   Back -- background -- background information.
            Q.    Which you have now seen for the very first time, correct?
            A.   Yes. 76

        Ms. Karpova was also unable to give testimony concerning the videos made by the

company about Mr. Pozner:

            Q. You know Mr. Jones did a video in February 15, 2015 about Mr.
                Pozner. You know that, right?
            A. I don't have the video in front of me. 77
            …
            Q. You understand InfoWars took Mr. Pozner's address and put it on
                air to its viewers. You know that, right?
            MR. REEVES: Objection; form.
            Q. Or do you not know that?
            A. I do not have the record of it right now. 78

        Ms. Karpova was also unable to give any testimony about the correspondence the

company has had with Mr. Pozner:

            Q. Have you seen the email Leonard Pozner wrote to the company
               weeks after the shooting? Have you seen it?
            A. I don't have the recollection of it.
            Q. So in terms of trying to get up to speed on the company's knowledge
               of the Plaintiffs in terms of complaints that Leonard Pozner may
               have made to InfoWars, you haven't seen those, have you?
            A. I haven't seen the email you're talking about.
            Q. Right. Yeah. You know that both Paul Watson and Alex Jones, like,
               worked on responses to send to Leonard Pozner? Have you seen
               those?
            A. I've seen, like I said, a lot of documents.

76 Id. at 221:9-223:2-11.
77 Id. at 145:8-11.
78 Id. at 145:24-146:4.




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            Q. I'm not asking you --
            A. (Cross-talk.)
            Q. So that’s what I'm asking you. When you got prepared to talk to me
               about the company's knowledge of the Plaintiffs, you haven't even
               seen the correspondence that InfoWars has had with that Plaintiff,
               right?
            A. I have not.
            Q. You don't deny Mr. Pozner complained to InfoWars about its
               coverage within weeks of the shooting, right? You do acknowledge
               that. The company acknowledges that. The company has that
               knowledge. Or do you not know if the company has that knowledge?
            A. I don't have specific dates of his complaints. 79

         Ms. Karpova admitted that when it comes to the company’s knowledge of the

Plaintiffs and the “documents [Defendants] produced as it relates specifically to those four

clients,” she has only “[c]ursory knowledge of Leonard Pozner and no knowledge of the other

people.” 80 In fact, Ms. Karpova admitted she was not prepared to testify about the company’s

knowledge of any other Plaintiff:

            Q. What about Scarlett Lewis, do you know what the company has in
               terms of information about Scarlett Lewis?
            A. No.
            Q. Do you know what information the company has about Neil Heslin?
            A. No.
            Q. Do you know what information it has about Veronique De La Rosa?
            A. No. 81

         Defendants have twice produced a small collection of documents regarding Ms. De La

Rosa, Ms. Lewis, and Mr. Heslin -- first in 2019 and again in 2021 -- but Ms. Karpova was

unaware of these documents. Ms. Karpova also denied InfoWars had gathered information

on Mr. Heslin:

            Q. Are you sitting here and telling me today the company hasn't
               produced documents on those folks?
            A. No, the company has no knowledge.

79 Id. at 217:2-218:3.
80 Id. at 219:1-7.
81 Id. at 223:12-21.




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           Q. Really? Okay. So InfoWars' employees weren't researching materials
              about Mr. Heslin?
           A. There are -- there's no records of any employees researching things
              like that that --
           Q. Yeah, there are. Unfortunately for you, Ms. Karpova, there definitely
              are. 82

        Ms. Karpova’s testimony is contradicted by Defendants’ document production.

Among the few documents produced by InfoWars discussing Mr. Heslin are multiple emails

showing that InfoWars anchor David Knight was researching hit-pieces about Neil Heslin’s

past immediately after Mr. Heslin’s appearance on Megyn Kelly in 2017. These documents

were later discussed in Mr. Jones’ deposition. 83 Defendants also produced documents about

the other Plaintiffs, but Ms. Karpova had no awareness of those documents.

        Finally, Ms. Kaprova admitted that the only materials she reviewed in preparing to

testify about the company’s knowledge of the Plaintiffs were two articles about Noah Pozner

having an open casket at his viewing service:

           Q. The only two pieces of documentation that you have reviewed for
              this deposition about the Plaintiffs are two articles, both of which
              discuss in the article Noah Pozner's open-casket funeral, correct?
           A. Yes. 84
           …
           Q. Okay. So when it comes down to the documents that you reviewed
              for this deposition about the Plaintiffs, the only information that
              you're really gleaning from this that's useful to this deposition
              concerns Noah Pozner's open casket and the appearance of his body,
              correct?
           A. It was useful to some of the points.
           Q. I'm not asking what it's useful for. I'm asking you that of all the
              documents that you reviewed about the plaintiffs, the only piece of
              information that you have had gleaned from those documents that
              is relevant to this deposition concerns Noah Pozner's open-casket
              funeral and the appearance of his body, correct?
           A. These are the articles that I had chosen to bring.

82 Id. at 224:16-25.
83 Exhibit 5, December 4, 2021 Deposition of Alex Jones, 71:8-73:24.
84 Exhibit 4, December 3, 2021 Deposition of Free Speech Systems, LLC, at 34:8-12.




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                Q. So that is correct, right?
                A. (No response.)
                Q. Let's try it this way. You can't give me another piece of information
                   out of either of those two articles that you believe is relevant to this
                   deposition, right, other than Noah Pozner's open-casket funeral and
                   the appearance of his body?
                A. Correct. Those are the articles for it, yes.
                Q. And those are the only articles that you've reviewed about the
                   plaintiffs in preparation for this deposition, correct?
                A. Yes. 85

           With a trial on damages approaching, one of the chief purposes of this deposition was

to discover what knowledge and information Defendants possessed about the Plaintiffs. Due

to Ms. Karpova’s lack of preparation, those discussions were impossible, irreparably

prejudicing Plaintiffs’ trial.

           E.       Ms. Karpova was not prepared to testify about the documents produced
                    by the company in response to Plaintiffs’ discovery requests.

           Throughout the deposition, Ms. Karpova showed she was unfamiliar with Defendants’

document production. As shown above, she totally uninformed as it concerned documents

about the Plaintiffs. She was also unprepared to testify about numerous documents which

have featured prominently in the case. Even worse, she testified that she did not review any

documents produced in the case. After prompting from her counsel, Ms. Karpova later

claimed that she did review documents relating to this topic, but she could not identify those

documents, nor did she bring them to the deposition. Ms. Karpova testified as follows:

                Q. You thought it was important to bring articles about Noah Pozner's
                   open-casket funeral, but did not think you should bring documents
                   that you reviewed relevant to topic number four, correct?
                A. Correct. 86
                …
                Q. Would the documents fit in this folder (indicating)? Would they all
                   fit in here do you think?

85   Id. at 34:19-35:21.
86   Id. at 41:16-21.


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              A. I think so.
              Q. Okay. So you wouldn't need, say, like this to hold all them all. You
                 could hold them all -- not in a banker's box like this, but in a manila
                 folder like this, correct? Is that accurate?
              A. Yes.
              Q. Now, surely you remember some of those documents, right?
              A. I'm not sure. 87
              …
              Q. So sitting here today you can't identify any of the documents you
                 reviewed. So you're not going – none of your testimony today is
                 going to be based on those documents, correct?
              A. Not -- not off the top of my head. 88

         Ms. Karpova was also unprepared to speak to any specifics regarding the document

production, nor could she address which requests InfoWars’ produced documents. 89 Due to

her lack of preparation, Plaintiffs was unable to secure testimony on this topic.

         F.        Ms. Karpova was not prepared to testify about efforts made by the
                   company to preserve potential evidence.

         Ms. Karpova could not answer questions about Defendants’ document preservation

efforts. Ms. Karpova did not know when a letter went out through the company issuing a

litigation hold. 90 Ms. Karpova also had no knowledge of document preservation requests

from the Plaintiffs or the company’s actions in response to those requests:

              Q. Let me ask you this. Has the company ever received any
                 correspondence from the plaintiffs saying please preserve evidence?
                 Do you know?
              A. I don't have any documents on that that I understand.
              Q. Okay. So in terms of getting ready to testify about efforts made to
                 preserve documents, you have not seen any correspondence from
                 the plaintiffs or their counsel asking to preserve documents?
              A. I have not. Point number five has anything to do with efforts made
                 by the company to preserve potential evidence.
              Q. Right. And here's what I'm getting at, Ms. Karpova, is that I want to
                 know when the plaintiffs served a request to preserve documents

87 Id. at 44:6-19.
88 Id. at 46:1-5.
89 See, e.g., id. at 229-233.
90 Id. at 242:11.




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                 back in April of 2018, one, if you have seen it, and two, if the company
                 actually did anything. And from what I understand, you didn't ever
                 see that correspondence, right?
              A. I haven’t. 91

           In addition, Ms. Karpova knew nothing about efforts made to preserve InfoWars’

various internal communication systems.

              Q.    You know who Rocket.Chat is, right?
              A.    Yes.
              Q.    Okay. Is the company still using that?
              A.    Yes.
              Q.    Do you know when Rocket.Chat was searched?
              A.    No.
              Q.    Okay. Do you know when it was preserved?
              A.    No.
              Q.    Okay. What about Yahoo Messenger, do you know when that was
                    used? Was that used during the events of this lawsuit?
              A.    No, don't know.
              Q.    Okay. What about Slack, was Slack used during the events of this
                    lawsuit, since 2013?
              A.    I'm not sure.
              Q.    Okay. Was any efforts made to preserve any messaging systems like
                    Slack?
              A.    I don't know for sure.
              Q.    Okay. What about things like Basecamp? Do you know what
                    Basecamp is?
              A.    Yes.
              Q.    Okay. Was anything done to preserve Basecamp?
              A.    I don't know any Basecamp associations with InfoWars.
              Q.    Okay. Let me ask you this. Does InfoWars -- have they used
                    Basecamp? Have employees used that to communicate with each
                    other?
              A.    No, not that I know of.
              Q.    Okay. Not that you know of, right?
              A.    I've never heard of Basecamp being a communication platform for
                    InfoWars employees.
              Q.    I hadn't either. And it was strange because we requested -- obviously
                    we requested and asked for it, what are your communication
                    platforms. Whatever, that's a whole other story. But I recently got
                    produced a document from Paul Watson that talks about his
                    Basecamp communications with another employee. And I'm just


91   Id. at 243:8-244:1.


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                   wondering when was Basecamp used. But you aren't familiar with
                   Basecamp?
                A. No.
                Q. Okay. So by the same token if were there any efforts made to
                   preserve Basecamp messages, you don't know what those steps
                   were?
                A. No. 92

           Each of these issues has come up in prior corporate depositions and in the parties’

briefing. Nonetheless, Ms. Karpova had not been prepared to give any testimony on this topic.

           G.       Ms. Karpova was not prepared to testify about the audience reach of the
                    videos described in Plaintiffs’ petitions.

           Ms. Karpova made no efforts to learn any information relevant to the audience reach

of the videos in Plaintiffs’ petitions. Ms. Karpova could not identify everywhere the videos

appeared or were disseminated by InfoWars, and she made no attempts to secure audience

size information for any of the different mediums:

                Q. InfoWars is currently broadcast on over 200 radio stations, correct?
                A. Around there.
                Q. Okay. What did you do to go find out their viewership and audience
                   for those dates?
                A. There would be no information.
                Q. How do you know that? Who did you ask? Have you gone to -- let me
                   back this up. How many of those radio stations did you make
                   requests to?
                A. I didn't.
                Q. Okay. Did you do anything to figure out what those radio stations
                   audienceship was at the time those videos were broadcast?
                A. No.
                Q. Okay. At the time of the videos described in the plaintiffs' lawsuit,
                   how many over-the-air television stations from 2013 to 2018?
                A. I don't have the exact number.
                Q. So if I wanted to establish what the audience reach was of over-the-
                   air television broadcast of InfoWars, you can't help me with that
                   because you don't even know how many there are in terms of over-
                   the-air television, right?
                A. Well, the topics asked for specific videos and the reach of those
                   videos.

92   Id. at 245:14-247:8.


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              Q. Uh-huh. And those videos were broadcast on over-the-air television,
                  right?
              A. I would say during -- well, not necessarily. Some of the videos could
                  have been posted as standalone videos.
              Q. A lot of “coulds” in this room. We don't know, do we? Right? So we
                  know -- one thing we do know is at least some of them were
                  broadcast over-the-air television, right?
              A. Yes. 93
              …
              Q. How many cable packages was InfoWars carried on between 2013
                  to 2019?
              A. That wasn't part of the questions. I could have found that
                  information for you from an Affiliate Relations person.
              Q. Part of InfoWars’ audience reach is the people that it reaches over
                  cable packages, right?
              MR. REEVES: Objection; form.
              Q. Isn't that true?
              A. That is a very specific question pertaining to a department, a
                  particular department that would need to be --
              Q. And you didn't go do that?
              A. No. That wasn't in the scope of the questions.
              Q. So in terms of the audience reach of these videos that was reached
                  on any cable packages, you don't have any information on that for
                  me today?
              A. No.
              Q. Okay. How many OTT services -- well, first of all, do you know what
                  an OTT service is?
              A. What is it?
              Q. Over-the-top.
              A. Okay.
              Q. Over-the-top box systems.
              A. Okay.
              Q. Like, I think one example might be, like, Roku.
              A. Okay.
              Q. That would be an example of an OTT system. InfoWars has
                  frequently promoted that it's on multiple OTT systems, right?
              A. But the company would have no -- the company would keep no track
                  of those kinds of views.
              Q. But you don't know if that information is accessible, do you?
              A. There's no information for me that.
              Q. Well, let's fist figure out the first thing that I might need if I'm going
                  to try to figure out the audience reach was, which is how many OTT
                  packages is InfoWars included on?
              A. I would have to go back and check on that.

93   Id. at 225:16-227:3.


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                Q. So in terms of the reach -- the audience reach of the audience that
                   was reached through those OTT packages, InfoWars has no
                   information to offer today.
                A. Correct. 94

           In order to answer questions about the audience reach and various mediums of

distribution, Ms. Karpova claimed she would have to talk to employees in InfoWars’ Affiliate

Relations department. This answer by Ms. Karpova was especially surprising since InfoWars’

Affiliate Relations department was discussed at length in connection with Plaintiffs’ pending

sanction motion regarding post-remand written discovery. In that briefing, Plaintiffs showed

how InfoWars’ evasive answers about its audience reach and channels of distribution were

not made in good faith given the existence of InfoWars’ Affiliate Relations department.

Plaintiffs’ briefing even included public statements made by the manager of InfoWars’

Affiliate Relations department. These matters were also discussed at oral hearing, where

Plaintiffs’ counsel again raised the problems with InfoWars’ written discovery on this topic.

Nonetheless, Ms. Karpova was unprepared to address these issues and had not spoken with

Affiliate Relations about where InfoWars videos were distributed and what audiences they

reached.

           H.       Ms. Karpova was not prepared to testify about the company’s business
                    structure and relationship with other parties.

           As this Court may recall from both the Sandy Hook lawsuits and the Fontaine case,

Plaintiffs have faced immense difficulty in securing information about the business of

structure of Mr. Jones’ companies. Plaintiffs had no better success in Ms. Karpova’s

deposition. Ms. Karpova was unprepared to testify regarding the basic facts about InfoWars,




94   Id. at 227:10-229:3.


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LLC. For example, Ms. Karpova did not know if InfoWars, LLC was a holding company. 95

However, Defendants admitted in the Furie copyright litigation that InfoWars, LLC “is an

intellectual property holding company.” Furie v. Infowars, LLC, 401 F. Supp. 3d 952, 970 (C.D.

Cal. 2019). Likewise, Ms. Karpova denied that InfoWars, LLC was a subsidiary of Free Speech

Systems. 96 Yet more than two years ago, Defendants’ counsel stated InfoWars, LLC would be

considered as “a subsidiary of Free Speech Systems” for the purposes of this litigation. 97

Because Ms. Karpova did not even understand InfoWars, LLC or its purpose as a holding

company, it was clear she was unprepared to testify about the company.

III.    Mr. Jones’ Deposition Further Demonstrates Defendants’ Bad Faith.

        Mr. Jones appeared for deposition the day after Ms. Karpova. During his belligerent

testimony, the first words out of Mr. Jones’ mouth again made clear his utter contempt for

these proceedings:

           I know that my seventh amendment rights were violated by a political
           show trial. Yes, I do know that. 98

        Mr. Jones later testified that:

           The death penalty sanction with all the stuff we produced I believe was
           a fraud. And it's because they're scared of the real evidence coming out
           and want to be able to tell a jury that this man is guilty, now you decide
           how guilty. 99
           …
           I know I didn't get a jury trial. I know a judge said I was guilty. I don't
           believe that I live in the Soviet Union. 100




95 Id. at 244:16-24.
96 Id. at 244:2-4.
97 Exhibit 1, April 3, 2019 Hearing Transcript in Lewis, p. 33.
98 Exhibit 5, December 4, 2021 Deposition of Alex Jones, 1:23-25.
99 Id. at 11:17-22.
100 Id. at 13:22.




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        Mr. Jones testified that if this Court’s conduct “isn't fraud, then nothing is.” 101 Mr.

Jones also blew off his obligations by claiming that he did not spend much time thinking

about the discovery requests served by Plaintiffs’ counsel:

           Q. You remember we talked in that last deposition about the
              Bloomberg email where Bloomberg sent an email out to his people,
              said get ready in the next 24 hours, there's going to be a big event?
              You remember that?
           A. That was a news story, yeah. 102
           …
           Q. And then you remember you told me you could find it for me. Right?
           A. Yeah, I believe I said that.
           Q. And then you never gave it to me, did you?
           A. To be honest with you, Bankston, you don't really inhabit much in
              my mind.
           Q. I know, yeah. You don't have much respect for any of this process,
              do you? None of it?
           A. I don't think you have respect for America or anything. 103

        It is abundantly clear from Mr. Jones’ own statements that he has no respect for this

process and does not intend on complying with his obligations as it concerns these lawsuits.

Despite all of this Court’s prior interventions (and indeed because of them), Mr. Jones intends

to proceed in bad faith through the remainder of this case, asserting that these cases are a

political show trial after having sabotaged the proceedings.

IV.     InfoWars has the Resources to Properly Prepare its Corporate Designee.

        Given the resources at its disposal, InfoWars had no excuse for its failure to prepare

its deponent. During the deposition, Ms. Karpova was questioned about a document

reflecting revenue to the InfoWars.com online store between 2016 and 2018. 104 Ms. Karpova

testified that the sales revenue reflected in the document during that period was in excess of



101 Id. at 12:22.
102 Id. at 22:5-10.
103 Id. at 22:17-23:1.
104 Exhibit 4, December 3, 2021 Deposition of Free Speech Systems, LLC, at 239:17.




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$165 million. 105 The document shows that InfoWars’ revenue figures rose even after its

social media “deplatforming” in August of 2018. 106 Yet even assuming no growth in revenue

in 2019-2021, it would appear InfoWars has generated another quarter billion dollars in

revenue during the three years of this lawsuit solely from online sales in the InfoWars.com

store. This does not even account for InfoWars’ numerous other revenue streams, which has

included advertisers, click-through promotion revenue, Amazon.com sales, Ebay.com sales,

YouTube monetization, donation drives, and others. According to its net worth interrogatory

answer, Free Speech Systems, LLC appears to possess in excess of $50 million in capital,

which it claims it owe in its entirely to “PQPR Holdings, Inc.,” another shell company

registered by attorney Eric Taube which is owned and controlled by Alex Jones. 107 In his own

net worth interrogatory answer, Mr. Jones’ noted significant assets, including equity interest

in excess of $50 million, an interest note in excess of $25 million, and over $6 million in

various other assets, cash, and cryptocurrency. 108 Given the history of this suit and Mr. Jones’

lack of candor, Plaintiffs also expect that he has additional assets squirreled away, likely in

some other shell company as yet undisclosed.

        In short, Mr. Jones’ operation is not a small business or a “mom and pop” company.

Instead, it is one of the most lucrative media enterprises on the planet, acting as a full-time

informercial for massive sales of dietary and herbal supplements. InfoWars has the

resources to properly participate in corporate discovery and take the steps necessary to

prepare its designee or multiple designees.



105 Id. at 240:3.
106 Exhibit 6, Revenue Spreadsheet, FSSTX-086589.
107 Exhibit 7, Free Speech Systems, LLC Answer to Net Worth Interrogatory;

see also https://opencorporates.com/companies/us_tx/0801863807
108 Exhibit 8, Alex Jones’ Answer to Net Worth Interrogatory.




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V.     This Court Should Enter All Remedies at its Disposal.

       Little more can be said about Defendants’ ceaseless pattern of discovery abuse that

has not already been said. Defendants have sabotaged Plaintiffs’ case at every step of the

proceedings, undeterred by repeated sanctions and contempt findings. Even after the severe

sanction of a liability default, Defendants’ bad faith obstruction continues, now sabotaging

the remaining issues in the case. Obviously, Plaintiffs ask the Court to grant this motion and

award reasonable expenses caused by Defendants’ conduct. In addition, Plaintiffs request

the following remedies:

       A.     Preclude further discovery.

       Rule 215(b)(1) authorizes this Court to enter “an order disallowing any further

discovery of any kind or of a particular kind by the disobedient party.” In this case, where

Defendants have flagrantly sabotaged Plaintiffs’ discovery at every step, Defendants should

not reap the reward of any further discovery from the Plaintiffs. To preserve fairness, this

Court should address Defendants’ ceaseless contempt by terminating discovery.

       B.     Award all litigation costs under Rule 215(b)(2).

       Plaintiffs have expended extraordinary effort pursing discovery for years, only to be

met by consistent obstruction and bad faith. Plaintiffs should not be forced to absorb those

expenses. This Court has already awarded some of the attorney’s fees related to discovery,

but Plaintiffs have incurred numerous other expenses and court costs over the course of the

litigation. This Court is empowered under Rule 215(b)(2) to address this inequity by

entering “an order charging all or any portion of the expenses of discovery or taxable court

costs or both against the disobedient party or the attorney advising him.” Such an award is

appropriate given Defendants’ ceaseless obstruction.



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       C.     Enter evidentiary findings under Rule 215(b)(3).

       These depositions have been sought since they were ordered by the Court in August

2018 yet ignored by Defendants. In particular, the corporate deposition was the last

available avenue to secure necessary information relating to Plaintiffs’ claims for punitive

and compensatory damages. By repeatedly sabotaging this process, Defendants have

prejudiced Plaintiffs’ ability to introduce evidence on the topics of the corporate deposition.

It should be remembered that Plaintiffs’ ability to take a meaningful corporate deposition

had already been severely hamstrung due to Defendants’ false and evasive answers to post-

remand written discovery. Under Rule 215(b)(3), this Court is authorized to order that

“designated facts shall be taken to be established for the purposes of the action.” Here, the

Court should enter an order instructing the jury that relevant facts relating to the eight

corporate deposition topics should be taken as established in favor of the Plaintiffs.

       D.     Assess punitive monetary sanctions for outrageous discovery abuse.

       In addition to awards of attorney’s fees, the Court can award punitive monetary

sanctions. “Trial courts have discretion to impose monetary sanctions within limits” so long

as those sanctions are “directed toward remedying prejudice caused to the innocent party.”

CHRISTUS Health Gulf Coast v. Carswell, 505 S.W.3d 528, 541 (Tex. 2016). In awarding a

punitive monetary sanction, a trial court must “explain its rationale behind the amount

imposed as monetary sanctions or the relationship between the sanctions and particular

conduct.” Id. At 540. In RH White Oak, the Court of Appeals upheld the following justification

for awarding punitive monetary sanctions in addition to attorney’s fees:

              The egregiousness and repetitiveness of Defendants' egregious
              perjury and misconduct exhibits Defendants' total disregard for
              and disrespect of the integrity of this Court and our judicial
              system. The Court finds that Defendants can pay monetary


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              sanctions, if ordered by the Court. Again, Defendants' perjury
              and misconduct go to the heart of this case, is egregious,
              exceptional and exemplifies a pattern of misconduct and
              disregard for truth which is not to be tolerated. Additional
              monetary sanctions are just, appropriate and there is a direct
              relationship between the egregiousness and repetitiveness of
              Defendants', their perjury and misconduct and this sanction
              because this is an exceptional case of perjury and misconduct,
              not about failing to produce one document or one lie, but a
              mountain of evasiveness, lack of candor, concealment,
              numerous outright lies, and total disregard for truth, which is
              the foundation of our judicial system based on truth, rules and
              litigants' compliance with those rules. Accordingly, additional
              monetary sanctions are appropriate, just and not excessive.

RH White Oak, L.L.C. v. Lone Star Bank, 14-16-00840-CV, 2018 WL 4925118, at *6 (Tex.

App.—Houston [14th Dist.] Oct. 11, 2018) (remanded by agreement, Feb. 8, 2019). In this

case, every corrective step taken by the Court and other courts have been ineffective at

altering or deterring Mr. Jones’ contempt for these lawsuits. As such, a severe monetary

penalty is now justified to address Mr. Jones’ determined efforts to sabotage this process.

                                        CONCLUSION

       For all of the reasons above, Plaintiffs ask this Court to grant their motion and enter

all appropriate remedies, as reflected in Plaintiffs’ Proposed Order.

                                           Respectfully submitted,

                                           KASTER LYNCH FARRAR & BALL, LLP


                                           ____________________________________
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                                           WILLIAM R. OGDEN
                                           State Bar No. 24073531
                                           1117 Herkimer
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                                           713.221.8300 Telephone
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                             CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with opposing counsel about this Motion, and they
are opposed.




                                          ____________________________________
                                          MARK D. BANKSTON




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2021, the forgoing document was served
upon the Court and all counsel of record via e-mail. The document was not filed on that
date, pursuant to Protective Order, pending potential action on a Motion to Seal. No action
having been taken, the document has now been filed on December 27, 2021.




                                          ____________________________________
                                          MARK D. BANKSTON




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          Plaintiffs' Proposed
                 Order
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                              D-1-GN-18-001835
 NEIL HESLIN                              §                 IN DISTRICT COURT OF
                                          §
 VS.                                      §                TRAVIS COUNTY, TEXAS
                                          §
 ALEX E. JONES, INFOWARS, LLC,            §                  261st DISTRICT COURT
 FREE SPEECH SYSTEMS, LLC, and            §
 OWEN SHROYER                             §

                              D-1-GN-18-001842
 LEONARD POZNER AND                       §                 IN DISTRICT COURT OF
 VERONIQUE DE LA ROSA                     §
                                          §                TRAVIS COUNTY, TEXAS
 VS.                                      §
                                          §                  345th DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,            §
 and FREE SPEECH SYSTEMS, LLC             §

                              D-1-GN-18-006623
 SCARLETT LEWIS                           §                 IN DISTRICT COURT OF
                                          §
 VS.                                      §                TRAVIS COUNTY, TEXAS
                                          §
 ALEX E. JONES, INFOWARS, LLC             §                   98th DISTRICT COURT
 and FREE SPEECH SYSTEMS, LLC             §


                ORDER ON PLAINTIFFS’ MOTION FOR SANCTIONS
                    REGARDING CORPORATE DEPOSTION



       On this day, the Court considered Plaintiffs’ Motion for Sanctions Regarding

Corporate Deposition. For the reasons below, the Court finds that the Motion should be

granted.




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                                           BACKGROUND

        Defendants’ pattern egregious discovery abuse is well-detailed in the many prior

orders of this Court, 1 but a brief history of Plaintiffs’ attempts to take a corporate deposition

is as follows:

        On August 31, 2018, the Court ordered Defendants to appear for depositions in Mr.

Heslin’s defamation claim (D-1-GN-18-001835). Defendants refused to appear for the

depositions or respond to written discovery. After Plaintiff filed a Motion for Sanctions,

Defendants initiated an appeal.

        On January 25, 2019, this Court ordered Defendants to respond to court-approved

discovery requests and appear for depositions in Ms. Lewis’ IIED case (D-1-GN-18-006623).

Defendants presented Rob Dew as a corporate designee, who was unable to give any

testimony. The Court chastised “the failure of the defendants to present an InfoWars

corporate representative who has a clue about InfoWars as a corporation,” noting that “it

was a pretty meaningless deposition.” Defendants agreed to stipulate to Plaintiff’s petition



1
  In addition to discovery abuse in these cases, the Court has considered Defendants’ consistent
pattern of bad faith litigation tactics and discovery abuse in other cases and courts. First, as described
in this Court’s prior orders, InfoWars has also committed discovery abuse in Fontaine v. InfoWars,
LLC, et al. (D-1-GN-18-1605), a defamation lawsuit relating to the Stoneman Douglass High School
shooting. In that case, InfoWars failed to timely answer written discovery. After InfoWars provided
untimely and evasive responses, Mr. Fontaine was forced to bring a motion to compel InfoWars’
compliance, for which this Court awarded sanctions and attorney’s fees on September 15, 2021. The
Court also notes that Defendants have repeatedly violated discovery orders in Lafferty v. Jones, a
similar lawsuit brought after the instant cases by a different set of Sandy Hook parents in the Superior
Court of Connecticut, ultimately resulting in a default judgment on liability several weeks after this
Court’s entry of default judgment. The Court further notes that Defendants have been sanctioned by
the Texas Court of Appeals for bringing a frivolous appeal in Mr. Heslin’s case. Finally, as noted in the
Court’s default judgment order, Mr. Jones has publicly declared that he considers these lawsuits to
be a “show trial,” showing clear signs that Defendants’ discovery violations are the result of bad faith.
Mr. Jones’ recent deposition confirmed these signs, during which Mr. Jones testified about his
indifference to his discovery obligations.



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for the purposes of the TCPA motion and voluntary pay $8,100 in attorney’s fees to avoid

sanctions at that time.

         Following the events in Lewis, the premature appeal in Mr. Heslin’s defamation case

was dismissed for lack of jurisdiction. Upon remand to this Court in the fall of 2019, InfoWars

again refused to respond or appear for deposition. On October 18, 2019, this Court assessed

sanctions of $25,875, while also ruling that Plaintiff’s burdens were taken as established for

the purposes of the TCPA motion.

         On October 18, 2019, this Court ordered Defendants to appear for deposition in Mr.

Heslin’s IIED case (D-1-GN-18-004651). 2 Again, Rob Dew was produced as the corporate

designee. Again, Mr. Dew had not been prepared and was unable to offer any meaningful

testimony. On December 20, 2019, the Court assessed sanctions totaling $100,000 and held

the Defendants in contempt for intentionally disobeying the order. At that time, the Court

held a default judgment under advisement based on representations by Defendants that

discovery would be promptly supplemented during the appellate stay.

         All of the cases were remanded in June 2021. Defendants had not taken any steps to

address the discovery situation during the appeal, and for the next three months following

remand, Defendants ignored Plaintiffs’ demands for compliance. On September 27, 2019,

this Court issued a default judgment on liability and awarded attorney’s fees of $45,925.

                     THE DECEMBER 3, 2021 CORPORATE DEPOSITION

         Following the default judgment, Plaintiffs again sought the Defendants’ depositions

to secure testimony relevant to the trial on compensatory and punitive damages. Defendants

produced Daria Karpova for the deposition. The transcript of Ms. Karpova’s deposition


2   Subsequently consolidated with D-1-GN-18-001835.


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shows that she was not prepared to discuss any of the eight topics for which she had been

designated. Her testimony as a whole demonstrated profound disrespect for the discovery

process. Ms. Karpova’s lack of preparation was flagrant and egregious, especially given the

repeated refusal to prepare a designee. Plaintiffs have now faced four non-appearances at

corporate depositions on the issues at the heart of their claims despite every remedial action

taken the Court, including the severe sanction of default and over $165,000 in cumulative

attorney’s fees.

                                          FINDINGS

       . The Court finds that, once again, Defendants have intentionally thwarted the

legitimate discovery process in these cases. There is no other way to interpret the refusal to

prepare Ms. Karpova as anything but obstruction of the highest order. The egregiousness

and repetitiveness of Defendants’ obstruction exhibits a total disregard for and disrespect of

the integrity of this Court and our judicial system. Plaintiffs’ discovery of facts necessary to

properly present their claim for damages has been irreparably prejudiced in virtually all

respects. Absent severe action from this Court, Defendants will ultimately profit from their

sabotage of the discovery process.

       The Court therefore ORDERS that:

       1.     Pursuant to Rule 215(b)(1), the Court disallows any further discovery by

Defendants. Any obligation of the Plaintiffs to respond to any pending discovery is

terminated.

       2.     Pursuant to Rule 215(b)(2), the Court orders that Defendants shall pay all of

the expenses of discovery and taxable court costs in these lawsuits. Within 30 days of this

Order, Plaintiffs shall submit evidence setting forth any court costs or attorney’s fees relating



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to discovery or discovery motions, excepting those costs or attorney’s fees which were

already awarded in any prior order of the Court.

       3.       Pursuant to Rule 215(b)(3), the Court orders that designated facts shall be

taken to be established for the purposes of the action. Specifically, the jury will be instructed

that any factual dispute between the parties relating to the following corporate deposition

topics shall be taken as established in favor the Plaintiffs:

            •   Sourcing and research for the videos described in Plaintiffs’ petitions.
            •   Individuals involved in the production of the videos described in
                Plaintiffs’ petitions.
            •   Internal editorial discussions regarding InfoWars’ coverage of the
                Sandy Hook Elementary School shooting.
            •   The company’s knowledge of the Plaintiffs.
            •   The audience reach of the videos described in Plaintiffs’ petitions.
            •   The documents produced by the company in response to Plaintiffs’
                discovery requests.
            •   Efforts made by the company to preserve potential evidence.
            •   The company’s business structure and relationship with other
                parties.

       4.       The Court orders that Defendants shall pay additional punitive monetary

sanctions in the amount of $__________________________________. The Court finds that there is a

direct relationship between additional monetary sanctions and the egregiousness and

repetitiveness of Defendants’ obstruction. Defendants’ pattern of discovery abuse is a truly

exceptional case and exemplifies a course of misconduct which must be deterred lest future

litigants pursue the same path. Given the outrageous nature of the misconduct, the total

failure of prior sanctions, and the massive prejudice to Plaintiffs’ claims, the Court finds that

additional monetary sanctions are appropriate, just, and not excessive. Defendant shall pay

this sanction within 30 days of this Order.




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      Dated ___________________________, 2021.



                                                     _____________________________________
                                                     Hon. Maya Guerra Gamble




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                          Exhibit 1
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      1                          REPORTER'S RECORD
                               VOLUME 1 OF 1 VOLUME
      2               TRIAL COURT CAUSE NO. D-1-GN-18-006623
      3
           SCARLETT LEWIS                        ) IN THE DISTRICT COURT
      4                                          )
                 Plaintiff                       )
      5                                          )
                                                 )
      6    VS.                                   )
                                                 ) TRAVIS COUNTY, TEXAS
      7                                          )
           ALEX E. JONES, INFOWARS,              )
      8    LLC, AND FREE SPEECH                  )
           SYSTEMS, LLC                          )
      9                                          )
                 Defendants                      ) 53RD JUDICIAL DISTRICT
     10

     11
     12        -------------------------------------------------
     13
     14           EXCERPT FROM HEARING ON MOTION FOR SANCTIONS
     15
     16       --------------------------------------------------
     17
     18          On the 3rd day of April, 2019, the following
     19 proceedings came on to be heard in the above-entitled
     20 and numbered cause before the Honorable Scott H.
     21 Jenkins, Judge presiding, held in Austin, Travis County,
     22 Texas;
     23          Proceedings reported by machine shorthand.
     24
     25
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      1                           A P P E A R A N C E S
      2
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                 Houston, Texas 77002
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      8
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      1                                   I N D E X
      2                                    VOLUME 1
      3           EXCERPT FROM HEARING ON MOTION FOR SANCTIONS
      4                                APRIL 3, 2019
      5
                                                                       Page          Vol.
      6
          Argument by Mr. Barnes...............                          4            1
      7
          Further Argument by Mr. Bankston.....                         39            1
      8
          Rule 11 Agreement....................                         53            1
      9
          Adjournment..........................                         54            1
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          Court Reporter's Certificate.........                         55            1
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      1 allegation made by the plaintiffs is true, they cannot
      2 bring this claim as a matter of law as an intentional
      3 infliction of emotional distress claim.                   I'm sure the
      4 answer to this is going to be yes.                 That would mean if
      5 that's -- that's true as to all defendants.                     So they
      6 don't need to worry anymore either about the failure of
      7 the defendants to present an InfoWars corporate
      8 representative who has a clue about InfoWars as a
      9 corporation.
     10                      MR. BARNES:       That's correct, Your Honor.
     11                      THE COURT:       Because you heard me say,
     12 golly, if they prevail as to the other defendants, you
     13 shouldn't be able to kick out InfoWars because they
     14 haven't been able to get information about InfoWars.
     15                      MR. BARNES:       That's correct, Your Honor.
     16                      THE COURT:       But that's taken care of
     17 because it's subsumed within the concession, the broad
     18 concession you made earlier.
     19                      MR. BARNES:       Yes, Your Honor.
     20                      THE COURT:       Okay.
     21                      MR. BARNES:       And one additional component
     22 of that, I had offered the plaintiffs Mr. Jones to be
     23 the InfoWars guy.
     24                      THE COURT:       Say that once again.          I'm
     25 sorry.
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      1                      MR. BARNES:       I'm sorry, Your Honor.
      2                      THE COURT:       No, it's me.       It's me.
      3                      MR. BARNES:       I'm sorry.       Oh, I had offered
      4 the plaintiffs prior to the deposition -- what happened
      5 is on March the 11th, that Monday, the person who had
      6 signed the interrogatories for InfoWars, LLC had -- I
      7 can't disclose -- had a medical emergency that he
      8 actually was hospitalized for.
      9                      THE COURT:       One of the exhibits was some
     10 really generic statement by a doctor, but I saw that.
     11                      MR. BARNES:       I was trying to avoid --
     12 there's strict HIPAA limitations on what I can say.
     13                      THE COURT:       I understand.
     14                      MR. BARNES:       But it was a serious
     15 emergency.        So then I realized we needed to sub them
     16 out.      So one thing that I offered plaintiff's counsel
     17 was I said Alex Jones will be available on the 20th when
     18 they were -- to be the InfoWars representative when they
     19 were also doing other depositions.                 They declined.
     20                      THE COURT:       They declined to have Alex
     21 Jones be the corporate rep for InfoWars?
     22                      MR. BARNES:       For the -- on the -- yes,
     23 Your Honor, on the 20th.             They said they wanted to go
     24 forward on the 15th.            So I assumed, to be honest with
     25 you, that they --
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      1                      THE COURT:       Let me make sure I understand
      2 it, not that this matters anymore in light of your
      3 global concession you've made in this hearing.                      You
      4 offered when to make Alex Jones the corporate rep for
      5 InfoWars and they declined?
      6                      MR. BARNES:       I believe on -- I believe it
      7 was March the 12th, Your Honor.
      8                      THE COURT:       And why did they not want Alex
      9 Jones to be the corporate rep for InfoWars?                     He would be
     10 the person most knowledgeable about InfoWars.
     11                      MR. BARNES:       That he would be available
     12 for that on the 20th, and they wanted the corporate rep
     13 to be deposed on the 15th.
     14                      THE COURT:       Which was the schedule.
     15                      MR. BARNES:       Absolutely.
     16                      THE COURT:       I see.     So you weren't
     17 offering to make Alex Jones the corporate rep on the
     18 date that had already been ordered for the corporate rep
     19 deposition.         You wanted to postpone it and make him the
     20 corporate rep on a later date.
     21                      MR. BARNES:       That's correct, Your Honor.
     22                      THE COURT:       So it was really the timing, I
     23 guess I'll hear, to the extent it matters anymore on
     24 that.
     25                      MR. BARNES:       Yes, Your Honor.
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      1                      THE COURT:       Okay.
      2                      MR. BARNES:       And the way I interpreted it
      3 is -- Rob Dew is the director of production for Free
      4 Speech Systems.          He handles all the -- getting the
      5 broadcasts together.            So I -- and he was already going
      6 to be the person for Free Speech Systems.                    So I thought,
      7 oh, really what they want to get into is how did the
      8 broadcast happen, what information was relied on.                         So
      9 that's why I had him designated as InfoWars.                     And I was
     10 the one that confirmed that it's only a paper entity.
     11 It was formed many years ago originally with the
     12 intentions of putting the website into InfoWars.                       That
     13 never functionally happened.               Then the divorce
     14 proceeding started, so he's advised just to freeze
     15 everything.
     16                      I think to the degree it makes it easier,
     17 we'll probably just make InfoWars, LLC -- rather than
     18 dissolve it, just make it a subsidiary of Free Speech
     19 Systems.       That simplifies it across the board.                 But
     20 there was no goal or objective of trying to not have
     21 someone available.           I thought they were looking at just
     22 the production side, this is the same guy that knows the
     23 production side, so I'll produce him.                  And because he
     24 was relying upon me for his information about InfoWars,
     25 that was where he didn't go into detail on that aspect.
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      1 But there was no goal whatsoever to have someone
      2 unavailable for those purposes.                It's just an entity
      3 that only exists on paper, and all Alex Jones could say
      4 is the exact same thing.             It exists on paper.          The
      5 lawyers did it.
      6                      THE COURT:       Well, he'd say more than that
      7 witness.       I mean, the part of the transcript I read, he
      8 was clueless about InfoWars.
      9                      MR. BARNES:       Yeah, I mean, he has very
     10 limited --
     11                      THE COURT:       The deponent just knew nothing
     12 about InfoWars, so it was a pretty meaningless
     13 deposition in terms of explicating InfoWars as an
     14 entity.
     15                      MR. BARNES:       It only exists on paper, so
     16 there's not -- like I didn't know what else --
     17                      THE COURT:       I understand, but he didn't
     18 even really explain that, but okay.
     19                      MR. BARNES:       Oh, yeah.      That's because I
     20 thought they were really having him there for the other
     21 purposes.
     22                      THE COURT:       Okay.
     23                      MR. BARNES:       There was, again, no goal or
     24 objective to in any way withhold information or anything
     25 else.      So, again, we'll accommodate the plaintiffs
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                           Exhibit 2
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                          CAUSE NO. D-1-GN-19-004651

       NEIL HESLIN                         *    IN THE    DISTRICT     COURT
                                           *
       VS.                                 *
                                           *    OF TRAVIS COUNTY, TEXAS
       ALEX E. JONES, INFOWARS,            *
       LLC, and FREE SPEECH                *
       SYSTEMS, LLC                        *    261ST JUDICIAL DISTRICT




                    **********************************

                        VIDEOTAPED ORAL DEPOSITION OF

                                       ROB DEW

                               November 26, 2019

                    **********************************




              VIDEOTAPED ORAL DEPOSITION OF ROB DEW, produced as

      a witness at the instance of the Plaintiff, and duly

      sworn, was taken in the above-styled and numbered cause

      on the 26th of November, 2019, from 1:27 p.m. to

      3:22 p.m., before Micheal A. Johnson, RDR, CRR, CSR,

      Certified Shorthand Reporter in and for the State of

      Texas, reported by machine shorthand, at the law offices

      of Burnett Turner, 6034 West Courtyard Drive, Suite 140,

      Austin, Texas pursuant to the Texas Rules of Civil

      Procedure and the provisions stated on the record or

      attached hereto.
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 1             APPEARANCES
                                                                 1               DEPOSITION EXHIBITS
 2 ON BEHALF OF THE PLAINTIFF
   NEIL HESLIN:                                                                    ROB DEW
 3                                                               2               November 26, 2019
      Bill Ogden
 4    Mark D. Bankston
                                                                 3
      FARRAR & BALL, LLP                                             NUMBER             DESCRIPTION        MARKED
 5    1117 Herikimer Street
                                                                 4
      Houston, Texas 77008
 6    (713) 221-8300                                                 Exhibit 1   Order on Plaintiffs’ Motion 6
      bill@fbtrial.com                                           5           for Expedited Discovery in
 7    mark@fbtrial.com
 8
                                                                             Aid of Plaintiff’s Response
   ON BEHALF OF THE DEFENDANTS                                   6           to Defendants’ TCPA Motion
 9 ALEX E. JONES, INFOWARS, LLC
                                                                 7 Exhibit 2     04/24/2018 E-mail, Rob Dew    67
   AND FREE SPEECH SYSTEMS, LLC:
10                                                                           to Melinda Flores, et al.
      T. Wade Jefferies                                          8           Heslin (19-4651) - 000627
11    THE LAW FIRM OF T. WADE JEFFERIES
      401 Congress Avenue, Suite 1540
                                                                 9
12    Austin, Texas 78701                                       10
      (512) 201-2727
                                                                11
13    twadejefferies@twj-law.com
14                                                              12
   VIDEOGRAPHER:                                                13
15
      Robie Rowley
                                                                14
16                                                              15
17 ALSO PRESENT:
                                                                16
18    Brooke Binkowski
19                                                              17
20                                                              18
21
22
                                                                19
23                                                              20
24
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                                                            3                                                                   5
 1                INDEX                                          1                   PROCEEDINGS
                 ROB DEW
 2             November 26, 2019                                 2             THE VIDEOGRAPHER: We are on the record.
 3                                                               3   This is the videotaped deposition of Rob Dew. Today’s
      APPEARANCES                         2                      4   date is November 26, 2019, and the time is 1:27 p.m.
 4
      PROCEEDINGS                         5                      5         Would you please swear in the witness.
 5                                                               6                    ROB DEW
 6                                                               7   having been first duly sworn, testified as follows:
     EXAMINATION OF ROB DEW:
 7                                                               8                   EXAMINATION
      BY MR. OGDEN                        5                      9   BY MR. OGDEN:
 8                                                              10      Q. Please state your name.
 9
      CHANGES AND SIGNATURE                   92                11      A. Rob Dew.
10                                                              12      Q. Mr. Dew, what -- why are you here today?
      REPORTER’S CERTIFICATION                94                13      A. You guys have questions for me.
11
12                                                              14      Q. Do you have -- can you tell us what your
13                                                              15   understanding is about what those questions are going to
14                                                              16   be about?
15
16                                                              17      A. They have to do with the Sandy Hook lawsuit.
17                                                              18      Q. Okay. You’re here as a corporate
18                                                              19   representative. You understand that?
19
20                                                              20      A. Yes.
21                                                              21      Q. And you’ve testified on behalf of -- as a
22                                                              22   corporate representative before, correct?
23
24                                                              23      A. Correct.
25                                                              24      Q. As you sit here right now, who are you a
                                                                25   corporate representative for?




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 1       A. Free Speech Systems.                                     1       Q. Did you talk to him?
 2             (Deposition Exhibit 1 marked for                      2       A. We share an office, but we don’t -- so I have
 3              identification.)                                     3   talked to Darrin McBreen. I don’t -- it wasn’t about
 4       Q. (BY MR. OGDEN) I’m going to hand you                     4   preparing for this -- for this at all.
 5   Exhibit 1.                                                      5       Q. Are you prepared to testify as to the
 6       A. Okay.                                                    6   discussions Darrin McBreen has had with individuals at
 7       Q. Have you seen Exhibit 1 before?                          7   Free Speech Systems regarding the sourcing and research
 8       A. I’ve seen a lot of these. Let me just look               8   for videos described in plaintiff’s petition?
 9   through it real quick.                                          9       A. Am I -- repeat that again. Am I prepared to --
10       Q. And to shortcut this, I can tell you it’s at            10       Q. You understand Topic a) in Exhibit 1?
11   the bottom of page 1, top of page 2.                           11       A. Right.
12       A. Bottom of page 1, top of page 2, yes.                   12       Q. Are you prepared to give testimony today
13       Q. Those are the topics. It’s double-sided.                13   regarding Darrin McBreen as it applies to Topic a)?
14       A. Okay. Right. Okay.                                      14       A. That depends on what your question would be.
15       Q. Which of the four topics listed at the bottom           15   I’m not sure if I have the answer to any questions about
16   of page 1 and top of page 2 of Exhibit 1 are you               16   Darrin McBreen.
17   prepared to discuss today?                                     17       Q. What type of information and research -- excuse
18       A. I am prepared to discuss a), Sourcing and               18   me. What type of research did Darrin McBreen do
19   research for the videos described in Plaintiff’s               19   regard -- involving the videos in plaintiff’s petition?
20   petition, and b), Internal editorial discussions               20       A. I wouldn’t consider him a researcher.
21   regarding Free Speech Systems’s coverage of Sandy Hook         21       Q. Has he ever done research?
22   Elementary School shooting.                                    22       A. He has done research, but I --
23       Q. What did you do to prepare for your deposition          23       Q. Has he done Sandy Hook research?
24   testimony today regarding sourcing and research for the        24       A. Not that I know of. He does -- he makes
25   videos described in plaintiff’s petition?                      25   graphics and makes things look good on video.




                                                                7                                                                   9
 1       A. Not much, other than speak with my attorney.             1      Q. He also does research, though?
 2       Q. Did you look at any documents?                           2      A. He does when he does his own stuff, his own
 3       A. I looked at this document, and that’s it in              3   reporting.
 4   terms of preparing for this.                                    4      Q. Did you ask him if he’s done research for Sandy
 5       Q. Did you talk to any fellow employees?                    5   Hook?
 6       A. Other than Alex Jones, I think, no.                      6      A. No, I didn’t ask him that.
 7       Q. You would agree with me there are a number of            7      Q. So you don’t know whether or not he’s done
 8   employees that were researchers or were involved in the         8   research for Sandy Hook?
 9   sourcing process of getting Sandy Hook information,             9      A. I can’t remember any videos he was involved
10   correct?                                                       10   with making.
11       A. There was -- yeah, I would agree there’s more           11      Q. Right. That wasn’t my question, though.
12   than one employee doing that.                                  12   Because I’m not asking you personally. I’m asking you
13       Q. Why didn’t you talk to any of them?                     13   as the corporate representative, and you were tasked
14             MR. JEFFERIES: Objection, form.                      14   with preparing yourself to discuss Topic a) as it
15         Go ahead.                                                15   applies to the entire company.
16       A. Talk to any of the employees? I would say most          16         So my question is, are you prepared to discuss
17   of the employees that were there back then are not there       17   the research that Darrin McBreen was involved with
18   now.                                                           18   regarding Sandy Hook?
19       Q. (BY MR. OGDEN) Okay. Is Buckley Hamman still            19      A. I would say no.
20   there?                                                         20      Q. Okay. Josh O, does that ring a bell?
21       A. No.                                                     21      A. Josh O. In what context?
22       Q. Is Nico?                                                22      Q. In -- as an employee for InfoWars.
23       A. No.                                                     23      A. As an employee. There was a Josh that used to
24       Q. Is Darrin McBreen?                                      24   work there.
25       A. He is still there.                                      25      Q. Doesn’t work there anymore?




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 1       A. No.                                                       1       Q. Does Free Speech Systems know whether or not
 2       Q. Okay. Jakari Jackson?                                     2   Marcos Morales has done research on Sandy Hook regarding
 3       A. He does not work there.                                   3   the videos in plaintiff’s petition?
 4       Q. Melissa Melton?                                           4       A. I don’t think he’s been involved in any of
 5       A. Does not work there.                                      5   that.
 6       Q. Marcos Morales?                                           6       Q. I didn’t ask whether or not you thought. I
 7       A. He does still work there.                                 7   asked whether or not Free Speech Systems knows whether
 8       Q. Did you speak with Marcos Morales about                   8   or not Marcos Morales has done any research for the --
 9   sourcing and research that he did for videos described           9   pertaining to the videos in plaintiff’s petition?
10   in plaintiff’s petition?                                        10       A. I can’t answer that.
11       A. No, I did not speak with him.                            11       Q. And that’s because you don’t know on behalf of
12       Q. So you would agree you’re not prepared to                12   the company?
13   discuss the research that Marcos Morales has done for           13       A. Well, going back to the best of my knowledge, I
14   the videos described in plaintiff’s petition?                   14   do not know.
15              MR. JEFFERIES: Objection, form.                      15       Q. You understand that when you were tasked as the
16              THE WITNESS: Answer?                                 16   corporate representative on that topic, that you had a
17              MR. JEFFERIES: Yeah.                                 17   duty to prepare yourself to discuss that topic? Do you
18       A. To my knowledge, Marcos Morales did not do any           18   know that?
19   research with regards to Sandy Hook.                            19       A. I didn’t understand that.
20       Q. (BY MR. OGDEN) Right. But I’m not asking you             20       Q. Okay. Nobody has explained that to you --
21   about your knowledge. I’m asking you what you did --            21       A. No.
22   whether or not you prepared yourself to give me an              22       Q. -- prior to right now?
23   answer on behalf of the company today.                          23       A. Prior to right now.
24       A. Sure. And what I’m saying is, if I know they             24       Q. You were under the impression you were to come
25   didn’t do anything, I didn’t go ask them if they did            25   in here, sit down and testify as to what you know




                                                                11                                                                   13
 1   anything.                                                        1   personally and that’s it?
 2       Q. Has Marcos Morales ever done any research for             2      A. No, that’s not what I understood. I understood
 3   Sandy Hook?                                                      3   that I was the corporate representative. But I did not
 4       A. Not to my knowledge.                                      4   know I was supposed to go talk to Marcos Morales.
 5       Q. So is that a yes or a no?                                 5      Q. What did you think you were supposed to do?
 6       A. That’s a not to my knowledge that he’s done it.           6      A. Well, Marcos Morales didn’t have anything to do
 7       Q. So you don’t know, correct?                               7   with any of the production work. So I don’t know how
 8       A. I don’t know that he -- I do know that he                 8   that -- it’s like asking the janitor, you know, if they
 9   hasn’t made any videos. He may have been in on a live            9   did any research.
10   presentation, but like maybe cut switching the cameras,         10      Q. When it comes to sourcing, InfoWars has an
11   but he’s not a -- he’s not a -- someone we would rely on        11   e-mail address that it puts out where tips can be sent,
12   for research. He’s someone that is more of a technical          12   correct?
13   operator.                                                       13      A. We used to, yes.
14       Q. Okay.                                                    14      Q. You understand that there’s a lot of documents
15       A. So that’s why I would never have asked him               15   that were produced in the Lewis case, correct?
16   anything about it.                                              16      A. Uh-huh.
17       Q. Has Marcos Morales ever done any research                17      Q. Is Marcos -- did Marcos ever answer any of
18   regarding Sandy Hook?                                           18   those e-mails?
19       A. Not that I know of.                                      19      A. I don’t know. I didn’t look at all the
20       Q. Did you ask him?                                         20   e-mails.
21       A. I did not ask him.                                       21      Q. Did he ever open them and forward them to other
22       Q. So you don’t know?                                       22   employees of InfoWars or Free Speech Systems?
23       A. I think I explained my position on that.                 23      A. Okay. I see what you’re getting at. At the
24       Q. Do you know or not? Let me clear it up.                  24   end of a show, there are titles and descriptions that go
25       A. Okay.                                                    25   out and those might have been sent to Marcos at some




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 1   time.                                                            1   something pass through.
 2        Q. My question was a little different.                      2      Q. Again, I’m not asking whether he might have.
 3        A. But it’s not having to do with research. It’s            3   Does Free Speech Systems know whether or not Travis
 4   about a show, how you put a show out on the Internet.            4   Knight was involved in research or sourcing of the
 5        Q. My question was a little different. Did Marcos           5   videos in plaintiff’s petition?
 6   ever answer -- ever open e-mails that came in on the             6      A. No.
 7   information -- you know, we’ll call it the hotline, the          7      Q. Did you ask -- did you talk to Travis Knight in
 8   e-mail address that was out that people could send in            8   preparing for today?
 9   tips, did Marcos ever open those and then forward them           9      A. I did not.
10   to people based on what was in there?                           10      Q. Alejandra Gutierrez?
11        A. That is possible, that he might have done that.         11      A. Are you asking if she still works there?
12   If I forwarded something for the show people to, say,           12      Q. Yes.
13   hey, check this out for the show, if I forwarded it to          13      A. She still works there.
14   like a host, then he might have been in on there because        14      Q. She’s a lead producer, correct?
15   he is the director of the show.                                 15      A. She might have been before. I don’t think
16        Q. I asked you whether or not he personally                16   she’s a lead producer now.
17   forwarded it to other employees.                                17      Q. Okay. What’s her position now?
18        A. That, I don’t know.                                     18      A. She does graphics and edits stuff for social
19        Q. So you don’t know whether or not he was                 19   media.
20   involved with any sourcing of the video -- regarding the        20      Q. Did you speak with her about whether or not she
21   videos in plaintiff’s petition? And I’m not trying to           21   had any -- she was involved with any sourcing or
22   trip you up. I just want a yes or no.                           22   research regarding the videos pertain -- contained in
23        A. I don’t know.                                           23   plaintiff’s petition?
24        Q. David Ortiz?                                            24      A. No, definitely not.
25        A. What about him?                                         25      Q. Was Alejandra Gutierrez involved with the




                                                                15                                                                  17
 1        Q. Does he still work at Free Speech Systems?               1   sourcing or research in plaintiff’s petition?
 2        A. No.                                                      2       A. Not to my knowledge.
 3        Q. Kristi, K-r-i-s-t-i, no last name?                       3       Q. Does Free Speech Systems know whether or not
 4        A. No.                                                      4   Alejandra Gutierrez had any involvement with any
 5        Q. Lydia, L-y-d-i-a, no last name?                          5   sourcing or any research with regards to the videos
 6        A. No.                                                      6   contained in plaintiff’s petition?
 7        Q. Do you recognize the name?                               7       A. I don’t believe she was hired -- I don’t think
 8        A. I do recognize the name.                                 8   she was around for most of that, but I couldn’t tell
 9        Q. But she does not work there anymore?                     9   you.
10        A. No.                                                     10       Q. So the answer’s you don’t know?
11        Q. Travis Knight?                                          11       A. That’s the answer.
12        A. He does still work there.                               12       Q. Richard Gaines?
13        Q. Okay. And Travis Knight was involved at least           13       A. Richard Gaines. He does not work there.
14   in part with some of the Sandy Hook videos, correct?            14       Q. Wilson Bondesen?
15        A. I think when he first came in, he would have            15       A. He does still work.
16   been at that time editing the shows and so there may            16       Q. He does? And we know at this point that Wilson
17   have been e-mails sent to him that had Sandy Hook in the        17   was involved with tips coming in and sources giving
18   title. He may have got -- I don’t know if he got -- if          18   information. Did you speak with Wilson prior to today
19   he was getting tips. I don’t think he was getting any           19   about your testimony?
20   tips through our tip system because that only went to a         20       A. No.
21   few people, mainly the writers. But, no, I don’t -- I           21       Q. Are you prepared to testify as to Wilson
22   don’t think he would have been involved.                        22   Bondesen, B-o-n-d-e-s-e-n’s involvement with sourcing
23        Q. You don’t think or he was -- he was or he               23   and researching for the videos in plaintiff’s petition?
24   wasn’t?                                                         24       A. No, I’m not. If you could show me something, I
25        A. On an administrative level, he might have had           25   can look at it and tell you if it was germane or not.




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 1       Q. Jerome Corsi?                                             1   prepared to discuss Daria Karpova’s involvement with
 2       A. He was a guest for -- I don’t know if he -- he            2   sourcing and research for the videos described in
 3   was hired briefly for -- during the election.                    3   plaintiff’s petition?
 4       Q. Did he have any involvement with any research             4       A. You could ask me questions. I’ll tell you what
 5   or sourcing of the video -- for the videos contained in          5   I know.
 6   plaintiff’s petition?                                            6       Q. Was Daria Karpova involved with researching or
 7       A. Not -- I don’t think when he was an employee.             7   sourcing any of the videos contained in plaintiff’s
 8       Q. When he wasn’t an employee, did he have any?              8   petition?
 9       A. He might have. I don’t know. I’m sure he’s on             9       A. Not to my knowledge. Other than booking guests
10   a Wolfgang Halbig e-mail.                                       10   or something like that.
11       Q. And I’m asking these as these are all prior              11       Q. And again, you answered with not to my
12   employees, but the topic is not only as to employees.           12   knowledge, but I’m asking is Free Speech Systems
13   You understand that, correct? It’s any researching or           13   prepared to discuss whether or not she was involved with
14   sourcing for the videos described in the petition.              14   sourcing or researching the videos contained in
15       A. I misunderstood with Corsi. I thought you were           15   plaintiff’s petition?
16   talking about when he was an employee.                          16       A. Whether she was involved. I don’t think she
17       Q. Are you prepared -- is Free Speech Systems               17   was involved.
18   prepared to give testimony today as to Jerome Corsi’s           18       Q. And again, I’m not asking whether or not you
19   involvement with sourcing and research for the videos           19   think she was. I’m asking Free Speech Systems whether
20   described in plaintiff’s petition?                              20   or not she was. It’s a yes, no or I don’t know.
21       A. I guess it would depend on what question you             21       A. I don’t know.
22   asked.                                                          22       Q. Moving on. Zach Drucker, is he still employed?
23       Q. All right. I’ll give you an example. Was                 23       A. No.
24   Mr. Corsi involved with any sourcing or research for the        24       Q. Did Zach Drucker have any involvement with any
25   videos contained in plaintiff’s petition?                       25   sourcing or research for the videos described in




                                                                19                                                                   21
 1       A. I think that’s still a broad, generalized                 1   plaintiff’s petition?
 2   question.                                                        2      A. I don’t know.
 3       Q. Right.                                                    3      Q. Did you take any steps to find out one way or
 4       A. Do you have anything more detailed?                       4   the other whether or not he did?
 5       Q. You can give me any answer if he was involved             5      A. No. He wouldn’t have been on my radar to do
 6   in any way, if you know.                                         6   that.
 7       A. I don’t know.                                             7      Q. Why is that?
 8       Q. Okay. And you didn’t prepare yourself in any              8      A. Because he was more of a technical person.
 9   way to discuss whether or not --                                 9      Q. I understand that. However, it seems like
10       A. Mr. Corsi.                                               10   there were a couple of technical people that we’ve
11       Q. -- whether or not Mr. Corsi was involved in              11   discussed so far that might have, you just don’t know.
12   sourcing or researching these videos in plaintiff’s             12      A. Well, they’ve had -- a lot of these -- I think
13   petition?                                                       13   when Zach came in, Sandy Hook was not really being
14       A. That’s correct.                                          14   reported on.
15       Q. Daria Karpova or Daria?                                  15      Q. What year was that?
16       A. She still works there.                                   16      A. I think 2014 or sometime. We stopped -- maybe
17       Q. Is it Daria or Daria?                                    17   2015. I don’t have an exact date.
18       A. It’s Daria.                                              18      Q. You don’t have the year; you just know that
19       Q. Daria. Is she still the technical director?              19   that’s when Zach was around?
20       A. No. She’s probably moved up to lead producer             20      A. No, I know when Zach was around, he wouldn’t
21   of the show, of Alex’s show.                                    21   have been involved in getting tip -- he wouldn’t have
22       Q. Was -- did you speak with her about your                 22   been on a tip line or anything like that.
23   testimony today?                                                23      Q. Did he get any sources or do any research
24       A. No.                                                      24   regarding Sandy Hook and the videos contained in
25       Q. Are you prepared -- is Free Speech Systems               25   plaintiff’s petition?




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 1       A. Are you considering receiving an e-mail on a             1   know one way or the other whether or not Harrison Smith
 2   giant e-mail blast, garnering tips or research? Is that         2   was involved with sourcing or research for the videos
 3   what you’re referring to?                                       3   described in plaintiff’s petition?
 4       Q. If in any way they relate to the videos                  4       A. That’s correct.
 5   contained --                                                    5       Q. Okay. Andrew Thompson, still employed with
 6       A. Because that -- what I feel is going on, you’re          6   Free Speech Systems?
 7   going to ask me --                                              7       A. Yes, he still works there.
 8       Q. Let’s stop here.                                         8       Q. What does he do?
 9       A. Okay.                                                    9       A. He’s a video editor.
10       Q. He’s going to throw stuff at both of us if we           10       Q. Okay. Did he --
11   talk over each other because he’s trying to write down         11       A. And a cameraman.
12   every word.                                                    12       Q. Was he in any way involved with sourcing and
13       A. Sure.                                                   13   research for the videos described in plaintiff’s
14       Q. If you’ll let me finish my question, I’ll let           14   petition?
15   you finish your answer.                                        15       A. I can guarantee you he was not.
16       A. Sure.                                                   16       Q. Okay. And how do you come to that guarantee?
17       Q. That way we can give him a break on that.               17       A. Because he’s only been there for a year. Maybe
18         So yes, I am asking you whether -- yes, that --          18   a year and a half.
19   my question includes whether or not he received an             19       Q. Okay. My next question is, we just went
20   e-mail that had information that inevitably went into          20   through a list of names of -- one, two, three, four,
21   one of the videos contained in plaintiff’s petition.           21   five, six, seven -- looks like ten people that -- at
22       A. I don’t know.                                           22   least ten people that Free Speech Systems is not aware
23       Q. Did you take any steps to figure out whether or         23   one way or the other whether they were involved with
24   not he was involved?                                           24   resource -- researching or sourcing the videos in
25       A. No, I did not.                                          25   plaintiff’s petition. So the follow-up to that is, who




                                                               23                                                                   25
 1       Q. Sam Montoya, is that person still employed?              1   was involved in sourcing and researching the information
 2       A. Uh-huh.                                                  2   that is contained in the videos described in plaintiff’s
 3       Q. What does Sam Montoya do?                                3   petition?
 4       A. He edits videos and he was -- he’s a production          4      A. That works at Free Speech Systems?
 5   assistant on some of the live shows.                            5      Q. Anyone.
 6       Q. Has Sam Montoya done any research for Sandy              6      A. I would go back to --
 7   Hook that is contained in the videos in plaintiff’s             7      Q. Let’s start with you.
 8   petition?                                                       8      A. Okay.
 9       A. I don’t know.                                            9      Q. You were involved?
10       Q. Did you take any steps to find out?                     10      A. I was involved.
11       A. No.                                                     11      Q. How about Alex?
12       Q. Harrison Smith?                                         12      A. Alex.
13       A. He still works there.                                   13      Q. Alex was involved. And that’s Alex Jones?
14       Q. What does Harrison do?                                  14      A. Correct.
15       A. He is a fill-in host and he does reports.               15      Q. All right. Owen Shroyer?
16       Q. Was he involved -- was he involved in sourcing          16      A. Yeah. I mean, he did that one video, but he
17   or research for the videos described in plaintiff’s            17   didn’t come around until after the election -- or right
18   petition?                                                      18   before the election.
19       A. Do you have the list around real quick?                 19      Q. Your uncle?
20       Q. What list?                                              20      A. He went to a meeting well after everything
21       A. The list in the plaintiff’s petition. I can             21   occurred.
22   just look at the dates real quick on them. It’s                22      Q. There’s a --
23   possible he was.                                               23      A. I did interview him.
24       Q. Okay. When you say "it’s possible," that’s              24      Q. There’s a video that references your uncle’s
25   just -- that’s -- again, Free Speech Systems does not          25   beliefs and opinions regarding Sandy Hook, correct?




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 1       A. No, I think his opinions and beliefs are                  1   where the information comes from; is that fair?
 2   regarding the meeting that was taking place there and he         2      A. That’s fair to say.
 3   was told by a lot of his neighbors that he should go up          3      Q. Okay. Who -- earlier you mentioned writers,
 4   there to that meeting. That had nothing to do with us.           4   correct?
 5       Q. So when Alex Jones went on the air and said,              5      A. Uh-huh.
 6   we’ve talked to a former FBI agent retired and he says           6      Q. And you said that those were mainly the
 7   all of this is fake, that’s not your uncle being                 7   individuals who would come into possession of tips on
 8   involved in sourcing information for these videos?               8   the information e-mail address, correct?
 9       A. No. That might have been Alex’s interpretation            9      A. Uh-huh.
10   of what I told him. What my uncle specifically said was         10      Q. Who were the writers that worked on Sandy Hook?
11   that I’ve never been to a meeting with government people        11      A. Adon Salazar, Paul Watson, Aaron Dykes.
12   where nobody knows nothing. That’s what he said.                12      Q. Is that E-r or A-a-r?
13       Q. Okay. And Alex just took that and kind of ran            13      A. A-a-r.
14   with it in his own words?                                       14      Q. Got Adon, Paul and Aaron. Anyone else?
15       A. You’d have to ask him what he did with that.             15      A. Those are ones that I know that definitely
16   But that’s -- I wrote -- you know, I wrote down -- I            16   wrote articles about Sandy Hook.
17   mean, I don’t know where the notes are, but I wrote             17      Q. How about David Knight?
18   down -- because I talked to him in front of a dry               18      A. I wouldn’t consider him a writer, but he’s --
19   cleaner.                                                        19   he’s probably done something.
20       Q. So the video we’re talking about involving the           20      Q. What about Nico?
21   information that Alex claims is from your uncle, that’s         21      A. No, he was just a producer. I mean, he would
22   in plaintiff’s petition, correct?                               22   have --
23       A. I believe so.                                            23      Q. Jonathan Rappaport?
24       Q. And your uncle, at least in part, was the                24      A. Rappaport didn’t work for us. He was a
25   source of some of that information, correct?                    25   contributor, I guess you could say. We’ve probably




                                                                27                                                                  29
 1       A. He was the source of him going to the meeting             1   published -- republished his articles.
 2   and his impressions of the meeting.                              2      Q. Okay. So he would be considered a writer for
 3       Q. He didn’t stop there. He then relayed those               3   Sandy Hook information that he published?
 4   impressions to you, who relayed them to Alex, correct?           4      A. Uh-huh.
 5       A. I actually called my uncle.                               5      Q. Kurt Nimmo?
 6       Q. Right. He relayed those impressions to you and            6      A. Yes, but he doesn’t -- so he doesn’t work
 7   you relayed them to Alex, who put them on the air,               7   there, yeah. That would be another one.
 8   correct?                                                         8      Q. He does not work there anymore?
 9       A. Yes.                                                      9      A. Correct.
10       Q. In your -- is it your understanding that that            10      Q. What was his position with InfoWars -- excuse
11   is his involvement in the sourcing of the information in        11   me, with Free Speech Systems?
12   these videos?                                                   12      A. He was a writer, and at one point he was the
13       A. I don’t think I was questioning whether he was           13   webmaster.
14   a source or not. I was questioning whether -- we’d have         14      Q. The webmaster?
15   to go back and -- whatever you said didn’t sit right            15      A. Yeah. At one point, but I don’t know how -- I
16   with reality.                                                   16   don’t know when that was. It was probably even before I
17       Q. Okay. Let me ask you a question. What does               17   got there.
18   the word "sourcing" mean to you?                                18      Q. Why doesn’t he work there anymore?
19       A. I guess -- well, there’s many ways to get --             19      A. It’s kind of personal. I think he just wanted
20   there’s many ways that you would get a source. You can          20   to move out of the state of Texas.
21   get it from a piece of video, an article, an e-mail tip,        21      Q. Okay.
22   eyewitness testimony, security camera footage, receipts,        22      A. Because that’s what he did. I don’t know.
23   interviews.                                                     23      Q. Dan Bidondi?
24       Q. Instead of giving examples, let me just ask you          24      A. Is it whether he still -- he does not work for
25   this. Is your understanding of sourcing, sourcing is            25   us anymore.




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 1       Q. Correct. My question is, was Dan Bidondi’s                1   us that -- either that morning or the day before.
 2   writing ever published by InfoWars or by Free Speech             2       Q. And somebody had just e-mailed it in?
 3   Systems?                                                         3       A. They e-mailed it in and said look, it looks
 4       A. It’s possible we put an article which had                 4   like it’s blue screen, and they sent a horrible video
 5   contained a video under his byline, but that would be --         5   that was blown up on YouTube. And I do specifically
 6   I don’t know if he actually wrote an article.                    6   remember looking for the original -- finding the best
 7       Q. Today you’re tasked with having sourcing and              7   source we could find on that, because CNN did not have
 8   research for all the videos described in plaintiff’s             8   the video on their website and it was -- I do remember
 9   petition.                                                        9   it was a different website that wasn’t CNN that had the
10       A. Uh-huh.                                                  10   video and it was the best-looking quality. And so --
11       Q. How many videos are there?                               11       Q. What website was that?
12       A. I would say upwards of 30.                               12       A. I couldn’t tell you.
13       Q. What are they?                                           13       Q. Did you --
14       A. I couldn’t name them all right now.                      14       A. Couldn’t tell you to this day. But it was a
15       Q. Are you prepared to discuss each one and how             15   website that was grabbing news feeds. They were like an
16   they were sourced and researched?                               16   aggregator. I don’t remember the name and it was -- you
17       A. If you could give me the name, I could then              17   know, I grabbed the video and then we had the video.
18   tell you about it. The one I have the most familiarity          18       Q. Who sent in the original source?
19   with is why people don’t believe Sandy Hook is a hoax.          19       A. I’m sure it’s in one of those e-mails. I don’t
20       Q. Okay. Let’s start there, Why People Think                20   know. I don’t remember. But it would have been an
21   Sandy Hook is a Hoax. What steps did you take to                21   e-mail that I clicked on that came through, I don’t
22   prepare yourself right now to speak on behalf of Free           22   know, the tip system. I don’t know if it was -- I don’t
23   Speech Systems about the sourcing and research involved         23   remember if it was directly addressed to me or if it was
24   for this video?                                                 24   through the tip system.
25       A. I scanned through the final video because                25       Q. What steps did you take to prepare yourself




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 1   that’s what we have.                                             1   today to speak on behalf of Free Speech Systems as to
 2       Q. Okay. Who was in charge -- who was tasked with            2   who was the source of the video from Sandy Hook -- from
 3   researching this video?                                          3   Why People Think Sandy Hook is a Hoax?
 4       A. It was Alex and myself.                                   4       A. I told you, I scanned through the video and
 5       Q. No one else?                                              5   looked at it.
 6       A. If anybody was ancillary involved, it was me              6       Q. So you just watched the video?
 7   and Alex who put the project together.                           7       A. Uh-huh. And a lot of it brought back the
 8       Q. And I’m not asking who put the project                    8   memories of what I remember of putting it together.
 9   together. I’m asking who researched the story and                9       Q. Right. And again, you’re here on behalf of
10   gave -- and brought information in that was ultimately          10   Free Speech Systems, and you had a responsibility today
11   used in the project?                                            11   to be prepared to discuss the source of the information
12       A. Right. And unfortunately I couldn’t go back              12   in that video, correct?
13   and tell you who might have handed Alex an article or           13       A. Sure. I think I’m telling you everything that
14   who might have brought him a video in terms of that             14   I know and that what happened.
15   detail, but it was -- the stuff me and Alex sat down and        15       Q. It’s not everything you know, Mr. Dew. It’s
16   went through and looked at the different pieces, then we        16   everything Free Speech Systems knows. So if there is an
17   laid out how we were going to make that video.                  17   e-mail out there that you claim has been produced to us,
18       Q. Okay. The source of the information, who was             18   who is it from, what date, what’s it say?
19   in charge of sourcing that?                                     19       A. I don’t know.
20       A. Like I said, that would have been Alex and               20       Q. Did you look for it in preparing for today?
21   myself. Alex would have had ultimate editorial control.         21       A. No, I did not.
22       Q. Who -- was it you or Alex who originally found           22       Q. Why?
23   the video and noticed what was later claimed by                 23       A. I don’t know if our system goes back that far.
24   Mr. Jones to be blue screen?                                    24   That would have been sometime in January, maybe, of
25       A. From what I remember, somebody sent that in to           25   2013.




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 1       Q. So if I just looked at an e-mail from                     1       Q. You’re sure?
 2   January 27th, 2013, the system definitely goes back that         2       A. I myself am sure. For Free Speech, no, I don’t
 3   far, right?                                                      3   know.
 4       A. I don’t know if I have access to all my e-mails           4       Q. Okay. What type of research did you and/or
 5   back that far.                                                   5   Alex do to determine whether or not there was a blue
 6       Q. So you’re only checking your e-mails when you             6   screen behind Anderson Cooper?
 7   were preparing for today; you weren’t checking the               7       A. What type of research? I think looking at
 8   e-mails that are in the possession of Free Speech                8   whether something is a blue screen or not comes from
 9   Systems who you’re currently sitting here as?                    9   years of doing blue screen work, and Alex -- I’m not
10       A. That’s correct.                                          10   speaking for Alex, but I was in the room when he looked
11       Q. Okay. Do you believe, sitting here right now,            11   at it and he said that’s blue screen.
12   that you’re prepared to discuss the sourcing and                12       Q. Have you ever seen Alex work with a blue
13   research that went into Why People Think Sandy Hook is a        13   screen?
14   Hoax?                                                           14       A. Uh-huh.
15       A. Yes, I do because I edited the video.                    15       Q. You have a blue screen at the studio?
16       Q. Okay. Who was the source?                                16       A. We have a green screen at the studio. But he’s
17       A. I don’t know. It’s probably an anonymous                 17   worked with blue screen at Access Television.
18   person.                                                         18       Q. How do you know?
19       Q. Who did that --                                          19       A. Because I’ve seen him there and he told me he
20       A. I can tell you this. The video they sent me is           20   did and I’ve seen his shows, many years working at
21   not the video we used.                                          21   Access.
22       Q. I didn’t ask that. I asked who your source of            22       Q. Have you seen his nose disappear?
23   the information was and you don’t know who that was,            23       A. Alex’s nose?
24   correct?                                                        24       Q. Yeah.
25       A. Well, I could say I’m the source because I went          25       A. I don’t think I’ve ever seen his nose




                                                                35                                                                   37
 1   and found the original video.                                    1   disappear.
 2       Q. Okay. From where?                                         2      Q. Okay. So it was Alex’s expertise on the blue
 3       A. I don’t remember the name of the site.                    3   screen, not yours?
 4       Q. So you don’t remember the name of the source?             4      A. Correct.
 5       A. That had the video? They probably don’t exist             5      Q. So all the research would have been done by
 6   anymore.                                                         6   him?
 7       Q. Probably or they don’t?                                   7      A. Uh-huh.
 8       A. I don’t know.                                             8      Q. And he didn’t really do any research. He just
 9       Q. Right. And what I’m saying is, you’re not                 9   looked at it and said, well, I’ve never seen that
10   prepared to discuss whether or not they are?                    10   before, so it must be a blue screen?
11       A. When you grab -- I mean, I can see why it makes          11      A. You’d have to ask him on that, but yes. I
12   a difference in your case, but when we were making the          12   mean, I was there when he said it and he said that’s
13   video, it did not matter where the source came from             13   blue screen.
14   because we had the actual video and it was Anderson             14      Q. I’m asking you because you’re sitting here
15   Cooper and I believe Neil -- not Neil Heslin. The               15   today on behalf of the company and it’s your job to know
16   Pozner -- Mr. Pozner’s ex-wife at the time.                     16   what research he did.
17       Q. You don’t even -- you don’t know her name?               17      A. And then later he said he’s looked at
18       A. Veronica or Veronique, something like that.              18   thousands -- or he’s done -- maybe he said hundreds of
19       Q. Okay. And I’m aware that at the time you were            19   hours of blue screen video at Access Television.
20   getting this information, no one at InfoWars cared where        20      Q. I don’t know what that means.
21   it came from; but you were tasked with finding out where        21      A. Well, when you’ve got the blue screen behind
22   it came from and you aren’t prepared for that, correct?         22   you and --
23       A. I don’t think you could find out.                        23      Q. Oh, no, I know what you meant. I don’t know
24       Q. Why?                                                     24   how in any way that was responsive.
25       A. I’m sure the source doesn’t exist anymore.               25      A. I guess from his experience, he was drawing out




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 1   that he could -- he determined that that was blue                1       A. Yeah, because we’re presenting the news of
 2   screen.                                                          2   what -- of what is going on in the world and we’re
 3       Q. And I’m not -- again, I’m not asking you to               3   either showing videos or reading other people’s articles
 4   guess. You said, I guess that was his. I’m asking --             4   or...
 5   you were tasked with knowing.                                    5       Q. And you -- when you’re presenting the news,
 6       A. Right. And that’s what he said later, that he             6   there’s principle -- there’s a responsibility that a
 7   had done hours in Access Television in front of a blue           7   company has for that, right?
 8   screen and he knows what it looks like.                          8       A. Yeah.
 9       Q. But that was after the video went up?                     9       Q. What responsibility is that?
10       A. Yeah, that was probably after the video. Yes.            10       A. To get the truth as best you can.
11   I would say it’s after the video.                               11       Q. As the best you can. Are there steps in place
12       Q. Okay. Before the video went up and you put               12   to ensure that you do get the truth out there, that you
13   this out there as fact?                                         13   don’t make a mistake?
14       A. He looked at it and said that was blue screen.           14       A. Well, I don’t think anybody’s infallible of
15       Q. That was enough for you?                                 15   making -- not making a mistake. I mean, mistakes have
16       A. That was enough for me.                                  16   been made in the past and we’ve owned up when we’ve made
17       Q. And that was enough for Free Speech Systems?             17   mistakes.
18       A. The reason there is a Free Speech Systems is             18       Q. Which mistake is that? I’ll give you some
19   because of Alex Jones.                                          19   examples.
20       Q. That wasn’t my -- you didn’t answer my                   20       A. Okay. Give me some examples.
21   question. My question was, Free Speech Systems is okay          21       Q. Mistake or not mistake: Anderson Cooper was in
22   with Alex Jones looking at something, saying it to be           22   front of a blue screen?
23   the gospel and then putting it up on the Internet for           23       A. The only reason I would say it’s not
24   millions to see?                                                24   100 percent is because somebody asked him if he was
25       A. It was his -- I think it’s his free speech               25   there and he denied being at the funeral.




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 1   right to say that that’s what he thinks it is.                   1       Q. You know that’s not true.
 2       Q. And my question was Free Speech Systems is okay           2       A. No, there’s video of it. There’s video of a
 3   with that?                                                       3   guy asking him during a taping of a show; he said, hey,
 4       A. Correct.                                                  4   were you at the funeral and he goes, no, I wasn’t.
 5       Q. Do you have any journalistic principles in                5       Q. Right. He wasn’t at -- inside the funeral.
 6   writing, for everybody to review and adhere to before            6   You understand that -- you’ve been a corporate
 7   they put content up for millions to see?                         7   representative for Free Speech Systems in other lawsuits
 8       A. I think with Alex, it’s -- he puts up what he             8   in Texas, correct?
 9   feels he wants to put up, and I’m not sure -- it depends         9       A. Uh-huh.
10   on when he’s got the journalistic hat on or when he’s           10       Q. And I’m involved with those, correct?
11   got his -- when he’s got his -- he’s a commentator,             11       A. I’m sure you are.
12   where he’s being a pundit. There’s different hats he            12       Q. You understand that an expert who has decades
13   wears and I think he changes them out frequently.               13   of service in the FBI in video forensics determined that
14       Q. Okay. Do you remember when I deposed you a few           14   that was not a blue screen but was simply video
15   months ago?                                                     15   compression. Did you know that?
16       A. Uh-huh.                                                  16       A. I’ve heard people say stuff. You know, the FBI
17       Q. We had a conversation about Free Speech Systems          17   also said they put photos of two guys who supposedly
18   and what their roles are generally.                             18   bombed the Boston marathon and said they didn’t know who
19       A. Uh-huh.                                                  19   they were when they’d interviewed them. So the FBI lies
20       Q. You remember that?                                       20   a lot, yeah.
21       A. Yeah.                                                    21       Q. So you don’t trust the FBI?
22       Q. And I asked you whether or not -- what portion           22       A. I don’t really trust much in the government.
23   of Free Speech Systems was journalism and what portion          23       Q. Okay.
24   was not, and you said the majority of what we do is             24       A. That comes out of the government.
25   journalism. You remember that?                                  25       Q. Do you trust anonymous sources on 4chan?




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 1       A. I don’t know if I’ve ever used an anonymous               1   have had a name on the byline.
 2   source on 4chan.                                                 2       Q. Okay. You trusted all the videos that he made,
 3       Q. Do you know that’s where the picture of Marcel            3   which are just videos of him talking. That was a
 4   Fontaine was found and used?                                     4   reliable source to Free Speech Systems, but the FBI is
 5       A. Are you talking -- who’s Marcel Fontaine?                 5   not. True?
 6       Q. You don’t know who Marcel Fontaine is? He’s               6       A. No, I’m not going to say the FBI is wrong in
 7   the poor individual that lives in Massachusetts that             7   all cases. I think there’s lot of good people in the
 8   InfoWars randomly put up his picture saying he was               8   FBI. But we’ve also seen that they like to cover their
 9   responsible for the Florida Parkland mass shooting.              9   own ass.
10             THE WITNESS: So we’re talking about a                 10       Q. Who at Free Speech Systems is in any way
11   different case now?                                             11   qualified to break down an FBI investigation and
12       Q. (BY MR. OGDEN) Absolutely.                               12   determine whether or not it’s true?
13       A. Oh, we are. Okay. Well, I didn’t put that up,            13       A. What, do you have to have a degree to break
14   but from my understanding --                                    14   down an FBI investigation?
15       Q. I’m not asking you whether you put it up. I’m            15       Q. No, I’m just asking who’s qualified to do all
16   asking if Free Speech Systems is okay trusting an               16   this. Because to be in the FBI, yes, you do have to
17   anonymous source that is completely unverifiable and            17   have a degree.
18   using that information, but not trusting the FBI? Is            18       A. I don’t think I understand your question.
19   that what you’re testifying to?                                 19       Q. Yeah. Name someone at Free Speech Systems
20       A. What I’m testifying to is that it’s been our             20   that’s qualified to break down an FBI investigation and
21   experience that the FBI has lied many times to cover            21   determine that it’s wrong. You can start with just one
22   up -- cover their own ass, essentially.                         22   name. This is getting slightly uncomfortable.
23       Q. Did you tell your uncle that?                            23       A. Is it?
24       A. Yeah, I’ve told him that. I told him I don’t             24       Q. Start with one name and then we’ll go to see if
25   like how they go find poor guys and set them up and,            25   you have two.




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 1   like, hey, we’re going to -- do you want to go bomb              1       A. Okay. Well, I think Alex Jones could break
 2   something, here’s a bomb, we’re going to do this. I              2   down an FBI investigation and look at it and figure out
 3   don’t agree with that. I think that’s -- that’s not the          3   whether it’s true or false, and I think he’s done that
 4   way to have a world that works.                                  4   in the past.
 5       Q. Okay. You -- earlier you mentioned that you               5       Q. Has he ever gotten it wrong?
 6   broadcast information as it comes in, right?                     6       A. About anything?
 7       A. Sometimes, yes.                                           7       Q. About -- about an FBI investigation that he
 8       Q. What --                                                   8   says was not true that turned out it was.
 9       A. Sometimes it’s live.                                      9       A. Well, sometimes it takes a while for these
10       Q. What are the sources that you do trust for               10   things to come out. But I think we just heard that the
11   information that you put out to the public?                     11   gas attack on the Syrian Kurds, that I don’t know if --
12       A. Well, I mean, like I say, sometimes we’ve used           12   whether the FBI had anything to do with it, but that it
13   CNN, but we also think CNN lies. But we’ve taken CNN            13   was done and we had to go invade Syria and then it came
14   and we’ve looked at their videos. And early on, when --         14   out, no, somebody made it up; that there was no chlorine
15   say there’s an article on some site, you go to the link,        15   gas found at all. So these things do happen. And so
16   you click to the source and you go down and find it.            16   when we see them, we don’t always take everything at
17       Q. Okay. Dan Bidondi’s articles that were                   17   face value for what comes out.
18   republished, you trusted those, right?                          18       Q. Sure. But I wasn’t asking about that. I was
19       A. It depends on what you’re --                             19   asking about the FBI.
20       Q. I’m talking about every article related to               20       A. I know. But we went to the Parkland shooting
21   Sandy Hook that Dan Bidondi submitted that InfoWars             21   too for a second. So I mean, seems like we’re going all
22   republished. You trusted all of those as reliable               22   over the place.
23   sources, correct?                                               23       Q. Right. But the FBI is the Federal Bureau of
24       A. I think we republished videos. I’m not sure              24   Investigation and they only have jurisdiction here.
25   that Dan Bidondi wrote actual articles, although he may         25       A. Right. And, you know, so Sandy Hook happened




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 1   in 2012. 2013 we had the Boston bombing, just a few              1   have to start going after the guns, we have to start
 2   months later. And they showed pictures up on the TV and          2   going after the guns, which happens pretty much after
 3   said, we don’t know who these guys are; you need to help         3   every shooting, there’s a call to take and disarm
 4   us find them. And one of the guys was someone they had           4   American citizens. And so as stewards of the Second
 5   interviewed twice and they had interviewed his mother.           5   Amendment, we feel it is our duty to stand up against
 6   And the Russians had even contacted the FBI saying, hey,         6   those and Obama did want to go after guns.
 7   this guy is traveling to Turkmenistan or something and           7       Q. You’re a steward of the Second Amendment?
 8   getting training under an assumed name. And so for the           8       A. And while he says that, while he’s sitting
 9   FBI to get up there and say, we don’t know who these             9   there crying over those kids, he’s also bombing children
10   guys are, when they do, is dishonest and they put a             10   in other countries with drones. So we were just
11   whole city in a panic to do that.                               11   pointing that out.
12       Q. You took the report from the Boston bombing              12       Q. You used that information to say that Sandy
13   that the FBI did and you broke it down and determined           13   Hook was an inside job? Based on what?
14   what? What are you saying?                                      14       A. I think at the time they were being -- I don’t
15       A. I’m saying when they showed the pictures of the          15   know how old you are, but when this stuff was coming
16   two boys that they had on camera and they’re saying they        16   out, there wasn’t as many sources on the Internet to --
17   didn’t know who they were, they were lying. They did            17   Twitter wasn’t very big. They weren’t putting out a lot
18   know who they were.                                             18   of information. And the state government of Connecticut
19       Q. Okay.                                                    19   was not putting out a lot of information and they were
20       A. That’s what I’m saying.                                  20   going after people -- or they were saying at least -- I
21       Q. And you understand at times matters of national          21   don’t know if they were going after people. They were
22   security can allow --                                           22   saying, if anybody puts out wrong information, we’re
23       A. Oh, that’s right. There’s always that, yes. I            23   coming after you and to us, that was a red flag.
24   understand.                                                     24       Q. Isn’t that a good policy?
25       Q. Okay. I’m just making sure --                            25       A. It depends on what’s --




                                                                47                                                                   49
 1       A. There’s always national security. I know.                 1      Q. Can you give me --
 2       Q. Just making sure we are on the same page.                 2      A. That would be a good policy if that was their
 3         April 9, 2013, video, Obama Gun Grabbing Psyop             3   real intent. I’m not sure -- I think their real intent
 4   Speech of Evil. Does that ring a bell?                           4   was covering up something that they felt went wrong and
 5       A. Can you describe what the video looks like?               5   they didn’t want anybody to know about.
 6   Some of these we don’t have anymore because they --              6      Q. Okay. Sitting here today, we have all the
 7   they’ve been taken off YouTube.                                  7   reports and you’ve had plenty of time to go through it.
 8       Q. Sure. The video had to do with an employee of             8   What was it? What did they get wrong or what were they
 9   Free Speech Systems warning the viewers that recent mass         9   hiding? Or are you going to sit here like Mr. Jones has
10   shootings were actually a government operation and Sandy        10   said and say, yeah, we got this one wrong?
11   Hook was an inside job. Who did the research for that           11      A. See, we’re going back and forth. In the
12   information?                                                    12   present day, I believe kids were shot and killed.
13       A. Who -- do you know who the -- do you have the            13      Q. Which part of the story --
14   video? Is there somebody talking on it?                         14      A. And I believe kids were shot and killed in the
15       Q. Yes. His name is Alex Jones.                             15   beginning. Okay. And if you look at our articles, we
16       A. Okay. So then it was his -- it’s what he                 16   always talked about the victims. We were never
17   determined.                                                     17   disparaging towards the parents.
18       Q. Where did he get that information?                       18      Q. Do you -- you’ve seen the video of Mr. Jones
19       A. From -- I think from years of looking at                 19   mocking Robbie Parker’s father by mocking him crying as
20   government operations. At the time that’s what he felt.         20   a grieving father. Surely --
21       Q. What I’m asking is, what are the sources of              21      A. Robbie Parker’s father? I don’t know if I’ve
22   information that he relied on to come to that                   22   ever seen a video of Robbie Parker’s father.
23   conclusion?                                                     23      Q. I mean, Robbie Parker. Excuse me. You’ve seen
24       A. I think he relied on articles that they were             24   the video of Mr. Jones mocking Robbie Parker about
25   going to use -- when he saw the script of, hey, now we          25   crying over his dead son, right?




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 1      A. I don’t know if I’ve seen that video.                      1   evidence of that, correct?
 2      Q. So you’re not prepared to talk about that video            2       A. I have no evidence.
 3   that’s listed in plaintiff’s petition that you had a             3       Q. Okay. And I just wanted to make sure. Again,
 4   duty to prepare for today?                                       4   we’re sitting here as you make up information and spread
 5      A. I am not prepared to talk about that video of              5   it.
 6   Robbie Parker crying over his son.                               6       A. As I make up information and spread it. Okay.
 7      Q. Oh, no, of Mr. Jones mocking Robbie Parker                 7       Q. April 16, 2013, Shadow Government Strikes
 8   crying over his son.                                             8   Again. What was -- who did the research for that video?
 9      A. I’m not.                                                   9       A. I believe Alex Jones did.
10      Q. Okay. What about the video that you and                   10       Q. Why do you believe that?
11   Mr. Jones are in where you throw up maps related to             11       A. Can you describe what was in the video?
12   where Lenny Pozner lives? You don’t think --                    12       Q. No, it was your job to be prepared to discuss
13      A. I don’t think -- I don’t think he lives in a              13   it.
14   U-Haul storage facility. I think that’s what that --            14       A. Okay.
15   that’s like a mailbox place.                                    15       Q. Who did the research -- excuse me, why do you
16      Q. Right. You put up a photograph and map to all             16   believe Alex Jones did the research?
17   your viewers of where Mr. Pozner picks up his mail.             17       A. Because it sounds like a video that he would
18      A. I don’t even know if he picks up his mail                 18   have titled.
19   there. That’s something you’re saying.                          19       Q. What was the source of the information?
20      Q. If you weren’t targeting Mr. Pozner by doing              20       A. Probably hundreds of articles.
21   that, why else would you put it up?                             21       Q. I’m not asking you probably. As Free Speech
22      A. At the time I believe -- this is what I                   22   Systems, what specific sources were relied upon to make
23   believe. Mr. Pozner was getting videos pulled off               23   that video?
24   YouTube, for whatever reason, you’d have to ask him what        24       A. I don’t know if we have that video in our
25   his reasons were, and then I think it listed the HONR           25   possession anymore.




                                                                51                                                                   53
 1   Network and we were showing where the HONR Network is            1       Q. Not an answer to my question. Yes, no or I
 2   located.                                                         2   don’t know.
 3        Q. Why?                                                     3       A. Okay.
 4        A. That it wasn’t a building; it was a PO box               4       Q. The sources used to make that video, Shadow
 5   place.                                                           5   Government Strikes Again?
 6        Q. And on that show you told your audience that             6       A. I don’t know.
 7   you knew the leader of the HONR Network is Mr. Pozner,           7       Q. March 14, 2014, Sandy Hook, False Narrative
 8   correct?                                                         8   Versus the Reality. Who did the research for that one?
 9        A. Because we got a -- I think we even got a                9       A. I don’t know.
10   YouTube takedown notice and it had his name on there.           10       Q. What steps did you take to find out?
11        Q. Any of the YouTube videos that were taken down,         11       A. Since we don’t have that video, I don’t know
12   were any of them true?                                          12   what -- I’d have to see the video to jog my memory of
13        A. I’d have to look at the video, but I believe            13   what’s in it.
14   the information we were putting out was accurate at the         14       Q. Okay. What was the source of the information
15   time.                                                           15   in that video?
16        Q. I’m not asking you if it was accurate at the            16       A. Like I -- I’ll refer to my previous answer.
17   time. I’m asking you if the -- actually, we’ll back up.         17       Q. You don’t have this video is your testimony,
18   The videos that the HONR Network had taken down, were           18   and by "you," you mean Free Speech Systems?
19   those true, sitting here today?                                 19       A. I didn’t have it in any of the searches that I
20        A. I’d have to see the video to know whether --            20   made.
21   sitting here today, whether I think it was true. I              21       Q. Okay. Where did you search?
22   think a lot of it he pulled down just because they were         22       A. Actually, some of these I actually went on the
23   giving him carte blanche to pull down whatever he               23   Internet to see if people had reposted them and I didn’t
24   wanted.                                                         24   find anything at the time because that’s usually how we
25        Q. And you’re just making that up. You have no             25   find stuff that got erased, people repost our stuff.




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 1       Q. How long did you spend looking for the sources            1   research for this video -- actually, strike that.
 2   or the video or the researcher for Sandy Hook, False             2          What’s this video about? Without guessing.
 3   Narratives Versus the Reality?                                   3   Without guessing.
 4       A. For that particular video, maybe 15 minutes.              4       A. Without guessing. That video is -- that video
 5       Q. Are you aware that in this case, you produced             5   is about the FBI not including the murders in Newtown --
 6   this video to me?                                                6       Q. Okay.
 7       A. Okay.                                                     7       A. -- in their crime statistics.
 8       Q. Yet you’re not prepared to discuss it?                    8       Q. Who appears in this video?
 9       A. The problem is, and I think I discussed this in           9       A. Alex Jones.
10   the last deposition, we don’t have video -- the titles          10       Q. Anyone else?
11   that you’re using -- you’re referring to YouTube titles,        11       A. I couldn’t tell you.
12   and those aren’t always what the video file is named            12       Q. Were any of the writers involved in any of this
13   when it gets uploaded.                                          13   information?
14       Q. Mr. Dew, you gave me this video. Free Speech             14       A. I think one of the writers probably brought
15   Systems produced this to me, not YouTube.                       15   that information to Alex.
16       A. I understand that.                                       16       Q. Again, I’m not asking probably. I’m asking
17       Q. So you have it in your possession, correct?              17   what Free Speech Systems knows or doesn’t know. And if
18       A. I don’t know if I have it in my possession.              18   so, which writer?
19       Q. How on earth could Free Speech Systems produce           19       A. I don’t know which writer, but that’s how Alex
20   a video to me and it not be in your possession? One,            20   would have gotten that information for that particular
21   you had it and then you spoliated it, which is the              21   video.
22   destruction of evidence --                                      22       Q. Okay.
23       A. No.                                                      23       A. Because I believe there’s an article based on
24       Q. -- or, two, you never had it yet somehow                 24   that too.
25   magically produced it to me. Which one of those is              25       Q. So you don’t know anybody else that would have




                                                                55                                                                   57
 1   probably more accurate? Or three, you’re just not                1   appeared in this video?
 2   prepared to discuss it?                                          2        A. No.
 3      A. I’m not prepared to discuss it.                            3        Q. In the last year, have you seen this video?
 4             MR. JEFFERIES: Objection, form.                        4        A. No.
 5      Q. (BY MR. OGDEN) May 13th, 2014, "’Bombshell,                5        Q. Okay. December 27, 2014, Lawsuit Could Reveal
 6   Sandy Hook massacre was a DHS illusion,’ says school             6   Truth about Sandy Hook Massacre. It’s kind of an ironic
 7   safety expert."                                                  7   title, right? Who gave the research -- excuse me. What
 8         Who did the research for this video?                       8   was the source of the information in this one?
 9      A. I would imagine Wolfgang Halbig did the                    9        A. I don’t know.
10   research for that.                                              10        Q. Do you know what information is in this video?
11      Q. Again, I’m not asking you to imagine.                     11        A. No.
12      A. Okay. I’ll say Wolfgang Halbig; school safety             12        Q. Are you prepared to discuss the research that
13   expert, that was Wolfgang Halbig.                               13   was in the video, which you don’t know what it’s about?
14      Q. How do you know he did the research -- excuse             14        A. No.
15   me. Did anyone else research any of the information             15        Q. Okay. December 29th, 2014, America, The False
16   that went into this episode?                                    16   Democracy. Have you ever seen this one?
17      A. That is most likely an interview between                  17        A. I’d probably know it if I saw it.
18   Wolfgang Halbig and Alex Jones.                                 18        Q. Sitting here -- have you seen it in the last
19      Q. You don’t even know what’s in this video, do              19   year?
20   you?                                                            20        A. No.
21      A. No.                                                       21        Q. All right. Did you do anything to prepare
22      Q. Okay. We’ll just skip to the next one, then.              22   where the information came from in this video that you
23      A. Okay.                                                     23   don’t know what it’s about?
24      Q. September 25th, 2014, Connecticut PD has FBI              24        A. No.
25   Falsely -- Falsify Crime Statistics. Who did the                25        Q. You have no -- is it fair to say you don’t know




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 1   who the source of the information is that’s in this             1   asking if you did anything at all to prepare yourself to
 2   video?                                                          2   discuss this video and the source and research that went
 3       A. That would be fair.                                      3   into it?
 4       Q. Okay. January 13, 2015, Why We Accept Gov’t              4       A. That video, no.
 5   Lies -- "government" spelled gov’t. Do you know -- have         5       Q. Okay. July 7th, 2015, Retired FBI Agent
 6   you seen this video in the last year?                           6   Investigates Sandy Hook Mega Massive Cover Up. Do you
 7       A. I have not seen it in the last year.                     7   know what the source of all the information is -- was
 8       Q. Are you prepared to discuss the research that            8   that went into this video?
 9   went into the information that was put in this video?           9       A. I couldn’t tell you everything, but I would say
10       A. No.                                                     10   the primary source is -- was the interview I did with my
11       Q. Are you prepared to tell us the source of               11   uncle.
12   information for this video?                                    12       Q. Okay. What information -- when was the last
13       A. No.                                                     13   time you saw this video?
14       Q. March 4th, 2015, New Bombshell, Sandy Hook              14       A. Probably when it was made.
15   Information Inbound. What’s this video about?                  15       Q. Are you prepared to discuss the sourcing and
16       A. What was the date again, March 14th --                  16   research that went into it?
17       Q. March 4th, 2015.                                        17       A. Parts of it, I can discuss.
18       A. That probably has to do with --                         18       Q. Okay. What all is in this video? Well,
19       Q. Again, not probably.                                    19   actually back up. I can break this down into better --
20       A. Oh, I’m sorry. I’m not prepared to talk about           20   easier questions for you.
21   it.                                                            21          The ambulance came -- "Ambulances came an hour
22       Q. You can’t tell us, sitting here today, what             22   and a half later." What’s the source of that
23   that new bombshell was?                                        23   information?
24       A. It was probably information that came out of            24       A. That might have been Wolfgang Halbig.
25   one of those meetings.                                         25       Q. Again, not asking might. I want definitive




                                                               59                                                                   61
 1       Q. Again, not probably. I want to know what it              1   answers. One, I know; two, I don’t know. Do you know?
 2   was, what it was not or you don’t know.                         2       A. I don’t know.
 3       A. I don’t know.                                            3       Q. Okay. Speaking of Wolfgang Halbig, you and I
 4       Q. Okay. July 7th, 2015, Government is                      4   can agree, probably not the best source of information,
 5   Manufacturing Crises. Do you know what this video is            5   right?
 6   about?                                                          6       A. At the time, I don’t think we made -- we looked
 7       A. From its title, I would suggest -- it would              7   at his past and determined that he was credible.
 8   suggest that the government is manufacturing a crisis.          8       Q. Right. But hindsight is 50/50.
 9       Q. And again --                                             9       A. Sure. Hindsight is 50/50, hindsight is 20/20,
10       A. It’s about the Hegelian dialectic.                      10   whatever you want to say. But what -- I think what
11       Q. Okay. When is the last time you saw this                11   gave -- what garnered Wolfgang credibility is when the
12   video?                                                         12   Florida State Police went to his house and told him to
13       A. Probably when I made it.                                13   stop asking questions, and that to us is a red flag.
14       Q. And I’m not asking probably. I’m asking when.           14       Q. Right. Because when the police department goes
15   Did you -- did you review it preparing for your                15   to somebody and says, stop harassing these people,
16   testimony today?                                               16   that’s a red flag?
17       A. No.                                                     17       A. At the time I don’t know if he was harassing
18       Q. And you -- when you were preparing for your             18   people. I think he just had his 13 questions or
19   testimony, you knew that you would be responsible for          19   whatever he had. Which I don’t think it had anything to
20   discussing the sourcing and research that went into the        20   do with the families.
21   videos described in plaintiff’s petition, such as this         21       Q. Again, with regards to Wolfgang Halbig and his
22   one, correct?                                                  22   involvement with the families, we spoke in depth at our
23       A. I’m not sure if I ever had a meeting on that,           23   last deposition together, about Jonathan Reich?
24   no.                                                            24       A. I don’t remember speaking in depth about
25       Q. I’m not asking you if you had a meeting. I’m            25   Jonathan Reich.




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 1       Q. All right. Let’s do it now.                               1   Minnesota. Okay. What does that have to do with it?
 2       A. But I remember you asking about him and I                 2       Q. Just asking whether or not you were aware that
 3   didn’t know who he was.                                          3   Mr. Bidondi was a semi-professional wrestler?
 4       Q. Do you know who he is now?                                4       A. Okay. So does that disqualify him from asking
 5       A. No.                                                       5   questions?
 6       Q. Have you done any research to find out all of             6       Q. No, not at all. In fact, it gets me to my next
 7   the people that were harassed by Free Speech Systems and         7   question. When you saw the video of him harassing that
 8   their affiliates?                                                8   lawyer, did you think he was being more of a journalist
 9       A. All the people that were harassed?                        9   or more of a semi-professional wrestler?
10               MR. JEFFERIES: Objection, form.                     10       A. I would say more of a semi-professional
11       A. No, I didn’t do any research in to -- because            11   wrestler. I mean, he was asking him questions.
12   we were never advocating harassment of anybody.                 12       Q. Shortly after that video, he was fired because
13       Q. (BY MR. OGDEN) Really?                                   13   of what he was doing to those people?
14       A. I don’t think --                                         14       A. He wasn’t -- he was doing contract work for us.
15       Q. In your last deposition --                               15   We would either accept or not accept his reports.
16       A. I don’t think I ever said harass anybody.                16       Q. And after that, you stopped accepting all
17       Q. In your last deposition, you told me that                17   reports and stopped responding to him, according to your
18   Wolfgang Halbig -- excuse me, that Dan Bidondi, another         18   deposition testimony last time we spoke?
19   affiliate, was fired because of what he did at Sandy            19       A. I would have to look at the dates of
20   Hook, right? You remember that?                                 20   everything, but, yes, that sounds right.
21       A. He was -- I think he was fired before Sandy              21       Q. Okay. So it’s weird that we were produced in
22   Hook.                                                           22   this case for the first time, an e-mail that you’re
23       Q. Before Sandy Hook happened?                              23   involved with that has Dan Bidondi being fired for how
24       A. I know he was gone before -- he was gone -- I            24   he was acting at a Donald Trump rally in 2016. Fun
25   would have to look at his employment records, but the           25   fact, right?




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 1   Boston bomb- -- he was gone for a while, and then when           1       A. That is a fun fact.
 2   he was in Delaware during the Boston bombing, someone            2       Q. All right. Let’s get back to this list of
 3   mentioned that he was close by so Alex had him go report         3   videos that we’re not going to be able to discuss.
 4   on what was going on.                                            4   November 18th, 2016, Final Statement on Sandy Hook. You
 5       Q. And then quickly after you saw what he did to             5   remember this one?
 6   those people, it was uploaded to the Internet and it had         6       A. That was after Hillary Clinton brought it back
 7   an InfoWars tag on it, surely after you saw that, that’s         7   up into the purview, that Alex Jones was running around
 8   when you said, Bidondi needs to be disassociated from us         8   talking about Sandy Hook all the time.
 9   completely, right?                                               9       Q. Right. Now, you understand that prior to this,
10             MR. JEFFERIES: Objection, form.                       10   Alex Jones had been speaking about this -- he had spoken
11       A. When he came -- I think when he went to those            11   about this five months before that and prior to that
12   meetings and then was going to the people outside of the        12   38 separate times and that’s just the ones we know of.
13   meeting -- anything we told him to do was never to go           13       A. Uh-huh. In how many years? It was six years
14   harass people; it was to cover what was going on in the         14   at the time.
15   meeting.                                                        15             MR. JEFFERIES: Just answer the question.
16       Q. (BY MR. OGDEN) Right. But you could see in               16       Q. (BY MR. OGDEN) I’m going to tell you that it
17   the videos that he was giving you that he was harassing         17   was almost four years.
18   people and, in fact, was doing very little investigative        18       A. Okay.
19   journalism.                                                     19             MR. BANKSTON: Almost three. It was
20             MR. JEFFERIES: Objection, form.                       20   December -- gotcha.
21       A. The only video I saw him harassing was a                 21             MR. OGDEN: Almost four years.
22   lawyer.                                                         22       Q. (BY MR. OGDEN) Who did the research on that
23       Q. (BY MR. OGDEN) You understand that Mr. Bidondi           23   video?
24   is also a semi-professional wrestler, correct?                  24       A. What was the video again?
25       A. A professional wrestler was the governor of              25       Q. Final Statement on Sandy Hook.




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 1       A. That was something that me and Alex put                  1       A. Yeah.
 2   together. So we did the research on it.                         2       Q. And that deals with Free Speech Systems
 3       Q. What were the sources that y’all used?                   3   informing Dan Bidondi to stop representing himself as a
 4       A. News articles and video.                                 4   reporter, after an incident at a Trump rally in Rhode
 5       Q. From where?                                              5   Island, correct?
 6       A. Probably from previous videos that we had done.          6       A. Yeah. Yeah, that’s what it says.
 7       Q. Again, not probably. I’m asking for specifics            7       Q. And that was not in 2013 or ’14, that was
 8   because you have a duty, sitting here today, to be very         8   actually halfway through 2016.
 9   specific with me on what Free Speech Systems knows.             9       A. Yeah.
10   Okay? What news articles did you rely on?                      10       Q. In your last deposition that you had with me,
11       A. I don’t know.                                           11   you were tasked with talking about the employment of
12       Q. What news articles do you read that you find            12   Mr. Bidondi and you told us under oath, swearing to God,
13   reliable, if you don’t trust the FBI’s reports?                13   that he was fired because of his actions and conduct
14       A. So you’re saying the FBI has never lied to us           14   related to videos of him related to the Sandy Hook and
15   before?                                                        15   Newtown, Connecticut.
16       Q. Not at all.                                             16       A. Right.
17              MR. JEFFERIES: Just answer the question.            17       Q. But when I read this e-mail, it seems that you
18       Q. (BY MR. OGDEN) What I’m asking you is, where            18   actually fired him well after that date for something
19   do you even start looking for reports if they’re not           19   related to Donald Trump and his campaign. Fair?
20   videos that you can see and dissect; but if it’s just a        20       A. Well, there’s several people at InfoWars who
21   written report, what do you trust?                             21   have been fired and hired at different times, and I
22       A. Who do I trust?                                         22   don’t think we ever considered him fully an onboard
23       Q. And that’s Free Speech Systems, I’m asking.             23   employee. He was more of a contractor, because we were
24       A. I think we have pointed out that some -- some           24   paying invoices to a contractor.
25   outlets are reliable at certain times and they’re not.         25       Q. Right. And we talked about that at your last




                                                               67                                                                   69
 1   Even the FBI can be reliable.                                   1   deposition and that’s exactly what you said, except you
 2       Q. Okay. Who gets to cherry-pick when an outlet             2   told me that he had been fired immediately after that
 3   is reliable --                                                  3   video of him harassing those people and the lawyers at
 4       A. I think --                                               4   the courthouse in Newtown. Remember that?
 5       Q. -- you or Alex?                                          5       A. Uh-huh.
 6       A. Alex Jones makes that editorial decision.                6       Q. Okay. That wasn’t exactly true, was it?
 7       Q. Okay. Do you ever question him?                          7       A. Well, and then he came back after -- I think
 8       A. I think I’ve questioned him a couple times.              8   what happened is, he got some congressman to tell him
 9       Q. How did that go for you?                                 9   to -- I don’t know if he told him to shut the F up, or
10       A. I’m still working.                                      10   something like that, and he had video of it. And it was
11             MR. OGDEN: All right. I think this is a              11   during a gun -- Second Amendment legislation going
12   good time to take a break. His hands have got to be            12   through Delaware. And so I think he got brought back on
13   tired. Off the record.                                         13   in that capacity to be -- allow for him to produce
14             THE VIDEOGRAPHER: Going off the record at            14   reports for us again.
15   2:41 p.m.                                                      15       Q. Okay.
16             (Recess taken from 2:41 p.m. to 2:53 p.m.)           16       A. But he was never hired back in terms of -- he
17             THE VIDEOGRAPHER: We are back on the                 17   was never hired back in terms of full-time employment.
18   record at 2:53 p.m.                                            18       Q. Right. But you contracted with him, after you
19             (Deposition Exhibit 2 marked for                     19   told me that you cut ties with him completely within a
20              identification.)                                    20   text message, that’s what you testified to under oath
21       Q. (BY MR. OGDEN) I’m going to hand you                    21   swearing to God --
22   Exhibit 2. Exhibit 2 is an e-mail from you to Tim              22       A. Right. And at the time we had cut ties
23   Flores.                                                        23   completely with him.
24       A. Looks like it says Melinda Flores.                      24       Q. Yeah, but at the time I asked you that
25       Q. Melinda Flores and Tim, correct?                        25   question, you had also recontracted with him all the way




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 1   up until December of 2015 and paid him in January and            1   against tyranny.
 2   then also sent him messages all the way up through June          2       A. What do you mean the animal?
 3   of 2016 regarding his -- him being a contractor for Free         3       Q. Have you ever heard of bears?
 4   Speech Systems. But none of that was in your answer,             4       A. Yeah, I’ve heard of bears.
 5   right?                                                           5       Q. Okay. I just wanted to make sure that you
 6       A. I’m not sure if you -- what the answer -- or              6   weren’t confused, because we’ve had a lot of confusion
 7   what the question was at the time, but what -- from what         7   in this room today on the questions.
 8   I remember, is that Dan Bidondi would go in and out of           8             MR. JEFFERIES: Objection.
 9   the good graces, because I don’t think he was even               9       Q. (BY MR. OGDEN) With the -- we’ll get back to
10   hired -- he wasn’t even there at the time of Sandy Hook.        10   the topics that you were prepared for -- or were
11   And then he came back and then he was gone again. And           11   supposed to be prepared for today. July 7 -- excuse me.
12   that’s all with Alex’s purview.                                 12   November 18th, 2016, Final Statement on Sandy Hook. You
13       Q. What do you mean, the time of Sandy Hook?                13   remember that one?
14       A. Well, there’s this massive time since 2012               14       A. (Nods head.)
15   where --                                                        15       Q. And that video was a compilation of a number of
16       Q. Through when?                                            16   videos we’ve already gone through, correct?
17       A. I would say maybe 2015. I mean, I’m not saying           17       A. Correct.
18   we didn’t do any videos after that. I’m saying somebody         18       Q. So it’s safe to say you have no idea who
19   might have called and done it; and then when Hillary            19   researched or sourced that information?
20   Clinton brought it back up on the campaign trail, I             20       A. Well, Alex and I researched and sourced the
21   think Alex saw the lawsuit attacks that were being set          21   information.
22   up.                                                             22       Q. From prior videos, correct?
23       Q. Okay. Let’s break down that answer.                      23       A. Uh-huh.
24       A. Okay.                                                    24       Q. We just went through all those prior videos and
25       Q. Earlier this year you told me that you                   25   you don’t know who researched or sourced those, so the




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 1   terminated him completely and disassociated yourself             1   information may have been compiled by you to make this,
 2   when he harassed the lawyers at the courthouse in                2   but the source of that information is unknown to Free
 3   Newtown, Connecticut. However, today you told me that            3   Speech Systems, as we sit here today, correct?
 4   he was -- that was disgusting and we disassociated               4       A. Correct.
 5   ourselves at the time, but then he came into our good            5       Q. Now, fast-forward four months, April 22nd,
 6   graces because he got a congressman in Delaware to curse         6   2017, after the final statement, that was our last
 7   at him. That’s the credentials that allows you to get            7   video, is Sandy Hook Vampires Exposed. Do you remember
 8   back into the good graces of InfoWars?                           8   that video?
 9       A. Well, it depends on what the context is, but              9       A. I do remember that video.
10   that could be politics.                                         10       Q. Who researched the information for that video?
11       Q. And this context was the Second Amendment,               11       A. I would say myself and Alex did.
12   right?                                                          12       Q. What were your sources?
13       A. Uh-huh.                                                  13       A. I believe a Megyn Kelly interview.
14       Q. And you said earlier that you considered                 14       Q. Any others?
15   yourself a Second Amendment steward?                            15       A. And then I believe previous videos that we
16       A. Uh-huh.                                                  16   produced.
17       Q. Are you in a well-regulated militia?                     17       Q. Are you aware that on April 22nd, 2017, that
18       A. I don’t think you have to be in a                        18   the Megyn Kelly interview hadn’t even happened yet?
19   well-regulated militia to be a Second Amendment steward.        19       A. Oh, it hadn’t happened yet? Okay.
20       Q. Right. I was just asking which part of the               20       Q. Fair to say you’re not prepared to discuss this
21   Second Amendment you were a steward of?                         21   video?
22       A. That the right to bear arms shall not be                 22       A. I’m -- must be confused with another Sandy Hook
23   infringed.                                                      23   vampire video.
24       Q. And "bear" arms is not the animal, but it’s              24       Q. Okay. Fair to say you’re not prepared to
25   actually the ability to bear arms to protect yourself           25   discuss the one from April 22nd, 2017? Yes?




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 1       A. Correct.                                                  1   the source of that information, correct?
 2       Q. Okay. Let’s go to June 13th, 2017. It’s the               2        A. Correct.
 3   55th video. Media Refuses to Report Alex Jones’ Real             3        Q. And October 26, 2017, JFK Assassination
 4   Statements on Sandy Hook. Who researched the                     4   Documents to Drop Tonight.
 5   information on this video?                                       5        A. Okay.
 6       A. Alex.                                                     6        Q. Do you remember that video?
 7       Q. How do you know that?                                     7        A. No, I don’t remember that video.
 8       A. Because I think by that time, Alex had                    8        Q. It’s fair to say that then you were -- you’re
 9   apologized several times to the families and -- and what         9   not prepared to discuss the source of the information
10   was the date on that again? I don’t know if that was            10   related to Sandy Hook in that video?
11   right around -- we did a video right around Father’s            11        A. Correct.
12   Day.                                                            12        Q. It’s fair to say that you’re also not prepared
13       Q. June 13th, 2017.                                         13   to discuss the research that went into the information
14       A. So I’m not sure if that was Father’s Day or              14   in that video relating to Sandy Hook?
15   not, but he did put out a special Father’s Day message          15        A. That’s correct.
16   around that time to the families --                             16        Q. All right. Let’s move to the second topic that
17       Q. And no one --                                            17   you were tasked with being prepared to discuss. Topic 2
18       A. -- apologizing for whatever -- I don’t know              18   is, "Internal editorial discussions regarding Free
19   how -- however many times it was, he apologized again.          19   Speech Systems LLC’s coverage of the Sandy Hook
20       Q. Who else from Free Speech Systems researched             20   Elementary School shooting."
21   for that video?                                                 21        A. Uh-huh.
22       A. It would have just been me and Alex.                     22        Q. What did you do to prepare yourself?
23       Q. Earlier you said it was only Alex. Now it was            23        A. Spoke with my attorney.
24   you and Alex?                                                   24        Q. Anything else? And let me cut you off there.
25       A. Well, I put the stuff together. So I would               25   If there’s any information that -- in your answer that




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 1   consider -- I would consider what I would -- what I’m            1   regards a conversation you’ve had with your attorney, I
 2   doing, sourcing the other videos.                                2   don’t want you to disclose that to me.
 3        Q. Okay. And were those other videos the ones               3       A. Okay. Then that is all.
 4   that I’ve described already?                                     4       Q. Did you review any documents?
 5        A. Probably -- yes. Some of them were. I’m sure             5       A. Just a couple of -- I believe the one I looked
 6   some of them might have been from a different name or            6   at earlier. I don’t know if this is the one.
 7   something.                                                       7       Q. Did you review any e-mails?
 8        Q. Okay. Have you produced the ones with                    8       A. No.
 9   different names?                                                 9       Q. Did you review any text messages?
10        A. What do you mean?                                       10       A. No.
11        Q. Well, you said some of them would be. I                 11       Q. Did you review any memorandums?
12   listened --                                                     12       A. I don’t think we have anything from that.
13        A. I’m sure some of those would have been on the           13       Q. Did you speak with any of the employees that
14   list that we talked about. I’m sure there’s others on           14   are still at InfoWars that may have been related to
15   the list that we didn’t talk about that are in your             15   Sandy Hook in any way?
16   possession, that we might have pulled video from.               16       A. No.
17        Q. Okay. And you’re sure they’re in my                     17              MR. JEFFERIES: Objection, form.
18   possession?                                                     18       Q. (BY MR. OGDEN) Did you speak to Paul Watson?
19        A. You know, most of our video library got wiped           19       A. No.
20   out with YouTube, and so whatever is left is still              20       Q. We know that from your answers related to the
21   around and whatever’s not is not.                               21   videos and not knowing the sources of the information or
22        Q. Okay. However, the June 13, 2017, you said              22   any of the researchers, that any discussion that would
23   that you compiled and sourced -- or sourced this video          23   have involved that -- those people that did that, you’re
24   from other videos. At least the videos we’ve gone               24   not prepared to discuss that, correct?
25   through today that were involved in that, you don’t know        25       A. That is correct.




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 1        Q. Okay. Outside of that, what does the term                1       A. I think the Sandy Hook period, from the time of
 2   "editorial discussion" mean to you?                              2   the incident to -- till we stopped having him on, which
 3        A. Well, an editor is someone who determines                3   I don’t know the exact date.
 4   what’s going up on a website, either fixing -- either            4       Q. So 2013, ’14 and some of ’15 --
 5   verifying a fact or fixing the context of something or           5       A. Yeah.
 6   making sure it’s grammatically correct.                          6       Q. -- you thought Wolfgang Halbig was a good
 7        Q. Okay. And I apologize, my question was a                 7   source of information?
 8   little -- probably confusing. But I didn’t ask what an           8       A. Uh-huh.
 9   editor was. I asked what an editorial discussion was.            9       Q. Did anybody at Free Speech Systems voice
10        A. Well, those are discussions that people who are         10   concerns about Wolfgang Halbig being crazy?
11   making editorial decisions, those are the discussions           11       A. Not that I -- not to my knowledge.
12   they would have.                                                12       Q. Would that have been an editorial discussion?
13        Q. What’s an editorial decision?                           13       A. Yeah, I think that would have been an editorial
14        A. Saying -- looking at -- so the essence of an            14   discussion.
15   editorial decision would be -- and we can go back to the        15       Q. What about Mr. Fetzer, Jim Fetzer?
16   green screen thing. Looking at it and going, I believe          16       A. Yeah, I don’t know if we ever had Jim Fetzer on
17   that’s green screen; we’re going to do a video on this          17   the show.
18   saying that’s green screen. So at that time, Alex made          18       Q. You definitely relied on his information,
19   an editorial decision to create that video.                     19   correct, a multitude of times?
20        Q. Other than that editorial discussion that you           20       A. I don’t know. Fetzer didn’t like Alex, as far
21   were involved with, are you prepared to discuss any             21   as I know.
22   editorial discussions that you were not involved in?            22       Q. It’s fair to say that there were definitely
23        A. Not that I was not involved in.                         23   editorial discussions that were had about Fetzer’s
24        Q. Did you take any steps to prepare yourself to           24   reliability as a source, correct?
25   discuss whether or not there are any editorial                  25       A. I don’t know if Fetzer ever came into the




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 1   discussions that were had between anyone at Free Speech          1   picture at that time.
 2   Systems outside your purview?                                    2      Q. If there are discussions out there within Free
 3       A. No.                                                       3   Speech Systems’ documents that were produced in this
 4       Q. Okay. With regard to an editorial discussion              4   case that deal -- that have evidence -- excuse me,
 5   that leads to an editorial decision, if someone at Free          5   editorial discussions in there, that’s something that
 6   Speech Systems comes and says, I want to go on air and           6   you should know about, correct?
 7   say Sandy Hook Elementary School was actually shut down          7      A. If you’re saying I reviewed every e-mail that
 8   and wasn’t an operating school at the time of the                8   was sent around the office during those time periods,
 9   shooting, what discussion would have to happen -- excuse         9   no, I didn’t do that.
10   me. What -- how would that person then be able to               10      Q. You didn’t review any e-mails preparing for
11   actually put that on air? What has to happen?                   11   today?
12       A. I think what you’re referring to is Wolfgang             12      A. That’s correct.
13   Halbig and I’m -- Alex doesn’t do preinterviews with            13      Q. All right. Do you think you should have?
14   people. So if somebody comes on and says they have a            14      A. I was relying on the advice of my attorney.
15   bombshell to drop or whatever, I mean, a lot -- so a lot        15      Q. With how this deposition has gone so far, do
16   of the headlines are written after the interview is             16   you think you’ve prepared enough?
17   done. So we don’t go in and say, oh, we’ve got                  17      A. I’m not going to answer that.
18   Wolfgang, he’s going to present this information. So            18      Q. Okay. I want to ask you, with your testimony
19   I’m not sure how -- in terms of that, that sounds like          19   that you gave me earlier this year versus -- it was in
20   that came from Wolfgang Halbig.                                 20   March -- versus the testimony that you have given me
21       Q. Okay. Do you believe that Wolfgang Halbig is a           21   today, does it all coincide with each other?
22   good source of information?                                     22      A. I think maybe, except for some of the
23       A. Well, at the time I think we did believe he was          23   miscommunications on what we consider employment status
24   a good source of information.                                   24   with Dan Bidondi.
25       Q. What time was that?                                      25      Q. So if we go back and read that transcript where




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 1   the nice court reporter in March was writing down every         1       Q. In any way is that differentiated on air? Does
 2   word and it was clear that we were talking about                2   Mr. Jones say, here, I’m just going to make stuff up;
 3   contractor work with him, can you -- do you still stand         3   here, you should trust me because we’re truth in
 4   by the statements you gave to me in March?                      4   journalism?
 5       A. Well, it’s possible that they were -- I didn’t           5             MR. JEFFERIES: Objection, form.
 6   have all the information in front of me at the time.            6       Q. (BY MR. OGDEN) Does he do that?
 7       Q. Do you understand that back in March, as well            7       A. I think he doesn’t play devil’s advocate as
 8   as today, you have a legal duty to be prepared to               8   much anymore because of instances like these, where
 9   discuss the topics that I give you? Do you know that?           9   we’re at today.
10       A. Sure. But I don’t know if that means -- I               10       Q. Did you know that a woman in Florida was
11   don’t know every question you’re going to ask me.              11   inspired by InfoWars to harass one of my clients to the
12       Q. Right. But you know the topics. One of --               12   point she went to federal prison?
13       A. I don’t know if Dan Bidondi was a topic in              13       A. I mean, somebody was inspired by Bernie Sanders
14   the -- in any of the documents that I saw.                     14   to go shoot a bunch of congressmen.
15       Q. You know that Dan Bidondi was a source of               15       Q. Did you know that?
16   information regarding Sandy Hook, at least to some             16       A. No, I’ve heard of the case. Yeah. I don’t
17   extent, correct?                                               17   remember her name, but --
18       A. In terms of after going up there and reporting          18       Q. Do you take any responsibility for that?
19   on those --                                                    19       A. No, I’m not responsible for what someone else
20       Q. In terms of that --                                     20   does.
21       A. -- those meetings, yeah.                                21       Q. If someone relies on the misinformation that
22       Q. -- in terms of sending e-mails in, in terms of          22   you have spread over the course of six years, to the
23   having back-and-forth discussions with people from Free        23   point where they believe you because you keep telling
24   Speech Systems, you understand that Dan Bidondi was a          24   them over and over again that you are the truth in
25   source of information and specifically that -- was a           25   journalism and they take what you have as the truth and




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 1   source of information that you and Mr. Jones used to            1   they act upon it, you don’t have any responsibility for
 2   make videos and spread that information to millions of          2   that?
 3   people?                                                         3              MR. JEFFERIES: Objection, form.
 4       A. In some small part, he had a -- I wouldn’t               4        A. I don’t think we were covering Sandy Hook as
 5   consider him a major investigator into Sandy Hook.              5   much as you’d like to think we were.
 6       Q. Sitting here today, does Free Speech Systems             6        Q. (BY MR. OGDEN) I just ripped off 61 videos
 7   acknowledge that it spread a multitude of mistruths to          7   spanning from 21 minutes to over three hours long.
 8   millions of people regarding the families and children          8        A. Okay. And I bet that three-hour long video,
 9   at Sandy Hook Elementary School in December of 2012?            9   we’re not talking about Sandy Hook the entire time. We
10             MR. JEFFERIES: Objection, form.                      10   also do three hours a day every day and two hours on
11       A. I think we made some mistakes and I think we’ve         11   Sunday, plus we’re doing an hour live every night and
12   acknowledged those mistakes and -- but we never told           12   then there’s the multitude of other live videos that are
13   anybody to go after anybody’s families, we never wanted        13   going on. There’s a lot of video content that’s being
14   to -- we never wanted to hurt the families. We see             14   produced, and you’re looking at a very small percentage
15   events like these, and they’re current -- it happens           15   of it.
16   even today, when these events happen, the next thing           16        Q. Right. I don’t even know if these are all your
17   that comes out of a politician’s mouth is, we’ve got to        17   Sandy Hook videos. These are just the ones that I could
18   start grabbing people’s guns.                                  18   find.
19       Q. (BY MR. OGDEN) As a journalist, don’t you have          19        A. You can thank YouTube for that. You can thank
20   the duty to be right and not first?                            20   YouTube and Facebook and everybody else.
21       A. Well, we’re not always wearing journalistic             21              MR. JEFFERIES: Answer the question.
22   hats. Sometimes we’re commenting on something.                 22        Q. (BY MR. OGDEN) You don’t even know if we’re --
23       Q. So when you’re commenting on something, you can         23   if I’m talking about all the videos, do you?
24   just make it up and it doesn’t matter?                         24        A. I don’t think anybody knows.
25       A. No, you can say your opinion.                           25        Q. The three-hour video --




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 1        A. I don’t even think God knows all the videos             1       A. I don’t think we’re going to be remembered for
 2   because they’re gone. They don’t exist anymore.                 2   Sandy Hook.
 3        Q. The three-hour video that you just mentioned,           3       Q. What do you think you’re going to be remembered
 4   we probably weren’t talking about Sandy Hook the whole          4   for?
 5   time, you don’t know because you didn’t review it to            5       A. I don’t know. That’s what you want. I know
 6   prepare for today, did you?                                     6   that.
 7        A. No, I did not.                                          7       Q. Simple question. I can repeat it if you’d
 8        Q. So you don’t know. That’s just you making               8   like. What do you think InfoWars and Free Speech
 9   something up and spreading it to people?                        9   Systems is going to be remembered for, other than the
10        A. No, that’s not what I’m doing.                         10   Sandy Hook misinformation that was spread over the
11        Q. Then what are you doing?                               11   course of over half a decade?
12        A. The same thing you’re doing.                           12       A. I think we’ll be remembered about a lot more
13        Q. I’m asking questions.                                  13   than that. And other than a few -- having a few people
14        A. Oh.                                                    14   on that said it didn’t happen, I mean, I don’t think I
15        Q. What are you doing?                                    15   ever questioned that kids died at that location.
16        A. Okay.                                                  16       Q. I know that you said you’re proud of stopping
17        Q. When you say something and you’re not sure if          17   some legislation that was never put in place, but are
18   it’s true but you sit here under the penalty of perjury        18   you ashamed of the wrongs that you guys spread?
19   and swear to God that it is the truth, what is that            19       A. Well, I mean --
20   other than lying?                                              20             MR. JEFFERIES: Objection, form.
21        A. I’m not lying.                                         21       A. -- we didn’t -- we didn’t kill those kids. We
22        Q. Then what is it called when you make up                22   didn’t cause the situation to happen. We were just
23   something that you aren’t sure of when you’ve sworn to         23   actively looking at it and looking at a bunch of
24   tell the truth and the complete truth? What is that            24   different angles and some of those angles were wrong.
25   called, in your mind?                                          25   And I’m not going to sit here and say that we’re bad




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 1       A. I am not lying. We’re having -- you’re asking            1   people, because we didn’t make this thing happen. We
 2   me questions, but we’re also having back and forth on a         2   didn’t cause it to happen. We didn’t give the kid the
 3   multitude of topics.                                            3   drugs, we didn’t give the kid the access to all the
 4       Q. We are having back and forth on a multitude of           4   stuff. We didn’t have -- you know, I think a lot of
 5   topics. I’m just asking you questions and expecting you         5   this would have been solved had they put out security
 6   to answer them truthfully. And like I said at the               6   footage showing the guy entering the building. They
 7   beginning and like I said at the beginning of the last          7   never did that. Then they go, well, we didn’t have it.
 8   time you and I spoke on the record, don’t guess.                8   We saw it in Columbine. So when you see red flags like
 9   Because, one, it’s not fair to anybody in this room;            9   that, you start asking questions and I’m not ashamed of
10   and, two, it’s -- there’s no journalistic integrity in         10   asking questions and I don’t think anybody should be
11   doing it. Okay?                                                11   ashamed of asking questions, even yourself.
12       A. Is that a question?                                     12       Q. (BY MR. OGDEN) If any of my clients were in
13       Q. My last question is, sitting here today on              13   the room right now, would you apologize to them?
14   behalf of the company, are you proud of the work that          14       A. I would apologize for the loss of their kids,
15   you did -- that Free Speech Systems did on Sandy Hook          15   yes, I would.
16   Elementary School and the shooting that happened in            16       Q. You wouldn’t apologize for spreading a bunch of
17   December 2012?                                                 17   information that was wrong about the circumstances of
18       A. I think our reporting stopped what was going to         18   their kids’ death, to millions of people for years, to
19   be a lot of antigun legislation coming down.                   19   the point where some of them had to move? You wouldn’t
20       Q. You didn’t answer my question.                          20   apologize to them?
21       A. So I am proud of it.                                    21       A. Well, we didn’t turn it into a media spectacle.
22       Q. My question was: Are you proud of the                   22   It was already turned into a media spectacle. We were
23   information that you spread about Sandy Hook from 2012         23   just talking about it. Are you going to ask these
24   to 2017 as a company? Is that what you want to be              24   people who were -- you know, the cameras that were --
25   remembered for?                                                25   people that were sticking cameras in their faces every




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 1   time they turned around and sneezed and all the                1            CHANGES AND SIGNATURE
 2   interviews they with doing? They made themselves               2   WITNESS: ROB DEW DATE OF DEPOSITION: 11/26/2019
                                                                    3   PAGE/LINE    CORRECTION         REASON FOR CHANGE
 3   politic -- public figures. That’s what they did.
                                                                    4   ________________________________________________________
 4       Q. Absolutely. If I get the opportunity, I’m
                                                                    5   ________________________________________________________
 5   absolutely going to ask those people if they’re sorry.         6   ________________________________________________________
 6   But I’m asking you right now. Are you?                         7   ________________________________________________________
 7       A. I’m sorry for the loss of their kids,                   8   ________________________________________________________
 8   definitely am. I would never want that to happen to            9   ________________________________________________________
 9   anybody.                                                      10   ________________________________________________________
                                                                   11   ________________________________________________________
10       Q. And again, are you sorry for spreading a bunch
                                                                   12   ________________________________________________________
11   of lies and impacting their life over a decade after
                                                                   13   ________________________________________________________
12   they had to experience the one thing no parent should         14   ________________________________________________________
13   ever have to do?                                              15   ________________________________________________________
14              MR. JEFFERIES: Objection, form.                    16   ________________________________________________________
15       A. At the time I think what we were putting out we        17   ________________________________________________________
16   thought was correct information at the time.                  18   ________________________________________________________
                                                                   19   ________________________________________________________
17       Q. (BY MR. OGDEN) And you were wrong, correct?
                                                                   20   ________________________________________________________
18       A. On some instances, we were wrong.
                                                                   21   ________________________________________________________
19       Q. And are you sorry for that?                            22   ________________________________________________________
20       A. Am I sorry for being wrong? No. People get             23   ________________________________________________________
21   wrong -- get things wrong all the time.                       24   ________________________________________________________
22              MR. OGDEN: Okay. I appreciate your time.           25   ________________________________________________________
23              THE WITNESS: Thanks.
24              THE VIDEOGRAPHER: This concludes the
25   deposition at 3:22 p.m. We are off the record.




                                                              91                                                                   93
 1 (Deposition concluded at 3:22 p.m.)                              1         I, ROB DEW, have read the foregoing deposition
 2                                                                  2   and hereby affix my signature that same is true and
 3                                                                  3   correct, except as noted herein.
 4                                                                  4
 5                                                                  5                    __________________________
 6                                                                  6                    ROB DEW
 7                                                                  7
 8                                                                  8   STATE OF ______________ )
 9                                                                  9   COUNTY OF _____________ )
10                                                                 10
11                                                                 11         Before me, ______________________, on this day
12                                                                 12   personally appeared ROB DEW known to me (or proved to me
13                                                                 13   under oath through __________________________
14                                                                 14   (description of identity card or other document) to be
15                                                                 15   the person whose name is subscribed to the foregoing
16                                                                 16   instrument and acknowledged to me that they executed the
17                                                                 17   same for the purposes and consideration therein
18                                                                 18   expressed.
19                                                                 19         Given under my hand and seal of office this
20                                                                 20   _____________ day of ________________, 2019.
21                                                                 21
22                                                                 22                    __________________________
23                                                                 23                    NOTARY PUBLIC IN AND FOR
24                                                                                       THE STATE OF______________
25                                                                 24
                                                                   25 My Commission Expires: _____________




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 1           CAUSE NO. D-1-GN-19-004651                               1       FURTHER CERTIFICATION UNDER RULE 203 TRCP
 2   NEIL HESLIN         * IN THE DISTRICT COURT                      2           The original deposition was/was not returned
                   *                                                  3   to the deposition officer on _____________________;
 3   VS.             *                                                4           If returned, the attached Changes and
                   * OF TRAVIS COUNTY, TEXAS                          5   Signature page contains any changes and the reasons
 4   ALEX E. JONES, INFOWARS, *                                       6   therefor;
     LLC, and FREE SPEECH     *                                       7           If returned, the original deposition was
 5   SYSTEMS, LLC         * 261ST JUDICIAL DISTRICT                   8   delivered to Bill Ogden, Custodial Attorney;
 6                                                                    9           That $____________ is the deposition officer’s
 7            REPORTER’S CERTIFICATION                               10   charges to the Plaintiff for preparing the original
               DEPOSITION OF ROB DEW                                 11   deposition transcript and any copies of exhibits;
 8              November 26, 2019                                    12           That the deposition was delivered in
 9                                                                   13   accordance with Rule 203.3, and that a copy of this
10          I, Micheal A. Johnson, Certified Shorthand               14   certificate was served on all parties shown herein and
11   Reporter in and for the State of Texas, do hereby               15   filed with the Clerk.
12   certify to the following:                                       16           Certified to by me this ___________ day of
13          That the witness, ROB DEW, was duly sworn by             17   ___________________, 2019.
14   the officer and that the transcript of the oral                 18
15   deposition is a true record of the testimony given by           19               ___________________________________
16   the witness;                                                                     Micheal A. Johnson, CSR, RDR, CRR
17          That the deposition transcript was submitted             20               Texas Certification No. 5891
18   on __________________, to the witness or to the attorney                         Expiration Date: 01/31/2021
19   for the witness for examination, signature and return to        21               Firm Registration No. 528
20   me by __________________;                                                        Integrity Legal Support Solutions
21          That the amount of time used by each party at            22               PO Box 245
22   the deposition is as follows:                                                    Manchaca, Texas 78652
23          Mr. Bill Ogden - 01:42:43                                23               (512) 320-8690
            Mr. T. Wade Jefferies - 00:00:00                                          (512) 320-8692
24                                                                   24
25         That pursuant to information given to the                 25



                                                                95
 1 deposition officer at the time said testimony was taken,
 2 the following includes counsel for all parties of
 3 record:
 4         Mr. Bill Ogden, Attorney for Plaintiff
           Mr. Mark D. Bankston, Attorney for Plaintiff
 5         Mr. T. Wade Jefferies, Attorney for Defendants
 6         I further certify that I am neither counsel
 7 for, related to, nor employed by any of the parties or
 8 attorneys in the action in which this proceeding was
 9 taken, and further that I am not financially or
10 otherwise interested in the outcome of the action.
11         Further certification requirements pursuant to
12 Rule 203 of TRCP will be certified to after they have
13 occurred.
14         Certified to by me this 1st day of
15 December, 2019.
16
17
18                 ___________________________________
                   Micheal A. Johnson, CSR, RDR, CRR
19                 Texas Certification No. 5891
                   Expiration Date: 01/31/2021
20                 Firm Registration No. 528
                   Integrity Legal Support Solutions
21                 PO Box 245
                   Manchaca, Texas 78652
22                 (512) 320-8690
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24
25



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                           Exhibit 3
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     1                                  REPORTER'S RECORD
                                      VOLUME 1 OF 1 VOLUME
     2

     3     NEIL HESLIN,                                 )   IN THE DISTRICT COURT
                                                        )
     4           Plaintiff                              )   TRAVIS COUNTY, TEXAS
                                                        )
     5     VS.                                          )   459TH JUDICIAL DISTRICT
                                                        )
     6     ALEX E. JONES, INFOWARS,                     )
           LLC, ET AL.,                                 )   TRIAL COURT CAUSE NO.
     7                                                  )   D-1-GN-18-001835 AND
                 Defendant                              )   D-1-GN-19-004651
     8

     9     LEONARD POZNER AND                           )   IN THE DISTRICT COURT
           VERONIQUE DE LA ROSA,                        )
    10                                                  )   TRAVIS COUNTY, TEXAS
                 Plaintiff                              )
    11                                                  )   459TH JUDICIAL DISTRICT
           VS.                                          )
    12                                                  )
           ALEX E. JONES, INFOWARS,                     )   TRIAL COURT CAUSE NOS.
    13     LLC, ET AL.,                                 )   D-1-GN-18-001842
                                                        )
    14           DEFENDANTS                             )

    15
           SCARLETT LEWIS,                              )   IN THE DISTRICT COURT
    16                                                  )
                 Plaintiff                              )   TRAVIS COUNTY, TEXAS
    17                                                  )
           VS.                                          )   459TH JUDICIAL DISTRICT
    18                                                  )
           ALEX E. JONES, INFOWARS,                     )
    19     LLC, ET AL.,                                 )   TRIAL COURT CAUSE NO.
                                                        )   D-1-GN-18-006623
    20           DEFENDANTS                             )

    21
          -------------------------------------------------------
    22

    23
                      MOTION TO COMPEL; MOTION FOR SANCTIONS
    24

    25

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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     1    non-appearing attorney, who's acting as corporate

     2    counsel.      He's general counsel.                   He's essentially the

     3    party.     He is their corporate lawyer.

     4                  And you have these attorneys who come in who

     5    are put in these awkward positions, like you can see

     6    Mr. Pattis really found himself in an awkward position

     7    there.     And each of these attorneys will then come and

     8    the next local counsel will blame it on the local

     9    counsel before.           And so here we have Mr. Reeves again,

    10    who is the latest series in that, and I'm expecting,

    11    just like Mr. Jefferies, he will blame the one before

    12    him.     But what you'll see is the consistent behavior of

    13    party itself.         And that is the reason why we think

    14    anything more at this point just becomes ridiculous.

    15                  So what we're asking is the default judgment

    16    and to let a trial proceed forward just on whether

    17    Jones' conduct merits punitive damages; what the

    18    compensatory damages are; and, if there is a punitive

    19    damages finding, what the punitive damages should be.

    20    And that's what we're asking for today, Your Honor.

    21                  THE COURT:           So, I printed out your proposed

    22    orders.     I haven't read them yet because I didn't know

    23    they were there until this morning.

    24                  My concern is you need this discovery even

    25    for a damages trial.               So, are you asking me to default

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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     1    liability and order the discovery still be responded to

     2    again?

     3                  MR. BANKSTON:             It's interesting.                I do think

     4    you're right, that there will need to be some damages

     5    discovery from therein that's directed towards them.                                  I

     6    don't honestly think it's ever -- I'm going to get

     7    much.     And I don't -- let me put it this way, I don't

     8    think the discovery that was, um, issued under the

     9    court's prior discovery orders, which was TCPA-directed

    10    discovery, all that goes to my burdens.                             So I don't

    11    think we've served any discovery yet that would be

    12    subject to these orders that would be damage related.

    13                  Certainly if we go forward and there's

    14    something going on with damages that we need to bring

    15    to the court, you know, for -- we could have that.                                But

    16    I'm just kind of hoping that we can go forward and at

    17    least put on a damages trial, even if they don't

    18    produce us anything.

    19                  THE COURT:           Right.        I mean you can, but my

    20    question is just, if you're trying to get punitive

    21    damages, you probably do need more discovery.

    22                  MR. BANKSTON:             I think that's true.

    23                  Well, I'm going to tell you, Your Honor, I

    24    think I have enough to prove punitive damages right

    25    now.     I do.

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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     1                  THE COURT:           Okay.       You might want more, let's

     2    put it that way.

     3                  MR. BANKSTON:             I do.       Exactly.          Correct, Your

     4    Honor.

     5                  THE COURT:           Okay.       But your position is

     6    you'll file that later.

     7                  MR. BANKSTON:             Right.

     8                  Right, if we need -- if, for instance, after

     9    this hearing and I have more of an understanding of

    10    what the scope of discovery is like going forward, then

    11    we'll serve new discovery requests and depositions that

    12    we may need.         I think that would be very limited.

    13                  THE COURT:           Okay.       All right.           Thank you.

    14                  Mr. Reeves.

    15                  MR. REEVES:           Okay.        Thank you, Your Honor.

    16                  You know, Mr. Bankston, he kind of merged

    17    everything together and I feel like, for at least my

    18    purposes, the best way to approach this is individually

    19    with each motion so that we can make sure that we have,

    20    you know, a clear understanding of each particular

    21    motion, what is requested here.

    22                  The first thing I want to say is that, you

    23    know, the statement at the very end where he pulled out

    24    where I asked you to give me basically a chance to deal

    25    with the discovery issue is from a brief in Pozner,

                      Alicia DuBois, Texas CSR 5332 - 459th District Court, Travis County
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                          Exhibit 4
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1                   ROUGH DRAFT

2       The stenographic notes taken in the within

3 proceeding have been translated instantaneously into

4 their English equivalents through a computerized process

5 called realtime translation. A rough draft, in ASCII

6 format, is available to all counsel. The text as seen

7 herein of these proceedings is unedited and uncertified

8 and may contain untranslated stenotype, misspelled

9 proper names and technical words, occasional reporter's

10 notes, and/or nonsensical English word combinations.

11 These will be corrected on the final certified

12 transcript upon its delivery to you in accordance with

13 our standard delivery terms, or on an expedited basis,

14 as requested.

15      The rough draft is intended only for the purpose of

16 augmenting counsel's notes and is not intended to be

17 used or cited in any court proceeding as representing a

18 final edited and proofread transcript.

19

20

21

22

23

24

25

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1             THE VIDEOGRAPHER: This is the deposition

2 of Daria Karpova, the date is December 3, 2021. The

3 time is 10:53 a.m.

4             You may swear in the witness.

5             (Oath administered remotely by the reporter

6 located in San Antonio, Texas, to the witness located in

7 Austin, Texas)

8             MR. BANKSTON: Do you want us to announce

9 appearances?

10            THE REPORTER: That would be great.

11            MR. BANKSTON: Yeah. Okay. Mark Bankston

12 questioning for the plaintiffs.

13            MR. REEVES: Brad Reeves for the

14 defendants.

15            Before we begin, Mark, I'd like to go ahead

16 and see if we have the same stipulations yesterday

17 morning that this is subject to the already entered

18 protective order in the Louis case and the pending ones

19 in the Heslin and Pozner and De La Rosa matters.

20            MR. BANKSTON: So agreed.

21            MR. REEVES: Alright.

22                 DARIA KARPOVA,

23 having been duly affirmed, was examined and testified as

24 follows:

25                   EXAMINATION

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT              3



1 BY MR. BANKSTON:
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2     Q. Ma'am, could you tell the jury your name and

3 what you do for a living?

4       A. Daria Karpova. I'm a producer for InfoWars.

5       Q. When were you first told you'd be giving this

6 deposition?

7       A. I don't recall the exact date, but I believe it

8 was a few weeks ago.

9       Q. Sometime in November you think.

10      A. Yes.

11      Q. Okay. Do you know what you're here to testify

12 about?

13      A. It is my understanding I'm here on behalf of

14 Free Speech Systems.

15      Q. Have you been provided with topics you're going

16 to testify about?

17      A. Yes.

18      Q. Okay. Did you meet with your attorney before

19 this deposition?

20      A. Yes.

21      Q. When did you do that?

22      A. Yesterday.

23      Q. Was that the first time you met this attorney?

24      A. Yes.

25      Q. How long did you spend with him?

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1       A. A couple of hours.

2       Q. And when I say when you met with your attorney,
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3 I'm speaking about Bradley Reeves seated
                                      825 ofacross
                                             1271 from me.

4 Have you met with any other attorneys?

5       A. Yes.

6       Q. What other attorneys have you met with?

7 Well -- actually, hold on. Because -- let me back up

8 here.

9         Have you met with any other attorneys regarding

10 your preparation for your testimony here today?

11      A. Yes.

12      Q. Okay. What attorneys are that?

13      A. Isn't it privileged?

14            MR. REEVES: Excuse me? You can talk about

15 whom -- the attorneys you met with. Do not speak about

16 the discussions you had.

17      A. Okay. Mr. Randazza.

18      Q. (By Mr. Bankston) Okay. You met with

19 Mr. Randazza. When did you do that?

20      A. That was yesterday.

21      Q. Is he in the room with Mr. Reeves?

22      A. No. That was the day before.

23      Q. Okay. I thought you met with Mr. Reeves

24 yesterday.

25      A. You asked me about the attorney. That's what I

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           5



1 thought you meant. So I was referring to Mr. Randazza.

2       Q. Have you ever meet with Mr. Reeves?

3       A. The day before.

4       Q. Okay. Okay. So actually the day before
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5 yesterday you actually met with Mr. Reeves.

6       A. Correct.

7       Q. Okay. How long did you meet with Mr. Reeves?

8       A. Maybe an hour.

9       Q. Okay. Mr. Randazza, did you meet with him in

10 Austin or was that over some sort of technology

11 situation?

12      A. In person.

13      Q. Okay. That was in Austin, though?

14      A. Yes.

15      Q. Okay. So let me make sure I have it straight

16 now.

17         Yesterday you met with Mr. Randazza for a

18 couple of hours. And the day before you met with

19 Mr. Reeves for a couple of hours.

20      A. And I didn't time the meetings, but that's what

21 I approximate, yes.

22      Q. Sure, sure. Okay. So let me just make sure I

23 understand.

24         And -- and as -- let me also just as a warning,

25 sort of a caution. We're going to have conversation

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1 today that is not exactly natural or normal. If we were

2 talking to each other, say, outside of this room, just

3 in a room together, there's a good chance that we'd be

4 able to anticipate each other's questions and answers,

5 finish each other's sentences, be able to jump in and
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6 start answering before I was done with
                                      827myofquestion
                                              1271

7 because you'd know what I was saying. We do this all

8 the time in -- in normal conversation. It's not rude or

9 anything. I'm not saying you're interrupting me or

10 anything. But in a deposition, she's go to write

11 everything down. And it makes it real -- it makes it

12 super difficult for her if we're ever talking at the

13 same time. And so we kind of have to do this unnatural

14 thing where you have to, like, wait a second until I'm

15 done with question and then answer. So it kind of seems

16 unnatural, but I'll try to remind you if we're talking

17 over each other. I'm sure if we do it really bad, she's

18 going to remind us. Remember, that she's -- she's not

19 paid by any -- she's not part of the case. She's not

20 associated with the parties. She has no interest in

21 this. So she's just trying to do her job. So I'm going

22 to make sure we try to do that for her.

23      A. Thank you.

24      Q. With -- I want to make sure I have it down

25 correctly, that in terms of you meeting with lawyers to

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1 prepare for this deposition, that consists of

2 Mr. Randazza yesterday for what you think is a couple

3 of hours and Mr. Reeves the day before for what you

4 think is a couple of hours.

5       A. Correct.

6       Q. Okay. Tell me anybody else that you have

7 spoken to about what you plan to testify about here
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8 today.

9       A. I've consulted with two former corporate reps

10 in regards to whether I was missing any information.

11 They said that I wasn't. I've also consulted with HR

12 regarding some of the topics for the information that I

13 was going to need for this. And that's it.

14      Q. Who was the first corporate rep?

15      A. Rob Dew.

16      Q. Okay. You met with Mr. Dew and talked to him

17 about the topics you'd be speaking about today?

18      A. Briefly.

19      Q. What's briefly? What does that mean?

20      A. I basically sort of ran through the topics and

21 asked him if I was going to say anything, if he had any

22 information for me and he said no.

23      Q. How long did you talk to him?

24      A. I'd say 15, 20 minutes.

25      Q. Okay. And Mr. Dew didn't have any other

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1 information for you?

2       A. No.

3       Q. So nothing here that you say today is going to

4 be coming from Mr. Dew?

5       A. No.

6       Q. Okay. Who's the other corporate rep you know?

7       A. Michael Zimmerman.

8       Q. Okay. What -- did you have -- did you get any
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9 information from Mr. Zimmerman? 829 of 1271

10      A. No.

11      Q. How long did you talk -- excuse me. I'm sorry.

12      A. Yeah, he was pretty much the same type of

13 meeting.

14      Q. Okay. So -- and I take it by when you say

15 "same type of meeting," you asked him if there was any

16 information that you needed to know about any of these

17 topics and he said, no, I don't have anything?

18      A. Correct. Yes.

19      Q. Again, I'm going to caution you.

20      A. I'm sorry.

21      Q. Yeah, it's -- we'll get used to it. I promise.

22 It's going to be a long day. So we'll get used to it.

23 But let me ask that question again.

24         What I'm taking you're saying is that you met

25 with Mr. Zimmerman for a brief period of time, asked him

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1 if he had any information about these topics and he told

2 you he did not have any information about these topics

3 to give you.

4       A. He told me that I already had the information.

5 He didn't have anything new to add.

6       Q. So how did Mr. Zimmerman know what information

7 you had?

8       A. I believe I had read the topics that are on

9 that sheet of paper in front of --

10      Q. Okay. So in other words, after reading those
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11 topics to Mr. Zimmerman and wanting to know if he had

12 any additional information he could give to you, he

13 said, no, you should have everything? Is that the basic

14 sum of it?

15      A. Yes.

16      Q. Okay. Now, I understand -- I've been given a

17 folder. Do -- do you recognize this folder that I'm

18 holding right here?

19      A. Yes.

20      Q. Okay. I've been told that these are documents

21 that you reviewed prior to this deposition.

22      A. Yes.

23      Q. Okay. So you have taken the documents that

24 you've prepared yourself for today and put them in this

25 folder?

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1       A. Correct.

2       Q. Okay. I want to right now -- no, let's do them

3 individually.

4             (Discussion off the record)

5             (Exhibit 1 introduced)

6       Q. (By Mr. Bankston) Okay. So, ma'am, what I'm

7 going to do is I'm going to put a sticker on this folder

8 itself, and we're going to mark that as Exhibit 1.

9 Okay. And I want to talk to you about some of the

10 documents in here.

11         Let me -- let me ask you this too. So these
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 documents that you prepared and the831
                                       conversations
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13 you've had with counsel and the conversations you've had

14 with your corporate representative, the two corporate

15 representatives, excuse me, that would be the total

16 universe of people that you've spoken to about the

17 deposition. Is that right?

18      A. Yes.

19      Q. Okay. And these documents here represent the

20 total universe of documents that you had prepared for

21 before the deposition. Is that correct?

22      A. Yes.

23      Q. Okay. Can you tell me the amount of time that

24 you have spent on -- let me back it up this way.

25         I -- I would assume -- or maybe I'm not

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1 correct, so let me know. But I would assume that in

2 addition to meeting with the attorneys and speaking to

3 the corporate representatives, you also spent time, say,

4 reviewing these documents, right?

5       A. Some time, yes.

6       Q. How much time do you think you spent reviewing

7 these documents?

8       A. I'd say an hour.

9       Q. Okay. So the -- the things that we see here in

10 Exhibit 1, these are things that you personally, outside

11 of the company of lawyers and outside the company of

12 corporate representatives prior, you spent about an hour

13 reviewing this material?
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14    A. Correct.

15      Q. Okay. And is there anything else that I'm not

16 talking about yet that you have done to prepare or

17 gather information for this deposition?

18      A. Can you repeat the question?

19      Q. Yeah. Sure. Let me try to rephrase it.

20         We have talked about reviewing documents.

21 We've talked about talking to people. There's --

22 there's no other people or documents, other than the

23 people we've already talked about?

24      A. (No response.)

25      Q. Is that correct?

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1       A. The -- yeah. One of the topics for this

2 meeting today that I prepared included personnel for

3 particular dates of the videos, which I had inquired

4 from HR about. She had provided me with some personnel,

5 which I thought I had printed out, but they're still in

6 my email. Which when I looked through the folder, it

7 wasn't there. So they're still in my folder. I mean in

8 my email. So if you need that, I could potentially

9 print that out.

10      Q. Those documents are things that you used to

11 determine who was working at the company --

12      A. Correct.

13      Q. -- at what -- again --

14      A. I'm sorry. I'm sorry.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    Q. And I know -- again, I know you're
                                      833 ofnot doing it
                                             1271

16 on purpose. And because -- I have the feeling you try

17 to be an efficient person and you know exactly what I'm

18 asking. So you wanted to be compliant.

19      A. I apologize.

20      Q. No, you're -- you're fine. Trust me. But I

21 will -- I will stop you and remind you when that happens

22 just because I'm trying to make sure this record is

23 good. I'm glad you brought that up because I did forget

24 about the HR person.

25         And can you tell me that person's name?

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1       A. Melinda.

2       Q. Is it maybe Flores?

3       A. Yes.

4       Q. Okay. So Melinda Flores is the HR person you

5 talked about. And you were -- did you feel like you

6 were able to get information about who was working at

7 different times?

8       A. Yes.

9       Q. Okay. Okay. Before we dive into those

10 documents, I want to talk just a little bit more about

11 you.

12         Can you first -- first, can you tell me a

13 little bit about your educational background, what that

14 looks like?

15      A. I have a bachelor's degree in applied

16 engineering.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    834 of 1271
17    Q. Where's your degree from?

18      A. Expression College for Digital Arts.

19      Q. Excuse me. I'm sorry. I didn't catch that.

20      A. Expression College for Digital Arts.

21      Q. Gotcha. Okay.

22         And is that your only secondary education?

23      A. Yes.

24      Q. Okay. Can you -- is InfoWars -- let me back

25 that up.

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1         When did you start working with -- with Free --

2 oh. I'm making assumptions.

3         Is your employer Free Speech Systems, LLC?

4       A. Yes.

5       Q. Okay. When did you start working for them?

6       A. I believe October 2015.

7       Q. Okay. Between your secondary education and

8 InfoWars, did you have other jobs?

9       A. Here and there.

10      Q. Can you walk me through those, through your

11 resume?

12      A. Due to the nature of my education, what it

13 required, I would have regular gigs here and there. So

14 it wasn't a -- one single employer. At times I would

15 have several employers during the course of, say, a

16 couple of months. Then I would just take regular gigs.

17 What I'm talking about is sound engineering, light,
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 sound, different production roles, different
                                          835 ofgigs
                                                 1271for

19 music composition. So things like that.

20      Q. Okay. So these jobs were not permanent

21 employment, but you had contract work, in other words,

22 between different people?

23      A. Yes. That's right.

24      Q. Okay. And when you say audio production, are

25 we talking music production? Are we talking for

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1 entertainment, video, news? What -- what kind of things

2 are we talking about?

3       A. Conferences. Anything that had to do with

4 audio. Again -- conferences, concerts, music concerts.

5 Again, anything that had to do with audio, I would be

6 engineering that.

7       Q. Okay. When you were first hired by Free Speech

8 Systems, what was your job title?

9       A. I believe it was assistant producer, which is a

10 title that is given to everybody on production. And my

11 specific role was the sound -- sound board because that

12 was my background and I was put in that position.

13      Q. Now -- and today your job title would just be

14 producer?

15      A. Yes.

16      Q. Okay. Have you had any other job titles at

17 InfoWars?

18      A. No.

19      Q. How much does InfoWars pay you a year? Or
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                         836 of 1271
20 actually, let me -- I'm sorry. Let me back that up for

21 a second.

22         Are you paid as a salaried employee or hourly

23 employee?

24      A. Salary.

25      Q. Okay. Then the same question. What do you

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           16



1 make yearly for InfoWars?

2       A. About 125,000.

3       Q. Okay. I have in -- in looking into InfoWars

4 itself, I have occasionally seen reference, usually

5 outside the company, of you being referred to as

6 Mr. Jones' executive assistant. Is that a role you

7 play, or is that -- have they got that wrong?

8       A. I wouldn't know where that's coming from.

9       Q. Okay. That's what -- again, it's outside the

10 company. And I think a lot of people say a lot of

11 things about InfoWars without really knowing what it is.

12 And so sometimes I may think that I know something about

13 what's going on with InfoWars. Please feel free to

14 correct me.

15         You would con -- I take it as a producer,

16 your -- the main functions of your job is to ensure or

17 to facilitate the creation of the video and audio

18 broadcast that InfoWars creates. Is that right?

19      A. No. I would say it is my job to facilitate the

20 live broadcast.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Okay.                      837 of 1271

22      A. And production thereof. Preproduction as well.

23      Q. Okay. So things like -- let's try to separate

24 this out.

25         InfoWars does a live show pretty much every

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1 day?

2       A. Correct.

3       Q. Okay. And then that -- that live show is

4 sometimes distributed through other channels like the

5 internet, correct?

6       A. Yes.

7       Q. For instance, you know Banned.Video.

8       A. Yes.

9       Q. You -- you understand what that is.

10         Do you have any involvement in running that

11 website?

12      A. No.

13      Q. Okay. So in other words, the live production

14 side and the internet side, those are -- would you

15 describe those as two different parts of the business?

16      A. I'm not sure how to answer that.

17      Q. Well, what I'm interested in is the amount of

18 overlap between the people who are working with you to

19 create the live show every day and the people who are

20 running the website and putting articles and videos on

21 the website and Banned.Video. Is there overlap --

22 significant overlap between those two groups?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    A. I would say no.

24      Q. Okay. And do you have -- as a producer, I -- I

25 take it you have managerial authority over different

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1 employees. Is that right?

2       A. Yes.

3       Q. Okay. If there's somebody doing something

4 involved in the live show and they're doing it

5 incorrectly, you have the power to tell them to do it

6 differently, correct?

7       A. Correct.

8             MR. REEVES: Mark, one sec. I just want to

9 stipulate -- note for the record that I don't believe

10 this covered by any of the topics in your deposition

11 notice for the corporate representative. Just for

12 purposes of the record to denote that. I'm not

13 otherwise going to stop you from asking them. But I

14 just wanted to note that.

15            MR. BANKSTON: Right, right.

16      Q. (By Mr. Bankston) Do you have managerial

17 authority or -- I guess maybe managerial isn't even the

18 right word.

19         Do you have power and authority to tell the

20 people who are running the website what to do?

21      A. No.

22      Q. Okay. Okay. I want to talk to you now about

23 some things in Exhibit 1.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24          (Discussion off the record) 839 of 1271

25             (Exhibit 1A introduced)

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1       Q. (By Mr. Bankston) Okay. I've marked this as

2 1A. You recognize that, correct?

3       A. Yes.

4       Q. That's a document that you reviewed prior to

5 this deposition, right?

6       A. Correct.

7       Q. That is the Wikipedia entry for false flag,

8 correct?

9       A. Yes.

10      Q. Okay. Can you tell me why you looked at this

11 document?

12      A. I thought it would be a good idea to bring it

13 as a reference to some of the points for topic number

14 one.

15         If I could have the list of topics, that would

16 help me to identify the exhibits.

17      Q. I understand what you're saying. In fact,

18 let's do that. I'm going to mark this as 1B.

19             (Exhibit 1B introduced)

20      Q. (By Mr. Bankston) And what I'm handing you

21 right now is titled Plaintiff's Third Amended Notice of

22 Taking the Oral and Video Deposition of the Corporate

23 Representative of Free Speech Systems, LLC. And I'll go

24 ahead and just give you the paper with the topics on it

25 so you can see.
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1       A. Thank you.

2       Q. Now, hopefully you can refer to that.

3         And when you were referring to topic one, you

4 were talking about the sourcing and research for the

5 videos described in plaintiffs' petition?

6       A. May I just take a minute?

7       Q. Sure.

8       A. Yes. Correct.

9             (Exhibit 1C introduced)

10      Q. (By Mr. Bankston) I've handed you 1B [sic].

11 Do you recognize that?

12      A. Yes.

13      Q. That is the Wikipedia entry for the Reichstag

14 Fire, correct?

15      A. Yes.

16      Q. Again -- yeah, I know. I'm going to have to

17 keep reminding you, but it's okay.

18            MR. REEVES: Didn't you mark the depo

19 notice as 1B?

20            MR. BANKSTON: You are absolutely right,

21 Brad. You sure are.

22            MR. REEVES: Do you want to just make this

23 2?

24            MR. BANKSTON: Yeah. No. I can --

25            MR. REEVES: And you can keep -- and you

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    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 keep the article --

2             MR. BANKSTON: Yeah, that'll work. This

3 was in the folder is the only reason I was --

4             MR. REEVES: Oh. Whatever you want to do,

5 man.

6             MR. BANKSTON: Yeah, I just wanted to have

7 everything in 1 be the documents that she reviewed.

8             MR. REEVES: Yeah, that's fine.

9             MR. BANKSTON: So what I am going to do

10 since that was 1B, what we're going to do is I'm

11 actually going to make this 1C. So now I have handed

12 you what I've marked as 1C, which you recognize,

13 correct?

14      A. Correct.

15      Q. And that is the Wikipedia entry for the

16 Reichstag Fire, correct?

17      A. Yes.

18      Q. Okay. The Reichstag Fire was a Nazi party

19 arson attack, correct?

20      A. Correct.

21      Q. Okay. Can you tell me why this is relevant to

22 the case?

23      A. The same answer as for the previous exhibit. I

24 thought it would be a document pertaining to some of the

25 points in topic number one as an example of false flags.

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1       Q. So in other words -- let's try to put it this
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 way. In some of the videos in plaintiffs' petition,

3 there are statements made about false flags, correct?

4       A. Which petition are you referring to?

5       Q. I'm -- well -- okay. When -- when that topic

6 number one says sourcing and research for the videos

7 described in plaintiffs' petitions, have you seen the

8 plaintiffs' petitions?

9       A. Briefly.

10      Q. Okay. They're not in this folder, are they?

11      A. No.

12      Q. Okay. So this folder actually doesn't

13 represent everything that you've reviewed for this

14 deposition, right?

15      A. These are just appointed documents that I

16 thought would be good to have for me personally to refer

17 to some of the topics here.

18      Q. Okay. But in terms of plaintiffs' petitions,

19 is that something you looked at before this deposition?

20      A. I honestly can't recall.

21      Q. You can't recall if you've seen the plaintiffs'

22 petitions?

23      A. I've seen a lot -- a lot of documents.

24      Q. Have you --

25      A. I'm not -- since I don't have a legal

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1 background, it's -- I'd have a hard time recalling right

2 now exactly which one was which.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. Which document was which document  you mean?
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4       A. Yes.

5       Q. Okay.

6            MR. REEVES: Mark, without waiving

7 attorney-client privilege, I'll stipulate that she has

8 seen the petitions.

9            MR. BANKSTON: I don't need you to do that.

10 I don't need you to testify for her, Brad.

11            MR. REEVES: I'm not testifying.

12            MR. BANKSTON: Please don't do that again.

13            MR. REEVES: Okay.

14            MR. BANKSTON: I need to question her about

15 what she prepared for.

16            MR. REEVES: That's fine. That's fine.

17            MR. BANKSTON: Alright.

18            MR. REEVES: I'm not trying to testify for

19 her.

20            MR. BANKSTON: But you absolutely are,

21 Brad. And please don't do that again.

22            MR. REEVES: Mark, I'm not. I'm -- you can

23 think what you want, but I'm --

24            MR. BANKSTON: I'm going to make it for the

25 record right now. I'm questioning this witness about

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           24



1 what she has reviewed for the deposition under her

2 duties to prepare for this deposition and counsel has

3 just answered for her.

4            MR. REEVES: I have not.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5           MR. BANKSTON: And I -- and I object to

6 that. And I don't like it and I don't want it to

7 continue.

8             MR. REEVES: Alright.

9       Q. (By Mr. Bankston) We can then say that there

10 are other documents besides what's in this folder that

11 you've reviewed that I don't have in front of me,

12 correct?

13      A. Well, can I add something to the previous

14 point?

15      Q. Sure. I'm not sure what you mean.

16      A. You were asking me specifically a reference to

17 false flag from a petition that I've seen. When I was

18 trying to recall that, I do not recall in the petition

19 that specific reference. It might have been there, but

20 I don't recall from all the documents that I've seen.

21          Now, the reason I brought these again is to

22 help me present some of the points when answering these

23 topics in this petition

24      Q. Sure. No, I understand that.

25      A. Yeah.

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1       Q. What I'm -- what I'm trying -- you know, first

2 of all, I -- before we get back to my question. Now

3 that I know that in addition to these documents -- your

4 counsel tells me that you've reviewed the petitions,

5 right? Are there anything else that I need to know
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6 about?                           845 of 1271

7       A. I don't believe so.

8       Q. Okay. In terms of my question was for the

9 videos described in plaintiffs' petition, do they

10 reference false flags?

11      A. Repeat that again, please.

12      Q. The videos described in plaintiffs' petitions,

13 do they reference false flags?

14      A. I'm not sure of that exact wording.

15             (Exhibit 1D introduced)

16      Q. (By Mr. Bankston) Okay. I'm putting to you

17 1D. Do you recognize that?

18      A. Yes.

19      Q. Where does -- can you read the website at the

20 bottom? What website does that come from?

21      A. historytoday.com.

22      Q. Okay. So this is a HistoryToday article about

23 the sinking of the Maine, correct?

24      A. Correct.

25      Q. Okay. The USS Maine was a 19th century

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1 warship, correct?

2       A. Correct.

3       Q. Okay. And that warship exploded in Havana

4 Harbor, correct?

5       A. Correct. Sorry.

6       Q. No problem. Let me ask that again.

7         That warship exploded in Havana Harbor,
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   846 of 1271
8 correct?

9       A. Correct.

10      Q. There is significant historical evidence to

11 suggest that that ship was intentionally exploded by the

12 United States Government. That's correct?

13      A. There is a controversy about it I would say.

14      Q. In other words, what I'm -- what I'm wondering

15 is from reading that article, did you come away with the

16 idea that there is substantial evidence; in other words,

17 non-trivial evidence which people could use to support

18 the idea that the USS Maine was intentionally destroyed

19 by the United States Government?

20      A. I would say one could infer that.

21      Q. Okay. Can you tell me why that particular

22 article is relevant to your testimony today?

23      A. It could be viewed as an example of false

24 flags.

25      Q. Okay.

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1       A. Throughout history.

2       Q. I'm going to put in front of you 1E.

3             (Exhibit 1E introduced)

4       Q. (By Mr. Bankston) You recognize that, correct?

5       A. Yes.

6       Q. A Wikipedia entry for the Pearl Harbor

7 advance-knowledge conspiracy theory, correct?

8       A. Correct.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     Q. Is this the same answer as the847
                                        other documents?
                                           of 1271

10      A. Yes.

11      Q. Okay. So this is another example of

12 potentially -- well, let me ask you -- back up.

13         Would you call this is a false flag, for

14 instance, if -- let me rephrase that question.

15         If the allegations about this conspiracy theory

16 are true, would you consider that a false flag?

17      A. I would say so, yes.

18            (Exhibit 1F introduced)

19      Q. (By Mr. Bankston) Okay. Alright. I'm going

20 to put in front of you 1F. Do you recognize that?

21      A. Yes.

22      Q. Can you explain what that is?

23      A. Yes. It is an article that was archived from

24 the website D.C. Clothesline which includes Mr. Halbig's

25 biography, which I wanted to have on hand.

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1       Q. Okay. So this is just biographical information

2 about one of InfoWars's sources?

3       A. Correct.

4             (Exhibit 1G introduced)

5       Q. (By Mr. Bankston) Okay. Now, I'll put in

6 front of you what I've marked as 1G. Do you recognize

7 that?

8       A. Yes.

9       Q. Okay. Can you explain what that is?

10      A. One second.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11       So this is another article that contains

12 information regarding the questions that Mr. Halbig had

13 regarding Sandy Hook.

14      Q. Okay. There's also some information about

15 Mr. Jones in there too, correct?

16      A. There might be. I didn't read the entire

17 article.

18      Q. Okay. So you didn't actually review this

19 entire document?

20      A. Not in its entirety.

21      Q. Did you go find this document?

22      A. Yes.

23      Q. Okay. And so how did you come across this

24 document? How did you find it?

25      A. I was looking for Mr. Halbig's questions

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1 regarding Sandy Hook.

2       Q. Okay. Do you feel like you have an

3 understanding now of Mr. Halbig's questions regarding

4 Sandy Hook?

5       A. Yes.

6       Q. Okay.

7             (Discussion off the record)

8             (Exhibit 1H introduced)

9       Q. (By Mr. Bankston) Alright. I'm going to show

10 you what I've marked as 1H. Do you recognize that?

11      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    Q. That's from Dr. Steve Pieczenick's website,
                                       849 of 1271

13 isn't it?

14      A. Yes.

15      Q. Okay. And that's basically a biography of

16 Dr. Steve Pieczenick?

17      A. Correct.

18      Q. Okay. You wanted to have that because Steve

19 Pieczenick is somebody who has appeared on InfoWars at

20 one point to talk about Sandy Hook?

21      A. Correct.

22             (Exhibit 1I introduced)

23      Q. (By Mr. Bankston) Okay. Okay. I'm going to

24 show you now what I've marked as 1I. Do you recognize

25 that?

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1       A. Yes.

2       Q. That's a Guardian article, right?

3       A. Correct.

4       Q. Guardian's a newspaper in Britain. Am I right

5 about that?

6       A. Yes.

7       Q. Okay. This article says -- its headline says:

8 Sandy Hook father, Leonard Pozner, on death threats: I

9 never imagine having to fight for my child's legacy,

10 correct?

11      A. Correct.

12      Q. What did you need this article for in your

13 testimony today? Or let me -- that's not a good
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 question.

15         Why did you feel you wanted to review this

16 article for your testimony today?

17      A. One second, please.

18         The reason I wanted to have this article is

19 that I thought one of the victim's mother -- there was

20 interesting information regarding the victim's mother

21 and her request to have an open casket for the funeral.

22      Q. Why is that interesting to you?

23      A. It seems to me that the motivation for doing so

24 would be to exploit a child's death for a political

25 agenda.

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1       Q. Might another reason for it is because a bunch

2 of people are saying that child is fake? Couldn't that

3 be a reason for it?

4       A. I don't know.

5       Q. Sitting here right know, if your child -- let's

6 back up.

7          You -- you just had a baby, right?

8       A. Yes.

9       Q. Okay. Let's say 6 years from now your child

10 walks into an elementary school and is massacred in a

11 gun violence incident and some news organizations are

12 saying that your child is fake, can you see that a

13 possible way to combat that would be to have an

14 open-casket funeral for your child?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    A. No.                        851 of 1271

16      Q. That's not something you would ever consider?

17      A. No.

18      Q. Could you imagine how somebody else could

19 consider that?

20      A. Not if they have a heart and know political

21 agenda.

22      Q. Okay. So you think that this Jewish family's

23 choice to have an open-casket funeral for their child

24 was politically motivated.

25            MR. REEVES: I'm going to object as being

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1 outside of scope for corporate representative testimony.

2            MR. BANKSTON: That's fine.

3            THE REPORTER: Sir, could you please speak

4 up.

5            MR. REEVES: I'm sorry. This is Brad

6 Reeves. I objected to this as being outside the scope

7 of the corporate representative testimony.

8            But you can go ahead -- otherwise go ahead

9 and answer.

10            (Discussion off the record)

11      Q. (By Mr. Bankston) Yeah. You have a question.

12 I don't know if you answered it or not.

13      A. What was the question?

14            MR. BANKSTON: Madam Court Reporter, can

15 you read back my last question?

16            (Court reporter read requested portion)
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17    A. What does being Jewish have anything to do with

18 this?

19      Q. (By Mr. Bankston) I'm not here to answer your

20 questions, ma'am.

21      A. I don't know. My answer is -- my personal

22 opinion, I find it unconscionable. That's something

23 that I would never bring myself to doing.

24      Q. People have open-casket funerals every day,

25 don't they?

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1       A. Yes.

2          However, considering the circumstances and how

3 the child was disfigured, based on these articles, I

4 find that just horrific.

5             (Exhibit 1J introduced)

6       Q. (By Mr. Bankston) Okay. Here's another

7 article about that, right, Exhibit 1J?

8       A. Yes.

9       Q. So you actually pulled two separate articles

10 about Noah Pozner's funeral having an open coffin,

11 correct?

12      A. I pulled this one article because it was linked

13 in the Guardian, and I wanted to make sure I have the

14 sources for where I got the articles from.

15      Q. Okay. And so of all the documents that you

16 reviewed regarding the plaintiffs, the only ones you've

17 reviewed that you chose to go review were two articles
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 about Ms. Pozner choosing to have an853
                                        open  casket for her
                                           of 1271

19 son, correct?

20      A. That wasn't the reason why I reviewed the

21 article.

22      Q. That's not what I'm asking you, Ms. Karpova.

23          I'm asking you of all the documents you

24 reviewed about the plaintiffs before this deposition,

25 the only two that you did review are articles that

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1 discuss Noah Pozner's funeral having an open casket,

2 correct?

3       A. They happened to mention that. But that's the

4 only -- that's not the only thing they discussed.

5       Q. I'm not saying that. I'm not -- I understand

6 what you're saying. Let's make it even broader then for

7 you.

8         The only two pieces of documentation that you

9 have reviewed for this deposition about the plaintiffs

10 are two articles, both of which discuss in the article

11 Noah Pozner's open-casket funeral, correct?

12      A. Yes.

13      Q. Okay. Tell me any other information from those

14 articles that you believe is relevant to this deposition

15 today.

16      A. I've already mentioned that -- the state of the

17 physical body that the child had for the -- for the

18 open-casket ceremony describes that.

19      Q. Okay. So when it comes down to the documents
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 that you reviewed for this deposition about the

21 plaintiffs, the only information that you're really

22 gleaning from this that's useful to this deposition has

23 to con -- concerns Noah Pozner's open casket and the

24 appearance of his body, correct?

25      A. It was useful to some of the points.

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1       Q. I'm not asking what it's useful for. I'm

2 asking you that of all the documents that you reviewed

3 about the plaintiffs, the only piece of information that

4 you have had gleaned from those documents that is

5 relevant to this deposition concerns Noah Pozner's

6 open-casket funeral and the appearance of his body,

7 correct?

8       A. These are the articles that I had chosen to

9 bring.

10      Q. So that is correct, right?

11      A. (No response.)

12      Q. Let's try it this way. You can't give me

13 another piece of information out of either of those two

14 articles that you believe is relevant to this

15 deposition, right, other than Noah Pozner's open-casket

16 funeral and the appearance of his body.

17      A. Correct. Those are the articles for it, yes.

18      Q. And those are the only articles that you've

19 reviewed about the plaintiffs in preparation for this

20 deposition, correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    A. Yes.                       855 of 1271

22      Q. Okay. Topic number one is the sourcing and

23 research for the videos described in plaintiffs'

24 petitions. When was the last time you watched those

25 videos? Back up. I made an assumption there.

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1         Have you watched the videos in plaintiffs'

2 petition ever in your history at InfoWars?

3       A. I've watched some of them.

4       Q. Okay. So one thing we can say is that in

5 preparation for this deposition you didn't watch those

6 videos, correct?

7       A. (No response.)

8       Q. I'm sorry. Ms. Karpova, is that a difficult

9 question for you to answer?

10      A. Well, I've already answered some of the videos.

11      Q. Right. No. I understand that you have in your

12 history at InfoWars since 2015, you've probably on

13 occasion seen some of these videos. I understand that.

14 What I'm asking you is since the date you were told you

15 were giving this deposition in November and you were

16 preparing for this deposition, you haven't watched any

17 of these videos, right?

18      A. I have not.

19             (Discussion off the record)

20      Q. (By Mr. Bankston) Okay. Alright. In

21 preparing for -- to talk about the videos in plaintiffs'

22 petition, do you have an idea sitting here right now how
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23 many there are?

24      A. Roughly.

25      Q. How many are there?

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1       A. A couple of dozen maybe.

2       Q. Okay. And did you ever compile a list of those

3 for any reason?

4       A. Not personally.

5       Q. Okay. No outside of the petition in other

6 words, right? What I'm asking you is did you sit down

7 and ever write them down or type them all out?

8       A. No.

9       Q. Okay. When you say "not personally," did

10 somebody give you a list of the videos?

11               MR. REEVES: Objection.

12         I'm going to -- to the extent you received any

13 information in discussions with your attorneys, that is

14 privileged. So -- if there is information that

15 you -- that that occurred outside of your attorneys, you

16 may answer that question; otherwise, that information is

17 privileged and I instruct you not to answer on that.

18      Q. (By Mr. Bankston) Is there any information

19 that you can disclose to me that is outside of your

20 attorney's instruction?

21      A. No.

22               (Exhibit 2 introduced)

23      Q. (By Mr. Bankston) Okay. Let me give you what
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 I've marked as Exhibit 2. You recognize
                                       857 that, right?
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25      A. May I review it?

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1             THE REPORTER: Could you repeat that?

2       A. May I have a second to review it?

3       Q. (By Mr. Bankston) Yes, you may.

4             (Discussion off the record)

5       A. Yes.

6       Q. (By Mr. Bankston) You do recognize this

7 document?

8       A. I believe I've seen this before.

9       Q. You believe you've seen it before.

10      A. I've seen a lot of documents.

11      Q. I understand that.

12         Well, I mean, we know how many documents you've

13 seen. They were in this folder, right? Correct?

14      A. Yes.

15      Q. Okay. So when you say a lot of documents, you

16 mean Exhibits 1A through 1I, right?

17      A. (No response.)

18      Q. Correct?

19      A. I've seen some exhibits from my attorney, which

20 is privileged.

21      Q. Okay. Okay. Ms. Karpova, at one point I asked

22 you if these were the documents you reviewed for this

23 deposition. You testified yes to me. And then we found

24 out you reviewed the plaintiffs' petitions or at least

25 your attorney said you reviewed the plaintiffs'
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1 petitions. So I asked you at that point are there any

2 other documents that I need to know about and you told

3 me no. Are you now changing that testimony?

4       A. I didn't understand your question because the

5 topic for -- one of the topics for this deposition today

6 includes the question about the documents produced by

7 the company.

8       Q. Okay. So have you reviewed documents relating

9 to your deposition today for that topic?

10      A. That would be between my attorney.

11      Q. If your attorney wants to instruct you that you

12 are not going to tell me about the documents you

13 reviewed before this deposition, he can do that.

14            MR. REEVES: If you have -- that's -- you

15 are not to discuss any conversations that you've had

16 with attorneys. That is privileged information.

17 Documents that you have reviewed in preparation for

18 this, is not. Unless they're provided directly to you

19 from your attorneys as far as -- you know,

20 correspondence. But if it's documents that were

21 produced or anything like that that you reviewed, that

22 is information he can -- you should tell him.

23      Q. (By Mr. Bankston) So let's try this one more

24 time.

25         Can you tell me in addition to the plaintiffs'

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    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 petition and Exhibit 1A through 1I or 1J, can you tell

2 me what documents you reviewed to prepare for your

3 deposition today?

4       A. I don't recall -- I don't have a list of all

5 the documents that I looked at.

6       Q. That's not great.

7              MR. REEVES: Objection to the sidebar.

8       Q. (By Mr. Bankston) So in other words there are

9 more documents than this, but these are just the ones

10 that you decided to bring, correct?

11             MR. REEVES: Objection; form.

12      A. I've already answered that question.

13      Q. (By Mr. Bankston) I don't think you have,

14 ma'am.

15         And what I -- what I'm specifically asking you

16 about, there are documents that you have reviewed prior

17 to this deposition that you did not bring to this

18 deposition.

19      A. I did not think they were relevant to the

20 specific points.

21      Q. Okay. So now let's get back to this.

22         I thought you had just told me that there was a

23 topic on here, a specific point on here about the

24 documents that have been produced in discovery, that you

25 reviewed documents that were relevant to that topic.

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1 Are you saying now that the documents you reviewed
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2 aren't relevant to that topic, or they are relevant to

3 that topic?

4       A. I did not think they were relevant to -- to

5 bring to this deposition.

6       Q. You thought it was relevant to bring an article

7 about Noah Pozner's open-casket funeral, but you didn't

8 think it was relevant to bring the very documents you

9 reviewed to prepare for topic number six? Is that

10 correct?

11      A. I would say topic number four is what I'm

12 referring to.

13      Q. Okay. Topic number four is the one about the

14 company's documents?

15      A. Yes.

16      Q. Okay. So let me ask that question again.

17         You thought it was important to bring articles

18 about Noah Pozner's open-casket funeral, but did not

19 think you should bring documents that you reviewed

20 relevant to topic number four, correct?

21      A. Correct.

22      Q. Okay. And so sitting here today, taking your

23 deposition, there's no way for me to know if you

24 reviewed regarding topic number four, is there?

25      A. (No response.)

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1       Q. Right?

2       A. (No response.)
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3     Q. Do you understand my question?
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4       A. Yes, I understand your question. I would say

5 the documents that I reviewed were sent to me by my

6 attorney.

7       Q. Okay. I mean, how does that tell me whether I

8 can or cannot know what they are. That doesn't help me

9 answer that question, right? The question is, sitting

10 here right now in this deposition room where I'm here to

11 ask you questions for the company, there's no way for me

12 to know what those documents are --

13      A. Well, I would assume that you guys would have

14 those documents.

15      Q. Okay. Again, I'm going to caution you not to

16 answer over me. Okay?

17         If you thought we had these documents, why did

18 you bring those?

19      A. Because these are the documents that I know you

20 don't have.

21      Q. How do you know I don't have those?

22      A. Because these are supplementary articles that I

23 thought would be helpful for me in answering some of the

24 points personally.

25      Q. Okay.

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1       A. These are not the documents that have to do

2 with any official legal documents.

3       Q. Okay. So -- in terms of -- let's just make

4 sure we understand.
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5       We now know that there are documents that you

6 have reviewed that are not here today that I don't know

7 what they are regarding topic number four. Are there

8 any other topics where there are documents that you

9 reviewed that I don't have here today?

10      A. No.

11      Q. Okay. Regarding the documents that you

12 reviewed on topic number four, was that during your hour

13 that you prepared for the deposition on your own or did

14 you review those documents during your meeting with

15 counsel?

16      A. No.

17      Q. Okay. So in other words we had your couple of

18 hours with Mr. Reeves the day before yesterday, your

19 couple of hours with Mr. Randazza yesterday and then

20 about your hour on your own. And during all -- during

21 all those times are the times in which you reviewed

22 documents that were relevant to topic number four.

23      A. Yes.

24      Q. Okay. How many documents?

25      A. I don't have the count, the exact count. I

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1 didn't count them.

2       Q. Okay. You can understand how that's not

3 helpful to me, right? I don't have any idea of the

4 universe or size of documents that you've reviewed. So

5 would you be able to --
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6       How about let's do it this way? 863
                                         Would  the
                                            of 1271

7 documents fit in this folder (indicating)?

8             MR. REEVES: Objection; form.

9       Q. (By Mr. Bankston) Would they all fit in here

10 do you think?

11      A. I think so.

12      Q. Okay. So you wouldn't need, say, like this to

13 hold all them all. You could hold them all -- not in a

14 Banker's box like this, but in a manila folder like

15 this, correct? Is that accurate?

16      A. Yes.

17      Q. Now, surely you remember some of those

18 documents, right?

19      A. I'm not sure.

20      Q. You -- okay. So the documents you reviewed

21 for -- for topic number four, sitting here today you

22 can't identify any of them for me.

23      A. I don't want to make a mistake. Not off the

24 top of my head.

25      Q. Okay. So in other words, whatever's in those

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1 documents -- because you can't even identify them --

2 whatever's in them is not going to be relevant to your

3 testimony here today. You're not going to be giving me

4 information from those documents I take it.

5             MR. REEVES: Objection; form.

6       Q. (By Mr. Bankston) Correct?

7       A. Well, the information -- the relevant
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8 information would be pertaining to question -- to topic

9 number four.

10      Q. Right.

11         But if you can't even remember what the

12 documents are, you're not going to be able to tell me

13 what's in them, right?

14            MR. REEVES: Objection; form.

15      Q. (By Mr. Bankston) Ms. Karpova, is there

16 something difficult to understand about that?

17            MR. REEVES: Objection; form. Let her

18 answer the question.

19      A. The documents are pertaining to the discovery

20 requests that you guys have requested, right? So you

21 should know what's in them.

22      Q. (By Mr. Bankston) I know what's in them. I

23 know. Trust me, I do.

24      A. Right.

25      Q. Right. I want to know if you do.

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1         So sitting here today you can't identify any of

2 the documents you reviewed. So you're not going -- none

3 of your testimony today is going to be based on those

4 documents, correct?

5       A. Not -- not off the top of my head.

6       Q. Okay. So that's what I'm saying.

7         Right now you're giving testimony. You

8 understand that?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     A. Yes.                       865 of 1271

10      Q. It's coming off the top of your head, right?

11 You understand that?

12      A. Yes.

13      Q. There's not somebody with a teleprompter back

14 there, right?

15      A. Correct.

16      Q. Okay. Everything that's coming right now is

17 coming right out of your brain.

18      A. Yes.

19      Q. Right?

20         And since you cannot tell me what those

21 documents are and what they say off the top of your

22 head, that's not going to be part of your testimony

23 today, correct?

24            MR. REEVES: Objection; form.

25      A. I would say not specifically what's in those

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1 documents because there's no way I can remember the

2 amount of documents and what's in them.

3       Q. (By Mr. Bankston) Right.

4         And they're not here today, right?

5       A. I did not print them up, no.

6       Q. Right.

7         So they're not going to be part of your

8 testimony, right?

9             MR. REEVES: Objection; form.

10      A. (No response.)
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11    Q. (By Mr. Bankston) Correct?

12         I'm sorry. Like -- we're going to be here a

13 long day today.

14               MR. BANKSTON: No. I need to go a little

15 bit longer.

16      Q. (By Mr. Bankston) I think I got what I needed

17 from that. I don't need you to answer that question.

18         Okay. Can you look at Exhibit 2 for me and can

19 you go to paragraph 14?

20      A. (Witness complies.)

21      Q. Do you see that paragraph 14 identifies the

22 January 27, 2013 video entitled, "Why People Think

23 Sandy Hook is a Hoax"?

24      A. Yes.

25      Q. Okay. You're familiar with the claims made in

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1 that video, right?

2             MR. REEVES: Objection; form.

3       A. I don't recall the exact video.

4       Q. (By Mr. Bankston) And so sitting here today,

5 you're not familiar with the claims made in that video.

6       A. No.

7       Q. Okay. So sitting here today, you couldn't tell

8 me who the sources were for the claims that you don't

9 know, correct?

10      A. From -- I would assume they were either

11 Mr. Halbig or Pieczenik, because these were the two
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 sources that were -- that had pertained
                                        867toofthe videos.
                                                1271

13      Q. Okay. First of all I'm going to tell you,

14 Ms. Karpova, do not make assumptions for me. I -- so

15 here's the thing that I need you to understand. You're

16 here to testify for the corporation, right? You

17 understand that? You're not -- there's sometimes

18 questions I'm going to ask you personally, what you

19 personally think or know. When I ask you questions

20 about the corporation when you're here testifying,

21 there's basically three answers you can have, which is I

22 know and here's the answer, the corporation knows this;

23 the corporation does not know this; or I, Daria Karpova,

24 do not know if the corporation knows or does not know.

25 Do you understand those three types of answers?

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1       A. Yes.

2       Q. Okay. So in this particular situation, you

3 don't know what claims are made in that video, correct?

4       A. I don't.

5       Q. Okay. And you are telling me you're making

6 this assumption that this must have something to do with

7 Wolfgang Halbig or Dr. Steve Pieczenik. But do you know

8 if either of those individuals had ever been on InfoWars

9 by 2013? Do you know?

10      A. Not for a fact I do not know. I could find

11 that information if that was a question that I knew I

12 had to prepare for.

13      Q. Well, we asked you for the sourcing -- I mean,
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 look at topic number one. Do you see what topic number

15 one says?

16      A. Right. This question is very broad and hard to

17 understand what is even wanted. So I did my best

18 preparing -- in good faith preparing to answer these

19 topics.

20      Q. Well, it sounds like your attorney should have

21 objected to it if it was overbroad and in bad faith. I

22 get that.

23             MR. REEVES: Do you realize that you cannot

24 object like that, Mark. So if you wouldn't -- you don't

25 need to tell her what her attorney should or shouldn't

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1 have done. Why don't you just go ahead and answer your

2 question.

3              MR. BANKSTON: Well, if she wants to have

4 legal arguments with me today, we're going to discuss

5 what those legal --

6              MR. REEVES: She's not having legal

7 arguments with you. Just ask you question.

8              MR. BANKSTON: She -- Brad, Brad. Don't

9 interrupt my testimony.

10             MR. REEVES: Don't harass the witness.

11      Q. (By Mr. Bankston) Ms. Karpova, did you

12 just -- did you just assert for me that that topic was

13 too broad to be answered correctly? Is that what you

14 told me?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    A. When it comes to -- yes, for --869
                                         for of
                                             all 1271
                                                 intents

16 and purposes, yes.

17      Q. So when I ask you I want to know the sourcing

18 for a video at InfoWars, you can't figure that out?

19 That's too broad?

20      A. Sourcing can mean a lot of different things.

21 It can -- can you be more specifically what you mean by

22 sources?

23      Q. I think you know what it means, don't you,

24 right, what a source is? What do you think a source is?

25      A. Where you get a particular information.

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1       Q. Right.

2         And you understand that claims were made in

3 these videos, right --

4       A. Uh-huh.

5       Q. -- about Sandy Hook? And they came from

6 somewhere, right?

7       A. They came from Alex Jones.

8       Q. So Alex Jones is the source for the information

9 in these videos.

10      A. It -- it depends.

11      Q. It does. And that's why I brought you here

12 today, right?

13         But for these videos, where Wolfgang Halbig or

14 Dr. Steve Pieczenik had never said anything about

15 Sandy Hook until at least 2014, you don't know what the

16 sources for these videos are, do you?
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17    A. I would say no.

18      Q. Okay. There's a claim made in this video -- I

19 don't know how -- let me put it this way.

20      A. Can we review the video right now?

21      Q. No. I'm not going to play a 2-hour video for

22 you right now, no.

23      A. But you expect me to know what's going on in

24 every video?

25      Q. Uh-huh. I do. I do, Ms. Karpova. And I

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1 expected Rob Dew to do the same thing when he showed up

2 to the deposition to talk about sourcing and research

3 and he didn't do that twice.

4             MR. REEVES: Object to the sidebar.

5             MR. BANKSTON: So I do -- I want to make

6 sure this witness understands what she's here to do

7 today and my questions, what they are.

8       Q. (By Mr. Bankston) I do expect you to have done

9 your home work and know what was in those videos, yes,

10 ma'am, I do.

11         So for instance in this video, there's a claim

12 made about Charles Jacob. Do you know who he is?

13      A. No.

14      Q. Okay. So you wouldn't be able to talk to me in

15 any way about the claims made about Charles Jacob in the

16 January 27, 2013 video?

17      A. No.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    Q. Okay. Can you tell me what employees  were
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19 involved in researching that video? Who came up with

20 those claims in that video?

21      A. I have a list of people who were working on

22 that day. From that list I could tell you who might

23 have been in production for that day.

24      Q. So the best we can tell you is -- the best we

25 can figure out is who might have been working in the

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1 production side at that date, correct?

2       A. Yes.

3       Q. Okay. Have you talked to any of those people

4 before your deposition today?

5       A. No.

6       Q. Okay. So in other words, if you had a list of

7 people who were working that day and you could, it would

8 be within your power to do so, to walk down to wherever

9 they work in your building and say, hey, this video

10 right here from January 27, 2013, when you were working

11 that day, did you have anything to do with any of these

12 claims made in that video? You could do that, couldn't

13 you?

14      A. Some of those people on the list do not work

15 for the company anymore.

16      Q. Okay. But some of them do, don't they?

17      A. Some do.

18      Q. Yeah. And you could do that, couldn't you?

19      A. It depends on the video. I'm not sure about
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 this video, who specifically worked that day.

21      Q. Sure.

22         But for any of the videos that we're going to

23 talk about today, for any of the videos in plaintiffs'

24 petition, you had a list of who was working at InfoWars

25 at that time, correct?

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1       A. Yes.

2       Q. And you could have interviewed those employees,

3 correct?

4       A. I could have.

5       Q. And you didn't, correct?

6       A. Correct.

7       Q. Okay. Can you go to paragraph 16 for me?

8 Actually, hold on. Before we go on to this next video.

9         One of the things that you -- I want to cover

10 some of the things we talked about in this first video

11 to see if they apply for every video because I think we

12 might be able to save some time. Alright? And you can

13 tell me if we can or we can't.

14         But from what I understand about that first

15 video is, A, you didn't watch it and, B, you didn't talk

16 to any of the employees involved in making it. That's

17 correct, right?

18      A. Yes.

19      Q. Okay. Is that true for all the videos?

20      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Okay. And in terms of understanding what
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22 claims were made in the videos, is that the same that

23 you don't know what claims were made in the videos for

24 all the videos?

25      A. Correct.

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1       Q. Okay. So look at paragraph 16 for me. And

2 that one talks about an April 9, 2013 video called

3 "Obama Gun Grabbing Psyop Speech of Evil," correct?

4       A. Correct.

5       Q. Okay. So in this video -- for instance, that

6 petition in front of you says -- alleges -- let me back

7 up.

8         When I say that the plaintiff alleges something

9 in a petition, you understand that that is my client's

10 saying that this happened. That's -- and so part of the

11 whole court process is to figure out whether any of that

12 is true, right? Do you get that?

13      A. Uh-huh.

14      Q. Okay. So when I say that they're alleging

15 this, I'm not going to tell you that what is being said

16 here is fact. You know, that may be for you to decide,

17 right? But when I'm talking about allegations, I just

18 wanted you to understand what I meant by that.

19         But here in paragraph 16 talking about that

20 video, this plaintiff, this petition alleges that

21 Mr. Jones said that those recent mass shootings were a

22 government operation and that Sandy Hook was an inside
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23 job. You see where it alleges that, correct?

24      A. Uh-huh.

25      Q. Sitting here today can you tell me whether

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1 that's true or not?

2             MR. REEVES: Objection; form. Can you

3 rephrase that, please, Mark? I'm not sure what

4 you're --

5             MR. BANKSTON: Yeah.

6       Q. (By Mr. Bankston) So the plaintiffs allege

7 that Mr. Jones in that video told his viewers that the

8 recent mass shootings were a government operation and

9 that Sandy Hook was an inside job. That's what the

10 plaintiffs allege happened. Is that true? Is that what

11 he said in that video? Or can you tell?

12      A. If I had the video in front of me, I would be

13 able to tell you.

14      Q. Or if you had watched the video prior to this

15 deposition and looked into the research and sourcing of

16 it you could tell me, correct? Is that correct?

17      A. If that was something that's among the topics,

18 yes, I would have.

19      Q. Sure.

20         So --

21      A. But because the topic was so broad, there was

22 no way I could have known that I had to go point by

23 point in this original petition.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    Q. Did you raise that -- did you raise that
                                        875 of    issue
                                               1271

25 with your attorneys? Did you bring to them -- to the

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1 attention I can't do this?

2             MR. REEVES: Objection.

3             Don't talk to -- anything about you talked

4 to your attorneys about.

5       Q. (By Mr. Bankston) Okay. Did you express to

6 anybody at the company I can't do this?

7       A. I can't do what?

8       Q. Answer topic number one.

9       A. I'm answering it to the best of my ability.

10      Q. Okay. But you've told me it can't be answered,

11 correct? It's too broad. There's no way you could do

12 this, right? Is that correct or not correct?

13      A. Well, if we are going point by point, as you

14 are right now, then, correct.

15      Q. Yeah.

16         So, I mean, in your mind when the plaintiffs

17 requested a representative of the company to talk about

18 the sourcing and the research of the videos that made

19 claims in plaintiffs' petition, did you think they'd be

20 uninterested in the claims made in the videos?

21      A. It would -- it would -- it's -- it's pretty

22 much impossible to figure out on that particular day of

23 the -- what was the sourcing. We don't have that kind

24 of documentation for every show or every video.

25      Q. But you didn't go ask any of the employees
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1 involved, did you? Correct?

2       A. Correct.

3       Q. Okay. Go to paragraph 17 for me.

4       A. (Witness complies.)

5       Q. Do you see where there it talks about the

6 April 16, 2013 video entitled "Shadow Government Strikes

7 Again," correct?

8       A. Yes.

9       Q. Okay. And again, just like our prior answers,

10 you don't know what employee researched the information

11 to create the claims in this video, correct?

12      A. Correct.

13      Q. Okay. There's a quote there in the petition

14 that's being alleged. It says: They state Sandy Hook.

15 The evidence is just overwhelming, and that's why I'm so

16 desperate and freaked out.

17         Do you know if that's an accurate quote from

18 Mr. Jones?

19      A. I don't know for a fact, no.

20      Q. Okay. So it's fair to say when you reviewed

21 the petitions for these plaintiffs' videos and they had

22 quotations from Mr. Jones, you didn't do anything to try

23 to verify those quotations, correct?

24      A. Correct.

25      Q. Okay. The company now admits -- actually, let

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1 me go back for a second.

2         When we have a statement like this from

3 Mr. Jones, did you ask Mr. Jones about any of these

4 statements?

5       A. No.

6       Q. And prior to taking this deposition from the

7 time you learned in November that you were going to be

8 giving this deposition to the present day, have you

9 talked to Mr. Jones about what your testimony's going to

10 be in this room?

11      A. No.

12      Q. Okay. The company now admits -- okay. Let me

13 go back to the statement you were just looking at,

14 right? Do you see that, the evidence is just

15 overwhelming?

16      A. Yes.

17      Q. The company now admits there was not

18 overwhelming evidence in April 2013 that

19 Sandy Hook -- that the government staged Sandy Hook.

20               MR. REEVES: Objection; form.

21      Q. (By Mr. Bankston) The company admits that now?

22               MR. REEVES: Objection; form.

23      A. To the best of our knowledge.

24      Q. (By Mr. Bankston) To the best of your

25 knowledge today, sitting here today --

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1       A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2     Q. -- the company to the best of its knowledge

3 admits there was not overwhelming evidence in 2013?

4             MR. REEVES: Objection; form.

5       Q. (By Mr. Bankston) Correct?

6       A. To the best of our knowledge at that time, we

7 thought that there was overwhelming evidence based on

8 the expert witnesses that we were interviewing.

9       Q. Okay. Who was -- who are those?

10      A. Mr. Halbig and Mr. Pieczenik.

11      Q. Ma'am, neither of them had been on the show by

12 2013. So can you tell me who the experts actually were

13 for this video?

14      A. If it wasn't a direct interview, it must have

15 been information coming from them.

16      Q. It must have been.

17         You're certain that the information in this

18 video came from -- you're testifying under oath that the

19 information in this video came from Steve Pieczenik or

20 Wolfgang Halbig?

21      A. I wouldn't be able to say for sure, but I know

22 they were the two expert witnesses that were the key

23 people where Alex had concluded -- you know, made his

24 conclusions from.

25      Q. Okay. Ma'am, I just want you to understand,

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1 before we answer any more questions, that Wolfgang

2 Halbig didn't even start investigating Sandy Hook till
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3 2014.                            879 of 1271

4         So when I have you here under oath saying that

5 this must come from Wolfgang Halbig, I'm a little

6 concerned. So I just want to stop and make sure we're

7 not making assumptions, that we're answering the

8 questions based on the knowledge that we have. Okay?

9         And the reality is that when it comes to

10 whether the evidence was overwhelming, one, you don't

11 know what evidence is even being talked about in that

12 statement, do you?

13      A. I don't.

14      Q. Okay. Two, you don't know where any of that

15 alleged evidence came from, do you?

16      A. No. It's been a long time, though. Correct.

17      Q. That's why I'm taking this deposition.

18         And sitting here today, you can't do it, can

19 you? You cannot tell me what evidence is being talked

20 about in paragraph 17.

21      A. No.

22      Q. Okay.

23            MR. REEVES: Mark, let's go ahead and take

24 a break. We've been going for a little --

25            MR. BANKSTON: I've got one more question

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1 on this video.

2             MR. REEVES: Alright.

3       Q. (By Mr. Bankston) Regardless of what the

4 company thought in 2013, sitting here today the company
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5 will now admit there was not overwhelming evidence in

6 2013 that Sandy Hook was staged, correct?

7             MR. REEVES: Objection; form.

8       A. I think I already answered that question.

9       Q. (By Mr. Bankston) I think what you had told

10 me -- and let me make sure I understand your answer --

11 was that at the time you believed there was evidence.

12      A. At the time the company believed there was

13 evidence.

14      Q. Correct.

15         Today, though, today sitting here right now

16 with the benefit of everything that's happened, with the

17 benefit of everything that's happened in this suit, will

18 the company now admit today there was not overwhelming

19 evidence that the government staged Sandy Hook in 2013?

20      A. The company believed that at that time there

21 was. Now the company does not believe --

22      Q. Right. So now the company --

23      A. -- that there is.

24      Q. I'm sorry. Go ahead and finish your answer.

25      A. Sorry. Yeah.

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1       Q. Okay. But now -- I'm just trying to confirm

2 because I think I understand what your answer was. But

3 now today the company admits there was not overwhelming

4 evidence?

5       A. Correct.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6           MR. BANKSTON: Okay. Alright.
                                    881 ofWe can take
                                          1271

7 a break.

8              THE VIDEOGRAPHER: The time is 12:03 p.m.

9 We are off the record.

10             (Recess from 12:03 p.m. to 12:28 p.m.)

11             THE VIDEOGRAPHER: The time is 12:28 p.m.

12 we are on.

13             MR. BANKSTON: Alright. I have -- I just

14 wanted to let you know I had taken Exhibits 1A through

15 1J, they're back in this folder. If you need them at

16 any time, please feel free to pull them out.

17             I want to show you right now what I'm going

18 to mark as Exhibit 3.

19             (Exhibit 3 introduced)

20      Q. (By Mr. Bankston) Have you seen this document

21 before?

22      A. I do not remember seeing that.

23      Q. Okay. This was produced to us without a Bates

24 number on it. Back up.

25         I didn't -- you were -- you understand -- okay.

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1 I'm sorry.

2         One of the topics you were supposed to prepare

3 for was documents produced by the company, correct?

4       A. Yes.

5       Q. So you understand that the company has produced

6 documents at several different points over the past

7 3 years?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     A. Correct.

9       Q. Okay. You understand that the first time that

10 the company produced documents back in 2018, they didn't

11 have any numbers on the bottom here. Did you know that?

12      A. I didn't.

13      Q. Okay. Have you ever seen documents reviewed in

14 this case that say FSSTX and a long number at the end of

15 them at the bottom?

16      A. Yes.

17      Q. Okay. This document doesn't have anything like

18 that, okay, because that's the way it was produced.

19         Can you look at this and tell me whether this

20 is an email that came from your files? Is there any way

21 for you to do that?

22      A. Can you specify from my files?

23      Q. I'm sorry. What I mean to say your files, I

24 mean the company's. Is this -- is this a Free Speech

25 Systems' email?

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1       A. It appears so.

2       Q. Okay. So Nico, that's a Free Speech Systems'

3 employee?

4       A. Yes.

5       Q. He -- he was a frequently liaison of

6 Mr. Halbig, correct?

7       A. Yes, that's my understanding.

8       Q. Okay. This email is dated February 25, 2014,
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 correct?                         883 of 1271

10      A. Yes.

11      Q. And this is Mr. Halbig sending his resume and

12 bio to InfoWars?

13      A. It appears so, yes.

14      Q. Okay. And Mr. Halbig says: Nico, here is some

15 information on me that you guys can check out, Wolfgang,

16 and he gives his phone number, correct?

17      A. Yes.

18      Q. Okay. Do you have any reason to believe that

19 InfoWars had any dealings with Mr. Halbig before this

20 date?

21      A. I don't know for sure.

22      Q. Okay. So let me make sure I ask this in a

23 couple of ways. Okay?

24          First of all, when you give that answer, when

25 you say I don't know for sure, that's based on your

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           66



1 personal knowledge, Daria Karpova, correct? That's what

2 you're saying?

3       A. I'm saying that --

4       Q. I think maybe --

5       A. I'm saying -- sorry.

6       Q. Let me try to help clarify because I think it

7 may be helpful to your answer.

8          What I'm trying to say is when you give the

9 answer of I don't have any reason to believe that we've

10 had -- I don't have any basis to say that InfoWars had
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 contact with Mr. Halbig before that date, is that based

12 on just your own personal knowledge or is that based on

13 information somebody else has given you?

14            MR. REEVES: Objection; form. That wasn't

15 testimony given, but --

16      A. As far as -- as far as the company knows,

17 we -- if there wasn't a record produced before this

18 date, then we don't know if there was communication with

19 Halbig before this date or not.

20      Q. (By Mr. Bankston) Okay. I want to also just

21 before we move on to something else, I want to clear

22 up -- I made a representation to you, and I don't think

23 it was quite accurate. Okay? We had talked about

24 Wolfgang Halbig and when he appeared on the show, and I

25 made a representation about that, okay, and about him

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1 being on in 2014. But I also made a representation

2 about Dr. Steve Pieczenik, that at the time I was

3 speaking of, he hadn't been on the show until 2014. We

4 did a little checking, and it appears from what we can

5 figure out that Dr. Steve did something on Sandy Hook on

6 InfoWars in March of 2013. We don't have that video.

7 But I just want to represent to you that that -- what I

8 represented to you before probably isn't accurate

9 because it looks like now there's a video out there that

10 we don't know about that was in March of 2013. But in

11 terms of -- and we were talking about in January of
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 2013.                            885 of 1271

13         But just for going forward, I want you to

14 understand that -- that we -- I don't want to represent

15 to you that he wasn't there before March 2013. Do you

16 understand what I'm saying?

17      A. I understand.

18      Q. Okay. Alright.

19      A. Thank you.

20      Q. Okay. Can you go to paragraph 20 for me in

21 Exhibit 2? Okay. And Exhibit 2 being Mr. Heslin's

22 petition. And paragraph 20 talks about a March 14, 2014

23 video entitled "Sandy Hook, False Narratives vs. The

24 Reality." Do you see where it talks about that?

25      A. Yes.

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1       Q. Okay. First let's -- I want to go through some

2 of these videos. We had talked about -- one thing -- is

3 it true that one thing you can't do here for me today is

4 for each of these videos in this petition -- actually,

5 no. Let's just go through them a little bit this way.

6         For instance, in this video, March 14, 2014,

7 you would not be able to tell me the specific claims

8 that were made in that video, right?

9       A. As far as the quotes specifically written here

10 or anything else?

11      Q. No. Anything that was claimed about

12 Sandy Hook. Do you know anything, what was claimed

13 about Sandy Hook in that video?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    A. Well, to the company's understanding, the

15 quotes that are presented in this petition appear to be

16 accurate.

17      Q. Okay. Beyond what's quoted in this petition,

18 sitting here today, you can't tell me about anything

19 else that was claimed in that video.

20      A. No.

21      Q. Okay. Well, let's talk about what we do at

22 least know.

23         You see a quote there that says we've clearly

24 got people where it's actors playing different parts of

25 difficulty people? Do you see where it says that?

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1       A. Yes.

2       Q. Okay. The company, sitting here today, agrees

3 that was a ridiculous thing to say.

4              MR. REEVES: Objection; form.

5       Q. (By Mr. Bankston) Correct?

6       A. At the time of the event, with all the

7 information that was coming in, as well as Alex's

8 previous research, as he is a history buff of the false

9 flags that we discussed earlier, it is the company's

10 understanding that he was entitled to his commentary and

11 opinions in this matter.

12      Q. Okay. So in other words, the company does not

13 agree it was ridiculous to say we've clearly got people

14 where it's actors playing different parts of different
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 people, correct?                 887 of 1271

16            MR. REEVES: Objection; form.

17      A. Again, this was Alex's commentary. I'm not

18 sure if the company can agree or not. It's not a

19 person. It's not a human being that can agree or not.

20 So as far as this quote from Alex Jones at the time, I

21 already answered that question.

22      Q. (By Mr. Bankston) Okay. Well, you're here as

23 the corporate representative today, correct?

24      A. Uh-huh.

25      Q. Correct?

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1       A. Correct.

2       Q. Okay. And you've been asked to give testimony

3 in response to my questions today, correct?

4       A. Correct.

5       Q. Speaking from what the company knows or does

6 not know.

7       A. Correct.

8       Q. Okay. The company has opinions on the people

9 who works for it, correct?

10            MR. REEVES: Objection; form. Can you

11 please point out to where that's a topic in your

12 deposition notice?

13            MR. BANKSTON: That's not a topic of my

14 deposition notice, no.

15            MR. REEVES: Okay. Well, then she's not

16 here to test -- she's here testifying as a corporate
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 representative on the noticed topics. If you're asking

18 questions outside of that, she can certainly answer.

19 But that is not on behalf of the company.

20             MR. BANKSTON: I can give you a running

21 objection to the entire --

22             MR. REEVES: If you'd like to do that,

23 that's great.

24             MR. BANKSTON: Yeah. For every question

25 that I ask, you don't have to stop anymore to do that.

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1              MR. REEVES: Okay. I'm not trying to

2 interrupt.

3              MR. BANKSTON: No, I understand. I

4 understand you're trying to preserve your record. But I

5 know we're going to be here forever if we don't do stuff

6 like --

7              MR. REEVES: Okay. No -- that's fine.

8       Q. (By Mr. Bankston) Alright. So does --

9 let's -- actually, let's -- let me -- let withdraw that

10 question and I'll ask it this way.

11          Do you have any information for me here sitting

12 today what the source of the information it was that

13 allowed Mr. Jones to conclude that we've clearly got

14 people playing -- excuse me -- where he was able to

15 conclude we've clearly got people where it's actors

16 playing different parts of different people?

17      A. A lot of the information that Alex had
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 commentary upon came from meshoo889(phonetic)
                                        of 1271 media,

19 videos, articles. There's no way to have access to

20 that -- to every single piece of that information at

21 this point. It would be hard, even the day before, to

22 have access to whatever the sourcing was for Alex at

23 that particular time.

24      Q. It's true that you didn't do anything to try to

25 figure out that, correct?

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1       A. Based on my knowledge of the work flow,

2 day-to-day work flow that we've had for years and years,

3 I can make an educated guess because I've been in this

4 position and I can tell you of the typical sourcing that

5 is done for each show --

6       Q. Okay.

7       A. -- and Alex's commentary on it.

8       Q. Okay. So in answer to my question, you

9 didn't -- in preparation for this deposition, you didn't

10 do anything to try to figure that out in terms of what

11 the source was for that statement. That's correct.

12      A. Not for this specific quote. I can tell you

13 the general sourcing that we have, that we utilized in

14 preparation for the shows, as well as during the shows.

15 That's my expertise as a day-to-day person who's

16 involved in production.

17      Q. Okay. You can't tell me -- can you tell me

18 what actors -- can you tell me what people were being

19 alleged to be actors?
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20    A. Based on this quote, there's no way to tell.

21      Q. And based on what you -- and you have done

22 nothing in preparation for this deposition to determine

23 that, correct?

24      A. That wasn't part of the questions that I was

25 asked --

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1       Q. I'm not --

2       A. -- to prepare for --

3       Q. Ma'am, I'm not asking what you were or were not

4 asked to do. We'll figure that out. I want to know

5 factually. You -- when it comes to trying to figure out

6 who he's even talking about here in terms of actors

7 playing different parts of different people, you didn't

8 do anything to figure that out, correct?

9       A. Correct.

10      Q. You didn't ask Alex about this statement or

11 this video, correct?

12      A. Correct.

13      Q. You don't know any of the employees who may

14 have researched and come up with this idea that there

15 was actors playing different parts of different people,

16 do you?

17      A. This -- to me this doesn't appear as a research

18 that's coming from a particular employee that's feeding

19 Alex any information. This appears to me as Alex's

20 opinions and commentary on the situation that he
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 is -- has in front of him that he's watching
                                          891 ofbased
                                                 1271 on

22 the main street news reporting, other sources that he

23 might have had at that time.

24      Q. Okay. But you're guessing.

25      A. Educated guess, yes.

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1       Q. Right.

2         So there's two situations that could happen

3 when Alex Jones is going to say something like this on

4 air. Situation one is that some employee has found

5 something online, some video, some articles, something

6 that he thinks shows that there's actors playing

7 different parts of different people and he takes that to

8 Alex and Alex goes and puts that on the air.

9         And situation two is Alex Jones himself saw

10 something that made him arrive at this conclusion.

11         One of those two things is most certainly what

12 happened, correct?

13      A. Not necessarily. It could be that one of those

14 things happened. But number one that you mentioned is

15 unlikely in my opinion, just from working for years in

16 the same environment and knowing the work flow. Again,

17 Alex's commentary could have been -- I'm not sure what

18 his commentary was based on. It's just hard to -- it's

19 hard to say in this particular case.

20      Q. Okay. Do you know who was working on this day

21 in the production department?

22      A. I have a list of people who were working on
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23 that day, and I can refer potentially who were working

24 in production. Even that is not for sure because at any

25 time a person could have or could have not been there.

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1       Q. Okay. If you needed to -- if I asked you right

2 now who was there, would you need to look at a document

3 to do that, to figure out who was there?

4       A. If the document is in my email, yes.

5       Q. Okay. And that's not here on this table, is

6 it?

7       A. No.

8       Q. Okay. You can go to paragraph 23 for me.

9       A. (Witness complies.)

10      Q. Do you see where it talks about a May 20 -- a

11 May 13, 2014 video entitled "Bombshell Sandy Hook

12 Massacre Was a DHS Illusion Says School Safety Expert"?

13      A. Yes.

14      Q. That school safety expert, that's Wolfgang

15 Halbig, correct?

16      A. Yes.

17      Q. He's the source for this video?

18      A. It appears so.

19      Q. Okay. Do you -- are you -- are you familiar

20 with claims made in this video about CNN and a

21 (indiscernible) broadcast involving (indiscernible)?

22      A. Say it again, please.

23      Q. Are you aware of claims made in this video
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 about CNN and the first Gulf War and893
                                        a blue screen?
                                           of 1271

25      A. Yes, I recall -- I recall that incident.

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1       Q. Okay. And you -- tell me what you

2 understand that allegation about CNN and the first Gulf

3 War and the blue screen could be?

4       A. The allegation is that Anderson Cooper used a

5 green screen to report.

6       Q. Okay. Do -- do you think that Anderson Cooper

7 was at the first Gulf War?

8       A. No.

9       Q. Okay. So that's probably not what that is,

10 right?

11      A. That's the only thing that I can recall having

12 to do with CNN and a reporter.

13      Q. Okay. So any discussion about what CNN was

14 doing during the Gulf War in Iraq in terms of a blue

15 screen in that video is something that you do not

16 understand the researching or sourcing for, correct?

17      A. I do not recall.

18      Q. Okay. Can you go to paragraph 25? And do you

19 see in paragraph 25 it discussing a September 25, 2014

20 video entitled "Connecticut PD Has FBI Falsify Crime

21 Statistics," correct?

22      A. Yes.

23      Q. Okay. First of all, are you familiar with the

24 claim that InfoWars has made that the FBI either

25 falsified crime statistics or admitted that nobody died
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1 at Sandy Hook? Are you familiar with those claims?

2       A. As far as it's quoted here in this paragraph,

3 the company believes that to be the case.

4       Q. No.

5         What I'm asking, Ms. Karpova, is based on the

6 title and this talking about FBI falsified crime

7 statistics. Are you personally right now familiar with

8 that claim made by InfoWars?

9       A. Personally I'm not.

10      Q. Okay. Did you talk to anybody about that

11 claim?

12      A. No.

13      Q. Okay. So this video and its title, you don't

14 really understand where that comes from, right?

15      A. No.

16      Q. Okay. So you wouldn't know what employee came

17 up with this idea that the FBI falsified crime

18 statistics.

19      A. There wouldn't be an employee that came up with

20 that specific idea. That's a show title. That's based

21 on the information that's discussed in the video.

22 That's how we title the videos.

23      Q. Do you think this allegation -- I mean, you

24 don't know if this allegation came from inside or

25 outside the company, do you?

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    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1       A. It came from either that interview with

2 Mr. Halbig that was included in this video or a source

3 that Alex Jones had.

4       Q. Have you ever seen the article about this,

5 about FBI says nobody killed at Sandy Hook?

6       A. I might have. I don't remember now.

7       Q. Okay. It's an InfoWars' article?

8       A. I don't remember.

9       Q. Did you know it was the third most popular

10 InfoWars' article ever?

11      A. No.

12      Q. Okay. And that's not -- none of those claims

13 are something that you can testify about today.

14            MR. REEVES: Objection; form. The -- I

15 know we have a running objection, but again that's not

16 part of the notice of deposition.

17      A. Which claims specifically?

18            MR. BANKSTON: I'm sorry. Are you

19 objecting that her testifying about not being able to

20 talk about the claim made in this video is not part

21 of --

22            MR. REEVES: No.

23            MR. BANKSTON: Okay. I'm confused on

24 what --

25            MR. REEVES: I'm talking about the article,

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1 about the article.
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2           MR. BANKSTON: Okay. We'll get to that

3 later.

4             MR. REEVES: Okay.

5       Q. (By Mr. Bankston) So do you see in that

6 paragraph it's talking about photos of kids that are

7 alive that they say died?

8       A. Yes, I see that paragraph.

9       Q. Do you know what photo they're talking about?

10      A. From what I can infer, it was probably a photo

11 that -- or photos that were going around that people

12 were talking about online.

13      Q. Sure.

14         You have no idea what they are. I mean, you're

15 guessing, right? Right?

16      A. To the best of my knowledge. There's no way to

17 tell what they were.

18      Q. You have no personal knowledge about this,

19 correct?

20      A. Well, there's no way to go back to that video

21 because we don't keep those kinds of records of every

22 show. Of any show.

23      Q. You didn't talk to any of the employees, did

24 you?

25      A. It's hard to tell who worked on that day. We

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1 don't have record of that either.

2       Q. You know who wrote the article that went along
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 with this video, don't you?      897 of 1271

4       A. No, no idea.

5       Q. You'd be able to figure that out if you wanted

6 to, though, couldn't you?

7       A. If that article had a name on -- of the author,

8 it would be there, yes.

9       Q. Okay. So we don't know what employee was

10 responsible for bringing this information to the

11 company's attention, whether it was Alex Jones or

12 another employee, correct?

13      A. Correct.

14      Q. Okay. Do you know if this has to do with the

15 Super Bowl picture? Do you know what I mean when I say

16 "Super Bowl picture"?

17      A. I think -- can you be more specific?

18      Q. Yeah.

19         Do you know about Wolfgang Halbig sending the

20 company a Super Bowl picture?

21      A. I do not know that.

22      Q. Okay. Let me attach No. 4.

23             (Discussion off the record)

24             (Exhibit 4 introduced)

25      Q. (By Mr. Bankston) And while he's looking -- I

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1 may have already asked you this. But on September 25,

2 2014, for that video on that day, you don't know what

3 employees were working that day to be involved in making

4 that video?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5     A. I can be -- I can potentially infer who were

6 active during the production of this video based on a

7 record of employed personnel on that day. But I

8 couldn't tell you specifically if they were in the room

9 at that specific moment because we don't keep records of

10 things like that.

11      Q. Can you tell -- can you tell me who was working

12 that day?

13      A. If I can have access to my email.

14      Q. Never mind.

15         Okay. So let me just make sure for the record.

16 There's nothing on the table right now that's going to

17 be able to help you answer the question of who was in

18 that room that day making that video?

19      A. Because we don't keep track of that

20 information, correct.

21      Q. Wait. No.

22         From what I understand, you do keep track of

23 that information; and if you had access to it, you could

24 answer it. But you don't have access to it as you sit

25 in that chair?

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1       A. No. I said I can infer from a list of

2 employees who might have been there at that particular

3 time.

4       Q. Okay. And then from that list you could

5 perhaps go interview those employees, correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     A. Yes.                       899 of 1271

7       Q. Okay. And you didn't do that, correct?

8       A. (No response.)

9             (Discussion off the record)

10               (Exhibit 4 introduced)

11      Q. (By Mr. Bankston) I'm going to show you what

12 I've marked as Exhibit 4. Can you take a quick look at

13 that real quick and then let me know if you've seen it

14 before?

15      A. Yes.

16      Q. You have seen this document before?

17      A. I have not seen -- I don't recall seeing that

18 specifically. Like I said, I've reviewed a lot of

19 documents.

20      Q. Alright. I'm just trying to make sure -- have

21 you or have you ever seen this document?

22      A. I don't recall reading this particular exchange

23 with Mr. Halbig and Nico.

24      Q. Okay. I'm going to start at the bottom here.

25 And this is -- this document that I'm reading from you

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1 is marked FSS Texas, FSSTX, dash 039429. And you will

2 see at the bottom email Mr. Halbig writes to Nico. Do

3 you know who Nathaniel Folks is, the person he copies?

4       A. No.

5       Q. Okay. Nico, though, is an InfoWars' employee.

6       A. Yes.

7       Q. What's his job title at this time?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     A. He's not employed by Free Speech Systems.

9       Q. At this time.

10      A. Oh. At this time? He would be the head

11 producer.

12      Q. Nico's no longer employed by InfoWars?

13      A. Correct.

14      Q. Does InfoWars possess his last known contact

15 information?

16      A. Yes.

17      Q. Okay. Mr. Halbig in this email states: Nico,

18 the picture of the Sandy Hook Elementary School choir is

19 one of the keys. Other pictures are great for

20 discussion. These are the CT CRIME pictures. Wolf.

21         Have I read that correctly?

22      A. Yes.

23      Q. Okay. Nico responds and says: Got the Super

24 Bowl picture. Thank you for sending. We will be

25 having -- we will be calling you on Skype at 1:00 p.m.

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1 Eastern Time. How long will you be available for the

2 interview today? Thanks, Nico.

3         Have I read that correctly?

4       A. Yes.

5       Q. Okay. And then the final email says: As long

6 as you and Alex can put up with me. Wolfgang.

7         I read that correctly?

8       A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     Q. Okay. Does this help you refresh
                                      901your  memory
                                          of 1271

10 about what the Super Bowl picture is?

11      A. Are you asking me personally right now?

12      Q. If you can answer either on behalf of the

13 company or you can answer on behalf of yourself, let me

14 know either way.

15      A. If the Super Bowl picture wasn't produced by

16 the company, then we don't have a record of that -- of

17 the picture. Personally I -- over the years I've

18 seen -- I might have seen the Super Bowl picture.

19      Q. Okay. Let's find out.

20            (Discussion off the record)

21            (Exhibit 5 introduced)

22      Q. (By Mr. Bankston) Alright. I'm going to show

23 you what I've marked as Exhibit 5. Can you take a look

24 at that picture for me?

25      A. (Witness complies.)

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1       Q. Do you see at the bottom corner where it says

2 FSSTX.0446 -- 476?

3       A. Yes.

4       Q. Okay. Have you seen this picture before?

5       A. Personally I have not.

6       Q. Okay. This was a document though you can tell

7 from the number at the bottom that was produced by the

8 company, correct?

9       A. Yes.

10      Q. Okay. Can you read what it says at the very
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 top of the picture, the white text?

12      A. "10 Sandy Hook Children found alive and well."

13      Q. Okay. This -- does the company now admit that

14 this picture is outrageous?

15            MR. REEVES: Objection; form.

16      A. This picture was produced by a guest we've had

17 on the show who thought it was relevant material.

18      Q. (By Mr. Bankston) Okay.

19      A. We don't -- we don't tell our guests what to

20 say or what not to say.

21      Q. Now, this is something that Nico thanked

22 Mr. Halbig for, correct?

23      A. Sure. It appears so.

24      Q. Does the company -- and when the company in its

25 editorial discussions is discussing things like this,

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1 right, when you have employees of the company discussing

2 a picture of a Super Bowl choir which is being contended

3 to be the pictures of dead children who are actually

4 alive, does the company have an opinion sitting here

5 today about whether those editorial discussions were

6 responsible or not?

7             MR. REEVES: Objection; form.

8       A. The expert guest that we had on the show,

9 Wolfgang Halbig, thought that it was an appropriate

10 supplementary material to bring to the interview. With

11 all the information that we had on Wolfgang Halbig
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 regarding his extensive bio and knowledge
                                       903 ofin the subject
                                              1271

13 matter that he was going to be discussing, we had no

14 reason to believe that this would be an inappropriate

15 picture if -- we -- if that's something he wanted to

16 bring to the interview and talk about, he's allowed to

17 do that. We -- we allow that with the guests.

18      Q. When InfoWars has a source like Mr. Halbig,

19 he's going to bring him on and Alex Jones is going to

20 repeat the things he says. Let me back up.

21         You'll agree with me, Alex Jones has frequently

22 repeated the things Mr. Halbig has claimed without

23 Mr. Halbig even being on the show, right?

24      A. Mr. Halbig was a subject matter expert, so Alex

25 would defer to his opinion.

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1       Q. Sure.

2         And one thing that you'll agree with me that

3 the company would have in its editorial discussions on

4 Sandy Hook needs to do is continually assess and

5 reassess the credibility of the experts it's relying on,

6 correct?

7       A. We did not -- we do not have editorial

8 discussions regarding Sandy Hook, nor did we ever have

9 them. And to the best of our knowledge, this was the

10 foremost expert on the matter of school shootings,

11 school safety at the time. And we did our best to bring

12 the top person in the business to state his opinion on

13 the subject matter.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    Q. Who vetted Wolfgang Halbig's bio, bio and

15 background? Who did that?

16      A. This is -- specifically vetted? I'm not sure

17 who vetted.

18      Q. Okay.

19      A. It -- since Nico was the producer, he probably

20 was the person who vetted.

21      Q. Alright. So when InfoWars was assessing

22 Wolfgang Halbig's credibility and whether he should be

23 somebody who should be relied on as to an expert, one of

24 the pieces of information that they had in order to make

25 that credibility assessment was this picture of a Super

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1 Bowl choir that Wolfgang Halbig was contending was

2 actually secretly the murdered children of Sandy Hook

3 who are actually killed. That's one of the things that

4 InfoWars had in its possession to assess his

5 credibility, correct?

6       A. I wouldn't say so. This -- from -- from this

7 exchange, it appears that this is a supplementary

8 material that Wolfgang wanted to have for the interview.

9 His bio, his credentials is an entirely different thing

10 from the materials that he wants to bring to talk about.

11      Q. Well, what I'm saying is if there's an expert

12 and you've been relying on them, the guy's supposed to

13 be a school safety shooting expert, whatever it is,

14 alright, you're relying on him and then just
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 hypothetically that person starts saying
                                         905absolutely
                                             of 1271

16 crazy things and it's pretty clear they're going off

17 their rocker, maybe they were even credible at one time,

18 but suddenly they start saying a bunch of crazy things,

19 to the company, when it's deciding whether to put stuff

20 on about Sandy Hook, it needs to -- it -- it should

21 consider whether what the things its expert is saying

22 are crazy, correct?

23      A. Well, if he's the expert on the subject matter

24 and -- who knows a lot more on the subject than any of

25 us working at Free Speech Systems, it would be

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1 reasonable to believe that we would want to listen

2 what -- what -- or consider the information that he is

3 bringing.

4       Q. What exactly in Wolfgang Halbig's history and

5 expertise makes him an expert that you should defer to

6 on whether this picture of the Super Bowl choir is

7 actually pictures of children who were murdered?

8       A. Well, that's a good question. That's why I

9 brought his bio, which I would like to read.

10      Q. You'd just like to read it into the record, or

11 what?

12      A. Yes.

13         And the reason that we brought him on the show

14 is for his long credential of being an expert on school

15 shootings, on school safety.

16      Q. Does he have credentials in the photographic
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 forensic analysis of potential murdered children who are

18 actually being used as crisis actors?

19      A. I don't know that specific credential.

20      Q. Yeah. Okay.

21         Do you personally sitting here, you looking at

22 this, it's crazy, right?

23      A. I'm not here to talk about my personally

24 opinions.

25      Q. I'm asking you, though. Yeah, you are.

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1              MR. REEVES: Objection; form.

2       Q. (By Mr. Bankston) Yeah, is -- this is crazy,

3 right?

4              MR. REEVES: Objection; form. Don't answer

5 that question.

6              MR. BANKSTON: Yeah. Are you instructing

7 asking her not to answer --

8              MR. REEVES: I'm instructing her not to --

9              MR. BANKSTON: -- whether this was produced

10 by a rationale, sane, human being?

11               MR. REEVES: That's what you asked her the

12 first time.

13               MR. BANKSTON: Then let me do that

14 question.

15      Q. (By Mr. Bankston) Will you admit sitting here

16 right now, this was not created by a rationale, sane

17 human being, or are you going to tell this jury that
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 this is created by a rationale, sane human
                                          907 ofbeing?
                                                 1271

19      A. I don't have an opinion -- a personal opinion

20 on it.

21      Q. So you see this picture and in trying to

22 determine whether it was created by a sane, rationale

23 human being, you look at it and go I have no strong

24 feelings either way, correct?

25      A. I'm not a psychiatric medical expert to

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           91



1 determine who is sane and who isn't.

2       Q. Is this the kind of picture that if somebody

3 gave you that you would say this is a person that I

4 think is trustworthy and credible? Is that something

5 you would say?

6       A. It depends where I'm at, what information I

7 have. We're talking -- we're talking the date 2015

8 where Wolfgang Halbig came on the show. I -- judging

9 from this conversation, I don't know what Nico looked at

10 or knew about what Wolfgang was going to talk about or

11 bring on the show. So if -- from -- from the workload

12 that we have, if a guest sends me material that they

13 want to discuss and this guest has long credentials in

14 the subject matter that they want to talk about, then I

15 would thank them for sending me the information just

16 like Nico did. I don't see anything wrong with that.

17      Q. You would -- if somebody sent you this while

18 you were doing reporting, you would thank them for it?

19      A. I don't know. It depends on the circumstances.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20    Q. Okay. Well, the circumstances --

21      A. I wasn't there when Nico was having this

22 exchange, what information he had at the time.

23      Q. Well, I'm asking you what if you had this

24 information, a picture that says at the top,

25 "10 Sandy Hook Children found alive and well" and

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           92



1 they're the Super Bowl choir in front of millions of

2 people? Would you look at that and go, man, I'm glad

3 I -- they sent me that?

4       A. Personally I would rather think that those kids

5 were alive than -- than having -- because the tragedy of

6 kids being murdered for no reason, the innocence of

7 those children who didn't deserve what -- that -- that

8 kind of fate, I would hold out hope to the last bit of

9 my soul hoping and praying that that picture was -- that

10 was something that would possible, for those kids to be

11 alive.

12      Q. So if you think about it, from your point of

13 view --

14      A. Yeah.

15      Q. -- if you think about it, if the parents, if my

16 clients saw this picture, it should give them a lot of

17 hope, right? They should -- they should react really

18 positively to this with a lot of hope inside, right?

19            MR. REEVES: Objection; form.

20      Q. (By Mr. Bankston) Is that what you're saying?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    A. I'm not those parents. I'm looking
                                       909 ofat1271
                                                it as an

22 outsider. And I would much rather -- and I don't know a

23 person with a heart who'd rather think -- who'd rather

24 believe that the kids are dead versus that the kids

25 might be alive. I would say it's reasonable for a

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1 person with a heart to have that sort of optimism as I'm

2 sure Alex wanted to believe, that those kids -- if there

3 was any possibility that the kids were not dead, that he

4 was going to grab on to it because that's a much better

5 proposition to have in your heart and mind than to -- to

6 realize that they weren't.

7       Q. So Alex Jones, according to how the company

8 view things in terms of your Sandy Hook coverage,

9 Alex Jones said the kids didn't really die and they were

10 really alive in part because he has such a big heart and

11 a lot of hope and optimism, correct?

12             MR. REEVES: Objection; form.

13      A. Yes.

14      Q. (By Mr. Bankston) Okay. There was nothing in

15 your mind, in the company's mind, nasty, vindictive,

16 negative about any of these statements, about the kids

17 still being alive, right?

18             MR. REEVES: Objection; form.

19      A. Absolutely not.

20      Q. (By Mr. Bankston) Okay. Was it -- would it be

21 responsible journalism to show this picture to millions

22 of people?
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23          MR. REEVES: Objection; form.

24      A. It's possible journalism is the ability to dig

25 for information and present it in a truthful way to the

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1 audience and let them be the judge of that information.

2 As long as the information is truthful, to the best of

3 our knowledge, that's what responsible journalism is and

4 that's what we did.

5       Q. (By Mr. Bankston) So if you were to show this

6 picture to millions of people, the picture that says

7 10 Sandy Hook Children found alive and well and has a

8 bunch of names superimposed on them, that would be good

9 journalism, right?

10            MR. REEVES: Objection; form.

11      A. Again, I already answered that this was the

12 supplementary material that the expert guest wanted to

13 show, send us and it was appropriate for us to -- I'm

14 not sure if it was shown on the screen or not, but -- as

15 a company we didn't -- I don't believe we censored

16 anything that Wolfgang wanted to say.

17      Q. (By Mr. Bankston) Let me go back to our

18 petition there, Exhibit 1. Or is that -- is that

19 Exhibit 1? I'm sorry. I didn't -- it might be 2?

20 Yeah -- okay. Can you look at Exhibit 2 for me? And go

21 to paragraph 29.

22         Paragraph 29 talks about one of the videos

23 discussed in topic number one, correct?
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24    A. (No response.)             911 of 1271

25       Q. Ms. -- Ms. Karpova, I'm just asking you. Does

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1 paragraph 29 contain a video that you're supposed to

2 talk about under topic number one?

3       A. Yes.

4       Q. Okay. The video is December 27, 2014, entitled

5 "Lawsuit Could Reveal Truth About Sandy Hook Massacre,"

6 correct?

7       A. Yes.

8       Q. What lawsuit is being talked about?

9       A. I don't know for sure.

10       Q. Well, at least this one we're lucky because I

11 do.

12         Do you know Wolfgang sued Leonard Pozner, that

13 they were in a lawsuit together?

14       A. Yes.

15       Q. Okay. You understand the company was helping

16 Wolfgang Halbig raise money to use in court against

17 Mr. Pozner. Do you know that?

18       A. I'm not sure of the details of -- of the

19 raising of the money for Mr. Halbig's lawsuit.

20       Q. Can you read that for me? I'm sorry. The

21 reasoning, is that what you said?

22       A. What was your question?

23       Q. My question is, the company was helping

24 Wolfgang Halbig raise money to use in court against

25 Mr. Pozner, correct?
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1       A. Yeah. The company doesn't have details in

2 terms of the said money being raised for -- for court.

3       Q. I think -- wouldn't the more accurate be --

4 answer be you, Daria Karpova, does not know if the

5 company has information relating to whether they were

6 raising money for Wolfgang Halbig's lawsuit?

7       A. If the documents regarding that weren't

8 produced by the company, then the company does not know

9 because it didn't keep the record.

10      Q. Do you know if any such records exist?

11      A. I might have -- it might have been part of the

12 reviewed documents that I've looked at. I'm not sure.

13      Q. Well, first of all, we know that you didn't

14 know that this video referred to that lawsuit. You

15 didn't know what lawsuit it was. So you also, I would

16 take it, know you haven't done any research to determine

17 what that lawsuit is or anything about it, right?

18      A. I haven't reviewed that lawsuit, no.

19      Q. Or anything that has to do with what this video

20 said about the lawsuit, right?

21      A. I mean, if you ask me specifically? Because

22 you're saying anything. If you ask me a specific point,

23 then I may or may not recall.

24      Q. Sure.

25         What truth about the Sandy Hook massacre could

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1 this lawsuit reveal? What did the video have to say

2 about that?

3       A. Well, based on the quotes here in this

4 paragraph, you know, the truth would be -- I mean

5 something to do with it not being the way the main

6 stream news reported.

7       Q. Okay. Help me understand.

8          The lawsuit could reveal something that's

9 different than the mainstream media. That's your

10 answer? Is that -- am I understanding --

11      A. Different than what the mainstream media

12 finally reported about the incident.

13          I believe it took a year for Connecticut -- the

14 State of Connecticut to release the final report on the

15 event.

16      Q. What does that have to do with the lawsuit?

17 I'm confused. What -- what's the lawsuit having to

18 do --

19      A. Are you asking me what it could've --

20      Q. Well, let's --

21      A. So that truth might have been something that

22 contradicted the report that the State of Connecticut

23 had issued.

24      Q. You have no idea, do you? You say "might."

25 You don't have any idea.

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1       A. Yeah, we don't have a record of that.
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2     Q. Yeah.

3         And you -- when you got this petition and you

4 read it and you saw there was a video entitled lawsuit

5 could reveal truth about Sandy Hook massacre, you did

6 nothing to figure out what that lawsuit was or what it

7 could reveal, did you?

8       A. Huh-uh. No. Not specifically.

9       Q. Okay. That video also you'll see in the last

10 line, the plaintiff's alleged that the video says that

11 the event was undertaken as a satanic ritual by global

12 elites. Do you know if that's accurate? Not that -- do

13 you know if the claim -- in other words, do you know if

14 it's accurate that that was said in the video?

15      A. I have no reason -- the company has no reason

16 to believe that that wasn't said. And on that point I

17 would say that that's -- that is a commentary opinion of

18 Alex Jones at that time.

19      Q. Wait, wait, wait. Hold on.

20         How do you know Alex Jones said that? I mean,

21 you don't -- you didn't watch the video, right?

22      A. Not recently, no.

23      Q. Okay. And it says the video also featured

24 claims. It doesn't say Mr. Jones said that, does it?

25      A. It does not.

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1       Q. And you're not going to be able to offer me any

2 helpful testimony about that, are you? You don't know
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3 who said it or who researched it, right?
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4       A. Sorry.

5           Judging from the paragraphs it mentions,

6 Mr. Jones is the only one who's mentioned in this

7 paragraph regarding the video. It doesn't mention any

8 other guests. So -- which is why I would infer that the

9 claims that are made in the video are made by Mr. Jones.

10      Q. Which is to say you don't have knowledge,

11 you're making a guess?

12      A. Not specifically, correct.

13      Q. Okay. Thank you.

14          Can you go to paragraph 30 for me?

15      A. (Witness complies.)

16      Q. You see that talks about a December 29, 2014

17 video entitled "America the False Democracy," correct?

18      A. Yes.

19      Q. Okay. Do you see where it says Mr. Jones

20 stated that he did deep research?

21      A. Yes.

22      Q. Did Mr. Jones do deep research, or was that

23 false?

24      A. If he said that he did deep research, then he

25 must have done deep research.

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1       Q. Because everything Alex Jones says is true. He

2 does not lie on air, correct?

3       A. He believes everything he says.

4       Q. Okay. That's --
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5           MR. BANKSTON: No, I'm okay.

6       Q. (By Mr. Bankston) Do you see where it says the

7 general public doesn't know the school was actually

8 closed the year before?

9       A. Yes.

10      Q. You can't tell me the company source on that,

11 can you?

12      A. I could -- I know that those are one of the

13 claims made by Mr. Halbig, so I can make an educated

14 guess and say those -- that knowledge Alex got from

15 Mr. Halbig.

16      Q. Okay. Do you know what employee researched or

17 vetted that claim?

18      A. I wouldn't know at this point, no.

19      Q. Okay. Can you -- can you even affirm for me

20 that that claim was vetted in any way before it hit

21 InfoWars' public broadcast?

22      A. We relied on the expert guests to provide that.

23      Q. Right.

24         And you've already testified you don't know who

25 vetted Wolfgang Halbig, correct?

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1       A. I don't know for sure, but I already said that

2 as producer Nico must have done that.

3       Q. And you don't know what Nico did to vet him,

4 correct?

5       A. No.
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6     Q. You have not spoken with Nico.
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7       A. No.

8       Q. You can -- you know how to get in touch with

9 him, correct?

10      A. I have last known contact information.

11      Q. Did you try it?

12      A. No.

13      Q. Okay. Do you see where it says they had kids

14 going around in circles in and out of the building as a

15 photo op?

16      A. Yes.

17      Q. Yeah.

18         Do you know the company source on that?

19      A. I believe it should be -- the company believes

20 it to be Wolfgang Halbig.

21      Q. Well, it's interesting, you know,

22 because -- have you watched Alex Jones' deposition the

23 first time I took it?

24      A. Parts of it.

25      Q. Okay. Did you watch the part about the kids

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1 allegedly going in circles around the video with the

2 building? Have you seen that?

3       A. I don't remember that specifically.

4       Q. Okay. Because here's the thing. And I'm --

5 just again, to try to make sure that you're answering

6 questions that you know the answer to, we already know

7 where that one came from. We had a deposition, and we
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8 put the video up. And there's kind of an infamous

9 YouTube video made by just some random YouTuber, some

10 conspiracy person and it's called the going in circles

11 video. And it has -- it's actually not Sandy Hook

12 Elementary at all. It's a firehouse down the street.

13 It's not kids going in and out of the building, but it's

14 actually adults and young teenagers. But there's this

15 video of this circle of people going from the front to

16 the back. And we talked about all this in deposition.

17 It comes from a YouTube video. It doesn't come from

18 Mr. Halbig. It doesn't come from Mr. Fetzer. It

19 doesn't come from any of these people. But when you sit

20 here and you say, well, I can infer it can came from

21 Mr. Halbig, you can allow for me the possibility that

22 those answers aren't correct, right?

23      A. Well, you can also infer that the source for

24 the video was either Mr. Halbig or Fetzer, as you just

25 mentioned. You don't know where the video came from.

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1       Q. You don't know, do you?

2       A. No, you don't know.

3       Q. You don't know, right?

4       A. Just at you don't know.

5       Q. Right.

6         So we're just all speculating here today,

7 right? We have no idea what's going on.

8       A. You're speculating yourself.
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9     Q. Yeah, it does appear so.   919 of 1271

10            MR. REEVES: Objection to sidebar.

11            MR. BANKSTON: I'm not going to try to get

12 sidebars admitted, Brad. You know that. If you

13 think --

14            MR. REEVES: I don't care.

15            MR. BANKSTON: Let me tell you --

16            MR. REEVES: Stop abusing the witness.

17            MR. BANKSTON: If you think I'm harassing

18 this witness too much considering the quality of

19 testimony and the respect we've been given, then you can

20 call the court or stop this deposition right know;

21 otherwise, I don't need these -- the interruption of the

22 flow of the deposition.

23      Q. (By Mr. Bankston) During this time, this time

24 being 2014, right, December 2014 -- so even in 2015 --

25 during this time -- hold on. Let me back up because I

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1 do need to address something you said earlier.

2         Did I hear you say InfoWars never had editorial

3 discussions on Sandy Hook?

4       A. Correct.

5       Q. Okay. That's not true, though, right? People

6 inside InfoWars have talked about Sandy Hook from an

7 editorial standpoint a lot, correct?

8             MR. REEVES: Objection; form.

9       A. Negative.

10      Q. (By Mr. Bankston) Okay. During this time
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11 people inside of InfoWars were using the term crisis

12 actor to describe the events of Sandy Hook, correct?

13      A. I don't have any record of that as a company.

14      Q. You've never seen a document in the case where

15 people inside of InfoWars were using the term crisis

16 actor, correct?

17      A. As it pertained to Sandy Hook?

18      Q. Sure.

19      A. Editorial discussions?

20      Q. Uh-huh.

21      A. I don't recall right now.

22      Q. So, for instance, one thing -- okay. First --

23 yeah, let's go back for a second.

24         What's an editorial discussion?

25      A. An editorial discussion would be an internal

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1 conversation about what type information -- of

2 information, angles to go with live on air or website or

3 anywhere else.

4       Q. In 5 years of covering Sandy Hook, nobody at

5 InfoWars ever had any conversation like that, correct?

6 That's what you're saying?

7       A. Wait. Repeat that question, please.

8       Q. In the 5 years that InfoWars covered

9 Sandy Hook, nobody had a conversation like that ever.

10 Is that what you're testifying to?

11      A. In terms of editorial discussion with the
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 staff, the company doesn't have record
                                       921onofthat
                                               1271that I

13 can recall. In 2015, at some point before these

14 lawsuits were brought on, Alex had told the staff to

15 halt the potential discussion about Sandy Hook on air,

16 granted Sandy Hook was a tiny, tiny, tiny, tiny, tiny

17 percentage of the information, news, commentary,

18 opinions that's covered on the show. I mean, a tiny

19 percentage. Because what you -- what these -- you --

20 you guys are trying to make it sound like that's all

21 that InfoWars had been talking about for 5 years, and

22 that's not the case at all. Sandy Hook, again, takes a

23 fraction of a percent of the information that we had

24 covered. And at some point in 2015, Alex decided that

25 it wasn't a good idea because of all the controversy

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1 that's going on. I don't know what his -- I don't know

2 where he was basing his opinions on, but at some point

3 he decided that it wasn't a good direction to continue

4 to comment on Sandy Hook. And that was before you guys

5 even brought any of the lawsuits.

6       Q. Okay. Do you know what question you're

7 answering?

8       A. You asked me about the editorial discussions --

9       Q. Right.

10      A. -- of Sandy Hook.

11      Q. And there's never been any and -- was that your

12 testimony?

13      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    Q. So -- and my -- it's your understanding that,

15 no, there has been?

16      A. No, I just clarified on what I said by there

17 not being any and what happened, the specific

18 point -- what specific -- Alex Jones saying that he does

19 not want to see any reporters discussing Hook anymore.

20      Q. Okay. So let's -- let's unpack all of that.

21         First of all, Mr. Jones putting a ban on future

22 Sandy Hook materials going on there, when did that

23 happen?

24      A. Sometime in 2015.

25      Q. So it wasn't actually a real ban, was it?

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1 Because there's a lot of InfoWars stuff about Info --

2 about Sandy Hook after 2015, isn't there?

3             MR. REEVES: Objection; form.

4       Q. (By Mr. Bankston) Right?

5       A. Not a lot, no. As I -- as I just said,

6 Sandy Hook takes a fraction of the information that we

7 cover.

8       Q. Okay. So, yeah, let's go to that one.

9          What did you look at to come to that

10 conclusion?

11      A. My experience at the company, the daily show.

12      Q. How many videos do you think InfoWars made

13 about Sandy Hook?

14      A. A fraction of all the videos that we produced.
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15    Q. How many?                  923 of 1271

16             MR. REEVES: Objection; form.

17      A. I don't know the exact number.

18      Q. (By Mr. Bankston) What fraction? Do you know?

19 I mean, I don't -- I'm trying to understand -- if you

20 understand that it's a tiny fraction, right, what --

21 what number would -- would constitute a tiny fraction?

22 Like, what ballpark are we talking about? How many

23 videos --

24      A. Well, you have to separate the videos and the

25 broadcasts. During the 4-hour broadcast, Alex may

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1 mention -- might have mentioned Sandy Hook for a

2 few minutes during the 4-hour period of the show. When

3 you're talking about the videos that get posted to the

4 website from that particular show, I don't know how many

5 videos could have be produced from that. It depends on

6 the show.

7       Q. I've been trying to find out for 3 years.

8 Today you can't help me with that, can you?

9       A. Well, I believe the videos have been -- the

10 Connecticut case and other functions.

11      Q. Why -- so you -- no, I know why you believe.

12 (Indiscernible) ask about that. Never mind. Don't

13 worry about it.

14             MR. BANKSTON: Can you give me Tab 38?

15      Q. (By Mr. Bankston) Oh. Ms. Karpova, talking

16 about editorial discussions. Let me give you a
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17 hypothetical. Okay? Let's say you got an InfoWars'

18 producer, editor, somebody in that kind of a role and

19 he's talking to another producer, an editor in that kind

20 of a role, right? And he says to him hypothetically,

21 hey, look, these people we're relying on for Sandy Hook

22 coverage, god, they're not good, these people are not

23 reliable, man, I think we've got a big problem, that's

24 an editorial discussion. That would be if that

25 happened, right?

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1             MR. REEVES: Objection; form.

2       A. If it's a conversation between two employees,

3 I'm not sure how to classify that.

4       Q. (By Mr. Bankston) I mean, two editors having a

5 discussion about the material they're covering and the

6 reliability of their source, that's almost the

7 definition of an editorial discussion, isn't it?

8             MR. REEVES: Objection; form.

9       A. Well, a company-level editorial discussion or

10 department level would infer that the particular

11 decisions that come out of the discussion are

12 implemented as policy on something.

13      Q. (By Mr. Bankston) Let me just ask you this.

14      A. Yeah.

15      Q. If there were conversations between editors

16 having editorial discussions about whether the sources

17 they were using for Sandy Hook were reliable or not, are
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 those discussions you're prepared to 925
                                        talk of
                                             about today?
                                                1271

19      A. I have no knowledge of those discussions.

20      Q. You -- so I take it by that same token, you

21 have never seen any documents in which one editor or

22 high person in InfoWars, a writer, editor -- let's say

23 editor or producer is talking to another

24 management-level employee and saying I'm really worried

25 about our Sandy Hook sources, you've never seen any

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1 documents like that?

2       A. Not specifically like that, no.

3       Q. Okay.

4             (Discussion off the record)

5             (Exhibit 6 introduced)

6       Q. (By Mr. Bankston) I'm going to show you what

7 I've marked as Exhibit 6. You'll see down at the bottom

8 right-hand corner there's a label on it that says

9 FSSTX 075327?

10      A. Yes.

11      Q. Do you see that? Okay.

12         Up at the top do you see that this is an email

13 from Nico to Rob Dew?

14      A. Yes.

15      Q. Okay. Do you see what the subject is?

16      A. Yes.

17      Q. Can you read it for me?

18      A. Ebola, Sandy Hook crisis actor clips attached.

19      Q. As of this date, 2014/10/19. That's the date
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20 of the email?

21      A. Yes.

22      Q. As of this date, employees inside of, InfoWars

23 such as Nico, were engaged in discussions of another

24 employee, like Rob Dew, using the term crisis actor in

25 relation to Sandy Hook, correct?

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1       A. I don't see any discussion being held here.

2       Q. I mean, he wrote the words Ebola, Sandy Hook

3 crisis actor clips attached. That's a statement, right?

4       A. That is a statement that could have been the

5 names of the clips.

6       Q. No. The attachment's have the names of the

7 clips, don't they? It's got a PDF and it's got a name,

8 doesn't it?

9       A. Yes. But one has nothing to do with the other.

10      Q. Alright. Who knows, right? We've never looked

11 at the attachment, have we?

12      A. Well, here's -- here's what I can tell this is.

13      Q. Uh-huh.

14      A. This subject matter has to do with the clips,

15 with earlier clips that must have been attached for the

16 names of the clips. The attachment here, the way the

17 email system works is that you -- if you, like, reply to

18 an email, it will keep the same subject, but you can

19 reply with another attachment or an entirely other

20 conversation and it will still keep that subject if you
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 don't start a new email thread. So if 927
                                         you of
                                             just reply to
                                                1271

22 a subject of an email as a thread, even if your

23 attachments have nothing to do with the subject matter,

24 that's -- that's a possibility here.

25      Q. The subject will say re, R-E, with a colon

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1 after it, right, if it's a reply? Right?

2       A. Sometimes.

3       Q. Okay. So would it be your contention that,

4 look, despite there being the word crisis actor in the

5 scene, that's not, like, something InfoWars' employees

6 would joke about with each other, right?

7       A. No.

8       Q. That would be extremely inappropriate to make

9 jokes about Sandy Hook crisis actors, like, laugh it up

10 about that?

11               MR. REEVES: Objection; form.

12      Q. (By Mr. Bankston) That would be inappropriate,

13 right?

14      A. In what context?

15      Q. For your employees -- let's say -- you have

16 managerial responsibilities, right?

17      A. Yes.

18      Q. Let's say you found out that two of your

19 subordinate employees were trading emails back and forth

20 joking about sacrificing Sandy Hook crisis actors, would

21 you find that inappropriate?

22               MR. REEVES: Objection; form.
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23    Q. (By Mr. Bankston) Or are you okay with that?

24            MR. REEVES: Objection; form.

25      A. It's a hypothetical situation. It would have

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1 to be -- I would have to be there, look at the

2 conversation, look at the circumstances. I can't just,

3 like, give you a blanket statement.

4       Q. (By Mr. Bankston) Right. So if I was -- if I

5 was one of your subordinates and I came to you and I

6 said, hey, look, Ms. Karpova, I don't want to be a

7 tattletale, but I overheard some employees and they were

8 making jokes about sacrificing Sandy Hook crisis actors

9 and I think that's messed up and can you do something

10 about that, or would you say, I'm sorry, I don't have

11 enough information or would you do something?

12            MR. REEVES: Objection; form.

13      A. I would probably do something if that was

14 brought to my attention in this direct kind of way.

15      Q. (By Mr. Bankston) Okay. Would it make a

16 difference whether that person was related to

17 Alex Jones?

18      A. No.

19      Q. Okay. Can you go to paragraph 36 of Exhibit 1?

20 I'm sorry. Excuse me. I keep doing that. Can you go

21 to paragraph 36 of Exhibit 2?

22      A. (Witness complies.)

23      Q. Okay. You see here this talks about a March 4,
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24 2015 video entitled "New Bombshell Sandy
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25 Information Inbound"?

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1       A. Yes.

2       Q. What was the bombshell information?

3       A. The bombshell information was they knew

4 statement -- information Mr. Halbig had brought on that

5 show is what I can infer.

6       Q. Which is what? What's the bombshell?

7       A. I wouldn't know the details of it.

8       Q. So when you had this video to try to figure out

9 what was the sourcing and the research that went into

10 it, you don't even know what the bombshell information

11 was that is described in the title of the video,

12 correct?

13      A. Well, any new information would be bombshell.

14 So just because it says bombshell, there -- there might

15 have been a lot of information in that video which

16 there's no way I can remember what was in that video

17 exactly.

18      Q. Well, I mean, it's not a matter of you not

19 remembering. You never watched it, right?

20      A. Not recently.

21      Q. Right. And so -- and you didn't do anything to

22 try to get prepared on it for this deposition, right?

23             MR. REEVES: Objection; form.

24      A. No.

25      Q. (By Mr. Bankston) You haven't read any
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1 documents about this video.

2       A. No.

3       Q. And you haven't talked to any employees about

4 this video.

5       A. No.

6       Q. Have you tried to talk to Mr. Halbig about this

7 video?

8       A. No.

9       Q. Okay. Will you go to paragraph 38?

10      A. (Witness complies.)

11      Q. Do you see where it says a July 7, 2015 video

12 entitled "Government is Manufacturing Crises"?

13      A. Yes.

14      Q. Okay. Do you see where there's a quote there

15 that says if they did kill kids, they knew it was

16 coming, stocked the school with kids, killed them and

17 then had the media there and that probably didn't even

18 happen. Do you see that quote?

19      A. Yes.

20      Q. What does stocked the school with kids mean?

21 Do you know what that means?

22      A. Well, just judging on common sense here from

23 the sentence, that would probably mean the kids were in

24 the school. They were put in the school.

25      Q. By who? Do you know?

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1       A. Whoever was involved in the operation.

2       Q. What do you mean by operation? What is that?

3       A. Well, Mr. Jones is talking about Sandy Hook was

4 staged. So the staged operation would make sense. The

5 staged operation of Sandy Hook, that's what I mean.

6       Q. So the idea here is there was -- there was a

7 school and it was empty, it didn't have students going

8 to it, and then it was -- some nefarious actors arranged

9 for children to be put into the school for the purposes

10 of killing them? Am I understanding this correct?

11      A. From -- from what I can tell here, it is either

12 they were -- the kids were put in an empty school or the

13 school was filled with more kids than there normally are

14 in school.

15      Q. And you don't know which one, right?

16      A. No. Again, this looks like Alex Jones'

17 opinion, commentary.

18      Q. And you don't know what it was based on, right?

19      A. (No response.)

20      Q. Right.

21      A. Not in details. But most likely based on all

22 the information that he had acquired and reviewed at

23 that point. That was his honest opinion.

24      Q. Again, you're guessing, aren't you? There

25 could have been, before he made this statement, a very

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1 specific video he's referring to or a very specific
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2 piece of evidence. And you don't know that, do you?

3       A. The company doesn't have a record of that

4 because we don't keep such records.

5       Q. Wait a second.

6         The company has the video, doesn't it?

7       A. (No response.)

8       Q. Right?

9       A. Yes.

10      Q. So you could have watched the video and

11 determined if he was referring to something specific,

12 couldn't you?

13      A. Well, you -- this quote from Alex to me sounds

14 like an opinion.

15      Q. But again, that's your guess, right?

16      A. Yes.

17      Q. Okay. If there was an employee who had

18 researched some material who had brought it to Mr. Jones

19 for this video, you wouldn't know that, would you? You

20 would have no ability to tell me that.

21      A. Based on my educated guess, this wouldn't be

22 the case in a statement like this.

23      Q. Again, you're just guessing, right. There is

24 no -- it is possible, right, that -- that somebody could

25 have brought Alex Jones some material that caused him to

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1 say this thing, right? That's possible.

2       A. Very unlikely in this particular video.
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3     Q. Right.                     933 of 1271

4          But I'm -- I'm asking you to testify what you

5 know is true. And you don't know, do you?

6       A. I'm testifying to what is -- I -- I think I

7 know to the best of my ability in good faith.

8       Q. Well, right. I know you're guessing because

9 you want to give me an answer, and I appreciate you

10 trying to give me an answer. But I want to make clear

11 that you had information you could have looked at and

12 you did not look at, correct? Some of the -- some of

13 the gaps -- in other words, the video, you could have

14 looked at the video and you did not, right?

15      A. There were a lot of videos, and there's no way

16 I could remember all these details --

17      Q. And -- okay. Let's --

18      A. -- about the videos.

19      Q. Let's put it this way. When the company knew

20 that it had to produce testimony about these videos in

21 the plaintiffs' petition, the company did not feel it

22 was worthwhile to have employees review, watch, catalog

23 and figure out what was said and make that available to

24 you, correct?

25      A. The company believes that I have sufficient

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1 knowledge to testify regarding these matters.

2       Q. Okay.

3             MR. REEVES: Let's go ahead and take a

4 break.
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5           MR. BANKSTON: Okay.

6              THE VIDEOGRAPHER: The time is 1:38 p.m.

7 We are off.

8              (Recess from 1:38 p.m. to 2:56 p.m.)

9              THE VIDEOGRAPHER: The time is 2:56 p.m.

10 We are on.

11      Q. (By Mr. Bankston) Alright. Can you pull out

12 Exhibit 2 for me again. And let's go to paragraph 39.

13      A. (Witness complies.)

14      Q. Do you see this is talking about a July 7, 2015

15 video entitled "Retired FBI Agent Investigates

16 Sandy Hook Mega Massive Coverup"?

17      A. Yes.

18      Q. Okay. That retired FBI agent, that's Rob Dew's

19 uncle?

20      A. Yes.

21      Q. Do you see in this claim where it says the

22 ambulances came an hour and a half later, that that was

23 claimed in the video? Do you see where it says that?

24 It's the second sentence. Do you see that sentence?

25      A. Yes.

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1       Q. Okay. What was your source on that?

2       A. Previous discussions with Halbig and with

3 Pieczenik.

4       Q. Are you guessing on that, or do you know that

5 for a fact?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     A. I don't know for a fact.   935 of 1271

7       Q. Right.

8         You were guessing, because that actually came

9 from Mr. Fetzer. That's in his book, "Nobody Died at

10 Sandy Hook." So can I just admonish you one more time?

11 Can we please not guess during this deposition? It's

12 okay to say I don't know.

13      A. Okay.

14      Q. You can say the company knows, here's the

15 answer, the company doesn't know or I don't know if the

16 company doesn't know or doesn't know. But your guesses

17 are not what we need today. Okay?

18      A. Yes.

19      Q. Okay. Do you see where it says DHS an hour and

20 a half later with a time stamp put up signs saying sign

21 in here?

22      A. Yes.

23      Q. Do you know where that came from?

24      A. No.

25      Q. Okay. They had a statement that said they had

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1 Porta Potties being delivered within an hour and a half.

2 Do you see where it says that? It's also in that first

3 paragraph.

4       A. Yes.

5       Q. Do you know where that came from?

6       A. No.

7       Q. In the third paragraph, the first sentence, do
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8 you see where it says we have the emails from the city

9 council back and forth and the school talking about it

10 being shut down a year before? Do you see that?

11      A. Yes.

12      Q. Do you know if those emails actually exist?

13 Let me rephrase that.

14         Do you know if the company -- does that company

15 know if those emails actually exist?

16      A. No, it doesn't.

17      Q. Do you know what the company source for saying

18 that was?

19      A. No.

20      Q. Okay. Can you move on to paragraph 44 for me?

21 Do you see it talks about a November 26th video,

22 November '18, the 26th, entitled "Final Statement on

23 Sandy Hook," right?

24      A. Yes.

25      Q. Do you know the claims that were made during

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1 that video?

2       A. I'm familiar with the video.

3       Q. Okay. In that video -- do you know about the

4 claim made in that video, that the Sandy Hook Elementary

5 School website had no internet traffic for 3 to 4 years

6 before the incident?

7       A. Yes.

8       Q. Okay. Do you know where that came from?
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9     A. Yes.                       937 of 1271

10      Q. Where did that come from?

11      A. The Wayback Machine archive for the website for

12 the school.

13      Q. Okay. And where did Mr. Jones get that?

14      A. The Wayback Machine.

15      Q. Do you know if he got that from Mr. Fetzer?

16      A. I don't know.

17      Q. Do you know if that's in Mr. Fetzer's book?

18      A. No.

19      Q. Okay. Can you go to paragraph 54 for me?

20      A. (Witness complies.)

21      Q. Do you see there it's talking about an

22 April 22, 2017 video called "Sandy Hook Vampires

23 Exposed"?

24      A. Yes.

25      Q. Do you understand that that is the video that

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          123



1 Mr. Pozner and Ms. De La Rosa based their defamation

2 claim on? Did you know that?

3       A. Okay.

4       Q. Did you know that? When preparing for this

5 depo did you know that?

6       A. Yes.

7       Q. Okay. Did you watch that video? I mean,

8 unless you've watched it in the last couple of hours,

9 you haven't watched it, right, for this deposition?

10      A. I'm familiar with the video.
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11    Q. Did you watch it in preparing for this

12 deposition, though?

13      A. Yes, I believe so.

14      Q. Okay. When did you watch it?

15      A. Earlier today.

16      Q. Earlier today when?

17      A. During the break.

18      Q. Oh. So during the break when it became

19 apparent that you hadn't watched these videos, you went

20 and tried to watch this video?

21      A. Yes.

22      Q. You didn't watch the whole thing, though, did

23 you?

24      A. No.

25      Q. Because it's a 45-minute video, right?

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1       A. It's a lengthy video.

2       Q. Yeah.

3         So you didn't watch this video.

4             MR. REEVES: Objection; form.

5       Q. (By Mr. Bankston) You watched pieces of this

6 video, correct?

7       A. Correct.

8       Q. How many pieces did you watch? How

9 many minutes total did you watch of this video?

10      A. I did not count.

11      Q. So you have no idea, sitting here today, how
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 long ago it was, when it was just a couple
                                        939 ofof1271
                                                 minutes

13 ago?

14      A. I did not count the amount of minutes I

15 watched.

16      Q. Okay. Was it more than 5 minutes?

17      A. I'm not sure.

18      Q. Okay. So you just watched the video within the

19 last 20 minutes; and you're not sure if you watched more

20 than 5 minutes of it, correct?

21            MR. REEVES: Objection; form.

22      Q. (By Mr. Bankston) Is that correct?

23      A. I didn't time the amount of minutes I watched.

24      Q. So that is -- I'm not asking you the exact time

25 or if you timed it. I'm saying do you know if you

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1 watched more or less than 5 minutes.

2       A. I believe more.

3       Q. Okay. Do you think you watched more than

4 10 minutes?

5       A. I'm not sure.

6       Q. Okay. You understand that that video -- did

7 you watch the part in that video where they talked about

8 the police finding people in the back woods dressed up

9 in SWAT gear?

10      A. I recall seeing that.

11      Q. 20 -- just a few minutes ago?

12      A. Yes.

13      Q. Okay. And do you know where the company got
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 that claim?

15      A. As far as the company's under -- understanding,

16 it's based on the previous videos that were watched by

17 Alex and statements that were made by Halbig.

18      Q. So that's talking about -- you're talking about

19 the prior videos we've been talking about today in this

20 petition?

21      A. Correct.

22      Q. The ones you don't know the sources for,

23 correct?

24      A. Correct.

25      Q. Okay. You understand that in that video

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1 Mr. Jones claims the school had been closed for years?

2 Did you watch that part?

3       A. Yes.

4       Q. Okay. Where did he get that information?

5       A. Mr. Halbig.

6       Q. Okay. Can you go to paragraph 55 for me?

7       A. (Witness complies.)

8       Q. Do you see it talks about a June 13, 2017 video

9 entitled "Media Refuses to Report Alex Jones' Real

10 Statements on Sandy Hook"?

11      A. Yes.

12      Q. Is that another one you were just shown during

13 the break?

14      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    Q. Okay. Is it fair to say that what
                                        941happened
                                            of 1271 is

16 that every video past this in the petition, that you

17 went and tried to watch a little piece of it before you

18 came back into this room?

19            MR. REEVES: Objection; form.

20      A. This video I watched in its entirety.

21      Q. (By Mr. Bankston) Okay. So when did you watch

22 that?

23      A. During the break.

24      Q. Okay. Do you remember how long that video is?

25      A. Around 20 minutes or so.

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1       Q. Okay. So you have a copy of it here in the

2 building.

3       A. Yes.

4       Q. Correct? Okay.

5             (Discussion off the record)

6             (Exhibit 7 introduced)

7       Q. (By Mr. Bankston) Alright. Ms. Karpova, I'm

8 showing you what I've marked as Exhibit 7. You

9 recognize that now I would assume?

10      A. Yes.

11      Q. Okay. What is this? What are you looking at

12 right now?

13      A. This is an excerpt from a Zero Hedge article.

14      Q. No. Like, where does this come from, this

15 picture? Where does it come from?

16      A. This is a still from the show.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    Q. Do you know what show?

18      A. Not specifically. It doesn't have the date

19 year.

20      Q. Okay. It's the one you just apparently watched

21 a couple of minutes ago. You don't remember seeing

22 this?

23      A. Not this part specifically.

24      Q. Okay. So you maybe didn't even watch this part

25 of the video.

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1       A. I watched the video.

2       Q. Okay.

3       A. I don't remember this specific --

4       Q. Okay. A large portion of that video is

5 Mr. Jones going over these questions. Do you remember

6 that from the video you just watched?

7       A. Yes.

8       Q. Okay. Alright. So you do remember Mr. Jones

9 talking about these questions.

10      A. Yes.

11      Q. Alright. I want to ask you about a couple of

12 them.

13         When it says why does the Sandy Hook Elementary

14 School website have zero traffic for 4 years, that's not

15 true, correct? The company admits that's not true.

16            MR. REEVES: Objection; form.

17      Q. (By Mr. Bankston) Correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    A. This is a statement -- this is a 943
                                          question that
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19 Alex had at the time.

20      Q. Right.

21         And he's making a statement, isn't it? Isn't

22 he. Alright. He's saying that the school had no

23 website traffic for 4 years.

24      A. Correct.

25      Q. Right.

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1         That's not true, correct? The company admits

2 that's not true.

3             MR. REEVES: Objection; form.

4       A. It was true according to the source that he

5 had.

6       Q. (By Mr. Bankston) What do you mean it was true

7 according to the source that he had? What does that

8 mean?

9       A. He was referring to the Wayback Machine of the

10 traffic recording from the website.

11      Q. And that's not true, correct?

12      A. What's not true?

13      Q. The website -- the school website did not have

14 zero traffic for 4 years, that's not true. The company

15 admits that's not true, correct?

16      A. Again, the -- Alex Jones is asking the question

17 based on the source he was showing in the video of the

18 Wayback Machine that lists the traffic being zero for

19 4 years.
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20    Q. Okay. First of all, his source -- then let's

21 just go at it this way. His source was wrong, correct?

22 The company admits that. Mr. Halbig is wrong about

23 that.

24            MR. REEVES: Objection; form.

25      Q. (By Mr. Bankston) Correct?

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1             MR. BANKSTON: Brad, I might --

2       A. The company admits that Alex Jones believed

3 that there was zero traffic for 4 years, which was a

4 source at the time.

5       Q. (By Mr. Bankston) You understand that's not my

6 question, right? I just want to make sure. Do you

7 understand the question?

8       A. Repeat the question again, please.

9       Q. Sure.

10         Mr. Jones' source, Mr. Halbig, was wrong about

11 there being zero traffic for 4 years to the school

12 website, correct?

13            MR. REEVES: Objection; form.

14      A. Yes.

15      Q. (By Mr. Bankston) Do you see down in the

16 second to the last bullet point it says why didn't they

17 let paramedics and EMTs into the building after

18 27 children were declared dead in 8 minutes? Do you see

19 that?

20      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Literally nothing about that statement is true,
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22 correct?

23            MR. REEVES: Objection; form.

24      A. That was Alex's understanding at the time based

25 on the claim made by Halbig.

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1       Q. (By Mr. Bankston) Okay. And you're positive,

2 you're testifying under oath that Mr. Halbig made this

3 claim and not somebody else? You know that for a fact?

4       A. Yes.

5       Q. Okay. Mr. Fetzer didn't say that? That's not

6 a Mr. Fetzer claim?

7       A. Mr. Fetzer could have said that, but there was

8 also statements made by Halbig.

9       Q. Okay. It's true -- the company admits it's

10 true that Mr. Jones under -- you've heard it's

11 Mr. Jones' understanding of what his source said. You

12 now admit -- the company now admits it's not true,

13 correct? Paramedics were in that building, right?

14      A. Correct.

15      Q. Okay. It's also true that 27 children didn't

16 die, correct?

17      A. Correct.

18      Q. Okay. And they weren't declared dead in

19 8 minutes, were they? That's not correct. The company

20 admits that?

21      A. Correct.

22      Q. Okay.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23          (Discussion off the record)

24      Q. (By Mr. Bankston) Can you go to paragraph 61

25 for me?

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1       A. Let me add to the previous statement.

2         These questions here are questions, they're not

3 statements.

4       Q. Alright. So let me ask you this, Ms. Karpova.

5       A. Right.

6       Q. If I say you beat your newborn baby, why --

7 that's a statement, right? And that would be, like, a

8 false statement, right?

9       A. Right.

10      Q. If I say to you, Ms. Karpova, why do you beat

11 your newborn baby, have I made a statement?

12      A. Well, you're asking -- well, I mean, it could

13 be -- in this case, yes.

14      Q. Right.

15         So when Mr. Jones asks why were no paramedics

16 allowed in the building, he's saying no paramedics were

17 allowed in the building, correct?

18      A. Correct. And he's basing that on reports that

19 he's read and seen.

20      Q. Right, that are wrong. The company now admits

21 are wrong, right?

22      A. Correct.

23      Q. Okay. You can go to paragraph 61 for me now.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    A. (Witness complies.)        947 of 1271

25      Q. This talks about an October 26, 2017 video

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1 called "JFK Assassination Documents to Drop Tonight."

2 Is that another one that you just looked at at the

3 break?

4       A. Yes.

5       Q. Okay. How much of that one did you watch?

6       A. That's a long video. I watched parts of it.

7       Q. You understand that that doesn't help me,

8 right? That that's not helping me understand what

9 you've watched. You understand that?

10      A. I understand that.

11      Q. Okay. So when I'm asking you the question,

12 this is a -- it's an hour long video, isn't it? It

13 might be a full 4-hour episode. Do you know?

14      A. I don't know the exact timestamp on that, but I

15 know it's a long video.

16      Q. How did you decide what part of it to watch?

17      A. I skimmed through it.

18      Q. So you just randomly picked some places to

19 watch?

20      A. No, not randomly.

21      Q. How would you know to -- what parts to got to?

22 How would they not be random? Do you have a document

23 that tells you what's in the video?

24      A. I just know based on the time segments where --

25 where to go in the play head.
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1       Q. Okay. Alright.

2         Do you see the part about the CIA visiting

3 Lanza for recruiting? Not on the petition. In the

4 video you watched.

5       A. No.

6       Q. It's in the petition. I'm asking if you saw it

7 in the video.

8       A. Yes.

9       Q. You did see that part?

10      A. Yes.

11      Q. What was the company source for that?

12      A. Again, that was based on previously sourced

13 information Alex -- from his guests, as well as other

14 reports.

15      Q. Ms. Karpova, no, it was not. And I -- please,

16 can you stop guessing? Because I need you to understand

17 if you watched that video, you understand that this

18 video was done because a new set of documents was

19 declassified by the FBI on that date and Lee Ann McAdoo

20 did a report on InfoWars talking about those documents.

21 It didn't come from Mr. Halbig. The testimony you gave

22 is just not correct, is it?

23               MR. REEVES: Objection; form. She didn't

24 say anything about Mr. Halbig.

25      Q. (By Mr. Bankston) Alright. Let me adjust to

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1 your objection.

2         This didn't come from prior videos, did it,

3 Ms. Karpova? Or do you know?

4       A. The company believe it did come from previously

5 sourced material.

6       Q. Okay. So when I talk about Lee Ann McAdoo

7 doing this report on the documents that were

8 declassified on that day, on October 26, 2017, do you

9 have any idea what I'm talking about? Is that new

10 information to you, or do you know what I'm talking

11 about?

12      A. I -- I have some information about it.

13      Q. And you understand that from Ms. McAdoo's

14 article, the allegation was made that the CIA tried to

15 recruit Lanza. Did you know that?

16      A. I cannot tell for sure.

17      Q. You cannot tell for sure if you knew, is that

18 what you're telling me? I mean, you either knew or you

19 didn't, right, Ms. Karpova? This thing I just told you

20 about Lee Ann McAdoo, did you know it before I told it

21 to you?

22      A. The specific part about inferring

23 the -- that -- those documents that were dropped that

24 she was talking about, I do not recall the specific part

25 about that CIA visits Adam Lanza and recruited him based

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1 on those documents.
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2     Q. How long -- okay. So you were watching this

3 video, right, in the break?

4       A. Uh-huh.

5       Q. How long was Mr. Jones talking about Sandy Hook

6 in that video? How much total footage do you think you

7 watched about Sandy Hook in that video?

8       A. I'm not sure.

9       Q. Would you say it's less than 2 minutes?

10      A. No.

11      Q. You think that Mr. Jones talked about

12 Sandy Hook for more than 2 minutes in that video.

13      A. I'm not sure exactly how long.

14      Q. Okay. Do you understand it was -- I'm just

15 going to represent to you it was an extremely brief

16 conversation mentioning Ms. McAdoo's article. And do

17 you remember Mr. Jones saying, well, you know sometimes

18 I don't even see what's out there on infowars.com, I

19 didn't check and somebody had to tell me about this

20 article and it was a total surprise to me. Do you

21 remember him saying that?

22      A. Yes.

23      Q. Okay. So we can agree that the source for this

24 video is the article that he's talking about that he

25 just looked at, correct?

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1       A. I'm sure that article was a source for him

2 given some of the statements that he made.
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3     Q. Well, I'm asking you about the951
                                        statement
                                            of 1271that

4 the CIA recruited Lanza which you said came from prior

5 videos. But that's not true, because that piece of

6 information was in that released report that day,

7 correct? Or do you know?

8       A. I do not know.

9       Q. Okay.

10            (Discussion off the record)

11            (Exhibit 8 introduced)

12      Q. (By Mr. Bankston) I hand you what I've marked

13 as Exhibit 8. You're going to see that this is a

14 document marked FSSTX-075755.

15      A. Yes.

16      Q. This is a November 26, 2013 email. Do you see

17 that?

18      A. Yes.

19      Q. Do you know who changeshorses@aol.com is?

20      A. I do not.

21      Q. Okay. Robd is Rob Dew, right?

22      A. Yes.

23      Q. Kurt, who's that?

24      A. Kurt Nimmo.

25      Q. Okay. And what's his position at this time?

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1       A. He was a writer.

2       Q. Okay. Do you see where it has a link here?

3 The subject says check out Sandy Hook final report?

4       A. Yes.
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5     Q. And then there's an underlined hyperlink that

6 says "Sandy Hook Final Report" in the body of the email?

7       A. Yes.

8       Q. So the company will admit that it has been

9 provided information of the final report as early as

10 2013, correct?

11      A. Yes. So the -- the final report provided

12 from -- from the State of Connecticut, correct.

13      Q. From the Connecticut State Police, correct? Do

14 you know that that's who issued it?

15      A. Yes.

16      Q. Okay.

17             (Discussion off the record)

18             (Exhibit 9 introduced)

19      Q. (By Mr. Bankston) I'm putting this email in

20 front of you now that I've marked as Exhibit 9. Do you

21 see that?

22      A. Yes.

23      Q. Okay. It is marked FFSTX-075999. Is that

24 correct?

25      A. Yes.

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          139



1       Q. Okay. And from what you can see here, this is

2 another communication with Rob, Kurt and this

3 changeshorses@aol.com person, correct?

4       A. Yes.

5       Q. Okay. And -- and here what is being provided,
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6 what Rob is attempting to get is a copy
                                       953ofof
                                             the
                                               1271

7 Sandy Hook 911 tapes, correct?

8       A. May I have a second?

9       Q. Yeah, go ahead and read the email.

10      A. Okay.

11      Q. Okay. So this is an email in which Rob Dew is

12 attempting to get the 911 tapes?

13      A. Yes.

14      Q. Okay. And that was on December 5, 2013?

15      A. December 4th you mean, it says here?

16      Q. Okay. I think there's another, like -- let's

17 see.

18            (Discussion off the record)

19      Q. (By Mr. Bankston) Yeah, the email from the

20 changeshorses person is from the 4th and then the email

21 from Mr. Dew is from the 5th, correct?

22      A. Correct.

23            (Exhibit 10 introduced)

24      Q. (By Mr. Bankston) Okay. Ms. Karpova, I've

25 given you an email which I've marked as Exhibit 10

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1 labeled at the bottom FSSTX-012708. Is that correct?

2       A. Correct.

3       Q. You'll be looking here -- before we get into

4 this email real quick, you would agree with me that the

5 InfoWars website occasionally requires moderation. Do

6 you understand what I mean by that?

7       A. Yes.
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8     Q. Okay. Occasionally in the company's editorial

9 discussions about Sandy Hook, the company would have to

10 decide whether certain material was appropriate to leave

11 on the InfoWars website or take it off the website,

12 correct?

13              MR. REEVES: Objection; form.

14      A. The website gets moderated for spam as far as I

15 know in the comments.

16      Q. (By Mr. Bankston) Okay. Well, let's take a

17 look at this email because it's not about spam. Okay?

18         This email -- the original message is from Matt

19 at InfoWars. Who is Matt W?

20      A. Matt Weber (phonetic).

21      Q. Okay. What was his job title in 2014?

22      A. Assistant producer.

23      Q. What about Louis S, who's that and what's his

24 job title?

25      A. Writer.

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1       Q. Okay. So Matt writes to Louis and says: Hello

2 Louis. Can you do me a favor? Just got a phone call

3 from my friend Johnny Walker. Some people are posting

4 some bullshit about how he was involved in the

5 Sandy Hook shooting last year, including some personal

6 stuff about John. They did the thing about a year ago.

7 Apparently there are more than one Johnny Walker in the

8 world. Last time it involved going through his Facebook
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 page and pointing out friends with Jewish names
                                       955 of 1271 and

10 things like that. John is a character who was not even

11 in the Sandy Hook time zone. If you see it, could you

12 take care of it for him? Thanks, Matt W.

13         That's what the email says?

14      A. Yes.

15      Q. Okay. The reply from Louis says: The site has

16 been acting weird and not letting me search. If you can

17 give me an article or user name involved, let me know.

18 Otherwise if I see it, I will get on it, with a winky

19 smiley face, correct?

20      A. Yes.

21      Q. This email was sent on May 15th -- the two

22 emails are May 14th to May 15th of 2014, correct?

23      A. Yes.

24      Q. Okay. So the company can admit that a friend

25 of an InfoWars employee named Mr. Walker got tied to a

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1 Sandy Hook allegation according to Matt, correct?

2       A. Correct.

3       Q. Okay. And so Matt and Louis were okay with

4 deleting the stuff about Mr. Walker, correct?

5       A. As a comment being posted that misidentifies a

6 person, yes.

7       Q. Right.

8         But since my clients weren't friends with

9 anybody at InfoWars, they couldn't get similar comments

10 removed from the InfoWars forums, could they?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11          MR. REEVES: Objection; form.

12      A. What you're referring to is a public case.

13 This is a private person who gets misassociated with the

14 event. Sandy Hook was a public story.

15      Q. (By Mr. Bankston) So you think all the parents

16 are fair game?

17             MR. REEVES: Objection; form.

18      A. People asking questions, having discussions,

19 that's what's called free speech in a public case.

20      Q. (By Mr. Bankston) You think telling lies about

21 people and saying they're a crisis actor and their kid

22 didn't exist, is that free speech?

23             MR. REEVES: Objection; form.

24      Q. (By Mr. Bankston) If it's false, is that free

25 speech in InfoWars eyes'?

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1       A. If it's something that is knowingly false, we

2 don't -- we don't allow that. We do, to the best of our

3 ability, allow truthful comments only.

4       Q. (By Mr. Bankston) Mr. Pozner asked y'all to

5 stop posting these kind of comments, didn't he?

6             MR. REEVES: Objection; form.

7       A. Say that again, please.

8       Q. (By Mr. Bankston) Mr. Pozner asked InfoWars to

9 stop posting comments like this on its website about

10 him, right?

11      A. Are you referring to a specific document
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 Mr. Pozner --                    957 of 1271

13      Q. I've got a few in mind, but I was wondering

14 what you knew about if the InfoWars -- one of your --

15 one of your topics is the knowledge of the plaintiffs,

16 right?

17      A. Correct. But you've asked me to comment on a

18 specific post regarding Mr. Pozner that he asked to be

19 removed?

20      Q. No. I'm asking you in general. Like, not for

21 anything specific.

22          Do you know sitting here today if Mr. Pozner

23 has asked the company to remove content about him from

24 the InfoWars' website?

25      A. Yes. And as far as I know, that's been done.

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1       Q. Wait. When -- when Mr. Pozner complained, you

2 think InfoWars did something about it?

3       A. Well, are you referring -- which date are you

4 referring to?

5       Q. I'm asking any time.

6           What are you referring to?

7       A. I don't have a record -- I don't have a record

8 of that information.

9       Q. Well, what were you referring to when you said,

10 yes, we did take care of it? What are you talking

11 about?

12      A. I was referring to the previous comment that I

13 made regarding Alex Jones requesting that the on air
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 personalities not make comments regarding Sandy Hook.

15      Q. Okay. So from your point of view is what

16 you're telling me is that at some point Mr. Jones put a

17 ban on Sandy Hook materials on air and you believe that

18 was in response to Mr. Pozner asking him to do that?

19      A. In part.

20      Q. Okay. Why do you think that -- what -- what

21 information do you have that made you think that, or are

22 you speculating right now?

23      A. It was the company's understanding -- it was

24 the company's understanding that there were questions

25 and controversies involved in the case and Mr. Pozner

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1 was unhappy with the coverage. Alex Jones made the

2 decision to not continue with the coverage.

3       Q. So his YouTube channel wouldn't get deleted,

4 right? That's why he did it, right?

5             MR. REEVES: Objection; form.

6       A. No. We had no idea that the channel would be

7 deleted. That came as a surprise.

8       Q. (By Mr. Bankston) You -- you know Mr. Jones

9 did a video in February 15, 2015 about Mr. Pozner. You

10 know that, right?

11      A. I don't have the video in front of me.

12      Q. But, I mean, you know that happened. You know

13 Mr. Jones went on air, complained about the honor

14 network and the complaints that they made to YouTube,
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 said that they were an anti-free speech
                                        959system -- an
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16 anti-free speech organization --

17      A. Correct.

18      Q. -- put Mr. Pozner's address on the air with a

19 map. You know that happened, right?

20      A. I don't recall that specific part.

21      Q. You don't know that part of this lawsuit?

22      A. You're asking me about the video.

23      Q. That's what I'm asking you.

24         You understand InfoWars took Mr. Pozner's

25 address and put it on air to its viewers. You know

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1 that, right?

2             MR. REEVES: Objection; form.

3       Q. (By Mr. Bankston) Or do you not know that?

4       A. I do not have the record of it right now.

5       Q. Okay.

6             (Discussion off the record)

7       Q. (By Mr. Bankston) You know who Dan Bidondi is,

8 right?

9       A. Yes.

10      Q. Okay. He was a reporter working for InfoWars

11 who was sent to Connecticut multiple times, right?

12      A. In some capacity.

13      Q. What capacity? What do you mean? What does

14 that mean?

15      A. A reporter.

16      Q. He went there as a reporter, right?
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17       There's no reason to qualify that. InfoWars

18 sent him there as a reporter to cover Sandy Hook, right?

19      A. I don't have a record right now as of S2 how

20 much of his work was done on his own volition as opposed

21 to InfoWars giving him the directions to do that. I

22 think it was a combination of that.

23      Q. Weren't you personally involved, right after

24 getting sued, of trying to get all the documents

25 together about Mr. Bidondi, when his invoices were, when

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1 he was fired? Wasn't that you?

2       A. No.

3       Q. Okay. If somebody was to represent that was

4 you, they would not be -- be inaccurate?

5       A. I'm sorry?

6       Q. If someone was to represent that you were the

7 person who went and got all Halbig's -- excuse me.

8         If someone was to represent that you were the

9 person who went and gathered up all of Mr. Bidondi's

10 invoices, tried to figure out why he got fired after

11 being sued in 2018, if somebody was to say you were the

12 person who did that, they wouldn't be accurate, they'd

13 be mistaken.

14               MR. REEVES: Objection; form.

15      A. Yes.

16      Q. (By Mr. Bankston) In editorial discussions

17 about Sandy Hook, how did InfoWars feel about
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 Dan Bidondi's reporting in Newtown? 961 of 1271

19      A. The company doesn't have records of that.

20      Q. So you didn't go pull any documents. I

21 understand that. Right?

22         So is your answer for me I can't tell you, I

23 don't know, I don't know how the company felt about it?

24 Is that your answer?

25      A. Yes.

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1       Q. Okay. There were people who were working with

2 Dan Bidondi at that time, correct?

3       A. (No response.)

4       Q. I mean -- let's make this easy. There were

5 people inside of InfoWars who communicated with Dan

6 Bidondi about his assignments, right?

7       A. Yes.

8       Q. Okay. They knew what he was doing in

9 Sandy Hook, right?

10      A. To some degree, yes.

11      Q. Okay. There were people who watched his

12 reports.

13      A. Yes.

14      Q. Somebody watched it before you put it on the

15 air, right?

16      A. Yes.

17      Q. Okay. So there are people currently employed

18 by InfoWars who probably have a pretty good

19 understanding of how the company in its editorial
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20 discussions felt about Dan Bidondi's reporting. You'd

21 agree with me about that?

22            MR. REEVES: Objection; form.

23      A. I would have to see specific conversations, if

24 there's a record of conversations.

25      Q. (By Mr. Bankston) Well, look. You know that

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1 Rob Dew was in touch with Dan Bidondi and sent him down

2 to Connecticut. You know that, right?

3       A. I know Rob Dew has had conversations with Mr.

4 Bidondi.

5       Q. And he didn't give you any information about

6 Mr. Bidondi before this deposition, did he?

7       A. He did not.

8       Q. Okay. You know Mr. Jones has seen Dan

9 Bidondi's videos from -- from his reporting, right? He

10 aired them during the episodes he was hosting, right?

11      A. Yes.

12      Q. Okay. Mr. Jones might have some feelings about

13 what Mr. Bidondi did, right?

14      A. He might.

15      Q. Yeah.

16         But I -- you aren't going to be able to tell me

17 any of those, are you?

18      A. I wasn't asked to provide that information.

19      Q. Okay. Mr. Bidondi is a person who has

20 definitely come up in editorial discussions about
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 Sandy Hook, correct?             963 of 1271

22            MR. REEVES: Objection; form.

23      A. Define editorial discussions. They're -- as

24 far as we -- our understanding from the previous

25 definition of that word, of that concept, no.

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1       Q. (By Mr. Bankston) Well, I'm -- I'm assuming

2 that you know what editorial discussions mean. Because

3 nobody asked me if -- that they thought they didn't

4 understand what that meant.

5         And are you telling me right now you're not

6 sure what editorial discussions means?

7       A. No. We've already gone through this, and I

8 answered you what an editorial discussion was.

9       Q. Right.

10         And So we know that when editors and producers

11 were talking about Sandy Hook, they were making

12 decisions about things like whether to send Dan Bidondi

13 there, right? That's a decision they made, correct?

14      A. It -- a decision could have been made by one

15 person upon which that was the sole responsibility to

16 make that decision.

17      Q. We don't know, do we? We have no idea in that

18 editorial discussion about Dan Bidondi and his coverage.

19 We don't know, do we?

20      A. That's why I'm talking -- I'm telling you

21 there's no record of it. If it was a specific person,

22 like you mentioned Rob Dew, that sent him there or there
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23 was a combination of people, I -- the company has no

24 record of that.

25      Q. It has employees who know it, though, doesn't

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1 it?

2       A. Know what?

3       Q. Employees who personally dealt with Dan

4 Bidondi. You're not one of those people, though, right?

5       A. No.

6       Q. Okay. But there are people who personally

7 dealt with Dan Bidondi.

8       A. Yes.

9       Q. You didn't talk to them about their editorial

10 discussions about his reporting, did you?

11      A. No.

12      Q. Okay.

13               (Discussion off the record)

14               (Exhibit 11 introduced)

15      Q. (By Mr. Bankston) I'm going to show you what

16 I've marked as Exhibit 11. You'll see that this is also

17 a document that was produced without a number at the

18 bottom of the page. Do you see that?

19      A. Yes.

20      Q. Okay. But what we're looking at here, this

21 appears from the format and even the names involved and

22 everything about it, this appears to be a document that

23 existed in InfoWar's email system that was produced to
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 us in this lawsuit, correct?     965 of 1271

25      A. Yes.

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1       Q. So what you'll see in the bottom email -- and I

2 want to give you a chance to read it really quick. But

3 this -- when he says hey, Rob, this is Dan Bidondi

4 talking. Hey, Rob, can I do an MOS tomorrow?

5         Before we go into anything else. And MOS, is

6 that man on the street?

7       A. Yes.

8       Q. Okay. And that's a sort of interview where he

9 might just go up and try and talk to random people?

10      A. Yes.

11      Q. Okay. So I want you to just -- because I think

12 you may want to -- just go ahead and read that email

13 real quick. It's not real relevant to what we're going

14 to be talking about. But if you can take a chance to

15 look at it.

16      A. Okay.

17      Q. Okay. So -- and then what we see basically

18 here is some proposed questions that he wants to ask

19 random people on the street, right?

20      A. Yes.

21      Q. And in the follow-up email from Rob Dew, he

22 doesn't want Dan to do that, right?

23      A. Correct.

24      Q. Right.

25         It's going to be old by the time they can air
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1 it, correct?

2       A. Yes.

3       Q. Okay. So he says go to Sandy Hook, we will

4 cover that, correct?

5       A. Yes.

6       Q. Okay. So it was an intentional choice by

7 Mr. Dew to want to get Dan Bidondi to go to Sandy Hook,

8 correct?

9       A. Yes. I guess it was in the news. And the

10 nature of -- on the -- of the beast so to speak on the

11 news, the 24-hour news cycle expires really fast.

12      Q. How was -- excuse me. I'm sorry.

13         How was Sandy Hook in the news on 7/7/2015?

14 What had happened that put it in the news?

15      A. I don't have -- I don't have the record of that

16 right now.

17      Q. Right.

18         So you don't know that it had anything to

19 do --

20      A. Sandy Hook has been in the news despite the

21 fact that Alex has not mentioned it in years. And it

22 keeps being put in the news as if Alex was the one who

23 was the purveyor of the Sandy Hook news, the Sandy Hook

24 and him talking about the parents, yet it's the

25 mainstream media who keeps mentioning the parents and

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1 tormenting the parents with the entire situation.

2       Q. When you say "purveyor" -- when you say go to

3 Sandy Hook, we will cover that, InfoWars is being the

4 purveyor through almost -- almost 3 years after

5 Sandy Hook is being the purveyor of Sandy Hook coverage,

6 correct?

7       A. No.

8       Q. What -- what is that then? Is he saying that

9 we're going to cover it and not air it? He intends to

10 put whatever Dan Bidondi does on the air, correct?

11      A. It depends if the report is good or not.

12      Q. And then again, in answering this question,

13 you've speculated out of thin air that there was

14 something going on around January 7, 2015 that put this

15 in the news, that made it timely. But that was pure

16 speculation. You have no idea what that might be,

17 correct?

18      A. That's the nature of our news. That's how we

19 do news. If there's something in the news, then we'll

20 cover it.

21      Q. Yeah. Y'all were going to make news. Do you

22 understand that? You were sending Dan Bidondi there to

23 Wolfgang Halbig. Do you know what they did there?

24      A. No.

25               (Discussion off the record)

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1              (Exhibit 12 introduced)
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2     Q. (By Mr. Bankston) Let me show you what I've

3 marked as Exhibit 12. This is an email you received,

4 correct?

5       A. Yes.

6       Q. Okay. I'm going to go through the email with

7 you really quick.

8          Now, you'll notice at the bottom here we have a

9 Bates number. It says Heslin 19-4651-000661, correct?

10      A. Yes.

11      Q. Now, one of the problems you're going to see in

12 this document is that unfortunately the way your former

13 attorneys decided to produce it it cuts off. You notice

14 how that line cuts off there at the end? We can't read

15 what that long line says, right?

16      A. Right.

17      Q. Okay. I'm going to try to do my best, though,

18 okay?

19         And what we have here is that we

20 have -- alright. What we have here is from

21 truthradio9990@hotmail.com [sic]. And this was

22 something sent to Rob Dew at InfoWars, right?

23      A. Right.

24      Q. Okay. So we have this email here from Dan

25 Bidondi stating someone you may want to get in that

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1 documentary on Sandy Hook, and it says forward, Dan.

2 Alex announced that he is going to do a Sandy Hook doc
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 film. Sheila Matthews, who you met at
                                     969Hartford
                                          of 1271at a

4 Halbig hearing, is a friend of mine who lives in the

5 next town. And I'm going to guess that says over. And

6 we don't know what it says after that. Then it says

7 Sheila asked me to provide you with her telephone

8 number. And it gives a telephone number, right?

9       A. Right.

10      Q. Okay. And then Rob sends it to you. And this

11 is April 24, 2018, correct?

12      A. Correct.

13      Q. And he says if Alex wants to go the Sandy Hook

14 route, he may want to get this lady on, correct?

15      A. Yes.

16      Q. Okay. So this is just shortly after the

17 company was sued, right?

18      A. Yes.

19      Q. That's why he wants to make this documentary,

20 right?

21      A. I'm not sure of the exact reasons for Alex

22 wanting to do a documentary.

23      Q. What is the Sandy Hook route? What is that?

24      A. I'm -- well, the way we do -- since Rob is

25 recommending a guest for the show, that would be Alex's

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1 decision if he wanted to have this guest on or not.

2       Q. Well, I think you know that the Sandy Hook

3 route is about how he was going to respond to this

4 lawsuit, whether he was going to make this documentary
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5 film. Do you understand that?

6             MR. REEVES: Objection; form.

7       A. That's your conjecture.

8       Q. (By Mr. Bankston) I'm asking you. That

9 documentary film that was made in response to this

10 lawsuit, that's what he was planning on doing.

11      A. I don't have a record of a documentary film on

12 Sandy Hook.

13      Q. Do you understand that immediately after this

14 lawsuit was filed, that Alex Jones was talking about

15 making a documentary that proved it was all fake? Did

16 you know that?

17      A. That's a conjecture too. We don't know what

18 the documentary film he wanted to do was about.

19      Q. Well, I'm asking you. That's what I'm saying.

20 I'm asking you.

21         Wasn't it about Sandy Hook being faked?

22      A. There were never editorial, quote, discussions

23 about what was going to be in the film.

24      Q. When -- he sent you a subject line that says

25 Bidondi, Sandy Hook documentary, what did you think that

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           158



1 meant?

2       A. You were asking me about what was going to be

3 in that Sandy Hook documentary.

4       Q. Sure.

5       A. And I answered you that there was no
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6 discussions of specific topics of the Sandy Hook
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7 documentary.

8       Q. Right.

9       A. It could have been about anything that had to

10 do with Sandy Hook, whether Alex was trying to present

11 his case or -- it's just -- again, I don't want to

12 speculate.

13      Q. I understand. That's the answer to your last

14 question.

15         My next question is, when Rob Dew sends you an

16 email that says Bidondi, Sandy Hook documentary, what

17 did you think that meant?

18      A. I don't understand the question.

19      Q. When you get an email from Rob Dew, it's part

20 of your job duties to understand your employee's

21 communicating with you, correct?

22      A. Yes.

23      Q. So when you got this email did you just, like,

24 not pay attention to it, or did you form an opinion

25 about what it's about?

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1       A. No. I don't think you understand how the

2 production works --

3       Q. Okay.

4       A. -- at the company. So I'm trying to explain to

5 you.

6         This looks as if Rob Dew is suggesting a guest

7 for the show.
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8     Q. But the show is not a documentary, right? A

9 documentary is something separate from the show.

10      A. The subject matter is from the previous email,

11 not the email that's -- this is a forwarded email to me

12 with information about the guest that's being discussed

13 in the previous email.

14      Q. Again, I don't see where there's any talk about

15 a guest. Can you point me to where there's a guest?

16      A. Yeah. Sheila asked me to provide you with her

17 telephone number.

18      Q. Sure.

19         Is she going to be a guest? What tells you

20 here she's going to be a guest?

21      A. It says right there.

22      Q. Where? Where does it say guest?

23      A. Sheila Matthews, who you met in Hartford at

24 Halbig hearing, is a friend of mine who lives in next

25 town over.

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1       Q. Maybe he just wants her to talk to him? Maybe

2 Sheila Matthews has some information that would be

3 bombshell for the Sandy Hook documentary.

4       A. Well, what I'm -- what I'm -- so I'm trying to

5 clarify to you, because you don't seem to understand how

6 the operations work, I'm telling you the reason Rob

7 Dew's sending me this email is to consider this guest in

8 case Alex wants to have her on the show.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     Q. There's -- there's no talk of the973
                                           show  here.
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10 There's talk of a Sandy Hook documentary. Let's back up

11 for a second.

12             MR. REEVES: Hold on. Hold on. Hold on.

13 Please let him ask you the questions and answer them to

14 the best of your ability, please.

15             MR. BANKSTON: Okay.

16             MR. REEVES: Thank you.

17      Q. (By Mr. Bankston) When -- when this is talking

18 about -- let's talk about InfoWars and how it works,

19 right? Because I better get that cleared up because I

20 don't know how it works, right?

21          But there's a show called the Alex Jones show,

22 right?

23      A. Yes.

24      Q. There's also a showed called, like, "The War

25 Room" with Owen Shroyer.

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1       A. Yes.

2       Q. Right?

3           There was a David Knight show at one point,

4 right?

5       A. Yes.

6       Q. There is also, though, an entirely different

7 department of people who work on things like documentary

8 films, somebody like Rob Jacobson, right?

9       A. That was one of his jobs.

10      Q. And he doesn't work on the show, right? He
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11 didn't do show work. He did documentary work, correct?

12      A. Not on a regular basis I would say.

13      Q. Okay. So you understand that there have been

14 documentary films made by Alex Jones.

15      A. Yes.

16      Q. They're not a show, are they?

17      A. No.

18      Q. Okay. So when you're telling me in this email

19 that there is talk of a guest on a show, there's no talk

20 in this email from Mr. Bidondi about a guest or the

21 show, is there? There's talk about a documentary,

22 right, and somebody he may want to talk to.

23      A. Yes, he may want to get this lady on.

24      Q. Now, that's what Rob is saying, right?

25      A. Right.

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1       Q. Rob is saying he wants to get this lady on.

2 Get her on what?

3       A. The show.

4       Q. Where do you get that from?

5       A. That's how we communicate.

6       Q. Alright. Well -- so she's not going to be in

7 the documentary?

8       A. I have no idea if she was going to be in the

9 documentary.

10      Q. Wouldn't the fact --

11      A. They're not talking about the documentary here.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    Q. The email subject line is Sandy975
                                         Hook
                                            of 1271

13 documentary, ma'am.

14      A. I've already explained that for you.

15      Q. Okay. So despite the fact that it's emailed

16 Sandy Hook documentary, despite the fact that Dan

17 Bidondi said that Alex Jones announced that he is going

18 to do a Sandy Hook documentary film, you insist this

19 email is about the show.

20            MR. REEVES: Objection; form.

21      Q. (By Mr. Bankston) Is that your testimony?

22      A. The guest that's mentioned in the email with

23 the subject matter Sandy Hook documentary to Rob Dew

24 includes information about a person that has to do in

25 some way with Sandy Hook.

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1       Q. Does the --

2       A. Rob Dew looks at that email, he forwards me the

3 email with the subject matter. It's going to be

4 forwarded the way it was sent to him.

5       Q. Uh-huh.

6       A. He is sending me this information so that I can

7 take a look at the guest that's being suggested, that I

8 can run this guest by Alex and find out if Alex wants to

9 have this guest on the show or not.

10      Q. Tell me what you did to figure out who this

11 guest was and how to pitch it to Alex?

12      A. I have no recollection of this guest whatsoever

13 because I -- from -- from -- you're asking me in my
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 capacity as a producer for this specific email?

15      Q. I'm asking you about actually editorial

16 discussions of Sandy Hook. So I'm actually asking you

17 as the company.

18      A. There was no -- there was no response to this

19 email that I provided.

20      Q. If Rob Dew was sending to you a source from Dan

21 Bidondi, the Truth Warrior, we can be fairly certain

22 that that guest was going to support the idea that

23 Sandy Hook was fake, right? That's a fair assumption?

24            MR. REEVES: Objection; form.

25            Don't answer that question.

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1            MR. BANKSTON: Why not?

2            MR. REEVES: Because that's extremely

3 misleading.

4            MR. BANKSTON: That's not a proper basis to

5 object -- to --

6            MR. REEVES: That is entirely. Go read the

7 rule.

8            MR. BANKSTON: Madam Court Reporter, can

9 you read my question back?

10            (Court reporter read requested portion)

11            MR. BANKSTON: Have her answer the question

12 or I will move for sanctions? I will -- I will move to

13 compel that answer. That if you're not having her

14 answer that question, it's very clear what you're trying
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15 to hide. I want her to answer the question.
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16             MR. REEVES: I don't appreciate the

17 threats.

18             MR. BANKSTON: It's not a threat, Brad.

19             MR. REEVES: It is a threat, and I don't

20 really appreciate it. You know what?

21             MR. BANKSTON: Look at where we are in this

22 case, Brad.

23             MR. REEVES: Go ahead. Go ahead. If you

24 know the answer to the question, proceed with answering

25 the question.

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1       A. I get sent a lot of guests on a daily basis.

2 There's no way for me to know this specific guest would

3 be pro Sandy Hook conspiracy theory or the official

4 version. Because if you've watched other videos of

5 Alex Jones, he would have people on the show who would

6 disagree that it was staged. And they -- and he allowed

7 that debate. Even -- even Wolfgang Halbig was on the

8 show at the same time with a person that disagreed with

9 him and that was a debate. And Alex allowed both sides

10 to be public with their statements.

11      Q. (By Mr. Bankston) Okay. First, that happened

12 once, correct? There's never been any other debate or

13 guest who supported the idea that Sandy Hook was real,

14 correct?

15      A. Alex multiple times has said that he didn't

16 know what exactly happened in Sandy Hook, that he
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17 believed many kids died, but that there was a cover-up.

18 He said it multiple times. And he said it was in the

19 public's best interest and in the best interest of those

20 children to find out the exact truth that happened and

21 how those kids died.

22      Q. Yeah, that doesn't answer the question of

23 whether more than one debate with guests who supported

24 Sandy Hook being real. That's a whole bunch of stuff of

25 what Alex Jones said at some point that you think he

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           166



1 said. I'm asking you --

2       A. Oh, no. He said that.

3       Q. I -- that's not the question, though,

4 Ms. Karpova.

5         The question is, was there more than one debate

6 with a guest who supported the idea that Sandy Hook was

7 real. Has that ever happened, other than the one time

8 that they brought Keith Johnson on and railroaded him

9 with Wolfgang Halbig?

10             MR. REEVES: Objection; form.

11      Q. (By Mr. Bankston) Ever?

12      A. From my recollection as a producer, there have

13 been callers calling into the broadcast that were

14 allowed to state their opinions that were disagreeable

15 with Alex Jones.

16      Q. That's not a guest, though, is it?

17      A. If a caller is being allowed on the show.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    Q. You know what a guest is. That's not1271
                                     979 of   a guest.

19      A. Well, sure.

20      Q. That's not somebody who's been booked to come

21 on the show.

22      A. Sure.

23      Q. Right.

24         There is never, other than Keith Johnson, when

25 he was brought in with Wolfgang Halbig, there has never

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1 been a person who's been a guest on the show who said

2 that Sandy Hook was real, correct?

3       A. Yes.

4       Q. Additionally, when it comes to Dan Bidondi, you

5 may not -- you may not know what other guests may have

6 said, you may not know whatever, but you know Dan

7 Bidondi believes Sandy Hook was fake, correct? The

8 company knows that.

9       A. Dan Bidondi had questions about Sandy Hook

10 just -- just like Alex, just like other people.

11      Q. When you say questions, when Dan Bidondi does

12 stuff like chase people down on the street and yell at

13 them these are the people who covered up Sandy Hook,

14 they're criminals, you're all going to jail, do you

15 think those are questions? Do you believe that?

16            MR. REEVES: Objection; form. On what

17 topic of the depo notice does this cover?

18            MR. BANKSTON: We're in editorial

19 discussions about Dan Bidondi, which is -- and I'm
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 also -- Brad, she's copied on that email. This is

21 personally to her. So if you --

22              MR. REEVES: I understand that. I'm asking

23 you --

24              MR. BANKSTON: You already have a running

25 objection to both, to anything that's outside --

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1               MR. REEVES: You just asked the question

2 about the -- about the company's position on it. So I'm

3 allowed to reiterate --

4               MR. BANKSTON: And you have a running

5 objection on every one of those questions.

6               MR. REEVES: But that is a misleading

7 question that you're going to ask her what the company

8 believes whenever she is over -- when you know that is

9 outside the scope. And so I'm allowed --

10              MR. BANKSTON: You can object to it, and

11 you already have.

12              MR. REEVES: And I just did.

13              MR. BANKSTON: And it's running. So

14 please --

15              MR. REEVES: Great. Well I objected

16 anyway. So go for it. If you have a problem with me

17 reasserting my objection despite having a running one

18 overall --

19              MR. BANKSTON: I do.

20              MR. REEVES: I have -- I have a problem
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21 with you asking misleading questions,981
                                         asking for the
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22 company's position on a person when that's clearly not

23 covered by the scope of these deposition topics with

24 someone who is here to testify on the topics on behalf

25 of the company. That is a misleading way to approach

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1 the questions with this witness.

2       Q. (By Mr. Bankston) You know what Dan Bidondi

3 believes about Sandy Hook, don't you, you personally,

4 Daria Karpova?

5       A. I do not.

6       Q. You don't know?

7       A. I personally do not.

8       Q. No.

9         As an InfoWars producer here to testify on

10 behalf of the company, you also didn't do anything to

11 prepare to know what Dan Bidondi did, right? That's not

12 part of the topics you were asked to talk about today?

13      A. I know Dan Bidondi had questions and believed

14 that there was a cover-up in the Sandy Hook case, which

15 he did his hardest to try and investigate, as a good

16 reporter would.

17      Q. You -- you are testifying here right now

18 Dan Bidondi is a good reporter. Is that what you're

19 testifying to?

20      A. Insofar as him trying to investigate what

21 happened, to find the truth. That's what a good

22 reporter's supposed to do.
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23    Q. Have you seen any videos of Dan Bidondi in

24 Connecticut and what he did? Have you ever watched him?

25      A. (Indiscernible.)

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1       Q. You might not be the best person qualified to

2 talk about whether Dan Bidondi was a good reporter in

3 Newtown, are you?

4             MR. REEVES: Objection; form. That's not

5 what she said.

6             MR. BANKSTON: That's why I'm asking her a

7 question, Brad.

8       Q. (By Mr. Bankston) I'm asking you, you may not

9 be the best qualified person to talk about what

10 Dan Bidondi did in Newtown, correct, you Daria Karpova,

11 InfoWars employee?

12      A. My definition of a good reporter is somebody

13 who seeks the truth and is going to great lengths in

14 order to find it.

15      Q. So you don't -- you -- but you can admit to me

16 right now you don't know what Dan Bidondi did in

17 Newtown.

18      A. His specific actions I don't know. But you

19 just mentioned what --

20      Q. Do you know about St. Rose of Lima Catholic

21 School in Newtown, what Dan Bidondi and Wolfgang Halbig

22 did there?

23      A. Not off the top of my head.
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24    Q. Okay.                      983 of 1271

25             (Discussion off the record)

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1             (Exhibit 13 introduced)

2       Q. (By Mr. Bankston) I'm showing you what I've

3 marked as Exhibit 13. Do you recognize that?

4       A. I haven't seen this document before.

5       Q. Okay. So you understand that -- like we were

6 talking about earlier, the company has produced sets of

7 documents and pieces over the course of 3 years, right?

8       A. Yes.

9       Q. Okay. I'll represent to you that, like, what

10 you're looking at right now, you'll see FSSTX-082669.

11 Okay?

12      A. Yes.

13      Q. Which would represent to you this is the 82,669

14 page that InfoWars has produced in this lawsuit.

15         I'll represent to you this was produced to me

16 extremely recently, like, in the last little bit. And

17 you understand that InfoWars was ordered to produce

18 analytics about their website, right?

19      A. Yes.

20      Q. Do -- do you know anything about what was

21 produced? Do you know what analytics were produced to

22 the claims?

23      A. Website traffic.

24      Q. Right.

25         I mean, obviously that's what analytics are.
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1 Do you know what actual analytics -- where they came

2 from, what was produced, any of that?

3       A. It came from the IT department with the

4 software they use for analytics.

5       Q. Right.

6           This isn't an InfoWars document, right?

7 This was not -- this is -- and this document was not

8 generated using InfoWars stuff, InfoWars products or

9 InfoWars --

10      A. You'd have to talk to IT about that.

11      Q. So you don't know the origin of this document,

12 right?

13      A. I do not.

14      Q. Alright. I believe -- and I was hoping I could

15 ask you about this, because you're supposed to testify

16 about the documents you produced. And I know there's

17 been a lot of documents, but I was hoping maybe the ones

18 that were just produced we could talk about. But I

19 think this is a Google analytics document from Google.

20 Do you know if I'm right or wrong, or do you not know?

21      A. I don't know.

22      Q. Okay. From what it looks like to me -- I

23 can't -- you see there's a date up at the top that says

24 January 1, 2012 to June -- June 16, 2019?

25      A. Yes.

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1       Q. Okay. That looks to be a period -- a period of

2 time in which these analytics was collected. Do you

3 have any reason to dispute that?

4       A. No.

5       Q. Okay. So what we have here is -- you see how

6 we have a column of pages that lists for each of these

7 URLs the total unique page views of that URL?

8       A. Correct.

9       Q. Okay. Now, you'll notice that some of

10 the -- on this list here, it goes through -- this is

11 just the top 20 for the website. You'll notice that

12 some of them have what I would call landing pages that

13 aren't specific to a certain story. For instance,

14 infowars.com/category, infowars.com/watchalexjonesshow.

15 Do you know what I mean when I say that?

16      A. Yes.

17      Q. Okay. And so none of those URLs are associated

18 with a specific story, correct?

19      A. Correct.

20      Q. The first URL that we would see that's

21 associated with a specific story is a URL titled

22 "Graphic Shocking Complete Video Shock From Virginia

23 Gunman's Point of View," correct?

24      A. Yes.

25      Q. Okay. And the unique page views for that --

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1 that article shown on this document is 4,265,000,
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2 correct?

3       A. Correct.

4       Q. Okay. If you look at the very next entry, that

5 is a story, right? That would be No. 13, correct?

6 Because No. 8, 9, 10, 11 and 12 are not stories,

7 correct?

8       A. Correct.

9       Q. Okay. And so No. 13 is "Boston Bombing

10 Culprits Found," correct?

11      A. Correct.

12      Q. Okay. So No. 14 is "FBI Says No One Killed At

13 Sandy Hook," correct?

14      A. Correct.

15      Q. And that shows the unique page views of

16 3,301,616 people, right?

17      A. Yes.

18      Q. Okay. So from this analytics chart, we can

19 determine that for that time period of June -- of

20 January 1, 2012 to June 16, 2019, the story, "FBI Says

21 No One Killed At Sandy Hook," was the third most popular

22 site and unique page views on the entire InfoWars

23 website. The company would agree with that?

24            MR. REEVES: Objection; form.

25      A. Which story again?

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1       Q. (By Mr. Bankston) No. 14 would be the third

2 most popular story in terms of unique page views ever
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 published on the InfoWars website during that
                                      987 of    period of
                                             1271

4 time.

5       A. According to this graphic, yes.

6       Q. Okay.

7             (Discussion off the record)

8       A. I mean, this -- this -- if we can go back to

9 this previous graphic real quick.

10         It does provide other information like how long

11 people were on that page, the bounce rate. So I'm not

12 an analytics expert, so -- but I think that information

13 is important as well, other than the unique page views

14 that you tried to bring attention to.

15             MR. BANKSTON: Object as nonresponsive.

16             (Exhibit 14 introduced)

17      Q. (By Mr. Bankston) I'm going to show you what

18 I've marked as Exhibit 14. You'll see this is a similar

19 chart, right, same date range? January 20 -- January 1,

20 2012 to June 16, 2019?

21      A. Yes.

22      Q. Okay. Now, this talks about landing pages. Do

23 you see where it says that in the top left corner under

24 the words analytics?

25      A. Yes.

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          176



1       Q. Okay. Now, here we also have landing pages and

2 numbers of sessions, correct?

3       A. Yes.

4       Q. Okay. Now, on this one as well, for this type
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                         988 of 1271
5 of analytics charts in terms of sessions on InfoWars,

6 No. 8, "FBI Says No One Killed at Sandy Hook," is the

7 third most popular story in terms of sessions on

8 InfoWars, correct?

9       A. Yes.

10      Q. Okay. Now, in terms of session duration -- do

11 you see where it says average session duration?

12      A. Yes.

13      Q. Okay. Now, you see -- where it says "FBI Says

14 No One Killed on Sandy Hook, you have an average

15 duration of just under a minute, right?

16      A. Yes.

17      Q. But if you look at No. 11, Saudi Arabia Has

18 100,00 Empty Air-conditioned Tents That Can House

19 3 million People Yet Has Taken Zero Refugees, the

20 average session duration there was 16 seconds, right?

21 Correct?

22      A. Yes.

23      Q. And for other landing pages, say No. 9 listed

24 on the internet, you've got an average duration of

25 4 minutes and 28 seconds, right?

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT         177



1       A. Yes.

2       Q. When someone clicks on the listen on the

3 internet link, that typically means they're going to

4 listen to the radio broadcast, right?

5       A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. It's kind of expected they might
                                       989beofon1271
                                                 there a

7 few more minutes than just reading the story. That's

8 expected to InfoWars?

9       A. (No response.)

10            MR. REEVES: Objection; form.

11            (Discussion off the record)

12      Q. (By Mr. Bankston) Correct?

13      A. What was the question?

14            MR. BANKSTON: Madam Court Reporter, can

15 you help me out here and read that question back?

16            (Court reporter read requested portion)

17      A. When people go to a stream to listen to the

18 stream, it's expected that they would be listening to

19 the stream as opposed to reading an article.

20      Q. (By Mr. Bankston) Okay. Has InfoWars, when

21 making its editorial discussions and decisions about the

22 Sandy Hook coverage, has it ever attempted to use its

23 Sandy Hook stories and videos in a strategic way to

24 attract viewers?

25      A. No.

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           178



1       Q. Okay. The idea that we would make some video

2 uploads about Sandy Hook as a strategic measure, that's

3 not something that would be a -- would be a part of

4 InfoWars editorial sessions?

5       A. Never.

6       Q. Never?

7       A. Never.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                        990 of 1271
8           (Discussion off the record)

9             (Exhibit 15 introduced)

10      Q. (By Mr. Bankston) Let me show you what I've

11 marked as Exhibit 15. Can you tell me who -- at the top

12 here -- well, actually, let me start at the bottom. At

13 the bottom corner you see there's a mark that says

14 FSSTX-076069, correct?

15      A. Yes.

16      Q. Okay. Now, can you tell me -- first, let's

17 just look at the top of the email. Who is Darrin?

18      A. Darrin McBreen.

19      Q. And his title in 2015, do you know?

20      A. Editor.

21      Q. Okay. And Rob Dew we've talked about, correct?

22      A. Yes.

23      Q. Louis S. we've talked about, right?

24      A. Yes.

25      Q. Okay. The next other person that's on here is

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          179



1 Travis Knight. Do you know who that person is?

2       A. Yes.

3       Q. Okay. And do you know what their job position

4 is?

5       A. Editor.

6       Q. Okay. And then this email is being sent from

7 Louis S. to Travis Knight, Rob Dew and Darrin. And the

8 subject is video files for Facebook upload on
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 September 24, 2015. That's correct? 991 of 1271

10      A. Yes.

11      Q. Okay. He asked them can I get these video

12 files for future strategic Facebook uploads, correct?

13      A. Yes.

14      Q. And one of the files that he is asking for is

15 "Why People Think Sandy Hook is a Hoax," correct?

16      A. Yes.

17      Q. Okay. So we can tell from this email -- and

18 then Darrin follows up and says any luck finding these,

19 correct?

20      A. Yes.

21      Q. We can agree from this email that Editor Darrin

22 and Louis S. were attempting to use a video about

23 Sandy Hook being a hoax as a future strategic Facebook

24 upload, correct?

25      A. It's one of the video -- one of the videos out

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1 of eight videos that he's requesting.

2       Q. Sure.

3         So it is one of the videos being used for

4 future strategic Facebook upload, correct?

5             MR. REEVES: Objection; form.

6       A. Yes.

7       Q. (By Mr. Bankston) Okay.

8             (Discussion off the record)

9             MR. BANKSTON: Yeah. Let's go ahead and

10 take a break.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11          MR. REEVES: Alright.

12            THE VIDEOGRAPHER: The time is 4:08 p.m.

13 we are off.

14            (Recess from 4:08 p.m. to 4:17 p.m.)

15            THE VIDEOGRAPHER: The time is 4:17 p.m.

16 We are on.

17            (Exhibit 16 introduced)

18      Q. (By Mr. Bankston) Ms. Karpova, I'm handing you

19 what I've marked as Exhibit 16. Alright. Down at the

20 bottom it is labeled FSSTX-079546, correct?

21      A. Yes.

22      Q. Okay. And this email was sent on April 16,

23 2015?

24      A. Yes.

25      Q. Okay. We talked about Louis S., right?

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1       A. Yes.

2       Q. And we've talked about Lee Ann before. She's

3 Lee Ann McAdoo, right?

4       A. Yes.

5       Q. Okay. She's an InfoWars reporter.

6       A. She was, yes.

7       Q. She was.

8         Okay. At the time of this, were they both

9 reporters, editors? What were they?

10      A. Both who?

11      Q. Both individuals on this email.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    A. Louis I think was a (indiscernible)
                                        993 editor.
                                             of 1271

13 Lee Ann was a reporter.

14      Q. Okay. This is a subject list called playlist

15 ideas, correct?

16      A. Yes.

17      Q. Importance was labeled high, correct?

18      A. Yes.

19      Q. The playlist ideas that are listed in this

20 video I'm going to read to you. Okay?

21         Vaccines, already up. When it's -- let's stop

22 there. When it says "already up," would it be your

23 assumption from seeing documents at InfoWars, meaning

24 that that playlist has already been created and is

25 currently up on the internet?

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1       A. Yes.

2       Q. Okay. And then it says: Police state,

3 InfoWars health, Alex Jones show, Second Amendment,

4 rants, celebrity, border, TSA, geoengineering/chem

5 trails, GMO, resistance, Boston bombing, Sandy Hook,

6 victories, winning, good news, correct?

7       A. Yes.

8       Q. Okay. So from this list of playlist ideas, we

9 know that Sandy Hook was one of the ideas for playlists

10 that was being proposed inside of InfoWars during

11 editorial discussions, correct?

12             MR. REEVES: Objection; form.

13      A. One of many ideas for the YouTube playlist.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    Q. (By Mr. Bankston) No. I understand -- look, I

15 completely understand that when I ask a question, you

16 want to push back and give information you think is

17 going to be helpful. I get that.

18         I know that there are other -- we just read

19 them all. We read all these topics here. But in a very

20 simple statement, we can understand that Sandy Hook was

21 one of these playlist ideas, correct?

22      A. Well, I'm just trying to be more accurate

23 because you're trying to present more of a skewed point

24 to mis -- misrepresent how our operations work. So I'm

25 trying to clarify that among -- Sandy Hook was among the

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1 topics for playlists that they were in the process of

2 organizing a YouTube channel for.

3       Q. Yeah. And one of the things you wanted to have

4 on that YouTube channel -- or at least one of the things

5 that the company did through its editor Louis here, is

6 they wanted to have a playlist about Sandy Hook, right?

7       A. Sure. This is relevant in 2015.

8       Q. Right.

9         Because according to the company, 2-1/2 years

10 after Sandy Hook it was still a relevant thing to talk

11 about, right?

12      A. The videos were archived. They wanted

13 to class -- to categorize them for -- yeah.

14      Q. Okay. I didn't ask how the videos were
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 categorized. I didn't ask any of that. 995
                                           All of
                                               I asked
                                                  1271 was

16 the company believes when it was doing its discussions

17 on Sandy Hook, that Sandy Hook 2-1/2 years after the

18 shooting was something that needed to be covered in the

19 news.

20      A. What discussions about Sandy Hook?

21      Q. The editorial discussions you've had in the

22 company about Sandy Hook.

23      A. This lists the different topics. There's no

24 discussion of Sandy Hook.

25      Q. I know that. I'm asking you about the

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1 editorial discussions in the company. Because your

2 position is, for the company, that in its editorial

3 discussions, that it came to the conclusion that 2-1/2

4 years after the shooting Sandy Hook was a relevant topic

5 to be talking about on InfoWars, correct?

6       A. It is one of the topics for playlists as you

7 know.

8       Q. I'm not asking -- can you take that email --

9 see that stack of exhibits you have right now?

10      A. Yes.

11      Q. Can you put them aside just out of your view

12 for just a second?

13         Okay. Now, editorial discussions inside of

14 InfoWars. InfoWars made the decision that 2-1/2 years

15 after the shooting, that topic was a relevant thing to

16 be talking about on their news broadcast, right?
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17    A. Again, I would have to refer to the YouTube

18 channel with the playlists of Sandy Hook.

19      Q. I'm not -- Ms. Karpova, I don't know if I can

20 make this any more clear. I'm not asking about the

21 playlist anymore.

22      A. Correct.

23      Q. Alright. I'm not -- we're done with that

24 document. We're talking about something totally

25 different. I don't care what happened in terms of the

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1 YouTube playlist. What I'm asking is when InfoWars was

2 making editorial discussions about Sandy Hook, part of

3 those discussions included the conclusion that

4 2-1/2 years after the shooting, that event was a

5 relevant thing to be talking about on InfoWars, correct?

6             MR. REEVES: Objection; form.

7       A. False, because I already answered that

8 question. We did -- do not -- did not have editorial

9 discussions about Sandy Hook.

10      Q. (By Mr. Bankston) Okay. We've seen a couple

11 of emails here today with people talking about how

12 InfoWars should cover Sandy Hook, right? Correct?

13      A. There were a few emails mentioning Sandy Hook.

14      Q. That's not what I asked you, Ms. Karpova.

15      A. Can we go back to those emails and I'll --

16      Q. They're all sitting in -- right in front of

17 you.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    A. Okay.                      997 of 1271

19      Q. And I'm asking you, in your recollection of

20 what we've spoken about here today, we've had people

21 talking about how InfoWars should cover Sandy Hook.

22         Do you remember that email from Mr. Bidondi

23 that was forwarded to you?

24      A. Yes.

25      Q. That was a discussion about how you should

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1 cover Sandy Hook, wasn't it?

2       A. No.

3       Q. It wasn't a discussion with Rob -- didn't you

4 tell me that Rob Dew was making a recommendation that

5 this is somebody Alex should have on the show about

6 Sandy Hook?

7       A. He didn't say he should have it. It was a

8 proposed guest.

9       Q. Right.

10         So we're having some discussions about who

11 should be on the show, maybe we should have this lady.

12 That was a discussion that you were actually copied on,

13 correct?

14      A. Yes.

15      Q. Okay. So we can drop this idea, can't we, that

16 there were no editorial discussions because we've seen

17 one that you were included on, right, Ms. Karpova?

18      A. Now, that I'm looking also at this previous

19 email that we've discussed, it says video files for
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 future strategic Facebook uploads. I just want to be

21 clear that I think what you're referring to as a

22 strategic upload refers to some kind of marketing scheme

23 for Sandy Hook analytics videos. What this refers to is

24 a -- almost like an auto post that is scheduled for

25 future uploads.

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1             MR. BANKSTON: Objection; nonresponsive.

2       Q. (By Mr. Bankston) Let's go on to talk about

3 Wolfgang Halbig. Would you mind opening up your blue

4 folder for me?

5       A. (Witness complies.)

6       Q. Do you see that article on top?

7       A. Yes.

8       Q. That's something you brought today and you were

9 talking about how much -- you were talking about, like,

10 you wanted to read it today, right, to talk about

11 Wolfgang's qualifications?

12      A. Yes, his bio specifically.

13      Q. Right, his bio. Okay.

14      A. Yes.

15      Q. So this article that you brought is what you

16 believe is -- you -- let me ask you this. Is that

17 something that InfoWars had before you went and looked

18 for it for your deposition, or is that something you got

19 for your deposition to help you acquaint yourself?

20      A. The latter.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Okay. So before this deposition,
                                      999InfoWars
                                          of 1271 did

22 not have this document in its corporate files.

23      A. Correct. The files that I looked through that

24 I searched for Halbig's bio, I could not find anything.

25 As well as it seems like he's been memory-holed on the

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           188



1 internet as well. So that's the only article that I

2 could actually find in an archive mode where it actually

3 listed his bio.

4       Q. Did you go try to search Wolfgang Halbig on

5 Google? Did you do that?

6       A. Yes.

7       Q. Okay. So when you say he's been memory-holed,

8 I take it you're ignoring the dozens of mainstream

9 articles about Wolfgang Halbig, you don't want to use

10 the mainstream articles.

11      A. No. I'm talking specifically his bio and his

12 credentials have been memory-holed.

13      Q. Okay. There are mainstream articles that talk

14 about Wolfgang's credentials or his alleged credentials,

15 right? Did you see any of those?

16      A. I've looked at many of them, and I did not see

17 an actual biography of his accomplishments.

18      Q. Okay.

19      A. I've not seen, except for this article, which

20 is why I printed it.

21      Q. So you brought us instead this Exhibit 1F

22 written by Dr. Eowyn. Do you know who that is?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    A. I do not -- I didn't bring it for the author.

24 I brought it for the bio that is included in this

25 article.

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1       Q. Right.

2         So you've got to -- you've -- one thing you

3 probably need to do when you say as a producer of a

4 journalistic organization, particularly when dealing

5 with a lawsuit like this and coming to testify is you

6 should probably try to figure out the voracity of the

7 bio being provided to you, right?

8         Do you have any faith sitting here today that

9 the information contained in that article is accurate?

10      A. Yes. Because even the people who disagree with

11 Wolfgang Halbig admit that he has a lengthy bio that's

12 impressive.

13      Q. Who said that?

14      A. I've read it in different articles when I was

15 searching for his bio.

16      Q. I thought you said his bio's been

17 memory-holed.

18      A. Well, exactly. They failed to (indiscernible)

19 his bio, but they do acknowledge that he's got an

20 extensive bio if that bio is covered accurately. But I

21 could not find the actual bio because the bio was not

22 included, except for this article.

23      Q. You think it's covered accurately there?
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24 That's what you think?           1001 of 1271

25      A. Yes.

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1       Q. Okay. And the person who wrote that,

2 Dr. Eowyn, do you know who that is?

3       A. No.

4       Q. He doesn't have a last name, right?

5       A. I do not believe that's the person who wrote

6 this art --

7       Q. Go back and look at the first page.

8       A. No, no, no. I understand that the article was

9 posted by the said Dr. Eowyn.

10      Q. Uh-huh.

11      A. The bio that's been screen-shotted here -- it's

12 not even typed, it's screen-shotted from somewhere else.

13      Q. From where?

14      A. I do not have the source, the exact source

15 where it was printed from.

16      Q. You have no idea where that came from.

17      A. Well, like I said, people -- people who

18 disagree with Halbig and who criticize him admit that

19 his bio is impressive.

20      Q. I -- I'm still waiting to see that. Do you

21 have any information you can point me to that? Anybody

22 you say who's an opponent of Halbig who admits that he

23 has an impressive bio.

24      A. I would have -- I would have printed those

25 documents if that's what I thought I needed for you.
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1 But --

2        Q. Instead --

3        A. -- to my satisfaction -- I did the research;

4 and to my satisfaction, this bio checks out.

5        Q. Let's talk about what satisfied you, which is

6 apparently a screen shot that you cannot identify where

7 it came from, printed an article by Dr. Eowyn who

8 did you -- who -- first of all, that's -- let me pull

9 this question back.

10          Did you know Dr. Eowyn wrote Chapter 2 of Jim

11 Fetzer's book, "Nobody Died at Sandy Hook"? Did you

12 know that?

13       A. No.

14       Q. Okay. Do you know what Fellowship of the Minds

15 is?

16       A. No.

17       Q. Okay. Go to the last page of your article

18 there.

19       A. (Witness complies.)

20       Q. Do you see -- actually, the second to the last

21 page. You'll see the very end of the article.

22          Do you see where it says who Dr. Eowyn is?

23       A. Yes.

24       Q. Who does it identify him as?

25       A. The editor of Fellowship of the Minds.

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    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1       Q. Okay. Do you know about Mr. Fetzer being

2 involved in Fellowship of the Minds?

3       A. No. That has no real relevance to why I

4 brought this article.

5       Q. Right.

6         So in other words, just like in normal InfoWars

7 practice, if you find the information you're looking

8 for, you don't really care where it came from, right?

9             MR. REEVES: Objection; form.

10      A. No, that's not true.

11      Q. (By Mr. Bankston) So you -- but you don't care

12 who this person -- author is, do you? You didn't care

13 to find out.

14      A. I -- the value of this article isn't the

15 opinion of the writer. The writer has included the bio

16 that was taken from another source.

17      Q. Which we have no idea what it is.

18         So wouldn't you say --

19      A. If it's been memory-holed, we can't find it.

20 The official -- official Wolfgang Halbig's website is no

21 longer. I'm sure it was there. It was posted there at

22 some point.

23      Q. Yeah, I'm sure Wolfgang Halbig has said a lot

24 of things about his credentials. Do you think they're

25 all true? Do you think Wolfgang Halbig is a reliable

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1 source about his own credentials?
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2     A. I'm not responsible for making sure that the

3 claims for our guests are all accurate.

4       Q. Thank you.

5       A. They're responsible for providing their bios.

6       Q. Thank you.

7          Let's look at --

8             (Discussion off the record)

9       Q. (By Mr. Bankston) One thing you can agree is

10 that Free Speech Systems helped Mr. Halbig raise money,

11 correct?

12      A. I don't have any record of that.

13      Q. Do you know if there are any documents produced

14 in this case like that? Have you -- let me pull that

15 back.

16         Have you seen documents in this case relating

17 to whether or not InfoWars helped fund Mr. Halbig?

18      A. Not that I can recall off the top of my head.

19      Q. Okay.

20             (Discussion off the record)

21      Q. (By Mr. Bankston) At some point there was a

22 discussion inside InfoWars. I don't know who had it,

23 but I'm going to go ahead and assume there was a

24 discussion inside InfoWars about whether we should be

25 using info -- Wolfgang Halbig as a source. Do you

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1 acknowledge that?

2             MR. REEVES: Objection; form.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. (By Mr. Bankston) Or did that1005
                                       discussion
                                           of 1271never

4 happen?

5       A. Yes. Later -- years later there were questions

6 that arose about the cred -- the credibility of Halbig.

7       Q. When?

8       A. I don't have the exact date for that.

9       Q. Well, look. Here's the thing.

10      A. Over the years things have come up that.

11      Q. What kind of things?

12      A. I don't have the exact things for you.

13      Q. Okay. So you're able to -- you brought me from

14 Fellowship of the Minds and the guy who wrote "Nobody

15 Died At Sandy Hook," you brought me a bio. But in terms

16 of -- in terms of what facts y'all came up with that

17 were bad against topic, you can't point me to any of

18 those, right?

19      A. At the time we had no reason to believe that

20 Mr. Halbig wasn't who he said he was in his bio. His

21 bio was not being questioned by anybody out there.

22      Q. The company -- for instance, let's put it this

23 way, right? Wolfgang gives you his bio. It looks

24 pretty good. You go with it. But what if somebody --

25 if somebody had come to the company and said, hey, watch

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1 out, y'all really need to look out for Wolfgang Halbig

2 and his credentials, I don't think they are what he says

3 they are, I think you should doubt them, if the company

4 got a message like that, would it have done its due
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5 diligence and tried to figure out if Mr. Halbig was

6 really qualified?

7              MR. REEVES: Objection; form.

8       A. Hypothetical?

9       Q. (By Mr. Bankston) Sure.

10      A. Yes.

11      Q. Yes. Okay.

12          But because that didn't happen, the -- you're

13 testimony is here today the company had no reason to go

14 double-check Wolfgang Halbig's credentials.

15      A. Well, no. You're talking about after the fact.

16 When Wolfgang Halbig was a guest on the show, he

17 provided his credentials.

18      Q. Right.

19      A. There was nobody at the time who was coming out

20 and saying do not have this guest on.

21      Q. Right, right.

22          So in other words your testimony is in the

23 absence of anybody doing that, right, InfoWars really

24 didn't have a reason to go double-check his credentials,

25 right?

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1       A. The company's general guideline for a producer

2 is to spot-check the biography.

3              (Discussion off the record)

4              MR. BANKSTON: Brad, just so I don't have

5 to slow down, can I just confer with you on this
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6 document?                        1007 of 1271

7             MR. REEVES: Sure.

8             MR. BANKSTON: Okay. So we have a document

9 here, and we don't have the second page. But that's the

10 second page. And I can print that little part out or I

11 can just read it to her and we can agree to put that in

12 a second. I don't know what you want to do. I can take

13 a break and print it ou.

14            MR. REEVES: How about if -- will you

15 show --

16            MR. BANKSTON: Yeah, yeah. I'm going to

17 show it to her. I'm just going to give her my computer.

18 Exactly.

19            MR. REEVES: Read it to her and show her --

20            MR. BANKSTON: In other words the document

21 that I'm going to show her is just a computer copy.

22            MR. REEVES: Yeah, that's fine.

23            MR. BANKSTON: Okay. Alright. I'm going

24 to go ahead and mark this?

25            (Discussion off the record)

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1       Q. (By Mr. Bankston) Okay. I'm going to give you

2 this for the stack, but I'm actually going to show it to

3 you by PDF. Okay? And the reason I'm going to show it

4 to you by PDF is because it cuts off. Alright? And it

5 has this little part right here. So what I'm going to

6 do for you is I'm first just going to bring this up,

7 okay, so you can see the last part. Okay?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     A. Okay.

9             (Exhibit 17 introduced)

10       Q. (By Mr. Bankston) Alright. And that's what's

11 on that page. Alright?

12          And so I want to read this together, the second

13 page of Exhibit 17 for you. And you'll notice we'll

14 have to scroll up to see who wrote it, right?

15          You don't know who Robert Heath is, right?

16       A. Say it again.

17       Q. You don't know who Robert Heath is I would take

18 it?

19       A. No.

20       Q. Okay. But he's writing to the writers at

21 infowars.com?

22       A. Yes.

23       Q. The subject is Wolfgang Halbig?

24       A. Yes.

25       Q. The date is March 14, 2014?

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1        A. Yes.

2        Q. Okay. Down here at the bottom we see this

3 document is marked FSSTX-040803, correct?

4        A. Yes.

5        Q. Okay. Mr. Heath writes: Dear Sir or Madam,

6 You would be well advised to check Wolfgang Halbig's

7 credentials. Best wishes, Robert Heath.

8          I read that correctly?
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9     A. Yes.                       1009 of 1271

10      Q. Okay. Now, I'm going to give you this. This

11 is the remainder of the document. Okay?

12         The person who replies back is Adan, correct?

13      A. Yes.

14      Q. Adan Salazar is a writer at Sandy Hook -- I

15 mean at -- excuse me. Adan Salazar is a writer at

16 InfoWars, correct?

17      A. Yes.

18      Q. Adan Salazar has worked on Sandy Hook coverage

19 for InfoWars, correct?

20      A. Yes.

21      Q. Okay. Adan Salazar writes and says: Robert,

22 thanks. But what on Earth do you mean? The guy

23 seemingly has credentials up the wazoo. Your email is

24 much to vague to follow up on. Thanks, Adan.

25         Did I read that correctly?

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1       A. Yes.

2       Q. Okay. I'm going to read this next part of the

3 email. And it says: Dear Adnan -- and he's got his

4 name wrong, right?

5       A. Right.

6       Q. Okay. And he says: Thank you very much for

7 your attention and reply. Yes, he "seemingly" has many

8 credentials. But do you know that from any other source

9 than he himself? I really hope he's genuine and that

10 I'm just being paranoid and wasting your time. But have
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11 you tried looking him up in Google as I have? I don't

12 know, but doubt whether hat it would make a difference

13 that I'm in the UK. But I use Google as worldwide. I

14 find no trace of him except in connection with his

15 current activities on Sandy Hook. For example, I cannot

16 find him on the list that exists of expert witnesses of

17 which he has categorically stated he was one concerning

18 Columbine. I cannot find any reference to him prior to

19 2012 as a school safety expert or as a school principal.

20 As a comparison, all the teachers or head teachers and

21 principals that I know can easily find prior to 2012,

22 the same for a sample of the professionals I know. I

23 tried the same sort of search for random people I do

24 know who have a much lower profile CV than Halbig and

25 get many results for them. As you know, if one is, for

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1 example, on a committee, no matter how small or local

2 and the meetings of a meet -- and the minutes of

3 a meeting are online, you'll find your name very quickly

4 on a simple name search, especially if it is an

5 uncommon. I can't find a trace of him. And he has an

6 unusual name, which should make it easier. I will look

7 again now and spend more time and try to be more

8 resourceful in finding him in any context prior to 2012.

9 If he was using a pseudonym that could explain it. But

10 why would someone looking for transparency do that.

11 What if he drags everybody along the line of "no
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 deaths," which Alex rightly didn't commit
                                        1011 to?  Would not
                                              of 1271

13 all the questions and doubts be illustrated to the

14 public as just another crazy conspiracy theory if it was

15 exposed that definitely there were, in fact, deaths and

16 that Halbig was a con man? Again, sorry to waste your

17 time if I have. I will look again. Best wishes,

18 Robert.

19         I've read that correctly?

20      A. Yes.

21      Q. Okay. And from what we can tell here from this

22 email, this appears bio -- you have no reason to dispute

23 that this is a genuine and accurate email that came from

24 InfoWars' files, right?

25      A. Yes.

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1       Q. Okay. Do you know if he was an expert of

2 Columbine? Do you know if that's a lie or not?

3       A. I don't know.

4       Q. Okay.

5       A. Is there a follow-up from Adan?

6       Q. I don't know. I don't know. I will answer

7 you -- I told you I wouldn't answer questions for you

8 today. I'll answer you that one. I don't know. I'd

9 love to know. Don't know.

10         During the time that InfoWars was relying on

11 Wolfgang Halbig -- that's actually -- let's establish

12 that time period if you wouldn't mind. We understand

13 that Wolf -- claims made by Wolfgang Halbig were being
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14 published on InfoWars in 2014, correct?

15      A. Yes.

16      Q. Claims made by Wolfgang Halbig were being

17 published on InfoWars in 2015, correct?

18      A. Yes.

19      Q. 2016, correct?

20      A. (No response.)

21      Q. It's what you told me about that final

22 statement video, right? Remember we talked about that

23 earlier?

24      A. Yes.

25      Q. Okay. 2017, right?

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1       A. Uh-huh.

2       Q. "Sandy Hook Vampires Exposed," correct?

3       A. Yes.

4       Q. Halbig stuff in there.

5         So during the time 2014 to 2017, when InfoWars

6 was publishing Wolfgang Halbig's claims, InfoWars had

7 received information that Halbig was directly harassing

8 the victims of the tragedy, correct?

9              MR. REEVES: Objection; form.

10      A. Is there a document that you're referring to?

11      Q. (By Mr. Bankston) I want to know what you know

12 about it.

13         Do you know if the company was aware that

14 Wolfgang Halbig was harassing people -- directly
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 harassing people anywhere between1013
                                     2014ofand 2017?
                                            1271

16      A. No.

17      Q. You don't know, right? Okay.

18            (Exhibit 18 introduced)

19      Q. (By Mr. Bankston) I want to show you what I

20 have marked as Exhibit 18. Do you see at the bottom of

21 that page there is a Bates number that says

22 FSSTX-039550, correct?

23      A. Yes.

24      Q. Alright. Now, we can see this is an email from

25 Wolfgang Halbig, right?

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1       A. Yes.

2       Q. Okay. Do you know why InfoWars has this email?

3       A. May I read the email?

4       Q. Yeah, go ahead and read the whole email and

5 we'll talk about it.

6       A. Okay.

7       Q. Okay. So first of all, how do you -- how does

8 the company feel about this email?

9             MR. REEVES: Objection; form.

10            MR. BANKSTON: What's your objection?

11            MR. REEVES: Vague. How does the company

12 feel? A company has feelings?

13            MR. BANKSTON: Sure. How does it feel? No

14 problem. That's good.

15      Q. (By Mr. Bankston) Yeah, how does the company

16 feel about this email?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    A. Mr. Halbig is asking -- it seems to be concern

18 for the well-being of this child.

19      Q. Thank you, Ms. Karpova.

20        Let me actually -- I want to read this email

21 into the record so we can talk about it. Okay.

22        Mr. Halbig writes: Michelle, How could you and

23 your husband as responsible parents even allow your

24 precious child Josephine to attend that filthy and

25 deplorable looking school on December 14, 2012? The

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1 school, as you must know, is and was a toxic waste dump

2 as reported by the environmental consultants who

3 requested more money from city of Newtown leaders for

4 demolishing the school and transporting all the high

5 levels of lead paint, high levels asbestos and

6 especially the high levels of PCPs and the ground water

7 at Sandy Hook out of state. Josephine, your child

8 should have expected more from you before that tragic

9 day as a parent. You were supposed to protect her from

10 serious lifelong health risks when you send her to that

11 school every day. Why would you as a parent and all

12 those other parents who supposedly lost a child to gun

13 fire allow their children as you did to serious toxic

14 waste. This all unfolded before the first shot at that

15 school even occurred. Did you not see the filth and

16 deplorable conditions when you went to that school, or

17 are you blind? I do not understand unless you explain
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 it to me and the world why you and 1015
                                      your husband
                                           of 1271 failed

19 Josephine, who is a nonverbal child as you stated and

20 depended on you for her safety. She needed you to

21 protect her from all the serious health risks that you

22 sentenced her to on a daily basis. Now you talk about

23 school security. You have got to be joking. You have

24 all these experts on your staff who are now part of your

25 conspiracy. They should be ashamed of their actions in

  UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT              205



1 supporting you. A mom puts her own child at risk on a

2 daily basis now the -- is now the expert on school

3 security? I look forward to meeting you one day when I

4 can take your deposition, not about the shooting, but

5 why you and your husband failed Josephine by sending her

6 to the filthy and deplorable school with all that toxic

7 waste. We call this child endangerment when you know of

8 the danger that you expose your child to serious

9 lifelong risks. We must -- you must know -- have known

10 without a doubt because the pictures do not L-I, which I

11 assume is lie. You put her life in serious risk every

12 day knowing how filthy and deplorable that school is. I

13 am enclosing photos that you must recognize since you

14 took your child to school. And having a child in

15 special needs, you would expect a school environment and

16 school climate that allows children to learn and

17 teachers to tech, which I believe is teach, right?

18 Please explain to me, if you can, why a school

19 principal, Don Hochspring [sic], would allow her school
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 to be so filthy and deplorable looking. There is not

21 one female elementary school principal in the country

22 that would allow her school to be that filthy and

23 deplorable both inside and outside and most of all allow

24 her school to become a toxic waste dump, placing every

25 child and their school staff in serious lifelong health

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1 risk, right? All the pictures are taken by the major

2 crime squad from the Connecticut State Police. Please

3 respond since you are now the expert on school security.

4 Wolfgang W. Halbig, www.sandyhookjustice.com.

5         I read that correctly?

6       A. That's one of the interpretations? I mean, the

7 inflections that you put on the email could be read in a

8 completely entirely different way.

9       Q. A lot of different ways, right?

10      A. Right.

11             (Discussion off the record)

12             (Exhibit 19 introduced)

13      Q. (By Mr. Bankston) Ma'am, I've put in front of

14 you what I've marked as Exhibit 19. We're going to read

15 that together.

16         Do you see at the bottom it says FSXTX [sic]

17 dash 051348?

18      A. Yes.

19      Q. Okay. So I'm going to go from the top here.

20         This is an email from Wolfgang Halbig, correct?
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21    A. Correct.                   1017 of 1271

22      Q. And it's to a lot of people, right?

23      A. Yes.

24      Q. Okay. Do you see -- and I may have to try to

25 help you point on my document.

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1         Do you see about right in here, do you see some

2 InfoWars email addresses?

3       A. Yes.

4       Q. Do you see where it says Nico --

5       A. Yes.

6       Q. -- and all that? Yeah. Okay.

7         Now, I want to go to the date -- well, actually

8 let's talk about the subject line. It says: Anyone

9 needing the addresses for a visit to welcome them to

10 Florida, please call. And this was a great day for me.

11 Who says that you cannot catch a big fish in Florida?

12         I read that correctly?

13      A. The words are correct.

14      Q. Okay. The date is March 21, 2017, correct?

15      A. Yes.

16      Q. This is one month before InfoWars aired the

17 April 22, 2017 video "Sandy Hook Vampires Exposed,"

18 correct?

19      A. Correct.

20      Q. And that's the video we just talked about that

21 airs claims by Wolfgang Halbig, correct?

22      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    Q. Okay. So I'm going to read you this email, and

24 we'll read along together. Let me try to be little more

25 flat in my affect too.

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1         Nick and Laura Phelps did a great job acting in

2 Newtown, Connecticut on December 14, 2012. I visited

3 their home today at 1924 Westover Reserve Boulevard,

4 Windermere, Florida, 34786, thanks to Lieutenant

5 Vangehle telling me during my wellness check of Nick and

6 Laura Phelps, that they no longer live in Newton,

7 Connecticut and they are now Richard and Jennifer

8 Sexton. Guess what? He is totally right. And can you

9 believe it, that my Newton Police Department guided me

10 in the right direction. They have a beautiful home with

11 a three-car garage. They were not home today, but the

12 good news was that the three adult females, moms with

13 their children standing outside their homes, observed me

14 and wanted to know what I was doing. It is spring break

15 for Orange County Florida school children. I showed

16 them this picture and told them that I did not want to

17 go to the wrong house to surprise Nick and Laura from

18 Newton, Connecticut, a/k/a Richard and Jennifer Sexton,

19 today. It took a few minutes for them to look at the

20 pictures, and then they asked why I wanted to speak to

21 them. I told them that I have been in Newton and wanted

22 to surprise them since they now live in Florida. They

23 asked for my name, which I gave them as Wolfgang W.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 Halbig. They told me how I knew them,
                                     1019and  I told them
                                          of 1271

25 that they had been on the national news and so I wanted

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1 to meet them again. Our conversation was all about

2 Newton, Connecticut. So she said do you mind if I text

3 her. I said absolutely not. I waited about 10 minutes

4 only to learn that they did not know me, which surprised

5 me. They verified the pictures and why she would text

6 them about Newtown, Connecticut and that someone from

7 there wanted to visit if they were not -- if they

8 were -- if they where not Nick and Laura Phelps, now

9 Richard and Jennifer Sexton. At first I did not want to

10 enter since it is a gated community, but several people

11 told me just to go on in there, is no security guard at

12 the gates. If there is CCTV, they will see me being

13 told to go in, and that is the only reason or I would

14 have not entered -- or I would not have entered. Now

15 who says that law enforcement does not know what they

16 are doing? Thank you, Connecticut Police Department.

17        Have I read that accurately?

18      A. The words, yes.

19      Q. Okay. Can you -- was that -- can you give me

20 some guidance on how I should do the inflection for the

21 future?

22      A. Just regular text. Not pretending to be some

23 kind of movie character or a 13-year-old teenager

24 arguing with his brother.

25      Q. Okay. I tried to do it as robotically as
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1 possible.

2       A. Not robotically, just real (cross-talk)

3 conversation.

4       Q. Okay.

5       A. I can read it for you if you want me to.

6       Q. No, that's okay. I want you to flip the

7 page over. Do you see that?

8       A. Yes.

9       Q. Read that part for me, the big white part at

10 the top.

11      A. Sandy Hook hoax actors.

12      Q. What does it say at the bottom?

13      A. Playing the part of the grief stricken parents.

14      Q. How does the company feel about this email?

15      A. I have no feelings on this email. Wolfgang

16 Halbig did his own investigation.

17      Q. That email doesn't creep you out, you

18 personally?

19             MR. REEVES: Objection; form.

20      A. It creeps me out the way you're reading it,

21 yes.

22      Q. (By Mr. Bankston) It doesn't creep you out to

23 have Wolfgang Halbig showing up at these people's houses

24 and describing their three-car garage and all that

25 stuff, accusing them of being people they're not

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1 actually are? That doesn't -- that doesn't have any --

2 don't have any strong feelings one way or the other on

3 that?

4             MR. REEVES: Objection; form.

5       A. (No response.)

6       Q. (By Mr. Bankston) Correct?

7       A. Are you asking my personal opinion?

8       Q. Yeah, your personal opinion.

9       A. It strikes me as an impassioned man who is

10 doing an investigation of something he believes in his

11 own heart and he wants to get to the bottom of.

12      Q. Thank you, Ms. Karpova.

13            (Discussion off the record)

14            (Exhibit 20 introduced)

15      Q. (By Mr. Bankston) I'm going to throw you in

16 front of -- put this document I'm putting in front of

17 you now I'm marking at Exhibit 20. Let me see if I can

18 read this one any better. We're looking at Free Speech

19 Systems Texas-053016. Is that correct?

20      A. Yes.

21      Q. It's written by Wolfgang Halbig?

22      A. Yes.

23      Q. Okay. The first person it is to is to Lenny

24 Pozner?

25      A. Yes.

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1       Q. Okay. I'm going to read you this email.
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2       Actually, let's -- if you'd flip the page for

3 me.

4       A. (Witness complies.)

5       Q. And do you see how there's some more from

6 Wolfgang Halbig right there?

7       A. Yes.

8       Q. Okay. So I want you to flip back and you'll

9 see at the bottom email it says from Wolfgang Halbig.

10      A. Yes.

11      Q. And again, there's a bunch of other people he's

12 sending this to?

13      A. Yes.

14      Q. Okay. And then if we flip over onto the back,

15 I can read this. Okay?

16         And the subject says: Forward, clear no wires

17 helicopter view.

18      A. Yes.

19      Q. The email says the shadow shows an 11:45 a.m.

20 time period, just do not know the date, question mark?

21      A. Yes.

22      Q. And then it says flag at half mask, who ordered

23 that, question mark?

24      A. Yes.

25      Q. Only the governor can do that and he has not

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1 even addressed the national news media, correct?

2       A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. Okay. Turn the email over. 1023 of 1271

4         Do you see there's another email from Lenny

5 Pozner right after that?

6       A. Yes.

7       Q. I'm going to go ahead and do inflection on this

8 because he's my client and I know he said this when he

9 said it. It says can you please go fishing or play

10 bingo?

11         That's what it says on the page?

12      A. Yes.

13      Q. Okay. And the next email it says: Pozner, I

14 love this picture, don't you? This is not December 14,

15 2012. So what date did they practice for killing 20

16 children and 6 school staff members? Practice makes

17 perfect they say. What is the name of the police

18 officer who shot all those people inside the school on

19 December 14, 2012? Dr. Wayne Carver has already been

20 onsite, so was Manfradonia, who was arrested that day

21 and let go. No yellow warning tape on that huge

22 sinkhole. And when Rosen gets interviewed on that

23 December 14, 2012, there is a yellow emergency tape

24 around the sink hole. Only television magic can make

25 that happen. Wolfgang.

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1         I read that email correctly?

2       A. Yes.

3       Q. This is something that InfoWars had in its

4 corporate files, correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5     A. Yes.

6       Q. And, in fact, if you look at the last email

7 address at the top of the page, it says

8 robd@infowars.com, correct?

9       A. Yes.

10      Q. One of the other emails you'll see in the last

11 line of the to list is npattis@pattislaw.com, correct?

12 On the to line at the top of the page, the last line of

13 the to line. Do you see npattis@pattislaw.com?

14      A. Yes.

15      Q. That's the company's lawyer, correct?

16      A. Yes.

17      Q. Was that the company's lawyer at the time?

18      A. I don't know.

19      Q. Okay.

20             (Discussion off the record)

21      Q. (By Mr. Bankston) So I'm --

22      A. I can -- I just want to clarify. These kinds

23 of emails that are being sent to people is something

24 that Halbig sends on a regular basis and they are not

25 read by people or staff.

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1       Q. Okay. So the source that you were relying on

2 a month later, the emails he's sending to the company,

3 were ignored, correct?

4       A. Well, we have a lot of emails. But in the ones

5 that have this many addresses in the to lines and cc
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6 usually go to spam. So they're not even
                                      1025noticed.
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7       Q. You don't know that that went to spam. You

8 don't know that, right?

9       A. I know that these types of emails go to spam.

10 They were -- they weren't addressed to just one specific

11 person.

12      Q. So if I have an email with all those to's on it

13 and it's replied to by InfoWars people, that would be

14 kind of inconsistent with that, wouldn't it?

15      A. If they were replied to by an InfoWars person,

16 yes, but this person isn't replied to by an InfoWars

17 person.

18      Q. Right.

19         But we know they're not going to spam because

20 y'all regularly communicate with Wolfgang Halbig when he

21 does this, right? Do you agree with it or do you not

22 agree with that?

23      A. No, because the email that is responded to is

24 addressed to specific people.

25      Q. I'm not asking about that email. I'm asking

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1 when InfoWars communicates as regularly communicated

2 with Wolfgang Halbig on emails that copy a ton of people

3 like that. That's something that's happened quite a bit

4 at InfoWars, correct?

5       A. I haven't seen that.

6       Q. Okay. So in terms of trying to get acquainted

7 with the documents that the company has produced today,
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8 you didn't see any of those documents, right?

9       A. InfoWars personnel -- a specific person from

10 InfoWars is responding to a mass email like this.

11      Q. Uh-huh.

12      A. I do not seeing that.

13      Q. Okay. Let's talk about really quick -- oh,

14 man, there it is.

15             MR. BANKSTON: Can you tell me how much

16 time we've used?

17             THE VIDEOGRAPHER: Yeah, one second.

18             A little over 4 hours.

19             MR. BANKSTON: Okay.

20      Q. (By Mr. Bankston) Okay. One of the things

21 you're supposed to testify today about is the company's

22 knowledge of the plaintiffs, correct?

23      A. Yes.

24      Q. Okay. The company knew about Leonard Pozner

25 within weeks of the shooting, correct? Let's go through

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1 it. Withdraw the question. Back up.

2          Have you seen the email Leonard Pozner wrote to

3 the company weeks after the shooting? Have you seen it?

4       A. I don't have the recollection of it.

5       Q. So in terms of trying to get up to speed on the

6 company's knowledge of the plaintiffs in terms of

7 complaints that Leonard Pozner may have made to

8 InfoWars, you haven't seen those, have you?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     A. I haven't seen the email you're1027
                                         talking  about.
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10      Q. Right. Yeah.

11         You know that both Paul Watson and Alex Jones,

12 like, worked on responses to send to Leonard Pozner?

13 Have you seen those?

14      A. I've seen, like I said, a lot of documents.

15      Q. I'm not asking you --

16      A. (Cross-talk.)

17      Q. So that what I'm asking you.

18         When you got prepared to talk to me about the

19 company's knowledge of the plaintiffs, you haven't even

20 seen the correspondence that InfoWars has had with that

21 plaintiff, right?

22      A. I have not.

23      Q. You don't deny Mr. Pozner complained to

24 InfoWars about its coverage within weeks of the

25 shooting, right? You do acknowledge that. The company

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1 acknowledges that. The company has that knowledge. Or

2 do you not know if the company has that knowledge?

3       A. I don't have specific dates of his complaints.

4       Q. So you can't tell me today if in 2013 the

5 company knew who Leonard Pozner was. You can't tell me

6 that.

7       A. The company had knowledge of Lenny Pozner, yes.

8       Q. I want to show you something.

9         You understand that the company produced

10 documents from its own corporate files, right?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11    A. Yes.

12      Q. Okay. And you understand that some of those

13 document requests asked for documents about my clients,

14 right?

15      A. Yes.

16      Q. Do you know who my clients are? Can you name

17 them? I have four clients. Do you know who they are?

18 Yeah, it's on the notice. I know -- from memory, you

19 don't. You've got to pull this up, right?

20      A. Yes.

21      Q. Okay. So now you can see it, right? It's on

22 that. Okay.

23          So you understand that InfoWars produced

24 documents about each of those four clients.

25      A. Yes.

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1       Q. Are you generally familiar with what documents

2 they produced as it relates specifically to those four

3 clients or what InfoWars' knowledge is? It's not a lot.

4       A. Yes.

5       Q. Okay. Do you see --

6       A. Cursory knowledge of Leonard Pozner and no

7 knowledge of the other people.

8       Q. Okay. So you do know that documents were

9 produced that relate to Leonard Pozner. I was given

10 specific documents that relate specifically to Leonard

11 Pozner. Do you understand that?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    A. I don't have a list of specific documents  for
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13 you right now, yes.

14      Q. Okay. Actually, when I say InfoWars produced

15 documents, that's not accurate. InfoWars produced a

16 document to me very, very recently --

17      A. Okay.

18      Q. -- okay, about Leonard Pozner.

19         Have you ever seen that? Have you seen that

20 before today?

21      A. No, I have not.

22      Q. Okay. So in terms of the document, a single

23 document that was recently produced to me about Leonard

24 Pozner, you've never seen.

25      A. If this is the single document you're talking

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1 about.

2       Q. That's it. Uh-huh.

3       A. No.

4       Q. Okay. Do you see where it says FSXTX [sic]

5 dash 8085544?

6       A. Yes.

7       Q. Okay. You don't know what this is, do you? If

8 I wanted to ask you what is this, you couldn't tell me.

9       A. It looks like a background information.

10      Q. Right. I mean, I can figure that out, right?

11 Like, we can look at the top at the table of contents

12 right here, and it says for license investigator

13 purposes only. Do you see where it says that?
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14    A. Yes.

15      Q. And then do you see where it says Leonard

16 Pozner comprehensive report?

17      A. Yes.

18      Q. Do you see where it has all these entries about

19 all this information about Leonard Pozner?

20      A. Yes.

21      Q. This is a lot of knowledge that the company has

22 in its possession concerning Leonard Pozner. You'd

23 agree with that?

24      A. Yes.

25      Q. And some of the information that the company

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1 has about Leonard Pozner in its knowledge include his

2 possible relatives, right? Do you see that down near

3 the bottom of the list?

4       A. Yes.

5       Q. And possible likely associates and possible

6 associates, right?

7       A. Yes.

8       Q. Okay. And, like, for instance, if we go to --

9 do you see where it says page 66 for possible relatives?

10 Can you flip to page 66 in that document for me?

11      A. (Witness complies.)

12      Q. This is a bunch of people's personal

13 information, isn't it?

14      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    Q. And you can't tell me why the1031
                                       company  has this,
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16 can you?

17      A. I don't know.

18      Q. So when it comes to testifying about the

19 company's knowledge of Leonard Pozner, which you can now

20 see, it is extremely extensive, you're not prepared to

21 testify about that today, right?

22             MR. REEVES: Objection; form.

23      A. Well, the company was asked for the knowledge

24 of the plaintiffs.

25      Q. (By Mr. Bankston) Uh-huh. Lenny Pozner is a

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1 plaintiff, right?

2       A. This is what they produced about the knowledge

3 of the plaintiff.

4       Q. Right. I understand that. I asked for a

5 request for production of documents. Then I asked for

6 your testimony. Part of the reason I asked for your

7 testimony and the knowledge of the plaintiffs is because

8 you produced to me -- your company produced to me

9 187 comprehensive background report on Leonard Pozner

10 and I wanted to know why. And I wanted to ask questions

11 about that document. I wanted to know what was inside

12 of it. I wanted to know the information that the

13 company had and what they did with it. You can't answer

14 any of that, can you?

15      A. Well, this is -- just looks like a typical,

16 like, investigation report done on a person.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    Q. You have no idea where it comes from, do you,

18 Ms. Karpova? None, right?

19       A. This is a document that you were provided by

20 the company.

21       Q. Yeah.

22          Where did the company get it? Do you know?

23       A. (No response.)

24       Q. So -- so you don't know, correct?

25       A. Are you talking about specific people? No.

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1 I --

2        Q. You have no -- let's make this really clear.

3          You have zero knowledge about this document,

4 none whatsoever, correct?

5        A. Not other than it's being an investigation

6 report on Leonard Pozner.

7        Q. Which you have seen now --

8        A. Back -- background -- background information.

9        Q. Which you have now seen for the very first

10 time, correct?

11       A. Yes.

12       Q. Okay. What about Scarlett Lewis, do you know

13 what the company has in terms of information about

14 Scarlett Lewis?

15       A. No.

16       Q. Do you know what information the company has

17 about Neil Heslin?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    A. No.                        1033 of 1271

19      Q. Do you know what information it has about

20 Veronique De La Rosa?

21      A. No.

22      Q. Okay. And let me make sure I'm clear about

23 this. When you say you, that's you personally, Daria

24 Karpova don't know. So in other words the answer to the

25 question on the company is you Daria Karpova don't know

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1 what information the company has on any of those people.

2       A. No, the company doesn't have information on any

3 of those people, other than the documents that have been

4 provided to you.

5       Q. Okay. So that's what I'm asking you. What

6 does the company know? Do you know what the company

7 knows about Ver --

8       A. This is the document that was provided for

9 you -- to you.

10      Q. Okay. That was provided to me in response to

11 requests for Leonard Pozner.

12      A. Right.

13      Q. I'm asking you about Neil Heslin?

14      A. No other information on other plaintiffs, the

15 company does not have.

16      Q. Are you sitting here and telling me today the

17 company hasn't produced documents on those folks?

18      A. No, the company has no knowledge.

19      Q. Really? Okay.
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20       So InfoWars' employees weren't researching

21 materials about Mr. Heslin?

22      A. There are -- there's no records of any

23 employees researching things like that that --

24      Q. Yeah, there are. Unfortunately for you,

25 Ms. Karpova, there definitely are.

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1         Let's just -- I'm moving off of this topic

2 because there's -- obviously nothing is going to be

3 accomplished here and we're running out of time.

4          What did you do to determine the total

5 audience reach of the videos in plaintiffs' petition?

6 What did you do?

7       A. There's -- there's no way of finding out the

8 total reach of the audience because the YouTube channel

9 was deplatformed, as well as other media that the videos

10 could have been posted on. We have a view count on

11 videos on banned.video. But that just tells you how

12 many times the vide was watched, how many people watched

13 it. In terms of videos being shared by other people,

14 there's no -- there's no way of figuring out what the

15 reach for that is.

16      Q. How many -- InfoWars is currently broadcast on

17 over 200 radio stations, correct?

18      A. Around there.

19      Q. Okay. What did you do to go find out their

20 viewership and audience for those dates?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    A. There would be no information.
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22      Q. How do you know that? Who did you ask? Have

23 you gone to -- let me back this up.

24         How many of those radio stations did you make

25 requests to?

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1       A. I didn't.

2       Q. Okay. Did you do anything to figure out what

3 those radio stations audienceship was at the time those

4 videos were broadcast?

5       A. No.

6       Q. Okay. At the time of the videos described in

7 the plaintiffs' lawsuit, how many over-the-air

8 television stations from 2013 to 2018?

9       A. I don't have the exact number.

10      Q. So if I wanted to establish what the audience

11 reach was of over-the-air television broadcast of

12 InfoWars, you can't help me with that because you don't

13 even know how many there are in terms of over-the-air

14 television, right?

15      A. Well, the topics asked for specific videos and

16 the reach of those videos.

17      Q. Uh-huh.

18         And those videos were broadcast on over-the-air

19 television, right?

20      A. I would say during -- well, not necessarily.

21 Some of the videos could have been posted as standalone

22 videos.
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23    Q. A lot of coulds in this room. We don't know,

24 do we? Right?

25         So we know -- one thing we do know is at least

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1 some of them were broadcast over-the-air television,

2 right?

3       A. Yes.

4       Q. Okay. You didn't -- there's no way for you to

5 tell me anything about that, is there?

6       A. No.

7       Q. You didn't do anything to try to figure that

8 out, did you?

9       A. I did the best I could.

10      Q. How many cable packages was InfoWars carried on

11 between 2013 to 2019?

12      A. That wasn't part of the questions. I could

13 have found -- found that information for you from an

14 affiliate relation person.

15      Q. Part of InfoWars audience reach is the people

16 that it reaches over cable packages, right?

17               MR. REEVES: Objection; form.

18      Q. (By Mr. Bankston) Isn't that true?

19      A. That is a very specific question pertaining to

20 a department, a particular department that would need to

21 be --

22      Q. And you didn't go do that?

23      A. No. That wasn't in the scope of the questions.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    Q. So in terms of the audience reach
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                                           of these
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25 videos that was reached on any cable packages, you don't

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1 have any information on that for me today?

2       A. No.

3       Q. Okay. How many OTT service -- well, first of

4 all. Do you know what an OTT service is?

5       A. What is it?

6       Q. Over-the-top.

7       A. Okay.

8       Q. Over-the-top box systems.

9       A. Okay.

10      Q. Like, I think one example might be, like, Roku.

11      A. Okay.

12      Q. That would be an example of an OTT system.

13         InfoWars has frequently promoted that it's on

14 multiple OTT systems, right?

15      A. But the company would have no -- the company

16 would keep no track of those kinds of views.

17      Q. But you don't know if that information is

18 accessible, do you?

19      A. There's no information for me that.

20      Q. Well, let's fist figure out the first thing

21 that I might need if I'm going to try to figure out the

22 audience reach was, which is how many OTT packages is

23 InfoWars included on?

24      A. I would have to go back and check on that.

25      Q. So in terms of the reach -- the audience reach
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1 of the audience that was reached through those OTT

2 packages, InfoWars has no information to offer today.

3       A. Correct.

4       Q. Okay. Zero Hedge is one of the sources for

5 company Sandy Hook information.

6       A. Yes.

7       Q. Okay. You understand that in Neil Heslin's

8 defamation case, this court ordered InfoWars to respond

9 on to discovery about Zero Hedge. Do you know that?

10      A. Okay.

11      Q. Okay. Do you know that that discovery was

12 never responded to?

13      A. Okay.

14      Q. Okay. So in terms of the documents produced by

15 the company and as far the plaintiffs' discovery

16 request, the company admits that it refused to answer

17 discovery about what -- about Zero Hedge. That's true?

18      A. Well, that means we have no documents for that.

19      Q. I don't think that's what that means. Alright?

20 And I think -- I think if you want to say that's what

21 that means, it would actually be answering the question

22 and saying we have no documents.

23         But you understand that InfoWars never answered

24 those requests. Did you know that?

25            MR. REEVES: Objection; form.

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1       Q. (By Mr. Bankston) Were you aware of that?

2       A. The company did the best to provide all the

3 documents requested. And we have provided hundreds of

4 thousands of pieces of documents.

5       Q. So the best the company can do is -- you take

6 it that not answering the questions themselves is the

7 best the company can do?

8       A. The company did their best.

9       Q. The same deal with ibankcoin.com. That's a

10 source for InfoWars Sandy Hook video, isn't it?

11      A. Uh-huh.

12      Q. Okay.

13      A. Yes.

14      Q. No discovery has ever been answered on

15 iBankCoin, right?

16      A. The company doesn't have any information.

17      Q. I highly doubt that, Mr. Karpova.

18            MR. REEVES: Objection; form.

19      Q. (By Mr. Bankston) One of the articles that was

20 relied on for Owen Shroyer's video about Mr. Heslin in

21 June of 2017 is an iBankCoin article, right?

22      A. Alex Jones, as well as Owen, who does multiple

23 articles from websites.

24      Q. And do you think there's nothing in InfoWars'

25 files relating to ibank.coin [sic]? Is that your

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1 testimony today?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2     A. Define InfoWars' files.

3       Q. Do you know what I mean when I say InfoWars'

4 files? Do you not know what I mean -- is what --

5 InfoWars maintains files, right?

6       A. Correct.

7       Q. Right. So it has documents.

8       A. Emails.

9       Q. Sure.

10      A. Videos.

11      Q. All sorts of things. Pamphlets, star charts,

12 runes, block chains, diagrams, pictures. All sorts of

13 things are at InfoWars' corporate files. And there are

14 some in -- on ibankcoin.com in InfoWars' files, or are

15 you saying there's not?

16      A. That were produced (indiscernible).

17      Q. Okay. You know who Dr. Wayne Carver is, right?

18      A. The name sounds familiar.

19      Q. Alright. That's in -- also in Owen Shroyer's

20 video. Did you watch Owen Shroyer's video about

21 Mr. Heslin?

22      A. I have, yes.

23      Q. Okay. Is that one that you watched in the

24 break or did you watch that before?

25      A. I've watched it before.

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1       Q. Okay. And Dr. Wayne Carver's a medical

2 examiner in Sandy Hook. The company has documents on
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 him, doesn't it?                 1041 of 1271

4       A. All the documents that we have we have

5 produced.

6       Q. You know Corey Skalanka is, right?

7       A. No.

8       Q. Okay. Corey Skalanka is an associate of

9 Wolfgang Halbig who is a codefendant with InfoWars in

10 the Lafferty suit. Does that refresh your memory on who

11 Corey Skalanka is now?

12      A. No, not really.

13      Q. Okay. You would admit being a co-defendant

14 with Corey Skalanka in the Lafferty suit, the company

15 possesses documents about Corey Skalanka, correct?

16               MR. REEVES: Objection; form. Nothing to

17 do with the Texas cases here.

18               MR. BANKSTON: It has to do with the

19 documents produced in response to our discovery request

20 and our discovery request for Corey Skalanka, which you

21 would know if you ever answered me.

22               I mean, Brad, this is the most

23 disrespectful deposition I've ever been in. We've been

24 in two depositions where you presented the same -- your

25 company presented the same kind of deponent who didn't

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1 know anything about what was being on these topics. And

2 now for you to come in and to object to topics about I'm

3 asking about documents produced in my discovery request

4 and you tell me Corey Skalanka isn't responsive to this
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5 case -- both of y'all need to get up to speed on what

6 this case is about.

7            MR. REEVES: Excuse me. First of all. I

8 am objecting on the basis of you asking about the

9 Connecticut litigation. I'm not ask -- I'm not saying

10 you have any -- I'm not objecting to you asking any

11 questions about your discovery requests.

12           Second of all, no one is trying to be

13 disrespectful here. She's doing her best job. And I

14 don't care whether you think she isn't or not, and I

15 don't really care what your personal opinions are on her

16 or not. If you have a problem with it, which I'm sure

17 you -- you obviously do, you're going to try to do

18 something about it.

19           MR. BANKSTON: And you know I'm going to,

20 Brad.

21           MR. REEVES: And I -- and I want you to

22 maintain for the record that every one here has been

23 working as hard as they can to actually get you answers

24 that you want. And I'm sorry that out of the hundreds

25 and thousands of pages of documents that you're asking

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1 about specific ones that she doesn't have the exact

2 answer to.

3            MR. BANKSTON: You haven't produced

4 hundreds of thousands of pages.

5            MR. REEVES: Okay, man. You know what?
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6           MR. BANKSTON: You haven't  even
                                    1043     answered
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7 discovery, Brad. So if you're going to sit here and

8 lecture me --

9            MR. REEVES: I would like you to show me

10 the ones you're saying have not been responded to.

11            MR. BANKSTON: What's that?

12            MR. REEVES: Which ones are you saying have

13 not been responded to?

14            MR. BANKSTON: You haven't responded to the

15 Pozner discovery in any shape or form.

16            MR. REEVES: Have I been compelled by a

17 court order to actually respond to those documents?

18 Because I got defaulted, but I haven't actually seen a

19 motion to compel on it.

20            MR. BANKSTON: Right. And I'm proving all

21 that up right now.

22            MR. REEVES: I understand that. But I'm

23 unclear on if I'm defaulted on it and -- I'm unclear of

24 the obligations to actually supplement it. But if

25 you -- if you to want to ask me to do that, then I'll do

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1 that for you.

2            MR. BANKSTON: I'm not asking that at all.

3 I'm asking her directly, that they haven't produced me

4 documents to my discovery request. And I want them to

5 admit that they refuse to answer them. And you've just

6 kept interrupting me about it.

7            MR. REEVES: Okay. Well, I'm sorry. I
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8 didn't mean to interrupt you. I apologize. That's not

9 my intent. And I will --

10            Go ahead and answer the question to the

11 extent you can, please.

12      Q. (By Mr. Bankston) Alright. The company does

13 possess documents about Corey Skalanka that would have

14 been responsive to plaintiffs' discovery request and

15 they refused to provide them, correct?

16      A. That's not correct. The company has provided

17 all the information they have.

18      Q. That's --

19            MR. BANKSTON: Brad, do you want to warn

20 your witness, or do you need to consult with her

21 outdoor -- outside or something? Because that's --

22 that's not a true -- that's a false answer and I don't

23 want to get into that area. I need an answers to this

24 question, and I -- that's, like, I don't know if you

25 want to go talk to her or something. I'm trying to make

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1 this easy for you.

2            MR. REEVES: Let's take a minute and let me

3 confer with her and then come back to it.

4            MR. BANKSTON: Tell you what. Let's put

5 that question at the pin at the end because I really --

6 I wanted to get out of here at 5:30 for these people.

7 And I -- the latest we can stay is 6:00, and that's till

8 not going to give me enough time. But let me get to the
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9 rest of these questions. And then if you
                                       1045-- of
                                               let1271
                                                   me have

10 you confer with her so I can ask her that question at

11 the end.

12      Q. (By Mr. Bankston) You're aware of a film that

13 the company hosted about Mr. Pozner called "We Need to

14 Talk About Sandy Hook"? Do you know what that film is?

15      A. No.

16      Q. Okay. Do you know who Independent Media

17 Solidarity Group is?

18      A. No.

19      Q. Okay. The company is aware of other parents

20 who lost children at Sandy Hook besides my four clients,

21 correct?

22      A. I don't have a document listing their names.

23      Q. Right.

24         But you know there's other parents, right?

25      A. Yes.

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1       Q. Okay. The company possesses documents about

2 some of those parents?

3       A. Again, the answer's the same. The company did

4 the best -- their best to provide the documents they had

5 in response to discovery.

6       Q. So in terms of whether InfoWars has been

7 requested to produce documents about other parents than

8 the Pozner case, you wouldn't know whether those

9 documents have been produced or not, right?

10      A. Again, the answer's the same.
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11    Q. Okay.

12               (Discussion off the record)

13               MR. BANKSTON: Brad, this is an Excel

14 spreadsheet you produced to me.

15               MR. REEVES: Okay.

16               MR. BANKSTON: I printed it as a PDF.

17               MR. REEVES: Alright.

18               MR. BANKSTON: I have made two alterations

19 to the document, which I think will be for your benefit,

20 I have confidential attorneys eyes only at the top.

21               MR. REEVES: Okay.

22               MR. BANKSTON: I have labeled the Bates

23 number of this spreadsheet. And I have added a 001

24 through page numbers on it too just to make it easier

25 for us to work with.

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1       Q. (By Mr. Bankston) Are you familiar with the

2 documents produced by the company in response to the

3 plaintiffs' request regarding revenue data for the

4 company?

5       A. No.

6       Q. Okay. I don't even know why I'm showing you

7 this, but whatever.

8             (Exhibit 21 introduced)

9       Q. (By Mr. Bankston) I'm going to show you what

10 I've marked Exhibit 21. This is marked as FSXTX [sic]

11 dash 086589. Do you see that?
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12    A. Yes.                       1047 of 1271

13      Q. Okay. So you've never seen this document

14 before, right?

15      A. No.

16      Q. Okay. I was produced this? It's not labeled

17 on anything. But from what it looks to me, that's what

18 it is. As you'll see, there is a date column, right?

19      A. Right.

20      Q. There's some orders, right?

21      A. Yes.

22      Q. Sales items, correct?

23      A. Yes.

24      Q. Sales total?

25      A. Yes.

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1       Q. Invoiced?

2       A. Yes.

3       Q. Refunded?

4       A. Yes.

5       Q. Sales tax?

6       A. Yes.

7       Q. Sales shipping?

8       A. Yes.

9       Q. Sales discount?

10      A. Yes.

11      Q. Canceled?

12      A. Yes.

13      Q. Okay. My assumption would be that this
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 document is providing sales revenue information,

15 statistics from the infowars.com store. Do you know if

16 that's accurate?

17      A. Yes.

18      Q. Okay. Can you flip to the last page for me,

19 which actually would be on the back of the last page.

20 You can just turn the document around.

21          Do you see how there's a column that says

22 total?

23      A. Yes.

24      Q. Okay. So this document reflects that during

25 the period of this document, that the total amount of

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          240



1 sales revenue from InfoWars and the infowars.com store

2 is $165,237,014.62, correct?

3       A. Yes.

4             (Discussion off the record)

5             (Exhibit 22 introduced)

6       Q. (By Mr. Bankston) I'm showing you what I've

7 marked as Exhibit 22. Have you ever seen that document?

8       A. I have not.

9       Q. Okay. It says here amazon services, seller

10 central. Am I correct that InfoWars sells products on

11 Amazon?

12      A. Yes.

13      Q. Can you flip to me to the page labeled -- and

14 its -- look at the Bates number, the red number down
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 here at the bottom. Can you go to 575?
                                      1049 Alright.
                                           of 1271 This

16 document which is labeled FSSTX-086575. Is that

17 correct?

18      A. Yes.

19      Q. Okay. This document appears to me to reflect

20 that InfoWars made $1,355,664.30 in revenue from Amazon

21 and paid $421,973.69 in expenses. Is that correct?

22      A. It appears so from this document, yes.

23      Q. Okay. Would that be consistent with your

24 understanding, that InfoWars is doing about a million

25 dollars a year in sales every year on Amazon right now?

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1       A. No. From my understanding, that Amazon

2 account -- I don't have that information.

3       Q. Okay. InfoWars sells things on eBay too?

4       A. I don't know about that.

5       Q. Okay. When was the date -- I'm talking about

6 now efforts the company made to preserve evidence in

7 this case. Do you know when the first litigation hold

8 letter was sent out to InfoWars' employees?

9       A. There was a letter sent out, yes.

10      Q. Do you know when the first litigation letter

11 was --

12      A. I don't have -- oh, the date?

13      Q. Yeah, when it happened.

14      A. I don't know.

15      Q. Do you know who sent it?

16      A. Tim Fruge.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    Q. Okay. And what did that letter say? Do you

18 know?

19      A. It requested the employees to search their

20 archives for anything having to do with Sandy Hook and

21 to preserve all the documents from that point on.

22      Q. You're aware -- have you read the deposition of

23 Michael Zimmerman?

24      A. No.

25      Q. Okay. Were you aware that during

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1 Mr. Zimmerman's testimony we confirmed that in response

2 to Mr. Fruge's request to all the employees, not a

3 single employee returned a single -- not a single

4 employee returned a single document. Were you aware of

5 that?

6       A. I wasn't.

7       Q. Okay. If I was to -- it's my understanding

8 that Tim Fruge sent out this letter sometime in 2019.

9 Does that -- does that conflict with what you know, or

10 do you not know?

11      A. No, I do not know for sure. But I believe that

12 letter was sent out as soon as the request was made in

13 litigation.

14      Q. Excuse me. Say that again.

15      A. So whenever it was requested for to -- for the

16 discovery, it --

17      Q. Gotcha.
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18       Well, that would make sense because the
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19 discovery in this case was put off until spring of 2019.

20 It didn't really start in earnest until then.

21         But you understand the company had been sued

22 back in April of 2018, right?

23      A. Yes.

24      Q. So it would be fair to say that for almost a

25 year InfoWars took no action to preserve evidence from

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1 those employees.

2       A. Well, they weren't requested to.

3       Q. Really? Are you sure about that?

4       A. From my understanding.

5       Q. Are you sure?

6       A. Well, the -- as the request for discovery was

7 made.

8       Q. Let me ask you this. Has the company ever

9 received any correspondence from the plaintiffs saying

10 please preserve evidence? Do you know?

11      A. I don't have any documents on that that I

12 understand.

13      Q. Okay. So in terms of getting ready to testify

14 about efforts made to preserve documents, you have not

15 seen any correspondence from the plaintiffs or their

16 counsel asking to preserve documents.

17      A. I have not. Point number has -- point number

18 five has anything to do with efforts made by the company

19 to preserve potential evidence.
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20    Q. Right. And here's what I'm getting at,

21 Ms. Karpova, is that I want to know when the plaintiffs

22 served a request to preserve documents back in April of

23 2018, one, if you have seen it, and two, if the company

24 actually did anything. And from what I understand, you

25 didn't ever see that correspondence, right?

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1       A. I haven't.

2       Q. Okay. InfoWars LLC, is that a subsidiary of

3 Free Speech Systems?

4       A. No.

5       Q. Okay. Is that something you're stating from

6 something that you know personally or something somebody

7 told you? You don't have to tell me anybody anything

8 told you, or who told you or what that. I'm just -- is

9 that your personal knowledge, or is that something you

10 did preparing for the deposition?

11      A. That's -- both.

12      Q. Okay. Okay. So if somebody was to say that

13 InfoWars LLC is a subsidiary for Free Speech Systems,

14 they would be incorrect. You're confident of that?

15      A. Yes.

16      Q. Okay. InfoWars LLC is a holding company,

17 correct?

18      A. InfoWars LLC is -- InfoWars LLC is a

19 single-member company owned.

20      Q. I'm not asking how many people own it or how
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 many members there are. I'm asking is it of
                                    1053    a holding
                                               1271

22 company. Back up.

23        Do you know what a holding company is?

24      A. I'm not sure.

25      Q. Okay. Alright.

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1             MR. REEVES: Objection; form. I don't even

2 know anything about a holding company. So --

3             MR. BANKSTON: Well, InfoWars sure does.

4             MR. REEVES: As far as -- I don't know what

5 you're --

6             MR. BANKSTON: You put it in a pleading,

7 Brad.

8             MR. REEVES: I'm talking about what

9 you're -- what you mean by that. I'm asking what you

10 mean by that.

11            MR. BANKSTON: I want to know what InfoWars

12 means by that. And I -- I really am kind of shocked

13 because that is in the pleading. Okay.

14      Q. (By Mr. Bankston) Okay. You know who

15 Rocket.Chat is, right?

16      A. Yes.

17      Q. Okay. Is the company still using that?

18      A. Yes.

19      Q. Do you know when Rocket.Chat was searched?

20      A. No.

21      Q. Okay. Do you know when it was preserved?

22      A. No.
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23    Q. Okay. What about Yahoo Messenger, do you know

24 when that was used? Was that used during the events of

25 this lawsuit?

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1       A. No, don't know.

2       Q. Okay. What about Slack, was Slack used during

3 the events of this lawsuit, since 2013?

4       A. I'm not sure.

5       Q. Okay. Was any efforts made to preserve any

6 messaging systems like Slack?

7       A. I don't know for sure.

8       Q. Okay. What about things like Basecamp? Do you

9 know what Basecamp is?

10      A. Yes.

11      Q. Okay. Was anything done to preserve Basecamp?

12      A. I don't know any Basecamp associations with

13 InfoWars.

14      Q. Okay. Let me ask you this. Does InfoWars --

15 have they used Basecamp? Have employees used that to

16 communicate with each other?

17      A. No, not that I know of.

18      Q. Okay. Not that you know of, right?

19      A. I've never heard of Basecamp being a

20 communication platform for InfoWars employees.

21      Q. I hadn't either. And it was strange because we

22 requested -- obviously we requested and asked for it,

23 what are your communication platforms. Whatever --
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 that's a whole other story. But I recently
                                        1055 got  produced
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25 a document from Paul Watson that talks about his

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1 Basecamp communications with another employee. And I'm

2 just wondering when was Basecamp used. But you aren't

3 familiar with Basecamp?

4       A. No.

5       Q. Okay. So by the same token if were there any

6 efforts made to preserve Basecamp messages, you don't

7 know what those steps were?

8       A. No.

9       Q. Okay. When it comes to the videos that

10 were -- okay. First of all, when the company was first

11 sued in 2018, April 2018, the company possessed copies

12 of every video that it had ever made on Sandy Hook,

13 correct?

14      A. Yes, efforts were made to archive all the

15 videos requested, yeah.

16      Q. Currently InfoWars does not have access to all

17 the videos it made about Sandy Hook, correct?

18      A. The videos which were deleted?

19      Q. That you've lost.

20      A. We couldn't locate? Yes.

21      Q. Yeah. Okay.

22         What efforts were made to preserve those videos

23 before they were deleted?

24      A. The videos that were available were preserved.

25 The videos that were not -- that were not --
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1       Q. I'm talking about when you had them all, back

2 when you still had them all. From the time you were

3 sued -- let's stop for a second just to make sure you

4 understand this.

5         You understand that at the time the videos were

6 lost, when they were deleted, that was after InfoWars

7 had already been sued. Do you get that?

8       A. Okay.

9       Q. Okay. So during the period which InfoWars had

10 been sued up and to the point its videos were deleted,

11 what steps did InfoWars take to preserve those videos?

12      A. We didn't anticipate for the YouTube channel to

13 be taken off -- offline. And our archiving platform was

14 the YouTube channel.

15      Q. Okay. So in terms of what you did to preserve

16 it, the only thing you did to preserve it was just leave

17 it on YouTube, correct?

18      A. Yes.

19      Q. Okay. Alright. I do want to ask this question

20 and I'll circle back to it.

21             MR. BANKSTON: And, Brad, if after I ask

22 this you want to take your witness out and talk to her

23 before answering the question, I normally would

24 obviously not be okay with that. But in this specific

25 situation I would.

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1       Q. (By Mr. Bankston) Which is there were

2 documents requested from the company relating to Corey

3 Skalanka. InfoWars refused to provide those documents,

4 correct?

5       A. I don't know that to be the case.

6       Q. Okay. So in other words, let me -- let me put

7 it this way. You sitting here right now do not know

8 whether InfoWars produced document relating to Corey

9 Skalanka or whether it answered discovery relating to

10 Corey Skalanka, correct?

11      A. You're saying whether they refused to produce

12 documents.

13      Q. Correct.

14      A. The company has not refused to produce any

15 documents that they had.

16      Q. Okay. I mean -- you understand that if a court

17 order orders you to order -- answer discovery and it

18 never gets turned in, nobody ever answers it, you

19 understand that I could construe that as refusal, right?

20      A. It's my understanding the documents were

21 produced.

22      Q. Okay. So from your -- let's make that -- that

23 maybe is what we need to get at.

24         From your understanding, Daria Karpova, coming

25 into this deposition today, your understanding is that

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1 documents relating to Corey Skalanka have been produced.
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2     A. Again, I already said the documents that the

3 company had in possession were produced for discovery

4 purposes that were requested.

5       Q. Okay. So in other words, from what you

6 understand to be the discovery situation, there should

7 not be -- it should not exist that there are documents

8 produced in the Connecticut lawsuit about certain topics

9 that were also requested in Texas but weren't produced

10 in Texas. That situation should not exist.

11      A. Okay. Say it again, please.

12      Q. Sure.

13         Let's imagine for a second that there were

14 documents produced in Connecticut and those same

15 documents were produced in Texas but not -- were

16 requested in Texas but not produced. You're saying that

17 situation should not exist because InfoWars has produced

18 everything.

19      A. I don't know.

20      Q. Okay.

21            MR. BANKSTON: Let me take a break real

22 quick, bro.

23            THE VIDEOGRAPHER: 5:36 p.m., off record.

24            (Recess from 5:36 p.m. to 5:41 p.m.)

25            THE VIDEOGRAPHER: The time is 5:41 p.m.

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1 We are on.

2       Q. (By Mr. Bankston) Ms. Karpova, I wanted to go
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3 back to one of the things you testified1059
                                          about.  I had
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4 asked you if you had ever seen any documents in which

5 InfoWars' editorial staff was making the assertion that

6 the sources that they were relying on for Sandy Hook

7 were unreliable. And I remember you told me you don't

8 think you've seen any documents like that, right?

9       A. I'd have to look at the document.

10            (Exhibit 23 introduced)

11      Q. (By Mr. Bankston) Yes. That's what I wanted

12 to see if you had seen. So I'm going to show you this.

13 I've marked this as Exhibit 23. At the bottom corner it

14 says FSSTX-027766. Is that right?

15      A. Yes.

16      Q. Okay. And this is Paul Joseph Watson is who

17 it's from at the top, correct?

18      A. Yes.

19      Q. Buckley, that's a relative of Alex Jones,

20 correct?

21      A. Yes.

22      Q. Okay. He worked at the company?

23      A. Yes.

24      Q. He had a managerial role?

25      A. Yes.

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1       Q. Okay. Paul Watson, at this time was he the

2 head editor of InfoWars in 2015?

3       A. He was an editor.

4       Q. Okay. He was the chief reporter at this point,
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5 though, wasn't he?

6       A. Yes.

7       Q. Okay. Subject is re, Sandy Hook. Do you see

8 that?

9       A. Yes.

10      Q. Date is December 19, 2015?

11      A. Yes.

12      Q. Okay. I'm going to read this from the bottom.

13 Okay?

14         At -- on December 17th Paul Joseph Watson

15 wrote: Sent this to Alex. This Sandy Hook is killing

16 us. It's promoted by the most bat shit crazy people

17 like Rense and Fetzer who all hate us anyway. Plus it

18 makes us look really bad to align with people who harass

19 the parents of dead kids. It's going to hurt us with

20 Drudge and bringing bigger names to the show. Plus, the

21 event happened 3 years ago. Why even risk our

22 reputation for it?

23         Next Buckley responds: I agree with you

24 100 percent. We think it hurts our credibility

25 significantly. I'll do what I can to head it off as

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1 much as we can. What was the latest incursion? I

2 missed it.

3         Paul Joseph Watson writes back: Adam -- and I

4 believe that may be Adan -- it may be a typo.

5       A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. -- wrote another article implying that
                                        1061 of the
                                                1271

7 Pozner guy's son didn't die. I think Alex had it out

8 with him and put a ban on future Sandy Hook stuff.

9         Have you ever seen that document before?

10      A. I haven't seen this document, no.

11      Q. Okay. Now, you were aware, I believe -- is

12 this what you were referring to when you said Alex Jones

13 put a ban on Sandy Hook stuff?

14      A. Yes.

15      Q. Okay. And that didn't stick, did it?

16      A. Well, what I can say regarding that is Alex

17 allows different opinions on the platform. Paul had a

18 different opinion. Alex had a different opinion.

19 Everyone was -- that was -- people were still talking

20 about -- there were opinions on both sides. So there

21 wasn't a specific -- you know, just again, free speech.

22      Q. My question isn't about who can say what or any

23 of that kind of stuff. My question is simply this. If

24 Alex Jones put a ban on Sandy Hook in December of 2015,

25 it didn't last. It didn't stick, right? We've talked

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1 about videos, multiple videos after this date about

2 Sandy Hook, correct?

3       A. Well, I believe Alex was the subject matter in

4 those videos. He was the one providing commentary in

5 them.

6       Q. You know -- do you remember watching Owen

7 Shroyer's video about Neil Heslin?
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8     A. Right. And what was the date on that?

9       Q. That was 2017. That didn't stick, did it?

10 Correct?

11      A. It appears -- it appears that Owen had an

12 opinion about it, yes.

13      Q. Okay. Do you think any -- anybody else said

14 anything about Sand -- you've seen Rob Dew say things

15 about Sandy Hook after 2015 on InfoWars, right?

16      A. (No response.)

17      Q. You just watched "Sandy Hook Vampires Exposed."

18 He was talking in that, wasn't he?

19      A. Yes.

20      Q. Okay. This email where Paul Watson says: It's

21 promoted by the most bat shit crazy people like Rense

22 and Fetzer. Does the company agree with Mr. Watson's

23 position or does it disagree with Mr. Watson's position?

24      A. That's -- that's Paul's opinion.

25      Q. That's not -- I know that. I know that. Does

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1 the company agree with it or not?

2       A. At this time it appears that Fetzer and Rense

3 would be a very questionable source of information.

4       Q. Okay.

5             (Discussion off the record)

6       Q. (By Mr. Bankston) Okay. In fact -- I'm just

7 going to ask you a question about this. Do you remember

8 right after this suit happened, Nico sent you blog
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9 material from Jim Fetzer? Do you remember  that
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10 happening?

11      A. After which?

12      Q. After this lawsuit, a couple of months after

13 this lawsuit, Nico --

14      A. From the summer of 2018?

15      Q. From -- yeah, summer of 2018.

16      A. Okay.

17      Q. Do you remember Nico sending you blog material

18 from Jim Fetzer for you to look at?

19      A. I don't specifically remember an email, but if

20 you want to show it to me.

21      Q. I'm trying -- we've got to get out of here

22 unfortunately I think. But I'm just wondering if you

23 had remembered that.

24      A. But, I mean --

25      Q. In other words, let me -- let me put the

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT         256



1 question this way. Sure. Let me put the question this

2 way. In 2017 did the company believe that Jim Fetzer

3 was a reliable source of information?

4       A. At that time there was controversy regarding

5 that individual.

6       Q. In 2017 InfoWars published a video that relied

7 on Mr. Fetzer, correct?

8             MR. REEVES: Objection; form.

9       A. Okay.

10      Q. (By Mr. Bankston) That's true?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11    A. You're telling me that? I --

12      Q. I'm actually -- no. You need to tell me,

13 Ms. Karpova, because you're here to talk to me about the

14 sourcing and researching in plaintiffs' petition of

15 those videos.

16         Is that one of the videos you watched when

17 y'all took the break?

18      A. The Owen Shroyer video?

19      Q. Yeah.

20      A. Yes, I've seen that video before.

21      Q. Of course. Yeah. You knew you were going to

22 testify about it.

23      A. What is the --

24      Q. My question is, that was in 2017.

25      A. Uh-huh.

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT           257



1       Q. It relied on Jim Fetzer. It had material from

2 Jim Fetzer, correct?

3       A. I don't know where Owen got that material.

4       Q. Okay. If Owen -- and so given your previous

5 answer, given that there was some -- InfoWars was aware

6 that there was some issues being raised with

7 Mr. Fetzer's credibility, that happened in the exact

8 same year that Owen published his video in 2017, right?

9       A. Right.

10      Q. So if Owen relied on -- if it did happen that

11 Owen's video contains material from Mr. Fetzer, it was
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 done so at a time where InfoWars knew
                                     1065there were issues
                                          of 1271

13 regarding his reliability, correct?

14      A. Yes.

15            MR. BANKSTON: Okay. Thank you,

16 Ms. Karpova. That's all I have for you today.

17            MR. REEVES: Are you passing right now?

18            MR. BANKSTON: Yeah.

19            MR. REEVES: Alright. We'll reserve.

20            THE VIDEOGRAPHER: The time is 5:48 p.m.

21 we are off.

22            (Discussion off the record)

23            THE REPORTER: Mr. Reeves, do you need to

24 purchase a copy of this deposition, sir?

25            MR. REEVES: Yes, please.

     UNEDITED, UNCORRECTED, UNCERTIFIED ROUGH DRAFT          258



1             (Deposition completed 5:48 p.m.)

2             (Signature reserved)

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                     Exhibit 5
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                                            1



1             THE VIDEOGRAPHER: We're on the record.

2 Today's date is Saturday, December 4th, 2021, and the

3 time is 10:38 a.m. This is the videotaped deposition of

4 Alex Jones. Will the court reporter please swear in the

5 witness.

6             THE REPORTER: I'm Janet Hoffman, Texas

7 Certified Shorthand Reporter, No. 4208. I am taking

8 this deposition by machine shorthand, and I am located

9 in Spring, Texas. The witness is located in Austin,

10 Texas.

11                  ALEX JONES,

12 having been first duly sworn, testified as follows:

13             MR. REEVES: Mark, just for purposes of

14 the record, I would like to again have the same

15 stipulation that this is going to be subject to one

16 protective order that's entered into. Do we have that

17 same stipulation?

18             MR. BANKSTON: Plaintiffs will agree.

19                  EXAMINATION

20 BY MR. BANKSTON:

21      Q. All right. Mr. Jones, you know about back in

22 September a default got granted against you. Right?

23      A. I know that -- that my seventh amendment

24 rights were violated by a political show trial. Yes, I

25 do know that.

                                            2
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1       Q. It's funny. Let me show you what's been

2 marked as Exhibit 1 because you mailed it, man, right

3 off there, seventh amendment and default ruling. Texas

4 judge tramples it. Right?

5              (Exhibit 1 marked.)

6       A. That's right.

7       Q. Okay. So in fact, as you see on that printoff

8 there, the way your screen kind of prints, it doesn't

9 print very well, so I'm going to actually show you a

10 full copy of that exhibit on this screen here. Okay.

11 And now that can help you read it a little better.

12 Right?

13      A. Yes. And that's about my first amendment, one

14 of the other things you guys are attacking. This is my

15 first amendment right to say that.

16      Q. Oh, yeah, no, absolutely. Have fun, man,

17 totally. What I'm actually asking you about is: In

18 that broadcast -- well, in that one, heck, right after

19 it happened, September 30th, you got on the show and

20 talked about it. Right?

21      A. I believe so.

22      Q. October 1st, October 2nd, October 3rd, October

23 4th you were just talking about the default ruling.

24 Right?

25      A. I did talk about it on some shows.

                                            3



1       Q. One of the things you kept saying on those
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 shows is "I barely covered Sandy Hook." Correct?

3      A. I mean, it's a bit of a very small part of

4 what I've done. It's not my life, like you. Yes.

5      Q. Yeah. And you said yes, I've done --

6 only covered it a few times. Right?

7      A. In the aggregate comparatively, yes.

8      Q. You see how there's a comment on this article

9 right here that I have showing right now? And you can

10 probably read it fully right here.

11     A. What? Are you BigDoggy? Is that you?

12     Q. No. I have it on the screen. It's not my

13 comment, no, sir.

14     A. I don't know whose it is, but okay.

15     Q. I don't know either. I don't know who

16 BigDoggy is.

17     A. I just know you're pretty famous for comments

18 on the internet, so --

19     Q. I am.

20     A. -- I was asking: Are you BigDoggy?

21     Q. No, I'm not BigDoggy. Okay. But again, I

22 don't know who BigDoggy is. It could be Brad. It could

23 be Mark.

24     A. Could be you.

25     Q. Could be you. Well, actually --

                                            4



1             MR. REEVES: Please let him just ask you

2 questions and answer his questions. I understand y'all
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 have contentious -- against the other.1070
                                          Butof
                                              if 1271
                                                 you could

4 just let him ask questions and you answer, that would be

5 great.

6             THE WITNESS: Sure.

7      Q. I think we have a friendly relationship.

8 Don't you, Mr. Jones? We've had some fun in these

9 depositions, haven't we? Yeah. So here's the thing, is

10 I don't think you're a BigDoggy. And the reason it is

11 is because isn't BigDoggy saying, look, why does Alex --

12 and I'm going to quote BigDoggy here. Let's get

13 BigDoggy on the record -- why does Alex say he barely

14 covered Sandy Hook? We know that isn't true. Alex

15 should just tell the truth. He covered this extensively

16 many, many shows dedicated to this story. BigDoggy is

17 right, isn't he?

18     A. You should just call BigDoggy as a witness.

19     Q. Well, I'm basically kind of doing that.

20     A. I understand. I don't know anything about

21 BigDoggy, so I can't speak for them.

22     Q. But he's right?

23     A. No. In the aggregate, I barely covered Sandy

24 Hook.

25     Q. How many videos did you do on Sandy Hook?

                                           5



1      A. I don't have that number in front of me.

2      Q. Truth is it's probably around 100, isn't it?

3      A. Well, if you count responding to you guys in

4 your lawsuits, yes. Since then, I have covered it quite
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5 a bit.

6     Q. No. I'm talking between the dates before you

7 were sued, from 2012 to 2018, about 100 videos. Right?

8     A. That's not the number I have. I don't have

9 those numbers exactly in front of me, so I don't know.

10     Q. Well, you only produced 55 of them to me.

11 Correct? You know how many you produced to me. Right?

12     A. Well, we produce about 55 videos a day.

13     Q. Right. I'm not talking -- let's make sure

14 that you understand the difference between what you mean

15 by produced in your world, which means the collection of

16 people who get together and create an audio-visual

17 product which you distribute to the world and the

18 definition of produce in my world, which means that you

19 give me things. And one of the things that you gave me

20 was 55 videos on Sandy Hook. Okay?

21     A. Okay.

22     Q. So you did cover it many, many times.

23 Correct?

24     A. I have covered it, yes.

25     Q. All right. So my question is: If you're

                                         6



1 going to get on your show and say you barely covered

2 Sandy Hook and you only covered it a few times, if

3 you're going to say that untrue stuff, why should this

4 jury believe you about anything?

5             MR. REEVES: Objection. Form.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. Mr. Jones, you've been in enough
                                     1072 depositions
                                          of 1271

7 now to know that when Mr. Reeves says Objection. Form.,

8 you can go ahead and answer. You already know that. So

9 I'm just going to go ahead and ask you the question

10 again. If you get on your show and you say "I barely

11 covered Sandy Hook. I only covered it a few times" and

12 the truth is that you covered it many, many, many times,

13 why should this jury believe you about anything?

14               MR. REEVES: Objection. Form. Go ahead

15 and answer if you can.

16      A. Again, in my opinion, if you compare it to all

17 the things we've covered and done in the last ten years,

18 it was a very small thing that we covered at limited

19 points. But I do four hours a day, and so things can be

20 cut up into different pieces. Many videos have been

21 reedited by others countless times. And there's really

22 no way for me to know. I just know that -- that I've

23 covered it a lot more since these lawsuits and I've had

24 to talk about it so I can respond to it than I did

25 previous to that, and that it was -- it's not something

                                            7



1 that made my career. It's not something that made me

2 money. It's not something that was my bailiwick, as you

3 have said.

4       Q. Do you know what the most popular news story

5 on your website in page views is? Do you know what it

6 is?

7       A. No.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     Q. Okay. I'm going to talk about that later.

9 Let's come back to that. One of the things you just

10 talked about is that you have since this lawsuit has

11 started you've said some things about Sandy Hook.

12 Correct?

13     A. I've said things about organizations and

14 groups to want to get rid of the first amendment trying

15 to use me as a case to do it.

16     Q. Okay. Well, what I'm really talking about is

17 you've said things about Sandy Hook itself. Correct?

18     A. I have -- I have talked about -- I mean, I

19 talked about the coverage surrounding it and the

20 lawsuits and that ongoing process, yes.

21     Q. Okay. Well, actually, I want to ask you about

22 a little something else. Hold on. Back up for a

23 second. One thing that you have said a few times is

24 that in terms of when you did say that Sandy Hook was

25 completely take, synthetic, there were actors, et

                                          8



1 cetera, you've said that you've apologized for that.

2 Correct?

3     A. Well, first off, I said I could see how people

4 see that. And I also -- when people said please

5 apologize to us and I'd seen some of the anomalies that

6 I think were wrong, that weren't what people were

7 questioning online, then I'm, like, yeah, of course.

8 I'm sorry for questioning Sandy Hook, but it wasn't
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 intended, you know, in a false way. I1074
                                        mean,  I really
                                            of 1271

10 thought maybe it didn't happen. And then the attacks

11 intensified and people began falsely saying that I was

12 currently saying those things and then exaggerating what

13 I'd said as a political weapon that Hillary Clinton was

14 using to beat me over the head with it in 2016 on record

15 and run national political ads against me playing edited

16 tapes of me talking about Sandy Hook.

17            MR. BANKSTON: Okay. First of all,

18 objection, nonresponsive.

19     Q. Second of all, you -- Mr. Jones, you

20 understand this jury is going to watch the videos of you

21 saying unequivocally not "I see how people could think

22 this" but unequivocally saying Sandy Hook was

23 completely --

24     A. Sure.

25     Q. No, Mr. Jones.

                                           9



1             MR. REEVES: Hold on. Let him finish.

2      Q. You don't get to interrupt me. You understand

3 that, sir? You're here to answer questions for this

4 jury, and I want to you listen to the questions. You

5 know this jury is going to watch videos of you saying

6 multiple times over and over again Sandy Hook is

7 completely fake, completely synthetic. It is not real.

8 Right? And you're going to sit here in this chair and

9 say, oh, actually what I said, actually what I said is I

10 could see how some other people could think it was fake.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 You know the jury is going to see those videos, and you

12 know they're going to hear your words. Do you think

13 that they should take you seriously whatsoever when they

14 can see you saying the things you said you didn't say?

15     A. I know --

16            MR. REEVES: Objection. Form. Go ahead

17 and answer the question.

18     A. I know that the jury is going to say I always

19 heard that people are innocent until proven guilty, not

20 guilty until proven how guilty they choose and that the

21 system is actually scared for me to put on evidence.

22 The truth is deep down I still have real questions about

23 Sandy Hook and a lot of the anomolies and the weird

24 stuff that's gone on and the CIA visiting Adam Lanza

25 before it happened and the FBI. That was in mainstream

                                           10



1 news and just all the bizarreness that went on, the

2 public still has real questions, just like they do about

3 Jussie Smollett or the Roe v. Wade baby that never

4 actually died or WMDs in Iraq or just the Gulf of Tonkin

5 or Operation Northwood or Bubba Wallace or you know so

6 many of these things that have had the most of these

7 hate crimes and type things end up being false flags.

8 So I still, when I look events, question and say could

9 this -- could this be staged. We look for telltale

10 signs. And that's because genuinely we've seen a lot of

11 staged things and a lot of fraud. And so that is
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 something that I question abd something
                                     1076 that  I continue
                                           of 1271

13 to do.

14     Q. Let's -- I want to show you a video. We are

15 going to -- this is going to be Exhibit 2.

16             (Exhibit 2 marked.)

17     Q. On -- I'm going to show you a little clip of

18 something you said on October 1st. (Video playing) All

19 right. So now you're back to feeding your audience this

20 lie about Sandy Hook. Right?

21             MR. REEVES: Objection. Form.

22     Q. Correct?

23     A. No, that's -- that -- I'm proud of the video

24 and I'm proud of my statement in its context that I'm

25 sure we'll be able to show the jury when we have time

                                           11



1 to. They will see what I had to say and see that I'm

2 speaking up for the American tradition of being able to

3 challenge authority of official stories that almost

4 always turn out to be at least partially wrong.

5      Q. Please keep that promise in play of that whole

6 October 1st video. Please keep that promise.

7      A. Okay.

8      Q. But second, what has happened here is now that

9 you got beat in court, now that a default has been

10 granted??

11     A. I didn't get beat in court. I got beat by an

12 organized crime syndicate.

13     Q. Now that a default has been granted, you don't
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 have to pretend anymore, do you? That's what's going

15 on. Right?

16             MR. REEVES: Objection. Form.

17     A. No, that's not what's happened. The death

18 penalty sanction with all the stuff we produced I

19 believe was a fraud. And it's because they're scared of

20 the real evidence coming out and want to be able to tell

21 a jury that this man is guilty, now you decide how

22 guilty. Now, juries are supposed to decide if someone

23 is guilty or not, period, not how guilty they are. So

24 you guys can try to do all your anti-free speech stuff.

25 All you're doing is waking up the American people.

                                           12



1      Q. All right. So let's just be honest about what

2 this is. You got mad after you got defaulted and you

3 lashed out by saying that Sandy Hook was fake again.

4 That's what happened. Right?

5      A. No. I have privately -- I mean, I told my

6 crew I mean I've always said I really have real

7 questions about this but I can't a hundred percent prove

8 it was totally staged, but the CIA was definitely

9 involved. And -- and that came out. And then I was --

10 I was told again by high level folks in the CIA that it

11 was staged back at the time, and so I went with them and

12 also what Wolfgang Halbig said and others. So I really

13 believed that it should be looked at.

14     Q. You've repeatedly said that this is court
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 process, this lawsuit, what just happened
                                        1078 --
                                             of 1271

16     A. Uh-huh.

17     Q. -- is all a sham because you turned everything

18 over. And that court still defaulted you anyway.

19 Right?

20     A. Yes. Owen Shroyer, you never sent him one

21 deposition, one document request, one thing, and he was

22 defaulted along with me. And if that isn't fraud, then

23 nothing is.

24     Q. Okay. Hold on. I may have to pull this order

25 for you because I need you to understand this. Do you

                                         13



1 understand that in Ms. Neilhussen's case there was a

2 court order requiring Owen Shroyer to appear for

3 deposition? Do you know that?

4     A. I know he appeared for a deposition.

5     Q. Yesterday.

6     A. You asked for it after the default.

7     Q. Hold on. No, sir, Mr. Jones. Do you

8 understand that there was an order on August 31st, 2018

9 asking Mr. -- requiring Owen Shroyer to appear for

10 deposition? Did you know that?

11     A. I don't know what you're talking about.

12     Q. Yeah, you didn't know that. So you got on

13 your show without even knowing what the discovery was.

14 Did you know in Mr. and Mrs. -- Mr. Pozner's case and

15 Mrs. De La Rosa's case, you understand they're suing

16 you. Right?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    A. I've never said her name. I'm never going to

18 say it.

19     Q. I'm not asking you about what you said. You

20 know they're suing you, don't you? Correct? Let's just

21 start there. You know there's a lawsuit --

22     A. I know I didn't get a jury trial. I know a

23 judge said I was guilty. I don't believe that I live in

24 the Soviet Union.

25     Q. Mr. Jones, you're not answering questions.

                                           14



1 Let's just admit it right now. You're not answering

2 questions. I'm asking you: Do you know that Leonard

3 Pozner and Veronique de la Rosa sued you? Do you know

4 that?

5      A. Yes, yes.

6      Q. Okay. Do you know they served you discovery?

7      A. I believe so, yes.

8      Q. Yeah. You know you didn't answer it ever?

9      A. That's not true.

10     Q. It is true, Mr. Jones. And I'll bet when you

11 go back and talk to your lawyers you're going to find

12 out a lot of things you don't know. I'm going to tell

13 you, Mr. Jones. Not like you got a bad grade on your

14 homework. Like you didn't turn it you. You didn't know

15 that?

16     A. What were the depositions we had and all the

17 81,000 documents?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    Q. That's in Mrs. Lewis' case. That's when
                                      1080 of    Mr.
                                              1271

19 Barnes came in. And we'll get to that. Let's talk

20 about that in a minute. But first let's take on Mr.

21 Pozner and Mrs. De la Rosa's case. You don't know that

22 you never answered discovery, do you? You don't even

23 know that. Correct?

24     A. Again, I don't have that stuff in front of me.

25     Q. Right. Now let's talk about in Mr. Heslin's

                                          15



1 case. In that same order that required Mr. Shroyer to

2 show up to deposition, did you know it required you to

3 show up to deposition and your company to talk about Mr.

4 Heslin's defamation case? Did you know that?

5      A. I mean, I've showed up for these, so I don't

6 know what you're talking.

7      Q. Yeah, you showed up for Ms. Lewis's case,

8 didn't you?

9      A. Again, I don't have this in front of me so I'm

10 not sure what you're talking about.

11     Q. Right. How many depositions have you done

12 before today with me?

13     A. Two.

14     Q. Right. How many lawsuits -- how many

15 different plaintiffs are suing you in Texas?

16     A. I don't know.

17     Q. Can you name the people who are suing you in

18 Texas?

19     A. No.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20    Q. Not surprising.

21     A. Didn't ever name most of them to begin with.

22 They're the ones attached to me.

23     Q. In Mrs. -- in Mrs. Lewis' case back when you

24 had Mr. Barnes handling discovery, things didn't go so

25 smoothly there, did they, according to an affidavit

                                         16



1 written by you about Mr. Barnes. Right?

2     A. I don't have that in front of me.

3     Q. Do you remember writing an affidavit up in

4 that Lafferty case basically saying Mr. Barnes messed

5 everything up and I've gotten rid of him? Do you

6 remember that?

7     A. I'm thinking I remember there was a memo.

8     Q. Yeah. You remember because you had to get on

9 the phone with somebody in Connecticut. You didn't

10 actually sign that affidavit. Somebody signed it with

11 your permission and there was a big hubaloo about it.

12 Do you not remember --

13     A. I do remember something about that.

14     Q. Yeah. So you wrote an affidavit about Mr.

15 Barnes, how he botched discovery. Right? Correct?

16     A. I believe so.

17     Q. Yeah. Okay. So now let's go through it here.

18 You've got Mr. Pozner and Ms. De la Rosa's case where

19 you didn't even answer discovery. You've got

20 Mr. Heslin's defamation case where you didn't show up
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 for defamation -- answer any discovery
                                      1082or of
                                             show
                                                1271up for

22 deposition. Neither did Mr. Shroyer, neither did the

23 company. You've got Mrs. Lewis' case where you wrote an

24 affidavit saying your lawyer screwed it up, and you've

25 got Mr. Heslin's IED case, which you just got sanctioned

                                           17



1 because you sent Rob Dew to the deposition and he

2 couldn't answer any questions. And if all of those

3 things are true, when you get on to your show and you

4 tell your show that this is all just a kangaroo court

5 and you completely complied but got railroaded, that's

6 not true. None of that's true.

7      A. No, it is true. I remember giving you guys

8 all sorts of stuff; then you would say you hadn't been

9 given it or it wasn't given the way you wanted it.

10 Just -- I mean, look, it should be on the issues of what

11 did I say on air.

12     Q. It should be maybe -- and I asked you those

13 questions and you didn't answer them, Mr. Jones. And

14 that's not fair, is it? Mr. De la Rosa -- excuse me --

15 Ms. De la Rosa and Mr. Pozner have the right to ask you

16 questions. Right? Do you agree with that, or not?

17     A. I mean, I've sat for these depositions.

18     Q. You have not sat for a deposition for Mrs. De

19 la Rosa or Mr. Pozner. And they have that right, don't

20 they?

21     A. I don't know.

22     Q. You don't think they deserve that?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    A. I don't -- I don't deserve a jury trial. I'm

24 found guilty by a judge.

25     Q. You remember when you told me in your November

                                        18



1 2019 deposition, look, Mr. Bankston, I'm sorry. I could

2 find those sources you were looking for if I had known

3 to look for them, but I didn't know what you were

4 talking about. But yes, now that you've told me, I can

5 go find those sources. Do you remember telling me that?

6      A. Yes.

7      Q. Okay. I imagine you probably watched the

8 August 31st, 2021 default judgment hearing. I would bet

9 that. Right?

10     A. No.

11     Q. Okay. So you don't -- everything that you

12 said about the judge and what went on in that hearing is

13 secondhand. You didn't watch it?

14     A. I read the newspaper articles. It's not what

15 I've been doing.

16     Q. Everything you said about Mr. Reeves, that was

17 secondhand about what he did in that hearing?

18             MR. REEVES: Objection. Form.

19     A. I didn't watch the hearing.

20     Q. You remember talking on your show about

21 Mr. Reeves. Right?

22     A. I mean, I remember talking about the newspaper

23 articles.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    Q. No. You remember talking on  your
                                    1084 ofshow
                                            1271 about

25 the judge won't let you have the lawyer you want, so all

                                         19



1 you have is a bunch of new lawyers who've rolled over

2 and go into court, and you did a mocking voice of Mr.

3 Reeves. Do you not remember that?

4      A. Well, I never -- yes. My point was, is that

5 he didn't know that -- he wasn't ready for the case then

6 because they weren't letting my lawyer in. And so

7 that's why he wasn't ready. That's why he was new on

8 the case.

9      Q. Yeah, new on the case, I understand. But you

10 were mocking his performance in that courtroom. Right?

11     A. I mean, I guess you could say I wasn't happy

12 with what the newspapers' rendition of that performance

13 was.

14     Q. And I'm going to tell you right there that's a

15 good lawyer. Right? That's a good lawyer. Now, I'm

16 starting to wonder when you don't know that you haven't

17 even answered discovery, I'm kind of wondering what has

18 gone on before that. I don't know. Right?

19             MR. REEVES: Object to this line of

20 questions because the discovery in the Pozner case is

21 the Free Speech Systems, LLC. It's not Alex Jones. I'm

22 just telling you --

23             MR. BANKSTON: You know what the court

24 ruled on that.

25             MR. REEVES: I understand --
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                                       20



1             MR. BANKSTON: You don't a hundred --

2 Brad, don't even raise that objection. That's in bad

3 faith, and you know it.

4             MR. REEVES: It's not in bad faith.

5             MR. BANKSTON: The court has said

6 unequivocally on the record Alex Jones, Free Speech

7 Systems, Infowars, LLC, are all -- are all to be

8 considered one entity and all have equal --

9             MR. REEVES: No. -- question related to

10 certain information related to employees and things like

11 that because it -- that is not what she said about

12 discovery requests being one for Free Speech Systems

13 being discovered --

14             MR. BANKSTON: You're sitting here right

15 now knowing about -- because I know now you are

16 brand-new counsel on the Fontaine ^ case. There is a

17 motion to compel that was granted in that case. That

18 describes all of this. That describes all of how

19 Infowars, LLC, cannot get away with saying no, those

20 were requests for Free Speech Systems. And neither can

21 Mr. Jones. And if you want to raise that objection and

22 have it ruled on by the court, we'll do that.

23             MR. REEVES: I'm just saying that the

24 discovery that you are referencing in the Pozner case

25 was discovery issued to Free Speech Systems, LLC, not to

                                          21
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 Alex Jones, individually.

2              MR. BANKSTON: All right. You can say

3 that. I'm just telling you -- you can put that on the

4 record.

5              MR. REEVES: I want to make sure that the

6 record --

7              MR. BANKSTON: Let's -- in fact, let's

8 make it -- let's make the record clear. Right?

9       Q. There was discovery served to the company that

10 you were the sole owner and member of -- correct? -- in

11 these cases? That's happened. Do you understand what

12 I'm saying?

13      A. Yes, yes.

14      Q. Okay. You have access to every single

15 document Free Speech Systems has. Correct? Is there

16 any situation where I would ask you for a document in

17 Free Speech Systems' files and you would walk into the

18 offices of Free Speech Systems and anybody in Free

19 Speech Systems would tell you, no, Mr. Jones, you can't

20 have that document? Is that something that could ever

21 happen?

22      A. Any? I don't understand how to answer that

23 question.

24      Q. Sure you do. If I'm telling you right now if

25 you walked into Free Speech Systems is there any

                                          22



1 document you couldn't lay your hands on? Is there
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 anything in the building, period, that you couldn't lay

3 your hands on?

4     A. No. I probably find anything I needed to.

5     Q. Okay. That's interesting, too, because you

6 remember we talked in that last deposition about the

7 Bloomberg email where Bloomberg sent an email out to his

8 people, said get ready in the next 24 hours, there's

9 going to be a big event? You remember that?

10     A. That was a new story, yeah.

11     Q. Yeah. And then we talked about it for a while

12 because you had brought that up to me. You were, like,

13 look, I don't have the email itself. That was something

14 I was reporting on. I had -- there was a story about it

15 and I was reporting on it. You remember that?

16     A. I do.

17     Q. And then you remember you told me you could

18 find it for me. Right?

19     A. Yeah, I believe I said that.

20     Q. And then you never gave it to me, did you?

21     A. To be honest with you, Bankston, you don't

22 really inhabit much in my mind.

23     Q. I know, yeah. You don't have much respect for

24 any of this process, do you? None of it?

25     A. I don't think you have respect for America or

                                         23



1 anything.

2     Q. You remember when I asked you to produce me
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 records that shows that the school was closed?
                                      1088        Do you
                                            of 1271

4 remember me asking you about that?

5     A. I do.

6     Q. And you remember you telling me you could give

7 it to me?

8     A. I'm --

9     Q. Remember that?

10     A. I mean, I don't remember all the stuff in the

11 deposition.

12     Q. All right. You didn't give it to me, though,

13 did you?

14     A. I don't remember.

15     Q. Infowars is currently broadcast on over 200

16 radio stations?

17     A. I don't have the number in front of me right

18 now.

19     Q. If you had to ballpark it, what would you say?

20     A. Something like that.

21     Q. Okay. How many over-the-air television

22 stations?

23     A. I don't have a number.

24     Q. Give me a ballpark on that.

25     A. We're free to air. Anybody can pick it up.

                                         24



1     Q. Right. But over-the-air television stations

2 has -- there has to be an affiliate there who you have a

3 relationship with?

4     A. No.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5     Q. You're going to tell me that somebody is

6 broadcasting Infowars' programming over the air without

7 you knowing about it?

8      A. Absolutely. That's what free air is.

9      Q. I don't think that's happening, Mr. Jones.

10 You think there are things going out on FCC airwaves

11 right now that are Infowars' broadcasts that in no way

12 you knew about? You think that's happening?

13     A. I just don't think you have the knowledge of

14 what free air means.

15     Q. Okay. I understand that, for instance,

16 Infowars is on cable -- certain cable packages. Right?

17     A. (Nods head.)

18     Q. You may not even know about all the cable

19 packages. Right?

20     A. I don't --

21     Q. Because, again, when you say it's free to air,

22 people -- you know what an OTT system is. Right?

23     A. I'm not really an engineer, but I just know

24 I'm free to air.

25     Q. Right. So OTT, over the top -- like, say, I

                                          25



1 know you're not on it anymore, but, say, like a Roku

2 box. Right? It's possible that there are OTT systems

3 out there that are playing Infowars and you don't even

4 know about it. Right? That's a possibility. Right?

5      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. But you think the same thing1090
                                      is true
                                            of over
                                               1271the

7 over-the-air television?

8     A. Yes.

9     Q. Okay. I want to play you a piece of audio

10 from your radio show. So there's not going to be any

11 video to show you, but this is going to be Exhibit 3.

12            (Exhibit 3 marked.)

13     Q. Let me play that for you now. (Audio playing)

14 That's true?

15     A. That's a guesstimation.

16     Q. Conservative. Right? It's probably a little

17 higher than that. Right?

18     A. I don't know.

19     Q. So --

20     A. Depends on how you define the audience. If

21 somebody tuned in once a month, once a year, once a day.

22     Q. You're the one who said it, Mr. Jones. You

23 tell me.

24     A. It's a very short clip. I need to know the

25 context.

                                          26



1     Q. You don't need to -- there's nothing else said

2 about audience in that entire clip.

3     A. Okay. Well, I haven't heard the whole clip.

4     Q. It's an advertisement for some sort of pill or

5 something. I'm asking you right now: Is 10 percent of

6 America an accurate representation of Infowars' listener

7 show? That's true. Right? Major media organization?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     A. I mean, I would say a larger percentage than

9 that agree with my world view. But I mean, yeah, I

10 would say 10 percent of the country has watched

11 something I've done and has agreed with me.

12     Q. And then globally another 10 percent. Right?

13 Because you're -- let me put it this way: Infowars'

14 programming is not bound by U.S. borders. It's -- the

15 internet is everywhere. Right?

16     A. Uh-huh.

17     Q. And so globally Infowars also has a very large

18 audience. Right?

19     A. Uh-huh.

20     Q. Maybe 10 percent of the globe is listening in

21 to Infowars. Right?

22     A. I would imagine 10 percent of the people --

23 that's a -- that's -- that's more hyperbole, but the

24 English-speaking world? Yeah, I would say so.

25     Q. Hyperbole is something you're very familiar

                                           27



1 with?

2      A. Yes. Talk radio is a big part of that, yeah.

3      Q. Exactly. When addressing that audience, your

4 United States in global audience, would you ever

5 intentionally lie to them?

6      A. No.

7      Q. Okay. Let me play you another clip. This is

8 going to be -- I'm going to play you Exhibit 4, and this
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 is another audit clip from your show. 1092
                                         (Recording
                                             of 1271

10 playing)

11               (Exhibit 4 marked.)

12     Q. How many people have you physically killed?

13     A. None.

14               MR. REEVES: Objection. Form.

15     Q. You knew about Leonard Pozner within weeks of

16 the shooting. Right?

17     A. I think I knew of Leonard Pozner.

18     Q. Right. He had complained to Infowars about

19 its coverage within weeks of the shooting. Right?

20     A. Sometime later I learned of some

21 correspondence between him and I think one of crew

22 members.

23     Q. So if anybody were to testify that you were

24 involved in responding to Mr. Pozner's correspondence,

25 that wouldn't be true?

                                        28



1     A. Would you refresh my memory?

2     Q. I'm just saying if that happens. I'm just

3 trying to --

4     A. Say that again.

5     Q. If somebody were to testify that you were

6 involved in the correspondence of Mr. Pozner in writing

7 the responses to him in the weeks after the shooting,

8 that wouldn't be true?

9     A. I'd have to go back, but I remember inviting

10 him on the show when -- I think he emailed us -- I'm
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 going from memory on this -- he emailed us and I invited

12 him on the show. That's what I remember.

13     Q. Okay. It's fair to say that Leonard Pozner

14 and Free Speech Systems have had an unfriendly

15 relationship over the years?

16     A. No, I'm not -- I don't really follow what he

17 does, so...

18     Q. You've done shows about him, so you do follow

19 him. Correct?

20     A. I mean, you'd have to refresh my memory.

21     Q. So I will refresh your memory about what you

22 know about Mr. Pozner. I'm going to show you what I've

23 marked as Exhibit 5.

24               (Exhibit 5 marked.)

25     Q. Have you ever seen that before?

                                         29



1     A. No, not that I remember. What is it?

2     Q. That's the sole document you produced to me

3 just a couple, I guess, month or two ago in regard to

4 discovery requests for any documents you had regarding

5 Mr. Pozner. That's the sole document that was in that

6 folder labeled Pozner. That's it. And that, you will

7 agree with me, appears to be a very large -- looks to be

8 about a 187-page comprehensive background report on Mr.

9 Pozner. Correct?

10     A. Well, I never ran a background report on

11 Pozner. I've never even seen this.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    Q. I understand that you probably
                                    1094never even saw
                                          of 1271

13 that.

14     A. Would somebody email us this and then we

15 opened --

16     Q. I don't know, Mr. Jones. You gave it to me.

17 What am I supposed to tell you about it? I don't know.

18 You tell me. That's what I got you --

19     A. I did not -- I mean, we just go through the

20 email, most of it even unopened, and just send you guys

21 everything.

22     Q. This isn't an email, is it?

23     A. I would imagine -- well, I've never run a

24 background thing on Pozner.

25     Q. All right. Well, one thing we can agree on

                                           30



1 it, because if you look at the bottom of that document,

2 it says FSSTX.085544. Correct?

3     A. Yeah.

4     Q. That's the Bates numbers y'all use when you

5 give me documents. Right?

6     A. Uh-huh.

7     Q. So this document right here came from

8 Infowars' corporate files?

9     A. I thought you said we haven't given you any

10 documents.

11     Q. I've said you --

12     A. Earlier you said we were defaulting; we gave

13 you nothing; we didn't even respond.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    Q. You gave me documents in the Lewis case in

15 response to document --

16     A. I mean, listen, I'm just telling you I've --

17 I've never looked at this.

18     Q. That's not what I'm asking you, Mr. Jones.

19     A. But I remember hearing in the news about

20 something in Florida doing a background thing on him,

21 and so I figure something might have sent us this. I'm

22 just guessing. I shouldn't guess. I don't know.

23     Q. Yeah. Do you think you should be guessing in

24 this deposition?

25     A. No. I just said -- you're right. I don't

                                           31



1 know what that is.

2     Q. So let's not do that anymore. But the first

3 thing that I'm asking you, the only question that I was

4 actually trying to ask you is: It has a Bates number on

5 there that is the Bates number you put on your documents

6 that you give to me. Right?

7     A. I think, yes.

8             THE WITNESS: I think this is ours.

9 Right?

10            MR. REEVES: I can't answer questions.

11     Q. You answer the question.

12     A. Yes, this is ours.

13     Q. Okay. So one thing we can agree on is that in

14 the files of Free Speech Systems is a 187-page
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 investigator's comprehensive report on Leonard
                                       1096       Pozner?
                                            of 1271

16     A. According to you.

17     Q. No, no, no, no, Mr. Jones, no, sir. According

18 to you. I want your testimony.

19     A. I told you I've never seen this before.

20     Q. I don't care if you've seen it before.

21     A. Okay.

22     Q. I'm saying you put -- this is your Bates

23 number on the bottom. Correct?

24     A. Yes.

25     Q. Okay. This came from Infowars' corporate

                                          32



1 files?

2     A. Okay.

3     Q. So the company does follow Mr. Pozner?

4            MR. REEVES: Objection to form.

5     Q. Correct?

6     A. No, I don't -- I don't know the -- I don't

7 know why -- if this out of our email or what.

8     Q. What is Honor Network. You know what that is.

9 Right?

10     A. I think that's a fundraising mechanism that

11 he's involved in. I have heard of that.

12     Q. Fundraising mechanism. How do you -- let's

13 start -- because I know you're not guessing because you

14 just said you weren't going to guess. So where did you

15 hear that? Who told you that?

16     A. I can't remember exactly. It was either news
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 articles about the tens of millions, hundreds of

18 millions of dollars raised by the Sandy Hook families.

19     Q. Something like Sandy Hook Promise. Right?

20     A. And some controversy about where that money

21 goes.

22     Q. Yeah.

23     A. So I have heard about that.

24     Q. Yeah. Does Leonard Pozner have anything to do

25 with Sandy Hook Promise?

                                           33



1     A. Like I told you, I've heard of him and the

2 Honor Network.

3     Q. Honor Network.

4     A. I've heard that, and I've heard the other name

5 you said. I don't know really --

6     Q. You're just -- I mean, you heard some random

7 stuff and now you're trying to smear Mr. Pozner with it.

8 Right? He has nothing to do with Sandy Hook Promise,

9 does he?

10            MR. REEVES: Objection. Form.

11     A. You're asking me questions, so I don't know.

12     Q. Yeah. And I'm asking you what do you know

13 about Honor Network, and you just started telling me

14 some stuff. But it's not anything you actually know.

15 Right? You're just telling me things?

16            MR. REEVES: Objection. Form.

17     A. No. I told you that I heard that he's
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 involved with that. I don't know -- I1098
                                         neveroftalked
                                                 1271

19 about it.

20     Q. Let's go back to what you actually know about

21 Honor Network. What is Honor Network, as far as you

22 know?

23     A. I've been told it's something associated with

24 Mr. Pozner and charity but I --

25     Q. Infowars has published articles talking about

                                         34



1 the Honor Network. Correct?

2     A. I don't know that.

3     Q. Infowars what has told its audience that Mr.

4 Pozner was behind Honor. Correct?

5     A. There's so much information we've put out, I

6 can't, without in front of me -- do you have it again to

7 refresh my memory?

8     Q. I'm here asking you questions.

9     A. I don't know.

10     Q. Yeah, that's what I need. I need "I don't

11 know." That's what I want. If you have an answer and

12 you either know or you don't know, just tell me.

13     A. Okay.

14     Q. That's how it works.

15             MR. BANKSTON: Well, that ain't going to

16 work because that's how they produced. Yeah, we'll save

17 that for another day.

18     Q. Do you remember a video not made by Infowars

19 but one you chose after it got removed from YouTube to
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 put on the Infowars website? And the video's name is We

21 Need to Talk About Sandy Hook. Do you remember that

22 video?

23     A. No.

24     Q. Okay. Do you know who Independent Media

25 Solidarity Group is?

                                          35



1     A. No.

2     Q. Do you know who Peter Klein is?

3     A. No.

4     Q. Okay. So as far as Infowars' hosting of --

5 let me put it this way: Do you remember what the first

6 YouTube strike against Infowars over Sandy Hook was?

7     A. No.

8     Q. Okay. I want to talk to you about what you

9 think is okay or not okay to do as it concerns Mr.

10 Pozner. And so what I want to do is pretend for the

11 moment that I'm going to play the role of Infowars'

12 reporter/editor/writer, something like that. And I've

13 come to your office and I've said, "Hey, Mr. Jones, I

14 want to publish something on the Infowars website, and

15 what I want to publish is the details of Mr. Pozner's

16 business. I want to publish his business filings. I

17 want to publish the address of all that." Can I do

18 that? Is that okay with you?

19     A. I'm not going to answer hypothetical

20 questions.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. So in your day-to-day business -- let
                                     1100      me just
                                           of 1271

22 put it this way: In your day-to-day business when

23 reporters come to you and ask you if they can do

24 something that they haven't yet done, those are

25 questions you cannot answer today?

                                            36



1             MR. REEVES: Objection. Form.

2      A. No, I can't answer your hypothetical question.

3      Q. No. I'm saying if I'm a reporter. I'm not

4 asking you if my hypothetical -- it's not me asking the

5 question. I'm saying if the reporter walked into your

6 office and wanted to publish the address details of Mr.

7 Pozner's business, could they do that? What would you

8 say to them?

9      A. It would depend on the context of it.

10     Q. There are situations where that would be okay

11 because it depends on the context. Correct?

12     A. Yes.

13     Q. Okay. What about his home -- what about an

14 address that is not his business address, just an

15 address like his home address, his mailing address, any

16 of that? Is that the same answer?

17     A. It would depend on the actual circumstances.

18     Q. Okay. Do you believe that at any point in the

19 past, say, between 2012, 2016, have there been

20 circumstances that have arisen that would put into your

21 mind the feeling that it is justified to publish Mr.

22 Pozner's personal details?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23           MR. REEVES: Objection. Form.

24     A. I'd have to have you give me specifics.

25     Q. Well, I'm asking you in your memory of these

                                         37



1 entire events. Do you remember any specific situations

2 that you believe would justify publishing Mr. Pozner's

3 personal information?

4      A. I never told my crew members or anybody to go

5 to anybody's houses or do any of that. I remember some

6 controversy on the internet about his -- a U-Haul

7 parking lot where he claimed he lived, and we simply

8 pointed out -- I think Rod Dew did. I'm going from here

9 here -- something to do with -- no, this report saying

10 this commentary on somebody else's report and then

11 pointing out that it was a U-Haul. That's what my

12 memory -- that's what I remember.

13     Q. You know U-Haul has mailboxes on it. Right?

14 A lot of U-Haul places have PO boxes? Did you know

15 that?

16     A. I think so.

17     Q. Okay. So that's not weird, is it? Somebody

18 to have an address at a U-Haul for a PO box, that's not

19 weird, is it?

20     A. I mean, I answered you as much as I know.

21     Q. No, that's not what I'm -- I'm not asking

22 about the facts. I'm just asking right now: If

23 somebody has a mailing address at a PO Box at a U-Haul,
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 that's not weird?                1102 of 1271

25       A. I think we said that, yeah.

                                           38



1       Q. Okay. So the point of your broadcast was to

2 say that that's not weird?

3       A. I'd have to see it again. I vaguely remember

4 it.

5       Q. Like, you were trying to defend Mr. Pozner, is

6 what you're saying?

7       A. I vaguely remember something about it.

8       Q. Now, Mr. Pozner started in all of this

9 privately complaining to Infowars. You agree with that.

10 He made a private complaint?

11       A. I -- yes.

12       Q. Okay. And he was very polite about it, wasn't

13 he?

14       A. It's been a long time since I saw the email,

15 but I think so.

16       Q. Okay. And when that didn't work, he

17 complained again but this time to YouTube. You know

18 about that. Right?

19       A. I really don't remember.

20       Q. You know Mr. Pozner complained to YouTube.

21 Right?

22       A. No. I mean, no. I remember -- I remember

23 people said he was going around getting a lot of stuff

24 taken down all over the place and -- and --

25       Q. It made you mad, didn't it?
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                       39



1       A. No, no. Actually, I told my crew members

2 Sandy Hook is a tar baby. Stop covering it. And then

3 it would just always come back like -- like a disease.

4 And so, I mean, long before you guys ever sued me, I

5 would scream at people if they even talked about it

6 because it's tar baby. And that's why I've told you

7 I've just had to compartmentalize because it's just like

8 constant on the Sandy Hook, man, I killed the kids. I

9 had people in Florida just a few months ago tell me you

10 killed those kids. I went, "No, I didn't," just

11 whatever. People don't know who Adam Lanza is. They

12 think I killed the kids, so whatever. I mean, I just --

13 you guys used it to deplatform me. People think I

14 killed the kids, all this stuff. Just do your worst.

15      Q. What was my question?

16      A. I've answered your question.

17      Q. You don't know what it was. You were just

18 talking. You were just -- right?

19      A. No. I didn't know what your question was.

20      Q. Right. And so you just started talking

21 because you didn't even know what the question was

22 because you don't care. Correct?

23      A. Because it wasn't a clear question.

24             MR. REEVES: Objection. Form.

25      Q. So here --

                                            40
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1       A. No, I do care. I care a lot.

2       Q. Please let me give you --

3              MR. REEVES: Hold on. Stop. There's a

4 court reporter. There's no way she can take down what

5 both of y'all are saying. Everybody take a breath.

6 Please let me him ask you questions. Then answer his

7 questions. And let's try to do this in as reasonable

8 method as possible. And I would appreciate it if you

9 would just answer ask your questions instead of laughing

10 and instilling your own personal thoughts about his

11 testimony. I would appreciate if you'd just ask your

12 questions so that he can answer them. You're more than

13 happy -- welcome to disagree with him and point those

14 out, but your personal opinion on his answers is

15 something that is not appropriate. And so I would just

16 ask if you'd please ask your questions, let him answer

17 them.

18             MR. BANKSTON: I'm not going to be in

19 this deposition and pretend that what is happening here

20 is normal. I am not going to guard my reactions to the

21 utter absurdity of what is happening. That's not going

22 to happen. All right? This man is clearly not at all

23 showing any respect to the process of answering these

24 questions. And I am not in any way -- I'm going to stay

25 civil during this deposition, but I am not going to be

                                          41



1 met with this kind of absurdity and not react to it.
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 That won't happen.

3     Q. I will give you the instruction, Mr. Jones,

4 that if you don't understand my question, if you think

5 it's not a clear question, don't answer the question.

6 Ask me to clarify the question. If you answer a

7 question from now on, I'm going to assume that you

8 understood the question. Do you understand that?

9     A. Yes, I do.

10     Q. All right.

11            MR. REEVES: I'm going to object to all

12 that sidebar. When you're ready to get down off your

13 soapbox and ask your questions, please proceed.

14            MR. BANKSTON: Brad, this is not a

15 soapbox. You understand what's happening in this room.

16 You understand what happened in this room yesterday.

17            MR. REEVES: I want you to ask your

18 questions so that we can proceed with this deposition.

19 That's what I would like. I would like you to not get

20 into an argumentative session with my client. I would

21 like you to ask your questions so that he can answer

22 them. I would appreciate that.

23            MR. BANKSTON: All right. We'll give it

24 another try.

25     Q. You remember a video entitled Sandy Hook

                                         42



1 victim dies again in Pakistan? You remember that?

2     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. Tell me everything you can remember  about what
                                     1106 of 1271

4 the claims made in that video were.

5       A. I don't remember enough about it to talk about

6 it.

7       Q. Mr. Pozner was not happy with that video. Do

8 you remember that?

9       A. I don't remember anything with Mr. Pozner.

10      Q. Okay. You understand that the Sandy Hook

11 victim who was alleged to have died again in Pakistan is

12 Noah Pozner. You know that. Right?

13      A. I believe the people in Pakistan had a photo

14 of him at the bombing or something, so I'd have to --

15 can you -- I can't answer the question because I don't

16 remember.

17      Q. Okay. Now, when it comes to Honor Network

18 attempting to have content removed, complaining to

19 YouTube, things like that, you've talked specifically on

20 your show about how you didn't like that. Right?

21      A. Well, this has happened over the last ten

22 years.

23      Q. Sure.

24      A. You want vague answers to the best of my

25 memory?

                                          43



1       Q. Yeah, I want -- Mr. Jones, I expected you to

2 somewhat, after now your third deposition, to maybe try

3 to get acquainted with the facts of this case and the

4 claims being made against you so that you could
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5 meaningfully testify about them. That's what I -- I

6 mean, honestly, I didn't actually expect that, but

7 that's what I would normally expect. But what I'm

8 asking you right now, yes, is based purely on your

9 memory.

10             Do you have any memory that you ever got

11 on your show and said about the people who were having

12 content removed that you didn't like that?

13     A. I do remember in general talking about that,

14 like, five, six years ago.

15     Q. Right. I think it went on a lot longer than

16 that, Mr. Jones, but some of it's in the past.

17     A. I mena, I'm really against censorship, yes.

18     Q. Yeah, I get that. You called them bullies

19 too. You remember that?

20     A. I can't specifically remember that.

21     Q. You remember saying you were going to fight

22 back?

23     A. I don't specifically remember that, but I do

24 fight back against censorship.

25     Q. You remember you said they stirred up a

                                          44



1 hornet's nest?

2      A. I don't remember any of that.

3      Q. You remember you told them you're not a guy to

4 mess with?

5      A. Maybe have the clip? Show it to me.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. No. I'm asking you, Mr. Jones.
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7      A. I don't remember.

8      Q. Of course I have the clip. I'm asking you:

9 Do you remember saying that?

10     A. No.

11     Q. If you did say that, not a great thing to say

12 to parents who are upset who have lost their children.

13 Right?

14             MR. REEVES: Objection. Form.

15     A. I mean, listen. The American people are tired

16 of being blamed for shootings and being told that all

17 gun owners are to blame for things. And so the

18 emotional response of people is to -- is to, basically,

19 be in denial. And I've explained that psychology to

20 you. And so I don't remember all that stuff.

21     Q. Well, I didn't ask you if you remembered it.

22 My last question was: If you were to tell parents who

23 were complaining because they didn't like seeing

24 pictures of their dead children on your television show,

25 if you were to tell those parents I'm not a person to

                                           45



1 mess with, that's not a very good thing to tell them --

2 right? -- if that happened?

3      A. I don't know the context --

4             MR. REEVES: Objection. Form. Now

5 answer if you know the answer to the question.

6      A. I mean, I don't know the context of what

7 you're saying.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8     Q. What do you mean by context? I don't

9 understand what that means. Can you help me clarify?

10     A. All I remember was telling my employees at

11 least five years ago don't talk about Sandy Hook, six

12 years ago.

13     Q. I'm not -- again, Mr. Jones, I have just told

14 you I'm not asking about the past and what you remember.

15 I'm asking you: If there were parents and they had lost

16 children and their photos had been on your show, and not

17 even Sandy Hook parents, just any parents, they've been

18 parents, they've lost children, grieving poor parents,

19 and they complained, maybe rightly or wrongly -- right?

20 -- like maybe you should ignore those complaints, maybe

21 you shouldn't, right, whatever it is, if you told them

22 I'm not a guy to mess with, that wouldn't be a good

23 thing. Correct?

24              MR. REEVES: Objection. Form.

25     A. I would need to know the context. I don't

                                           46



1 want to speculate, but I remember if they're on TV

2 showing pictures and saying we want to take your guns

3 and then people say we're sick of it, well, then we

4 should be able to talk about people that have made

5 themselves public figures. But I don't know the

6 hypothetical circumstance.

7      Q. Exactly. So then when we're talking, it

8 depends on the context, doesn't it?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     A. Yes.                       1110 of 1271

10     Q. Okay. So there are situations in which

11 parents who have lost their children who have their

12 pictures of their dead children shown on your show and

13 complained about that, there are contexts in which it

14 would be totally fine with you to say I'm not a person

15 to mess with. Right?

16            MR. REEVES: Objection. Form.

17     A. No, no. I don't remember the exact -- I can't

18 answer something I don't know what you're talking about.

19     Q. I'm asking you: Is there -- is there possible

20 context where that would be okay or there's never a

21 possible context where that would be okay?

22     A. I mean, there could -- see, I might have been

23 talking about YouTube itself or something. I don't

24 know. That's how -- your interpretation.

25     Q. I'm not asking you about any specific

                                         47



1 statement you've ever made. I'm asking you again

2 hypothetically, not even about Sandy Hook parents.

3 Right? I'm asking you: Are there situations in context

4 where telling them I'm not a person to mess with is

5 okay, or is there never a context where that's okay?

6     A. Yeah, I think people have a free speech right

7 to say don't mess with me.

8     Q. Okay. I'm going to show you what I've marked

9 as Exhibit 6. Now, when --

10            (Exhibit 6 marked.)
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11    Q. When you see an email that begins "from

12 Jones," that's your dad. Right? You get emails from

13 your dad. Right?

14     A. Not very often, but yes.

15     Q. That's your dad. Right?

16     A. I'm not sure.

17     Q. Okay. Well, we'll?

18     A. Yes, it says David Jones right here.

19     Q. Okay. We're going to read through the whole

20 thing together. Okay? You see at the bottom there's a

21 label that says Heslin 19-4651-000862? You see that?

22     A. Yes.

23     Q. Okay. This is an email dated September 6,

24 2018. Right?

25     A. Yes.

                                            48



1     Q. That's after your suit. Right?

2     A. Yes.

3     Q. The subject line -- well, let's first, it's

4 from your dad to Rob Dew. Right? Correct?

5     A. Yes.

6     Q. What does your dad do for you?

7     A. He doesn't do anything anymore.

8     Q. What did your dad do for you at the time of

9 this email?

10     A. He was doing some HR and helping with product

11 development.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    Q. How did your dad go from being
                                    1112aofdentist
                                            1271 to

13 HR? How did that happen?

14     A. He'd done HR before for the dental companies.

15     Q. Okay. So you decided to bring him on when?

16     A. Oh, ten years ago.

17     Q. Okay. So approximately 2011, that time

18 period, is when your dad joined the company? Does he

19 have a managerial role at the company? Can he tell

20 employees what to do?

21            MR. REEVES: Objection. Form. Only

22 reason I -- can you can you please clarify the timeline?

23            MR. BANKSTON: Yeah. When he was working

24 there, I mean, you know.

25            MR. REEVES: That's all I have --

                                         49



1     A. Yes.

2     Q. Okay. In this email to Rob Dew he says -- and

3 read along with me so you can make make sure I'm reading

4 it correctly. Okay? Actually, can you go ahead and

5 read this email for him? I want to make sure that -- I

6 had some complaints about how I read an email yesterday,

7 so I want you to go ahead and read it for me.

8     A. The Sandy -- okay. This is from Jones,

9 subject, please help me find and get a copy of the video

10 of the U-Haul store. We want to let people know where

11 they live. Date, Thursday, 6 September 2018,

12 11:33:0500, CDT. The Sandy Hook attorneys are claiming

13 that we tried to expose their addresses. Evidently
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 there is a video of that claim that shows that was not

15 what we were doing. Mr. Enoch wants a copy of that

16 since it's no longer available on YouTube. He thinks it

17 and the apology should be made a part of a what really

18 happened landing spot to be used in public relations

19 reeducation. David Jones for Alex.

20     Q. And I believe it says, "Thanks David Jones for

21 Alex"?

22     A. "Thanks David Jones for Alex."

23     Q. All right. So first of all, is there a video

24 that shows that that's not what you were doing? Do you

25 know if that was ever discovered?

                                            50



1     A. Yes, I think there's a video of that.

2     Q. Okay. So if I wanted to have a video that

3 shows that what you were not trying to expose their

4 addresses, you'd be able to identify that video for me?

5     A. I mean, I'm not -- I'm trying to guess what

6 this email is about, but yes.

7     Q. Okay. In truth, we know now that those

8 addresses were aired. We can agree at least on that.

9 Right?

10     A. The U-Haul? Is that what you're talking

11 about?

12     Q. Actually, multiple addresses, but yes.

13     A. I do remember Rob Dew doing a show mentioning

14 some of that.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    Q. You were on that show. You1114
                                     remember
                                        of 1271that.

16 Right?

17     A. I haven't watched the video in a while.

18     Q. Okay. Do you remember right after Rob Dew

19 showing all that, I guess you don't remember saying that

20 I guess I'm going to have to go investigate them down in

21 Florida? You don't remember that?

22     A. I do remember saying that.

23     Q. Yeah. Okay. Down at the bottom -- let's go

24 ahead and get this too. This has a label that says

25 Heslin (19-4651)-00862. Is that correct?

                                          51



1     A. Uh-huh.

2     Q. Okay. So this came from Free Speech Systems'

3 corporate files?

4     A. Yes.

5     Q. Okay. All right. When Neil Heslin -- okay.

6 First of all, you know who Neil Heslin is. Right?

7     A. Yes.

8     Q. Okay. So when Neil Heslin appeared on Megyn

9 Kelly's show in 2017, do you remember that?

10     A. Yes.

11     Q. Okay. When he went on there and said he was

12 upset by the things you were saying about Sandy Hook,

13 did you believe him?

14     A. I thought it was all done very theatrically in

15 a very canned way, but I do parents have pain about

16 their children. But it was all done and had an
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 infomercial feel to it. And that's my view of it.

18     Q. Look, I don't care really what you think about

19 Megyn Kelly or NBC News run by the largest weapons

20 manufacturer in the world, you know. Like, yes, they

21 make incredibly edited videos. They -- it's a

22 complete -- I mean, I'm sure if you've ever seen an NBC

23 production with lights and cameras and staging that they

24 set up scenes, they do all this stuff, I know that. I

25 know it looks like a video. I'm not asking about NBC or

                                          52



1 Megyn Kelly. I just want to know about Neil Heslin.

2 Did you believe him?

3             MR. REEVES: Objection. Form.

4      A. Believe him about what?

5      Q. When he said he was upset about the things you

6 said about Sandy Hook, did you believe him?

7      A. Yes, I believe him.

8      Q. Okay. You understood that if Infowars were --

9 okay. So let me go back to the -- let me get you clear

10 on your day. I want to take you back to the night that

11 you first saw that Megyn Kelly interview, which probably

12 was a surprise for you considering that it was not what

13 she represented it to you to be. Correct?

14     A. Yes.

15     Q. Okay. And on that night when you saw that

16 video and you saw Mr. Heslin saying those things, I want

17 to take you back to that date. Okay? And at that date
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 you understood that if Infowars were1116
                                        to make  a video
                                            of 1271

19 saying Mr. Heslin could not have held his son, that

20 would be very upsetting to Mr. Heslin. You understood

21 that?

22            MR. REEVES: Objection. Form.

23     A. No, I did not understand that.

24     Q. Okay. Who -- do you know, sitting here today,

25 who made the choice for Owen Shroyer to put those claims

                                            53



1 by Jim Fetzer on the air about Neil Heslin after the

2 Megyn Kelly interview? Do you know who did that?

3     A. It was a live show. That's -- it's not a

4 video we made. It was a live show, and I believe he

5 read a Zero Hedge article. He just read an article.

6     Q. About Jim Fetzer stuff. Right? You remember

7 that?

8     A. I believe he was in the article.

9     Q. Right. And you understand that a video was

10 made for that and uploaded to YouTube on June 26, 2017?

11 Would you have any reason to dispute that?

12     A. I'm not sure we would have our YouTube channel

13 then.

14     Q. But you did. You lost it in 2018. You also

15 know that a month after Mr. Shroyer made that video you

16 then took that five-minute video from the live show and

17 played it on your show again. You understand that?

18 You're being sued for that?

19     A. I mean, yes, I guess.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20    Q. Okay. So whose decision was it, if you know,

21 for him to basically give more air to Mr. Fetzer's

22 claims? Whose decision was that?

23     A. It was Owen's decision.

24     Q. Okay. So the thing is I talked to him a

25 couple of days ago, and he said no, he didn't read it at

                                          54



1 all or research it. Somebody put it in front of him and

2 told him to do it. He doesn't remember who, but he

3 doesn't do that. I mean, he doesn't research stuff

4 himself. Somebody puts it in front of him. So let's

5 try to go at it this way. If Owen is going to be doing

6 that video that day --

7      A. I don't agree with that statement.

8      Q. Okay. Well, I mean, I'm -- again, talk to

9 Owen because he testified a couple of days ago. Right?

10 But what I'm trying to figure out is if Owen's in that

11 studio that day because he's guesting for you that day,

12 how many people are in the studio right then to make

13 that show happen? Like, how many people does it take to

14 get an Infowars episode live and going?

15     A. Counting the host.

16     Q. Yeah. Counting Owen. Right. Tell me --

17     A. About five.

18     Q. Okay. So who are the other four people? Not

19 their names. Like, what -- what -- what job functions

20 are they fulfilling?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    A. Their roles?               1118 of 1271

22     Q. Yeah, exactly.

23     A. You've got a producer and a radio. That

24 doesn't mean like movies. They don't pay for it and run

25 it. Which means they, like, set up guests and make sure

                                          55



1 and then that the show runs but they don't actually tell

2 them generally what to do. And you'll have a camera

3 operator, you'll have a board operator, and then you'll

4 have one person researching, grabbing clips, news

5 articles, another person running a video switcher. And

6 sometimes there might be an extra person in there

7 creating a radio log of just basic points that the

8 person was making on air in case they ever want to go

9 back and find any clips from the show.

10     Q. Gotcha.

11     A. Like, when we have a guest on, they'd say, oh,

12 that was interesting the guest said that. Mark that.

13 And then the other day I'll look at the logs sometimes

14 and say, oh, I'm going to -- let's put that video up.

15     Q. All right. So let's talk about the people in

16 this room. The camera person, the camera operator, in

17 general, is not going to have a lot of influence on the

18 content that goes on to the show. Correct?

19     A. Yes.

20     Q. Okay. Same true for the sound engineer on the

21 sound board?

22     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    Q. Okay. Same true for the logger. Right? For

24 you to make a radio log?

25     A. Yes.

                                           56



1      Q. So the only two people in the room who are

2 probably going to have any influence on what goes in

3 front of the anchor to say are the producer and the

4 person who's researching and checking clips, and that

5 sort of thing. Right?

6      A. No, no. The way -- the way it works is the

7 host is telling people what to play and what articles.

8 The host runs the shows.

9      Q. So Owen should have been the one tho found the

10 Zero Hedge article? That's what you're thinking?

11 That's how it would normally work? He would have found

12 that article?

13     A. Hundreds -- hundreds of articles -- this is

14 way I do it. Other people don't do it this way. I'm my

15 own, basically, producer, booker, everything. So the

16 way I sit there and I print hundreds of articles or I

17 direct people to, and I just say go to these ten sites

18 and print everything on it because I like to have a

19 physical copy. And then other people there have chosen

20 to do it the same way. And then just constantly more

21 information is coming out as the day goes on. And we

22 might -- kind of like a parrot eating. I might, like,

23 throw away 90 percent of the stuff that's put in front
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 of me and then it just sits there and 1120
                                         just, you know,
                                               of 1271

25 decide once they eat. But the radio hosts run the show.

                                          57



1 It's a radio show on TV. It's a radio show. It's not

2 journalism. It's not, you know, in the main. It's just

3 like Howard Stern or it's just like Rush Limbaugh. And

4 you're playing clips; you're covering articles; you're

5 giving your opinion on things.

6             MR. REEVES: Mark, can we take a short

7 break?

8             MR. BANKSTON: Yeah. Well, let me -- the

9 last line of questioning on that.

10     Q. So I think a short way to do this, too, is to

11 say: Of the people in that room who can have control

12 over the content or are likely to have control over the

13 content, it's the host, producer, and researcher.

14 Correct?

15     A. Researcher? There's --

16     Q. Okay. Maybe I messed up, then. Let me go

17 back because I said the wrong thing. Let me back that

18 up. At one point you told me of the people in the room

19 is producer, camera, sound, a person doing radio log,

20 and then somebody who does -- pulls articles and

21 researches articles and clips and gets the clips ready.

22 Does that person have a name, a job role? What is that

23 called?

24     A. I come in -- the host sends to -- generally,

25 to the producer by email, by text, however they want,
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 hey, we're going to play these clips or grab me this

2 clip.

3       Q. So that person is less likely to have control

4 over the content. That content is almost certainly

5 being -- usually being sent to them and saying, hey, can

6 you pull this and get it ready for the show. Is that

7 kind of more --

8       A. Yes. The -- the -- the host is the captain of

9 the ship.

10        Q. Gotcha.

11        A. Sometimes they pop in and go, hey, there's a

12 standoff at the UN headquarters. And I go, hey, give me

13 an article on that. And then we're, like, okay. NBC is

14 reporting. Looks like it's a guy that wants to be

15 killed by a cop and we hope everything ends peacefully.

16 30 seconds on it. The next thing is, oh, look. A

17 federal court just ruled that they can't enforce

18 inoculations. Oh, look. An oil tanker just crashed. I

19 mean, we're just talking about what's in the news.

20        Q. Okay. All right. He wants to take a break,

21 so let's go ahead and do that.

22              THE VIDEOGRAPHER: Going off the record.

23 Time is 11:38 a.m.

24              (Short recess.)

25              THE VIDEOGRAPHER: We're back on the

                                           59
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1 record at 11:56 a.m.

2       Q. Sitting here today, do you have an opinion, do

3 you have a thought, a conclusion, about whether Mr.

4 Heslin was telling the truth about holding his dead son?

5       A. Looked convincing to me.

6       Q. Wasn't as convincing to you, though, in 2017.

7 Right?

8       A. I'm not sure what your question is, again.

9       Q. You weren't as sure in 2017 that Mr. Heslin

10 held his child as you are today?

11      A. You're talking about Owen, not me. The issue

12 you're talking about with Owen is Owen.

13      Q. No. I'm talking about you getting on your

14 show in July 20th, 2017, and saying the stuff I heard

15 was they never let them have their kids. You thought

16 Mr. Heslin wasn't telling the truth in 2017. You were

17 not sure of that. Correct?

18      A. I was believing that Sandy Hook happened, and

19 then I saw the Megyn Kelly piece. And everything I said

20 was edited the opposite of, basically, what I intended

21 to say. And then it looked so scripted. The way

22 everybody would -- it was, like, just the whole thing

23 looked like a TV production like a -- like a soap opera.

24 And I was, like -- I was, like, this looks so real.

25 It's, like -- but personally, I had questions about

                                            60



1 that. I mean, I did see that article after Owen covered
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2 it. And it did conflict with what the coroner said.

3 But again, I mean, I want to believe him. I believe his

4 son died, I believe mass shootings happen, and I also

5 believe we have a right to question events because I

6 know we're lied to about them. And that's where I

7 stand. I said that to Megyn Kelly. I said, I believe

8 that this attack happened and I can understand why it

9 hurt people's feelings. Then she's, like, well, let's

10 go into the anomolies. Let's go into why you questioned

11 it so I can be the villain again. And then you just run

12 into this whole if Sandy Hook itself is not synthetic,

13 then how all the bureaucracy and the media and the

14 system came in and got it and that made it synthetic and

15 so that's why people then -- that's my thinking process

16 really started to think it probably didn't happen.

17             MR. BANKSTON: Objection. Nonresponsive.

18     Q. Back in 2017 you had information, you had seen

19 information that caused you to doubt whether Mr. Heslin

20 really held his kid. Correct?

21     A. Yes, I did see an article questioning it.

22     Q. Yeah. And that information -- that

23 information was raised by Mr. Fetzer. Correct?

24             MR. REEVES: Objection. Form.

25     A. I don't -- I don't -- I don't have the article

                                           61



1 in front of me.

2      Q. Okay. In 2017 Infowars, the company itself,
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 had an understanding that there was1124
                                      issues
                                           ofwith
                                             1271

4 Mr. Fetzer's credibility. Correct?

5                MR. REEVES: Objection. Form.

6      A. I mean, I can't really speak to Mr. Fetzer's

7 credibility.

8      Q. Okay. Well, other people in your company have

9 spoken of Mr. Fetzer's credibility to you. Correct?

10      A. I don't recall.

11      Q. You don't recall Paul Watson talking to you

12 about Jim Fetzer?

13      A. No.

14      Q. Okay. If somebody -- if Paul Watson in

15 2015 -- is he your chief reporter by then? Is he an

16 editor? What is he? Do you remember?

17      A. Yeah, he was the head editor of Infowars, the

18 articles, the site itself.

19      Q. Okay. And he also did some hosting duties

20 too. Right?

21      A. Yes.

22      Q. Okay. If Mr. Watson -- let's just say again

23 that Mr. Watson, somebody whose opinion you respect, I

24 would assume. Correct?

25      A. Yes, sir.

                                            62



1      Q. Somebody you will -- if he -- if he brings you

2 something, you'll listen to him. Right?

3      A. Yes.

4      Q. May not always agree with Mr. Watson. Right?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5     A. Yes.

6      Q. But you'll listen to him?

7      A. Yes.

8      Q. If Mr. Watson had come to you in 2015 and told

9 you, Alex, Tim Fetzer is bat shit crazy, would you have

10 listened to him? Would you have taken that into

11 consideration?

12     A. Yes.

13     Q. Would you have looked into Mr. Fetzer to make

14 your own determination if he was bat shit crazy before

15 relying on him again?

16     A. I don't remember the discussion.

17     Q. Okay. But being the responsible journalist

18 you are, if you had received information that called

19 into doubt Mr. Fetzer's credibility, you would check in

20 and verify before ever relying on him again. Correct?

21            MR. REEVES: Objection. Form.

22     A. I can't talk about hypotheticals that you're

23 discussing. And I already told you that 98 percent of

24 what we do is cover news in the public domain and give

25 our opinion and commentary. And so I am not a

                                          63



1 journalist with the Wall Street Journal that writes

2 one-year-long investigative, you know, journalist

3 reports. And so I'm a radio talk show host that puts

4 the show on TV.

5      Q. No, I understand you don't do year-long
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6 reports. I understand that. You do five
                                      1126years of
                                            of 1271

7 coverage on Sandy Hook. I understand that. And it's

8 sporadic. Right? You're not -- you're not engaged

9 every day going into the office researching Sandy Hook

10 during those years, are you?

11      A. No. It's continued to -- to come up in the

12 press and then people would call in about it and things.

13 But I've, for at least five, six years have told the

14 crew I do not want to cover it and that I think Sandy

15 Hook happened. I still had anomalies. I have real

16 questions. I genuinely questioned it, and the

17 statements that I made it up, that is, I would get

18 publicity off of it, are false. That is false.

19      Q. Okay. Have you -- have you -- have you ever

20 had a chance to either read or watch Paul Watson's

21 deposition?

22      A. No, I've not read it or watched it.

23      Q. Okay. There's something he said in that

24 deposition. I want to run it by you. Okay? Which is

25 that Mr. Watson testified that you don't feel bound by

                                             64



1 journalistic ethics. Would you agree with that?

2      A. No, I don't agree with that term or phrase. I

3 do have ethics and I want to tell the truth and I try to

4 tell the truth, but I'm definitely wrong sometimes. But

5 to say that I don't feel bound by journalistic ethics

6 because I am by ethics, that's -- I mean, I disagree

7 with my interpretation of that because I do have ethics.
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8     Q. Your chief -- okay. So Paul Watson also

9 testified that he did not believe that how you acted

10 regarding Sandy Hook was decent or right. How would you

11 respond to that?

12     A. Well, I'm not running a cult. And so the

13 people that work there, we disagree; we have debates on

14 air. We -- we had debates about Sandy Hook, and I think

15 we concluded that we thought it probably happened well

16 before I was sued. And so yeah, we're a radio show just

17 like guys in a barber shop arguing and debating. That's

18 what it is. It's like a barber shop on TV.

19     Q. Well, so I want to ask you now is: Are you

20 going to tell this jury that the way you acted regarding

21 Sandy Hook was decent and right?

22            MR. REEVES: Objection. Form.

23     A. I mean, I have a first amendment right to

24 question big events. I did not kill the children at

25 Sandy Hook. And the families have sued the police and

                                          65



1 the teachers and the government and Remington and

2 everybody else. And we're ten years later, and I'm not

3 the one bringing up Sandy Hook. I'm not the one living

4 off Sandy Hook. I'm not the one, you know, who -- who

5 is -- is in the main doing the things people claim I've

6 done or, quote, are continuing to do. And I've been

7 beaten over the head with it. It's been used to

8 deplatform me. It's been used to dehumanize me. It's
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 been used to try to sue us. I mean, we know
                                      1128     the
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10 families have said that we want to destroy Alex Jones,

11 we want him off air, we want him silenced. And so --

12     Q. Which one of my clients said that?

13            MR. REEVES: Objection. Form.

14     A. I would have to go pull it back up, but I've

15 seen the quotes in the press.

16     Q. None of my clients have said that, Mr. Jones.

17 You're just making stuff up right now, and I'd prefer it

18 if you wouldn't just smear my clients in the middle of

19 this deposition.

20            MR. REEVES: Objection. Form. No one

21 said it was your clients.

22            MR. BANKSTON: Yeah, he's making a very

23 big impression here.

24     Q. You're being really vague about it. And so

25 that's why I'm asking you this question. None of my

                                          66



1 clients said that, did they?

2      A. I can go pull up news articles where -- where

3 some of the Sandy Hook families have been quoted as

4 saying this.

5      Q. I'm not asking you that, Mr. Jones. I'm

6 asking a very specific question. Not some of the Sandy

7 Hook parents. I'm asking you: Did any of my clients

8 say that?

9      A. I wasn't specifically talking about your

10 clients.
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11    Q. Then the answer is no. Correct?

12     A. I'll have to go do a search, but it said quite

13 a bit.

14     Q. But you have no problem just saying it out

15 loud in this deposition. Right?

16             MR. REEVES: Objection. Form.

17     Q. What I'm trying to get at is you have no

18 basis, sitting there right there in this chair, that my

19 clients said any of those things?

20     A. Clients said what?

21     Q. Any of the things you just said.

22     A. Repeat them back.

23     Q. That they want to destroy Alex Jones.

24     A. Take Alex Jones off the air.

25     Q. Take him off the air.

                                            67



1      A. Make him pay.

2      Q. Oh, well, that. Oh, Mr. Jones, we're here to

3 collect a debt. A hundred percent we're going to make

4 you pay, but nobody here is talking about destroying you

5 or taking you off the air is the goal of this lawsuit.

6      A. Oh, really?

7      Q. Are they? That's what I'm asking you. Do you

8 have information, sitting here right now in this chair

9 under oath that that's true, that my clients said that.

10 Do you?

11     A. I have seen news articles with quotes like
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 that and, if you want, I can later pull1130
                                           the specifics
                                                of 1271

13 for you.

14     Q. From my clients. That's your testimony under

15 oath?

16     A. No, I didn't say from your clients.

17     Q. Then that's what I'm asking you, Mr. Jones.

18 In this chair you're sitting right now under oath you

19 have no information that my clients said the kind of

20 comments you just referred to.

21              MR. REEVES: Objection. Form.

22     Q. Correct?

23     A. What were the comments, again?

24     Q. I'm done answering your questions, Mr. Jones.

25 I've already given you a lot of latitude by trying to do

                                           68



1 that for you. Can you answer my question or not? You

2 can say I can't answer that question.

3      A. Sitting here, I don't have the specifics.

4      Q. There we go. Thank you.

5             MR. BANKSTON: 16 and 17.

6      Q. Who's David Knight?

7      A. David Knight is a talk show host.

8      Q. Does he work for you right now?

9      A. No.

10     Q. Okay. He did work for you recently?

11     A. Yes.

12     Q. When did he leave the company?

13     A. If I remember correctly, about a year ago.
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14    Q. And then he's not come back in any way? Are

15 y'all still doing videos with David Knight?

16     A. No.

17     Q. Okay. David Knight did not -- there was

18 some -- I don't know how to say this. There was some

19 tension between David Knight and Dr. Steve Pieczenik.

20 You'd agree with that?

21     A. I mean, I remember some.

22     Q. David Knight and Steve Pieczenik did not get

23 along. Right?

24     A. I guess.

25     Q. David Knight was incredibly critical of the

                                           69



1 things Steve Pieczenik was saying about Sandy Hook.

2 Correct?

3      A. No, I don't remember that.

4      Q. Okay. Can you tell me why David Knight isn't

5 with the company anymore?

6      A. David was saying that he was being censored

7 and no one was censoring him. And he was just unhappy

8 and so I fired him.

9      Q. Okay. I'm going to put in front of you what I

10 marked as Exhibit 7. Now, one of the things you'll

11 notice about this document as you look down in the

12 bottom corners, there's no numbers, are there? Bottom

13 corners of the document?

14             (Exhibit 7 marked.)
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    A. No.                        1132 of 1271

16     Q. Blank page? All right. So this is -- I'm

17 going to represent to you this is a document that was

18 produced to me by your former lawyers that has no Bates

19 number on it. Okay? So I don't have an identification

20 number for you. But looking at this email with David

21 Knight's name to and from, that's one of your employees

22 at that time, 2017?

23     A. Yes.

24     Q. Okay. And I'm going to go ahead and read this

25 for you here. This is -- the date is June 19th, 2017?

                                         70



1     A. Uh-huh.

2     Q. Okay. You remember that the Megyn Kelly

3 interview was in the summer of 2017. Right?

4     A. Yes.

5     Q. Okay. And in fact, one of the videos that

6 your company is being sued for is a June 26th video from

7 2017 that Owen Shroyer did; we've just been talking

8 about it. Right?

9     A. Yes.

10     Q. And then in July you also did a video about

11 Mr. Heslin as well. Correct? That you're being sued

12 for?

13     A. Yes.

14     Q. So you do know you did make that July 20th

15 video about Mr. Heslin. You know that, sitting here

16 today?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17    A. Yeah, I did a live radio show, yes, this show.

18 I didn't make a video.

19     Q. Well, I guess you didn't make the video but

20 somebody did. Somebody made a video of that and

21 uploaded it to the YouTube channel at Infowars. Right?

22     A. Uh-huh.

23     Q. So I don't -- what I'm trying to get, because

24 you've brought this distinction up a couple of times,

25 that, no, we're just a live radio show, it's not a

                                           71



1 video. But there are videos and they are uploaded to

2 YouTube. Correct?

3      A. They were, yes.

4      Q. And in fact, the listenership for the radio

5 show could be totally different than who's watching the

6 YouTube video. Correct?

7      A. They are, yeah.

8      Q. Yea. Okay. So now we have this video -- we

9 have this email from David Knight and it's from David

10 Knight to David Knight. Right?

11     A. Uh-huh.

12     Q. So he's sending himself something. Correct?

13     A. I would guess.

14     Q. Okay. The subject line is, it says

15 Connecticut carry releases the troubled past of Neil

16 Heslin. And then do you see that there is a link there

17 from ammoland.com? Correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    A. Yes.                       1134 of 1271

19       Q. Okay. And then it says sent from my iPad.

20 Right?

21       A. Yes.

22       Q. Okay. And then this email here was sent to

23 himself at 6:12 p.m. You see that?

24       A. Yes.

25       Q. Okay. Everything I've said about this email

                                           72



1 is accurate?

2        A. Yes.

3        Q. Do you have any reason to think that this is

4 not a true and accurate email from Infowars's files?

5        A. I don't know.

6        Q. I don't know either. You gave it to me and it

7 doesn't seen even have a Bates number on it, so that's

8 why I'm asking you. Do you have any reason to dispute

9 this is a real email --

10       A. No, I don't have any reason to dispute it.

11       Q. Okay. Have you ever been to ammoland.com?

12       A. I've been there some.

13       Q. Okay. So you're familiar with what that site

14 is?

15       A. Not -- actually, no.

16       Q. Okay.

17       A. I've just heard of it.

18       Q. Let me show you this. This is a similar email

19 which I've marked as Exhibit 8.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20           (Exhibit 8 marked.)

21     Q. You see this says 6-18-2017?

22     A. Yes.

23     Q. Okay. Just a couple of days before Owen

24 Shroyer did his video. Correct?

25     A. Yes.

                                         73



1     Q. Okay. And do you remember that Megyn Kelly's

2 interview with your profile came out in June 19th, 2017?

3     A. I don't remember. I don't remember the date.

4     Q. Okay. So here we have again David Knight

5 sending an email to himself, David Knight. Seekthetruth

6 80@yahoo, is that another one of David Knight's email

7 addresses?

8     A. I don't know.

9     Q. Okay. You don't know who that is?

10     A. No.

11     Q. Okay. It says subject, Neil Heslin, father of

12 Sandy Hook victim, faces criminal charges/news/

13 countrytimes.com [sic]. Right?

14     A. Yes.

15     Q. And then there's a Country [sic] Times article

16 link?

17     A. Yes.

18     Q. Okay. And then Mr. Knight sent himself this

19 email at 2:56 in the morning?

20     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Okay. Do you have any reason  toof
                                    1136  think
                                            1271that

22 this isn't a correct true and copy email that came out

23 of Infowars' files?

24     A. No, I have no reason.

25     Q. All right. You know who Veronique de la Rosa

                                         74



1 is. Right?

2      A. Yes.

3      Q. Okay. Video of her interview with Anderson

4 Cooper has been shown on Infowars many times. Correct?

5      A. Yes.

6      Q. Okay. The company believes she was a public

7 figure. Correct?

8      A. Yes.

9      Q. Company believes you should have greater

10 latitude to comment on public figures. Correct?

11     A. Yes.

12     Q. Part of the reason the company believed that

13 her interview was suspicious was because Ms. De la Rosa

14 had made statements in support of gun regulation.

15 Right?

16             MR. REEVES: Objection. Form.

17     A. Yes.

18     Q. So if the company was commenting on her

19 because of her public advocacy, then the company knew

20 who she was, obviously. Right?

21             MR. REEVES: Objection. Form.

22     A. I don't understand the specifics of what
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1137 of 1271
23 you're asking.

24     Q. I'm asking you: Since you knew she was a

25 public figure, since you knew she had made gun advocacy

                                         75



1 comments and that was part of the reason why it was

2 suspicious, the company knew who she was?

3     A. Well, she put herself in the arena on

4 television.

5     Q. Right. I'm not disputing you on that, Mr.

6 Jones. I'm not having an argument about that. Right?

7 All I'm trying to come up with is at the moment that

8 Infowars put that video of her and her interview on the

9 air, Infowars knew who she was and knew she was, in your

10 eyes, a gun advocate -- a gun regulation advocate.

11 Right?

12     A. You know, I don't remember back ten years ago.

13 I just really don't remember.

14     Q. Well, I mean, you were totally fine just now

15 testifying to me that you knew she -- and believed she

16 was a public figure, that you knew that she had made

17 comments on gun advocacy. Right? You just testified to

18 that.

19     A. That's what my memory serves a long time ago.

20     Q. Right, right. But I mean, again, if you're

21 going to make the argument that she's a public figure

22 and that part of what she was doing was suspicious based

23 on the things she was doing in her public advocacy, that
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 means you would have to know about herof
                                    1138  public
                                            1271advocacy.

25 Right?

                                          76



1      A. I don't have the specifics back at the time.

2      Q. Okay. Do you remember when talking about that

3 video -- okay. So you know there's this thing in that

4 video about the -- Anderson Cooper's and the green

5 screen. Right? You remember that?

6      A. Yes, I remember that.

7      Q. Okay. Do you remember them talking about

8 whenever you talked about that video too you would talk

9 about how the background behind them was looped and the

10 flowers would move the same way and that you could tell

11 it was looped? Right? Do you remember talking about

12 that?

13     A. Yes.

14     Q. Okay. First of all, that's just not true.

15 Right? There's no looped background?

16     A. I was talking about several shots and things

17 we'd seen CNN done --

18     Q. Ms. De la Rosa's interview that you were

19 talking about, there's no looped background. Correct?

20     A. That was ten years ago. If you show me the

21 video and refresh my memory.

22     Q. I'm asking you here because I brought you to a

23 deposition about the video that you -- we allege you

24 defamed her on. And I'm wondering right now if you're

25 saying today -- is it going to be your contention to
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                                       77



1 this jury that that video had a looped background and

2 you were right? Is that your contention or not?

3       A. The video looked like it had been altered and

4 it did look like other shots CNN has done before where

5 they have the person in the studio and then the person

6 is there and they cut the pieces over each other.

7       Q. I'm asking about if there's a looped

8 background. Is there a looped background or not? Is

9 that going to be a contention in this case or not?

10             MR. REEVES: Objection. Form.

11      A. I'd have to see it again.

12      Q. Okay. One thing we do know, though, is you

13 were talking about how the leaves were blowing. Right?

14 Because they're outside in that video. You understand

15 what I'm saying?

16      A. Uh-huh.

17      Q. Okay. And how if the leaves were blowing and

18 then suddenly they glitch and they go back to where they

19 were, that would show you there was a loop. Right?

20 That's how you would know there was a loop. Correct?

21      A. Yes.

22      Q. Okay. So if there's wind blowing out there --

23 the other thing we know is that there's wind blowing on

24 the people if they were actually on the scene. Right?

25 If there were people -- if there's wind blowing on the

                                          78
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 flowers and the people are supposedly actually there,

2 there should be wind blowing on them too. Right?

3       A. Yes.

4       Q. Okay. So in that interview, Ms. De la Rosa's

5 hair is moving from the wind. Do you understand that?

6 Do you disagree with that?

7       A. I'd have to see the video again.

8       Q. Okay. So you don't know that. But if her

9 hair is moving --

10      A. Well, we're saying Anderson Cooper wasn't

11 there.

12      Q. Woah. Okay. This is new to me. Are you --

13 are you saying -- are you saying that Veronique de la

14 Rosa was standing in the Newtown square and Anderson

15 Cooper wasn't and they composited Anderson Cooper and

16 Veronique de la Rosa was either talking to nobody or

17 somebody in, like, a blue Jar Jar Binks suit?

18      A. I believe Jar Jar Binks.

19      Q. Do you know who that is?

20      A. No.

21      Q. Okay. Don't worry about it. Do you think

22 Veronique de la Rosa was there? Back up. When you made

23 those comments, when you were -- when you were

24 describing this Anderson Cooper blue screen, was it your

25 allegation that they were both on a studio in Atlanta

                                          79



1 behind the blue screen --
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2     A. No, no.

3     Q. -- or was it that Anderson Cooper wasn't there

4 but Veronique de la Rosa was there?

5     A. I would have to -- like I told you, it was ten

6 years ago. I would have to review the videos.

7     Q. Okay. So as far as the video you're being --

8     A. I remember the nose disappearing and people

9 having a lot of questions saying that could be a blue

10 screen and looking at it and then some of the other

11 anomalies.

12     Q. When was the last time you saw that video?

13     A. Oh, a long time ago.

14     Q. So here you are for your third deposition.

15     A. I didn't know you were going to bring this up.

16     Q. It really would be surprising for me to bring

17 up the video that you're being sued for defamation --

18     A. Well, next time you bring it up I'll certainly

19 all done the research.

20     Q. There isn't going to be a next time, Mr.

21 Jones. Next time we see each other is going to be a

22 couple of months in a courthouse.

23     A. Well, next time we see each other you'll be

24 able to bring this up.

25     Q. No, we're not going to talk about that.

                                           80



1     A. Oh, okay.

2             MR. REEVES: Please just let him ask you
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 questions.                       1142 of 1271

4             MR. BANKSTON: No. He wants to answer --

5 I mean, he really wants to ask questions. I'm happy to

6 answer them.

7             MR. REEVES: Please just let him ask you

8 questions and you answer them so we can move on.

9      Q. So one of two things has to be true if

10 Anderson Cooper is on a blue screen. One of two things

11 has to be true. Either Ms. De la Rosa is also on blue

12 screen or Ms. De la Rosa is in the town square and she's

13 not actually talking to Anderson Cooper. One of those

14 two things has to be true if there is a blue screen.

15 Correct?

16     A. How it would work is one person has an ear

17 piece; they're really talking to them. They just

18 composite the person in so they're essentially together.

19 They generally do that kind of shot and you see how

20 they're far apart. You can see blue screen sometimes.

21 That happens in a lot of shots. And we may have been

22 wrong about that. We weren't the ones that generated it

23 and the first to put it out. We just simply gave

24 commentary and our views on it.

25     Q. Okay. If Ms. De la Rosa wasn't at Newtown --

                                          81



1 let's go ahead and pretend for a moment that this was

2 all shot on blue screen, right, that Anderson Cooper is

3 not in the town square. And let's also pretend that Ms.

4 De la Rosa isn't at the town square. If that's the
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5 case, somebody is going to have to be off screen with a

6 fan blowing her hair. Right?

7             MR. REEVES: Objection. Form.

8     A. Like I told you, it's hard to comment on

9 something that's not in front of me.

10     Q. Uh-huh. Does the company have any reason to

11 contend -- well, first let me ask it this way: Do you

12 have any reason to contend that any of these parents

13 have been faking their distress over Infowars' actions

14 as it regards Sandy Hook?

15     A. I did not kill their children and I didn't

16 visit Adam Lanza's house. CIA did, and all the rest of

17 that. And no one sued me back at the time when I was

18 actually talking about it. It was once I became

19 extremely famous and Hillary Clinton made an issue about

20 it in campaign ads. And then Trump won the election,

21 and then I became this big supercharged political target

22 as low-hanging fruit, and then they go, oh, he's the

23 Sandy Hook man. And then the anti-gun control groups,

24 the democratic party basically attached themselves to me

25 so that every time I was in the news they could then

                                           82



1 bring back up Sandy Hook for the gun control advocacy

2 that they have. And that's what this long process

3 has -- has been.

4             MR. BANKSTON: Okay. First of all,

5 objection, nonresponsive.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. Was any of that -- was any of1144
                                       that of
                                            meant
                                               1271to be

7 a reason that you contend that thie Sandy Hook families

8 are faking -- or saying my clients are faking their

9 distress over --

10     A. I do not think they are faking their distress.

11     Q. Okay. So their distress over what you said is

12 genuine? You admit that?

13             MR. REEVES: Objection. Form.

14     A. I mean, I would call it more hatred than

15 distress.

16     Q. I think -- yeah, I think there's some feelings

17 of hatred. Yeah, I do. I think -- I think when -- for

18 instance, you can understand how when Neil Heslin has

19 spent the last moments with his little heroic child who

20 saved some lives that day looking him in the face with a

21 bullet hold in this head --

22     A. I didn't kill him.

23     Q. I know you didn't kill him.

24             MR. REEVES: Please let him just ask

25 you --

                                          83



1      Q. Yeah, let's not interrupt me, Mr. Jones. I

2 don't you didn't kill him.

3              MR. REEVES: I've got my client -- I'm

4 handling my client.

5              MR. BANKSTON: You're not, but I'm --

6 we'll see what we can do.

7      Q. I'm asking you, Mr. Jones. I'm not saying you
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8 killed these kids. Nobody is saying that you caused

9 that grief. Let's make that really clear. Nobody is

10 saying that. These parents, though, were grieving over

11 the deaths of their children. That's a thing that they

12 went through. Has nothing to do with you. You get

13 that? Their grief over the death of their children has

14 nothing to do with you. You get that?

15     A. Except then through the gun control movement,

16 it was projected on gun owners blaming us for their

17 deaths, and we don't accept that.

18     Q. I don't even know what that means, but --

19     A. You know what it means. Gun owners have all

20 been blamed. You asked me to answer your question. We

21 get blamed every time some crazy person on Prozac goes

22 and kills people that the CIA went and visited on

23 record. And then -- and then we get blamed, and we're

24 tired of being blamed. And so -- and so people start

25 really looking at these events and don't trust them.

                                          84



1 And a lot of the times it turns out they are staged.

2 The Roe v. Wade baby never died. Gulf of Tonkin never

3 happened. The CIA did plan staged mass shootings and

4 mock funerals to -- at Star War with Russia and Cuba,

5 Operation Northwoods. These are real things.

6     Q. Judith Miller at the New York Times

7 collaborated with Ahmed Chalabi and basically invented

8 weapons of mass instruction that resulted in the death
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 of a million Iraqi civilians. Right? 1146 of 1271

10     A. Yes.

11     Q. And whoever the journalist was who got to the

12 bottom of what Judy Miller and those neocons were doing,

13 that person deserves a Pulitzer and maybe a metal and

14 maybe Judith Miller deserves to be in jail. Would you

15 agree with that?

16     A. Yes.

17     Q. Right? And so that journalism that resulted

18 in that was really good journalism?

19     A. Yes.

20     Q. But there can also be really bad journalism

21 too like what Judith Miller did with the weapons of mass

22 destruction. Right?

23     A. The point is they lied on purpose about WMD's.

24 I made my opinion and legitimately thought it might not

25 have happened.

                                          85



1     Q. Right.

2     A. Okay? And I'm being honest with you about

3 that. So here's the deal: The court of public opinion

4 knows that people have a right to ask questions. Now,

5 in hindsight, I saw the families. It looked pretty

6 legitimate. Some of the anomolies turned out to not be

7 true, and then I said I was sorry. And then I got sued.

8 And so let's just not sit here and pretend that Alex

9 Jones is in red pajamas like the devil running around

10 attacking all these people when that's not the case.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11    Q. Let's see if we can -- okay. So if Neil

12 Heslin spent these last moments with his son, has this

13 cherished memory putting his hand through his son's

14 hair, and then he sees Mr. Shroyer and then you, right,

15 get on TV and draw serious doubt about whether he even

16 held his son, whether he's telling the truth, and he did

17 that after he had asked you to stop, you can understand

18 why that man might have some negative feelings about

19 you?

20     A. And you can understand how he's on TV on an

21 actual program attacking us.

22     Q. Yeah. You know why he did that?

23     A. Yeah.

24     Q. Tell me why. Why did he do that?

25     A. Because Megyn Kelly went and organized the

                                          86



1 whole thing for publicity to go after second amendment.

2 They stepped into this, used it for political purposes,

3 went after the American people, and then get surprised

4 when people think it might be staged or it might be

5 synthetic.

6     Q. You think Neil Heslin went on national

7 television to ask you to stop as part of a plot to,

8 what, destroy the second amendment?

9     A. No. There are the interests behind it and the

10 money and the financing.

11     Q. I don't care about those people. I don't
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 represent any of these people. I don't
                                      1148represent
                                             of 1271Megyn

13 Kelly. If I had Megyn Kelly in this chair right now,

14 believe me I'd be talking to her about some things.

15     A. Why don't you subpoena her and get the real

16 thing I said on that interview.

17     Q. Don't you have it? You have a full audio of

18 everything that happened when she came into your

19 building. You never gave it to me, but you have it,

20 don't you?

21     A. No.

22     Q. Where's that tape?

23     A. Well, would you like me to be specific?

24     Q. Yeah. Where's the tape?

25     A. It was not -- that was not taped at the

                                          87



1 office. That was taped at a house they rented.

2      Q. Oh, so they rented a house to do your actual

3 interview?

4      A. Yes.

5      Q. And then you didn't actually tape any part of

6 that?

7      A. No. Well, the crew member did not put their

8 phone on do not disturb, and so about a few minutes into

9 it someone calls and then their recording stops. Just a

10 total -- the truth is we've got some good employees,

11 we've got some bad employees. But it is slackerville

12 Austin. And if anything, we're incompetent sometimes.

13 And so that's my crime, is we got so huge and big and
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14 sometimes I'm just a regular guy on the radio and make

15 mistakes.

16     Q. All right. But you do have an audio recording

17 of you talking with Megyn Kelly about that interview?

18     A. No. Like I told you, it didn't --

19     Q. No, no. Before talking about the interview.

20 She came --

21     A. Oh, yeah, I did record -- yeah. Well, no. I

22 interviewed her -- let me slow down here. She called me

23 one day a few months before -- before she came to Austin

24 and did the interview that aired in the summer. And

25 she -- she was driving in the car and she's, like, oh,

                                          88



1 I'm such a big fan, oh, you're so wonderful. And I knew

2 it was a setup and I didn't have a recorder on my phone.

3 So I said let me get back to my office. So I got to my

4 office. I had another iPhone, and then those -- that's

5 the thing I interviewed and put out on the internet to

6 show what she'd really said and really done. That was

7 not a recording of her at the office. That was a

8 recording of her setting up the interview with me.

9      Q. Okay. So you have audio of you and Megyn

10 Kelly?

11     A. It was uploaded to YouTube and then they took

12 that channel down. But I'm sure it's somewhere.

13     Q. Okay. And they took that channel down after

14 you were sued. Right?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    A. Uh-huh.                    1150 of 1271

16     Q. Okay. So at some point between when you were

17 sued and when they took that channel down you had audio

18 of you talking to Megyn Kelly. Correct?

19     A. Yes. And that audio is public. We put it out

20 unedited. If you've want it, you've got it.

21     Q. Where would I find it?

22     A. I mean, if -- we've used that as the cloud.

23 We used YouTube as the cloud.

24     Q. I get that.

25     A. And so I didn't, like, organize stuff. I'm

                                            89



1 the --

2      Q. No, no. I'm not asking you that.

3      A. I'm super unorganized.

4      Q. I'm asking where can I find it.

5      A. I would have to get online and go find Alex

6 Jones. I forget even the headline of it. It would take

7 some time, but not that long.

8      Q. Okay.

9      A. It would be like -- trying to remember.

10     Q. Does the company have any reason to -- let me

11 ask you this way. Let me do it you. I don't want you

12 to speak for the company if you don't -- you can't speak

13 for everybody in the company. Right? Some people in

14 the company have different opinions. Right?

15     A. Yes.

16     Q. Okay. Do you have any reason to dispute that
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 these parents' grieving process over the past eight

18 years has been impacted by Infowars' actions as it

19 regards Sandy Hook?

20            MR. REEVES: Objection. Form.

21     A. That's a hypothetical question. I can't speak

22 to their emotions.

23     Q. There's nothing hypothetical about it, Mr.

24 Jones.

25     A. I did not kill their children. They became

                                          90



1 political and used that death to then -- for their

2 advocacy against the right to keep and bear arms. And

3 so that directly put them in opposition politically with

4 me, and so they stepped into that political arena.

5      Q. What did Leonard Pozner do politically about

6 guns? What did he do? Did he ever say anything about

7 guns publicly?

8      A. I'm talking about the whole Sandy Hook

9 situation in general and then some of the parents.

10     Q. Okay. Did Scarlett Lewis ever say anything

11 about guns?

12     A. I don't have it all in front of me. I mean, a

13 lot of these people never even said their names.

14     Q. Okay. But again, I want to go back not to,

15 like, what they may have done. I'm asking you: Do you

16 have any reason, sitting here today, to think that their

17 grieving process was unaffected by Infowars' actions as
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 it regards Sandy Hook?           1152 of 1271

19     A. No. I think it was affected, and then it gave

20 them someone to hate and to continue on again. So I

21 wish I never would have gotten in the middle of it.

22     Q. Right. So if for five straight years Infowars

23 is telling millions of people that Sandy Hook is fake

24 and that the controversy then stays alive, you

25 understand it might be hard for my clients to have

                                          91



1 disclosure on the death of their children?

2      A. Five straight years --

3             MR. REEVES: Objection. Form.

4      A. -- is a false statement.

5      Q. Really? Okay. So we know you said false --

6 we know --

7      A. Straight years means --

8             MR. REEVES: Hold on. Hold on, please.

9 Let him ask you the question.

10     Q. So we know in 2012 right when it happened you

11 got on TV and started talking about it being staged.

12 Right? We know that?

13     A. Soon thereafter I had questions.

14     Q. No, Mr. Jones. I don't understand this whole

15 thing about questions. I don't get this. If you say

16 Sandy Hook is fake, that's not a question. Right?

17     A. That was -- that was years later. There's a

18 quote of me saying I can see how people think it's

19 absolutely fake.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20    Q. There's no quote of you saying I can see how

21 people -- that doesn't exist. You keep repeat that. It

22 doesn't exist.

23      A. Okay. Well, that's what I remember.

24      Q. In our last deposition, I showed you clip

25 after clip of you saying it's totally synthetic,

                                             92



1 completely made up with actors. At first, I thought

2 they killed real kids, but nope, they didn't.

3      A. That's -- that's -- that's -- that was my --

4      Q. That's what you said.

5      A. Yeah.

6      Q. Yeah. And you did that in 2014. You did it

7 -- you did it in 2013. You did it in 2014. You did it

8 in 2015. You did it in 2016. You did it in 2017.

9 Correct?

10              MR. REEVES: Objection. Form.

11      A. I'd have to go back and look, but I definitely

12 said that I had serious questions about it and could see

13 how it was staged with all the bizarreness around it,

14 I'll tell you.

15      Q. No. Mr. Jones, let me just make something

16 really clear. If you had gone on and said, man, Sandy

17 Hook looks weird. There's a bunch of weird stuff going

18 on. God, it's weird. Look at this weird thing. This

19 thing is weird and I don't know what's going on and

20 somebody needs to answer these questions, we wouldn't be
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 here today. Okay? The reason -- the statements
                                     1154  of 1271 that I

22 want to talk to you about is you admit that over those

23 five years you repeatedly without equivocation said it

24 was fake, that children didn't die, there were actors

25 playing the different parts of different people. You

                                          93



1 said those things. Can you now just admit that for the

2 jury that you said them? They're going to see the

3 videos. Can you --

4     A. Well, sure. Then they should investigate

5 Sandy Hook themselves.

6             MR. REEVES: Objection. Form.

7     A. They should look into it themselves and see

8 why people ask questions. You hope they don't.

9     Q. No. I really hope they do.

10     A. Okay.

11     Q. I really hope they do. You're aware of

12 Mr. Fetzer's book Nobody Died At Sandy Hook?

13     A. I've not read it.

14     Q. Infowars promoted it, though. Right?

15     A. I don't remember.

16            MR. BANKSTON: Give me the tabloid.

17     A. Can we stop and get a cup of coffee real quick

18 and maybe go to the bathroom? Just five minutes?

19     Q. Yeah, if it's five minutes.

20     A. Okay. Thanks.

21            THE VIDEOGRAPHER: Going off the record,

22 12:31 p.m.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23           (Short recess.)

24            THE VIDEOGRAPHER: We are back on the

25 record at 12:35 p.m.

                                         94



1     Q. Before we broke, we had talked about whether

2 Infowars had ever promoted or directed people to Jim

3 Fetzer's book, tried to get more viewership for Jim

4 Fetzer's book, and you weren't aware of that. Right?

5     A. Not in my memory.

6     Q. Okay. I'm going to show you what I've marked

7 as Exhibit 9, and I'm going to go through this whole

8 thing with you to see if it reflects your memory. Okay?

9 Or if it refreshes your memory. You'll see at the

10 bottom corner there is a notation that says

11 FSSTX-01923 --

12     A. I do see that.

13     Q. I need to finish for the court reporter before

14 you say do you see that. Do you see a notation that

15 says FSSTX-019237?

16     A. Yes.

17     Q. Okay. Up at the top we see that there's an

18 exchange of emails here. The -- let's start at the

19 bottom email, and you'll see how the original message is

20 a message from James Fetzer to Allan Powell cc'ing Rob

21 Dew and James Tracy. Do you see where I'm referring to

22 there?

23     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    Q. Okay. And then in Mr. Fetzer's
                                    1156email is a
                                          of 1271

25 copy of an email that he was sent earlier by a name

                                         95



1 named Allan Powell down at the bottom. Right?

2     A. Uh-huh.

3     Q. Do you know who Allan Powell is?

4     A. No.

5     Q. Okay. And you know who James Tracy is,

6 though. Right? He's one of the professors you said was

7 an expert on Sandy Hook that you relied on?

8     A. No. I was talking about -- talking about

9 Wolfgang Halbig and Steve Pieczenik.

10     Q. Okay. You don't remember Paul Watson

11 interviewing Michael Tracy about crisis actors?

12     A. I do remember Paul interviewing a professor.

13     Q. Yeah, who said that there were crisis actors

14 at Sandy Hook? Did you not know that was his claim?

15     A. Oh, I remember that -- him now, yes, yeah. He

16 was all over the news, yes.

17     Q. Okay. I want to start at the bottom with

18 Allan Powell's email. And he says Rob, Jim Fetzer put

19 together a book on Sandy Hook to which I contributed two

20 chapters. Amazon have decided they won't handle it. I

21 think Jim would agree to it being distributed by

22 Infowars free as a PDF. We were both just on the

23 phone -- we were both just on the Jeff Rense show today,

24 and Jim gave that right of distribution to Jeff. Would

25 you see if Alex would have Jim and Jim Tracey on to
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                       96



1 promote the book and talk a bit about the still running

2 sore of Sandy Hook? I spoke to Jim Fetzer about this

3 today and said he will speak to you. If you flip over

4 onto the back part of the page, you can see it says

5 Cheers, Allan Powell?

6       A. Yes.

7       Q. Okay. So did I read that email correctly?

8       A. Yes.

9       Q. Okay. The next message is from Jim -- okay.

10 Before we go on to Jim Fetzer's message, do you know who

11 Jeff Rense is?

12      A. Yes.

13      Q. Okay. Do you remember Paul Watson also

14 telling you at the same time that he told you that Jim

15 Fetzer was bat shit crazy that Jeff Rense was bat shit

16 crazy? Do you remember that?

17      A. No.

18      Q. Okay. Going up to Jim Fetzer's email, or he

19 identifies himself as Jim and James so it's going to be

20 used both in this document, but he says, Rob, we are

21 making the book available to the public for free. Here

22 is the cover and PDF. Several sites are now offering

23 it. I would be glad if Alex were to do the same. I am

24 sure James would be glad to come on with me if Alex

25 wanted to interview us about this stunning event. I

                                          97
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1 think the latest case was the Pentagon Papers. Did I

2 read that correctly?

3       A. Yes.

4       Q. Okay. And then Rob Dew writes back to Jim

5 Fetzer. Says, Thanks for the heads up. Sent the links

6 to Adan and he is writing an article about it. Please

7 let us know if there is a bump in downloads. Rob. Did

8 I read that correctly?

9       A. Yes.

10      Q. Okay. And from this Bates label at the bottom

11 that says FSSTX, we know that this is a document that

12 resided in Infowars' corporate files. Correct?

13      A. Yes.

14      Q. Okay.

15             MR. BANKSTON: Okay. Can you show me tab

16 4?

17             (Exhibit 10 marked.)

18      Q. I'm going to show you what I've marked as

19 Exhibit 10. Do you recognize that?

20      A. Yes.

21      Q. Okay. Can you tell us what this is?

22      A. Zero Hedge article.

23      Q. Do you know why it might be relevant to this

24 lawsuit?

25      A. This is the article Owen was reading that he's

                                         98



1 been sued for and the coverage I gave of Owen that I was
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 sued for.

3      Q. Okay. Can you flip over to the second page

4 for me? Do you see there's a big blank space in the

5 middle of the page? Seems to be the way it printed from

6 the internet?

7      A. Uh-huh.

8      Q. Below that big blank space, do you see where

9 it says accept this does not comport with the official

10 story?

11     A. Yes.

12     Q. Okay. And then it says Jim Fetzer, professor

13 emeritus at the University of Minnesota who wrote a book

14 claiming Sandy Hook was staged, notes that, based on the

15 facts of the case, Heslin's statement that he held his

16 son with a bullet hole through his head could not have

17 happened. Have I read that correctly?

18     A. Yes.

19     Q. Okay. Now I want you to flip to the third

20 page. You see that first sentence, the first paragraph

21 there? It's just one long sentence.

22     A. Yes.

23     Q. Okay. And how that paragraph begins is by

24 saying it's entirely possible that Mr. Heslin had access

25 to his son after the shooing. Do you see where it says

                                          99



1 that?

2      A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. Okay. That wasn't said by Infowars, though.
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4 Right?

5      A. I don't have the clip in front of me.

6      Q. Okay. When you said on July 20th, 2017 the

7 stuff I found was that they never let the parents see

8 the bodies, that's Jim Fetzer's book Nobody Died At

9 Sandy Hook. That's what you found. Right?

10     A. I remember going off the news reports for

11 that. I don't know if it was this one.

12     Q. I mean, that's not -- Mr. Fetzer's book and

13 all that, he's not a news reporter. You understand

14 that?

15     A. Yes. I'm not even sure that I was going off

16 that.

17     Q. Right. That's what I'm asking you. I don't

18 think you were going off that because when you said the

19 stuff that I had found, that had obviously happened

20 before this brouhaha started. Right? So I'm saying

21 when you say the stuff I found was that they never let

22 the parents see the bodies, the stuff that you found was

23 Jim Fetzer's book Nobody Died At Sandy Hook?

24            MR. REEVES: Objection. Form.

25     A. I just -- I don't remember the information

                                            100



1 enough to be able to comment on it accurately.

2      Q. Okay.

3             MR. BANKSTON: Will you get me tab 34?

4 Oh, no. I'm sorry. Second folder, tab 34. Actually,
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5 skip that. Give me 23 out of this book. I do want to

6 see that.

7      Q. All right, Mr. Jones. Just to let you know

8 for your -- FYI, I do think I can get you out of here by

9 2 o'clock.

10      A. Okay. Great.

11      Q. Because we're doing a good job. Okay. I've

12 shown you what I've marked as Exhibit 11.

13             (Exhibit 11 marked.)

14      Q. And I know this hasa real -- like, has a lot

15 of stuff in it, some really tiny print.

16      A. I may not, yeah --

17      Q. Yeah.

18      A. -- be able to read the tiny print.

19      Q. I know. Like, yeah, I don't -- the only thing

20 that I'm actually -- I think when we get into this

21 document, we'll quickly discover that it may not be

22 necessary to even read all of this stuff. But if so, I

23 may need to give you some time to go read it, if you

24 want to do that. But what I want to ask you about this

25 document is: Up at the very top you see that this is an

                                             101



1 email on June 29th, 2018?

2      A. Uh-huh.

3      Q. Okay. That's about a month after you were

4 sued. You understand that?

5      A. Uh-huh.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6     Q. Okay. And it's from Nico. What
                                    1162was Nico's
                                         of 1271

7 job title at that time?

8      A. Radio producer.

9      Q. Okay. And then Daria, what's her title?

10     A. She was sound operator then.

11     Q. Okay. And today she's a producer as well.

12 Right?

13     A. Yes.

14     Q. Okay. And so Daria is sending this to Nico,

15 and the subject is forward: vanishing blog: Not only

16 is "Noah Pozner" a fiction, but his father, "Lenny," is

17 also a fake. Have you ever seen this email?

18     A. No.

19     Q. Okay. I don't think I need to ask you

20 anything else about it, then. If you'd never read this,

21 I don't think we need to talk about it. My only other

22 question was: Do you have any idea why Nico would be

23 sending things to Daria from Jim Fetzer right after you

24 were sued?

25     A. I mean, no, I have no idea.

                                          102



1      Q. Okay.

2             MR. BANKSTON: Tab 10.

3      Q. I'm going to talk a little bit about Wolfgang

4 Halbig. Do you know what I mean when I talk about the

5 Super Bowl picture?

6      A. No.

7      Q. Okay. Do you know what I mean when I talk
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                       1163 of 1271
8 about the Super Bowl choir of fourth grades from Sandy

9 Hook?

10     A. Yes, I've heard of that.

11     Q. Okay.

12     A. And that's when I really started thing it

13 probably did happen because that's -- it's crazy.

14     Q. Just crazy. Right?

15     A. Yeah.

16     Q. Okay. I've shown you what I've marked as

17 Exhibit 12.

18               (Exhibit 12 marked.)

19     Q. You'll see again at the bottom there's no

20 Bates number on this one. Right?

21     A. No.

22     Q. Okay. This one is dated 11-19-2016?

23     A. Yes.

24     Q. Towards the end of 2016. It is from Wolfgang

25 Halbig. Right?

                                         103



1     A. Uh-huh.

2     Q. The "to" line, the main people it's sent to,

3 include Nico. That's an Infowars employee. Right?

4     A. Yes.

5     Q. Then several -- a couple of addresses to the

6 Trump organization. Correct?

7     A. Yes.

8     Q. Rob Dew, who is also another employee of
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 yours. Right?                    1164 of 1271

10     A. Yes.

11     Q. And then J. Rense. Do you think it would be a

12 fair assumption to say that's probably Jeff Rense?

13     A. Yes.

14     Q. Okay. And then also copied -- there's a cc

15 line, and there are several other people copied who are

16 either media organizations and there's also some

17 government addresses. Do you see that?

18     A. Yes.

19     Q. Okay. Now, there are also a bunch of

20 attachments listed. Do you see that?

21     A. Yes.

22     Q. Okay. And those attachments appear to be png

23 files. Those are images. Right?

24     A. Yes.

25     Q. Okay. And then the subject line says trust

                                        104



1 but always verify, please verify with your uncle.

2 Thanks. Do you see that?

3     A. Yes.

4     Q. Okay. And then I'm going to go ahead and read

5 this email to you. All right? It says, Nico and Rob,

6 Rob, Please send this video to your uncle, the former

7 FBI agent who attended my Connecticut Freedom of

8 Information hearings in Hartford, Connecticut. He told

9 me that I was right about what was happening, which gave

10 me a tat more courage. He has friends who can verify
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 this video to be accurate and now we know that the

12 children who supposedly died at Sandy Hook are at the

13 Super Bowl on February 3rd, 2013 and that is why we have

14 never ever heard them sing again.

15            Think about it for just a second. They

16 sing before 110 million people worldwide with Jennifer

17 Hudson. They have 87,000 people in the stadium with

18 over 3500 news reporters and we never have one interview

19 in the newspaper of on television from them. Why?

20            Just think about how much money came

21 flowing in after that February 3rd, 2013 Super Bowl

22 performance from across the world. Why have they never

23 performed again if they were so great to be asked to

24 sing at the February 3rd, 2013 Super Bowl? Why no

25 appearances on the national early morning television

                                         105



1 shows? They sing before 110 million people and they

2 simply disappear. Even Beyonce met them. Where are

3 they? Are they all dead? Are they coerced and

4 threatened by the NFL and CBS Sports and by their own

5 parents never to talk about the greatest day in their

6 lives? Are they part of child trafficking? Who would

7 do this to fourth grade children when we all know that

8 children need to express their feelings or emotions or

9 it can have long-term mental health issues.

10            Then below that is a YouTube link. And

11 then it says, Please have your uncle verify and tell me
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 that I am not crazy because I -- because
                                       1166Iofhave
                                               1271now run

13 out of funds chasing the truth. Please help if you can

14 afford it. Wolfgang Halbig. And then he gives his

15 address and phone number.

16     A. Uh-huh.

17     Q. Correct? I've read all that correctly?

18     A. Yes.

19     Q. Okay. When he asked them to verify that he is

20 not crazy, that's not something that could be done for

21 this email. This is crazy, isn't it?

22     A. That is when I really started thinking that it

23 probably did happen, when things took these turns, yes.

24 But then I still saw some anomalies, but I'm not the

25 progenitor of this. I'm not saying this.

                                           106



1      Q. No. I understand that. But once you see

2 this, you have to understand that Wolfgang Halbig isn't

3 reliable anymore. Right?

4      A. Yes. When he first came out, though, I'd see

5 him on national TV as a big top expert in all the

6 things, so that's why I was relying on him.

7      Q. Yeah. Okay. But after this, it's clear you

8 shouldn't be relying on Wolfgang Halbig. This man is

9 not well?

10     A. Well, I didn't learn about this till later.

11 But I have -- I don't remember when, but I remember

12 after this -- sometime after this the stuff about, you

13 know, the Sandy Hook kids at the Super Bowl.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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14    Q. It's crazy. Right? It's not a thing a

15 rational or sane person would do. Right? Claim that

16 the Super Bowl choir was actually the murdered children.

17 Right?

18             MR. REEVES: Objection. Form.

19     A. I never claimed that.

20     Q. I'm not -- right. I get that. I'm saying the

21 person who did, if somebody was to claim that, that's

22 not a thing a rational person would do. Right?

23     A. I don't think that's rational. And around the

24 same time people started thinking I was Beau Bridges and

25 Bill Hicks, so I started experiencing --

                                          107



1      Q. Right. And that's unrational. Like, I've

2 actually heard about that, people think you're Bill

3 Hicks.

4      A. Yeah.

5      Q. And that's dumb, isn't it?

6      A. Yeah.

7      Q. It's really stupid. And one thing that I've

8 noticed is that a lot of times people are, like,

9 completely face blind and they, like, look at a picture

10 of you and Bill Hicks and they're, like, that's the same

11 person. And it's obviously not the same person. Right?

12     A. Yes.

13     Q. Okay. People who say things like that, like,

14 for instance, if somebody was to say about the people at
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 Sandy Hook, oh, there's actors who were
                                      1168 playing
                                           of 1271the

16 different parts of different people, like, there's a guy

17 who's playing a police officer and he's also a parent

18 and he's also this guy, that's also irrational. Right?

19     A. Well, the reason people have those questions

20 is it's called Astro turf. And you really can hire

21 1000, 5,000, 100 wherever you want people to go be, and

22 governments and others have done that. That kind of

23 stuff goes on. And I remember seeing some of those

24 anomalies where they were saying the coroner looked like

25 his guy, and they did look very similar. But I could

                                           108



1 see why people were thinking that and then the

2 extrapolation goes out to, like, the Super Bowl and the

3 rest of it. But that's just -- the system has lost so

4 much credibility with the public. We've been lied to so

5 much that then -- there certainly have been cases where

6 things that are real, the public questions them because

7 they've lost so much confidence and they don't know

8 what's real anymore.

9      Q. You know, you bring up an interesting point.

10 And I actually think just for -- I've been pretty

11 aggressive with you in this deposition. I understand

12 that.

13     A. Uh-huh.

14     Q. But I think I need to be fair with you for a

15 moment about something that happened in your previous

16 deposition, which is the media ran with something in
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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17 your deposition, and I think they kind of distorted it

18 and didn't quite say what you really said, which is you

19 remember all those headlines about you saying that you

20 said things about Sandy Hook because of psychosis?

21 Right?

22     A. Yes.

23     Q. And that wasn't really accurate, was it? The

24 way the mainstream media spun that was not really

25 accurate. You were not literally saying you had a

                                         109



1 mental illness. Right?

2     A. No, I was not saying that I was mentally ill.

3     Q. Right.

4     A. I was saying it was like a form of. And

5 that's -- the general public doesn't believe anything

6 they're told anymore because the corporate press lies on

7 purpose, so then you start reflexively not believing

8 anything you're told. And I'm simply just being honest

9 saying I believe the things I said, I believe the things

10 I did. And in the aggregate, even at the time I had

11 problems with a lot of my listeners who didn't actually

12 like what I was saying. But I never said things and did

13 things to just get an audience. I said it because I was

14 generally questioning. Like, I had over 130, 40 radio

15 stations on 9-11. And I would have already been the

16 next Rush Limbaugh, but then I thought there were bombs

17 in the buildings. It looked like. They said on the
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 local news that they had blown up building
                                      1170 ofseven.
                                              1271 I had

19 the news cast. And I went on air and said that I think

20 the government was involved or at least let it happen,

21 and I lost over 100 of my stations in the next month.

22 And I didn't care because I thought I was telling the

23 truth.

24            Now, looking back at 9-11 now and that,

25 even more evidence has come out. But I didn't go say

                                         110



1 9-11 was an inside job for audience. That took my

2 revenue now massively. Totally hurt us. But it was the

3 right thing to do. And so after 9-11, and if you've

4 seen that, then you start thinking, you know, more stuff

5 is going on.

6     Q. No. I get what you're saying there. In fact,

7 this might surprise you to learn this. But when I was

8 in college, I watched loose change. Like, I understood

9 it's important to ask questions. Right?

10            You would agree with me that in this

11 country today the phenomenon you're talking about where

12 people have a hard time telling what's real, this

13 country has failed in so many ways to its public. And

14 the media has failed in so many ways to the public that

15 it is genuinely difficult sometimes for members of the

16 public to know what's real anymore. Right?

17     A. Yes.

18     Q. Okay. Those members of the public, the only

19 way that they can be kept from being lost in the sea of
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20 confusion is if there are enough responsible journalists

21 in this country. That's the only way it's going to

22 happen. Right?

23     A. Yes.

24     Q. Okay. And right now there's not. You'd agree

25 with me? The state of journalism in America is bad?

                                          111



1      A. Yes. And I've -- I've tried to get better

2 even before I got sued, and so I've definitely never

3 said I was perfect. And I see the whole state of the

4 country. And I have four children. I'm really worried

5 about them, and that's why I've tried to be more

6 measured and everything, because I've never realized how

7 big my show is. I mean, I didn't even realize how big

8 my show was ten years ago, five years ago. I mean, I do

9 now. And that's -- that's -- but that's also because,

10 you know, I've been contacted by so many prominent

11 people who -- who have lost confidence in the system and

12 now basically listen to me. And so with that -- that's

13 a lot of power; comes with a lot of responsibility.

14     Q. Responsibility. Correct. And the only way --

15 well, I won't say the only way, but one of the ways that

16 we help or we could help maybe making journalism better

17 in this country is if we ensure that journalists are

18 held accountable when they publish false facts and do so

19 carelessly. You'd agree with that?

20     A. Well, that's not what's happening. The big
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21 corporations are lying on purpose more
                                      1172than  ever. I
                                            of 1271

22 never lied on purpose. And they are supporting the

23 destruction of independent journalism and small-time

24 journalism and citizen journalists who mean well but

25 make mistakes, whereas, the big corporations are owned

                                           112



1 by trillion-dollar companies and are actively supporting

2 the attempts to silence us and shut us down. And it's

3 all over the news that they say they hope your lawsuits

4 take us off the air.

5      Q. Yeah, because they hate you. Right?

6      A. Well, the big corporations do.

7      Q. Yeah.

8      A. And listen, I mean, I'll just be honest with

9 those big corporations. It's had the opposite effect.

10 Big media is so hated and so distrusted. This has been

11 a terrible process for me and my family, and it's been a

12 growing process because I would have grown anyway as you

13 get older. This -- all this persecution has just -- I

14 mean, has made us bigger. I mean, it's like -- it's --

15 I mean, so like I told you last time, you guys, I mean,

16 this is all just a process. And whatever -- whatever it

17 is that big shots think they're doing, it's not going to

18 do what they think they did.

19     Q. Yeah. So when the media piles on you, for

20 instance, that actually is counterproductive to what

21 they think their goals are. Right? Like, they're

22 actually making you more popular. Correct?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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23    A. Well, people know that I legitimately question

24 and -- and am not lying to them on purpose. And I

25 actually admit when I'm wrong on air and -- and am

                                          113



1 trying to be better. But I've also --

2     Q. And it's important we try to be better.

3 Right? You agree that particularly for independent

4 media, if we have any prayer in this country, it's that

5 we get out from the yolk of corporate media. And the

6 only way we can do that is through independent media.

7 You'd agree with that?

8     A. But the big corporate media as a default in

9 these cases only puts out what you guys says and hammers

10 it everywhere because they want to silence all the

11 little people. So whether you like it or not, Mark

12 Bankston, you are on the side of the cutting edge of the

13 establishment.

14     Q. No. I'm suing them too. And I think I just

15 told you right now in this deposition for the record

16 they messed up doing that. When they come in here and

17 they take your words out of these depositions and they

18 distort them, that isn't good. I understand that. What

19 I'm asking you is from the standpoint of the independent

20 media. It's important, crucially important. Like,

21 there's a lot of new independent medias that have come

22 out in the past five, six years. You'd agree with that?

23 We've seen almost a revolution --
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24    A. Yes. The corporate's attempt1174
                                      -- the
                                           of corporate
                                              1271

25 attempt to use Sandy Hook -- I'm not saying you yourself

                                           114



1 are doing this because I can't read your motives -- they

2 are using this and even writing articles about how

3 they're going to try to use it to silence all their

4 opposition. So that's why -- that's why the

5 establishment supports it. And that's fine because the

6 establishment is making a real run at censorship,

7 authoritarianism, and control, and thinks it can use a

8 demonized version of Alex Jones as the poster child of

9 the villain. But when you've got the real system that's

10 the real villain and people know that and they see the

11 big villain coming after Alex Jones, they go he's not a

12 villain.

13             So I mean, I guess you've actually blessed

14 me. So it's hard, it's rough, but I'm going to go

15 through this and I'm going to grow and be better at the

16 other end. But I really meant to be good and I really

17 meant to tell the truth. And so at the end of the day,

18 this is just the way it is.

19      Q. Villains are going to be villains. Right? We

20 know no matter what happens in this lawsuit, corrupt

21 corporate media is going to be corrupt corporate media.

22 There's no stopping them. Right? They're going to do

23 what they're going to do?

24             MR. REEVES: Objection. Form.

25      Q. Right?
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                       115



1       A. I'm just telling you that -- that the power

2 structure is anti-Alex Jones, and so I've got a lot more

3 serious issues to deal with for my children and the

4 future of the country and everybody than this -- this --

5 this whirlpool that is Sandy Hook. And so I don't hang

6 my hat on Sandy Hook, and I wish things would have gone

7 better and been different, believe me, in hindsight.

8 But the claim that I got famous off Sandy Hook and I

9 like Sandy Hook and I want Sandy Hook isn't true. Until

10 they made me the Sandy Hook guy and I'm being attacked

11 for it, that has given -- you know, made me a lot

12 bigger. But I didn't do that. The previous Sandy Hook

13 stuff hurt me and made me lose audience, made everybody

14 get mad at me and made my crews -- made one of my crew

15 get mad at me.

16              Once -- once, though, the system took it

17 up and started attacking me with it, now people -- you

18 know, the people see what it is.

19      Q. Yeah. And I wish they would -- we'll not go

20 into my feelings about what they're... But you'd agree

21 with me if we're going to solve what's wrong with

22 information right now, what's being pulled over the

23 public's eyes, we can't rely on corporate media to fix

24 it; it's got to be independent media. Would you agree

25 with that?

                                          116
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1       A. Well, Mark, let me just say this since we

2 actually here talking: In that PBS documentary

3 Frontline you were in, one of the parents says that

4 he -- to paraphrase, he sent his attack dog hinchman at

5 us. And it's some woman I never even heard of until she

6 got arrested. And it's on the show everyone consciously

7 up there talking about Alex Jones sent this woman. It

8 wasn't said, oh, what he said made her do it. It was --

9 it was Alex Jones sent his attack dog knowing what she

10 would do. That is fake 100 percent not true. And if

11 you ever thought about the stuff that my family gets and

12 what happens to my children over stuff like that that is

13 not true. And so we can all sit here and claim that we

14 want to be these great journalists who want to be

15 perfect and everything, but I wouldn't have said

16 something like that about somebody unless I was sure

17 that indeed they did send that poor schizophrenic woman

18 after them.

19      Q. And again, because I'm sympathetic for what

20 you're saying right. If -- was that something that one

21 of my clients said? because I don't think my clients

22 were on that show. Right? I'm just trying to check.

23      A. Here's -- I'm being honest. Mark, it all

24 just -- it all -- I forget who said it on the show, but

25 I basically word for word -- I mean --

                                           117



1       Q. What I'm trying to get at, Mr. Jones, is I'm
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2 pretty sure I didn't say it. But if somebody on that

3 show said that, if PBS put somebody on that show to say

4 that, I'm going to demand a retraction.

5      A. Okay. Great.

6      Q. I want to know: Do you know who said that?

7      A. I'd have to go review it again. I'm telling

8 you this is --

9      Q. I promise you --

10      A. I don't say this as a victim, but this is

11 traumatic for me. And I'm tired of hearing about it.

12 And so I'll be honest. Just like 9-11 became a

13 traumatic thing, I never talk about 9-11 because I got

14 to sick of talking about it and attacked over it. And

15 now I have, like, a mental wall on Sandy Hook that just

16 goes up because I can't deal with the stress of it. And

17 so I just put a mental wall up. You ask me these

18 questions, and it's like I just can't deal with it

19 anymore.

20      Q. Okay. Let's not talk about Sandy Hook just

21 for a minute. Maybe we can bring the temperature down.

22 Which is that you agree with me that independent media,

23 people who do independent media, if they do it poorly,

24 they hurt the cause of independent media. People like a

25 Jeff Rense or a Fetzer that people were we're

                                            118



1 criticizing, that's not good for independent media.

2 Would you --
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     A. Yes. And I want to move out1178
                                     of that class
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4 that I wasn't completely in into a better class.

5      Q. I hear you. I do.

6      A. But then that doesn't gauge me by the

7 corporate press that is trained to analyze on purpose,

8 whereas I was untrained and went through this whole

9 process.

10     Q. Look, I'm with you that I want to hold

11 corporate media accountable wherever I can. But do you

12 also agree that it's good for journalism to hold

13 independent media accountable wherever we can?

14     A. Yeah. But independent media is being

15 absolutely censored and attacked and sued with lawfare

16 everywhere. There's a real system -- systemwide attack

17 on -- and very legitimate stuff like Senator Paul gives

18 a speech about -- about learn ^ Israeli study being 13

19 times better and YouTube censors it saying the WHO

20 doesn't authorize that statement. The American Heart

21 Association comes out and says on the inserts of the

22 Pfizer shot, it says increase in myocarditis and heart

23 attacks. They said we don't care. You're not allowed

24 to scare people, and they block the American Heart

25 Association. So see, people are pissed about this

                                         119



1 censorship. And so --

2      Q. For sure.

3      A. -- and so they see what's happening to us as

4 that. And that's why you've got the corporate backing.
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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5 So you can't -- you can't -- Mark, you can't get out of

6 the fact that you've got the establishment behind you.

7      Q. Oh, 100 percent I get that. No. I know that,

8 in other words, if -- if -- there is a feeling in

9 corporate media that if you are discredited it helps

10 them. You understand that that exists?

11     A. Yes.

12     Q. And then that is something that they want to

13 try to do.

14     A. And so that's why Tucker Carlson basically

15 endorsed me last week --

16     Q. I saw that.

17     A. -- is because they now understand it's the

18 symbol like this to Hitler, like Alex Jones is now the

19 symbol of victory.

20     Q. It's only because you brought that up and I'm

21 just actually fascinated by this. Did you -- did you

22 see the story, the thing that broke from -- that Lin

23 Wood put out there about Tucker Carlson getting a

24 recommendation for his kid from Hunter Biden, and all

25 that?

                                            120



1      A. No, I didn't follow --

2      Q. No. There's a story, and again, maybe we

3 can't talk --

4      A. Well, I mean, I'll just say this. Lin Wood --

5 I'm not going to get onto Lin Wood but Lin Wood is
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6 definitely what I don't want to be. 1180 of 1271

7     Q. Right. I'm just saying like sometimes you see

8 some things come out and you realize it's a big club and

9 maybe we're not in it? Have you ever heard that phrase?

10     A. Yes, I've been learning that I'm definitely

11 not in the club.

12     Q. Yeah.

13     A. Believe me, the problems with this is the

14 least of my problems.

15     Q. You're referring to January 6?

16     A. All of that, yeah.

17     Q. Okay. I'll do you a favor. We won't talk

18 about that today. I want to show you this. This I've

19 marked as Exhibit 13.

20            (Exhibit 13 marked.)

21     Q. Okay. This, as you see at the bottom it, it

22 says FSSTX-039550?

23     A. Yes.

24     Q. Okay. And this is from Wolfgang Halbig.

25 Right?

                                          121



1     A. Yes.

2     Q. Okay. And then this is to a couple of email

3 addresses that I bet you don't know who those people

4 are. Right?

5     A. No, I don't.

6     Q. The one safeandsoundschools.org, have you ever

7 heard of an organization called that?
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8     A. Not in my memory.

9     Q. I don't either. Okay. I'm going to assume,

10 though -- you see the address is written to somebody

11 named Michele?

12     A. Yes.

13     Q. Okay. And then the subject line is "I urge

14 Michele to stop using Josephine and making money and

15 appearing on speaking engagements." You saw that?

16     A. Yes.

17     Q. Okay. The date of this email is December

18 21st, 2014?

19     A. Yes.

20     Q. Okay. And as we see from Free Speech Systems

21 at the bottom, this is a document from Infowars'

22 corporate files. Right?

23     A. Yes.

24     Q. The attachments here, we see a bunch of png's.

25 That's correct?

                                        122



1     A. Yes.

2     Q. Okay. I'm going to go ahead and read the

3 email to you. All right? Michele, how could you and

4 your husband as responsible parents even allow your

5 precious child Josephine to attend that filthy and

6 deplorable looking school on December 14th, 2012? This

7 school has you must have known is and was a toxic waste

8 dump as reported by Environmental Consultants who
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9 requested more money from City of Newtown  leaders before
                                    1182 of 1271

10 demolishing the school and transported all of the high

11 levels of lead paint, high levels of asbestos and

12 especially the high levels of PCPs in the groundwater at

13 Sandy Hook out of state. Josephine your child should

14 have expected more from you before that tragic day as a

15 parent. You are supposed to protect her from serious

16 lifelong health risks when you send her to that school

17 every day. Why would you as a parent and all those

18 other parents who supposedly lost a child to gunfire

19 allow their children as you did to serious toxic waste?

20 This all unfolded before the first shot at that school

21 even occurred. Did you not see the filth and deplorable

22 conditions when you went to that school or are you

23 blind? I do not understand unless you explain it to me

24 and the world why you and your husband failed Josephine,

25 who is a nonverbal child as you stated and depended on

                                          123



1 for her safety. She's needed you to protect her from

2 all the serious health risks that you sentenced her to

3 on a daily basis. Now you talk about school security.

4 You have got to be joking. You have all these experts

5 on your staff who are now part of your conspiracy. They

6 should be ashamed of their actions in supporting you. A

7 mom puts her own child at risk on a daily basis and is

8 now the expert on school security?

9             I look forward meeting you one day when I

10 can take your deposition about not the shoot -- not
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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11 about the shooting but why you and your husband failed

12 Josephine by sending her to that filthy and deplorable

13 school with all that toxic waste. We call this child

14 endangerment when you know of the danger that exposes

15 your child to serious lifelong health risks. You must

16 have known without a doubt because pictures do not --

17 and it says li, but I believe that says -- means lie.

18 You put her life in serious risk every day knowing how

19 filthy and deplorable that school is. I am enclosing

20 photos that you must recognize since you took your child

21 to school. And having a child in special needs, you

22 would expect a school environment and school climate

23 that allows children to learn and teachers to teach.

24 Right? Please explain to me if you can why school

25 principle Dawn Hochsprung would allow her school to be

                                           124



1 so filthy and deplorable looking. There is not one

2 female elementary school principal in this country who

3 would allow her school to be that filthy and deplorable

4 both inside and outside, and most of all, allow her to

5 become a toxic waste dump, placing every child in her

6 school staff in serious lifelong health risk. Right?

7 All of the pictures are taken by the major crime squad

8 from the Connecticut state police. Please respond since

9 you are now the expert on school security. Wolfgang W.

10 Halbig, www.SandyHookJustice.com. Have I read that

11 correctly?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12    A. Yes.                       1184 of 1271

13     Q. How do you feel about that?

14     A. It's horrible. I've never seen this before.

15 I mean, I guess he sent it to us too.

16     Q. Well, it's in Infowars' corporate files.

17 Right?

18     A. Yeah. It's just -- I don't even see Infowars

19 on here. I'm wondering why we had it.

20     Q. That was going to be my next question. Do you

21 know?

22     A. I don't.

23            MR. BANKSTON: Okay. Give me tab 20.

24            (Exhibit 14 marked.)

25     Q. I'm going to show you what I've marked as

                                           125



1 Exhibit 14. You see at the top there's another email

2 from Wolfgang Halbig?

3     A. Yes.

4     Q. Right? Okay. And on this one you see about

5 right here? See what that blue line is? I'll show you

6 again. You see that? And so you see on your document

7 too you got the --

8     A. Yes.

9     Q. -- Infowars' email addresses there?

10     A. Yes.

11     Q. Okay. And that would be Rob Dew and Nico who

12 got this email?

13     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1185 of 1271
14    Q. Okay. This was March 21st, 2017?

15     A. Yes.

16     Q. Okay. The subject was, Anyone needing the

17 address for a visit to welcome them to Florida please

18 call and this was a great day for me. Who says that you

19 cannot catch a big fish in Florida? That's what the

20 subject line says?

21     A. Yes.

22     Q. Okay. And then there's a png attached, an

23 image file. Is that correct?

24     A. Yes.

25     Q. Okay. And then I'm going to go ahead and read

                                        126



1 this email to you. It says, Nick and Laura Phelps did a

2 great job acting in Newtown on -- Newtown, Connecticut,

3 on December 14th, 2012. I visited their home today at

4 1924 Westover Reserve Boulevard, Windmere, Florida

5 34786. And thanks to Lieutenant Vangehle telling me

6 during my wellness check of Nick and Laura Phelps, that

7 they no longer live in Newtown, Connecticut, and that

8 they are now -- and they are now Richard and Jennifer

9 Sexton. Guess what. He is totally right and can you

10 believe it that my Newtown Police Department guided me

11 in the right direction? They have a beautiful home with

12 a three-car garage. They were not home today, but the

13 good news was that the three adult female moms with

14 their children standing outside their homes observed me
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15 and wanted to know what I was doing.
                                    1186Itof
                                           was spring
                                             1271

16 break -- it is spring break for Orange County, Florida,

17 school children. I showed them this picture and I told

18 them that I did not want to go to the wrong house to

19 surprise Nick and Laura from Newtown, Connecticut, a/k/a

20 Richard and Jennifer Sexton, today. It took a few

21 minutes for them to look at the pictures. And then when

22 they asked why I wanted to speak to them, I told him

23 that I had been in Newtown and wanted to surprise them

24 since they now live in Florida. They asked for my

25 namne, which I gave as Wolfgang Halbig. They told me

                                          127



1 how I would know them -- knew them, and I told them they

2 have been on the national news, so I wanted to meet them

3 again. Our conversation was all about Newtown,

4 Connecticut. So she said, Do you mind if I text her? I

5 said absolutely not. Waited about 10 minutes, only to

6 learn that they did not know me, which surprised me.

7 They verified the pictures, and why should she text them

8 about Newtown, Connecticut, and that someone from there

9 wanted to visit if they were not NIck and Laura Phelps

10 now, Richard and Jennifer Sexton.

11            At first, I did not want to enter since it

12 is a gated community. But several people told me just

13 go in on in there, there is no security at the gates.

14 If there is CC TV, they will see me being told to go in,

15 and that is the only reason or I would not have entered.

16 Now, who says law enforcement does not know what they
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1187 of 1271
17 are doing? Thank you, Newtown, Connecticut Police

18 Department.

19             Can you turn the document over? First of

20 all, have I read that email correctly?

21     A. Yes.

22     Q. Okay. And then on the back you see there's a

23 picture here. Right?

24     A. Yes.

25     Q. And at the top it says Sandy Hook hoax actors.

                                            128



1 Correct?

2      A. Yes.

3      Q. And it has arrows pointing to the Phelps.

4 Right?

5      A. Yes.

6      Q. And then at the bottom it says playing the

7 part of grief-stricken parents. Yes?

8      A. Yes.

9      Q. This is a horrible email, isn't it?

10     A. I've never seen this email, and it's --

11             MR. REEVES: Objection. Form. Go ahead.

12     A. Yes. I don't like this email. And again,

13 this is someone else, Wolfgang Halbig, after I'd already

14 clearly knew he cracked up. And so that's not my work.

15     Q. The next month you did a video called Sandy

16 Hook Vampires Exposed. Right?

17     A. Someone edited the video but then -- I've seen
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18 that.                            1188 of 1271

19     Q. Okay. And during that video, you repeated all

20 of Wolfgang Halbig's claims. Right? His 16 questions

21 thing?

22            MR. REEVES: Objection. Form.

23     A. I don't remember that. I'd have to see that

24 video, but I believe it was about people using it to

25 continue to try to get gun control and money. But I'd

                                         129



1 have to watch it, if you've got it. But I don't

2 remember --

3             MR. BANKSTON: Tab 15.

4             (Exhibit 15 marked.)

5      Q. Mr. Jones, I've handed you what I've marked as

6 Exhibit 15. At the bottom you see it says FSXTX-040027

7 [sic]?

8      A. Yes.

9      Q. This is an email from Infowars' corporate

10 files?

11     A. Yes.

12     Q. Okay. At the top it says Wolfgang Halbig.

13 Right? That's who it's from?

14     A. Yes.

15     Q. Okay. It says to Wildrosefarm1740@gmail.com.

16 Do you know who that is?

17     A. No.

18     Q. That's my client, Scarlett Lewis.

19     A. Okay.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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20    Q. The subject line says, How could you as a

21 mother stop and buy your special brand of coffee on

22 December 14th, 2012, when you heard as a mom that shots

23 had been fired at the Sandy Hook school? Have I read

24 that correctly?

25     A. Yes.

                                          130



1     Q. This is a March 10th, 2015 email. Correct?

2     A. Yes.

3     Q. He says in this email, Scarlet, it is just a

4 matter of time and all that money you have has to be

5 returned. How could you even stop to buy your coffee

6 and you bought coffee for two other people. What other

7 mother does that especially when you see on the news

8 tell everyone how you ran across that fire department

9 parking lot. If you did you would have spilled the

10 coffee. Do some serious soul searching because the scam

11 is up. Wolfgang and his phone number. Have I read that

12 correctly?

13     A. Yes.

14     Q. Okay. So at least Infowars had in its --

15 Infowars had received information that Mr. Halbig was

16 harassing Ms. Lewis. Correct?

17              MR. REEVES: Objection. Form.

18     A. We had millions of emails. I've never -- I'd

19 never seen those up until the time of these lawsuits, so

20 I'm not Wolfgang Halbig.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. I understand. All I'm asking 1190
                                      is: Infowars
                                           of 1271

22 received that?

23     A. Yes.

24     Q. Okay. Infowars -- was Infowars aware that

25 Mr. Halbig -- what he was doing at the Catholic school

                                        131



1 in -- bad question. You can't answer for all of

2 Infowars. Do you know what Mr. Halbig was up to at the

3 Catholic school in Newtown?

4     A. No. I knew that he was getting mad at us

5 because we wouldn't have him on and because I was saying

6 that, hey, it probably happened. And so -- and then I

7 was aware over time that, you know, that he'd seemed

8 like he had deteriorated some. And so that's what I was

9 talking about, you know, where I had questions about the

10 questions.

11     Q. Did you know what he did at the Catholic

12 school?

13     A. No.

14     Q. Okay.

15     A. I'm trying to search my memory.

16     Q. I'm going to show you what I've marked as

17 Exhibit 16.

18               (Exhibit 16 marked.)

19     Q. You see at the bottom this has Bates label

20 that says FSXTX-042477 [sic]? That's correct?

21     A. Yes.

22     Q. This is a June 25th, 2015, letter. You see
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                        1191 of 1271
23 it's from the Diocese of Bridgeport?

24     A. Yes.

25     Q. Okay. It's to Mr. Wolfgang Halbig in

                                          132



1 Sorrento, Florida?

2      A. Yes.

3      Q. Says, Dear Mr. Halbig, As the chief legal

4 officer of the Diocese of Bridgeport, I write to serve

5 you notice that you are to cease and desist any activity

6 on or in the vicinity of St. Rose of Lima Parish,

7 including the church, rectory, school, and any other

8 ancillary buildings on or near the parish grounds. Your

9 presence will be considered a trespass and a nuisance.

10            Should there be any violation of this

11 order, the parish reserves the right to seek any and all

12 remedies available to it under the law and will

13 immediately contact law enforcement to remove you and

14 any individuals in your company from the property,

15 forcibly if necessary.

16            This order shall remain in effect from the

17 date of this letter forward. Very truly yours, Anne O.

18 McCrory, chief legal and real estate officer. Have I

19 read that correctly?

20     A. Yes.

21     Q. So Infowars had received information that

22 Mr. Halbig had been banned from the premises of the

23 local Catholic school?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24           MR. REEVES: Objection. 1192
                                    Form.of 1271

25     Q. Correct?

                                        133



1     A. I mean, I guess that's what this shows. I --

2 I'm not Wolfgang Halbig.

3            MR. BANKSTON: Can you give me second

4 photo Tab 31?

5            (Exhibit 17 marked.)

6     Q. Okay. This is a one-page email. You see at

7 the bottom this has been marked Exhibit 17?

8     A. Yes.

9     Q. At the bottom it's marked FSSTX-053394?

10     A. Yes.

11     Q. Okay. This is a series of emails. Correct?

12     A. Yes.

13     Q. The first email is from Jonathan Reich. Do

14 you know who that is?

15     A. No.

16     Q. Okay. It's to Wolfgang Halbig. It was sent

17 on May 16th, 2016. Correct?

18     A. Yes.

19     Q. Okay. It says Saint Rose security guard video

20 footage, and then it has a link to download for some

21 video footage. Right?

22     A. Yes.

23     Q. Okay. And then the next email is from

24 Mr. Halbig, right, on May 17th, 2016. Correct?

25     A. Yes.
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                       134



1       Q. And it says, Arturo, this is the Saint Rose

2 Lima video that we shot accusing us of being a pedophile

3 and was trespassed. False police reports filed by

4 Monseigneur Weise. Have I read that correctly?

5       A. Yes.

6       Q. Then Arturo Rico responds. Do you know this

7 associate of Mr. Halbig's?

8       A. No.

9       Q. Okay. He says, Thank you. And then there's

10 another email from Arturo. Correct?

11      A. Yes.

12      Q. And that's to Wolfgang Halbig on May 17th.

13 Right?

14      A. Yes.

15      Q. Okay. And he says in that email, I saw the

16 video. I'm so upset. I'm looking into the face of the,

17 quote, security, unquote. He is no security. He is

18 government. We need to speak. I will explain

19 everything. Yes, there is suspicion that the pastor was

20 part of it, but not the church itself. Wait until I get

21 the official green light. There are people inside that

22 school. They knew you were coming. They followed you.

23 Not the church, but the government. They got -- I

24 believe it's "the" school on gag order. I wish I would

25 have been there with you guys. The, quote, principal,

                                           135
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 unquote, of Saint Rose of Lima is the same, quote,

2 principal, unquote, that, quote, died, unquote, at Sandy

3 Hook -- Sandy Hook shooting. But the, quote, principal,

4 unquote, of Saint Rose was always fake. I know the

5 location of that person. This is the most serious event

6 the church has and will go through Arturo. Have I read

7 that correctly?

8       A. Yes.

9       Q. And then the next email is from Wolfgang

10 Halbig, and this email is sent to Nico at Infowars.

11 Correct?

12      A. Yes.

13      Q. And the other person it's sent to is

14 npattis@pattislaw.com. Correct?

15      A. I guess so, yes.

16      Q. And is that the company's lawyer?

17      A. That is a lawyer that we work with.

18      Q. Okay. At that time was that the company's

19 lawyer?

20      A. No.

21      Q. Okay. And then there are a couple of other

22 people copied on the email too. Right? Do you know who

23 Tony Mead is?

24      A. No.

25      Q. Do you know who Richard Carlisle is?

                                         136



1       A. No.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2     Q. Okay. The --

3      A. I mean, I can volunteer that Pattis had

4 run-ins with Halbig and doesn't like him. So I mean, I

5 jsut -- that's just an added thing. I don't think

6 they're working together.

7      Q. Okay. It says Wolfgang says it's going to

8 fall apart very shortly. I want my lawsuit to come to

9 closure for my family's sake. Wolf. Have I read that

10 correctly?

11     A. Yes.

12     Q. Okay. Now, the idea that the principal of

13 Saint Rose of Liam is the same murdered principal at

14 Sandy Hook, that's -- that's not rational. Right?

15              MR. REEVES: Objection. Form.

16     A. I've not investigated it; but no, it doesn't

17 look like a pattern of sanity to me.

18     Q. Okay.

19     A. But, I mean, like I told you, I've never -- he

20 just forwards everything to us. I have nothing to do

21 with it.

22     Q. So a lot of times you just ignore what he

23 says?

24     A. He seemed very credible early on. I looked up

25 who he was on TV, the things he was saying, the

                                          137



1 anomalies. But I think, you know, obviously there seems

2 to be a deterioration here, but I am not Wolfgang Halbig
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3 and I've not talked to him in probably1196
                                         five,of
                                               six1271
                                                   years.

4     Q. You said there's been a deterioration. We saw

5 emails from, like, 2014 of him harassing parents that's

6 kind of weird --

7     A. Yeah, I wasn't -- I wasn't aware of that, and

8 it doesn't seem good.

9     Q. It doesn't. It seems like maybe you didn't

10 know what was going on with Wolfgang Halbig's mental

11 state?

12     A. No.

13     Q. Okay.

14            MR. BANKSTON: Can you give me 14?

15            (Exhibit 18 marked.)

16     Q. And if we just power through, I think we can

17 do it and get out of here by 2:00. We're at 1:20 right

18 now.

19            I'm going to show you what I've marked as

20 Exhibit 18. You see at the bottom it's FSSTX-039897?

21     A. Yes.

22     Q. Okay. This is a 2015 email sent March 6,

23 2015?

24     A. Yes.

25     Q. Okay. And this is -- the top email is Nico

                                        138



1 forwarding something to Rob Dew. Correct?

2     A. Yes.

3     Q. And it says forward, two cents from a third

4 year law student. Right?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1197 of 1271
5     A. Yes.

6      Q. And then it says some comments on Halbig's

7 last interview from a law student. Okay?

8      A. Uh-huh.

9      Q. And then I'm going to go ahead and read you

10 this email from a gentleman named R. Darren Brumfield.

11 It was sent to mediacontacts@infowars.com. He writes:

12 Two cents from a third year law student. Madam or sir:

13 I am in my final semester of law school. I listened to

14 the Wolfgang Halbig video and some significant alarm

15 bells went off. I also wrote on the YouTube page, but I

16 copy and paste here. Ok. So I just get this straight.

17 Starting at 31:30, he filed his lawsuit in Seminole

18 County Court in Florida? Not in federal court in

19 Florida, but in state court? There is a legal

20 requirement called, quote, standing, unquote. He does

21 not have standing to sue in Seminole County Court. He

22 was not a party in the shooting in any fashion. There

23 is also a concept called, quote, jurisdiction, unquote.

24 Either the man is lying or the judge is insane. A

25 Florida county level judge would not have jurisdiction

                                           139



1 for any reason other than a contract, tort, or crime

2 issue directly involving Halbig. Something is

3 completely wrong here. Had he said, quote, in the

4 federal district of Florida, quote, or whatever district

5 it might be if the state is split, that may at least be
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
6 plausible. This is completely insane and
                                       1198cannot  go
                                             of 1271

7 anywhere but into the trash can. No standing, no

8 subject matter jurisdiction, no personal jurisdiction,

9 two cents from a third year law student who is legally

10 current in his education. The man seems to be grasping

11 and stretching. No judge in their right mind would do

12 such a thing as he describes. Here's an example.

13 Imagine there is a crime in Las Vegas and the criminal

14 kills himself. There is no law whatsoever that would

15 allow Alex or anyone else to file suit in San Antonio

16 for anything involving the crime in Las Vegas. There is

17 no claim that could be made in Texas for something that

18 happened in Nevada. It is a rule. R. Darren Brumfield.

19 Have I read all that correctly?

20     A. Yes.

21     Q. Okay. So here we have that not only did

22 Infowars receive information suggesting that what Halbig

23 was up to was completely insane in Darren Brumfield's

24 words, but actually Nico ended up forwarding that

25 information directly to Rob Dew. Correct?

                                         140



1      A. Yes.

2      Q. Okay.

3      A. Which is good that he found that, because we

4 get about 10,000 emails a day, or at least we did.

5      Q. It's good that he found that in 2015?

6      A. Yeah. I mean, it wasn't shown to me, but I

7 mean, it shows -- I guess Rob Dew wanted to know about
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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8 anything coming in about Sandy Hook because he was

9 interested in it. And so that's why it was sent to him.

10     Q. Okay.

11            MR. REEVES: Which one are you talking

12 about in 2015?

13            MR. BANKSTON: This email is in 2015?

14            MR. REEVES: You said it was found in

15 2015.

16            MR. BANKSTON: Right, that Nico found

17 this in 2015. He said he's glad he found this, like,

18 this is something that they actually found. His

19 testimony is about them sending tons of emails that they

20 don't even see or ever recognize. And he got this one,

21 and this one was found in 2015. We know it was found in

22 2015 because Nico forwarded it to Rob Dew in 2015.

23     Q. In fact, let's ask that question. We know

24 this email was found and actually seen by somebody at

25 Infowars because it was forwarded to Rob Dew in 2015?

                                         141



1      A. Yes.

2      Q. Thank you.

3             MR. REEVES: I just -- I didn't mean

4 to --

5             MR. BANKSTON: No. I understand. I

6 understand. I clear up your --

7             MR. REEVES: Thanks. I appreciate it.

8             MR. BANKSTON: Can you give me tab 17?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
9     Q. Now, as far back as 2014, you were
                                     1200 of raising
                                              1271

10 money for Halbig's court actions. Correct?

11      A. He'd been a guest a few times, and we let

12 guests -- a lot of guests do stuff like that, but yes.

13      Q. And you told your audience support Halbig. Go

14 to sandyhookjustice.com and give them money. You told

15 your audience that?

16      A. I don't remember doing that, but that may have

17 happened.

18      Q. Okay.

19      A. Because, again, I thought he was -- they had

20 him on actual TV as a top school safety expert. I

21 thought he was going to find out. I mean, even Rob

22 Dew's retired FBI agent uncle thought it sounded

23 credible enough to go actually hear what they said at

24 the event. So...

25             MR. BANKSTON: Object as nonresponsive.

                                           142



1       Q. Infowars was aware that Mr. Halbig was

2 harassing Mr. Pozner for years. Right?

3       A. No, no.

4       Q. Okay. Infowars was following the lawsuit

5 between Mr. Halbig and Mr. Pozner, was keeping up with

6 it?

7       A. I mean, I think Rob Dew was. I really wasn't.

8       Q. Your news -- Rob Dew was news director at that

9 point?

10      A. Well, news directly on the nightly news.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1201 of 1271
11    Q. Okay.

12     A. Not he director of everything at the office.

13     Q. Let's talk about Dan Badani (phonetic).

14 Right? You sent Dan Badani to Newtown multiple times?

15     A. Dan lived nearby and would go, and then he was

16 on the show some.

17     Q. Well, I mean, you said on your show, We sent

18 our reporter Dan Badani up to Newtown to cover this?

19 You've said that plenty of times?

20     A. I think so, yes.

21     Q. Okay. He went there to film videos about

22 Wolfgang Halbig. Correct?

23     A. I believe so.

24     Q. Okay. You understood that Dan Badani was

25 prone to causing trouble. You knew that?

                                         143



1     A. Later I figured it out.

2     Q. When did you think you figured that out?

3     A. He came down to Austin for a few months and he

4 was a nice fellow but he would not follow direction. So

5 we sent him back to Connecticut. He didn't officially

6 work for us. And then he just would go out and do

7 things, some interesting, some that we didn't agree

8 with. And then he would still occasionally call on the

9 show or be on the show.

10     Q. But you would send him out on a mission, you

11 knew he was likely to cause trouble. You knew that.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
12 Right?                           1202 of 1271

13             MR. REEVES: Objection. Form.

14     A. No.

15     Q. Okay. I want to play an audio clip from you,

16 and this audit clip will be Exhibit 19.

17             (Exhibit 19 marked.)

18     Q. I want you -- I'm going to play an audio clip

19 from you, and I want you to tell me is this you talking.

20     A. Okay. (Audio playing)

21     Q. A kraken is a mythological Greek monster.

22 Correct?

23     A. Yes.

24     Q. Release the kraken is a rather famous line of

25 dialog from the film Clash of the Titans?

                                             144



1      A. Yes. A listener sent us a painting saying

2 he's the -- and that was from -- that we're talking

3 about, that was from the Boston bombing.

4      Q. Okay.

5      A. That's what we were talking about.

6      Q. Right. Because he caused some trouble in the

7 Boston bombing and stuff. I remember that.

8      A. I mean, there really were a bomb squad there

9 that looked like they were wearing black water uniforms.

10     Q. Oh, look, before we dive into the esoterica of

11 whether the Boston bombing happened or not, I'm actually

12 just referring when Dan Badani went to do some coverage

13 in the Boston bombing, there was -- there was some
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1203 of 1271
14 fracus?

15     A. Well, he asked some questions.

16     Q. Yeah. And wasn't it -- didn't somebody try to

17 kick him out of a room or something? Somebody tried to

18 make --

19     A. It was a press conference.

20     Q. Okay.

21     A. And that's what I was talking about in that

22 clip. I mean, I remember the clip.

23     Q. So you had had previous experience with Dan

24 Badandi sending him out?

25     A. Yes.

                                          145



1      Q. Okay. Okay. Tell you, Mr. Jones: Let me let

2 you take a short break, and I -- actually, let me ask

3 you about one more thing before we do that. I've got --

4 I've got a couple more topics to talk about, but I don't

5 think it's going to be too long. The one I did want to

6 bring up, though, real quick because I think we can

7 cover it real quick, do you know who -- do you know who

8 I'm talking about when I say Darren Howard?

9      A. No.

10     Q. Okay. Do you remember accusing a man of being

11 a Covid crisis actor, being a fake Covid patient, in the

12 United Kingdom?

13     A. I remember -- I remember covering people

14 saying that, yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
15    Q. Okay. So -- okay. Who do you  think
                                    1204     was
                                         of 1271

16 saying that? Do you remember?

17     A. I don't remember the specifics.

18     Q. Okay. Can you explain what Darren Howard was

19 being accused of right now? Do you remember?

20     A. I don't remember.

21     Q. Okay. Do you know if you apologized to him?

22     A. I do believe so, yes.

23     Q. Okay.

24     A. Well, what is that question of that for?

25            MR. REEVES: Just answer the question.

                                         146



1     Q. If you apologized to him in writing, do you

2 think you have it?

3     A. I don't know.

4     Q. Okay. Yeah, go ahead and let's take a quick

5 comfort break, and we'll come back on the record in

6 five.

7            THE VIDEOGRAPHER: Off the record at 1:31

8 p.m.

9            (Short recess.)

10            THE VIDEOGRAPHER: We're back on the

11 record at 1:41 p.m.

12     Q. All right, Mr. Jones. Just a couple of last

13 things. You would agree with me your company does not

14 have any documents that are used to train Infowars

15 employees in how to verify factual information and

16 Infowars stories. Those documents, you don't have
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1205 of 1271
17 anything like that?

18     A. Well, I mean, we've had lots of meetings and

19 things about if we're going to do something original,

20 then we have to prove it and have multiple witnesses.

21 And generally, it's video journalism out in the street

22 like it is what it is. You see it. Then on air it's

23 just commentary and opinion and analysis. So I've

24 always told people, you know, make sure, you know, what

25 you're saying is -- is backed up. And the areas we've

                                            147



1 gotten in trouble with have been things where it's these

2 big internet hubbub speculation things. And I really

3 try to steer clear of those now.

4      Q. Okay. But my question is: There are no

5 documents that -- that set forth the policies or

6 procedures for vetting factual information at Infowars.

7 That's not something that exists in a document.

8 Correct?

9      A. No.

10     Q. Okay. Your company has never disciplined

11 anyone due to a false fact about Sandy Hook published on

12 Infowars. Correct?

13              MR. REEVES: Objection. Form.

14     A. I don't remember.

15     Q. You think it's possible you may have

16 disciplined somebody for saying something false about

17 Sandy Hook?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
18    A. I wouldn't say false. I mean,1206
                                       people have
                                           of 1271

19 gotten in trouble for talking about it. I've tried to,

20 like, you know, stay out of it and myself get sunk back

21 into it. I think people testified to that, too. At

22 least, that's what I was told.

23     Q. One of the reasons that you in 2015 went to

24 people like Adan Salazar and told them stop printing

25 articles about Sandy Hook is because Leonard Pozner kept

                                           148



1 getting strikes against the company. Right?

2      A. I don't remember if it was Leonard Pozner. I

3 mean, I know I've seen people make a big thing between

4 me and Leonard Pozner. I barely know who he is and I've

5 seen him in some shows. But no, I just did not -- yes,

6 I mean, I did not want to -- I had -- I had seen some of

7 the anomalies and things be proven that should not be

8 anomalies. And so I wasn't sure that it was staged.

9 But then, you know, I go back and forth like anybody on

10 these -- kind of these mysteries. But -- so that's --

11 that's where I stand on that.

12     Q. I want to know: Do you -- so the day after

13 the Connecticut default happened, there was a company

14 registered in Delaware called Restore America Marketing

15 Company. Is that your company?

16     A. Restore America Marketing Company? No, I've

17 never heard of that.

18     Q. Okay. The company apparently has something to

19 do with Reset Wars. Can you tell me what Reset Wars is?
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1207 of 1271
20    A. Reset Wars is somebody else's company.

21     Q. Okay. What is Reset Wars? Does that have

22 anything -- is that affiliated with Free Speech Systems

23 in any way or you?

24     A. No. That is -- that is somebody else's

25 company that -- that is for promotions.

                                           149



1      Q. Does that have anything to do with Free Speech

2 Systems and Infowars and its business?

3      A. Well, yes. I mean, I am working with them.

4 They are producing a six-hour course titled Reset Wars.

5      Q. A course. Like a educational course?

6      A. Yes.

7      Q. Okay. And does there plan to be, like,

8 students who sign up for it and watch it online? Is

9 that the idea?

10     A. I wouldn't call it students, but it's like a

11 self-help deal.

12     Q. So it's not -- what I'm trying to distinguish

13 with is it's not an in-person class. It's an online

14 thing?

15     A. Yes.

16     Q. Okay. I want to show you what I marked as

17 Exhibit 19 [sic].

18             (Exhibit 19 marked.)

19     Q. At the bottom we see FSSTX-077501?

20     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
21    Q. Okay. And this is from somebody named
                                    1208 of 1271 Logan

22 Ponder, and their email is at the topic. And I take you

23 don't know this person personally?

24     A. No.

25     Q. This is to writers at Infowars.com?

                                         150



1     A. Yes.

2     Q. And the subject is "I'm with you all."

3 Correct?

4     A. Yes.

5     Q. The date is April 17th, 2013. Correct?

6     A. Yes.

7     Q. I'm going to read this email. My name is

8 Logan Ponder. I'm 21 years old and what's going on in

9 this world is disgusting. You guys are always on top of

10 information. I am so glad I have all of you to refer to

11 because you know what's going on. The government and

12 all these groups are trying to take over the world and

13 they are clearly succeeding. What can I do to help stop

14 this madness? Sandy Hook and now this Boston bombing

15 marathon are clearly inside jobs. It's obvious. So

16 what can I do to help? What can I do to change the

17 expected outcome? Please tell me. I want to help. I

18 live in Lexington, Kentucky. If there's anything I can

19 do to help your cause, please let me know. I support

20 you guys all the way. Sincerely, Logan Ponder. Sent

21 from my iPad. Correct?

22     A. Yes.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                    1209 of 1271
23    Q. Okay. This is actually somewhat typical, not

24 a -- this is not an unusual email for you. Right? You

25 have a lot of fans who are very supportive of you?

                                          151



1        A. We get millions of emails. I don't -- you can

2 find, basically, anything you wanted in the emails.

3        Q. Oh, I've found a lot of things in them, yeah,

4 sure. There's people sending you just hundreds of pages

5 of crazy numerology. Have you seen stuff like that?

6 And that's of kind of stuff you can just throw in the

7 trash. Right?

8        A. We can't even -- we've thought about getting

9 rid of the email addresses. You can't look at all of

10 it.

11       Q. But this email, now that you've seen it today,

12 this is something you're proud of. Right?

13       A. I don't know who this person is.

14       Q. No. What I mean, just generally, I mean,

15 we're looking at somebody here who is kind of waking up

16 to some of the forces that are involved in this country

17 and they're listening to you and they want to get

18 involved in the fight. That's kind of the mission

19 statement of your show. Right? To get people woken up

20 like this. Right?

21              MR. REEVES: Objection. Form.

22       A. I mean, yes. I like people to become aware of

23 the international corporate tyranny that's taking over
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
24 publicly in front of all of us right now.
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25     Q. And in doing that, I would imagine that you

                                         152



1 feel a sense of responsibility to people like Logan

2 Ponder. Right? They're looking for you for

3 information. You feel a sense of responsibility to him?

4     A. I mean, this is an email from nine years ago.

5 I don't know what to say.

6     Q. No. I mean, let's talk about anybody who you

7 have, unless -- I don't think it would be inappropriate

8 for me to say you have millions of fans. Right? Would

9 you agree with that?

10     A. Sure.

11     Q. Okay. And those millions of fans who follow

12 you and are engaged by you, some of them follow you

13 because they're entertained by you and some follow

14 because they like the information. Right? There could

15 be different reasons people are a fan of yours. Right?

16 Some people could be really into your comedy. Some

17 people could be really into your commentary. Some

18 people could be really into your website and what you're

19 doing there. There's lots of different reason people

20 could be a fan of yours. Right?

21     A. Yes.

22     Q. Okay. But in terms of those millions of

23 people who are your fans, do you feel some sense of

24 responsibility to them?

25            MR. REEVES: Objection. Form.
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1       A. I mean, yes. And it's been a growing,

2 learning process as well.

3              THE VIDEOGRAPHER: Counsel, I have

4 Exhibit 19 as the audio clip.

5              MR. BANKSTON: Oh, you're absolutely

6 right. Let's go ahead and re-mark that for the record.

7 Thank you so much.

8              (Exhibit 19 marked.)

9       Q. Mr. Jones, I have -- as you see, I've put in

10 front of you an exhibit that's been re-marked as Exhibit

11 20. You see that?

12             (Exhibit 20 marked.)

13      A. Yes.

14      Q. And so this is the Logan Ponder email --

15      A. Yes.

16      Q. Let me ask that one more time because she's

17 got to write it down. This is the Logan Ponder email

18 we've been talking about?

19      A. Yes.

20      Q. Okay. I'm going to show you what I've marked

21 as Exhibit 21.

22             (Exhibit 21 marked.)

23      Q. Do you see where it says FSSTX-078964?

24      A. Yes.

25      Q. Okay. So this is another email from Infowars'

                                          154
    22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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1 corporate files?

2       A. Yes.

3       Q. And it looks like here we have an email from a

4 person named Gabriel Jones, is how they sign it.

5 Correct?

6       A. Uh-huh.

7       Q. Okay. This was an email sent on March 24th,

8 2014?

9       A. Yes.

10      Q. Okay. I'm going to read this email. Okay?

11 It says, Dear Alex Jones, I'm not sure if this is the

12 way to contact you or not but I hope this is received.

13 My name is Gabriel Jones. I'm 15 and I now truly

14 realize that nothing is what it seems. Raised to think

15 this way by my conspiracy theorist father, Evan Jones, I

16 now understand everything from 9-11 and Sandy Hook all

17 the way down to chemtrails in the skies and GMOs in our

18 foods. My father listens to you all the time and knows

19 all about you. About one hour ago he just made his

20 first "Elephant in the Room" "Chemtrails Aren't

21 Invisible." You see, sir, I've been watching this and I

22 finally understand the things my father had been putting

23 into my brain. We can't trust big brother and something

24 big is going to happen soon. Anyway...I'm sorry for the

25 long story, but I had a huge question. You see, my

                                          155



1 father is unemployed and he just wants to live a
 22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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2 peaceful life and do what he loves. I want to help in

3 this fight. The, quote, Infowars, unquote, you can say

4 (bad joke, sorry) but you see, I feel as though my

5 father could do so much in this. Just to show people

6 the truth even...But I don't know how to do this for him

7 or help... But anyway, I ask of you...Do you have any

8 ideas? I know you would before anybody. So that is why

9 I ask you. If this gets to you...Thank you so much.

10 Continue the good fight. Thank you. Gabriel Jones.

11            Now, I take it you've never seen this

12 email. Right?

13     A. No.

14     Q. But now that it has gotten to you and Gabriel

15 now, seven years after the fact, you've seen Gabriel's

16 thanking you?

17     A. Very sweet.

18     Q. You're proud of this email. Right?

19            MR. REEVES: Objection. Form.

20     A. I mean, I think it's a sweet person. He

21 sounds sweet, doesn't he?

22     Q. He does. He sounds like a real sweet kid,

23 doesn't he? Sounds like he's maybe waking up to some

24 things in the world. Right?

25            MR. REEVES: Objection. Form.

                                        156



1     Q. Correct?

2     A. I mean, I think it's good to question.
  22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
3     Q. Yeah. And you're proud that1214
                                     you'reofable
                                              1271to do

4 this, that people are going to follow you and you might

5 be making a difference. Right?

6             MR. REEVES: Objection to the form.

7     A. I mean, I've tried to tell the truth and I've

8 been warning people about tyranny and forced

9 inoculations. And now it's here.

10     Q. You didn't -- you didn't start Infowars and do

11 what you do every day four hours talking, you didn't do

12 that just to make money. Right? You did that to make a

13 difference. Right?

14     A. Yes.

15     Q. Okay. Mr. Jones, I appreciate your time

16 today. That's all the questions I've got for you.

17     A. Thanks.

18            MR. REEVES: Reserve for time of trial.

19            THE VIDEOGRAPHER: This concludes the

20 deposition. We are going off the record at 1:53 p.m.

21

22

23

24

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                        Exhibit 6
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                           Exhibit 7
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DEFENDANT, FREE SPEECH SYSTEMS, LLC’S, ANSWER TO INTERROGATORY REGARDING NET
                                   WORTH

INTERROGATORY NO. 1: Provide a statement of your net worth. The term “net worth”
means the amount by which total assets (including income) exceed total liabilities. Assets shall
include items such as cash on hand, cash in accounts, checking, savings, brokerage, securities,
cryptocurrency, tradeable commodities, precious metals, vehicles, business equipment, real
estate, personal items, and negotiable instruments. Liabilities shall include such items as loans,
notes, accounts payable, credit card balances, and mortgages. The statement of net worth should
include:

       a. All income and assets whatsoever kind and nature and wherever situated.

       b. A list of all assets transferred in any manner since April 16, 2018. Transfers in the
          routine course of business which resulted in an exchange of assets or services of
          substantially equivalent value need not be specifically disclosed.

ANSWER:

        Defendant’s current estimated net worth is based on the information in its 2020 balance
sheet, which provides assets and liabilities as of December 31, 2020. Defendant is in the process
of preparing its reconciliation and year-end balance sheet for 2021 and will further supplement
this answer as necessary once that balance sheet for 2021 has been completed. Based on the latest
available information from the December 31, 2020 balance sheet, Defendant’s net worth is
approximately negative $52,880,888.00, which is comprised of the following assets and liabilities
(which are again as of December 31, 2020—bank account records for 2021 have been produced
but are not included in the current assets and liabilities statement):

   -   Assets
          o     Petty cash = $960.21
          o     Bank accounts with cash of approximately $525,328.16
          o     Inventory worth approximately $1,334,453.01
          o     Pre-paid insurance of $19,847.64
          o     Pre-paid software licenses of $120,042.71
          o     Prepaid vendor deposits of $244,439.09
          o     Pre-paid other of $14,394.78
          o     Gross fixed assets of $1,731.877.57
          o     Security deposits of $43,376.328
          o     Intangible assets of $406,371.59

   -   Liabilities
          o Credit card liabilities of $388,732.93
          o Current short term liabilities of $198,740.41
          o Long term liabilities of $55,014,222.87 mainly comprised of a significant note
               payable to PQPR




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          o Defendant also has current unknown potential liabilities arising out of current
            lawsuits

Defendant will further supplement this answer as necessary in accordance with the Texas Rules
of Civil Procedure.




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       DEFENDANT, ALEX JONES’S, ANSWER TO INTERROGATORY REGARDING NET WORTH

INTERROGATORY NO. 1: Provide a statement of your net worth. The term “net worth”
means the amount by which total assets (including income) exceed total liabilities. Assets shall
include items such as cash on hand, cash in accounts, checking, savings, brokerage, securities,
cryptocurrency, tradeable commodities, precious metals, vehicles, business equipment, real
estate, personal items, and negotiable instruments. Liabilities shall include such items as loans,
notes, accounts payable, credit card balances, and mortgages. The statement of net worth should
include:

         a. All income and assets whatsoever kind and nature and wherever situated.

         b. A list of all assets transferred in any manner since April 16, 2018. Transfers in the
            routine course of business which resulted in an exchange of assets or services of
            substantially equivalent value need not be specifically disclosed.

ANSWER:

        Defendant’s current estimated net worth is negative $20,635,000.00, which is comprised
of the following assets and liabilities (including asset of negative equity in Free Speech Systems,
LLC):

   -     Assets
            o Bank accounts with cash of approximately $458,000.00
            o Income beneficiary of a $25,900,000.00 note due to sale of closely held business
                interest (note is interest only note)
            o Cryptocurrency valued at approximately $206,800 based on current market rates
            o Real estate comprised of 3 properties valued at approximately $2,350,000.00
            o $3,100,000.00 in proceeds of November 2021 sale of homestead, which such
                proceeds are held in a 1031 exchange trust
            o Equity interest of ($53,000,000) based on book balance of Free Speech Systems,
                LLC
            o Household items, collectibles, personal property valued at approximately
                $200,000.00;
            o Vehicles valued at approximately $150,000.00

   -     Liabilities
            o Current unknown contingent liabilities based on pending lawsuits
            o Defendant is also a personal guarantor of several leases and certain loans for
                 which the current potential liability is unknown.

Defendant will further supplement this answer as necessary in accordance with the Texas Rules
of Civil Procedure.




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Carmen Scott on behalf of Mark Bankston
Bar No. 24071066
carmen@fbtrial.com
Envelope ID: 60315511
Status as of 12/29/2021 9:09 AM CST

Associated Case Party: NEIL HESLIN

Name               BarNumber    Email              TimestampSubmitted       Status

Mark D.Bankston                 mark@fbtrial.com   12/27/2021 3:22:40 PM    SENT



Case Contacts

Name              BarNumber    Email                TimestampSubmitted      Status

William Ogden                  bill@fbtrial.com     12/27/2021 3:22:40 PM   SENT

Bradley Reeves                 brad@brtx.law        12/27/2021 3:22:40 PM   SENT

Carmen Scott                   carmen@fbtrial.com 12/27/2021 3:22:40 PM     SENT
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                                                                                                  Velva L. Price
                                                                                                  District Clerk
                                                                                                 Travis County
                                  CAUSE NO. D-1-GN-18-001835                                  D-1-GN-18-001835
                                                                                                    Daniel Smith

 NEIL HESLIN,                                     §            IN THE DISTRICT COURT OF
                                                  §
                    Plaintiff,                    §
                                                  §
                                                  §
 v.                                               §                TRAVIS COUNTY, TEXAS
                                                  §
                                                  §
 ALEX E. JONES, INFOWARS, LLC, FREE               §
 SPEECH SYSTEMS, LLC; AND OWEN                    §
 SHROYER                                          §
                                                  §
                   Defendants,                    §                459th JUDICIAL DISTRICT

  DEFENDANT, OWEN SHROYER’S, MOTION FOR RECONSIDERATION OF THE
      COURT’S ORDER GRANTING A LIABILITY DEFAULT JUDGMENT
    ON PLAINTIFF’S SECOND MOTION FOR CONTEMPT UNDER RULE 215

       Defendant, Owen Shroyer, moves the Court to reconsider the Court’s October 26, 2021

order granting Plaintiff’s motion for default judgment and second motion for contempt, and would

show unto the Court as follows:

                                      I.      BACKGROUND

       Owen Shroyer (hereinafter “Mr. Shroyer”) is a defendant in only one (1) of the three (3)

cases filed by plaintiffs against co-Defendants, Alex Jones; Free Speech Systems, LLC; and

InfoWars, LLC; arising out of alleged defamatory comments arising out of the Sandy Hook

tragedy. Plaintiff, Neil Heslin, is the only plaintiff who has asserted claims against Mr. Shroyer.

       Mr. Heslin’s claims against Mr. Shroyer arise out of commentary Mr. Shroyer gave during

a June 26, 2017 broadcast of the Alex Jones Show, when Mr. Shroyer was a guest host on the

show. During that 3-hour broadcast, Mr. Shroyer briefly commented on an article from another

website (known as Zero Hedge), which pointed out inconsistencies between statements made by

Plaintiff versus statements issued by government authorities about the Sandy Hook tragedy. See
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Plaintiff’s Third Am. Pet. at 3-5. During this broadcast, Mr. Shroyer stated: “The statement

[Plaintiff] made, fact-checkers on this have said cannot be accurate. He’s claiming that he held his

son and saw the bullet hole in his head. That is his claim. Now, according to a timeline of events

and a coroner’s testimony, that is not possible.” Id. at 17. Plaintiff further alleges that during this

same broadcast, Mr. Shroyer stated: (i) “You would remember if you held your dead kid in your

hands with a bullet whole. That’s not something you would just misspeak on[;]” (ii) that Mr. Heslin

was “making a pretty extreme claim that would be a very vivid thing in your memory, holding his

dead child;” and (iii) “The conspiracy theorists on the internet out there have a lot of questions that

are yet to be answered. You say whatever you want about the event, that’s just a fact.” Id. at 4.

       Plaintiff initially filed suit on April 16, 2018 against Mr. Shroyer and the other Defendants

asserting claims for defamation—the claims against Mr. Shroyer arose out of Mr. Shroyer’s

comments in the aforementioned June 26, 2017 broadcast. Shortly after the lawsuit was filed,

Defendants filed a TCPA motion to dismiss. In response, Plaintiff moved for limited discovery

under the TCPA, which was granted by the then-presiding judge, Judge Jenkins, in an order dated

August 31, 2018. Defendants resisted this discovery, resulting in Plaintiff filing a motion for

contempt seeking sanctions under Rule 215 of the Texas Rules of Civil Procedure. See Jones v.

Heslin, No. 03-19-00811-CV, 2020 Tex. App. LEXIS 2441, at *3 (Tex. App.—Austin March 25,

2020, pet. denied) (mem. op.). After Plaintiff filed his motion for contempt, Defendants initiated

an appeal on the basis that the district court had not timely ruled on their TCPA motion to dismiss

and thus it had been denied as a matter of law. The Third Court of Appeals determined the appeal

was premature and dismissed it for lack of jurisdiction.
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       Plaintiff then filed his First Amended Petition in his defamation lawsuit on June 26, 2019,

adding claims for intentional infliction of emotional distress. However, Plaintiff then further

amended his petition, ultimately filing his Third Amended Petition—his live pleading—on August

8, 2019, wherein Plaintiff removed the IIED claim entirely. That same day, Plaintiff filed a second

lawsuit against Defendants, Alex Jones; InfoWars, LLC; and Free Speech Systems, LLC, re-

asserting his cause of action for intentional infliction of emotional distress. Of note, Mr. Shroyer

was not a named Defendant in Plaintiff’s second IIED lawsuit. Defendants in the IIED claim then

filed a TCPA motion to dismiss, and Plaintiff filed a motion for expedited discovery in that case.

       After the defamation case was remanded back to the district court following the first

attempted appeal, a hearing on Defendants’ TCPA motion and Plaintiff’s motion for contempt

occurred on October 17, 2019. That same hearing also addressed Plaintiff’s motion for expedited

discovery in the IIED case. At this hearing, Defendants offered to stipulate to or concede facts

pleaded by Plaintiff to obviate the need to respond to the TCPA discovery requests in the

defamation case. Judge Jenkins subsequently signed orders on October 18, 2019 which: (i) granted

Plaintiff’s motion for contempt in the defamation case; (ii) denied Defendants’ TCPA motion to

dismiss in the defamation case; and (iii) granted Plaintiff’s motion for expedited discovery in the

IIED case. In the order granting Plaintiff’s motion for contempt in the defamation case, the Court

ordered that “pursuant to Rule 215.2(b)(3), the matters regarding which the August 31, 2018 order

was made (Plaintiff’s burden in responding to Defendants’ TCPA Motion) shall be taken to be

established in favor of Plaintiff for the purposes of the TCPA Motion.” Id. At the same time, the

district court denied Defendants’ TCPA motion to dismiss in Plaintiff’s defamation case. Id.

Another hearing in the IIED case occurred on December 18, 2019 regarding Defendants’ TCPA

motion to dismiss in the IIED case and a motion for sanctions filed by Plaintiff regarding alleged
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discovery deficiencies in the IIED case. On December 20, 2019, the trial court denied Defendants’

TCPA motion to dismiss and also granted Plaintiff’s motion and awarded $100,000.00 in sanctions

and took Plaintiff’s request for a default judgment in the IIED case under advisement.

       In November 2019, Defendants again filed an appeal of the trial court’s denial of their

TCPA motion to dismiss in the defamation case. Defendants’ appeal was ultimately denied both

by the Third Court of Appeals and the Texas Supreme Court, and the case was remanded back to

the trial court on June 4, 2021. Plaintiff then filed a Second Motion for Contempt Under Rule 215

on July 6, 2021, contending that Defendants had failed to comply with the August 31, 2018

discovery order entered by Judge Jenkins and seeking sanctions, including a default judgment

being entered against Defendants. In Plaintiff’s motion, he alluded to both his defamation and IIED

claims, failing to inform the Court that Mr. Shroyer was not a named Defendant in the IIED

lawsuit. Furthermore, Plaintiff’s motion rehashed the discovery issues in the case, all of which had

already been addressed by Judge Jenkins; however, Plaintiff contended that the December 20,

2019 order in the IIED case warranted the granting of a default judgment against all Defendants,

including Mr. Shroyer, who was not even a party to that lawsuit.

       On August 31, 2021, the Court held a hearing on Plaintiff’s second motion for contempt

(and other sanctions motions filed by the remaining Plaintiffs in the other cases). At this hearing,

Plaintiff’s counsel barely mentioned Mr. Shroyer (or any discovery issues with Mr. Shroyer)

except to point out that his deposition had been ordered via the August 31, 2018 discovery order

by Judge Jenkins—which had not occurred prior to the trial court’s denial of the TCPA motion to

dismiss. See Ex. 1, Transcript of August 31, 2021 hearing at 41:11-42:2. Indeed, in the motion

itself, Plaintiff makes no direct mention of Mr. Shroyer nor does the motion discuss with any

particularity the alleged discovery abuses by Mr. Shroyer. Rather, Plaintiff’s motion only made
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generalized allegations that “Defendants have not taken any actions in this Court since remand or

responded to their discovery obligations.” See Plaintiff’s Second Mtn. for Contempt at 20.

       Despite Plaintiff making essentially no mention of Mr. Shroyer or alleged discovery abuses

by Mr. Shroyer, the Court subsequently granted Plaintiff’s motion for contempt, ultimately signing

an amended order on October 26, 2021 wherein the Court entered a default judgment as to liability

against all Defendants, including Mr. Shroyer. In the Court’s order, there is no delineation between

the individual Defendants. To the contrary, the order discusses: (i) how “Defendants” violated

other discovery orders in the other Sandy Hook cases before this Court (despite Mr. Shroyer not

being a party to those other lawsuits); (ii) that “Defendants” have engaged in pervasive and

persistent obstruction of the discovery process in general; (iii) that “Defendants” refused to

produce critical evidence; (iv) that “Defendants” have shown a “deliberate, contumacious, and

unwarranted disregard for this Court’s authority;” and (v) that the Court found that “Defendants’

egregious discovery abuse justifies a presumption that its defenses lack merit.” See Amended

Order dated October 26, 2021 at 3-4. The Court likewise granted Plaintiff monetary sanctions for

Plaintiff’s attorneys’ fees in connection with the motion.

       Mr. Shroyer is seeking to have the Court reconsider its ruling on the motion for contempt

and deny Plaintiff’s motion for default judgment as to Mr. Shroyer. As stated above, in its amended

order, the Court made no specific findings as to Mr. Shroyer or any alleged discovery abuses by

Mr. Shroyer. The simple reason for this is that there were none to speak of, and Plaintiff certainly

did not point out any discovery abuses as the hands of Mr. Shroyer either in his motion or at the

hearing on the motion. Instead, Plaintiff’s entire motion and argument at the August 31, 2021

hearing on the motion focused on Mr. Jones and Free Speech Systems and their alleged discovery

abuses. Unfortunately, it appears the Court inappropriately lumped in Mr. Shroyer with the other
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Defendants, attributing alleged conduct by other Defendants to Mr. Shroyer, individually, granting

a default judgment on liability across the board as to all Defendants.

       Yet as this case has progressed, it has become readily apparent that Mr. Shroyer did not

abuse the discovery process in any way. Indeed, Mr. Shroyer’s deposition has occurred, which was

the only concern at the August 31, 2021 hearing raised by Plaintiff’s counsel regarding Mr.

Shroyer. Moreover, Mr. Shroyer was not subject to prior sanctions for any alleged discovery issues

specific to Mr. Shroyer. And given the nature of Plaintiff’s defamation claims against him, it is

likewise clear that Mr. Shroyer’s defenses to such claims have merit regardless of any alleged

discovery issues. As such, Mr. Shroyer requests the Court reconsider its ruling on Plaintiff’s

Second Motion for Contempt and deny Plaintiff’s motion for default judgment, allowing this case

to proceed to trial and allow a jury to make determinations on the underlying merits of Plaintiff’s

claims against Mr. Shroyer.

                              II.    ARGUMENT AND AUTHORITIES

       Mr. Shroyer does not contend that the Court does not have the inherent authority under

Rule 215 to enter a default judgment; however, Mr. Shroyer does contend that such sanctions are

completely unwarranted and are so unjust as to violate Mr. Shroyer’s due process rights to have

the merits of Plaintiff’s defamation case heard by a jury. While a trial court has the power to issue

sanctions, that sanction power is limited in that the court “may not impose a sanction that is more

severe than necessary to satisfy its legitimate purpose.” Cire v. Cummings, 134 S.W.3d 835, 839

(Tex. 2004) (internal citations omitted)).

       Sanctions for discovery abuse serve three legitimate purposes: (1) to secure compliance

with the discovery rules; (2) to deter other litigants from similar misconduct; and (3) to punish

violators. Chrysler Corp. v. Blackmon, 841 S.W.2d 844, 849 (Tex. 1992). When a party fails to
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comply with proper discovery requests or fails to obey an order to provide or permit discovery,

the trial court may, after notice and hearing, make such orders in regard to the failure, which

includes, among other things, an order striking pleadings, dismissing with or without prejudice the

action or proceedings, or rendering a default judgment against the disobedient party. See TEX. R.

CIV. P. 215.2. Although punishment, deterrence, and securing compliance continue to be valid

reasons for imposing sanctions, these considerations alone will not justify “trial by sanctions.”

Chrysler Corp., 841 S.W.2d at 849; see also Westfall Family Farms, Inc. v. King Ranch, Inc., 852

S.W.2d 587, 591 (Tex. App.—Dallas 1993, writ denied).

       Notwithstanding rule 215, discovery abuse sanctions must be “just.” Chrysler Corp., 841

S.W.2d at 849; see also TransAm. Nat. Gas Corp. v. Powell, 811 S.W.2d 913, 917 (Tex. 1991)

(orig. proceeding). Moreover, so-called death penalty sanctions are limited by constitutional due

process. TransAm. Nat. Gas Corp., 811 S.W.2d at 917. Thus, “a death penalty sanction cannot be

used to adjudicate the merits of claims or defenses unless the offending party’s conduct during

discovery justifies a presumption that its claims or defenses lack merit.” Paradigm Oil, Inc. v.

Retamco Operating, Inc., 372 S.W.3d 177, 184 (Tex. 2012).

       There is no doubt that the default judgment entered by this Court against Mr. Shroyer

constitutes a “death penalty” sanction. A death penalty sanction is a severe form of sanction that

prevents a party from contesting liability and allows for the determination of liability based on the

party’s discovery conduct rather than the dispute’s merits. Ring & Ring v. Sharpstown Mall Tex.,

LLC, No. 01-16-00341-CV, 2017 WL 3140121, at *18 (Tex. App.—Houston [1st Dist.] July 25,

2017, no pet.) (mem. op.) (citing TransAmerican, 811 S.W.2d at 917-18). When a trial court places

a defendant in default, the result is that the defaulting defendant admits all pleaded facts

establishing liability. Id. (citing Paradigm Oil, 372 S.W.3d at 186. The imposition of death-penalty
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sanctions that permit adjudication based on discovery conduct is limited by constitutional due

process. Id. (citing TransAmerican, 811 S.W.2d at 917).

       Absent a party’s flagrant bad faith or counsel’s callous disregard for the responsibilities of

discovery under the rules, sanctions that prevent a decision on the merits of a case cannot be

justified. Chrysler Corp., 841 S.W.2d at 849; see also TransAmerican, 811 S.W.2d at 918.

However, even in those cases where death penalty sanctions can be justified, a trial court must first

consider less stringent sanctions and if those lesser sanctions would adequately promote

compliance, deterrence, and punishment. Chrysler Corp, 841 S.W.2d at 849; see also

TransAmerican, 811 S.W.2d at 917. In all but the most exceptional cases, before the trial court

may strike a party’s pleadings, the record must show that the trial court considered and tested less

stringent sanctions. Cire, 134 S.W.3d at 842; see also GTE Commc’n Sys. Corp. v. Tanner, 856

S.W.2d 725, 730 (Tex. 1993). Therefore, the record must “contain some explanation of the

appropriateness of the sanctions imposed.” Spohn Hosp. v. Mayer, 104 S.W.3d 878, 883 (Tex.

2003). While case determinative sanctions may be imposed in the first instance, that is only in

exceptional cases when they are clearly justified and it is fully apparent that no lesser sanctions

would promote compliance with the rules. GTE, 856 S.W.2d at 729; see also Spohn Hosp., 104

S.W.3d at 883 (requiring that “the record should contain some explanation of the appropriateness

of the sanctions imposed.”).

       As with other discovery sanctions, death penalty sanctions may not be excessive and must

bear some relationship to the offensive conduct. TransAmerican, 811 S.W.2d at 917. In addition,

the imposition of death penalty sanctions is limited by constitutional due process because the

striking of a party’s pleading and dismissal of its action necessarily results in the adjudication of

the party’s claims or defenses “without regard to their merits but based upon the parties’ conduct
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of discovery.” Id. at 918. Therefore, before the trial court may impose death penalty sanctions, the

court must determine the offensive conduct “justif[ies] a presumption that the offending party’s

claims or defenses lack merit.” Id. In other words, the sanctions must be “just” in the context of

the alleged discovery abuse. Id.

       The imposition of the death-penalty sanction is limited by constitutional due process and

therefore, “out to be the exception rather than the rule.” TransAmerican, 811 S.W.2d at 917, 919.

“Discovery sanctions cannot be used to adjudicate the merits of a party’s claims or defenses unless

a party’s hindrance of the discovery process justifies a presumption that its claims or defenses lack

merit.” Id. at 918. And sanctions which are so severe as to preclude presentation of the merits of

the case should not be assessed absent a party’s flagrant bad faith or counsel’s callous disregard

for the responsibilities of discovery under the rules.” Id. Even when a party has demonstrated

“flagrant bad faith[,]” “lesser sanctions must first be tested to determine whether they are adequate

to secure compliance, deterrence, and punishment of the offender.” Chrysler Corp., 841 S.W.2d

at 849. The Texas Supreme Court has consistently emphasized the continued validity of the rule

that generally lesser sanctions should be tested first. Cire, 134 S.W.3d at 842; see also Hamill v.

Level, 917 S.W.2d 15, 16 n. 1 (Tex. 1996).

       In TransAmerican Natural Gas Corp. v. Powell, 811 S.W.2d 913 (Tex. 1991), the Texas

Supreme Court established a two-part test for determining whether a sanctions award is “just.”

First, a direct relationship must exist between the offensive conduct and the sanction imposed,

which means that the sanction must be “directed against the abuse and toward remedying the

prejudice caused [to] the innocent party.” Cire, 134 S.W.3d at 839 (quoting TransAmerican, 811

S.W.2d at 917). Second, the sanction must not be excessive, meaning that “[t]he punishment

should fit the crime,” and the courts must consider the availability of less-stringent sanctions and
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whether the less-stringent sanctions would fully promote compliance.” Id. (quoting

TransAmerican, 811 S.W.2d at 917); see also Taylor v. Taylor, 254 S.W.3d 527, 533 (Tex. App.—

Houston [1st Dist.] 2008, no pet.) (“[A] sanction imposed should be no more severe than necessary

to satisfy its legitimate purposes, which include securing compliance with discovery rules,

deterring other litigants from similar misconduct, and punishing violators.”).

          Applying the law to the facts of this case regarding Mr. Shroyer as an individual Defendant,

there is simply nothing in Plaintiff’s motion, argument at the hearing, or the Court’s order that

truly explains and justifies why a default judgment sanction against Mr. Shroyer was warranted.

Rather, all signs point to the determination that a default-judgment sanction against Mr. Shroyer

was unwarranted and unjustified. Beyond the sanction not being justified, Plaintiff likewise failed

to demonstrate that any alleged discovery abuse(s) by Mr. Shroyer were so offensive as to justify

a presumption that his defenses to such defamation claims lack merit. TransAmerican, 811 S.W.2d

at 917.

          Plaintiff did not meet the burdens required by the Texas Supreme Court in TransAmerican

to be entitled to a default-judgment sanction against Mr. Shroyer. Plaintiff demonstrated no such

conduct at all by Mr. Shroyer, much less demonstrate that there was a direct relationship between

any such alleged conduct by Mr. Shroyer and the sanction of a default judgment. TransAmerican,

811 S.W.2d at 917. Second, a default-judgment sanction against Mr. Shroyer is extremely

excessive and in no way fits whatever alleged “crime” Mr. Shroyer allegedly committed as it

pertains to discovery in Plaintiff’s defamation case. Id. More to the point, the Court did not truly

consider lesser sanctions and whether they would promote full compliance of any of Mr. Shroyer’s

discovery obligations as required under the law. Id. While it is true that the Court’s amended order

makes the conclusory statement that it “has considered lesser remedies” before imposing the
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default-judgment sanctions, there is no further explanation as to what lesser sanctions the Court

actually considered, nor did the Court provide any further explanation to demonstrate that the

Court analyzed this “less-stringent sanctions” issue on an individual basis for each Defendant

(rather than lumping them together as a collective). Id. Indeed, there is no discussion as to whether

Mr. Shroyer had even been the subject of prior or lesser sanctions as it relates to discovery issues

in this case to justify the default-judgment sanction.

       Moreover, the reality is that because Plaintiff’s claims against Mr. Shroyer are only for

defamation, the broadcast itself—and questions surrounding Mr. Shroyer’s statements in the

broadcast, which were asked at his recent deposition—are the only evidence needed to determine

the merits of Plaintiff’s defamation claim. The Texas Supreme Court has consistently held that in

the context of defamation claims, a determination of whether a broadcast is defamatory is based

on the “broadcast as a whole,” the “statements in the broadcast,” and the “broadcast’s gist.” Neely

v. Wilson, 418 S.W.3d 52, 63-64 (Tex. 2013) (citing Turner v. KTRK Television, Inc., 38 S.W.3d

103, 114-15 (Tex. 2000) (“the meaning of a publication, and thus whether it is false and

defamatory, depends on a reasonable person’s perception of the entirety of a publication and not

merely on individual statements”)).

       Thus, Plaintiff has the entirety of the “evidence” and discovery he needs to argue the merits

of his claims to a jury with regard to his defamation claims against Mr. Shroyer. He undoubtedly

has the subject June 26, 2017 broadcast, complete discovery responses from Mr. Shroyer, and

Plaintiff has deposed Mr. Shroyer about that broadcast and the statements therein. Plaintiff has

suffered absolutely no prejudice or otherwise been deterred in his efforts to obtain discovery from

Mr. Shroyer regarding his defamation claims against Mr. Shroyer.
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        Because of this, it is now apparent that the default-judgment sanctions against Mr. Shroyer

were not justified and arguably constitute a violation of Mr. Shroyer’s due process rights. Even

more importantly, the Court should consider how Plaintiff and his counsel did not raise a single

issue with regard to Mr. Shroyer and alleging any discovery abuses by Mr. Shroyer in either

Plaintiff’s Second Motion for Contempt or the hearing on the same. Instead, Plaintiff focused on

Mr. Jones and Free Speech Systems, blurring the lines between the individual Defendants and

requesting an improper, blanket default-judgment ruling against all Defendants.

        Due process and the underlying facts of this case demand that Plaintiff be required to

present the merits of his defamation claims against Mr. Shroyer to a jury to decide and that Mr.

Shroyer be allowed to defend against such claims, as opposed to the current trial-by-sanction on

liability that has occurred. Consequently, Mr. Shroyer respectfully requests the Court reconsider

its prior ruling and deny Plaintiff’s motion for contempt (and default judgment) as it pertains to

Plaintiff’s claims against Mr. Shroyer.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant, Owen Shroyer, prays that the

Court grant this motion for reconsideration and ultimately deny Plaintiff’s motion for contempt

and withdrawing the default-judgment sanction entered by the Court’s amended order on October

26, 2021, along with such other and further relief to which Defendant, Owen Shroyer, may be

justly entitled.



                                     [Signature on next page]
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Dated: December 30, 2021.

                                             Respectfully submitted,

                                             By:    /s/ Bradley J. Reeves              _
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                                             Austin, TX 78701
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                                             Facsimile: (512) 318-2484

                                             ATTORNEY FOR DEFENDANTS



                             CERTIFICATE OF CONFERENCE

       The undersigned counsel for Defendants has previously conferred with counsel for Plaintiff
regarding this Motion, and counsel for Plaintiff has indicated Plaintiff is opposed to this Motion.

                                             /s/ Bradley J. Reeves
                                             Bradley J. Reeves



                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by the method
indicated below upon all counsel of record and interested parties in accordance with the Texas
Rules of Civil Procedure on December 30, 2021.

Mark Bankston                                via electronic service
William Ogden
FARRAR & BALL, LLP
1117 Herkimer Street
Houston, TX 77008

                                                /s/ Bradley J. Reeves                _
                                             Bradley J. Reeves
   22-01023-tmd Doc#1-14 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         Automated Certificate of eService
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 60405196
Status as of 12/30/2021 3:29 PM CST

Case Contacts

Name                 BarNumber    Email                              TimestampSubmitted      Status

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Associated Case Party: NEIL HESLIN

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